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                                       Exhibit A

                                      Time Entries




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Date        Name                             Hours Description

07/01/2023 Anthony Lewis                      0.10 Correspondence with S&C and A&M teams re: asset
                                                   holdings.
07/01/2023 Michele Materni                    0.60 Revise draft analysis re: potential asset recovery.
07/03/2023 Jacob Croke                        0.40 Correspondence with Sygnia and exchanges re: crypto
                                                   recoveries.
07/03/2023 Anthony Lewis                      0.40 Correspondence with S&C, Sygnia and A&M teams
                                                   re: asset transfers (.10); correspondence with S&C
                                                   and relevant third party teams re: relevant third party
                                                   issues (.30).
07/03/2023 Bradley Harsch                     0.10 Review correspondence re: access to relevant third
                                                   party account for non-US employee.
07/03/2023 Fabio Weinberg Crocco              0.10 Correspondence with relevant third party re: asset
                                                   return.
07/03/2023 Meaghan Kerin                      0.10 Review correspondence with Sygnia re: asset
                                                   recovery updates.
07/03/2023 Daniel O'Hara                      0.20 Review forfeited funds for asset recovery.
07/03/2023 Keila Mayberry                     2.00 Research re: relevant third party crypto transfers for
                                                   claims (1.8); correspondence with S&C team re: same
                                                   (.20).
07/04/2023 Sharon Levin                       0.20 Correspondence with R. Weber (Winston) & S.
                                                   Frase (Boersch Illovsky LLP) re: asset.
07/04/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: relevant third
                                                   party issues.
07/05/2023 Stephanie Wheeler                  0.50 Call with B. Harsch re: status of non-profit asset
                                                   recovery (.20); review documents re: non-profit
                                                   donations (.30).
07/05/2023 Brian Glueckstein                  1.20 Call with A. Dietderich, K. McArthur, W. Wagener,
                                                   J. Bromley, J. Rosenfeld, J. Ray (FTX) and Alix re:
                                                   update on historical financial statements (1.0); respond
                                                   to QE questions re: FTX Ventures issues (.20).
07/05/2023 Kathleen McArthur                  1.00 Call with A. Dietderich, W. Wagener, J. Bromley, B.
                                                   Glueckstein, J. Rosenfeld J. Ray (FTX) and Alix re:
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Date        Name                             Hours Description

                                                    update on historical financial statements.
07/05/2023 Jacob Croke                        5.40 Analyze issues re: recovery of seized assets (.60),
                                                   correspondence with S. Levin and K. Donnelly re:
                                                   same (.30); analyze issues re: crypto held on
                                                   third-party platforms (.40); correspondence with
                                                   platforms re: same (.30); call with Sygnia re: crypto
                                                   transfers (.50); analyze crypto tracing for recoveries
                                                   (.60); correspondence with A&M re: same (.20);
                                                   analyze issues re: platforms refusing to return assets
                                                   (.80); correspondence with A. Holland re: same (.10);
                                                   analyze issues re: recovery of tokens from issuer (.30);
                                                   correspondence with M. Wu re: same (.10); analyze
                                                   issues re: return of donations (1.1); correspondence
                                                   with C. Dunne re: same (.10).
07/05/2023 James Bromley                      1.00 Call with A. Dietderich, K. McArthur, W. Wagener,
                                                   B. Glueckstein, J. Rosenfeld, J. Ray (FTX) and Alix
                                                   re: update on historical financial statements.
07/05/2023 Anthony Lewis                      0.60 Correspondence with S&C team re: KYC issues
                                                   (.30); correspondence with S&C and A&M teams re:
                                                   asset transfers and tracing (.30).
07/05/2023 Bradley Harsch                     0.10 Review correspondence to S&C team re: FTX
                                                   funding by relevant third party.
07/05/2023 Bradley Harsch                     4.60 Correspondence re: status of relevant third party
                                                   accounts with FTX TR (.10); review correspondence
                                                   re: letter to director of non-US subsidiary (.10); call
                                                   with S. Wheeler re: status of non-profit asset recovery
                                                   (.20); research re: relevant third party re: funds
                                                   recovery (.10); review correspondence re: request for
                                                   contacts at relevant third party (.10); review
                                                   correspondence re: status of Alix review of non-profit
                                                   transfers (.10); review correspondence re: assessment
                                                   of relevant third party accounts at FTX TR (.30);
                                                   research and review re: non-profit recipients of debtor
                                                   funds (1.8); review correspondence re: follow-ups to
                                                   correspondence with non-profits re: fund recovery
                                                   (.20); review correspondence re: transfer of interest
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Date        Name                            Hours Description

                                                   for nominee owners of FTX entity (.30);
                                                   correspondence re: aid in recoveries from non-profits
                                                   (.10); review correspondence re: documents for fund
                                                   transfers to non-profit center for grant distributions
                                                   (.60); correspondence re: status of list of non-FEC
                                                   PAC donations (.10); correspondence re: addressing
                                                   Alameda investment (.10); review and research PACs
                                                   receiving FTX funds (.20); review correspondence re
                                                   tracker for large political donations (.10); review list of
                                                   asset recovery workstreams (.10).
07/05/2023 William Wagener                   0.30 Correspondence with S. Wheeler and J. Rosenfeld re:
                                                  asset finance issue.
07/05/2023 William Wagener                   1.00 Call with A. Dietderich, K. McArthur, J. Bromley, B.
                                                  Glueckstein, J. Rosenfeld, J. Ray (FTX) and Alix re:
                                                  update on historical financial statements.
07/05/2023 Kathleen Donnelly                 0.60 Review data re: recovery of asset (.40);
                                                  correspondence with S&C team re: same (.20).
07/05/2023 Zoeth Flegenheimer                1.90 Prepare talking points re: tracing political donation
                                                  funds (1.2); review analysis from Alix re: tracing
                                                  political donation funds (.40); coordinate with C.
                                                  Dunne re: tracing political donation funds (.10);
                                                  coordinate with J. Croke re: tracing political donation
                                                  funds (.10); coordinate with D. O'Hara re: tracing
                                                  political donation funds (.10).
07/05/2023 Meaghan Kerin                     0.10 Correspondence with A. Lewis, S. Rosenthal and
                                                  Chainalysis re: insurer requests.
07/05/2023 Jared Rosenfeld                   2.40 Call with A. Dietderich, K. McArthur, W. Wagener,
                                                  J. Bromley, B. Glueckstein, J. Rosenfeld, J. Ray
                                                  (FTX) and Alix re: update on historical financial
                                                  statements (1.0); correspondence to S&C team re:
                                                  research re: relevant third party acquisitions (.60);
                                                  correspondence re: research re: relevant third party
                                                  (.20); correspondence re: research into political
                                                  donations (.60).
07/05/2023 Daniel O'Hara                     2.00 Review documents re: charitable contribution asset
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Date        Name                            Hours Description

                                                   recovery.
07/05/2023 Daniel O'Hara                     0.60 Review and analyze possible political donations for
                                                  asset recovery.
07/05/2023 Samantha Rosenthal                6.10 Correspondences with A. Lewis, M. Kerin re: insurer
                                                  requests (.10); correspondences with H. Nachmias
                                                  (Sygnia) re: forensic investigation and FTX assets for
                                                  insurer request (.30); revise response to insurer re:
                                                  same (2.3); correspondences with A. Lewis, M. Kerin
                                                  and TRM re: time entries for insurer request (.20);
                                                  correspondences with A. Lewis, M. Kerin and
                                                  Chainalysis re: same (.30); correspondences with A.
                                                  Lewis and M. Kerin re: revisions to supplemental
                                                  materials for insurer request (.40); revise supplemental
                                                  materials for insurer request (1.9); correspondences
                                                  with M. West re: forensic artifacts for records (.20);
                                                  correspondences with R. Perubhatla re: amendments
                                                  to forensic investigation services agreements (.10);
                                                  correspondences with L. Avraham (Sygnia) and I.
                                                  Evental re: same (.10); review same (.20).
07/05/2023 M. Devin Hisarli                  1.10 Review and revise letters to vendors re: return of
                                                  debtor property.
07/05/2023 Luke Ross                         2.30 Review documents re: asset recovery project.
07/06/2023 Brian Glueckstein                 0.70 Review correspondence with relevant third party re:
                                                  warrants and follow-up (.10); review related materials
                                                  re: same (.30); correspondence with J. Croke re:
                                                  issuance and asset recovery issues (.30).
07/06/2023 Christopher Dunne                 0.30 Correspondence with S&C team re: political
                                                  donations.
07/06/2023 Jacob Croke                       3.20 Meeting with R. Weber (Winston), S. Frase (Boersch
                                                  Illovsky LLP), A. Favetta (Winston), S. Raymond
                                                  (SDNY), K. Donnelly, S. Levin and D. Charlemagne
                                                  (Winston) re: sale of asset (.90); analyze issues re:
                                                  recovery of donations (.30), correspondence with D.
                                                  O’Hara and A. Dietderich re: same (.20); analyze
                                                  issues re: bets and recoveries (.30), correspondence
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Date        Name                             Hours Description

                                                    with J. Gallant re: same (.20); analyze issues re: token
                                                    warrant and valuation (.40), correspondence with M.
                                                    Wu and J. Rosenfeld re: same (.30); call with G.
                                                    Walia (A&M) re: asset recoveries and related legal
                                                    entities (.30); analyze issues re: documentation of
                                                    account ownership (.20); correspondence with E.
                                                    Simpson re: same (.10).
07/06/2023 Sharon Levin                       0.90 Meeting with R. Weber (Winston), S. Frase (Boersch
                                                   Illovsky LLP), A. Favetta (Winston), S. Raymond
                                                   (SDNY), K. Donnelly, J. Croke and D. Charlemagne
                                                   (Winston) re: asset sale.
07/06/2023 Anthony Lewis                      1.90 Call with M. Kerin, S. Rosenthal and Sygnia team re:
                                                   forensic investigation report (1.1); correspondence
                                                   with S&C team re: relevant third party issues (.50);
                                                   correspondence with S&C team re: forensic
                                                   investigation (.10); correspondence with S&C team
                                                   re: asset tracing (.10); correspondence with S&C
                                                   team re: KYC issues (.10).
07/06/2023 Bradley Harsch                     0.10 Review correspondence to S&C team re: forensic
                                                   investigation.
07/06/2023 Bradley Harsch                     1.70 Review correspondence re: nominee assignments of
                                                   FTX entities (.10); review correspondence re: political
                                                   contributions recovery (.10); correspondence with
                                                   S&C team re: conflicts checks for university recipients
                                                   of FTX funds (.10); correspondence re: status of Alix
                                                   analysis of non-profit transfers (.20); correspondence
                                                   re: relevant third party claims against FTX TR (.10);
                                                   call with A. Calhoun (Alix) re: status of spreadsheet of
                                                   non-profit transfers (.10); meeting with D. O’Hara, E.
                                                   Downing and A. Newman re: non-profit contributions
                                                   tracker (.40); review correspondence with counsel for
                                                   relevant third party re: call on transfer (.20); review
                                                   correspondence re: relevant third party account (.10);
                                                   review correspondence re: universities donations
                                                   returns (.10); correspondence re inquiry from
                                                   non-profit to return funds (.10); revise talking points
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Date        Name                            Hours Description

                                                   for calls with non-profit transfer recipients (.10).
07/06/2023 Kathleen Donnelly                 1.10 Meeting with R. Weber (Winston), S. Frase (Boersch
                                                  Illovsky LLP), A. Favetta (Winston), S. Raymond
                                                  (SDNY), S. Levin, J. Croke and D. Charlemagne
                                                  (Winston) re: sale of asset (.90); correspondence with
                                                  S&C team re: same (.20).
07/06/2023 Zoeth Flegenheimer                0.30 Prepare talking points re: tracing political donation
                                                  funds.
07/06/2023 Meaghan Kerin                     1.70 Call with A. Lewis, S. Rosenthal and Sygnia re:
                                                  forensic investigation report (1.1); correspondence
                                                  with J. Folena (Stradley) and A. Lewis re: technical
                                                  questions for relevant third party (.10); review
                                                  updated list of open action items re: forensic
                                                  investigation (.10); correspondence with S. Rosenthal
                                                  and Chainalysis re: insurance requests (.10);
                                                  correspondence with N. Friedlander, A. Lewis, S.
                                                  Rosenthal and M. West re: ongoing case management
                                                  and asset tracing issues (.20); review updated
                                                  spreadsheets re: asset tracing (.10).
07/06/2023 Alexander Holland                 0.30 Attention to correspondence with S&C team with J.
                                                  Croke re: asset recovery workstreams (.20); attention
                                                  to correspondence with S&C team re: forensic
                                                  investigation (.10).
07/06/2023 Daniel O'Hara                     1.50 Review and analyze documents re: potential asset
                                                  recovery.
07/06/2023 Daniel O'Hara                     0.40 Meeting with B. Harsch, E. Downing and A. Newman
                                                  re: non-profit contributions tracker.
07/06/2023 Samantha Rosenthal                2.20 Call with A. Lewis, M. Kerin and Sygnia re: forensic
                                                  investigation report (1.1); revise notes re: same (.50);
                                                  correspondences with Sygnia re: services agreement
                                                  (.10); correspondence with A. Lewis re: same (.10);
                                                  revise workplan re: forensic investigation (.30);
                                                  correspondences with A. Lewis, M. Kerin and TRM
                                                  re: detailed time entries for insurer request (.10).
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Date        Name                            Hours Description
07/06/2023 Emma Downing                      0.40 Meeting with B. Harsch, D. O’Hara and A. Newman
                                                  re: non-profit contributions tracker.
07/06/2023 Alexander Newman                  0.40 Meeting with B. Harsch, D. O’Hara and E. Downing
                                                  re: non-profit contributions tracker. (no charge)
07/07/2023 Stephanie Wheeler                 0.90 Call with B. Glueckstein re: mechanism for release for
                                                  return of charitable contribution (.10); call with C.
                                                  Dunne re: same (.10); correspondence with B. Harsch
                                                  re: same (.20); correspondence with J. Croke and E.
                                                  Downing re: same (.20); review motion papers re:
                                                  same (.20); correspondence with M. Materni re: call
                                                  with recipient of charitable contribution (.10).
07/07/2023 Stephen Ehrenberg                 0.20 Review correspondence with B. Beller re: FTX
                                                  claims/estimation in relevant third party.
07/07/2023 Brian Glueckstein                 0.10 Call with S. Wheeler re: mechanism for release for
                                                  return of charitable contribution.
07/07/2023 Christopher Dunne                 0.10 Call with S. Wheeler re: mechanism for release for
                                                  return of charitable contribution.
07/07/2023 Kathleen McArthur                 0.20 Correspondence to: A. Dietderich, J. Rosenfeld and
                                                  D. Schwartz (Alix) re: forensic balance sheets.
07/07/2023 Jacob Croke                       3.60 Analyze insider crypto and fiat movements (.70);
                                                  analyze allocation of assets across silos (.30);
                                                  correspondence with A. Kranzley re: same (.10);
                                                  analyze issues re: recovery of political donations (.60);
                                                  correspondence with J. Rosenfeld re: same (.30);
                                                  analyze issues re: recoveries from third party platforms
                                                  (.30); correspondence with platforms, A&M and
                                                  Sygnia re: same (.90); analyze issues re: token
                                                  warrants and securing newly issued tokens (.30);
                                                  correspondence with M. Wu re: same (.10).
07/07/2023 James Bromley                     0.50 Call with Coinbase Asset Management, FTX and
                                                  A&M re: ongoing workstreams.
07/07/2023 Anthony Lewis                     0.50 Review materials re: forensic investigation (.10);
                                                  correspondence with S&C team re: forensic
                                                  investigation (.10); correspondence with S&C team
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Date        Name                             Hours Description

                                                    re: relevant third party issues (.20); correspondence
                                                    with S&C team re: asset transfers (.10).
07/07/2023 Bradley Harsch                     4.00 Review correspondence with director of non-US
                                                   subsidiary re: outreach to regulator (.20); prepare for
                                                   call with non-profit entity re: return of funds (.30);
                                                   review correspondence re: universities donations
                                                   returns (.20); call with D. O’Hara and D. Clark
                                                   (Stinson LLP) re: non-profit contribution return (.20);
                                                   call with D. O’Hara re: non-profit contribution asset
                                                   recovery (.20); correspondence re: call with counsel
                                                   for non-profit re; return of funds (.30); review
                                                   correspondence re: political donations contacts (.10);
                                                   review correspondence re: contacts for universities re
                                                   asset recovery (.10); call with D. O’Hara, E. Downing
                                                   and K. Schultea (RLKS) re: return of funds process
                                                   (.20); review correspondence re: return of funds from
                                                   Israeli non-profit (.10); correspondence re: releases
                                                   and returns from non-profit entities (.30); draft
                                                   correspondence re: settlement proposals from two
                                                   non-profits (.70); review correspondence re: revised
                                                   list of non-profit donation recipients (.50);
                                                   correspondence re: revised analysis of non-profit
                                                   transfers (.20); call with D. O’Hara and E. Downing
                                                   re: non-profit donation recovery (.30); review
                                                   correspondence re: letter from director of non-US
                                                   subsidiary to regulator (.30).
07/07/2023 Mark Bennett                       0.40 Correspondence with J. Croke and A&M re:
                                                   transaction data for account of interest to investigation.
07/07/2023 Meaghan Kerin                      0.70 Review draft forensic report (.50); correspondence
                                                   with N. Friedlander, A. Lewis, A. Holland and Sygnia
                                                   re: same (.10); correspondence with S. Rosenthal and
                                                   TRM re: insurance request (.10).
07/07/2023 Meaghan Kerin                      0.10 Correspondence with S. Rosenthal and FTI re:
                                                   document production issues.
07/07/2023 Jared Rosenfeld                    3.30 Correspondence to S&C team re: state-level political
                                                   donations research (.30); review memoranda re:
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Date        Name                            Hours Description

                                                   Relevant Third Parties (.60); research investment in
                                                   warrants in Relevant Third Party (2.40).
07/07/2023 Alexander Holland                 0.80 Correspondence with J. Croke and Alix re: asset
                                                  recovery workstreams (.70); attention to
                                                  correspondence with S&C team re: forensic
                                                  investigation (.10).
07/07/2023 Daniel O'Hara                     1.60 Draft settlement papers re: charitable donation
                                                  recovery (.30); review documents re: political
                                                  donation asset recovery (.70); call with B. Harsch, E.
                                                  Downing and K. Schultea (RLKS) re: return of funds
                                                  process (.20); call with B. Harsch and E. Downing re:
                                                  non-profit donation recovery (.30); call with E.
                                                  Downing re: non-profit recovery records (.10).
07/07/2023 Daniel O'Hara                     0.90 Review documents re: potential asset recovery (.50);
                                                  call with B. Harsch and D. Clark (Stinson LLP) re:
                                                  non-profit contribution return (.20); call with B.
                                                  Harsch re: non-profit contribution asset recovery
                                                  (.20).
07/07/2023 Samantha Rosenthal                0.50 Correspondences with A. Lewis re: TRM asset
                                                  analysis (.20); correspondences with A. Lewis and M.
                                                  Kerin re: TRM detailed time entries for insurer
                                                  requests (.30).
07/07/2023 Emma Downing                      1.00 Call with B. Harsch, D. O’Hara and K. Schultea
                                                  (RLKS) re: return of funds process (.20); call with B.
                                                  Harsch and D. O’Hara re: non-profit donation
                                                  recovery (.30); review non-profit contributions
                                                  spreadsheet (.40); call with D. O'Hara re: non-profit
                                                  recovery records (.10).
07/07/2023 S. Fischer                        0.50 Research and verify charitable contributions for asset
                                                  recovery. (no charge)
07/08/2023 Jacob Croke                       1.30 Analyze issues re: misappropriated assets and
                                                  recovery strategy (.70); correspondence with Alix re:
                                                  same (.20); analyze insider crypto and fiat movements
                                                  (.30); correspondence with Z. Flegenheimer re: same
                                                  (.10).
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Date        Name                             Hours Description

07/08/2023 Anthony Lewis                      0.50 Review materials re: forensic investigation.
07/08/2023 Meaghan Kerin                      0.10 Review correspondence with A. Holland re: asset
                                                   tracing issues.
07/08/2023 Alexander Holland                  0.90 Correspondence with J. Croke and Alix re: asset
                                                   recovery workstream.
07/09/2023 Jacob Croke                        1.00 Analyze issues re: recoveries from third party
                                                   platforms (.40); revise board slides re: same (.50);
                                                   correspondence with A&M re: same (.10).
07/09/2023 Alexander Holland                  0.10 Attention to correspondence with S&C team re: asset
                                                   recovery.
07/10/2023 Stephanie Wheeler                  0.60 Revise follow up correspondence with charitable
                                                   contribution recipients re: asset recovery issues (.10);
                                                   call with Orrick, J. Myers (the relevant third party), B.
                                                   Harsch and D. O’Hara re: non-profit donation asset
                                                   recovery (.20); call with B. Harsch and D. O’Hara re:
                                                   non-profit donation asset recoveries (.10);
                                                   correspondence with B. Harsch re: draft
                                                   correspondence with recipient of charitable grants
                                                   (.20).
07/10/2023 Brian Glueckstein                  0.80 Call with J. Croke, A. Kranzley and A&M re: analysis
                                                   of recoveries by legal entity (.60); follow-up meeting
                                                   with A. Kranzley re: same (.20).
07/10/2023 Jacob Croke                        1.40 Call with B. Glueckstein, A. Kranzley and A&M re:
                                                   analysis of recoveries by legal entity (.60); analyze
                                                   issues re: staked crypto and recoveries (.30);
                                                   correspondence with S. Wheeler re: same (.10);
                                                   analysis re: crypto tracing (.30); correspondence with
                                                   Sygnia re: same (.10).
07/10/2023 Anthony Lewis                      0.40 Correspondence with S&C and A&M teams re: asset
                                                   tracing (.10); correspondence with S&C team re:
                                                   KYC process (.10); correspondence with S&C and
                                                   A&M teams re: relevant third party issues (.20).
07/10/2023 Alexa Kranzley                     0.80 Call with J. Croke, B. Glueckstein and A&M re:
                                                   analysis of recoveries by legal entity (.60); follow-up
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Date        Name                             Hours Description

                                                    meeting with B. Glueckstein re: same (.20).
07/10/2023 Bradley Harsch                     3.90 Review correspondence re: response to claims by
                                                   director of non-US subsidiary (.30); review
                                                   correspondence re: conflicts for batch of non-profit
                                                   donees (.20); call with D. O’Hara, E. Downing and
                                                   Alix team re: non-profit donation recovery (.30);
                                                   correspondence re: outreach to universities re
                                                   donation returns (.10); review correspondence re calls
                                                   on non-US subsidiary (.10); research re FTX
                                                   payments to California university (.60); call with D.
                                                   O’Hara re: non-profit donation asset recoveries (.20);
                                                   call with Orrick, J. Myers (the relevant third party), S.
                                                   Wheeler and D. O’Hara re: non-profit donation asset
                                                   recovery (.20); call with S. Wheeler and D. O’Hara
                                                   re: non-profit donation asset recoveries (.10); call with
                                                   D. O'Hara re: same (.20); research and draft
                                                   correspondence with Florida university re: donation
                                                   recovery (.50); review correspondence re: response
                                                   to query from counsel for non-profit research group
                                                   (.40); correspondence re: conflicts for relevant third
                                                   party recipient of debtor funds (.20); correspondence
                                                   with Turkish counsel re: outreach to regulator and
                                                   inquiry from relevant third party (.30); correspondence
                                                   re: recovery prioritization for university recipients of
                                                   debtor funds (.20).
07/10/2023 Shane Yeargan                      1.00 Attend crypto exchange transfer session.
07/10/2023 Meaghan Kerin                      0.20 Review correspondence with A. Holland and A&M
                                                   re: asset tracing issues (.10); review correspondence
                                                   with Sygnia re: dark web monitoring (.10).
07/10/2023 Alexander Holland                  0.20 Attention to correspondence with S&C team re:
                                                   forensic investigation.
07/10/2023 Daniel O'Hara                      4.90 Review and analyze spreadsheet re: political
                                                   contributions for potential recovery (.90); review and
                                                   analyze documents re: charitable contributions for
                                                   asset recovery (2.6); meeting with S. Fischer re:
                                                   charitable contributions for asset recovery (.50); call
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Date        Name                           Hours Description

                                                  with B. Harsch, E. Downing and Alix team re:
                                                  non-profit donation recovery (.30); call with E.
                                                  Downing and M. Artis re: non-profit contributions
                                                  workstream (.10); call with Orrick, J. Myers (the
                                                  relevant third party), S. Wheeler and B. Harsch re:
                                                  non-profit donation asset recovery (.20); call with S.
                                                  Wheeler and B. Harsch re: non-profit donation asset
                                                  recoveries (.10); call with B. Harsch re: same (.20).
07/10/2023 Samantha Rosenthal               0.20 Attention to correspondences with Sygnia re: dark
                                                 web activity and asset tracing.
07/10/2023 Emma Downing                     0.40 Call with D. O’Hara and M. Artis re: non-profit
                                                 contributions workstream (.10); call with B. Harsch,
                                                 D. O’Hara and Alix team re: non-profit donation
                                                 recovery (.30).
07/10/2023 M. Devin Hisarli                 0.50 Correspondence with local counsel and S&C team re:
                                                 unfreezing of assets in non-US jurisdiction.
07/10/2023 Maya Artis                       2.00 Review non-profit asset recovery workstream (1.5);
                                                 update document files and tracker (.50). (no charge)
07/10/2023 Maya Artis                       0.10 Call with D. O’Hara and E. Downing re: non-profit
                                                 contributions workstream. (no charge)
07/10/2023 Callen DiGiovanni                3.10 Review research re: conduit defense. (no charge)
07/10/2023 S. Fischer                       2.90 Research and verify charitable contributions for asset
                                                 recovery (1.5); meeting with D. O'Hara re: same
                                                 (.50); update recipient contact information (.90). (no
                                                 charge)
07/11/2023 Stephanie Wheeler                0.10 Call with B. Harsch re: documents re: charitable
                                                 contribution recipient.
07/11/2023 Kathleen McArthur                0.30 Correspondence with S&C team re: historical balance
                                                 sheets
07/11/2023 Jacob Croke                      2.10 Asset tracing re: Alameda wallets and related
                                                 movements (.90), correspondence with A&M re:
                                                 same (.20); analyze issues re: recoveries from third
                                                 party platforms (.30); correspondence with Sygnia re:
                                                 same (.10); analyze tracing of misappropriated assets
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                                                    and potential recovery plan (.60).
07/11/2023 Nicole Friedlander                 0.30 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: forensic investigation.
07/11/2023 Anthony Lewis                      1.20 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia team re: status of forensic
                                                   investigation (.30); correspondence with FTX and
                                                   S&C teams re: relevant third party issues (.30);
                                                   correspondence with S&C, Sygnia and A&M teams
                                                   re: asset transfers and tracking (.20); correspondence
                                                   with DOJ and S&C teams re: forensic investigation
                                                   (.40).
07/11/2023 Bradley Harsch                     4.80 Research and revise talking points for call with
                                                   non-profits re: solvency question (.40); call with D.
                                                   O’Hara re: non-profit contribution recovery
                                                   workstream (.20); correspondence re: ventures
                                                   investments and coordination with non-profit
                                                   recoveries (.10); review correspondence re: transfers
                                                   to relevant third party (.50); review and revise tracker
                                                   for outreach to non-profit donees (.50); call with D.
                                                   O’Hara and M. Dowling (Tovella Dowling) re:
                                                   non-profit asset recovery (.40); call with D. O’Hara
                                                   re: same (.10); correspondence re: call with counsel
                                                   for non-profit donee (.40); research and review
                                                   documents and draft correspondence re: transfers to
                                                   relevant third parties (1.0); review and compile
                                                   documents re: return of funds (.70); call with B.
                                                   Harsch re: documents re: charitable contribution
                                                   recipient (.10); correspondence with relevant third
                                                   party re: same (.10); revise talking points re: calls with
                                                   non-profit donees (.30).
07/11/2023 Bradley Harsch                     0.80 Correspondence with S. Wheeler re: response to
                                                   query from non-profit re: asset recovery (.10); review,
                                                   draft and circulate documents to third party re: return
                                                   of FTX donation (.70).
07/11/2023 William Wagener                    0.40 Call with J. LaBella (Alix) re: issues relating to
                                                   historical financial condition reconstruction.
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07/11/2023 Mark Bennett                      0.50 Analyze transaction data of account of interest and
                                                  correspondence with J. Croke re: same.
07/11/2023 Meaghan Kerin                     0.60 Call with N. Friedlander, A. Lewis, A. Holland, S.
                                                  Rosenthal and Sygnia re: status of forensic
                                                  investigation (.30); review updated list of action items
                                                  re forensic investigation (.10); correspondence with
                                                  M. West re: records management (.10);
                                                  correspondence with A. Lewis, S. Rosenthal, Sygnia
                                                  and Chainalysis re: insurance requests (.10).
07/11/2023 Alexander Holland                 0.60 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                  Rosenthal and Sygnia re: status of forensic
                                                  investigation (.30); correspondence with A&M re:
                                                  asset recovery project (.30).
07/11/2023 Daniel O'Hara                     6.00 Review and analyze documents re: charitable
                                                  contributions for asset recovery (4.1); review and
                                                  analyze documents re: political contributions (.60);
                                                  meeting with C. Sullivan re: political donation asset
                                                  recovery (.20); call with B. Harsch re: non-profit
                                                  contribution recovery workstream (.20); call with B.
                                                  Harsch and M. Dowling (Tovella Dowling) re:
                                                  non-profit asset recovery (.40); call with B. Harsch re:
                                                  same (.10); call with E. Downing re: non-profit
                                                  recovery workstream (.20); meeting with C. Sullivan
                                                  re: political donation asset recovery (.20).
07/11/2023 Samantha Rosenthal                3.60 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                  Holland and Sygnia re: status of forensic investigation
                                                  (.30); revise workplan re: forensic investigation (1.0);
                                                  review FTI RFI re: forensic investigation (.30); draft
                                                  summary re: same (.70); correspondences with Sygnia
                                                  re: same (.20); correspondence with M. West re:
                                                  forensic artifacts (.10); review Sygnia forensic
                                                  investigation draft report (.70); correspondences with
                                                  Chainalysis re: detailed time entries for insurer requests
                                                  (.10); correspondences with TRM re: same (.10);
                                                  correspondences with Sygnia re: amendments to
                                                  services agreements re: forensic investigation (.10).
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07/11/2023 Emma Downing                       0.20 Call with D. O'Hara re: non-profit recovery
                                                   workstream.
07/11/2023 Maya Artis                         4.00 Update document and tracker information re:
                                                   non-profit asset recovery. (no charge)
07/11/2023 S. Fischer                         1.20 Research and verify charitable contributions for asset
                                                   recovery. (no charge)
07/11/2023 Carly Sullivan                     0.20 Meeting with D. O’Hara re: political donation asset
                                                   recovery. (no charge)
07/12/2023 Stephen Ehrenberg                  0.50 Call with B. Harsch, D. Hisarli and local counsel re:
                                                   developments to unfreeze non-US subsidiary assets.
07/12/2023 Brian Glueckstein                  0.30 Correspondence with J. Croke re: asset recovery
                                                   issues.
07/12/2023 Kathleen McArthur                  0.20 Correspondence with J Rosenfeld re: historical
                                                   balance sheets.
07/12/2023 Jacob Croke                        1.80 Analyze issues re: misappropriated assets and
                                                   exchange activity (.40), correspondence with Alix re:
                                                   same (.20); analyze issues re: token warrant and
                                                   potential issuance (.30), correspondence with M. Wu
                                                   and J. Rosenfeld re: same (.20); analyze issues re:
                                                   recoveries from third party exchange accounts (.50),
                                                   correspondence with A&M re: same (.20).
07/12/2023 Evan Simpson                       0.40 Call with B. Harsch, F. Weinberg Crocco and D.
                                                   Hisarli re: strategy to recover non-US subsidiary
                                                   assets.
07/12/2023 Sharon Levin                       0.90 Meeting with W. Wagener, J. Rosenfeld and N. Hills
                                                   re: forfeiture issues.
07/12/2023 Sharon Levin                       0.20 Correspondence with R. Weber (Winston) re: asset
                                                   sale.
07/12/2023 Anthony Lewis                      0.30 Correspondence with S&C team re: relevant third
                                                   party issues (.10); correspondence with S&C, A&M
                                                   and Sygnia teams re: asset transfers (.10);
                                                   correspondence with DOJ and S&C teams re:
                                                   forensic investigation (.10).
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07/12/2023 Bradley Harsch                     6.70 Call with S. Ehrenberg, D. Hisarli and local counsel re
                                                   developments to unfreeze non-US subsidiary assets
                                                   (.20 - partial attendance); correspondence re:
                                                   donations to relevant third party (.10);
                                                   correspondence re: status of research on donations to
                                                   relevant third party and non-profits (.10); review
                                                   correspondence re: relevant third party and meeting of
                                                   director of non-US subsidiary with government
                                                   authority (.10); review and prepare docs re:
                                                   transmission to relevant third party donee (.20);
                                                   review summary of call with Turkish counsel (.10);
                                                   correspondence re: non-US subsidiary
                                                   correspondence with government authorities (.10);
                                                   review correspondence re: recovery of donation to
                                                   charity (.30); call with D. O'Hara re: non-profit asset
                                                   recovery workstream (.40); revise talking points for
                                                   calls with non-profits re: mere conduit defense (.20);
                                                   review correspondence re: research on transfers to
                                                   private relevant third party (.90); research
                                                   correspondence re: contacts for relevant third party
                                                   (.30); compile documents re: same (1.2); call with E.
                                                   Simpson, F. Weinberg Crocco and D. Hisarli re:
                                                   strategy to recover non-US subsidiary assets (.40);
                                                   correspondence with Alix re: basis for tied out transfer
                                                   analysis (.20); review status of non-profits recovery
                                                   workstream (.30); revise and update tracker for
                                                   non-profit donee outreach (.20); compile and review
                                                   documents for relevant third party (.60); research
                                                   contacts and draft correspondence with relevant third
                                                   party re: return of funds (.50); review spreadsheet re:
                                                   potential non-profit targets for fund returns (.30).
07/12/2023 William Wagener                    0.90 Meeting with S. Levin, J. Rosenfeld and N. Hills re:
                                                   forfeiture issues.
07/12/2023 Fabio Weinberg Crocco              0.60 Call with E. Simpson, B. Harsch and D. Hisarli re:
                                                   strategy to recover non-US subsidiary assets (.40);
                                                   review correspondence re: same (.20).
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07/12/2023 Meaghan Kerin                     2.40 Correspondence with A. Lewis, K. Donnelly, Z.
                                                  Flegenheimer, M. Strand, D. O’Hara and S.
                                                  Rosenthal re: Signal communications re: cyber incident
                                                  (.20); review correspondence with DOJ re: same
                                                  (.10); review documents re: DOJ request (1.6);
                                                  correspondence with A&M and Sygnia re: dark web
                                                  monitoring of FTX accounts (.10); correspondence
                                                  with DOJ re: document production (.10);
                                                  correspondence with N. Friedlander, A. Lewis and S.
                                                  Rosenthal re: cyber insurance issues (.10); review
                                                  correspondence with TRM re: asset tracing updates
                                                  (.10); correspondence with M. West re: records
                                                  management (.10).
07/12/2023 Jared Rosenfeld                   0.30 Correspondence with S&C team re: production of
                                                  Quickbooks data.
07/12/2023 Jared Rosenfeld                   0.90 Meeting with S. Levin, W. Wagener and N. Hills re:
                                                  forfeiture issues.
07/12/2023 Jared Rosenfeld                   0.70 Call with T. Millet re: research re: venture investment.
07/12/2023 Alexander Holland                 1.40 Meeting with A&M re: asset recovery project (.90);
                                                  correspondence with A&M re: same (.10); draft
                                                  correspondence with J. Croke re: asset recovery
                                                  workstream (.40).
07/12/2023 Daniel O'Hara                     5.00 Review and analyze documents re: charitable
                                                  contributions for asset recovery (3.5); review memo
                                                  re: conduit case law for charitable donations (.20);
                                                  review draft settlement agreement re: charitable
                                                  contribution (.40); call with B. Harsch re: non-profit
                                                  asset recovery workstream (.40); meeting with S.
                                                  Fischer re: research re: charitable trusts and asset
                                                  recovery (.50).
07/12/2023 Samantha Rosenthal                0.70 Correspondences with N. Friedlander, A. Lewis and
                                                  M. Kerin re: responses to insurance request (.30);
                                                  revise re: same (.40).
07/12/2023 Emma Downing                      1.30 Draft settlement agreement re: return of donation
                                                  funds.
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07/12/2023 Natalie Hills                     0.90 Meeting with S. Levin, W. Wagener, and J. Rosenfeld
                                                  re: forfeiture issues.
07/12/2023 M. Devin Hisarli                  2.50 Call with S. Ehrenberg, B. Harsch and local counsel
                                                  re: developments to unfreeze non-US subsidiary assets
                                                  (.50); correspondence with E. Simpson and F.
                                                  Weinberg Crocco re: same (.60); call with E.
                                                  Simpson, B. Harsch and F. Weinberg Crocco re:
                                                  strategy to recover non-US subsidiary assets (.40);
                                                  draft follow-up correspondence with local counsel re:
                                                  same (.30); draft correspondence with R. Perubhatla
                                                  (FTX) re: return of data re: vendor agreements (.50);
                                                  correspondence with R. Perubhatla (FTX) re: same
                                                  (.20).
07/12/2023 Tatum Millet                      3.50 Call with J. Rosenfeld re: research re: venture
                                                  investment (.70); research and review documents re:
                                                  same (2.6); correspondence with J. Rosenfeld re:
                                                  same (.20).
07/12/2023 Callen DiGiovanni                 0.70 Correspondence with D. O'Hara and E. Downing re:
                                                  conduit defense (.20); research and finalize summary
                                                  re: same (.50). (no charge)
07/12/2023 S. Fischer                        0.80 Meeting with S. Fischer re: research re: charitable
                                                  trusts and asset recovery (.50); research and verify
                                                  charitable contributions for asset recovery (.30). (no
                                                  charge)
07/12/2023 Berke Gursoy                      2.80 Finalized timeline of a transaction for review by the
                                                  associates. (no charge)
07/13/2023 Kathleen McArthur                 0.20 Correspondence with S&C team re: forensic
                                                  accounting.
07/13/2023 Jacob Croke                       1.70 Call with Alix re: OTC activity, asset movements and
                                                  potential investigative workstreams (1.2); analyze
                                                  issues re: SDNY transfers of interest (.30),
                                                  correspondence to A. Holland re: same (.20).
07/13/2023 Jacob Croke                       3.80 Analyze activities on third-party platforms and
                                                  potential recovery plan (.60); correspondence with
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                                                    A&M, Sygnia and third parties re: same (.80); analyze
                                                    issues re: recovery of seized assets (.20),
                                                    correspondence with S. Levin re: same (.10); analyze
                                                    issues re: crypto recovery and staking (.30),
                                                    correspondence with A. Dietderich re: same (.10);
                                                    analyze issues re: inbound information re: creditor
                                                    claims and potential sources of assets (.80),
                                                    correspondence with B. Glueckstein and S. Holley re:
                                                    same (.30).
07/13/2023 Sharon Levin                       0.10 Correspondence with S. Frase (Boersch Illovsky
                                                   LLP) re: asset seizure.
07/13/2023 Anthony Lewis                      0.20 Correspondence with S&C, Chainalysis, FBI and
                                                   DOJ teams re: asset tracing.
07/13/2023 Bradley Harsch                     0.40 Meeting with D. O'Hara, E. Downing, P. Levin, M.
                                                   Artis and S. Fischer re: non-profit contributions
                                                   tracker.
07/13/2023 William Wagener                    0.90 Correspondence with S&C team re: criminal forfeiture
                                                   and potential application to FTX (.50);
                                                   correspondence with S&C team re: new regulatory
                                                   lawsuit against cryptocurrency lending company (.40).
07/13/2023 Meaghan Kerin                      0.90 Review summary of Slack messages re: forensic
                                                   investigation (.30); correspondence with A. Lewis and
                                                   S. Rosenthal re: same (.10); correspondence with N.
                                                   Menillo, A. Lewis and S. Rosenthal re: insurance
                                                   issues (.10); correspondence with S&C team,
                                                   Chainalysis and FBI re: asset tracing updates (.20);
                                                   review updated Chainalysis report re: asset tracing
                                                   (.20).
07/13/2023 Alexander Holland                  2.10 Prepare talking points re: presentation re: asset
                                                   recovery.
07/13/2023 Daniel O'Hara                      0.30 Review draft settlement agreement re: charitable
                                                   contribution recipient.
07/13/2023 Daniel O'Hara                      6.00 Review case law re: omnibus settlement motion (1.0);
                                                   draft motion re: same (3.9); review and analyze
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                                                   documents re: charitable contributions for potential
                                                   recovery (.70); meeting with B. Harsch, E. Downing,
                                                   P. Lavin, M. Artis and S. Fischer re: non-profit
                                                   contributions tracker (.40).
07/13/2023 Samantha Rosenthal                0.60 Revise materials for insurer request (.50);
                                                  correspondence with N. Menillo, A. Lewis and M.
                                                  Kerin re: same (.10).
07/13/2023 Emma Downing                      1.20 Revise settlement papers re: donation return (.80);
                                                  meeting with B. Harsch, D. O’Hara, P. Lavin, M.
                                                  Artis and S. Fischer re: non-profit contributions
                                                  tracker (.40).
07/13/2023 M. Devin Hisarli                  1.60 Review and revise correspondence with local counsel
                                                  re: strategy to unfreeze assets (.50); correspondence
                                                  with vendor companies for return of debtor data (1.1).
07/13/2023 Phoebe Lavin                      0.40 Meeting with B. Harsch, D. O’Hara, E. Downing, M.
                                                  Artis and S. Fischer re: non-profit contributions
                                                  tracker.
07/13/2023 Maya Artis                        0.40 Meeting with B. Harsch, D. O’Hara, E. Downing, P.
                                                  Lavin and S. Fischer re non-profit contributions
                                                  tracker. (no charge)
07/13/2023 S. Fischer                        2.60 Meeting with B. Harsch, D. O’Hara, E. Downing, P.
                                                  Lavin and M. Artis re: non-profit contributions tracker
                                                  (.40); research charitable trusts and restricted
                                                  donations (2.2). (no charge)
07/14/2023 Jacob Croke                       3.50 Asset tracing and strategy re: potential recoveries
                                                  (.40); analyze issues re: token recoveries (.20);
                                                  correspondence with A. Titus (A&M) re: same (.10);
                                                  analyze issues re: recoveries of assets from third-party
                                                  exchanges (.40); correspondence with exchanges and
                                                  A&M re: same (.50); review and revise materials for
                                                  board re: exchange accounts (1.4); correspondence
                                                  with D. Sagen (A&M) and K. Ramanathan (A&M)
                                                  re: same (.50).
07/14/2023 Anthony Lewis                     1.20 Call with S. Rosenthal re: production to DOJ and
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                                                    insurance information requests (.10); review materials
                                                    re: forensic investigation (.70); correspondence with
                                                    S&C, DOJ and Sygnia teams re: forensic investigation
                                                    (.40).
07/14/2023 Bradley Harsch                     0.70 Draft bullets for board slides on relevant third party
                                                   and donation recovery (.50); correspondence to S&C
                                                   team re: same (.20).
07/14/2023 Bradley Harsch                     1.60 Review correspondence re: response to counsel for
                                                   non-profit donee (.30); review draft correspondence
                                                   and documents for relevant third party donees (.10);
                                                   review correspondence re: negotiations with director
                                                   of non-US subsidiary and outreach to prosecutors
                                                   (.30); draft questions re: non-profit settlement process
                                                   and prep for team meeting (.20); review analysis
                                                   correspondence re: potential recovery from relevant
                                                   third party (.30); call with D. O’Hara re: non-profit
                                                   asset recovery workstream (.10); review
                                                   correspondence re: research on donation to relevant
                                                   third party (.10); review updated analysis of non-profit
                                                   donations (.20).
07/14/2023 Meaghan Kerin                      0.60 Correspondence with A. Lewis, S. Rosenthal and
                                                   Sygnia re: Slack messages of potential interest to
                                                   forensic investigation (.10); review updated submission
                                                   to cyber insurer (.10); correspondence with N.
                                                   Menillo, A. Lewis, S. Rosenthal and Sygnia re: same
                                                   (.20); correspondence with A. Lewis, S. Rosenthal,
                                                   DOJ and FBI re: document production (.20).
07/14/2023 Alexander Holland                  0.60 Prepare for meeting with J. Croke re: asset recovery
                                                   workstreams (.30); attention to correspondence with
                                                   S&C team re: forensic investigation (.20); draft
                                                   correspondence with J. Croke re: asset recovery
                                                   workstream (.10).
07/14/2023 Daniel O'Hara                      0.50 Review and analyze documents re: charitable
                                                   contributions for asset recovery (.40); call with B.
                                                   Harsch re: non-profit asset recovery workstream
                                                   (.10).
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07/14/2023 Daniel O'Hara                      4.70 Draft and revise omnibus settlement procedures
                                                   motion.
07/14/2023 Samantha Rosenthal                 0.30 Call with A. Lewis re: production to DOJ and
                                                   insurance information requests (.10); correspondences
                                                   with A. Lewis, N. Menillo and M. Kerin re: insurer
                                                   requests (.20).
07/14/2023 S. Fischer                         2.80 Research and verify non-profit contributions for asset
                                                   recovery. (no charge)
07/15/2023 Jacob Croke                        2.40 Review and revise materials for board re: recoveries
                                                   of assets from third party platforms (1.6);
                                                   correspondence with G. Walia (A&M) and Sygnia re:
                                                   same (.80).
07/15/2023 Anthony Lewis                      0.20 Correspondence with FBI, DOJ and S&C teams re:
                                                   forensic investigation evidence (.10); correspondence
                                                   with S&C team re: relevant third party issues (.10).
07/15/2023 Bradley Harsch                     0.30 Review and revise settlement papers re: recovery of
                                                   donation.
07/15/2023 Meaghan Kerin                      0.10 Correspondence with A. Lewis, S. Rosenthal, DOJ
                                                   and FBI re: document production.
07/15/2023 Daniel O'Hara                      0.60 Draft settlement papers re: relevant third party.
07/16/2023 Stephanie Wheeler                  0.40 Revise motion and settlement stipulation re: relevant
                                                   third party return of donation.
07/16/2023 Anthony Lewis                      0.20 Correspondence with S&C team re: relevant third
                                                   party issues (.10); correspondence with S&C team re:
                                                   forensic investigation evidence (.10).
07/16/2023 Meaghan Kerin                      1.00 Analysis re: DOJ production issues (.80);
                                                   correspondence with A. Lewis, S. Rosenthal, A.
                                                   Holland and N. Wolowski re same (.20).
07/17/2023 Stephanie Wheeler                  0.40 Call with C. Dunne and B. Harsch re: charitable
                                                   contributions return process (.20); call with A.
                                                   Kranzley re: same (.10); correspondence with K.
                                                   Donnelly re: summaries re: Bahamas properties
                                                   project (.10).
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07/17/2023 Stephen Ehrenberg                  0.50 Call with non-US subsidiary personnel, local counsel,
                                                   B. Harsch, E. Simpson, D. Hisarli, F. Weinberg
                                                   Crocco and A&M team re: next steps to recover
                                                   non-US subsidiary assets.
07/17/2023 Stephen Ehrenberg                  0.10 Review materials and correspondence with director of
                                                   non-US subsidiary re: contact with local authority.
07/17/2023 Christopher Dunne                  0.20 Call with S. Wheeler and B. Harsch re: charitable
                                                   contributions return process.
07/17/2023 Jacob Croke                        4.20 Revise materials for Board re: crypto recoveries and
                                                   additional sources of assets (1.6), correspondence
                                                   with A&M and J. Ray (FTX) re: same (.70);
                                                   correspondence with exchanges re: additional crypto
                                                   assets (.30); analyze issues re: recovery of assets from
                                                   insiders (.60); correspondence with A. Holland re:
                                                   same (.20); analyze OTC trading and potential
                                                   recoveries (.70); correspondence with A&M re: same
                                                   (.10).
07/17/2023 Jacob Croke                        0.50 Call with S. Levin, K. Donnelly, SDNY and Marshalls
                                                   re: asset recovery.
07/17/2023 Evan Simpson                       0.50 Call with non-US subsidiary personnel, local counsel
                                                   B. Harsch, S. Ehrenberg, D. Hisarli, F. Weinberg
                                                   Crocco and A&M teams re: next steps to recover
                                                   non-US subsidiary assets.
07/17/2023 Sharon Levin                       0.30 Correspondence with S. Frase (Boersch Illovsky
                                                   LLP) re: asset sale.
07/17/2023 Sharon Levin                       0.30 Call with J. Croke, K. Donnelly, SDNY and
                                                   Marshalls re: asset recovery. (partial attendance)
07/17/2023 Anthony Lewis                      0.10 Correspondence with DOJ, FBI and S&C teams re:
                                                   evidence re: forensic investigation.
07/17/2023 Alexa Kranzley                     0.10 Call with S. Wheeler re: charitable contributions return
                                                   process.
07/17/2023 Bradley Harsch                     4.50 Review correspondence re: comments on settlement
                                                   papers with relevant third party re: return of funds
                                                   (.30); call with non-US subsidiary personnel, local
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Date        Name                            Hours Description

                                                   counsel, E. Simpson, S. Ehrenberg, D. Hisarli, F/
                                                   Weinberg Crocco and A&M team re: next steps to
                                                   recover non-US subsidiary assets (.50); review and
                                                   circulate papers for return of funds by relevant third
                                                   party (.50); prepare for call with Alix re: analysis of
                                                   non-profit donations (.20); call with S. Wheeler and
                                                   C. Dunne re: charitable contributions return process
                                                   (.20); call with D. O'Hara, E. Downing, P. Lavin, M.
                                                   Birtwell (Alix), A. Calhoun (Alix) and G. Shapiro
                                                   (Alix) re: non-profit contributions (.30); follow up re:
                                                   potential conflicts with relevant third party donees
                                                   (.20); review correspondence re: next priorities for
                                                   non-profit asset recovery (.60); review
                                                   correspondence with director of non-US subsidiary re:
                                                   contact with government authorities (.10); finalize and
                                                   circulate documents re: funds recovery (.40);
                                                   correspondence with effective altruism non-profit re:
                                                   same (.10); research re: non-profit re: donation
                                                   recovery (.30); correspondence re: call with third
                                                   party donation recipient re: funds recovery (.20);
                                                   correspondence re: follow up with relevant third party
                                                   non-profit re: funds recovery (.10); review status of
                                                   outreach to non-profits re: funds recovery (.30);
                                                   correspondence re: outreach to nominee owners of
                                                   debtor entities (.20).
07/17/2023 Fabio Weinberg Crocco             0.50 Call with non-US subsidiary personnel, local counsel,
                                                  B. Harsch, E. Simpson, D. Hisarli, S. Ehrenberg and
                                                  A&M team re: next steps to recover non-US
                                                  subsidiary assets.
07/17/2023 Kathleen Donnelly                 0.80 Call with J. Croke, S. Levin, SDNY and Marshalls re:
                                                  asset recovery (.50); revise notes of call re: same
                                                  (.30).
07/17/2023 Meaghan Kerin                     1.30 Review records re: government interviews and proffer
                                                  read-outs re: forensic investigation (.80); draft tracker
                                                  re same (.30); correspondence with N. Friedlander,
                                                  A. Lewis, S. Rosenthal and A. Holland re: same (.10);
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                                                    correspondence with A&M and Sygnia re: dark web
                                                    activity on FTX accounts (.10).
07/17/2023 Alexander Holland                  1.50 Call with A&M and Sygnia re: asset transfer (.70);
                                                   correspondence with A&M re: asset recovery
                                                   investigation (.30); correspondence with J. Croke and
                                                   S. Wheeler re: recovery from third party exchange
                                                   (.50).
07/17/2023 Daniel O'Hara                      0.10 Review research re: charitable trusts.
07/17/2023 Daniel O'Hara                      2.10 Review draft settlement agreement re: charitable
                                                   contribution (.30); review and analyze documents re:
                                                   charitable contributions for asset recovery (1.4);
                                                   review and analyze documents re: political donations
                                                   for asset recovery (.20); call with B. Harsch, E.
                                                   Downing, P. Lavin, M. Birtwell (Alix), A. Calhoun
                                                   (Alix) and G. Shapiro (Alix) re: non-profit
                                                   contributions (.30).
07/17/2023 Emma Downing                       0.30 Call with B. Harsch, D. O'Hara, P. Lavin, M. Birtwell
                                                   (Alix), A. Calhoun (Alix) and G. Shapiro (Alix) re:
                                                   non-profit contributions.
07/17/2023 M. Devin Hisarli                   0.50 Call with non-US subsidiary personnel, local counsel,
                                                   B. Harsch, E. Simpson, F. Weinberg Crocco, S.
                                                   Ehrenberg and A&M teams re: next steps to recover
                                                   non-US subsidiary assets.
07/17/2023 Phoebe Lavin                       0.30 Call with B. Harsch, D. O'Hara, E. Downing, M.
                                                   Birtwell (Alix), A. Calhoun (Alix) and G. Shapiro
                                                   (Alix) re: non-profit contributions.
07/17/2023 Tatum Millet                       3.70 Correspondence with J. Croke re: summary of
                                                   research on blockchain infrastructure (.20); follow-up
                                                   research re: FTX entity invoices (3.5).
07/17/2023 S. Fischer                         3.70 Research and verify charitable contributions for asset
                                                   recovery (3.2); attend meeting re: ongoing work
                                                   streams (.50). (no charge)
07/17/2023 Carly Sullivan                     4.00 Research re: political donation asset recovery. (no
                                                   charge)
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Date        Name                             Hours Description
07/18/2023 Stephanie Wheeler                  0.10 Meeting with E. Downing re: preference policy
                                                   research.
07/18/2023 Jacob Croke                        1.50 Call with A. Holland re: asset recovery workstreams
                                                   (.10); analyze issues re: recoveries from third party
                                                   donation recipient (.20); correspondence with B.
                                                   Harsch re: same (.10); analyze issues re: seized assets
                                                   (.30), correspondence with S. Levin re: same (.10);
                                                   analyze materials re: review for potential source of
                                                   recoveries (.60); correspondence with S. Wheeler re:
                                                   same (.10).
07/18/2023 Sharon Levin                       0.40 Correspondence with S&C team, S. Frase (Boersch
                                                   Illovsky LLP) and R. Weber (Winston) re:
                                                   confidentiality issues re: asset sales.
07/18/2023 Sharon Levin                       0.20 Correspondence with S&C team re: charity funds
                                                   recovery.
07/18/2023 Anthony Lewis                      0.10 Correspondence with S&C, Sygnia, A&M teams and
                                                   third party vendor re: asset staking and transfers.
07/18/2023 Nicholas Menillo                   0.10 Correspondence with A. Lewis, M. Kerin and S.
                                                   Rosenthal re: cyber insurer requests.
07/18/2023 Bradley Harsch                     7.50 Correspondence re: outreach to relevant third parties
                                                   re: funds recovery (.10); calls with D. O'Hara re:
                                                   non-profit asset recovery workstream (.60); research
                                                   and correspondence with non-profit re: return of funds
                                                   (.50); review documents and correspondence re:
                                                   outreach to non-profit re: return of funds (1.0); review
                                                   and compile documents for outreach to relevant third
                                                   party re: return of funds (.70); review correspondence
                                                   re: communications from Turkish counsel to regulator
                                                   (.20); review correspondence re: query on Alameda
                                                   (.10); compile documents re: return of funds (.80);
                                                   correspondence with third party donation recipient re:
                                                   same (.10); correspondence re: reset of FTX account
                                                   for non-US subsidiary (.30); review correspondence
                                                   re: analysis of claims against research non-profit (.60);
                                                   review relevant third party comments on return of
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                                                   FTX funds (.30); review relevant third party data re:
                                                   transfers to non-profits (.60); review and prepare
                                                   documents re: funds recovery (.40); correspondence
                                                   with AI research non-profit re: same (.10);
                                                   correspondence re: format for analysis of non-profit
                                                   transfers (.10); review documents and
                                                   correspondence re: potential recovery from celebrity
                                                   non-profit (.50); research and correspondence re
                                                   contact info for non-profit (.10); review
                                                   correspondence re summary of documents of interest
                                                   relevant to transfers and recovery (.20); review
                                                   correspondence re: QE filings for bank accounts (.10);
                                                   correspondence re response to stablecoin re: claims
                                                   against FTX TR (.10).
07/18/2023 Michele Materni                   0.10 Call with K. Mayberry re: tender offer.
07/18/2023 Kathleen Donnelly                 0.20 Correspondence with S&C team re: asset recovery.
07/18/2023 Zoeth Flegenheimer                1.10 Draft correspondence with SDNY re: updates to
                                                  analysis of political donation funding (1.0);
                                                  correspondence with C. Dunne re: updating SDNY on
                                                  political donation analysis (.10).
07/18/2023 Meaghan Kerin                     0.80 Call with A. Holland, S. Rosenthal, A. Taylor
                                                  (Sygnia), E. Liloof (Sygnia) and H. Nachmias (Sygnia)
                                                  re: forensic investigation, FTI RFI and insurance
                                                  request (.50); correspondence with A. Lewis, S.
                                                  Rosenthal and Sygnia re: cyber insurance issues (.10);
                                                  review updated action list re: forensic investigation
                                                  (.10); correspondence with S. Rosenthal re: same
                                                  (.10).
07/18/2023 Alexander Holland                 1.00 Call with M. Kerin, S. Rosenthal, A. Taylor (Sygnia),
                                                  E. Liloof (Sygnia) and H. Nachmias (Sygnia) re:
                                                  forensic investigation, FTI RFI and insurance request
                                                  (.50); call with J. Croke re: asset recovery
                                                  workstreams (.10); correspondence with J. Croke re:
                                                  same (.20); correspondence with J. Croke re:
                                                  Alameda third party exchange account (.20).
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Date        Name                            Hours Description
07/18/2023 Daniel O'Hara                     0.10 Review research re: charitable trusts.
07/18/2023 Daniel O'Hara                     6.80 Review and analyze documents re: non-profit
                                                  contributions for asset recovery (4.6); review and
                                                  analyze documents re: potential complaint against third
                                                  party exchange (1.5); calls with B. Harsch re:
                                                  non-profit asset recovery workstream (.60); call with
                                                  E. Downing re: non-profit records (.10)
07/18/2023 Samantha Rosenthal                2.00 Call with M. Kerin, A. Holland, A. Taylor (Sygnia), E.
                                                  Liloof (Sygnia), H. Nachmias (Sygnia) re: forensic
                                                  investigation, FTI RFI and insurance request (.50);
                                                  revise notes re: same (.10); revise workplan re:
                                                  forensic investigation (.40); review Slack
                                                  communications re: forensic incident (.30);
                                                  correspondences with A. Lewis, N. Menillo and M.
                                                  Kerin re: cyber insurer requests (.30);
                                                  correspondences with Sygnia re: same (.10); revise
                                                  responses to cyber insurer requests (.30).
07/18/2023 Emma Downing                      1.00 Review documents re: non-profit contributions (.80);
                                                  call with D. O'Hara re: non-profit records (.10);
                                                  meeting with S. Wheeler re: preference policy
                                                  research (.10).
07/18/2023 M. Devin Hisarli                  0.30 Correspondence with S&C team re: local counsel's
                                                  correspondence re: strategy to unfreeze non-US
                                                  subsidiary assets.
07/18/2023 Keila Mayberry                    0.40 Call with M. Materni re: tender offer (.10);
                                                  correspondence re: same (.30).
07/18/2023 Tatum Millet                      2.80 Research re: FTX entity (2.1); correspondence with J.
                                                  Rosenfeld re: summary of FTX entity research (.60);
                                                  correspondence with J. Croke re: FTX customer
                                                  KYC workstream (.10).
07/18/2023 Maya Artis                        1.90 Nonprofit asset recovery workstream. (no charge)
07/18/2023 S. Fischer                        5.10 Research and verify charitable trusts for asset
                                                  recovery. (no charge)
07/19/2023 Stephanie Wheeler                 1.70 Review conflicts checks re: charitable recipients (.30);
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Date        Name                             Hours Description

                                                    correspondence with B. Harsch re: same (.10);
                                                    prepare for call with QE re: Bahamas discovery (.40);
                                                    call with M. Anderson (QE), S. Williamson (QE) and
                                                    J. Croke re: Bahamas issues (.70); correspondence
                                                    with M. Anderson (QE) and S. Williamson (QE) re:
                                                    Bahamas properties project (.20).
07/19/2023 Jacob Croke                        2.20 Analyze issues re: token warrant (.20);
                                                   correspondence with Ventures team re: same (.10);
                                                   analyze issues re: recovery of donated funds (.30);
                                                   correspondence with D. O'Hara re: same (.10);
                                                   analyze issues re: exchange-based misconduct and
                                                   potential sources of recoveries (.60); call with M.
                                                   Anderson (QE), S. Williamson (QE) and S. Wheeler
                                                   re: Bahamas issues (.70); correspondence with Alix re:
                                                   same (.20).
07/19/2023 Anthony Lewis                      0.30 Correspondence with S&C, Sygnia, A&M teams and
                                                   third party vendor re: asset staking and transfers (.10);
                                                   correspondence with S&C team re: forensic
                                                   investigation evidence (.10); correspondence with
                                                   FTX, S&C and A&M teams re: relevant third party
                                                   issues (.10).
07/19/2023 Bradley Harsch                     2.90 Review correspondence with S&C team re: unfreezing
                                                   of assets of non-US subsidiary (.10); correspondence
                                                   re: call with relevant third party re: funds recovery
                                                   (.10); correspondence re: searches for documents on
                                                   donation to non-profit (.10); review correspondence
                                                   with foreign counsel re: potential claims against
                                                   non-US subsidiary (.10); draft correspondence with
                                                   relevant third party re: FTX TR accounts (.10);
                                                   correspondence re: status of draft standing order
                                                   (.20); review correspondence with S&C team re:
                                                   documents for thirdp arty donation recipient (.60);
                                                   review correspondence with S&C team re: document
                                                   for research non-profit (.20); review correspondence
                                                   with S&C team re: legal research on charitable trusts
                                                   (.30); correspondence with S&C team re: conflicts for
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Date        Name                            Hours Description

                                                   next batch of non-profits asset recovery (.20); review
                                                   standard order re: settlement of small claims (.30);
                                                   review correspondence with S&C team re: tracker for
                                                   political donations recovery (.30); finalize documents
                                                   to non-profit re: funds recovery (.30).
07/19/2023 Meaghan Kerin                     0.30 Correspondence with M. West re: records
                                                  management.
07/19/2023 Alexander Holland                 0.50 Correspondence with J. Croke re: third party
                                                  exchange accounts.
07/19/2023 Daniel O'Hara                     2.20 Review research re: charitable trusts (.20); review and
                                                  analyze documents re: non-profit contribution asset
                                                  recovery (.80); track asset forfeiture (.20); revise and
                                                  analyze spreadsheet tracking political contributions
                                                  (1.0).
07/19/2023 Emma Downing                      1.30 Review documents re: non-profit donations (1.2) call
                                                  with N. Hills re: non-profit donation return (.10).
07/19/2023 Natalie Hills                     0.10 Call with E. Downing re: non-profit donation return.
07/19/2023 M. Devin Hisarli                  0.20 Review correspondence with local counsel re: updates
                                                  on process to unfreeze non-US subsidiary assets
                                                  (.10); correspondence with S&C team on response
                                                  re: same (.10)
07/19/2023 Tatum Millet                      0.60 Correspondence with S. Ehrenberg re: summary of
                                                  findings on FTX entity.
07/19/2023 Maya Artis                        0.10 Non-profit asset recovery workstream. (no charge)
07/19/2023 S. Fischer                        2.10 Research charitable trusts for asset recovery. (no
                                                  charge)
07/20/2023 Stephanie Wheeler                 0.30 Call with E. Downing re: preference policy research
                                                  (.10); correspondence with D. O'Hara and C. Dunne
                                                  re: PAC donations (.10); correspondence with D.
                                                  O'Hara re: settlement motion (.10).
07/20/2023 Christopher Dunne                 0.20 Correspondence with DOJ re: political donations.
07/20/2023 Jacob Croke                       1.10 Correspondence with M. Wu re: token warrant
                                                  exercise (.20); call with third party counsel re:
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                                                    potential asset recovery (.10); correspondence with
                                                    A. Dietderich re: same (.30); analysis re: recovery
                                                    from third party platforms (.40); correspondence with
                                                    A&M re: same (.10).
07/20/2023 Anthony Lewis                      0.30 Correspondence with S&C, A&M, Sygnia and
                                                   vendor re: staking and asset transfers (.20);
                                                   correspondence with FTX, S&C and A&M teams re:
                                                   relevant third party issues (.10).
07/20/2023 Bradley Harsch                     1.70 Review correspondence with S&C team re: release of
                                                   assets by non-US subsidiary (.10); review
                                                   correspondence with S&C team re: contacts with
                                                   government authorities for non-US subsidiary (.40);
                                                   review correspondence with S&C team re: status of
                                                   query re: FTX repay email (.10); correspondence with
                                                   S&C team re: response by non-profit re: funds
                                                   recovery (.20); review correspondence with S&C
                                                   team re: SDNY position on political donations (.10);
                                                   review correspondence with S&C team re: research
                                                   into potential claims against non-profit (.20); revise
                                                   talking points for calls with non-profit donees (.10);
                                                   correspondence with S&C team re: potential asset
                                                   recovery from non-profit (.20); review status of
                                                   non-profit recovery workstream (.30).
07/20/2023 Meaghan Kerin                      0.70 Review draft forensic investigation report (.30);
                                                   correspondence with A. Lewis, Sygnia and A&M re
                                                   asset recovery issues (.20); correspondence with M.
                                                   West re: records management and DOJ production
                                                   (.20).
07/20/2023 Daniel O'Hara                      3.00 Review and analyze documents re: political
                                                   contributions (.80); review and analyze documents re:
                                                   charitable contributions (2.2).
07/20/2023 Emma Downing                       0.10 Call with S. Wheeler re: preference policy research.
07/20/2023 Phoebe Lavin                       0.20 Correspondence with D. O'Hara re: asset recovery
                                                   workstream.
07/20/2023 Maya Artis                         0.30 Non-profit asset recovery workstream. (no charge)
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Date        Name                             Hours Description

07/20/2023 S. Fischer                         1.90 Research international privacy law for asset recovery.
                                                   (no charge)
07/21/2023 Stephanie Wheeler                  0.10 Correspondence with B. Harsch re: calls with
                                                   recipients of charitable contributions.
07/21/2023 Brian Glueckstein                  0.90 Correspondence with S&C team re: non-compliant
                                                   exchanges and strategy (.50); review documents and
                                                   information re: same (.40).
07/21/2023 Justin DeCamp                      0.20 Correspondence with S&C team re: forensic
                                                   investigation.
07/21/2023 Christopher Dunne                  0.10 Correspondence with S&C team re: political
                                                   donations.
07/21/2023 Jacob Croke                        0.50 Analyze strategy for recovery of assets from third
                                                   party platforms (.40); correspondence with A.
                                                   Holland re: same (.10).
07/21/2023 Sharon Levin                       0.10 Correspondence with B. Harsch re: charity funds
                                                   recovery.
07/21/2023 Anthony Lewis                      0.60 Review materials re: relevant third party issues (.20);
                                                   correspondence with FTX and S&C teams re:
                                                   relevant third party issues (.30); correspondence with
                                                   S&C, A&M and Chainalysis teams re: asset tracing
                                                   (.10).
07/21/2023 Bradley Harsch                     3.60 Correspondence re: call on potential recovery from
                                                   Silicon Valley non-profit (.10); review and
                                                   correspondence re: Venture book and coordination of
                                                   recovery efforts (.30); prepare for call with relevant
                                                   third party counsel re: funds recovery (.30);
                                                   correspondence re: proposal for return of funds from
                                                   non-profit (.10); review correspondence with director
                                                   of non-US subsidiary re: claims resolution (.10);
                                                   review correspondence re: outreach to nominee
                                                   owners of FTX entities (.10); prepare for call with
                                                   relevant third party re: donation returns (.30); call with
                                                   F. Weinberg Crocco re: bankruptcy process to
                                                   address query by relevant third party donee (.10); call
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Date        Name                            Hours Description

                                                   with counsel for non-profit re: consideration of
                                                   settlement proposal (.10); review correspondence re:
                                                   discrepancies on transfer amounts for third party
                                                   donation recipient donations (.10); call with relevant
                                                   third party and D. O'Hara re: asset recovery (.30); call
                                                   with relevant third party and D. O'Hara re: same (.30);
                                                   calls with D. O'Hara re: non-profit asset recovery
                                                   issues (.30); revise talking points for calls with
                                                   non-profits re: asset recovery (.20); review documents
                                                   re: authority of debtors and trustees to address query
                                                   by donee (.20); draft summaries of calls with relevant
                                                   third party counsel re: return of funds (.20);
                                                   correspondence with Alix re: call with counsel for
                                                   relevant third party and records discrepancies (.10);
                                                   draft correspondence re: calls with university counsel
                                                   re: return of funds (.20); review correspondence re:
                                                   KYC docs for supplemental production to regulator
                                                   (.20).
07/21/2023 Fabio Weinberg Crocco             0.10 Call with B. Harsch re: bankruptcy process to address
                                                  query by relevant third party donee.
07/21/2023 Zoeth Flegenheimer                0.50 Correspondence C. Dunne re: updating SDNY on
                                                  fund tracing analysis (.40); coordinate with Alix re:
                                                  funds tracing analysis to update SDNY (.10).
07/21/2023 Zoeth Flegenheimer                1.10 Review and summarize filings in S. Bankman-Fried's
                                                  criminal proceeding (.30); correspondence with N.
                                                  Friedlander re: filings in S. Bankman-Fried's criminal
                                                  proceeding (.20); correspondence with S. Cohen
                                                  Levin re: scope of victims in criminal forfeiture analysis
                                                  (.60).
07/21/2023 Meaghan Kerin                     1.20 Review draft forensic investigation report (.80); review
                                                  updated Chainalysis memo and related analysis re:
                                                  asset tracing (.30); correspondence with A. Lewis, M.
                                                  West and Chainalysis re: same (.10).
07/21/2023 Alexander Holland                 0.50 Review transaction records re: asset recovery
                                                  workstream.
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Date        Name                             Hours Description
07/21/2023 Daniel O'Hara                      0.90 Review and analyze documents re: charitable
                                                   contributions for asset recovery.
07/21/2023 Daniel O'Hara                      0.90 Call with relevant third party and B. Harsch re: asset
                                                   recovery (.30); call with relevant third party and B.
                                                   Harsch re: same (.30) calls with B. Harsch re:
                                                   non-profit asset recovery issues (.30).
07/21/2023 Samantha Rosenthal                 0.20 Correspondences with S. Chen re: cyber insurer
                                                   requests.
07/21/2023 S. Fischer                         2.80 Research international privacy law for asset recovery.
                                                   (no charge)
07/22/2023 Bradley Harsch                     2.00 Review correspondence re: customer forum (.10);
                                                   review Alix analysis of non-profit transfers (.30);
                                                   review, compile documents and draft correspondence
                                                   with relevant third party re: funds recovery (.60);
                                                   review correspondence with counsel for relevant third
                                                   party re: reconciliation of transfer data (.30); review
                                                   correspondence with counsel for relevant third party
                                                   re: same (.60); review correspondence re: research
                                                   into donations (.10).
07/22/2023 Daniel O'Hara                      0.30 Review and analyze documents re: charitable
                                                   contributions.
07/23/2023 Jacob Croke                        0.30 Analysis re: potential asset recoveries (.20),
                                                   correspondence with E. Simpson re: same (.10).
07/24/2023 Stephanie Wheeler                  0.10 Correspondence with B. Glueckstein re: settlement
                                                   motion.
07/24/2023 Christopher Dunne                  0.50 Correspondence with S&C team re: political
                                                   donations.
07/24/2023 Jacob Croke                        1.80 Analysis re: token warrants and recoveries (.20);
                                                   correspondence with A. Cohen re: same (.10);
                                                   analyze asset movements and potential issues for
                                                   crypto recoveries (.40); correspondence with A&M
                                                   re: same (.20); call with A. Titus (A&M) and S.
                                                   Glustein (A&M) re: same (.30); correspondence with
                                                   third party platforms re: assets (.60).
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Date        Name                             Hours Description
07/24/2023 Anthony Lewis                      0.50 Review and revise forensic report (.40);
                                                   correspondence with S&C and A&M teams re: asset
                                                   tracing (.10).
07/24/2023 Bradley Harsch                     1.90 Review correspondence with S&C team re: status of
                                                   omnibus settlements motion and motion for return of
                                                   funds by relevant third party (.10); review and
                                                   circulate correspondence with relevant third party re:
                                                   fund transfer reconciliation (.10); review and circulate
                                                   correspondence with relevant third party re: same
                                                   (.20); correspondence with relevant third party re:
                                                   settlement papers (.10); correspondence with S&C
                                                   team re: follow up to non-profit re: funds recovery
                                                   (.10); review correspondence re: list of contacts for
                                                   PAC donations and other non-profits (.20); review
                                                   documents re: relevant third party asset recovery
                                                   (.90); draft correspondence re: same (.10); review
                                                   correspondence re: revisions by relevant third party
                                                   counsel to proposed settlement docs re: return of grant
                                                   money (.10).
07/24/2023 Zoeth Flegenheimer                 0.70 Correspondence with C. Dunne re: updating SDNY
                                                   on political donation tracing (.50); coordinate with Alix
                                                   re: analysis to update SDNY on political donation
                                                   tracing (.20).
07/24/2023 Meaghan Kerin                      0.30 Correspondence with A&M re: asset tracing issues
                                                   (.10); review correspondence with N. Friedlander, A.
                                                   Lewis and Sygnia re: FTX Customer Claims Portal
                                                   issues (.10); correspondence with N. Friedlander, A.
                                                   Lewis and S. Rosenthal re: cyber insurance issues
                                                   (.10).
07/24/2023 Daniel O'Hara                      3.60 Review and analyze documents re: possible non-profit
                                                   contribution asset recovery.
07/24/2023 Samantha Rosenthal                 0.70 Correspondences with N. Friedlander, A. Lewis and
                                                   M. Kerin re: asset tracing issues (.20);
                                                   correspondences with N. Friedlander, A. Lewis, M.
                                                   Kerin and K. Ramanathan (A&M) re: same (.10);
                                                   correspondences with Chainalysis re: insurer requests
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                                                   (.10); correspondences with R. Perubhatla (FTX) and
                                                   M. Cilia (FTX) re: invoices for cyber insurer requests
                                                   (.20); attention to correspondences with N.
                                                   Friedlander, A. Lewis, M. Kerin and Sygnia re:
                                                   forensic incident (.10).
07/24/2023 Tatum Millet                      0.80 Correspondence with Alix re: FTX entity (.40); review
                                                  FTX entity documents re: same (.20); correspondence
                                                  with J. Rosenfeld re: same (.20).
07/25/2023 Stephanie Wheeler                 0.10 Correspondence with B. Glueckstein re: settlement
                                                  procedures motion.
07/25/2023 Christopher Dunne                 0.10 Correspondence with S&C team re: political
                                                  donations.
07/25/2023 Mehdi Ansari                      0.40 Correspondence with S&C team re: diligence
                                                  questions from A&M.
07/25/2023 Jacob Croke                       0.70 Correspondence with UCC re: token warrant
                                                  questions (.20), correspondence with B. Glueckstein
                                                  re: same (.10); correspondence with S. Levin re:
                                                  recovery of seized assets (.20); analysis re: recoveries
                                                  of donated assets (.10); correspondence with B.
                                                  Harsch re: same (.10).
07/25/2023 Nicole Friedlander                1.10 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                  Rosenthal and Sygnia re: forensic investigation (.60);
                                                  correspondence with H. Nachmias (Sygnia) and L.
                                                  Goldman (Alix) re: code sharing (.30);
                                                  correspondence with C. Kerin, A. Lewis and S. Levin
                                                  re: suspicious activity filing/correspondence spray issue
                                                  (.20).
07/25/2023 Sharon Levin                      0.20 Correspondence with S. Frase (Boersch Illovsky
                                                  LLP) re: asset sale.
07/25/2023 Anthony Lewis                     1.00 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                  Rosenthal and Sygnia team re: forensic investigation
                                                  (.50 - partial attendance); review and revise forensic
                                                  report (.30); correspondence with S&C team re:
                                                  forensic investigation (.10); correspondence with
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                                                    S&C, Sygnia, A&M teams and third party vendor re:
                                                    staking services (.10).
07/25/2023 Bradley Harsch                     2.90 Prepare for call with counsel for non-profit re: return
                                                   of funds (.20); call with M. Joyce (Joyce LLP) and D.
                                                   O'Hara re: non-profit donation recovery (.40); call
                                                   with D. O'Hara re: non-profit donation recovery
                                                   workstream (.40); draft summary of call with counsel
                                                   for non-profit re: return of funds (.20);
                                                   correspondence re: proposed revisions to stipulation
                                                   by relevant third party counsel (.20); correspondence
                                                   re: call with counsel for third party donation recipient
                                                   re: donation recovery (.10); review and draft proposal
                                                   to Alix re: tracking of non-profit recovery workstream
                                                   (.70); review correspondence with Alix re: tranche of
                                                   non-profits for fund recovery (.20); review
                                                   correspondence re: research on non-profit donees
                                                   (.20); correspondence re: individual tied to customer
                                                   (.10).
07/25/2023 Mark Bennett                       0.80 Review documents relevant to investigation of
                                                   individual related to third-party recipient of FTX funds
                                                   (.60); correspondence with N. Hills, J. Croke re:
                                                   same (.20).
07/25/2023 Kathleen Donnelly                  0.30 Review draft stipulation re: specific asset (.20);
                                                   correspondence with S&C team re: same (.10).
07/25/2023 Meaghan Kerin                      1.70 Call with N. Friedlander, A. Lewis, A. Holland, S.
                                                   Rosenthal and Sygnia re: forensic investigation (.60);
                                                   correspondence with N. Friedlander, A. Lewis, S.
                                                   Levin, S. Rosenthal and A. Holland re: FTX Customer
                                                   Claims Portal issues (.10); draft summary for DOJ re:
                                                   same (.60); review updated action list re: forensic
                                                   investigation (.20); conduct research re: regulator
                                                   filings (.20).
07/25/2023 Alexander Holland                  0.60 Call with N. Friedlander A. Lewis, M. Kerin, S.
                                                   Rosenthal and Sygnia re: forensic investigation.
07/25/2023 Daniel O'Hara                      0.10 Review and respond to correspondence re: political
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                                                     contribution asset recovery.
07/25/2023 Daniel O'Hara                       6.10 Review and analyze documents for potential non-profit
                                                    contribution asset recovery (5.3); call with M. Joyce
                                                    (Joyce LLP) and B. Harsch re: non-profit donation
                                                    recovery (.40); call with B. Harsch re: non-profit
                                                    donation recovery workstream (.40).
07/25/2023 Gabrielle Pacia                     0.30 Review of allocation provision in engagement letter
                                                    (.30)
07/25/2023 Samantha Rosenthal                  1.70 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                    Holland and Sygnia re forensic investigation (.60);
                                                    revise workplan re: forensic investigation (.50); draft
                                                    summary re: Slack communications re: forensic
                                                    incident (.30); review Chainalysis time entries for
                                                    response to insurer request (.20); correspondences
                                                    with A. Lewis and M. Kerin re: same (.10).
07/25/2023 Phoebe Lavin                        0.20 Revise relevant third party stipulation.
07/26/2023 Stephanie Wheeler                   0.20 Call with B. Harsch re: charitable contributions (.10);
                                                    call with C. Dunne re: call with SDNY (.10).
07/26/2023 Christopher Dunne                   0.40 Correspondence with S&C team re: political
                                                    donations (.30); call with S. Wheeler re: call with
                                                    SDNY (.10).
07/26/2023 Jacob Croke                         0.60 Analysis re: asset bridging efforts and potential
                                                    transactions (.40); correspondence with A&M re:
                                                    same (.20).
07/26/2023 Sharon Levin                        0.20 Call with B. Harsch re: charity funds recovery and
                                                    coordination with SDNY.
07/26/2023 Anthony Lewis                       0.40 Review materials re: asset tracing (.30);
                                                    correspondence with S&C and Sygnia teams re: asset
                                                    tracing (.10).
07/26/2023 Bradley Harsch                      7.30 Review correspondence re: call on additional data
                                                    sources for non-profit transfers (.10); review
                                                    correspondence re: response from non-profit founder
                                                    re: funds recovery (.10); review correspondence re:
                                                    regulator report on transfers at non-US subsidiary
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                                                   (.20); review correspondence re: letter (.30); review
                                                   correspondence re: meeting with regulator for non-US
                                                   subsidiary (.30); review correspondence re: research
                                                   on non-profit donees for asset recovery (.40); call
                                                   with D. O'Hara re: non-profit asset recovery
                                                   workstream (.30); research re: funds recovery (.70);
                                                   call with S. Wheeler re: charitable contributions (.10);
                                                   correspondence with relevant third party non-profit re:
                                                   same (.20); call with Alix, Z. Flegenheimer, J.
                                                   Rosenfeld and D. O'Hara re: donation recovery
                                                   analysis and workstreams (.30); research re: funds
                                                   recovery (.60); correspondence with non-profit re:
                                                   same (.20); call with S. Levin re: charity funds
                                                   recovery and coordination with SDNY (.20); research
                                                   re: funds recovery (.80); correspondence with relevant
                                                   third party re: same (.90); research and draft outreach
                                                   correspondence with non-US non-profit re: same
                                                   (.80); research and draft outreach correspondence
                                                   with relevant third party non-profit re: same (.80).
07/26/2023 Zoeth Flegenheimer                0.30 Call with Alix, B. Harsch, J. Rosenfeld and D. O'Hara
                                                  re: donation recovery analysis and workstreams.
07/26/2023 Zoeth Flegenheimer                0.60 Draft correspondence with SDNY re: political
                                                  donation tracing.
07/26/2023 Meaghan Kerin                     0.60 Correspondence with A. Lewis, N. Menillo, S.
                                                  Rosenthal and Chainalysis re: insurance issues (.10);
                                                  review records re: same (.10); review records re:
                                                  forensic investigation of FTX Customer Claims issues
                                                  (.30); correspondence with N. Friedlander, A. Lewis,
                                                  S. Rosenthal and Sygnia re: same (.10).
07/26/2023 Jared Rosenfeld                   0.30 Call with Alix, B. Harsch, Z. Flegenheimer and D.
                                                  O'Hara re: donation recovery analysis and
                                                  workstreams.
07/26/2023 Daniel O'Hara                     1.70 Review and analyze documents re: potential non-profit
                                                  asset recovery (1.1); call with B. Harsch re: non-profit
                                                  asset recovery workstream (.30); call with Alix, B.
                                                  Harsch, Z. Flegenheimer and J. Rosenfeld re: donation
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                                                    recovery analysis and workstreams (.30).
07/26/2023 Samantha Rosenthal                 0.20 Correspondences with N. Friedlander, A. Lewis and
                                                   M. Kerin re: investigation of FTX Customer Claims
                                                   Issues.
07/26/2023 Samantha Rosenthal                 0.20 Review correspondences from S&C team re:
                                                   background on forfeiture.
07/27/2023 Christopher Dunne                  0.40 Correspondence re: relevant third party, non-profits
                                                   and attempts to locate funds.
07/27/2023 Jacob Croke                        0.20 Analyze issues re: asset seizure (.10); correspondence
                                                   with K. Donnelly re: same (.10).
07/27/2023 Jacob Croke                        1.80 Analyze issues re: venture investment and potential
                                                   recovery (.40); correspondence with B. Glueckstein
                                                   re: same (.10); analyze issues re: lending activities
                                                   (.20), correspondence with K. Mayberry re: same
                                                   (.10); call with A&M and crypto firm re: assets (.60);
                                                   analyze issues re: wrapped token bridging (.40).
07/27/2023 Anthony Lewis                      1.10 Review materials re: asset tracing (.20);
                                                   correspondence with S&C, Sygnia and A&M teams
                                                   re: asset tracing (.40); correspondence with S&C
                                                   team re: forensic investigation (.20); correspondence
                                                   with S&C team re: forensic investigation (.10);
                                                   correspondence with FTX, S&C and A&M teams re:
                                                   relevant third party issues (.20).
07/27/2023 Bradley Harsch                     0.10 Review correspondence re: DOJ letter re: campaign
                                                   finance charges.
07/27/2023 Bradley Harsch                     4.30 Draft correspondence re: recovery of funds from
                                                   charity and coordination with SDNY (.50); finalize
                                                   and circulate correspondence and docs for non-US
                                                   non-profit re: funds recovery (.30); correspondence
                                                   re: non-US non-profit return of funds (.10); research
                                                   documents and correspondence for research
                                                   non-profit re: funds return (.30); review responses
                                                   from Alix re: queries on non-profit donations analysis
                                                   (.20); review documents and correspondence with
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                                                   Alix re: evidence for donations to research entity and
                                                   political PAC (.20); review correspondence agenda
                                                   for call with SDNY (.20); follow up correspondence
                                                   re: non-responsive relevant third party non-profit
                                                   (.10); review status of outreach to non-profits re:
                                                   funds recovery (.20); follow up correspondence re:
                                                   same (.10); call with D. O'Hara, E. Downing, P. Lavin
                                                   and Alix team re non-profit donation recovery (.60);
                                                   review talking points for call with SDNY (.10); call
                                                   with M. Hayes (DGIM Law) and D. O'Hara re:
                                                   non-profit asset recovery (.20); call with D. O'Hara
                                                   re: non-profit asset recovery workstream (.10); review
                                                   and correspondence re response from relevant third
                                                   party re: funds recovery (.30); correspondence re:
                                                   follow up with research non-profit re: same (.20);
                                                   review correspondence re: response from non-profit
                                                   re: funds recovery (.10); review correspondence with
                                                   Alix re: tie-outs for donations from third party entities
                                                   funded by FTX (.20); review correspondence re:
                                                   settlement offer from non-profit research group (.20);
                                                   review correspondence re: UCC comments on
                                                   settlements order (.10).
07/27/2023 William Wagener                   0.20 Call with J. LaBella (Alix) re: meeting with Alix and
                                                  A&M re: forensic accounting and solvency work.
07/27/2023 Zoeth Flegenheimer                0.80 Correspondence with C. Dunne re: updating SDNY
                                                  on political donation tracing analysis (.20); revise
                                                  correspondence with SDNY re: political donation
                                                  tracing analysis (.60).
07/27/2023 Meaghan Kerin                     1.20 Review records re: FTX Customer Claims Portal
                                                  incident (.30); revise correspondence with DOJ re:
                                                  same (.30); correspondence with N. Friedlander, A.
                                                  Lewis, S. Rosenthal, A. Holland, K. Donnelly, Z.
                                                  Flegenheimer, D. O'Hara, M. Strand, B. Harsch and
                                                  Sygnia re: same (.40); review FTI RFI (.10);
                                                  correspondence with A. Lewis re same (.10).
07/27/2023 Alexander Holland                 0.20 Correspondence with A. Lewis and M. Kerin re: DOJ
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                                                   request.
07/27/2023 Daniel O'Hara                     4.40 Review and analyze documents for potential non-profit
                                                  contribution asset recovery (1.8); review and analyze
                                                  documents re: political contributions for potential asset
                                                  recovery (1.7); call with B. Harsch, E. Downing, P.
                                                  Lavin and Alix team re: non-profit donation recovery
                                                  (.60); Call with M. Hayes (DGIM Law) and B.
                                                  Harsch re: non-profit asset recovery (.20); call with B.
                                                  Harsch re: non-profit asset recovery workstream
                                                  (.10).
07/27/2023 Samantha Rosenthal                0.20 Correspondences with N. Friedlander, A. Lewis and
                                                  M. Kerin re: forensic investigation of FTX Customer
                                                  Claims issues.
07/27/2023 Emma Downing                      0.60 Call with B. Harsch, D. O'Hara, P. Lavin and Alix
                                                  team re: non-profit donation recovery.
07/27/2023 Phoebe Lavin                      0.60 Call with B. Harsch, D. O'Hara, E. Downing and Alix
                                                  team re: non-profit donation recovery.
07/28/2023 Stephanie Wheeler                 0.50 Review draft rental agreement for Bahamas properties
                                                  project.
07/28/2023 Christopher Dunne                 0.20 Review correspondence from S&C team re: political
                                                  donations.
07/28/2023 Mehdi Ansari                      0.50 Correspondence with S&C team re: A&M questions.
07/28/2023 Jacob Croke                       1.20 Call with co-investor re: venture investment and
                                                  recovery strategy (.30), correspondence with B.
                                                  Glueckstein and L. Ross re: same (.40); analyze issues
                                                  re: potential recovery of donated funds (.20);
                                                  correspondence with B. Harsch re: same (.10);
                                                  correspondence with A&M re: token issuance (.20).
07/28/2023 Sharon Levin                      0.40 Correspondence with S&C team re: asset freezes.
07/28/2023 Anthony Lewis                     1.00 Correspondence with S&C and Sygnia teams re:
                                                  forensic investigation (.20); correspondence with S&C
                                                  team re: relevant third party issues (.20);
                                                  correspondence with S&C team re: asset tracing
                                                  (.20); review documents re: same (.40).
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07/28/2023 Bradley Harsch                     2.70 Correspondence with S&C team re: comments on
                                                   settlements order (.10); review correspondence re:
                                                   documents for asset recovery from think tank (.40);
                                                   review correspondence re: revised tracker for
                                                   non-profit fund recovery workstream (.10); review
                                                   correspondence re: stablecoin suit with non-US
                                                   subsidiary (.20); review correspondence re: meeting
                                                   with regulator of non-US subsidiary (.30); review
                                                   documents and correspondence with athletics
                                                   non-profit re: funds recovery (.30); correspondence
                                                   re: SDNY request for information re: transfer to
                                                   charity (.20); review documents and correspondence
                                                   re: coordination of funds recovery from political
                                                   non-profit (.40); correspondence re: call on non-US
                                                   subsidiary interactions with regulator (.10); review
                                                   correspondence re: PAC asset recovery (.10); review
                                                   summary of call with SDNY re: allocation of
                                                   workstreams for asset recovery (.10); review
                                                   response from non-profit re: funds recovery (.10);
                                                   review correspondence with stablecoin re: status of
                                                   motion and order re: funds transfer (.10);
                                                   correspondence re: SDNY request on charity re:
                                                   funds return (.10); review correspondence re:
                                                   exchange withdrawals (.10).
07/28/2023 Zoeth Flegenheimer                 0.40 Call with J. Rosenfeld and N. Hills re: forfeiture issues
                                                   (.20); correspondence with J. Croke re: political
                                                   donation recovery efforts (.10); review analysis from
                                                   Alix re: expenditures by former Alameda personnel
                                                   (.10).
07/28/2023 Zoeth Flegenheimer                 0.70 Correspondence with C. Dunne re: updating SDNY
                                                   on political donation analysis.
07/28/2023 Meaghan Kerin                      0.50 Review records re: FTX Customer Claims Portal
                                                   incident (.10); correspondence with N. Friedlander,
                                                   A. Lewis, S. Rosenthal, Sygnia and DOJ re: same
                                                   (.20); correspondence with A. Lewis, A. Holland, J.
                                                   Croke, Sygnia and A&M re: UCC request for
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                                                    information (.10); review records re: same (.10).
07/28/2023 Jared Rosenfeld                    0.90 Call with Z. Flegenheimer and N. Hills re: forfeiture
                                                   issues (.20); correspondence with S&C team re: case
                                                   management order (.70).
07/28/2023 Alexander Holland                  0.30 Correspondence with J. Croke, A. Lewis and A&M
                                                   re: certain wallet.
07/28/2023 Daniel O'Hara                      1.30 Review and analyze documents re: non-profit
                                                   contributions for potential asset recovery.
07/28/2023 Samantha Rosenthal                 0.10 Correspondences with A. Lewis, J. Croke, A.
                                                   Holland, A&M and Sygnia re: UCC request for
                                                   account information.
07/28/2023 Natalie Hills                      0.30 Call with J. Rosenfeld and Z. Flegenheimer re:
                                                   forfeiture issues (.20); review materials re: asset
                                                   forfeiture memo (.10).
07/29/2023 Christopher Dunne                  0.10 Correspondence with S&C team re: charitable
                                                   donations and insider transactions.
07/30/2023 Anthony Lewis                      0.80 Review materials re: asset tracing (.20);
                                                   correspondence with S&C, Sygnia and A&M teams
                                                   re: asset tracing (.30); correspondence with S&C
                                                   team re: relevant third party issues (.30).
07/30/2023 Bradley Harsch                     0.10 Review worksheet for tracking outreach to non-profits
                                                   re: funds recovery.
07/31/2023 Stephanie Wheeler                  0.50 Correspondence with B. Harsch and J. Croke re:
                                                   donation (.20); correspondence with B. Harsch re:
                                                   relevant third party donation (.10); review
                                                   correspondence re: Nardello research on Bahamas
                                                   properties project (.10); correspondence with K.
                                                   Donnelly re: same (.10).
07/31/2023 Stephen Ehrenberg                  0.30 Meeting with E. Simpson, B. Harsch and F. Weinberg
                                                   Crocco re: matters re: return of property of non-US
                                                   subsidiary.
07/31/2023 Christopher Dunne                  0.20 Call with B. Harsch re: asset recovery workstream.
07/31/2023 Christopher Dunne                  0.90 Correspondence with team and DOJ re: political
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                                                    donations (.50); call with FDIC re: relevant third party
                                                    (.40).
07/31/2023 Jacob Croke                        2.60 Analyze issues re: token bridging and unwrapping
                                                   (.60); analyze issues re: asset tracing and recovery
                                                   (.40), correspondence with A&M re; same (.10); call
                                                   with A. Titus (A&M) and S. Glustein (A&M) re:
                                                   token recovery progress (.50); correspondence with
                                                   A. Titus (A&M) re: same (.20); correspondence with
                                                   third party platforms re: recoveries and transfers (.40);
                                                   analyze issues re: venture investment progress and
                                                   potential recovery (.30); correspondence with L. Ross
                                                   re: same (.10).
07/31/2023 Evan Simpson                       0.30 Meeting with S. Ehrenberg, E. Simpson, B. Harsch
                                                   and F. Weinberg Crocco re: matters re: return of
                                                   property to non-US subsidiary.
07/31/2023 Sharon Levin                       0.30 Correspondence with S&C team re: relevant third
                                                   party.
07/31/2023 Anthony Lewis                      0.90 Correspondence with S&C team re: asset tracing
                                                   (.20); correspondence with S&C and Cozen teams re:
                                                   relevant third party issues (.60); correspondence with
                                                   S&C team re: forensic investigation (.10).
07/31/2023 Bradley Harsch                     0.30 Meeting with S. Ehrenberg, E. Simpson, and F.
                                                   Weinberg Crocco re: matters re: return of property of
                                                   non-US subsidiary.
07/31/2023 Bradley Harsch                     3.90 Review correspondence re: call with founder of
                                                   non-US non-profit re: funds recovery (.20); research
                                                   and draft correspondence with PAC re: funds
                                                   recovery (.50); review correspondence re: list of
                                                   political non-profits for asset recovery (.20); review
                                                   emails re: meeting with regulator of non-US subsidiary
                                                   (.10); review and revise tracker for non-profit funds
                                                   recovery workstream (.20); review correspondence
                                                   with SDNY re: political donations (.10);
                                                   correspondence with Alix re: data for SDNY re:
                                                   charity (.10); draft correspondence re: settlement
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                                                    proposal from non-US non-profit (.30); call with C.
                                                    Dunne re: asset recovery workstream (.20); finalize
                                                    and circulate settlement papers for return of funds by
                                                    non-US third party donation recipient (.50); review
                                                    correspondence re: call with non-US-based non-profit
                                                    re: return of funds (.20); review correspondence re:
                                                    call with non-profit re: return of funds (.20); review
                                                    correspondence re: response and call with
                                                    non-US-based non-profit re: return of funds (.20);
                                                    email and review re: potential claims against athletic
                                                    charity (.30); organize docs re: authority of S&C and
                                                    debtors to collect funds (.10); call with Z.
                                                    Flegenheimer, D. O'Hara and P. Lavin re: asset
                                                    recovery work stream (.40); correspondence re: call
                                                    with non-profit re: funds recovery (.10).
07/31/2023 Bradley Harsch                     1.10 Revise correspondence with J. Ray (FTX) re: meeting
                                                   with regulator of non-US subsidiary (.10); review
                                                   correspondence with foreign director re: meeting with
                                                   regulator of non-US subsidiary (.10); email re:
                                                   representation from third party donation recipient re:
                                                   lack of funding from FTX (.10); review Alix analysis
                                                   of funding for conduit political entities (.10); review
                                                   and comment on Alix flow of funds analysis for
                                                   charitable donation (.20); draft correspondence with
                                                   SDNY re: charitable donation (.20); revise talking
                                                   points for calls with non-profits re: funds recovery
                                                   (.10); review and compile documents for non-profit
                                                   (.20).
07/31/2023 Fabio Weinberg Crocco              0.90 Meeting with S. Ehrenberg, E. Simpson and B.
                                                   Harsch re: matters re: return of property of non-US
                                                   subsidiary (.30); correspondence with J. Ray (FTX)
                                                   re: same (.40); review re: power of attorney (.20).
07/31/2023 Zoeth Flegenheimer                 0.20 Correspondence with C. Dunne re: updating SDNY
                                                   on political donation tracing analysis.
07/31/2023 Zoeth Flegenheimer                 0.80 Call with B. Harsch, D. O'Hara and P. Lavin re: asset
                                                   recovery work stream (.40); correspondence with B.
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                                                    Harsch re: non-profit donation tracing (.20);
                                                    correspondence with Alix re: tracing funds used in
                                                    connection with property purchases (.20).
07/31/2023 Alexander Holland                 0.40 Call with Sygnia and A&M re: asset transfer.
07/31/2023 Daniel O'Hara                     1.80 Review and analyze documents re: non-profit
                                                  contributions for potential asset recovery (1.4); call
                                                  with B. Harsch, Z. Flegenheimer and P. Lavin re: asset
                                                  recovery work stream (.40).
07/31/2023 Samantha Rosenthal                1.60 Revise supporting materials for response to insurer
                                                  request (.70); correspondences with M Cilia (FTX)
                                                  and R. Perubhatla (FTX) re: invoices for insurance
                                                  claim (.20); review re: same (.10); correspondences
                                                  with M. Kerin re: regulator (.20); review re: same
                                                  (.20); correspondence with A. Lewis, M. Kerin and
                                                  DOJ re: claims portal (.10); attention to
                                                  correspondence with A&M re: asset tracing (.10).
07/31/2023 Phoebe Lavin                      0.40 Call with B. Harsch, Z. Flegenheimer and D. O'Hara
                                                  re: asset recovery work stream.
07/31/2023 Aneesa Mazumdar                   3.10 Research re: asset tracing of relevant third party
                                                  investments.

Total                                      406.10
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Date        Name                          Hours Description

07/01/2023 Audra Cohen                      0.30 Correspondence with various teams re: investment
                                                 matters.
07/01/2023 Rita-Anne O'Neill                0.50 Review and revise various documents re: venture
                                                 sales.
07/01/2023 Evan Simpson                     1.00 Correspondence with M&A team re: status of
                                                 indications of interest and NDA process.
07/01/2023 Mimi Wu                          0.20 Internal correspondence re: NDAs.
07/01/2023 Andrew Brod                      2.30 Mark up and track venture sales NDAs.
07/02/2023 Audra Cohen                      1.50 Correspondence with various teams re: settlement and
                                                 sale documentation (1.2); correspondence with
                                                 various teams re: investments (.30).
07/02/2023 Andrew Dietderich                0.40 Review and revise and comment on IEX settlement
                                                 agreement.
07/02/2023 Jacob Croke                      0.20 Analyze issues re: potential asset disposition proposal
                                                 (.10); correspondence with M. Wu re: same (.10).
07/02/2023 Jeffrey MacDonald                3.20 Draft sale documentation for sale of venture company.
07/02/2023 Maxwell Schwartz                 1.20 Review and revise venture sales transaction
                                                 documentation.
07/03/2023 Audra Cohen                      3.10 Correspondence with various teams re: investment
                                                 sales, settlements and sale agreements (1.8); call with
                                                 R. O’Neill, B. O’Reilly, M. Wu, J. MacDonald and
                                                 M. Schwartz re: venture sale process updates and
                                                 documentation (1.0); call with Paul Hastings, R.
                                                 O’Neill, M. Wu and J. MacDonald re: venture sale
                                                 process (.30 - partial attendance).
07/03/2023 Brian Glueckstein                0.40 Review and revise IEX settlement agreement.
07/03/2023 Rita-Anne O'Neill                5.10 Call with A. Cohen, B. O’Reilly, M. Wu, J.
                                                 MacDonald and M. Schwartz re: venture sale process
                                                 updates and documentation (1.0); review various
                                                 documents re: venture sales (3.6); call with Paul
                                                 Hastings, A. Cohen, M. Wu and J. MacDonald re:
                                                 venture sale process (.50).
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Date         Name                              Hours Description
07/03/2023 Jacob Croke                           0.30 Analyze issues re: asset disposition (.10);
                                                      correspondence with SDNY re: same (.10);
                                                      correspondence with ventures team re: same (.10).
07/03/2023 Evan Simpson                          1.00 Review and revise matters re: potential disposition of
                                                      equity interest by non-US debtor.
07/03/2023 Oderisio de Vito Piscicelli           0.40 Review and revise inbounds re: asset disposition (.20);
                                                      review disposition of European interest (.20).
07/03/2023 Brian O'Reilly                        4.20 Review and revise purchase and sale agreements for
                                                      fund sales and review underlying fund documents re:
                                                      same (2.8); review comments to purchase and sale
                                                      agreements and e-mails (.40); call with R. O’Neill, A.
                                                      Cohen, M. Wu, J. MacDonald and M. Schwartz re:
                                                      venture sale process updates and documentation
                                                      (1.0).
07/03/2023 Mimi Wu                               1.90 Call with R. O’Neill, A. Cohen, B. O’Reilly, J.
                                                      MacDonald and M. Schwartz re: venture sale process
                                                      updates and documentation (1.0); call with Paul
                                                      Hastings, A. Cohen, R. O’Neill and J. MacDonald re:
                                                      venture sale process (.50); review documents and
                                                      correspondences re: other venture sales (.40).
07/03/2023 Jeffrey MacDonald                     6.40 Draft sale documentation for sale of venture company
                                                      (4.9); call with A. Cohen, R. O’Neill, B. O’Reilly, M.
                                                      Wu and M. Schwartz re: venture sale process updates
                                                      and documentation (1.0); call with Paul Hastings, A.
                                                      Cohen, R. O’Neill and M. Wu re: venture sale
                                                      process (.50).
07/03/2023 Maxwell Schwartz                      2.70 Call with R. O’Neill, A. Cohen, B. O’Reilly, M. Wu
                                                      and J. MacDonald re: venture sale process updates
                                                      and documentation (1.0); review and revise venture
                                                      sale documentation (1.7).
07/03/2023 Zachary Hearn                         0.80 Revise J. Ray (FTX) declaration re: ISO IEX
                                                      settlement motion to include comments from M. Wu.
07/03/2023 Daniel O'Hara                         0.20 Review and revise draft escrow agreement re:
                                                      property sale.
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Date         Name                              Hours Description
07/03/2023 Andrew Brod                           0.90 Correspondence with internal team re: purchase
                                                      agreements (.40); revise purchase agreements per
                                                      comments (.50).
07/03/2023 Patrick Lee                           4.20 Correspondence with S&C tax team re: issues with
                                                      certain venture purchase agreements (.30); revise
                                                      venture purchase agreements per comments (1.7);
                                                      draft venture purchase agreements per additional
                                                      comments and form (2.2).
07/03/2023 Corey Stern                           0.90 Revise purchase agreements for sale of two fund
                                                      assets per comments (.40); revise purchase agreement
                                                      for sale of de minimis asset per comments (.50).
07/03/2023 Naiquan Zhang                         0.60 Revise fund interest de minimis sale agreement.
07/04/2023 Audra Cohen                           0.40 Correspondence with various teams re: investment
                                                      sale matters.
07/04/2023 Evan Simpson                          1.00 Initial review of proposal for sale of equity interest by
                                                      non-US debtor.
07/04/2023 Oderisio de Vito Piscicelli           0.40 Review and revise correspondences and documents
                                                      re: terms of local entity disposal.
07/04/2023 Brian O'Reilly                        0.40 Review and revise and comment on purchase
                                                      agreements for fund sales.
07/04/2023 Mimi Wu                               0.50 Review and revise correspondences and documents
                                                      re: various venture sales processes.
07/04/2023 HyunKyu Kim                           1.10 Review and revise re: venture sales documents.
07/04/2023 Corey Stern                           0.50 Revise purchase agreement for sale of fund assets per
                                                      comments.
07/05/2023 Audra Cohen                           1.00 Call with PWP, A&M and S&C (A. Cohen, R.
                                                      O’Neill, M. Wu and J. MacDonald) re: venture sale
                                                      process (.40); correspondence with various teams re:
                                                      investment sales (.60).
07/05/2023 Andrew Dietderich                     0.60 Review and revise emails re: indemnity in fund transfer
                                                      papers (.40); call with J. McDonald re: resolutions re:
                                                      the same (.20).
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Date         Name                              Hours Description
07/05/2023 Rita-Anne O'Neill                     3.80 Call with PWP, A&M, B. O’Reilly and J. MacDonald
                                                      re: venture sales process (.40); review various
                                                      documents re: venture sales (3.4).
07/05/2023 Jacob Croke                           0.30 Analyze issues re: monetization of venture investment
                                                      (.20); correspondence with M. Wu re: same (.10).
07/05/2023 Evan Simpson                          1.50 Mark up purchase agreement for potential sale of
                                                      equity interest held by foreign debtor.
07/05/2023 Oderisio de Vito Piscicelli           0.50 Review and revise correspondences and documents
                                                      re: potential sale of company assets and related
                                                      internal communications (.30); review correspondence
                                                      and additional information re: disposal of investee
                                                      (.20).
07/05/2023 Jameson Lloyd                         0.30 Review and revise re: transaction agreements.
07/05/2023 Brian O'Reilly                        3.90 Call with PWP, A&M, R. O’Neill and J. MacDonald
                                                      re: venture sales process (.40); review and comment
                                                      on purchase agreements for fund sale (2.9); email
                                                      correspondence with various teams re: purchase
                                                      agreements for fund sales (.60).
07/05/2023 Mimi Wu                               0.40 Review and revise correspondences and documents
                                                      re: venture sales processes.
07/05/2023 Aaron Levine                          0.10 Review and revise correspondences and documents
                                                      re: company assets liquidation process.
07/05/2023 Jeffrey MacDonald                     3.10 Prepare sale documentation for sale of venture
                                                      company (2.7); call with PWP, A&M, R. O’Neill and
                                                      B. O’Reilly re: venture sales process (.40).
07/05/2023 Maxwell Schwartz                      1.30 Review and revise venture sales documentation.
07/05/2023 HyunKyu Kim                           0.70 Review and revise re: venture sales documents (.60);
                                                      call with J. Patton re: comments to new purchase
                                                      agreements (.10).
07/05/2023 James Patton                          0.70 Review and revise comments to new purchase
                                                      agreements (.60); call with H. Kim re: comments to
                                                      new purchase agreements (.10).
07/05/2023 Andrew Brod                           5.80 Draft purchase agreement for venture sale (2.5); revise
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Date        Name                          Hours Description

                                                  purchase agreements re: venture sales (1.8); track and
                                                  review venture sales NDAs (1.5).
07/05/2023 Patrick Lee                      1.70 Review and revise venture purchase agreements per
                                                 comments (1.0); follow up correspondence with R.
                                                 O’Neill re: status of additional purchase agreement
                                                 comments (.10); revise purchase agreements in
                                                 response to comments (.40); circulate purchase
                                                 agreements for final review (.20).
07/05/2023 Corey Stern                      0.60 Review and revise purchase agreement for sale fund
                                                 assets per comments.
07/05/2023 Naiquan Zhang                    2.90 Review and revise de minimis fund interest sale
                                                 agreements.
07/06/2023 Mitchell Eitel                   0.50 Attend potential sale of FTX exchanges check-in
                                                 meeting.
07/06/2023 Audra Cohen                      1.80 Call with PWP, Jeffries, UCC, FTX, Paul Hastings,
                                                 A. Cohen and M. Wu re: potential sale of FTX
                                                 exchanges (.50); correspondence with various teams
                                                 re: investment sales and documents (1.3).
07/06/2023 Rita-Anne O'Neill                3.20 Review and revise documents re: venture sales.
07/06/2023 Hilary Williams                  0.20 Email correspondence with J. Croke re: asset
                                                 disposition workstreams.
07/06/2023 Brian O'Reilly                   3.30 Review and revise and comment on purchase
                                                 agreements for fund sales (2.7); email correspondence
                                                 with internal team re: fund sales and draft purchase
                                                 agreements and organizational documents re: same
                                                 (.60).
07/06/2023 Mimi Wu                          0.90 Correspondence with UCC and advisors re: potential
                                                 sale transactions (.90).
07/06/2023 Jeffrey MacDonald                3.00 Draft and prepare various sale documentation for sale
                                                 of venture company.
07/06/2023 Maxwell Schwartz                 0.40 Review and revise venture sales transaction
                                                 documentation.
07/06/2023 Zachary Hearn                    0.30 Email correspondence with A. Kranzley and B.
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Date        Name                          Hours Description

                                                  Glueckstein re: IEX settlement motion.
07/06/2023 HyunKyu Kim                      0.90 Review and revise venture sales documents.
07/06/2023 Daniel O'Hara                    0.10 Review and revise draft escrow agreement.
07/06/2023 James Patton                     0.60 Review and revise new purchase agreements re: fund
                                                 interests.
07/06/2023 Patrick Lee                      1.60 Review and revise venture purchase agreements per
                                                 comments (1.0); follow up correspondence with B.
                                                 O’Reilly re: certain proposed revisions to purchase
                                                 agreement tax section (.20); follow up with R. O’Neill
                                                 re: interpretation of certain revisions and comments to
                                                 purchase agreements (.20); circulate tax section
                                                 language to S&C tax team (.20).
07/06/2023 Corey Stern                      1.10 Revise purchase agreement for sale fund assets per
                                                 comments (.90); correspondence with B. O'Reilly re:
                                                 purchase agreement for sale of fund asset (.20).
07/06/2023 Naiquan Zhang                    2.60 Draft transaction summaries for recent fund interest
                                                 sales (.60); review governing documents for fund sales
                                                 and related issues (2.0).
07/07/2023 Audra Cohen                      0.40 Correspondence with various teams re: investment
                                                 sales.
07/07/2023 Andrew Dietderich                0.30 Review and revise venture settlement terms.
07/07/2023 Andrew Dietderich                2.00 Call with UCC, J. Ray (FTX) and A&M team re:
                                                 crypto asset disposition and hedging (1.6); subsequent
                                                 de-brief correspondence with J. Ray (FTX) and
                                                 A&M (.40).
07/07/2023 Rita-Anne O'Neill                1.20 Review and revise documents re: venture sales.
07/07/2023 Jameson Lloyd                    0.40 Review and revise re: transaction agreements.
07/07/2023 Alexa Kranzley                   0.30 Correspondences with internal team re: venture
                                                 investment.
07/07/2023 Brian O'Reilly                   1.00 Review and revise and comment on purchase
                                                 agreements for sales of fund interests (.70); email
                                                 correspondence with various teams re: purchase
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Date        Name                          Hours Description

                                                  agreement open comments (.30).
07/07/2023 Mimi Wu                          0.50 Review and revise correspondences and documents
                                                 re: various venture sales processes.
07/07/2023 Jeffrey MacDonald                3.10 Prepare sale documentation for sale of venture
                                                 company.
07/07/2023 Maxwell Schwartz                 0.80 Review and revise venture sales transaction
                                                 documentation.
07/07/2023 HyunKyu Kim                      1.20 Review and revise various venture sales documents for
                                                 tax related issues.
07/07/2023 James Patton                     2.10 Review and revise new purchase agreements re: fund
                                                 interests.
07/07/2023 Andrew Brod                      0.80 Provide status update of NDAs (.30); revise purchase
                                                 agreements per comments (.50).
07/07/2023 Patrick Lee                      1.10 Correspondence with S&C M&A team re: purchase
                                                 agreement approach (.20); draft purchase agreement
                                                 and circulate for review (.40); revise purchase
                                                 agreement based on comments (.50).
07/07/2023 Corey Stern                      3.10 Revise purchase agreement for sale fund assets per
                                                 comments (2.5); email correspondence with S&C tax
                                                 team re: tax comments on purchase agreement (.30);
                                                 review and revise other purchase agreements for other
                                                 fund asset sales (.30).
07/07/2023 Naiquan Zhang                    4.50 Review and revise de minimis sale and related
                                                 agreements for fund interests (3.9); review governing
                                                 documents for fund and sales related issues (.60).
07/08/2023 Audra Cohen                      1.60 Correspondence with various teams re: investment
                                                 sales and sale agreements.
07/08/2023 Rita-Anne O'Neill                3.10 Review and revise documents re: venture sales.
07/08/2023 Jameson Lloyd                    0.30 Email correspondence and review re: transaction
                                                 agreements.
07/08/2023 Brian O'Reilly                   2.50 Review and revise and comment on purchase
                                                 agreements and transfer agreements for fund sales and
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Date        Name                          Hours Description

                                                  review questions re: same (1.7); email correspondence
                                                  with working group re: revisions to purchase
                                                  agreements and transfer agreements (.80).
07/08/2023 Sarah Long                       0.10 Review and revise correspondences and documents
                                                 re: question re: ERISA provisions in transfer
                                                 agreement.
07/08/2023 HyunKyu Kim                      0.70 Review and revise venture sales documents.
07/08/2023 Andrew Brod                      4.50 Prepare bidder info packets (.50); review and revise
                                                 various provisions re: purchase agreements (4.0).
07/08/2023 Patrick Lee                      4.10 Revise purchase agreements per comments (.60);
                                                 send new proposed tax language to S&C tax team for
                                                 sign off (.20); draft proposed final versions of
                                                 purchase agreements and circulate for comments
                                                 (1.5); revise tax language to S&C tax per feedback
                                                 (.20); revise various purchase agreements per
                                                 comments (.80); revise schedules of purchase
                                                 agreements to add capital account balance concept
                                                 (.80).
07/08/2023 Corey Stern                      2.20 Circulate purchase agreements for sale of fund assets
                                                 to respective potential buyers (1.1); revise transfer
                                                 agreement per comments (1.1).
07/08/2023 Naiquan Zhang                    1.40 Revise de minimis sale agreements for fund interests.
07/09/2023 Mitchell Eitel                   1.10 Email correspondence with M. Wu re: timeline review
                                                 and bidders (.20); review summary of initial proposals
                                                 and process next steps for potential sale of FTX
                                                 exchanges (.90).
07/09/2023 Audra Cohen                      0.80 Correspondence with various teams re: potential sale
                                                 of FTX exchanges timeline and review documents and
                                                 correspondences re: same (.40); correspondence with
                                                 various teams re: investment sales and sale documents
                                                 (.40).
07/09/2023 Rita-Anne O'Neill                2.20 Review and revise documents re: venture sales.
07/09/2023 Brian O'Reilly                   0.50 Review and revise and comment on revisions to
                                                 purchase agreements for fund sales (.30); email
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                                                       correspondence with working group re: transfer
                                                       agreement for fund sales (.20).
07/09/2023 Mimi Wu                               0.20 Correspondence with venture company re: diligence.
07/09/2023 Patrick Lee                           0.20 Circulate purchase agreements to venture purchasers.
07/09/2023 Corey Stern                           1.30 Revise transfer agreement for sale of fund assets per
                                                      comments.
07/10/2023 Audra Cohen                           1.50 Call with PWP, A&M, FTX, E. Simpson and J.
                                                      MacDonald re: investment company (.40); call with R.
                                                      O’Neill, B. O’Reilly, M. Wu, J. MacDonald and M.
                                                      Schwartz re: venture sale process updates and
                                                      documentation (.30); correspondence with various
                                                      teams re: investment sales, settlements and agreements
                                                      (.80).
07/10/2023 Andrew Dietderich                     0.30 Correspondence with A. Kranzley re: sale, hedging
                                                      and staking motions.
07/10/2023 Rita-Anne O'Neill                     1.10 Call with A. Cohen, B. O’Reilly, M. Wu, J.
                                                      MacDonald and M. Schwartz re: venture sale process
                                                      updates and documentation (.30); call with Paul
                                                      Hastings, B. O’Reilly and J. MacDonald re: current
                                                      venture investment sales process (.50); review
                                                      document re: venture sale (.30).
07/10/2023 Jacob Croke                           1.20 Analyze re: crypto management plan and potential
                                                      proposals (.70); correspondence with A. Dietderich
                                                      re: same (.30); correspondence with K. Ramanathan
                                                      (A&M) re: same (.20).
07/10/2023 Evan Simpson                          0.60 Review and revise and comment on draft purchase
                                                      agreement from counterparty re: non-US sale of
                                                      interest (.20); call with PWP, A&M, FTX, A. Cohen
                                                      and J. MacDonald re: investment company (.40).
07/10/2023 Oderisio de Vito Piscicelli           0.10 Review and revise correspondences and documents
                                                      re: transaction with local investee.
07/10/2023 Brian O'Reilly                        0.80 Call with R. O’Neill, A. Cohen, M. Wu, J.
                                                      MacDonald and M. Schwartz re: venture sale process
                                                      updates and documentation (.30); call with Paul
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                                                    Hastings, R. O’Neill and J. MacDonald re: current
                                                    venture investment sales process (.50).
07/10/2023 Mimi Wu                            0.40 Call with A. Cohen, R. O’Neill, B. O’Reilly, J.
                                                   MacDonald and M. Schwartz re: venture sale process
                                                   updates and documentation (.30); review documents
                                                   and correspondences re: venture NDA (.10).
07/10/2023 Jeffrey MacDonald                  6.90 Prepare sale documentation for sale of venture
                                                   company (6.1); call with A. Cohen, R. O’Neill, B.
                                                   O’Reilly, M. Wu and M. Schwartz re: venture sale
                                                   process updates and documentation (.30); call with
                                                   Paul Hastings, R. O’Neill and B. O’Reilly re: current
                                                   venture investment sales process (.50).
07/10/2023 Maxwell Schwartz                   1.90 Call with A. Cohen, R. O’Neill, B. O’Reilly, M. Wu
                                                   and J. MacDonald re: venture sale process updates
                                                   and documentation (.30); review and revise venture
                                                   sale transaction documentation (1.6).
07/10/2023 HyunKyu Kim                        0.70 Review and revise venture sales documents (.20);
                                                   review general status of tax forms (.50).
07/10/2023 James Patton                       0.20 Review and revise new purchase agreements re: fund
                                                   interests.
07/10/2023 Corey Stern                        1.80 Draft and revise monthly de minimis sale notice and
                                                   send to Landis for filing (.90); email with fund GP re:
                                                   transfer agreement and FTX latest capital account
                                                   balances (.90).
07/10/2023 Sophia Chen                        2.20 Review and revise sale motion per B. Zonenshayn.
07/10/2023 Victoria Shahnazary                0.50 Update company assets defense counsel tracker and
                                                   records re: same.
07/11/2023 Audra Cohen                        2.90 Call with J. Ray (FTX), B. Glueckstein, J. MacDonald
                                                   and M. Schwartz re: settlement and exchange
                                                   agreement (.60); call with venture company counsel
                                                   and J. MacDonald re: settlement and exchange
                                                   agreement (.60); correspondence with various teams
                                                   re: investment sales and settlements (1.4);
                                                   correspondence with various teams re: sale
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                                                  post-closing statement (.30).
07/11/2023 Brian Glueckstein                0.50 Call with J. Ray (FTX), A. Cohen, J. MacDonald and
                                                 M. Schwartz re: settlement and exchange agreement
                                                 (.50 - partial attendance).
07/11/2023 Jacob Croke                      2.80 Attend board meeting re: asset management strategies
                                                 and related proposals (2.2); revise proposed order re:
                                                 disposition of seized assets (.30); correspondence
                                                 with S. Levin re: same (.30).
07/11/2023 Evan Simpson                     0.60 Review and revise and comment on purchase
                                                 agreement for potential sale of non-US interest.
07/11/2023 Mimi Wu                          0.60 Correspondence with various venture sale
                                                 counterparties.
07/11/2023 Jeffrey MacDonald                8.10 Draft sale documentation for sale of venture company
                                                 (6.9); call with J. Ray (FTX), A. Cohen, B.
                                                 Glueckstein and M. Schwartz re: settlement and
                                                 exchange agreement (.60); call with venture company
                                                 counsel and A. Cohen re: settlement and exchange
                                                 agreement (.60).
07/11/2023 Maxwell Schwartz                 0.60 Call with J. Ray (FTX), A. Cohen, B. Glueckstein and
                                                 J. MacDonald re: settlement and exchange agreement.
07/11/2023 HyunKyu Kim                      0.40 Review and revise re: venture sale documents.
07/11/2023 Jessica Ljustina                 1.10 Review and revise asset sale buyer adjustment report
                                                 and related documentation (.60); correspondence with
                                                 M. Wu re: same (.20); correspondence with M. Cilia
                                                 (FTX), PWP team and A&M team re: same (.30).
07/11/2023 Andrew Brod                      1.50 Review and revise venture sales NDA (1.0);
                                                 correspondence with bidders re: same (.50).
07/11/2023 Corey Stern                      0.20 Email correspondence with fund GP re: FTX's latest
                                                 capital account balance.
07/11/2023 Naiquan Zhang                    1.30 Review and revise transfer agreement for fund interest
                                                 sale.
07/12/2023 Audra Cohen                      2.00 Correspondence with various teams re: investment
                                                 sale and settlement agreements (1.1); call with PWP,
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                                                  A&M, M. Wu and J. MacDonald re: venture sales
                                                  process (.40); call with FTX, Paul Hastings and J.
                                                  MacDonald re: settlement and exchange agreement
                                                  (.50).
07/12/2023 Brian Glueckstein                0.50 Call with S&C and J. Ray (FTX) re: venture
                                                 settlement agreement and issues.
07/12/2023 Evan Simpson                     2.00 Draft provisions and internal correspondence re: same
                                                 for negotiated sale of interest by foreign debtor.
07/12/2023 Alexa Kranzley                   0.40 Review and revise de minimis report (.20);
                                                 correspondence with internal team re: venture
                                                 investment (.20).
07/12/2023 Brian O'Reilly                   0.30 Review and revise draft board materials for venture
                                                 sales.
07/12/2023 Mimi Wu                          0.60 Call with PWP, A&M, A. Cohen and J. MacDonald
                                                 re: venture sales process (.40); review documents and
                                                 correspondences re: venture sales process (.20).
07/12/2023 Jeffrey MacDonald                5.60 Prepare sale documentation for sale of venture
                                                 company (4.7); call with PWP, A&M, A. Cohen and
                                                 M. Wu re: venture sales process (.40); call with FTX,
                                                 Paul Hastings and A. Cohen re: settlement and
                                                 exchange agreement (.50).
07/12/2023 James Patton                     0.30 Review and revise withholding question re: purchase
                                                 agreement.
07/12/2023 Naiquan Zhang                    0.60 Review and revise and mark up transfer agreement for
                                                 a sale of fund interests.
07/13/2023 Audra Cohen                      2.50 Correspondence with various teams re: investments
                                                 and settlements (1.1); review investment memos (.40);
                                                 call with FTX board members, A&M, PWP, R.
                                                 O’Neill, M. Wu, J. MacDonald and E. Simpson re:
                                                 update on venture sales process (1.0).
07/13/2023 Brian Glueckstein                0.30 Review and revise venture investment settlement draft.
07/13/2023 Rita-Anne O'Neill                1.00 Call with FTX board members, A&M, PWP, A.
                                                 Cohen, M. Wu, J. MacDonald and E. Simpson re:
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                                                    update on venture sales process.
07/13/2023 Christopher Dunne                  0.10 Correspondence with various teams re: Chinese claims
                                                   issue.
07/13/2023 Evan Simpson                       0.50 Call with FTX board members, A&M, PWP, A.
                                                   Cohen, R. O’Neill, M. Wu, J. MacDonald and E.
                                                   Simpson re: update on venture sales process (.50 -
                                                   partial attendance).
07/13/2023 Jameson Lloyd                      0.90 Call with venture investment re: exchange agreement
                                                   and review re: same.
07/13/2023 Mimi Wu                            1.70 Call with UCC and advisors re: potential sale
                                                   transactions (.70); call with FTX board members,
                                                   A&M, PWP, A. Cohen, R. O’Neill, J. MacDonald
                                                   and E. Simpson re: update on venture sales process
                                                   (1.0).
07/13/2023 Aaron Levine                       0.10 Review and revise correspondences and documents
                                                   re: company assets liquidation matters.
07/13/2023 Jeffrey MacDonald                  3.50 Prepare sale documentation for sale of venture
                                                   company (2.0); call with FTX board members, A&M,
                                                   PWP, A. Cohen, R. O’Neill, M. Wu and E. Simpson
                                                   re: update on venture sales process (1.5).
07/13/2023 HyunKyu Kim                        0.80 Call with J. Patton and opposing party and accounting
                                                   firm re: withholding provision in purchase agreement
                                                   (.30); prepare and debrief for withholding provision
                                                   call (.50).
07/13/2023 James Patton                       0.30 Call with H. Kim and opposing party and accounting
                                                   firm re: withholding provision in purchase agreement.
07/13/2023 Sophia Chen                        0.40 Research re: omnibus de minimis settlement motion
                                                   per D. O'Hara.
07/13/2023 Victoria Shahnazary                0.60 Update litigation defense counsel communications
                                                   tracker and records re: same.
07/14/2023 Audra Cohen                        0.60 Correspondence with various teams re: investments
                                                   and agreements.
07/14/2023 Evan Simpson                       0.80 Call with counterparty's counsel re: purchase
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                                                    agreement for potential sale of interest (.30); draft
                                                    purchase agreement provisions for potential sale of
                                                    equity interests (.50).
07/14/2023 Bradley Harsch                     0.20 Review and revise outline for litigation employee
                                                   interview.
07/14/2023 Bradley Harsch                     0.20 Review and revise language for standing order re:
                                                   settlement of de minimis claims.
07/14/2023 Brian O'Reilly                     0.80 Review and revise comments to venture sale purchase
                                                   agreements.
07/14/2023 Jeffrey MacDonald                  4.00 Prepare sale documentation for sale of venture
                                                   company.
07/14/2023 Dominick Gambino                   0.70 Update execution version of resolutions re: sale
                                                   process.
07/14/2023 Naiquan Zhang                      1.10 Draft subject company consent agreement for sale of
                                                   fund interest (.90); draft email to fund asset buyer re:
                                                   sale notice period (.20).
07/14/2023 Victoria Shahnazary                0.80 Update litigation defense counsel communications
                                                   tracker and records re: same.
07/15/2023 Stephanie Wheeler                  0.70 Review and revise de minimis settlement motion (.50);
                                                   correspondence with B. Glueckstein re: same (.20).
07/15/2023 Andrew Dietderich                  0.30 Email correspondence with A&M team and J. Ray
                                                   (FTX) re: risk profile for direct investment in treasuries
                                                   for cash management purposes.
07/15/2023 Bradley Harsch                     0.20 Review and revise correspondence re: status of review
                                                   for standing order re: de minimis settlement order.
07/16/2023 Audra Cohen                        0.40 Correspondence with various teams re: investment
                                                   sales and sales processes.
07/16/2023 Stephen Ehrenberg                  0.50 Call with E. Simpson and O. de Vito Piscicelli re:
                                                   potential sale of European assets (.40); follow-up
                                                   correspondence with internal team re: same (.10).
07/16/2023 Rita-Anne O'Neill                  0.40 Review and revise various documents re: venture sale.
07/16/2023 Evan Simpson                       0.40 Call with S. Ehrenberg and O. de Vito Piscicelli re:
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                                                       potential sale of European assets.
07/16/2023 James Bromley                         0.70 Email correspondence with J. Ray (FTX) and A.
                                                      Dietderich re: token monetization (.30); review
                                                      materials re: same (.40).
07/16/2023 Oderisio de Vito Piscicelli           0.40 Call with S. Ehrenberg and E. Simpson re: potential
                                                      sale of European assets.
07/16/2023 Brian O'Reilly                        0.50 Review and revise and comment on purchase
                                                      agreement for fund sale.
07/16/2023 Gabrielle Pacia                       0.20 Compare versions of engagement letter.
07/16/2023 Patrick Lee                           0.30 Summarize status of three outstanding purchase
                                                      agreements and circulate to S&C team (.20); follow
                                                      up with purchase agreement counterparty re: purchase
                                                      agreement (.10).
07/17/2023 Mitchell Eitel                        0.50 Call with A&M, PWP, A. Dietderich, A. Cohen and
                                                      M. Wu re: potential sale transactions.
07/17/2023 David Gilberg                         0.10 Correspondence with D. Handelsman re: sale status.
07/17/2023 David Gilberg                         0.20 Review and revise purchase agreement.
07/17/2023 David Gilberg                         0.20 Email correspondence with working group re:
                                                      engagement letter and investment management
                                                      agreement with relevant third party.
07/17/2023 Audra Cohen                           2.30 Correspondence with various teams re: investment
                                                      sales and agreements (.90); call with J. Croke, M. Wu
                                                      and SDNY re: potential sales process matters (.20);
                                                      call PWP, A&M, M. Eitel, A. Dietderich and M. Wu
                                                      re: potential sale transactions (.50); call with B.
                                                      O’Reilly, M. Wu, J. MacDonald and M. Schwartz re:
                                                      venture sale process updates and documentation
                                                      (.30); correspondence with various teams re: valuation
                                                      (.40).
07/17/2023 Andrew Dietderich                     1.00 Call with PWP, A&M, A. Cohen, M. Eitel and M.
                                                      Wu re: potential sale transactions (.50); call with
                                                      SDNY re: third party shares (.30); correspondence
                                                      with internal team re: options for digital asset
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                                                  disposition motion (.20).
07/17/2023 Stephen Ehrenberg                0.10 Correspondence with E. Simpson and J. Ray (FTX)
                                                 re: indication of interest for non-US subsidiary.
07/17/2023 Stephen Ehrenberg                0.10 Correspondence with E. Simpson and A. Dietderich
                                                 re: indications of interest for non-US subsidiary.
07/17/2023 Rita-Anne O'Neill                1.40 Call with Paul Hastings, B. O’Reilly and J.
                                                 MacDonald re: current venture investment sales
                                                 process (.50); review documents re: venture sales
                                                 (.90).
07/17/2023 Jacob Croke                      0.30 Call with A. Cohen, M. Wu and SDNY re: potential
                                                 sales process matters (.20), correspondence with J.
                                                 Ray (FTX) re: same (.10).
07/17/2023 Evan Simpson                     0.70 Review and revise of purchase agreement comments
                                                 and prepare responses for potential asset sale process
                                                 at foreign debtor (.40); prepare guidelines for receipt
                                                 of indications of interest for potential process (.30).
07/17/2023 Mario Schollmeyer                0.50 Review and revise engagement letter and internal
                                                 correspondence re: same.
07/17/2023 Mario Schollmeyer                0.30 Review and revise liquidating trust analysis and
                                                 structure.
07/17/2023 Brian O'Reilly                   1.80 Call with Paul Hastings, R. O’Neill and J. MacDonald
                                                 re: current venture investment sales process (.50);
                                                 review and comment on transfer agreement for venture
                                                 sale (.50); email correspondence with working group
                                                 re: purchase agreements for venture sales (.50); call
                                                 with A. Cohen, M. Wu, J. MacDonald and M.
                                                 Schwartz re: venture sale process updates and
                                                 documentation (.30).
07/17/2023 Mimi Wu                          1.50 Call with A. Cohen, J. Croke and SDNY re: potential
                                                 sales process matters (.20); call with A. Cohen, B.
                                                 O’Reilly, J. MacDonald and M. Schwartz re: venture
                                                 sale process updates and documentation (.30); call
                                                 with A&M, PWP, A. Dietderich, M. Eitel and A.
                                                 Cohen re: potential sale transactions (.50); internal
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                                                  correspondence re: venture sales processes (.50).
07/17/2023 Jeffrey MacDonald                5.80 Review and revise settlement agreement with venture
                                                 company (2.5); review ventures company diligence
                                                 materials (2.5); call with A. Cohen, B. O’Reilly, M.
                                                 Wu and M. Schwartz re: venture sale process updates
                                                 and documentation (.30); call with Paul Hastings, R.
                                                 O’Neill and B. O’Reilly re: current venture investment
                                                 sales process (.50).
07/17/2023 Frederic Wünsche                 2.10 Review and revise SPA re: sale of minority stake in
                                                 relevant third party by FTX Europe AG (1.1), email
                                                 with Lenz team re: explanation of mark-up (.30);
                                                 correspondence with E. Simpson re: approach (.2),
                                                 email with Dentons team re: SPA mark-up (.50).
07/17/2023 Maxwell Schwartz                 2.20 Call with A. Cohen, B. O’Reilly, M. Wu and J.
                                                 MacDonald re: venture sale process updates and
                                                 documentation (.30); review and revise venture sale
                                                 documentation (1.9).
07/17/2023 HyunKyu Kim                      1.40 Review and revise venture sales transfer document
                                                 (1.3); meeting with J. Patton re: opposing counsel
                                                 comments to purchase agreement (.10).
07/17/2023 Gabrielle Pacia                  1.00 Review and revise investment advisor engagement
                                                 letter.
07/17/2023 James Patton                     0.20 Review and revise purchase agreement comments
                                                 (.10); meeting with H. Kim re: opposing counsel
                                                 comments to purchase agreement (.10).
07/17/2023 Andrew Brod                      0.50 Prepare bidder information packet.
07/17/2023 Naiquan Zhang                    1.90 Revise fund interest transfer agreement (.80); revise de
                                                 minimis sale agreement for fund interest (1.1).
07/18/2023 David Gilberg                    0.30 Email correspondence with working group re: third
                                                 party asset management and related issues.
07/18/2023 Stephanie Wheeler                0.10 Review correspondences re: purchase price
                                                 allocations.
07/18/2023 Audra Cohen                      0.70 Correspondence with various teams re: venture sales
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                                                       and settlements and agreements.
07/18/2023 Andrew Dietderich                     1.60 Call with J. Ray (FTX), A&M team and UCC
                                                      processionals re: crypto management (.80); follow up
                                                      correspondence with J. Ray (FTX) (.20);
                                                      correspondence with M. Wu re: debtor entity issues
                                                      (.30); correspondence with A. Kranzley re: motion
                                                      practice re: sales, hedging and others (.30).
07/18/2023 Evan Simpson                          1.00 Correspondence and review steps plan re: indication
                                                      of interest and regulatory.
07/18/2023 Oderisio de Vito Piscicelli           0.20 Review and revise correspondences and documents
                                                      re: correspondence re: bidder interest.
07/18/2023 Jameson Lloyd                         0.20 Review and revise re: exchange agreement.
07/18/2023 Mario Schollmeyer                     4.90 Consider questions re: potential sale of FTX
                                                      exchanges re: structure and securities issues.
07/18/2023 Brian O'Reilly                        0.50 Review and revise comments to venture sale purchase
                                                      agreements.
07/18/2023 Mimi Wu                               2.00 Call with PWP and potential bidder re: sales
                                                      transaction (.50); review documents and
                                                      correspondences re: diligence matters re: potential
                                                      sales transaction (.50); review documents and
                                                      correspondences re: de minimis and potential token
                                                      sales (1.0).
07/18/2023 Aaron Levine                          0.30 Review and revise vendor agreements.
07/18/2023 Jeffrey MacDonald                     4.00 Revise settlement agreement with venture company
                                                      (2.5); review ventures company diligence materials
                                                      and prepare related correspondence (1.5).
07/18/2023 Dylan Handelsman                      1.00 Correspondence with C. Dunne re: company assets
                                                      liquidation (.30); review emails re: company assets
                                                      liquidation (.40); email correspondence with G. Pacia
                                                      re: IMA (.20); email correspondence with A&M re:
                                                      same (.10).
07/18/2023 HyunKyu Kim                           0.90 Review and revise venture sales tax documents.
07/18/2023 James Patton                          0.70 Review and revise changes to withholding provision in
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                                                  purchase agreement (.10); review transfer agreement
                                                  (.60).
07/18/2023 Andrew Brod                      3.30 Prepare bidder info packet (.50); correspondence
                                                 with internal team re: purchase agreements (.30); mark
                                                 up transfer agreement (2.5).
07/18/2023 Corey Stern                      0.30 Draft responses to purchase agreement markup for
                                                 sale of fund asset.
07/18/2023 Sophia Chen                      0.30 Revise sale motion per B. Zonenshayn.
07/19/2023 David Gilberg                    0.40 Review and revise third party engagement letter/IMA.
07/19/2023 Audra Cohen                      0.40 Correspondence with various teams re: investment
                                                 sales and agreements.
07/19/2023 Andrew Dietderich                0.30 Email correspondence with A&M re: comments on
                                                 coin management deck (.20); correspondence with A.
                                                 Kranzley re: same (.10).
07/19/2023 Rita-Anne O'Neill                0.60 Call with PWP, A&M, B. O’Reilly, M. Wu and J.
                                                 MacDonald re: venture sales process (.40); review
                                                 document re: venture sales (.20).
07/19/2023 Jameson Lloyd                    0.30 Review and revise re: transaction agreements.
07/19/2023 Brian O'Reilly                   1.30 Email correspondence with working group re: venture
                                                 sale process (.40); email correspondence with
                                                 working group re: comments to venture sale purchase
                                                 agreements (.50); call with PWP, A&M, R. O’Neill,
                                                 M. Wu and J. MacDonald re: venture sales process
                                                 (.40).
07/19/2023 Mimi Wu                          0.80 Call with PWP, A&M, R. O’Neill, B. O’Reilly and J.
                                                 MacDonald re: venture sales process (.20 - partial
                                                 attendance); internal correspondence re: venture sales
                                                 (.60).
07/19/2023 Aaron Levine                     0.10 Review and revise company asset liquidation matters.
07/19/2023 Aaron Levine                     0.10 Review and revise vendor contracts.
07/19/2023 Jeffrey MacDonald                3.30 Review and revise sale documentation for venture
                                                 company sales (2.2); review settlement motion
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                                                  language (.70); call with PWP, A&M, R. O’Neill, B.
                                                  O’Reilly and M. Wu re: venture sales process (.40).
07/19/2023 HyunKyu Kim                      0.20 Review and revise re: venture sales documents.
07/19/2023 Gabrielle Pacia                  0.90 Revise investment advisor engagement letter.
07/19/2023 Jessica Ljustina                 0.40 Review and revise and comment on joint escrow
                                                 instruction re: LedgerX deposit (.20); correspondence
                                                 with M. Cilia (RLKS) and PWP team re: same (.10);
                                                 correspondence with D. Gambino and M. Wu re:
                                                 same (.10).
07/19/2023 James Patton                     0.20 Email correspondence with internal team re: transfer
                                                 agreement.
07/19/2023 Dominick Gambino                 1.60 Draft joint release instructions for release of escrow
                                                 funds re: venture sales transaction.
07/19/2023 Phoebe Lavin                     0.40 Correspondence with M. Kerin re: backstop liquidity
                                                 provider.
07/19/2023 Patrick Lee                      1.90 Draft venture purchase agreement and circulate to
                                                 S&C team for review.
07/19/2023 Corey Stern                      0.50 Email correspondence purchaser of fund asset re:
                                                 markup of purchase agreement.
07/19/2023 Naiquan Zhang                    1.70 Review and revise buyer's comments on two de
                                                 minimis fund interest sale agreements (.40); revise de
                                                 minimis fund interest sale agreement (.20); draft GP
                                                 consent agreement to limited partner interest sale
                                                 (1.1).
07/20/2023 Audra Cohen                      0.60 Correspondence with various teams re: investments
                                                 and settlement and investment sale documents.
07/20/2023 Rita-Anne O'Neill                0.20 Review and revise document re: venture sales.
07/20/2023 Brian O'Reilly                   2.50 Review and revise and comment on purchase
                                                 agreements and GP consent (2.2); review comments
                                                 to transfer agreement for venture sale (.30).
07/20/2023 Mimi Wu                          0.20 Correspondence with bidders in potential sale
                                                 process.
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Date         Name                         Hours Description
07/20/2023 Jeffrey MacDonald                5.10 Review and revise sale documentation for venture
                                                 company sales (2.6); review settlement agreement
                                                 language (.70); prepare correspondence with venture
                                                 company counsel on proposed resolution (.70);
                                                 summarize venture company organizational documents
                                                 (1.1).
07/20/2023 Andrew Thompson                  0.20 Correspondence with J. Rosenfeld re: report related
                                                 to venture acquisition.
07/20/2023 HyunKyu Kim                      0.30 Review and revise venture sales agreements.
07/20/2023 Gabrielle Pacia                  2.10 Review and revise and comment on CBAM IMA.
07/20/2023 Jessica Ljustina                 0.20 Review and revise joint instructions to escrow agent
                                                 re: venture sales deposit (.10); correspondence with
                                                 M. Cilia (FTX) and M. Wu re: same (.10).
07/20/2023 James Patton                     0.40 Email correspondence with team re: transfer
                                                 agreement.
07/20/2023 Patrick Lee                      1.20 Revise venture purchase agreement per comments and
                                                 circulate updated draft.
07/20/2023 Corey Stern                      0.80 Revise purchase agreement for the sale fund assets per
                                                 comments and circulate to purchaser.
07/20/2023 Naiquan Zhang                    2.30 Revise two de mininis fund sale requirements (1.5);
                                                 draft a cover note to the buyer (.30); draft a GP
                                                 consent agreement for a sale of fund interests (.50).
07/21/2023 Audra Cohen                      0.60 Correspondence with various teams re: investment
                                                 sales.
07/21/2023 Andrew Dietderich                1.20 Review and revise and comment on digital asset
                                                 disposition procedures and related emails.
07/21/2023 Rita-Anne O'Neill                1.30 Review and revise documents re: venture sales.
07/21/2023 Jameson Lloyd                    1.60 Tax review re: transaction documents.
07/21/2023 Brian O'Reilly                   0.20 Email correspondence with working group re: venture
                                                 sale purchase agreements.
07/21/2023 Maxwell Schwartz                 0.40 Review and revise venture sales transfer agreements
                                                 and communications re: the same.
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07/21/2023 HyunKyu Kim                      0.20 Review and revise of venture sales documents.
07/21/2023 Gabrielle Pacia                  2.40 Revise CBAM IMA.
07/21/2023 Jessica Ljustina                 0.10 Correspondence with CGSH team re: venture sales
                                                 escrow release.
07/21/2023 James Patton                     1.40 Mark up transfer agreement.
07/21/2023 Andrew Brod                      0.80 Prepare transition of ongoing NDA work to other
                                                 team members.
07/21/2023 Patrick Lee                      0.20 Correspondence with N. Zhang and A. Brod re:
                                                 vacation coverage and matters.
07/21/2023 Naiquan Zhang                    0.30 Update two de minimis fund sale purchase
                                                 agreements.
07/22/2023 Audra Cohen                      0.20 Correspondence with various teams re: investment
                                                 sales.
07/22/2023 Rita-Anne O'Neill                0.20 Review and revise document re: venture sales.
07/23/2023 David Gilberg                    0.70 Review and revise and comment on mark-up of third
                                                 party asset management agreement.
07/23/2023 Andrew Dietderich                1.10 Revise proposal for asset monetization (.80);
                                                 correspondence with C. Lloyd re: same (.30).
07/23/2023 Colin Lloyd                      0.20 Correspondence with A. Dietderich re: asset sales.
07/23/2023 Mimi Wu                          0.10 Internal correspondence re: venture sales.
07/24/2023 Audra Cohen                      1.40 Correspondence with various teams re: investment
                                                 sales, settlements and various agreements.
07/24/2023 Andrew Dietderich                0.30 Review and revise and comment on final IEX papers.
07/24/2023 Rita-Anne O'Neill                1.50 Call with B. O’Reilly, M. Wu, J. MacDonald and M.
                                                 Schwartz re: venture sale process updates and
                                                 documentation (.40); call with Paul Hastings, B.
                                                 O’Reilly, and J. MacDonald re: current venture
                                                 investment sales process (.50); review documents re:
                                                 venture sales (.60).
07/24/2023 Jacob Croke                      1.70 Analysis re: crypto management strategies (1.1);
                                                 correspondence with K. Ramanathan (A&M) re:
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                                                  same (.30); analysis re: potential disposition of seized
                                                  assets (.20); correspondence with A. Dietderich re:
                                                  same (.10).
07/24/2023 Sharon Levin                     0.30 Review and revise asset sale stipulation.
07/24/2023 Brian O'Reilly                   1.10 Call with C. Stern re: markup of purchase agreement
                                                 for sale of fund asset (.20); call with R. O’Neill, M.
                                                 Wu, J. MacDonald and M. Schwartz re: venture sale
                                                 process updates and documentation (.40); call with
                                                 Paul Hastings, R. O’Neill and J. MacDonald re:
                                                 current venture investment sales process (.50).
07/24/2023 Mimi Wu                          1.50 Call with R. O’Neill, B. O’Reilly, J. MacDonald and
                                                 M. Schwartz re: venture sale process updates and
                                                 documentation (.40); correspondence re: various
                                                 venture sales processes (1.1).
07/24/2023 Jeffrey MacDonald                8.10 Correspondence with venture company on corporate
                                                 request (.50); review corporate materials on FTX
                                                 structuring (.50); review recommendation on
                                                 corporate action (1.2); prepare settlement agreement
                                                 (2.6); revise motion for settlement (1.1); review
                                                 obligations re: venture company meeting (.70); review
                                                 venture investment agreement summaries (.60); call
                                                 with R. O’Neill, B. O’Reilly, M. Wu and M. Schwartz
                                                 re: venture sale process updates and documentation
                                                 (.40); call with Paul Hastings, R. O’Neill and B.
                                                 O’Reilly re: current venture investment sales process
                                                 (.50).
07/24/2023 Maxwell Schwartz                 1.60 Call with R. O’Neill, B. O’Reilly, M. Wu and J.
                                                 MacDonald re: venture sale process updates and
                                                 documentation (.40); revise draft sales agreements for
                                                 venture sales (1.2).
07/24/2023 Zachary Hearn                    1.50 Review and revise current draft of IEX settlement
                                                 agreement (.40); revise IEX 9019 motion to include
                                                 additions from July 24 draft of settlement agreement
                                                 (1.1).
07/24/2023 Gabrielle Pacia                  0.20 Correspondence with D. Handelsman re: engagement
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                                                   letter.
07/24/2023 Dominick Gambino                  0.40 Status update for S&C team re: sale of venture asset.
07/24/2023 Patrick Lee                       4.10 Research re: original investment documents of an FTX
                                                  venture investment searching for potential restructuring
                                                  consent rights, circulate results to J. MacDonald (1.3);
                                                  research re: additional venture documents, including
                                                  shareholders agreement, charter, bylaws, purchase
                                                  agreement re: restructuring, circulate summary to J.
                                                  MacDonald (2.1); research re: venture investment
                                                  documents related to consent rights for party changing
                                                  domicile or jurisdiction (.30); summarize research
                                                  findings and share with larger FTX venture team (.20);
                                                  circulate NDA and interested party form to new
                                                  potential bidder (.20).
07/24/2023 Yasmin Masoudi                    0.80 Review and revise documents in virtual data room for
                                                  diligence requests.
07/24/2023 Corey Stern                       2.10 Call with B. O'Reilly re: markup of purchase
                                                  agreement for sale of fund asset (.20); review
                                                  purchaser markup of purchase agreement for sale of
                                                  fund asset and revise purchase agreement re: same
                                                  (1.9).
07/24/2023 Naiquan Zhang                     0.40 Update two de minimis fund sale agreements and
                                                  circulate to buyers.
07/25/2023 Frederick Wertheim                0.40 Email correspondence with D. Handelsman re:
                                                  aggregate FTX positions with other client positions for
                                                  purposes of placing orders.
07/25/2023 Audra Cohen                       0.50 Correspondence with various teams re: investment
                                                  sales.
07/25/2023 Andrew Dietderich                 1.10 Call with Galaxy internal lawyers re: asset disposition
                                                  issues (.50); review and comment on sales motion
                                                  (.40); correspondence with J. Ray (FTX) and team re:
                                                  coin management (.20).
07/25/2023 Rita-Anne O'Neill                 1.10 Review and revise documents re: venture sales.
07/25/2023 Jacob Croke                       1.20 Analyze issues re: crypto management strategies (.70);
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                                                  correspondence with K. Ramanathan (A&M) re:
                                                  same (.10); analysis re: potential transaction involving
                                                  venture book asset (.30); correspondence with
                                                  ventures team re: same (.10).
07/25/2023 Brian O'Reilly                   1.50 Review and revise and comment on markup of fund
                                                 asset purchase agreements (.70); email
                                                 correspondence with working group re: comments to
                                                 fund asset purchase agreement (.30); review
                                                 comments to purchase agreement and fund transfer
                                                 agreement for fund sales (.50).
07/25/2023 Mimi Wu                          1.90 Review and revise documents re: upload related to
                                                 sale process (.50); coordinate NDAs and diligence for
                                                 potential exchange sale process (1.4).
07/25/2023 Aaron Levine                     0.10 Review and revise company assets liquidation matters.
07/25/2023 Jeffrey MacDonald                6.10 Review and revise settlement agreement with venture
                                                 company (2.8); review settlement motion for venture
                                                 company (1.1); review materials for UCC (.90);
                                                 review venture company sales documentation
                                                 comments (1.3).
07/25/2023 Maxwell Schwartz                 0.20 Review and revise venture sales purchase agreements.
07/25/2023 Zachary Hearn                    0.60 Revise IEX 9019 motion and order to include edits.
07/25/2023 HyunKyu Kim                      0.40 Review and revise venture sales documents.
07/25/2023 James Patton                     0.50 Review and revise and mark up purchase agreement.
07/25/2023 Patrick Lee                      1.10 Review and revise venture purchase agreement
                                                 markup, follow up with outstanding questions (.60);
                                                 revise venture purchase agreement draft, circulate
                                                 clean and redlines to venture purchaser (.30); follow
                                                 up with bidder re: outstanding documentation and
                                                 update S&C team on status (.20).
07/25/2023 Yasmin Masoudi                   0.80 Review and revise of documents in virtual data room
                                                 for diligence requests.
07/25/2023 Corey Stern                      1.50 Review and revise purchaser markup of purchase
                                                 agreement for sale of fund asset and revise per
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Date        Name                          Hours Description

                                                  comments.
07/25/2023 Naiquan Zhang                    0.70 Revise transfer agreement for the sale of a fund
                                                 interest.
07/26/2023 David Gilberg                    0.20 Call with A&M and venture company teams re: asset
                                                 disposition workstreams.
07/26/2023 David Gilberg                    0.20 Email correspondence with F. Weinberg Crocco and
                                                 B. Zonenshayn re: wind-down of venture company.
07/26/2023 Audra Cohen                      1.00 Correspondence with various teams re: investment
                                                 sales and settlement agreement (.80); correspondence
                                                 with various teams re: investment company concerns
                                                 (.20).
07/26/2023 Brian Glueckstein                0.40 Meeting with A. Kranzley and F. Weinberg re:
                                                 LedgerX claims dispute.
07/26/2023 Rita-Anne O'Neill                1.20 Call with PWP, A&M, B. O’Reilly, M. Wu and J.
                                                 MacDonald re: venture sales process (.40); review
                                                 document re: venture sales (.80).
07/26/2023 Christopher Dunne                0.60 Correspondence with internal team re: company assets
                                                 developments (.20); call with C. Lloyd, A. Levine and
                                                 D. Handelsman re: company assets wind down (.40).
07/26/2023 Jacob Croke                      0.20 Correspondence with M. Wu re: asset disposition
                                                 plan.
07/26/2023 Colin Lloyd                      0.40 Call with C. Dunne, A. Levine and D. Handelsman re:
                                                 company assets wind down.
07/26/2023 Brian O'Reilly                   3.50 Review and revise comments to purchase agreements
                                                 for fund sales (1.1); review and comment on purchase
                                                 agreement and transfer agreement for fund sale (.70);
                                                 review and comment on GP consent and email
                                                 correspondence with working group re: same (.40);
                                                 draft, review and revise purchase agreements for fund
                                                 sales (.90); call with PWP, A&M, R. O’Neill, M. Wu
                                                 and J. MacDonald re: venture sales process (.40).
07/26/2023 Mimi Wu                          0.10 Call with PWP, A&M, R. O’Neill, B. O’Reilly and J.
                                                 MacDonald re: venture sales process (.10 - partial
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                                   Project: 00011 - ASSET DISPOSITION

Date        Name                              Hours Description

                                                      attendance).
07/26/2023 Aaron Levine                         0.40 Call with C. Dunne, C. Lloyd and D. Handelsman re:
                                                     company assets wind down.
07/26/2023 Jeffrey MacDonald                    3.80 Prepare potential final documents for venture company
                                                     settlement (2.1); review board materials for venture
                                                     company update (1.0); prepare summary of venture
                                                     company investment documents (.30); call with PWP,
                                                     A&M, R. O’Neill, B. O’Reilly and M. Wu re: venture
                                                     sales process (.40).
07/26/2023 Fabio Weinberg Crocco                0.40 Meeting with A. Kranzley and B. Glueckstein re:
                                                     LedgerX claims dispute.
07/26/2023 Dylan Handelsman                     0.70 Prepare for call re: company assets wind down (.20);
                                                     call with C. Dunne, C. Lloyd and A. Levine re:
                                                     company assets wind down (.40); email
                                                     correspondence with company assets re: wind down
                                                     (.10).
07/26/2023 Andrew Thompson                      0.40 Draft correspondence to M. Materni re: question
                                                     about venture acquisition.
07/26/2023 Maxwell Schwartz                     0.60 Revise venture sales NDAs and sale agreements.
07/26/2023 HyunKyu Kim                          0.30 Call with J. Patton re: markup of purchase agreement
                                                     (.20); review venture sales documents (.10).
07/26/2023 James Patton                         0.40 Mark up purchase agreement (.20); call with H. Kim
                                                     re: markup of purchase agreement (.20).
07/26/2023 Jinny Lee                            0.40 Send NDA to new bidders and update the NDA
                                                     tracker.
07/26/2023 Patrick Lee                          1.10 Draft execution version of settlement agreement,
                                                     circulate to J. MacDonald for review (.40); review
                                                     interested party form (.20); follow up with Nardello
                                                     and bidder re: outstanding information (.10); research
                                                     potential bidder and follow up and confirm with
                                                     potential bidder re: certain details required by
                                                     Nardello, follow up with Nardello (.40).
07/26/2023 Corey Stern                          0.40 Revise purchase agreement for sale of fund asset per
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                               Project: 00011 - ASSET DISPOSITION

Date        Name                          Hours Description

                                                  comments.
07/27/2023 Mitchell Eitel                   0.50 Attend weekly catch up meeting with UCC and
                                                 debtors re: potential sale of FTX exchanges.
07/27/2023 Stephanie Wheeler                0.20 Correspondence with C. Dunne re: company assets
                                                 wind down issues.
07/27/2023 Audra Cohen                      1.30 Correspondence with various teams re: investments,
                                                 sales and settlements and (.80); call with FTX board
                                                 members, A&M, PWP, R. O’Neill, M. Wu, J.
                                                 MacDonald and E. Simpson re: update on venture
                                                 sale process (.50 - partial attendance).
07/27/2023 Stephen Ehrenberg                0.10 Correspondence with C. Dunne re: company assets
                                                 wind down and communications with regulators.
07/27/2023 Rita-Anne O'Neill                2.60 Call with FTX board members, A&M, PWP, A.
                                                 Cohen, M. Wu, J. MacDonald and E. Simpson re:
                                                 update on venture sale process (1.5); review
                                                 documents re: venture sales (1.1).
07/27/2023 Evan Simpson                     0.50 Call with FTX board members, A&M, PWP, A.
                                                 Cohen, R. O’Neill, M. Wu, J. MacDonald and E.
                                                 Simpson re: update on venture sale process (.50 -
                                                 partial attendance).
07/27/2023 Alexa Kranzley                   0.10 Correspondences with internal team re: due diligence
                                                 materials for posting.
07/27/2023 Brian O'Reilly                   2.20 Review and revise comments to purchase agreements
                                                 for venture sales (.40); review venture board materials
                                                 re: fund sales (.30); email communications with
                                                 working group re: fund sale status and open and
                                                 missing items (.50); review and revise transfer
                                                 agreement for fund sale (.30); draft summary of fund
                                                 sale status and review files in connection with same
                                                 (.70).
07/27/2023 Mimi Wu                          0.90 Call with FTX board members, A&M, PWP, A.
                                                 Cohen, R. O’Neill, J. MacDonald and E. Simpson re:
                                                 update on venture sale process (.50 - partial
                                                 attendance); review documents and correspondences
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                               Project: 00011 - ASSET DISPOSITION

Date         Name                         Hours Description

                                                  re: NDAs re: potential sale process (.40).
07/27/2023 Aaron Levine                     0.20 Review and revise company assets liquidation matters.
07/27/2023 Jeffrey MacDonald                2.70 Review and revise settlement documents for venture
                                                 company (1.2); call with FTX board members, A&M,
                                                 PWP, A. Cohen, R. O’Neill, M. Wu, and E. Simpson
                                                 re: update on venture sale process (1.5).
07/27/2023 Maxwell Schwartz                 2.50 Draft NDAs for potential sale of FTX exchanges
                                                 (1.5); draft NDAs for venture sales (.30); review
                                                 documents for appropriateness to share with bidders
                                                 (.70).
07/27/2023 Zachary Hearn                    0.30 Revise proposed IEX settlement order to include edits
                                                 from IEX's counsel.
07/27/2023 Jessica Ljustina                 0.40 Review and revise venture company post-closing
                                                 matters (.20); correspondence with J. Simpson re:
                                                 debtor name changes re: venture company sale (.20).
07/27/2023 Jinny Lee                        2.00 Review and revise and markup NDA.
07/27/2023 Patrick Lee                      3.70 Draft purchase agreement in connection with third
                                                 party venture sale (2.0); revise venture purchase
                                                 agreement (1.2); follow up with counterparties on
                                                 status of purchase agreement comments (.20); follow
                                                 up with potential FTX sale process bidder re: NDA
                                                 status and interested party form (.10); request form
                                                 transfer agreements from venture purchasers (.20).
07/27/2023 Naiquan Zhang                    1.20 Research contact information of a fund (.30); revise
                                                 subject company and general partner consent
                                                 agreement for the sales of two fund interests (.90).
07/28/2023 Rita-Anne O'Neill                1.20 Review and revise documents re: venture sales.
07/28/2023 Alexa Kranzley                   0.30 Correspondence with internal team re: due diligence
                                                 posting materials.
07/28/2023 Brian O'Reilly                   0.70 Review and revise and comment on purchase
                                                 agreement for fund sale (.50); email correspondence
                                                 with working group re: status of fund sale documents
                                                 (.20).
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Date        Name                          Hours Description
07/28/2023 Mimi Wu                          0.90 Review and revise NDA forms re: potential sale
                                                 process.
07/28/2023 Aaron Levine                     0.10 Review and revise venture company liquidation
                                                 matters.
07/28/2023 Jeffrey MacDonald                1.00 Review and revise settlement documents for venture
                                                 company.
07/28/2023 Dylan Handelsman                 0.70 Review and revise company assets agreements to
                                                 answer questions re: frozen accounts.
07/28/2023 Maxwell Schwartz                 3.40 Draft NDAs for potential sale of FTX exchanges
                                                 (1.3); review documents to be disclosed to bidders
                                                 (1.3); revise venture sales NDAs and purchase
                                                 agreements (.80).
07/28/2023 Grier Barnes                     0.70 Revise draft sale, hedging and staking motion.
07/28/2023 Yasmin Masoudi                   0.90 Email correspondence with E. Levin and R. Logan re:
                                                 diligence requests (.20); draft email to S&C team re:
                                                 diligence requests (.70).
07/28/2023 Corey Stern                      0.60 Revise purchase agreement and transfer agreement for
                                                 fund asset sale per comments.
07/29/2023 Andrew Dietderich                0.50 Call with T. Graulich (Davis Polk) re: concerns with
                                                 UCC info procedures (.30); call with J. Ray (FTX) re:
                                                 same (.20).
07/30/2023 Audra Cohen                      0.20 Correspondence with various teams re: investment
                                                 assets and sales.
07/30/2023 Andrew Dietderich                0.60 Review and revise memo re: potential treasury
                                                 program and notes for board.
07/30/2023 Brian O'Reilly                   0.30 Review and revise comments to transfer agreement for
                                                 fund asset sale.
07/30/2023 Jeffrey MacDonald                0.80 Review and revise settlement documents for venture
                                                 company (.40); review corporate requirements for
                                                 venture company action request (.40).
07/30/2023 Maxwell Schwartz                 0.50 Review and revise venture sales purchase agreements.
07/30/2023 Gabrielle Pacia                  0.10 Correspondence with D. Handelsman re: engagement
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                               Project: 00011 - ASSET DISPOSITION

Date        Name                          Hours Description

                                                  letter.
07/31/2023 Audra Cohen                      1.70 Call with R. O’Neill, B. O’Reilly, M. Wu, J.
                                                 MacDonald and M. Schwartz re: venture sale process
                                                 updates and documentation (.50); correspondence
                                                 with various teams re: investments and sale and
                                                 settlement and Governance matters (.70); call with
                                                 Paul Hastings, B. O’Reilly, M. Wu and J. MacDonald
                                                 re: current venture investment sales process (.50).
07/31/2023 Andrew Dietderich                1.90 Prepare Galaxy team for call with UCC (.60); call
                                                 UCC re: coin management (.90); follow up email
                                                 correspondence with various teams re: UCC NDAs
                                                 (.40).
07/31/2023 Brian Glueckstein                2.90 Draft and revise IEX 9019 motion and supporting
                                                 papers.
07/31/2023 Rita-Anne O'Neill                1.60 Call with A. Cohen, B. O’Reilly, M. Wu, J.
                                                 MacDonald and M. Schwartz re: venture sale process
                                                 updates and documentation (.50); call with PWP, J.
                                                 Croke, J. MacDonald and venture company and
                                                 venture company counsel re: sale process (.30);
                                                 review documents re: venture sales (.80).
07/31/2023 Jacob Croke                      1.90 Call with PWP, R. O’Neill, J. MacDonald and
                                                 venture company and venture company counsel re:
                                                 sale process (.30); call with J. Ray (FTX) and third
                                                 party re: coin management proposal (.40); call with J.
                                                 Ray (FTX), UCC and third party re: same (1.0);
                                                 correspondence with A&M re: disposition of venture
                                                 asset (.20).
07/31/2023 Colin Lloyd                      0.50 Meeting with UCC re: Galaxy engagement.
07/31/2023 Alexa Kranzley                   0.50 Review and revise NDA re: potential sale of FTX
                                                 exchanges (.20); correspondences with internal team
                                                 re: debtor entity treatment and related issues (.30).
07/31/2023 Brian O'Reilly                   2.80 Review and revise fund sale transfer and substitution
                                                 agreement (.30); review and comment on purchase
                                                 and sale agreement for sale of fund asset (1.5); call
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Date        Name                          Hours Description

                                                  with Paul Hastings, A. Cohen, M. Wu and J.
                                                  MacDonald re: current venture investment sales
                                                  process (.50); call with A. Cohen, R. O’Neill, M. Wu,
                                                  J. MacDonald and M. Schwartz re: venture sale
                                                  process updates and documentation (.50)
07/31/2023 Mimi Wu                          1.20 Call with A. Cohen, R. O’Neill, B. O’Reilly, J.
                                                 MacDonald and M. Schwartz re: venture sale process
                                                 updates and documentation (.50); call with Paul
                                                 Hastings, A. Cohen, B. O’Reilly and J. MacDonald
                                                 re: current venture investment sales process (.50);
                                                 internal correspondence re: NDA and potential
                                                 venture sale (.20).
07/31/2023 Jeffrey MacDonald                6.00 Correspondence with UCC advisors re: corporate
                                                 approvals for venture company (.70); prepare
                                                 settlement agreement with venture company (2.3);
                                                 review venture company diligence materials (1.7); call
                                                 with A. Cohen, R. O’Neill, B. O’Reilly, M. Wu and
                                                 M. Schwartz re: venture sale process updates and
                                                 documentation (.50); call with PWP, R. O’Neill, J.
                                                 Croke and venture company and venture company
                                                 counsel re: sale process (.30); call with Paul Hastings,
                                                 A. Cohen, B. O’Reilly and M. Wu re: current venture
                                                 investment sales process (.50).
07/31/2023 Maxwell Schwartz                 3.10 Call with A. Cohen, R. O’Neill, B. O’Reilly, M. Wu
                                                 and J. MacDonald re: venture sale process updates
                                                 and documentation (.50); review and revise venture
                                                 sales documentation (2.6).
07/31/2023 Zachary Hearn                    0.90 Email correspondence with I. Foote, E. Loh, and N.
                                                 Luu re: IEX 9019 Motion cite check (.30); revise IEX
                                                 settlement motion to include changes from cite check
                                                 (.60).
07/31/2023 Isaac Foote                      1.40 Cite check submission for approval of IEX settlement.
07/31/2023 Jinny Lee                        0.30 Review and revise status of certain NDA and update
                                                 NDA tracker.
07/31/2023 Patrick Lee                      4.40 Follow up with several venture sale purchasers re:
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                            Project: 00011 - ASSET DISPOSITION

Date        Name                       Hours Description

                                               outstanding documentation (.20); review and revise
                                               venture purchase agreement, circulate to S&C team
                                               for review (1.8); revise settlement agreement and
                                               circulate signature pages to counterparties and compile
                                               execution settlement agreement (.60); follow up with
                                               Nardello and NDA counterparties for outstanding
                                               information (.40); revise venture purchase agreement
                                               per comments and circulate to S&C team (1.0);
                                               review purchase agreement markup (.40).
07/31/2023 Esther Loh                    0.30 Cite check draft rule 9019 settlement motion with
                                              IEX.
07/31/2023 Nam Luu                       2.20 Cite check motion and proposed order on settlement
                                              with IEX (1.9); email correspondence with Z. Hearn,
                                              E. Loh, and I. Foote re: same (.30).
07/31/2023 Yasmin Masoudi                0.20 Email correspondence with E. Levin, R. Logan, M.
                                              Wu re: diligence requests.
07/31/2023 Corey Stern                   0.10 Email correspondence with purchaser of fund asset re:
                                              LP transfer agreement.
07/31/2023 Naiquan Zhang                 0.20 Prepare signing version of a fund interest purchase
                                              agreement and circulate to buyer.

Total                                 453.00
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           Project: 00012 - ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS

Date        Name                       Hours Description

07/20/2023 M. Devin Hisarli             3.00 Prepare fourth omnibus contract rejection motion and
                                             review related contracts (2.5); draft summary
                                             materials re: same for R. Schutt and A&M and FTX
                                             team (.50).
07/24/2023 Julie Kapoor                 0.10 Review issues re: rejection motion.
07/28/2023 Julie Kapoor                 0.70 Call between R. Perubhatla (RLKS) and R. Schutt re:
                                             contract rejection (.40); call with counsel to contract
                                             counterparty re: potential rejection (.30).
07/28/2023 Robert Schutt                0.40 Call between R. Perubhatla (RLKS) and J. Kapoor
                                             re: contract rejection.
07/31/2023 Christian Jensen             0.30 Call with J. Kapoor re: contract rejections.
07/31/2023 Julie Kapoor                 1.40 Correspondence with A&M and S&C teams re:
                                             contract rejections (.70); call with C. Jensen re: same
                                             (.30); call with R. Schutt and R. Perubhatla (RLKS)
                                             re: contract rejection process (.40).
07/31/2023 Robert Schutt                1.40 Review contracts for rejection, update motion and
                                             correspondence re: same (1.0); call with J. Kapoor
                                             and R. Perubhatla (RLKS) re: contract rejection
                                             process (.40).

Total                                   7.30
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                             Project: 00013 - AVOIDANCE ACTION ANALYSIS

Date        Name                             Hours Description

07/01/2023 Jacob Croke                        0.30 Analyze issues re: potential avoidance action claims
                                                   (.20); correspondence with N. Friedlander re:
                                                   potential avoidance action claims (.10).
07/01/2023 Michele Materni                    3.70 Review and revise draft complaint re:
                                                   investment-related avoidance action.
07/01/2023 Zoeth Flegenheimer                 4.50 Revise complaint against former FTX personnel.
07/01/2023 Jared Rosenfeld                    0.20 Correspond and review docket for 2004 requests re:
                                                   FTX outside counsel.
07/02/2023 Christopher Dunne                  2.20 Review and revise former complaint against FTX
                                                   personnel.
07/02/2023 Ethan Savitch                      4.20 Draft memo re: potential classes in avoidance actions
                                                   against multiple defendants. (no charge).
07/03/2023 Steven Holley                      2.30 Review draft complaint in potential avoidance action
                                                   against certain former FTX personnel (2.2); email
                                                   exchange with Z. Flegenheimer re: draft avoidance
                                                   complaint (.10).
07/03/2023 Jacob Croke                        0.80 Analyze potential preference claims (.40);
                                                   correspondence with S. Wheeler re: same (.10);
                                                   analyze issues re: avoidance actions in response to
                                                   UCC questions (.30).
07/03/2023 Zoeth Flegenheimer                 1.30 Revise complaint against former FTX personnel.
07/03/2023 Keila Mayberry                     0.10 Review revise investment-related complaint.
07/03/2023 Aneesa Mazumdar                    3.70 Draft summary re: non-US subsidiary cold wallet
                                                   (.90); research re: choice of law (.70); research re:
                                                   Antiguan law (1.3); review memo re: Antiguan law
                                                   (.80).
07/03/2023 Adam Toobin                        1.40 Research re: safe harbors and related issues.
07/03/2023 Rupan Bharanidaran                 4.00 Conduct research on non-US subsidiary choice of
                                                   law. (no charge)
07/03/2023 Ethan Savitch                      0.30 Review comments on avoidance action memo from S.
                                                   Wheeler. (no charge)
07/03/2023 Ethan Savitch                      7.80 Draft memo re: avoidance actions against multiple
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                           Project: 00013 - AVOIDANCE ACTION ANALYSIS

Date        Name                           Hours Description

                                                  defendants (7.7); correspondence with S. Wheeler
                                                  and H. Williams re: memo (.10). (no charge).
07/05/2023 Steven Holley                    2.20 Review and revise draft of potential avoidance action
                                                 complaint (1.7); research re: breach of fiduciary duty
                                                 claims (.40); email exchange with Z. Flegenheimer re:
                                                 draft avoidance action complaint (.10).
07/05/2023 Stephanie Wheeler                0.40 Review of Delaware local rules re: avoidance
                                                 complaint issues.
07/05/2023 Stephanie Wheeler                1.80 Call with K. Donnelly re: drafting customer avoidance
                                                 action complaint (.20); revise draft complaint re:
                                                 venture investments (.70); meeting with M. Materni re:
                                                 draft complaint re: venture investments (.10); calls with
                                                 C. Dunne re: workstreams on claims against exchange
                                                 customers, third interim investigation report and future
                                                 interim investigation reports (.40); correspondence
                                                 with associate team re: workstreams on preference
                                                 claims (.10); call with D. O'Hara re: workstreams on
                                                 preference claims (.10); call with W. Scheffer re:
                                                 avoidance action research and draft memo (.20).
07/05/2023 Andrew Dietderich                0.80 Discussion of historical financials with Alix (.60);
                                                 follow up email to J. Ray (FTX) and S&C team re:
                                                 historical financials (.20).
07/05/2023 Stephen Ehrenberg                0.40 Meeting with E. Simpson and O. Piscicelli re: FTX EU
                                                 avoidance action.
07/05/2023 Stephen Ehrenberg                0.50 Review email from A. Mazumdar re: FTX EU
                                                 avoidance action (.20); correspondence with E.
                                                 Simpson and O. Piscicelli re: same (.10); review email
                                                 from E. Simpson re: FTX EU (.20).
07/05/2023 Stephen Ehrenberg                0.20 Correspondence with S&C team re: FTX EU
                                                 complaint.
07/05/2023 Stephen Ehrenberg                0.10 Call with C. Dunne re: advice on non-US law for
                                                 avoidance action relating to non-US subsidiary.
07/05/2023 Stephen Ehrenberg                0.10 Correspondence with E. Simpson, A. Dietderich, O.
                                                 Vito Piscicelli, A. Kranzley and J. Rosenfeld re: FTX
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                             Project: 00013 - AVOIDANCE ACTION ANALYSIS

Date         Name                             Hours Description

                                                      EU avoidance action
07/05/2023 Christopher Dunne                   2.60 Call with S. Wheeler re: avoidance action work
                                                    streams (.10); correspondence re: and review of
                                                    contemplated avoidance action (.10); correspondence
                                                    re: former FTX personnel complaint (1.2);
                                                    correspondence re: relevant third party escrow (.10);
                                                    review adversary proceeding complaint (1.1).
07/05/2023 Jacob Croke                         2.60 Analyze potential avoidance actions and strategies re:
                                                    asset recoveries (1.7); correspondence with S.
                                                    Wheeler and C. Dunne re: potential avoidance actions
                                                    and strategies re: asset recoveries (.50); analysis re:
                                                    discovery plans for avoidance actions (.30);
                                                    correspondence with C. Dunne re: discovery plans for
                                                    avoidance (.10).
07/05/2023 Oderisio de Vito Piscicelli         0.70 Call with S. Ehrenberg and E. Simpson re: potential
                                                    avoidance action (.30); review information on cold
                                                    wallet balances and exchanging correspondence re:
                                                    same (.40).
07/05/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: evaluation of
                                                    potential claims.
07/05/2023 Michael Tomaino Jr.                 0.60 Emails with team re: draft former FTX personnel
                                                    complaint (.10); review in-progress workstreams in
                                                    preparation for meeting with team (.10); review
                                                    research materials and related work re: potential
                                                    former FTX personnel claims (.40).
07/05/2023 Bradley Harsch                      1.10 Review email re: circulation of draft of former FTX
                                                    personnel complaint (.10); review and comment on
                                                    revise draft of complaint against former FTX
                                                    personnel (.40); review comments on former FTX
                                                    personnel complaint (.10); review email re: settlement
                                                    document review (.10); review email re: breaches of
                                                    fiduciary duty issues (.10); review email re: status of
                                                    workstream re: customers with pre-petition
                                                    withdrawals (.10); review and email re: Alix analysis of
                                                    former FTX personnel transfers (.20).
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                             Project: 00013 - AVOIDANCE ACTION ANALYSIS

Date        Name                             Hours Description
07/05/2023 Michele Materni                    2.50 Review analysis re: potential avoidance action (.60);
                                                   meeting with K. Donnelly re: avoidance action
                                                   workstream (.50); meeting with S. Wheeler re:
                                                   additional avoidance actions (.10); further revise draft
                                                   investment-related avoidance action complaint (.70);
                                                   analysis of documents re: potential avoidance action
                                                   (.60).
07/05/2023 Mark Bennett                       2.20 Correspondence with S. Wheeler re: drafting of
                                                   preference complaint against former FTX personnel
                                                   (.20); correspondence with A. Toobin re: Voyager
                                                   preference complaint (.10); review Voyager
                                                   preference complaint to prepare for drafting of
                                                   preference complaint (.40); draft outline of preference
                                                   complaint (1.3); review list of outstanding preference
                                                   actions (.20).
07/05/2023 Kathleen Donnelly                  0.20 Call with S. Wheeler re: drafting customer avoidance
                                                   action complaint.
07/05/2023 Kathleen Donnelly                  2.00 Correspondence with A. Toobin re: avoidance action
                                                   workstreams (.20); meeting with M. Materni re:
                                                   avoidance action workstream (.50); review internal
                                                   documents in connection with avoidance action
                                                   workstreams (1.3).
07/05/2023 Zoeth Flegenheimer                 0.50 Coordinate with S. Holley re: revisions to complaint
                                                   against former FTX personnel (.40); coordinate with
                                                   C. Dunne re: status of third party adversary action
                                                   (.10).
07/05/2023 Jared Rosenfeld                    8.10 Research choice of law and forum selection clause
                                                   issues in action against relevant third party (2.2); revise
                                                   complaint against relevant third party (5.5); review
                                                   research re: company owned by relevant third party
                                                   subject to potential avoidance action (.40).
07/05/2023 Jessica Goldman                    0.10 Draft non US-subsidiary complaint.
07/05/2023 Alexander Holland                  1.40 Correspondence with M. Materni and K. Mayberry
                                                   re: avoidance action (.30); revise avoidance action
                                                   complaint (.40); draft email to S. Wheeler re: updates
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                                                     re: various potential avoidance actions (.70).
07/05/2023 Daniel O'Hara                       0.80 Review and revise adversary complaint re: former
                                                    FTX personnel.
07/05/2023 Natalie Hills                       9.90 Review documents re: investment by a debtor in
                                                    connection with adversary action (4.1); draft summary
                                                    of documents re: investment by a debtor in connection
                                                    with adversary action (4.5); correspondence with J.
                                                    Rosenfeld re: investment by a debtor in connection
                                                    with adversary action (1.3).
07/05/2023 Keila Mayberry                      3.80 Research re: individual avoidance action and related
                                                    issues (3.7); correspondence re: potential investment
                                                    avoidance action (.10).
07/05/2023 William Scheffer                    0.30 Call with S. Wheeler re: avoidance action research
                                                    and draft memo (.20); correspondence with M.
                                                    Bennett re: same (.10).
07/05/2023 Callen DiGiovanni                   0.20 Conduct research re: avoidance action litigation. (no
                                                    charge)
07/05/2023 Alexander Newman                    0.90 Research and draft avoidance memorandum. (no
                                                    charge)
07/05/2023 Austin Reda                         0.50 Draft summary of UCC rules relevant to foreign
                                                    debtors. (no charge)
07/05/2023 Ethan Savitch                       0.30 Review comments on memo re: avoidance actions
                                                    against multiple defendants from H. Williams (.20);
                                                    meeting with S. Wheeler re: avoidance action memo
                                                    timeline (.10). (no charge).
07/06/2023 Steven Holley                       1.50 Review and revise latest draft of potential avoidance
                                                    action complaint.
07/06/2023 Stephanie Wheeler                   4.10 Correspondence with K. Donnelly, J. Croke and C.
                                                    Dunne re: customer preference claims (.20); read
                                                    memo on customer preference claims (.40); S&C
                                                    associate team meeting re: ongoing avoidance action
                                                    workstreams (1.0); meeting with E. Downing re:
                                                    former FTX personnel complaint (.20); call with C.
                                                    Dunne re: former FTX personnel complaint (.10);
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                                                  review and revise former FTX personnel complaint
                                                  (1.8); review and research memo on preference claims
                                                  (.40).
07/06/2023 Andrew Dietderich                0.30 Review and comment on FTX EU complaint.
07/06/2023 Stephen Ehrenberg                0.10 Correspondence with S&C team re: FTX EU
                                                 complaint draft.
07/06/2023 Stephen Ehrenberg                0.20 Review email from J. Rosenfeld re: FTX EU
                                                 avoidance action.
07/06/2023 Stephen Ehrenberg                0.20 Review FTX EU avoidance action complaint.
07/06/2023 Christopher Dunne                4.90 Consider and communicate re: former FTX personnel
                                                 action (.50); correspondence re: Embed litigation
                                                 strategy (.80); correspondence re: relevant third party
                                                 avoidance action settlement (.80); call with M.
                                                 Tomaino re: avoidance action complaints (.20); review
                                                 preference claims memo and materials (.60);
                                                 correspondence re: political donations (.90); S&C
                                                 associate team meeting re: ongoing avoidance action
                                                 workstreams (partial attendance—.90); call with Z.
                                                 Flegenheimer re: revisions to former FTX personnel
                                                 complaint (.10); call with Z. Flegenheimer re: revisions
                                                 to former FTX personnel complaint (.10).
07/06/2023 Jacob Croke                      4.00 Analyze potential avoidance actions, arguments re:
                                                 asset valuation (.90); correspondence with S. Wheeler
                                                 re: same (.30), call with C. Dunne re: same (.30);
                                                 correspondence with J. Rosenfeld re: strategy for
                                                 former FTX personnel avoidance action (.20); S&C
                                                 associate team meeting re: ongoing avoidance action
                                                 workstreams (partial attendance—.80); analyze assets
                                                 misappropriated by former FTX personnel (.60);
                                                 correspondence with A. Holland re: same (.30);
                                                 analyze issues re: litigation scheduling (.30);
                                                 correspondence with H. Williams re: same (.10);
                                                 analyze potential claims against token issuer (.20).
07/06/2023 Anthony Lewis                    0.10 Correspondence with S&C and Alix re: potential
                                                 claims.
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07/06/2023 Michael Tomaino Jr.                3.70 Review new draft of in-progress workstreams in
                                                   preparation for meeting with team (.10);
                                                   correspondence with team re: draft settlement papers
                                                   (.20); review and revise new draft of settlement
                                                   papers (.50); call with C. Dunne re: avoidance action
                                                   complaints (.20); bi-weekly senior lawyers call re:
                                                   ongoing investigations workstreams (.70); review
                                                   research materials and related work product re:
                                                   property of debtor's estate and related avoidance
                                                   issues (.80); review draft avoidance complaint re:
                                                   venture investments and related team work product
                                                   (1.2).
07/06/2023 Bradley Harsch                     2.40 Review email re: status of comments on settlement
                                                   documents (.10); review email re: Embed accounts
                                                   (.10); S&C associate team meeting re: ongoing
                                                   avoidance action workstreams (1.0); review email re:
                                                   memo on insolvency (.10); review Nardello memos
                                                   for customers with potential claims (.40); review email
                                                   re: relevant third party insurance entry for former FTX
                                                   personnel complaint (.10); email re: status of Alix
                                                   review of former FTX personnel transfers (.10);
                                                   review and email re: memo on preference claims (.30);
                                                   review model complaints for preference actions (.20).
07/06/2023 William Wagener                    0.90    S&C associate team meeting re: ongoing avoidance
                                                     action workstreams (partial attendance - .90).
07/06/2023 William Wagener                    2.30 Research treatment of contingent liabilities for
                                                   purposes of insolvency analysis.
07/06/2023 Michele Materni                    2.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (1.0); meeting with A. Holland, A.
                                                   Mazumdar and K. Mayberry re: potential individual
                                                   avoidance action (.50); review draft preference action
                                                   complaints (1.2).
07/06/2023 Mark Bennett                       1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/06/2023 Kathleen Donnelly                  5.70 Call with D. O'Hara re: avoidance action workstream
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                                                    (.30); meeting with D. O'Hara re: avoidance action
                                                    complaint (.40); S&C associate team meeting re:
                                                    ongoing avoidance action workstreams (1.0); calls
                                                    with Z. Flegenheimer re: avoidance action complaint
                                                    (.40); meeting with Z. Flegenheimer, A. Holland, and
                                                    L. Ross re: potential adversary complaint against
                                                    former FTX personnel (.40); review and analyze draft
                                                    complaint and relevant documents re: potential
                                                    avoidance action (3.2).
07/06/2023 Zoeth Flegenheimer                 1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/06/2023 Zoeth Flegenheimer                 5.50 Call with A. Holland re: avoidance action (.20);
                                                   review Alix analysis re: transfers to former FTX
                                                   personnel (.20); review and revise third party
                                                   adversary complaint (.60); coordinate with K.
                                                   Donnelly re: developing complaint against former FTX
                                                   executive (.10); revise complaint against former FTX
                                                   personnel (1.3); coordinate with B. Harsch re:
                                                   evaluating claims against former FTX personnel (.60);
                                                   call with C. Dunne re: revisions to former FTX
                                                   personnel complaint (.10); review bankruptcy
                                                   memorandum on preference claims (.90); coordinate
                                                   with J. Croke re: complaint against former FTX
                                                   personnel (.30); coordinate with C. Dunne re:
                                                   complaint against former FTX personnel (.40);
                                                   coordinate with Alix re: tracing assets in connection
                                                   with third party action (.20); coordinate with Alix re:
                                                   analyzing transfers to former FTX personnel (.20);
                                                   meeting between K. Donnelly, A. Holland, and L.
                                                   Ross re: potential adversary complaint against former
                                                   FTX personnel (.40).
07/06/2023 Jared Rosenfeld                    9.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (1.0); revise and research
                                                   complaint against relevant third party (4.2); research
                                                   choice of law and forum selection clause issues in
                                                   action against relevant third party (4.5).
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Date        Name                             Hours Description
07/06/2023 Jessica Goldman                    2.20 Draft non US-subsidiary complaint.
07/06/2023 Alexander Holland                  4.30 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (1.0); meeting with M. Materni,
                                                   A. Mazumdar and K. Mayberry re: potential individual
                                                   avoidance action (.50); meeting between Z.
                                                   Flegenheimer, K. Donnelly, and L. Ross re: potential
                                                   adversary complaint against former FTX personnel
                                                   (.40); call with Z. Flegenheimer re: avoidance action
                                                   (.20); draft avoidance action against a relevant third
                                                   party (1.6); draft avoidance action against a relevant
                                                   third party (.40); draft avoidance action against a
                                                   relevant third party (.20).
07/06/2023 Daniel O'Hara                      1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/06/2023 Daniel O'Hara                      0.60 Review draft complaint re: former FTX personnel
                                                   (.20); meeting with K. Donnelly re: avoidance action
                                                   complaint (.40).
07/06/2023 Matthew Strand                     1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/06/2023 Matthew Strand                     0.60 Review open avoidance action summaries and other
                                                   relevant documents.
07/06/2023 Jason Gallant                      1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams
07/06/2023 Emma Downing                       1.60 Revise settlement papers (.40); S&C associate team
                                                   meeting re: ongoing avoidance action workstreams
                                                   (1.0); meeting with S. Wheeler re: former FTX
                                                   personnel complaint (.20).
07/06/2023 Natalie Hills                      1.10 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (1.0); correspondence re:
                                                   avoidance action memo (.10).
07/06/2023 Phoebe Lavin                       2.30 Review memo from Nardello on a company involved
                                                   in a potential avoidance action work stream (1.0);
                                                   S&C associate team meeting re: ongoing avoidance
                                                   action work streams (1.0); search for documents
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                                                     relevant to potential avoidance action work stream
                                                     (.30).
07/06/2023 Keila Mayberry                      6.00 Meeting with M. Materni, A. Holland and A.
                                                    Mazumdar re: potential individual avoidance action
                                                    (.50); research re: individual avoidance action (3.2);
                                                    review of Nardello memo re: potential entity
                                                    avoidance action (1.1); S&C associate team meeting
                                                    re: ongoing avoidance action workstreams (1.0);
                                                    correspondence re: potential investment avoidance
                                                    action (.20).
07/06/2023 Aneesa Mazumdar                     3.70 S&C associate team meeting re: ongoing avoidance
                                                    action workstreams (1.0); meeting with M. Materni,
                                                    A. Holland and K. Mayberry re: potential individual
                                                    avoidance action (.50); call with R. Bharanidaran re:
                                                    Antiguan law memo related to avoidance action (.10);
                                                    revise Antiguan law memo related to avoidance action
                                                    (.90); research re: non-US subsidiary cold wallet
                                                    (.70); correspondence with A&M re: cold wallet
                                                    (.10); research re: personal jurisdiction (.40).
07/06/2023 William Scheffer                    1.30 S&C associate team meeting re: ongoing avoidance
                                                    action workstreams (1.0); prepare for team meeting
                                                    (.30).
07/06/2023 Rupan Bharanidaran                  4.10 Call with A. Mazumdar re: Antiguan law memo related
                                                    to avoidance action (.10); research on non-US
                                                    subsidiary choice of law (4.0). (no charge).
07/06/2023 Ethan Savitch                       2.90 Implement comments from S. Wheeler into memo re:
                                                    avoidance action against multiple defendants (1.1);
                                                    implement comments from H. Williams into defendant
                                                    class action memo (1.8). (no charge)
07/07/2023 Steven Holley                       3.40 review and revise draft of potential avoidance action
                                                    complaint (2.1); email exchange with Z. Flegenheimer
                                                    re: draft avoidance complaint (.10); review and revise
                                                    new draft of another potential avoidance action
                                                    complaint (1.2).
07/07/2023 Stephen Ehrenberg                   0.60 Call with J. Rosenfeld, J. Goldman and A. Mazumdar
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                                                    re: non US-subsidiary complain (partial attendance -
                                                    .60).
07/07/2023 Stephen Ehrenberg                  0.10 Review email from director of non-US subsidiary
                                                   regarding communication with local regulator.
07/07/2023 Stephen Ehrenberg                  1.80 Review and revise draft avoidance complaint for
                                                   non-US subsidiary (1.4); email correspondence with
                                                   S&C team re: draft avoidance complaint for non-US
                                                   subsidiary (.40).
07/07/2023 Brian Glueckstein                  1.00 Correspondence with S&C team re: FTX EU strategy
                                                   issues (.20); review and comment on draft FTX EU
                                                   complaint (.80).
07/07/2023 Christopher Dunne                  5.70 Call with D. O’Hara and Ballard Spahr to discuss
                                                   relevant third party asset recovery (.30); review
                                                   materials and prep for and participate in UCC call
                                                   (2.5); correspondence with relevant third party re: real
                                                   estate (.30): call with K. Donnelly, L. Ross and K.
                                                   Mayberry re: potential individual avoidance complaint
                                                   (.30); review former FTX personnel complaint (1.2);
                                                   call with J. Croke, M. Materni, A. Holland, K.
                                                   Mayberry and A&M re: potential individual avoidance
                                                   action (.80); call with K. Donnelly, L. Ross and K.
                                                   Mayberry re: potential individual avoidance complaint
                                                   (.30).
07/07/2023 Jacob Croke                        1.80 Call with C. Dunne, M. Materni, A. Holland, K.
                                                   Mayberry and A&M re: potential individual avoidance
                                                   action (.80); analyze potential avoidance actions and
                                                   related strategy (.40); correspondence with C. Dunne
                                                   re: same (.20); analyze issues re: litigation strategy and
                                                   scheduling (.30); correspondence with H. Williams re:
                                                   same (.10).
07/07/2023 Anthony Lewis                      0.10 Correspondence with S&C and Alix teams re:
                                                   evaluation of potential claims.
07/07/2023 Hilary Williams                    1.80 Revise service stipulation for relevant third party
                                                   defendants (1.2); review bankruptcy and local rules
                                                   for service stipulation (.60).
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07/07/2023 Michael Tomaino Jr.                0.30 Correspondence with team and defendants re: Embed
                                                   scheduling issues, default proceedings.
07/07/2023 Bradley Harsch                     0.70 Review correspondence re: materials on Emerald re:
                                                   potential preference action.
07/07/2023 Bradley Harsch                     1.10 Meeting with Z. Flegenheimer and Alix re: evaluating
                                                   claims against former FTX personnel (.50); review
                                                   email re: Embed wind down (.10); review and
                                                   comment on revisions to former FTX personnel
                                                   complaint (.40); review email re: scheduling order in
                                                   Embed (.10).
07/07/2023 Michele Materni                    2.70 Call with A. Holland re: avoidance action (.20); call
                                                   with K. Donnelly re: avoidance action workstreams
                                                   (.20); call with K. Mayberry re: potential individual
                                                   avoidance action (.10); call with J. Croke, C. Dunne,
                                                   A. Holland, K. Mayberry and A&M re: potential
                                                   individual avoidance action (.80); review documents in
                                                   support of potential avoidance action against individual
                                                   (1.4).
07/07/2023 Mark Bennett                       1.10 Research re: stipulation to extension of time to answer
                                                   complaint and correspondence with H. Williams re:
                                                   same.
07/07/2023 Kathleen Donnelly                  8.30 Call with M. Materni re: avoidance action
                                                   workstreams (.20); call with A. Holland re: avoidance
                                                   action (.10); call with C. Dunne, L. Ross and K.
                                                   Mayberry re: potential individual avoidance complaint
                                                   (.30); call with L. Ross re: potential individual
                                                   avoidance complaint (.20); meeting with L. Ross and
                                                   Alix to review former FTX personnel transactions
                                                   analysis (.40); correspondence with team concerning
                                                   document review (1.4); review relevant similar
                                                   complaint and revise draft complaint against former
                                                   FTX personnel (5.2); call with K. Mayberry re:
                                                   document review in connection with avoidance action
                                                   against and former FTX personnel (.50).
07/07/2023 Zoeth Flegenheimer                 4.30 Meeting between B. Harsch and Alix re: evaluating
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                                                    claims against former FTX personnel (.50); meeting
                                                    with M. Materni re: evaluating claims against former
                                                    FTX executive (.30); coordinate with P. Lavin re:
                                                    preparing summary of third party adversary action
                                                    (.10); coordinate with M. Materni re: preparing
                                                    complaint against former FTX executive (.20);
                                                    coordinate with M. Wu re: recovery of assets from
                                                    recipient of FTX funds (.20); revise complaint against
                                                    former FTX personnel (2.8); coordinate with M.
                                                    Materni re: third party adversary action (.10);
                                                    coordinate with A. Lewis re: third party adversary
                                                    complaint (.10).
07/07/2023 Jared Rosenfeld                    6.80 Call with S. Ehrenberg, J. Goldman and A. Mazumdar
                                                   re: non US-subsidiary complaint (.80);
                                                   correspondence re: edited summaries of avoidance
                                                   actions (.80); revise and research complaint against
                                                   relevant third party (5.2).
07/07/2023 Andrew Thompson                    2.10 Prepare summary re: debtor entity acquisition, for
                                                   venture book report.
07/07/2023 Jessica Goldman                    1.00 Call with S. Ehrenberg, J. Rosenfeld and A.
                                                   Mazumdar re: non US-subsidiary complaint (.80);
                                                   draft non US-subsidiary complaint (.20).
07/07/2023 Alexander Holland                  5.20 Call with J. Croke, C. Dunne, M. Materni, K.
                                                   Mayberry and A&M re: potential individual avoidance
                                                   action (.80); call with K. Donnelly re: avoidance action
                                                   (.10); call with M. Materni re: avoidance action (.20);
                                                   meeting with D. Fischer and M. Killen re: avoidance
                                                   action (.30); draft avoidance action against a relevant
                                                   third party (.40); summarize potential avoidance action
                                                   against a relevant third party (2.5); review documents
                                                   re: avoidance action against a relevant third party and
                                                   correspond with K. Donnelly re: same (.90).
07/07/2023 Daniel O'Hara                      0.10 Review and respond to correspondence re: former
                                                   FTX personnel complaint.
07/07/2023 Daniel O'Hara                      2.00 Review and execute escrow agreement (.50); call with
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                                                   B. Harsch and D. Clark (Stinson LLP) to discuss
                                                   non-profit contribution return (.20); call with B.
                                                   Harsch to discuss non-profit contribution asset
                                                   recovery (.20); meeting with C. DiGiovanni re: conduit
                                                   transferees in avoidance actions (.30); call with C.
                                                   Dunne and Ballard Spahr to discuss relevant third
                                                   party asset recovery (.30); call with B. Harsch, E.
                                                   Downing, and K. Schultea (RLKS) re: return of funds
                                                   process (.20); call with B. Harsch and E. Downing re
                                                   non-profit donation recovery (.30).
07/07/2023 Emma Downing                      0.10 Update counsel binder for Embed.
07/07/2023 Natalie Hills                     1.60 Correspondence with J. Rosenfeld re: an investment
                                                  made by a debtor entity (.50); search for and
                                                  summarize documents re: investment made by a
                                                  debtor entity (1.1).
07/07/2023 Keila Mayberry                    6.40 Call with M. Materni re: potential individual avoidance
                                                  action (.10); review of documents re: potential
                                                  individual avoidance action (3.4); call with C. Dunne,
                                                  K. Donnelly and L. Ross re: potential individual
                                                  avoidance complaint (.30); call with K. Donnelly and
                                                  L. Ross re: potential individual avoidance complaint
                                                  (.20); cleaning up meeting notes and correspondence
                                                  re: same for potential individual avoidance action
                                                  (.20); cleaning up meeting notes and correspondence
                                                  re: same for potential individual avoidance action
                                                  meeting (.50); K. Donnelly, L. Ross and Alix to
                                                  review former FTX personnel transactions analysis
                                                  (partial--.10); call with J. Croke, C. Dunne, M.
                                                  Materni, A. Holland and A&M re: potential individual
                                                  avoidance action (.80); correspondence re: potential
                                                  investment avoidance action (.30); call with K.
                                                  Donnelly re: document review in connection with
                                                  avoidance action against an former FTX personnel
                                                  (.50).
07/07/2023 Aneesa Mazumdar                   1.90 Call with S. Ehrenberg, J. Rosenfeld and J. Goldman
                                                  re: non US-subsidiary complaint (.80); review notes
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                                                    from call with A&M re: former FTX personnel asset
                                                    tracing (.30); research re: non-US subsidiary (.80).
07/07/2023 Luke Ross                          4.90 Draft relevant third party avoidance action complaint.
07/07/2023 Adam Toobin                        3.90 Research into safe harbor provisions (2.4); research
                                                   into applicable crypto perfection requirements (1.5).
07/07/2023 Callen DiGiovanni                  0.80 Meeting with D. O'Hara re: conduit transferees in
                                                   avoidance actions (.30); conduct research re: conduit
                                                   transferees in avoidance actions (.50). (no charge)
07/07/2023 S. Fischer                         0.30 Meeting with A. Holland and M. Killen re: avoidance
                                                   action. (no charge)
07/07/2023 Alexander Newman                   2.30 Research and draft avoidance memorandum. (no
                                                   charge)
07/07/2023 Austin Reda                        0.50 Draft summary of foreign filing and perfection issues to
                                                   conduct further lien searches. (no charge)
07/07/2023 Ethan Savitch                      5.30 Implement comments from H. Williams re: avoidance
                                                   action against multiple defendants (4.8); additional
                                                   research re: memo re: avoidance action against
                                                   multiple defendants (.50). (no charge)
07/07/2023 Sam Yu                             2.30 Research case law re: definition of initial transferee in
                                                   the bankruptcy code. (no charge)
07/08/2023 Stephanie Wheeler                  0.10 Correspondence with A. Holland re: personal
                                                   jurisdiction research.
07/08/2023 Jacob Croke                        1.90 Analyze issues re: asset movements for avoidance
                                                   actions (1.3); correspondence with Alix and A.
                                                   Holland re: same (.30); analyze potential avoidance
                                                   action arguments (.30).
07/08/2023 Hilary Williams                    1.20 Revise service stipulation for relevant third party
                                                   defendants (.30); analyze service issues for SGN
                                                   Albany (.60); correspondence with S&C team re:
                                                   service of relevant third party defendants (.30).
07/08/2023 Benjamin Beller                    1.00 Review memo re: potential preference actions.
07/08/2023 Kathleen Donnelly                  6.30 Revise draft avoidance action complaint (5.7);
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                                                    correspondence with team re: same (.60).
07/08/2023 Zoeth Flegenheimer                 2.40 Revise complaint against former FTX personnel.
07/08/2023 Jared Rosenfeld                    3.60 Cite check and revise avoidance action complaint
                                                   against relevant third party.
07/08/2023 Jessica Goldman                    0.90 Draft non US-subsidiary complaint.
07/08/2023 Alexander Holland                  4.70 Revise avoidance action against a relevant third party
                                                   (4.1); correspondence with S. Wheeler and M.
                                                   Materni re: personal jurisdiction research (.50); review
                                                   transaction data re: potential avoidance action (.10).
07/08/2023 Keila Mayberry                     5.20 Review of documents in connection with potential
                                                   former FTX personnel avoidance action.
07/08/2023 Adam Toobin                        8.80 Review Paul Hastings/ UCC memo re: preference
                                                   claim (.60); legal research re: choice of law (1.5); draft
                                                   memo on requirements for perfection (2.5); draft
                                                   summary of applicability of safe harbors to relevant
                                                   third party (4.2).
07/08/2023 S. Fischer                         0.60 Conduct background research for potential avoidance
                                                   action. (no charge)
07/09/2023 Steven Holley                      1.60 Review and revise new draft of potential avoidance
                                                   complaint (1.4); correspondence with C. Dunne and
                                                   Z. Flegenheimer re: draft complaint (.20).
07/09/2023 Stephanie Wheeler                  1.00 Review and revise memo re: avoidance action against
                                                   multiple defendants.
07/09/2023 Jacob Croke                        0.70 Analyze issues re: potential avoidance actions against
                                                   former FTX personnel (.50); revise materials re: same
                                                   (.20).
07/09/2023 Anthony Lewis                      0.10 Correspondence with S&C and A&M teams re:
                                                   financial analysis for possible avoidance claims.
07/09/2023 Kathleen Donnelly                  4.40 Review documents relevant to potential avoidance
                                                   actions against former FTX personnel. (2.2); draft
                                                   complaint against former FTX personnel (2.2).
07/09/2023 Zoeth Flegenheimer                 1.30 Revise complaint against former FTX personnel.
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Date        Name                             Hours Description
07/09/2023 Jared Rosenfeld                    7.30 Cite check and revise avoidance action complaint
                                                   against relevant third party.
07/09/2023 Jessica Goldman                    3.50 Draft complaint for avoidance action.
07/09/2023 Alexander Holland                  0.60 Draft complaint for avoidance action.
07/09/2023 Keila Mayberry                     3.50 Review of documents in connection with potential
                                                   former FTX personnel avoidance action (3.1);
                                                   correspondence with J. Gallant re: latest copy of
                                                   trading-related entity complaint (.20); correspondence
                                                   with M. Materni re: potential investment avoidance
                                                   action (.20).
07/09/2023 Aneesa Mazumdar                    5.80 Cite check complaint re: non-US subsidiary avoidance
                                                   action (2.3); research re: non-US subsidiary
                                                   avoidance action (2.1); revise complaint re: non-US
                                                   subsidiary (1.4).
07/09/2023 Ethan Savitch                      0.50 Implement comments from S. Wheeler into final draft
                                                   of memo re: avoidance action against multiple
                                                   defendants. (no charge)
07/10/2023 Steven Holley                      4.30 Review and revise draft of avoidance action complaint
                                                   concerning relevant third party (2.4); email exchanges
                                                   with M. Materni re: draft relevant third party complaint
                                                   (.10); review and revise latest draft of avoidance
                                                   action complaint against former FTX personnel (1.8).
07/10/2023 Stephanie Wheeler                  2.40 Correspondence with S. Nelles, G. Beeney and B.
                                                   Harsch re: conflicts check (.30); correspondence with
                                                   A. Kranzley and C. Dunne re: avoidance litigations
                                                   filed and contemplated (.20); weekly call with J. Ray
                                                   (FTX) and QE re: avoidance actions and reports
                                                   (.40); review additional conflict checks (.30);
                                                   correspondence with M. Trevino and K. Bachir re:
                                                   conflicts checks (.10); review S. Holley comments on
                                                   draft complaint re: venture investments (.40); call with
                                                   M. Tomaino, C. Dunne, B. Harsch, D. O’Hara, W.
                                                   Scheffer and E. Downing to discuss next steps re:
                                                   Embed avoidance action (.60); correspondence with
                                                   W. Scheffer re: possible former FTX personnel claims
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                                                  (.10).
07/10/2023 Stephen Ehrenberg                0.10 Correspondence with J. Rosenfeld, A. Mazumdar, J.
                                                 Goldman re: FTX EU complaint.
07/10/2023 Stephen Ehrenberg                0.60 Call with J. Rosenfeld, J. Goldman and A. Mazumdar
                                                 re: non US-subsidiary complaint (partial attendance -
                                                 .60).
07/10/2023 Stephen Ehrenberg                0.20 Meeting with A. Mazumdar, J. Rosenfeld and J.
                                                 Goldman re: FTX EU complaint.
07/10/2023 Stephen Ehrenberg                0.20 Correspondence with N. N ussbaum (PWP), E.
                                                 Simpson, O. Piscicelli re: review of FTX EU
                                                 complaint.
07/10/2023 Stephen Ehrenberg                0.20 Review A&M comments on FTX EU complaint (.10);
                                                 correspondence with J. Rosenfeld re: A&M
                                                 comments on FTX EU complaint (.10).
07/10/2023 Stephen Ehrenberg                0.20 Review correspondence with E. Simpson re: FTX -
                                                 UCC Europe Update
07/10/2023 Stephen Ehrenberg                0.10 Correspondence with A&M, O. Piscicelli and E.
                                                 Simpson re: A&M review of FTX EU complaint.
07/10/2023 Stephen Ehrenberg                0.10 Correspondence with S&C team re: FTX EU
                                                 avoidance complaint.
07/10/2023 Brian Glueckstein                0.70 Respond to UCC questions re: avoidance claims
                                                 (.30); review and comment on Embed litigation
                                                 schedule and follow-up (.40).
07/10/2023 Christopher Dunne                6.60 Call with M. Tomaino re: Embed and new avoidance
                                                 action complaint (.10); correspondence re: settlement
                                                 matters (1.0); correspondence re: embed scheduling
                                                 order and conference (1.0); correspondence team re:
                                                 relevant third party strategy (.50); correspondence re:
                                                 forthcoming avoidance actions (2.5); call M. Tomaino
                                                 re: Embed scheduling (.20); call with A. Lewis, J.
                                                 Croke, Z. Flegenheimer, A. Holland and P. Lavin re:
                                                 revisions to avoidance action complaint (.70); call
                                                 between M. Tomaino, S. Wheeler, B. Harsch, D.
                                                 O’Hara, W. Scheffer, and E. Downing to discuss next
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                                                    steps re: Embed avoidance action (.60).
07/10/2023 Jacob Croke                        4.70 Call with C. Dunne, A. Lewis, Z. Flegenheimer, A.
                                                   Holland, and P. Lavin re: revisions to avoidance action
                                                   complaint (.70); analyze avoidance action strategies
                                                   (.50); correspondence with C. Dunne and S. Wheeler
                                                   re: same (.30); calls with C. Dunne re: same (.40); call
                                                   with J. Ray (FTX) and QE re: avoidance action
                                                   planning (.40), follow up call with C. Dunne re: same
                                                   (.10); analyze former FTX personnel and associated
                                                   account crypto movements (.50); correspondence
                                                   with J. Rosenfeld and M. Bennett re: same (.50);
                                                   revisions to draft avoidance action complaints (.70),
                                                   correspondence with K. Donnelly and W. Scheffer re:
                                                   same (.60).
07/10/2023 James Bromley                      1.00 Weekly call with J. Ray (FTX) and QE re: avoidance
                                                   actions and reports (.40); draft notes re: same (.60).
07/10/2023 Anthony Lewis                      1.40 Call with C. Dunne, J. Croke, Z. Flegenheimer, A.
                                                   Holland, and P. Lavin re: revisions to avoidance action
                                                   complaint (.70); review and revise complaint for
                                                   potential avoidance claims (.50); correspondence with
                                                   S&C, A&M teams re: financial analysis for possible
                                                   avoidance claims (.10); correspondence with S&C
                                                   teams re: potential avoidance claims (.10).
07/10/2023 Hilary Williams                    0.20 Correspondence with Latham re: service stipulation
                                                   for relevant third party litigation.
07/10/2023 Michael Tomaino Jr.                4.90 Call with C. Dunne re: Embed and new avoidance
                                                   action complaint (.10); correspondence with team re:
                                                   case management order and default proceedings,
                                                   review rules, and consider potential implications for
                                                   ongoing actions (.30); correspondence with team re:
                                                   potential settlements (.20); review current draft of
                                                   proposed Embed schedule (.20); call with C. Dunne
                                                   re: Embed scheduling (.20); call with S. Wheeler, C.
                                                   Dunne, B. Harsch, D. O’Hara, W. Scheffer, and E.
                                                   Downing to discuss next steps re: Embed avoidance
                                                   action (.60); meeting with S. Holley, S. Wheeler, M.
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                                                    Materni and K. Mayberry re: potential investment
                                                    avoidance complaint (.70); review and consider work
                                                    product re: potential witness interviews (.20); review
                                                    draft avoidance complaint re: venture investments,
                                                    questions, and proposed edits from team re: same,
                                                    and draft additional edits and questions (1.6); review
                                                    and revise portions of draft complaint against former
                                                    FTX personnel (.80).
07/10/2023 Bradley Harsch                     2.40 Review email re: status of Embed former FTX
                                                   personnel settlement documents (.20); review email re:
                                                   circulating draft former FTX personnel complaint
                                                   (.20); review email re: defaults in Embed (.10); review
                                                   email re: query on former FTX personnel complaint
                                                   (.10); email re: potential claim by Alameda Ventures
                                                   (.10); review email re: update on Embed litigation
                                                   (.10); review email re: potential relevant third party
                                                   actions (.10); call between M. Tomaino, S. Wheeler,
                                                   C. Dunne, D. O’Hara, W. Scheffer, and E. Downing
                                                   to discuss next steps re: Embed avoidance action
                                                   (.60); review email re: settlement offer in Embed (.10);
                                                   review and comment on revisions to former FTX
                                                   personnel complaint (.40); review and email re: Alix
                                                   analysis of former FTX personnel bonuses and salary
                                                   (.20); email re: potential addition of claim to former
                                                   FTX personnel complaint (.20).
07/10/2023 William Wagener                    0.70 Emails with J. Croke, K. McArthur, J. Rosenfeld and
                                                   U. Eze re: research on proceeds from crime are
                                                   subject to forfeiture.
07/10/2023 Michele Materni                    6.60 Review memo re: preference actions (1.8); meeting
                                                   with M. Tomaino, S. Holley, S. Wheeler and K.
                                                   Mayberry re: potential investment avoidance complaint
                                                   (.70); revise draft investment-related avoidance action
                                                   complaint (4.1).
07/10/2023 Michele Materni                    0.30 Call with K. Mayberry re: potential investment
                                                   avoidance action.
07/10/2023 Mark Bennett                       2.70 Correspondence with Nardello re: defendant in
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                                                    relevant third party litigation (.10); research re: service
                                                    of complaint in relevant third party litigation (.50);
                                                    correspondence with W. Scheffer re: drafting
                                                    preference action complaint against former employees
                                                    (.40); correspondence with N. Hills re: drafting
                                                    preference action complaint against relevant third party
                                                    non-profit (.50); review transaction data analysis by
                                                    A&M relevant to preference action against former
                                                    employees (.40); research re: claims against former
                                                    FTX personnel and correspondence with S. Wheeler
                                                    re: same (.60); call with W. Scheffer re: draft
                                                    avoidance action complaint (.20).
07/10/2023 Kathleen Donnelly                  8.20 Call with J. Rosenfeld re: investigation in connection
                                                   with avoidance action complaint (.10); call with P.
                                                   Lavin re: avoidance action complaint (.20); call with Z.
                                                   Flegenheimer re: strategy for avoidance action (.20);
                                                   call with C. Dunne re: investigation in connection with
                                                   avoidance action complaint (.10); review documents
                                                   and draft avoidance action complaint (7.6).
07/10/2023 Zoeth Flegenheimer                 6.00 Coordinate with J. Rosenfeld re: revisions to complaint
                                                   involving FTX EU and roles of C. Ellison (.40);
                                                   coordinate with J. Croke re: revisions to former FTX
                                                   personnel complaint (.50); coordinate with S. Fulton
                                                   re: revisions to former FTX personnel complaint (.10);
                                                   revise draft complaint against former FTX personnel
                                                   (2.2); review updated analysis from Alix re: transfers
                                                   to former FTX personnel (.90); call with E. Downing
                                                   re: cite check for former FTX personnel complaint
                                                   (.20); call with A. Holland re: avoidance actions (.30);
                                                   call with K. Donnelly re: strategy for avoidance action
                                                   (.20); call with C. Dunne, A. Lewis, J. Croke and P.
                                                   Lavin re: revisions to avoidance action complaint
                                                   (.70); review revise third party adversary complaint
                                                   (.50).
07/10/2023 Dylan Handelsman                   0.20 Call with W. Scheffer re: Embed auction process.
07/10/2023 Jared Rosenfeld                    9.40 Call with K. Donnelly re: investigation in connection
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                                                    with avoidance action complaint (.10); call with S.
                                                    Ehrenberg, J. Goldman and A. Mazumdar re: non-US
                                                    subsidiary avoidance action (.90); cite check, research
                                                    and revise avoidance action complaint against relevant
                                                    third party (8.4).
07/10/2023 Jessica Goldman                    3.40 Call with J. Rosenfeld, and A. Mazumdar re: non-US
                                                   subsidiary avoidance action (1.2); call with S.
                                                   Ehrenberg, J. Rosenfeld and A. Mazumdar re:
                                                   non-US subsidiary avoidance action (.90); draft
                                                   non-US subsidiary complaint (1.3).
07/10/2023 Alexander Holland                  2.70 Call with Z. Flegenheimer re: avoidance actions (.30);
                                                   call with C. Dunne, A. Lewis, J. Croke, Z.
                                                   Flegenheimer and P. Lavin re: revisions to avoidance
                                                   action complaint (.70); draft avoidance action against
                                                   a relevant third party (1.5); correspondence with K.
                                                   Donnelly re: avoidance action against a relevant third
                                                   party (.10); draft avoidance action against a relevant
                                                   third party (.10).
07/10/2023 Daniel O'Hara                      0.60 Call with M. Tomaino, S. Wheeler, C. Dunne, B.
                                                   Harsch, W. Scheffer and E. Downing to discuss next
                                                   steps re: Embed avoidance action.
07/10/2023 Jason Gallant                      0.40 Compile avoidance action binder.
07/10/2023 Emma Downing                       1.40 Revise scheduling order (.30); call with W. Scheffer
                                                   re: Embed litigation strategy (.30); call between M.
                                                   Tomaino, S. Wheeler, C. Dunne, B. Harsch, D.
                                                   O’Hara and W. Scheffer to discuss next steps re:
                                                   Embed avoidance action (.60); call with Z.
                                                   Flegenheimer re: cite check for former FTX personnel
                                                   complaint (.20).
07/10/2023 Natalie Hills                      6.00 Draft avoidance action complaint (5.4);
                                                   correspondence with M. Bennett re: draft avoidance
                                                   action complaint (.60).
07/10/2023 Phoebe Lavin                       5.50 Call with K. Donnelly re: avoidance action complaint
                                                   (.20); call with C. Dunne, A. Lewis, J. Croke, Z.
                                                   Flegenheimer and A. Holland re: revisions to
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                                                   avoidance action complaint (.70); review relevant
                                                   documents related to an issue in an avoidance action
                                                   complaint and drafted a summary of the main issues
                                                   (1.9); correspondence with K. Donnelly re: a question
                                                   related to avoidance action work stream (.40); review
                                                   documents to answer question related to an avoidance
                                                   action work stream (.20); review documents for
                                                   relevance and summarized relevant documents to
                                                   assist with avoidance action work stream (2.1).
07/10/2023 Keila Mayberry                    7.60 Research for potential former FTX personnel
                                                  avoidance complaint and correspondence re: same
                                                  (4.0); research re: potential individual avoidance action
                                                  (.40); call with M. Materni re: potential investment
                                                  avoidance action (.30); research re: potential
                                                  investment avoidance action (1.2); addressing S.
                                                  Holley's edits re: potential investment avoidance action
                                                  (1.0); meeting with M. Tomaino, S. Holley, S.
                                                  Wheeler (partial—.60) and M. Materni re: potential
                                                  investment avoidance complaint (.70).
07/10/2023 Aneesa Mazumdar                   9.50 Review notes from call with A&M re: former FTX
                                                  personnel asset tracing (.10); call with J. Rosenfeld re:
                                                  non-US subsidiary avoidance action (.50); call with S.
                                                  Ehrenberg, J. Rosenfeld and J. Goldman re: non-US
                                                  subsidiary avoidance action (.90); call with J.
                                                  Rosenfeld and J. Goldman re: non-US subsidiary
                                                  avoidance action (1.2); revise non-US subsidiary
                                                  complaint (1.3); cite check complaint re: non-US
                                                  subsidiary avoidance action (3.0); research re:
                                                  non-US subsidiary avoidance action (2.5).
07/10/2023 Tatum Millet                      3.60 Review and revise relevant third party avoidance
                                                  action memo (3.1); review bankruptcy customer
                                                  preference memo re: same (.50).
07/10/2023 Tatum Millet                      0.60 Call with M. Tomaino, S. Wheeler, C. Dunne, B.
                                                  Harsch, D. O’Hara, W. Scheffer and E. Downing to
                                                  discuss next steps re: Embed avoidance action.
07/10/2023 Luke Ross                         4.50 Meeting with C. DiGiovanni and B. Gursoy re:
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                                                     transaction investigation meeting (.20); review of
                                                     documents and summary of potential claims against
                                                     third-party entity (4.3).
07/10/2023 William Scheffer                    6.00 Call with E. Downing re: Embed litigation strategy
                                                    (.30); correspondence with C. Dunne and Landis re:
                                                    same (.40); correspondence with Embed litigation
                                                    team re: potential interviews (.20); research local
                                                    Delaware bankruptcy rules (.50); correspondence
                                                    with C. Dunne re: same (.20); correspondence with E.
                                                    Downing re: draft scheduling order (.30);
                                                    correspondence with Landis re: same (.20); call with
                                                    M. Bennett re: draft avoidance action complaint (.20);
                                                    draft avoidance action complaint (1.8); review
                                                    documents re: same (.50); call with D. Handelsman re:
                                                    Embed auction process (.20); correspondence with
                                                    Embed avoidance action team re: same (.30); call
                                                    between M. Tomaino, S. Wheeler, C. Dunne, B.
                                                    Harsch, D. O’Hara and E. Downing to discuss next
                                                    steps re: Embed avoidance action (.60);
                                                    correspondence with S. Wheeler re: bankruptcy law
                                                    on claims against former FTX personnel (.30).
07/10/2023 Adam Toobin                         2.40 Review correspondence on collateral research (1.7);
                                                    respond to emails on preference workstream (.70).
07/10/2023 Callen DiGiovanni                   1.60 Work on write-up from document analysis (1.4);
                                                    meeting with B. Gursoy and L. Ross re: transaction
                                                    investigation meeting (.20). (no charge)
07/10/2023 S. Fischer                          1.60 Conduct background research for potential avoidance
                                                    action. (no charge).
07/10/2023 Madeline Killen                     3.00 Research matter for possible avoidance action. (no
                                                    charge).
07/10/2023 Ethan Savitch                       2.20 Revise final draft of memo: avoidance action against
                                                    multiple defendants (1.1); create redline against
                                                    previous draft and send to S. Wheeler (.10); S&C
                                                    investigations team meeting (1.0). (no charge)
07/10/2023 Sam Yu                              2.20 Analyze case law re: definitional issues in avoidance
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                                                  actions. (no charge)
07/11/2023 Steven Holley                    3.30 Review and revise new draft of avoidance action
                                                 complaint concerning relevant third party (1.90); call
                                                 with C. Dunne re: draft relevant third party complaint
                                                 (.10); call with E. Simpson re: draft relevant third party
                                                 complaint (.20); review analysis from Alix on former
                                                 FTX personnel bonuses and cash transfers (.40);
                                                 review near final draft of avoidance action complaint
                                                 concerning FTX EU (.70).
07/11/2023 Stephanie Wheeler                1.10 Call with S. Holley re: avoidance actions (.20); review
                                                 and email with internal team memo re: avoidance
                                                 action against multiple defendants (.30); call with S.
                                                 Holley and C. Dunne re: relevant third party and
                                                 former FTX personnel complaints (.20); call with S.
                                                 Holley re: draft relevant third party complaint (.10);
                                                 revise relevant third party complaint (.30).
07/11/2023 Andrew Dietderich                0.70 Meeting with B. Glueckstein, B. Beller, S. Liu, A.
                                                 Toobin, R. Green, K. Pasquale (Paul Hastings), I.
                                                 Sasson (Paul Hastings) and K. Catalano (Paul
                                                 Hastings) re: FTX preferences arguments and
                                                 defenses (partial attendance).
07/11/2023 Andrew Dietderich                1.50 Meet with UCC on preference policy (1.4); follow-up
                                                 emails with S&C team re: general issues (.10).
07/11/2023 Stephen Ehrenberg                0.30 Correspondence with B. Glueckstein, A. Dietderich
                                                 and Paul Hastings re: FTX EU Complaint.
07/11/2023 Stephen Ehrenberg                0.20 Correspondence with S&C team re: FTX EU
                                                 complaint.
07/11/2023 Stephen Ehrenberg                0.40 Review correspondence with J. Rosenfeld re: FTX
                                                 EU complaint.
07/11/2023 Stephen Ehrenberg                1.10 Call with O. Piscicelli J. Rosenfeld, J. Goldman, A.
                                                 Mazumdar and N. Nussbaum (PWP) re: non-US
                                                 subsidiary complaint.
07/11/2023 Stephen Ehrenberg                0.20 Call with C. Dunne re avoidance action for non-US
                                                 subsidiary.
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07/11/2023 Stephen Ehrenberg                    0.30 Call with E. Simpson re avoidance action for non-US
                                                     subsidiary.
07/11/2023 Brian Glueckstein                    1.70 Meeting with A. Dietderich, B. Beller, S. Liu, A.
                                                     Toobin, R. Green, K. Pasquale (Paul Hastings), I.
                                                     Sasson (Paul Hastings) and K. Catalano (Paul
                                                     Hastings) re: FTX preferences arguments and
                                                     defenses.
07/11/2023 Brian Glueckstein                    0.70 Call with E. Mosley and S. Coverick (A&M) re:
                                                     avoidance analysis and related issues (.30); follow-up
                                                     re: avoidance issues (.40).
07/11/2023 Christopher Dunne                    3.80 Correspondence with team re: avoidance action status
                                                     and work flow (2.6); call with M. Tomaino re: Embed
                                                     avoidance action and additional forthcoming actions
                                                     (.10); correspondence re: recovery of charitable and
                                                     political donations (.60); call with M. Tomaino re:
                                                     former FTX personnel complaint (.20); call with M.
                                                     Tomaino re: relevant third party complaint (.10); call
                                                     with S. Ehrenberg re: FTX EU (.10); call with M.
                                                     Tomaino re: former FTX personnel complaint (.10).
07/11/2023 Jacob Croke                          3.40 Call with A. Holland re: avoidance action (.40); call
                                                     with J. Ray (FTX), A&M and team re: avoidance
                                                     actions and strategy (1.0); analyze Nardello reports re:
                                                     potential avoidance action targets (.30),
                                                     correspondence with Nardello re: same (.10);
                                                     correspondence with S. Wheeler re: same (.20);
                                                     analyze asset movements in connection with potential
                                                     avoidance action (.40), correspondence with A.
                                                     Holland re: same (.10); call with C. Dunne re: potential
                                                     avoidance actions (.60); revise draft complaint re:
                                                     avoidance action (.30).
07/11/2023 Evan Simpson                         1.50 Call with J. Rosenfeld, T. Hill and A. Mazumdar re:
                                                     non-US subsidiary avoidance action (.50 - partial
                                                     attendance); review and comment on draft avoidance
                                                     action in respect of non-US subsidiary (1.0).
07/11/2023 Oderisio de Vito Piscicelli          3.20 Prepare for avoidance action complaint filing by
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                                                      reviewing multiple comments on draft complaint and
                                                      providing views (1.5); analyze potential consequences
                                                      of the filing in relation to subsidiary operations (.90);
                                                      analyze attendant IT security matters and employment
                                                      matters (.80)
07/11/2023 Oderisio de Vito Piscicelli          2.40 Discuss of upcoming insolvency of subsidiary (.90);
                                                     review of letter to former employee (.20); review of
                                                     list of workstreams (.20); correspondence re:
                                                     customer communications and draft thereof (.20); call
                                                     with S. Ehrenberg, J. Rosenfeld, J. Goldman, A.
                                                     Mazumdar and Nussbaum (PWP) re: non-US
                                                     subsidiary complaint.(partial attendance - .90).
07/11/2023 Anthony Lewis                        0.80 Review evidence and analysis re: potential avoidance
                                                     claims (.50); correspondence with S&C and A&M
                                                     teams re: potential avoidance actions (.30).
07/11/2023 Michael Tomaino Jr.                  3.90 Call with C. Dunne re: relevant third party complaint
                                                     (.10); bi-weekly senior lawyers call re: ongoing
                                                     investigations workstreams (.50); call C. Dunne re:
                                                     former FTX personnel complaint (.20); emails with
                                                     team re: Embed scheduling issues (.10); call with C.
                                                     Dunne re: Embed avoidance action and additional
                                                     forthcoming actions (.10); additional call with C.
                                                     Dunne re: former FTX personnel complaint (.10); call
                                                     with Z. Flegenheimer re: revisions to complaint against
                                                     former FTX personnel (.10); correspondence with
                                                     team re: draft venture investment complaint (.10);
                                                     review and revise new draft of complaint against
                                                     former FTX personnel (2.2); review rules re: initial
                                                     disclosures for Embed action (.20); correspondence
                                                     with team re: draft complaint against former FTX
                                                     personnel (.20).
07/11/2023 Bradley Harsch                       0.10 Correspondence re: sharing of relevant third party
                                                     memo re: research into potential avoidance action
                                                     defendant.
07/11/2023 Bradley Harsch                       2.10 Review Alix analysis of former FTX personnel
                                                     bonuses and salaries (.30); review email re: status of
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                                                    Embed case management order and outline for
                                                    motions to dismiss (.10); draft email re: analysis of
                                                    salary and bonuses in former FTX personnel
                                                    complaint (.30); call with Z. Flegenheimer re:
                                                    evaluating claims against former FTX personnel (.20);
                                                    meeting between Z. Flegenheimer and Alix re:
                                                    transfers to former FTX personnel (.30); review
                                                    emails re: fact development on relevant third party
                                                    (.30); review presentation re: customer preference
                                                    exposure (.20); review email re: revisions to former
                                                    FTX personnel complaint (.20); review email re:
                                                    updated info on relevant third party transfer (.10);
                                                    email re: meeting on Embed wind down (.10).
07/11/2023 Benjamin Beller                    1.70 Meeting with B. Glueckstein, A. Dietderich, S. Liu, A.
                                                   Toobin, R. Green, K. Pasquale (Paul Hastings), I.
                                                   Sasson (Paul Hastings) and K. Catalano (Paul
                                                   Hastings) re: FTX preferences arguments and
                                                   defenses.
07/11/2023 Tyler Hill                         1.50 Review draft avoidance action (1.1); call with E.
                                                   Simpson, J. Rosenfeld and A. Mazumdar re: non-US
                                                   subsidiary avoidance action (.40).
07/11/2023 Michele Materni                    5.30 Revise draft complaint in support of investment-related
                                                   avoidance action (4.5); correspondence with S.
                                                   Holley re: draft complaint (.20); call with A. Holland
                                                   and A&M re: avoidance action (.60).
07/11/2023 Mark Bennett                       5.30 Research re: preference action claims and
                                                   correspondence with J. Croke re: same (1.7);
                                                   correspondence with A&M re: transaction data of
                                                   subject of preference action claims (.40); review draft
                                                   preference action complaint against former employees
                                                   and correspondence with W. Scheffer re: same (3.2).
07/11/2023 Kathleen Donnelly                  6.60 Call with L. Ross, K. Mayberry and Alix re: former
                                                   FTX personnel transactions analysis (.50); call with D.
                                                   O’Hara re: political donations info for adversary
                                                   complaint (.50); meeting between K. Mayberry and L.
                                                   Ross re: preparing avoidance complaint against former
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                                                    FTX personnel (.30); call with A.Vanderkamp (Alix),
                                                    G.Shapiro (Alix), M. Bidwell (Alix) and L. Ross re:
                                                    analysis in connection with avoidance action complaint
                                                    (.50); review documents and drafted avoidance action
                                                    complaint (4.8).
07/11/2023 Zoeth Flegenheimer                 6.30 Call with B. Harsch re: evaluating claims against
                                                   former FTX personnel (.20); meeting between B.
                                                   Harsch and Alix re: transfers to former FTX personnel
                                                   (.30); correspondence with J. Rosenfeld re:
                                                   requirements for bringing claims under Antiguan law
                                                   (.10); revise complaint against former FTX personnel
                                                   (5.5); call with M. Tomaino re: revisions to complaint
                                                   against former FTX personnel (.10); call with D.
                                                   O’Hara to discuss adversary complaint re: former
                                                   FTX personnel (.10).
07/11/2023 Jared Rosenfeld                   11.40 Call with S. Ehrenberg, O. de Vito Piscicelli, J.
                                                   Goldman, A. Mazumdar and N. Nussbaum (PWP),
                                                   re: non-US subsidiary complaint (1.2); call with E.
                                                   Simpson, T. Hill and A. Mazumdar re: non-US
                                                   subsidiary avoidance action (.60); research choice of
                                                   law of law issues for relevant third party complaint
                                                   (1.3); cite check and correspondence re: outstanding
                                                   research issues for relevant third party complaint (8.3).
07/11/2023 Andrew Thompson                    0.80 Review and revise avoidance action analysis related to
                                                   mysterious creditor.
07/11/2023 Jessica Goldman                    2.50 Call with N. Nussbaum (PWP), S. Ehrenberg, O. de
                                                   Vito Piscicelli (partial attendance - .90), J. Rosenfeld,
                                                   J. Goldman, and A. Mazumdar re: non-US subsidiary
                                                   complaint (1.2); Drafted non-US subsidiary complaint
                                                   (1.3).
07/11/2023 Alexander Holland                  8.00 Call with M. Materni and A&M re: avoidance action
                                                   (.60); call with J. Croke re: avoidance action (.40);
                                                   draft avoidance action against a relevant third party
                                                   (3.1); draft avoidance action against a relevant third
                                                   party (3.9).
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07/11/2023 Sienna Liu                        1.70 Meeting with B. Glueckstein, A. Dietderich, B. Beller,
                                                  A. Toobin, R. Green, K. Pasquale (Paul Hastings), I.
                                                  Sasson (Paul Hastings) and K. Catalano (Paul
                                                  Hastings) re: FTX preferences arguments and
                                                  defenses.
07/11/2023 Daniel O'Hara                     0.10 Call with W. Scheffer re: FTX employee records.
07/11/2023 Daniel O'Hara                     0.60 Call with K. Donnelly re: political donations
                                                  information for adversary complaint (.50); call with Z.
                                                  Flegenheimer to discuss adversary complaint re:
                                                  former FTX personnel (.10)
07/11/2023 Daniel O'Hara                     0.60 Draft and revise talking points re: adversary actions.
07/11/2023 Emma Downing                      0.80 Draft summary of current avoidance actions.
07/11/2023 Natalie Hills                     4.10 Legal research for avoidance action complaint (1.5);
                                                  draft avoidance action complaint (2.6).
07/11/2023 Phoebe Lavin                      5.80 Review documents for relevant information relating to
                                                  Alameda to assist with an avoidance action work
                                                  stream (1.8); continue research and review of relevant
                                                  documents regarding question from J. Rosenfeld
                                                  relating to an avoidance action work stream (1.5);
                                                  draft summary of findings relevant to a question from
                                                  J. Rosenfeld (.90); review documents for relevance to
                                                  avoidance action work stream and draft summary of
                                                  relevant documents for Z. Flegenheimer (1.6).
07/11/2023 Keila Mayberry                    7.30 Research re: potential former FTX personnel
                                                  avoidance action (5.7); research re: potential
                                                  investment avoidance action (.20); draft portion of
                                                  potential individual avoidance action (.60); call with K.
                                                  Donnelly, L. Ross and Alix re: former FTX personnel
                                                  transactions analysis (.50); meeting between K.
                                                  Donnelly and L. Ross re: preparing avoidance
                                                  complaint against former FTX personnel (.30).
07/11/2023 Aneesa Mazumdar                   8.40 Call with S. Ehrenberg, O. de Vito Piscicelli, J.
                                                  Rosenfeld, J. Goldman and N. Nussbaum (PWP) re:
                                                  non-US subsidiary complaint (1.2); call with E.
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                                                     Simpson, J. Rosenfeld and T. Hill re: non-US
                                                     subsidiary avoidance action (.60); call with J.
                                                     Rosenfeld re: non-US subsidiary avoidance action
                                                     (.90); cite check complaint re: non-US subsidiary
                                                     avoidance action (.80); revise non-US subsidiary
                                                     complaint (.80); research re: non-US subsidiary
                                                     avoidance action (4.1).
07/11/2023 Tatum Millet                        0.40 Correspondence with E. Downing and D. O'Hara re:
                                                    background information on Embed action (.20);
                                                    finalize preference analysis on large creditor to send to
                                                    A. Thompson (.20).
07/11/2023 Luke Ross                           6.90 Call with K. Donnelly, K. Mayberry, and Alix re:
                                                    former FTX personnel transactions analysis (.50); call
                                                    with A.Vanderkamp (Alix), G.Shapiro (Alix), M.
                                                    Bidwell (Alix) and K. Donnelly re: analysis in
                                                    connection with avoidance action complaint (.50 -
                                                    partial attendance); review of trading and transfer data
                                                    related to avoidance complaint (2.2); analysis of
                                                    documents for avoidance complaint against former
                                                    FTX employee (3.7).
07/11/2023 William Scheffer                    6.80 Correspondence with C. Dunne re: Embed litigation
                                                    strategy (.20); review documents re: Embed auction
                                                    process (.10); call with D. O’Hara and W. Scheffer
                                                    re: FTX employee records (.10); draft avoidance
                                                    action complaint (3.3); correspondence with M.
                                                    Bennett re: same (.30); review documents re: same
                                                    (2.8).
07/11/2023 Adam Toobin                         1.70 Meeting with B. Glueckstein, A. Dietderich, B. Beller,
                                                    S. Liu, R. Green, Ken Pasquale (Paul Hastings), Isaac
                                                    Sasson (Paul Hastings), and Kristin Catalano (Paul
                                                    Hastings) re: FTX preferences arguments and
                                                    defenses.
07/11/2023 Adam Toobin                         3.00 Review research on perfection (.20); legal research
                                                    into questions raised by UCC in advance of meeting
                                                    (2.1); legal research into collateral perfection
                                                    requirements (.70).
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07/11/2023 Callen DiGiovanni                1.70 Prepare write-up for avoidance action investigations.
                                                 (no charge).
07/11/2023 Russell Green                    2.00 Meeting with B. Glueckstein, A. Dietderich, B. Beller,
                                                 S. Liu, A. Toobin, Ken Pasquale (Paul Hastings),
                                                 Isaac Sasson (Paul Hastings), and Kristin Catalano
                                                 (Paul Hastings) re: FTX preferences arguments and
                                                 defenses (1.7); correspondence with S&C team
                                                 regarding FTX preferences arguments and coordinate
                                                 related research and workstreams (.30). (no charge)
07/11/2023 Austin Reda                      2.10 Research on treatment of foreign jurisdiction's
                                                 perfection requirements (1.5); review relevant
                                                 Alameda loan agreements (.60). (no charge).
07/11/2023 Sam Yu                           3.30 Draft memorandum re: interpretation of certain
                                                 bankruptcy codes provisions. (no charge).
07/12/2023 Steven Holley                    2.90 Review and revise latest draft of avoidance action
                                                 complaint against former FTX personnel (1.4); email
                                                 exchange with A. Dietderich re: draft former FTX
                                                 personnel complaint (.10); review and revise latest
                                                 draft of avoidance action concerning relevant third
                                                 party (1.30); email exchange with A. Dietderich re:
                                                 draft relevant third party complaint (.10).
07/12/2023 Stephanie Wheeler                0.80 Call with C. Dunne and J. Croke re: avoidance actions
                                                 (.20); revise preference complaint against former FTX
                                                 employees and related entities (.60).
07/12/2023 Andrew Dietderich                1.80 Review and comment on complain against former
                                                 FTX personnel (1.2); review new complaint for
                                                 charity venture (.60).
07/12/2023 Stephen Ehrenberg                0.20 Correspondence with RLKS and S&C team re:
                                                 Access rights.
07/12/2023 Stephen Ehrenberg                0.70 Review final draft of FTX EU avoidance complaint
                                                 (.20); correspondence with J. Rosenfeld, J. Goldman
                                                 and A. Mazumdar re: same (.50).
07/12/2023 Brian Glueckstein                2.10 Review and revise Genesis discovery responses and
                                                 related issues (1.5); call with C. Dunne and QE team
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                                                  re: Embed litigation issues (.30); review and comment
                                                  on Embed scheduling order (.30).
07/12/2023 Christopher Dunne                0.30 Call with B. Glueckstein and QE team re: Embed
                                                 litigation issues.
07/12/2023 Christopher Dunne                4.90 Review proposed case management order and
                                                 schedule and discuss edits with team (.70);
                                                 correspondence re: FTX EU complaint and associated
                                                 matters (1.0); call re: former FTX personnel transfers
                                                 and review materials (.60); call with M. Tomaino re:
                                                 Embed scheduling order and additional forthcoming
                                                 complaints (.70); correspondence re: other
                                                 forthcoming avoidance actions (1.5); call with QE re:
                                                 Embed (.30); call with M. Tomaino re: relevant third
                                                 party (.10).
07/12/2023 Jacob Croke                      6.20 Call with K. Donnelly, L. Ross and K. Mayberry re:
                                                 potential former FTX personnel avoidance action
                                                 (.30); analyze issues re: former FTX personnel claims
                                                 (.80), correspondence with S. Wheeler re: same (.30);
                                                 C. Dunne re: same (.30); correspondence with S.
                                                 Holley re: same (.20); analyze issues re: avoidance
                                                 action target transfers (.70); correspondence with M.
                                                 Bennett re: same (.20); revise draft complaint re: asset
                                                 transfers (.50); correspondence with S. Wheeler re:
                                                 same (.10); analyze issues re: purported customer
                                                 claims (.60); correspondence with K. Ramanathan re;
                                                 same (.10); correspondence with B. Glueckstein re:
                                                 same (.10); call with counsel for venture target (.30);
                                                 correspondence with C. Dunne re: same (.10); analyze
                                                 issues re: venture investment and potential claims
                                                 (.60); correspondence with B. Glueckstein re: same
                                                 (.20); analyze issues re: avoidance target withdrawals
                                                 (.30); correspondence with S. Wheeler re: same (.10);
                                                 revise complaint re: investment/donation
                                                 misappropriation (.30); correspondence with J.
                                                 Gallant re: same (.10).
07/12/2023 Nicole Friedlander               0.30 Emails with J. Rosenfeld re: FTX EU complaint
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                                                      naming issue.
07/12/2023 Evan Simpson                         2.00 Review and revise avoidance action for asset recovery
                                                     effort.
07/12/2023 Oderisio de Vito Piscicelli          5.40 Prepare for filing of avoidance action and contingency
                                                     planning.
07/12/2023 Anthony Lewis                        0.60 Call with A. Holland re: avoidance action (.40);
                                                     review materials re: potential avoidance action (.10);
                                                     correspondence with S&C team re: potential
                                                     avoidance action (.10).
07/12/2023 Hilary Williams                      0.80 Correspondence with J. Croke re: Latham comments
                                                     on service stipulation for relevant third party
                                                     defendants (.30); correspondence with local counsel
                                                     and Nardello re: service on SGN Albany (.20);
                                                     correspondence with local counsel re: service
                                                     stipulation (.30).
07/12/2023 Michael Tomaino Jr.                  5.20 Review and consider defendants' proposed revisions
                                                     to draft Embed case management order and related
                                                     team emails (.30); call with C. Dunne re: embed
                                                     scheduling order and additional forthcoming
                                                     complaints (.70); review and revise draft complaint re:
                                                     venture investments (1.8); call C. Dunne re: relevant
                                                     third party (.10); review Embed and relevant third
                                                     party complaints and note points to reconcile
                                                     in-progress draft complaints (.80); review and analyze
                                                     avoidance provisions and related research materials
                                                     and work product (.80); correspondence with team
                                                     re: in-progress draft avoidance complaints (.30); call
                                                     with M. Materni re: draft complaint for
                                                     investment-related avoidance action (.20);
                                                     correspondence with team re: Embed schedule and
                                                     case management issues (.20).
07/12/2023 Bradley Harsch                       0.30 Review and revise research re: defense for avoidance
                                                     actions.
07/12/2023 Bradley Harsch                       1.90 Call with E. Downing re: Embed scheduling order
                                                     (.10); draft and circulate emails to counsel for former
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                                                    FTX personnel re: case management order (.50);
                                                    review emails re: proposed revisions to case
                                                    management order (.20); review email re: third party
                                                    accounts on AWS (.10); review emails re: comments
                                                    on former FTX personnel complaint (.20); review and
                                                    comment on draft outlines for Embed employee
                                                    interviews (.50); review email re: service of Embed
                                                    complaint (.10); call with W. Scheffer re: Embed
                                                    interviews (.20).
07/12/2023 William Wagener                    0.40 Correspondence with J. Rosenfeld re: person of
                                                   interest related to FTX Europe.
07/12/2023 Benjamin Beller                    0.90 Review research re: preference claim defenses and
                                                   claims.
07/12/2023 Michele Materni                   10.50 Call with M. Tomaino and M. Materni re: draft
                                                   complaint for investment-related avoidance action
                                                   (.20); revise draft complaint against individual (9.3);
                                                   communications with J. Gallant and P. Lavin to
                                                   coordinate investigation into new avoidance action
                                                   (.50); further revise draft complaint for
                                                   investment-related avoidance action (.50)
07/12/2023 Mark Bennett                       6.20 Review comments on preference action complaint and
                                                   correspondence with W. Scheffer re: same (.30);
                                                   review documents relevant to preference action
                                                   allegations (.70); research case law re: preference
                                                   action claims under federal and state law (.80); review
                                                   transaction data for employees subject to preference
                                                   action (.80); revise preference action complaint and
                                                   correspondence with J. Croke, S. Wheeler re: same
                                                   (2.8); correspondence with J. Croke, N. Hills re:
                                                   preference action against former employee and related
                                                   entity (.30); review transaction data related to same
                                                   (.50).
07/12/2023 Kathleen Donnelly                  6.90 Call with K. Mayberry re: potential former FTX
                                                   personnel avoidance action (.40); call with M.
                                                   McMahon re: upcoming document review in
                                                   connection with avoidance action complaint (.20);
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                                                    S&C analyst/associate team meeting re: document
                                                    review for potential former FTX personnel avoidance
                                                    action (.30); Call with J. Croke, L. Ross and K.
                                                    Mayberry re: potential former FTX personnel
                                                    avoidance action (.30); call with L. Ross and K.
                                                    Mayberry re: potential former FTX personnel
                                                    avoidance action (.30); review documents and draft
                                                    avoidance action complaint against an former FTX
                                                    personnel (5.4).
07/12/2023 Zoeth Flegenheimer                 3.00 Revise complaint against former FTX personnel (2.7);
                                                   call with E. Downing re: edits to former FTX
                                                   personnel complaint (.10); coordinate with S. Wheeler
                                                   re: revisions to former FTX personnel complaint (.20).
07/12/2023 Jared Rosenfeld                   10.10 Cite check, research and revise avoidance action
                                                   complaint against relevant third party (9.6);
                                                   correspondence re: filing of avoidance action
                                                   complaint (.50).
07/12/2023 Jessica Goldman                    2.50 Edited and filed non-US subsidiary complaint (2.5).
07/12/2023 Alexander Holland                  3.70 Call with A. Lewis re: avoidance action (.40); draft
                                                   avoidance action against a relevant third party (2.3);
                                                   draft avoidance action against a relevant third party
                                                   (1.0).
07/12/2023 Daniel O'Hara                      0.20 Review Embed complaints.
07/12/2023 Daniel O'Hara                      1.20 Revise talking points re: adversary actions (.20);
                                                   meeting with E. Downing, T. Millet and W. Scheffer
                                                   re: Embed litigation background and strategy (1.0).
07/12/2023 Jason Gallant                      3.50 Correspondence re: avoidance action staffing (.20);
                                                   calls with P. Lavin to discuss avoidance action work
                                                   stream and review of relevant documents (.40); review
                                                   documents and draft emails re: avoidance action (2.9).
07/12/2023 Emma Downing                       4.70 Revise former FTX personnel complaint (3.1); revise
                                                   Embed interview outline (.30); call with B. Harsch re:
                                                   Embed scheduling order (.10); call with Z.
                                                   Flegenheimer re: edits to former FTX personnel
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                                                   complaint (.10); call with W. Scheffer re: coordinating
                                                   Embed litigation strategy (.10); meeting with D.
                                                   O’Hara, T. Millet and W. Scheffer re: Embed litigation
                                                   background and strategy (1.0).
07/12/2023 Natalie Hills                     3.20 Correspondence with J. Croke and M. Bennett re:
                                                  avoidance action (.60); review transaction data related
                                                  to avoidance action (.90); review documents for
                                                  relevance to avoidance action (1.4); summarize
                                                  relevant documents and transactions (.30).
07/12/2023 Phoebe Lavin                      6.90 Call with J. Gallant to discuss avoidance action work
                                                  stream and review of relevant documents (.40); review
                                                  memorandum on potential avoidance action defendant
                                                  for relevant information (.30); review documents for
                                                  relevance related to potential avoidance action work
                                                  stream (1.5); review additional documents for
                                                  relevance to potential avoidance action work stream
                                                  (1.2); draft summary of relevant document related to
                                                  potential avoidance action work stream and sent to J.
                                                  Gallant (.30); review for relevant information and
                                                  summarize documents containing communications with
                                                  defendant in avoidance action work stream (3.2).
07/12/2023 Keila Mayberry                    9.40 Call with K. Donnelly re: potential former FTX
                                                  personnel avoidance action (.40); research re:
                                                  potential individual avoidance (1.1); research re:
                                                  potential former FTX personnel avoidance action
                                                  (3.6); correspondence with J. Gallant re:
                                                  preference-based avoidance action (.10); draft
                                                  potential former FTX personnel avoidance complaint
                                                  (2.8); research re: potential investment avoidance
                                                  action (.50); call with K. Donnelly and L. Ross re:
                                                  potential former FTX personnel avoidance action
                                                  (.30); call with J. Croke, K. Donnelly and L. Ross re:
                                                  potential former FTX personnel avoidance action
                                                  (.30); S&C analyst/associate team meeting re:
                                                  document review for potential former FTX personnel
                                                  avoidance action (.30).
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07/12/2023 Aneesa Mazumdar                     9.50 Prepare pro hac vice motion (.90); prepare non-US
                                                    subsidiary complaint for filing (3.2); research re:
                                                    non-US subsidiary avoidance action (2.7); research
                                                    re: former FTX personnel avoidance action (.50);
                                                    edits on non-US subsidiary complaint (2.2).
07/12/2023 Tatum Millet                        1.20 Meeting with D. O’Hara, E. Downing, and W.
                                                    Scheffer re: Embed litigation background and strategy
                                                    (1.0); review email correspondence re: same (.20).
07/12/2023 Luke Ross                           6.10 Call with K. Donnelly and K. Mayberry re: potential
                                                    former FTX personnel avoidance action (.30); call
                                                    with J. Croke, K. Donnelly and K. Mayberry re:
                                                    potential former FTX personnel avoidance action
                                                    (.30); review of documents related to potential
                                                    avoidance claim against former FTX employee (2.1);
                                                    review of documents and analysis of potential claims
                                                    against third-party entity (3.4).
07/12/2023 William Scheffer                    5.00 Correspondence with C. Dunne re: draft scheduling
                                                    and case management order (.30); correspondence
                                                    with B. Harsch re: same (.10); revise draft scheduling
                                                    and case management order (.60); revise draft
                                                    avoidance action complaint (.70); correspondence
                                                    with M. Bennett re: same (.20); drafted interview
                                                    memo (.80); correspondence with E. Downing re:
                                                    same (.20); correspondence with B. Harsch re: same
                                                    (.20); correspondence with avoidance action litigation
                                                    team re: same (.20); legal research on bankruptcy law
                                                    of transfers (.30); call with E. Downing re:
                                                    coordinating Embed litigation strategy (.10); meeting
                                                    with D. O’Hara, E. Downing, T. Millet, and W.
                                                    Scheffer re: Embed litigation background and strategy
                                                    (1.0); correspondence with C. Dunne and Landis re:
                                                    service on Embed defendants (.10); call with. B.
                                                    Harsch re: Embed interviews (.20).
07/12/2023 Adam Toobin                         1.00 Meeting with A. Reda to discuss UCC research
                                                    relevant to avoidance action (.60); research on
                                                    perfection of security interests (.40).
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07/12/2023 Austin Reda                       2.00 Research UCC Article 8 on security intermediaries
                                                  (1.4); meeting with A. Toobin to discuss UCC
                                                  research relevant to avoidance action (.60). (no
                                                  charge).
07/12/2023 Sam Yu                            2.40 Draft memorandum re: interpretation of certain
                                                  bankruptcy codes for avoidance action analysis. (no
                                                  charge).
07/12/2023 Fareed Ahmed                      0.30 S&C analyst/associate team meeting re: document
                                                  review for potential former FTX personnel avoidance
                                                  action.
07/12/2023 Ehi Arebamen                      0.50 S&C analyst/associate team meeting re: document
                                                  review for potential former FTX personnel avoidance
                                                  action.
07/12/2023 Jenna Dilone                      0.30 S&C analyst/associate team meeting re: document
                                                  review for potential former FTX personnel avoidance
                                                  action.
07/12/2023 Camille Flynn                     0.30 S&C analyst/associate team meeting re: document
                                                  review for potential former FTX personnel avoidance
                                                  action.
07/12/2023 Sherry Johnson                    0.30 S&C analyst/associate team meeting re: document
                                                  review for potential former FTX personnel avoidance
                                                  action.
07/13/2023 Steven Holley                     2.70 Review latest draft of avoidance action complaint
                                                  concerning relevant third party (1.8); email exchange
                                                  with M. Materni re: draft relevant third party complaint
                                                  (.10); review outline for interviews of Embed
                                                  employees (.20); review as-filed version of FTX EU
                                                  avoidance complaint (.60).
07/13/2023 Steven Holley                     0.90 Correspondence with A. Dietderich, J. Bromley, B.
                                                  Glueckstein and A. Kranzley to discuss strategy in
                                                  relation to fraudulent conveyance and preference
                                                  actions.
07/13/2023 Stephanie Wheeler                 0.60 Meeting with K. Donnelly re: drafting of avoidance
                                                  action against an former FTX personnel (.30);
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                                                    correspondence with A. Dietderich, S. Holley and M.
                                                    Materni re: comments on draft venture complaint
                                                    (.30).
07/13/2023 Andrew Dietderich                  2.00 Review and comment on bio ventures complain (1.6);
                                                   correspondence with research team on preference
                                                   defenses (.40).
07/13/2023 Christopher Dunne                  8.30 Correspondence re: litigation overseas against relevant
                                                   individual (.10); correspondence with communications
                                                   team re: relevant third party litigation strategy (1.5);
                                                   correspondence re: FTX EU complaint (1.5);
                                                   correspondence re: Embed service and case
                                                   scheduling issues, strategy for forthcoming avoidance
                                                   actions (2.4); review and revise new former FTX
                                                   personnel complaint (2.6); call with M. Materni re:
                                                   draft avoidance action complaint (.10);
                                                   correspondence re: ongoing avoidance action research
                                                   (.10).
07/13/2023 Jacob Croke                        3.00 Analyze issues re: crypto movements for potential
                                                   avoidance actions (.40), correspondence with A&M
                                                   re: same (.20); analyze issues re: customer claims in
                                                   connection with potential avoidance action (.30),
                                                   correspondence with A&M re: same (.10); revise
                                                   draft complaints (.50); meeting with A. Dietderich, B.
                                                   Glueckstein, S. Wheeler and team re: avoidance
                                                   action strategies and potential filings (1.5).
07/13/2023 Nicole Friedlander                 0.30 Emails with A. Lewis and A. Holland re: witness
                                                   questions for avoidance action.
07/13/2023 Evan Simpson                       0.50 Meeting with O. de Vito Piscicelli, T. Hill, M. Berti,
                                                   A. Courroy and A&M re: further steps with regulator
                                                   and liquidation process following filing of avoidance
                                                   action.
07/13/2023 Anthony Lewis                      0.60 Correspondence with S&C team re: evaluation of
                                                   potential claims (.40); review materials and analysis re:
                                                   same (.20).
07/13/2023 Hilary Williams                    0.70 Review edits to service stipulation for relevant third
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                                                   party defendants from Latham (.20); email to local
                                                   counsel re: Latham revisions to service stipulation
                                                   (.10); correspondence with J. Croke, M. Bennett and
                                                   S. Wheeler re: potential complaint (.30);
                                                   correspondence with local counsel re: proposed edits
                                                   to service stipulation (.10).
07/13/2023 Michael Tomaino Jr.               4.10 Correspondence with team re: Embed scheduling
                                                  issues and upcoming conference (.10); call with C.
                                                  Dunne re: settlement and forthcoming avoidance action
                                                  complaint (.30); correspondence with team re: venture
                                                  investment and avoidance issues (.20); bi-weekly
                                                  senior lawyers call re: ongoing investigations
                                                  workstreams (.30); further call with M. Tomaino re:
                                                  settlement and avoidance action complaint (.20);
                                                  correspondence with team re: potential settlements
                                                  and review information re: amounts of transfers across
                                                  defendants (.20); review new draft of complaint re:
                                                  venture investments (.90); review emails and related
                                                  work product re: service and default issues in Embed
                                                  action (.10); meet with investigations team and
                                                  bankruptcy team re: in-progress workstreams (1.5);
                                                  correspondence with team and Embed defendants re:
                                                  revisions to case management order (.30).
07/13/2023 Bradley Harsch                    1.50 Review as-filed version of FTX EU complaint (.30);
                                                  review emails re: Embed case management order and
                                                  potential settlement with former FTX personnel (.20);
                                                  review schedule of former FTX personnel payments
                                                  (.10); review and email re: Alix feedback on former
                                                  FTX personnel complaint (.10); review and comment
                                                  on revisions to outline for Embed employee interview
                                                  (.10); review emails with J. Ray (FTX) re: former
                                                  FTX personnel and other complaints, Embed order
                                                  (.10); review and comment on settlement papers for
                                                  former FTX personnel in Embed (.40); email re:
                                                  circulating settlement papers to former FTX personnel
                                                  in Embed (.10); review and circulate settlement papers
                                                  to Embed former FTX personnel (.10).
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07/13/2023 William Wagener                    0.30 Emails with K. Donnelly and K. Mayberry re:
                                                   fraudulent conveyance statute of limitations and choice
                                                   of law issues.
07/13/2023 Tyler Hill                         0.70 Review updated avoidance complaint (.50);
                                                   correspondence re: FTX Europe termination notice
                                                   (.20).
07/13/2023 Tyler Hill                         0.50 Meeting with E. Simpson, O. de Vito Piscicelli, M.
                                                   Berti and A&M re: further steps with foreign regulator
                                                   and liquidation process following filing of avoidance
                                                   action.
07/13/2023 Michele Materni                    0.10 Meeting with K. Mayberry re: potential investment
                                                   avoidance action research.
07/13/2023 Michele Materni                    8.30 Collected documents to share with potential target of
                                                   avoidance action (1.0); draft email to potential target
                                                   of avoidance action (.40); call with C. Dunne re: draft
                                                   avoidance action complaint (.10); revise draft
                                                   complaint in support of investment-related avoidance
                                                   action (.40); revise draft complaint against individual
                                                   (6.4).
07/13/2023 Mark Bennett                       3.60 Correspondence with P. Lavin and L. Ross re: same
                                                   (.10); revise preference action complaint (1.2); review
                                                   transaction data of former employee and related entity
                                                   in connection with preference action (1.9);
                                                   correspondence with N. Hills re: same (.40).
07/13/2023 Kathleen Donnelly                  9.80 Meeting with S. Wheeler re: drafting of avoidance
                                                   action against a former FTX personnel (.30); call with
                                                   K. Mayberry re: drafting avoidance action against a
                                                   former FTX personnel (.50); call with A. Holland, L.
                                                   Ross and K. Mayberry re: potential former FTX
                                                   personnel avoidance action (.40); review and revise
                                                   draft former FTX personnel complaint (8.6).
07/13/2023 Meaghan Kerin                      0.20 Review FTX EU avoidance complaint.
07/13/2023 Jared Rosenfeld                    0.20 Research defendant addresses for service.
07/13/2023 Alexander Holland                  4.40 Call with K. Donnelly, L. Ross and K. Mayberry re:
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                                                   potential former FTX personnel avoidance action
                                                   (partial attendance—.20); correspond with K.
                                                   Donnelly re: same (.20); draft avoidance action
                                                   complaint (3.4); draft avoidance action complaint
                                                   (.60).
07/13/2023 Daniel O'Hara                     0.30 Research potential causes of action re: third party
                                                  exchange.
07/13/2023 Daniel O'Hara                     0.30 Call with C. Dunne to discuss foreign claims for
                                                  adversary complaint (.20); call with C. Dunne and
                                                  Ballard Spahr to discuss settlement of claims re:
                                                  relevant third party (.10).
07/13/2023 Jason Gallant                     0.50 Emails re: avoidance action research (.20); review
                                                  documents related to avoidance action (.30);
07/13/2023 Arthur Courroy                    0.50 Meeting with A&M, E. Simpson, O. de Vito Piscicelli,
                                                  T. Hill and M. Berti re: further steps with regulator and
                                                  liquidation process following filing of avoidance action.
07/13/2023 Emma Downing                      4.40 Call with W. Scheffer re: Embed litigation strategy
                                                  (.30); revise settlement drafts (.80); cite check former
                                                  FTX personnel complaint (3.3)
07/13/2023 Natalie Hills                     0.40 Correspondence with M. Bennett re: avoidance action
                                                  draft complaint.
07/13/2023 Phoebe Lavin                      1.40 Review documents for relevance in an avoidance
                                                  action workstream (.40); review documents to identify
                                                  key players in an avoidance action workstream. (1.0).
07/13/2023 Keila Mayberry                    9.50 Call with K. Donnelly, A. Holland and L. Ross re:
                                                  potential former FTX personnel avoidance action
                                                  (.40); call with K. Donnelly re: drafting avoidance
                                                  action against an former FTX personnel (.50); meeting
                                                  with M. Materni re: potential investment avoidance
                                                  action research (.10); draft potential former FTX
                                                  personnel avoidance complaint (5.6); research re:
                                                  potential investment avoidance action (2.3); preparing
                                                  documents re: potential investment avoidance action
                                                  call (.50); meeting with M. Materni re: potential
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                                                     investment avoidance action research (.10).
07/13/2023 Aneesa Mazumdar                     1.60 Research re: non-US subsidiary avoidance complaint
                                                    service.
07/13/2023 Luke Ross                           5.20 Call with K. Donnelly, A. Holland and K. Mayberry
                                                    re: potential former FTX personnel avoidance action
                                                    (.40); review of memoranda regarding potential
                                                    avoidance claims against third-party entity (1.4); draft
                                                    sections of adversary complaint against former FTX
                                                    employee (3.4).
07/13/2023 William Scheffer                    2.60 Draft list for avoidance action settlement negotiations
                                                    (.50); correspondence with C. Dunne and E. Downing
                                                    re: same (.20); call with E. Downing re: Embed
                                                    litigation strategy (.30); revise interview memo (.40);
                                                    research privilege issues (.40); revise draft scheduling
                                                    order and case management plan (.30); revise draft
                                                    avoidance action complaint (.40); correspondence
                                                    with M. Bennett re: same (.10).
07/13/2023 Matteo Berti                        1.00 Management of process for potential liquidation of
                                                    foreign debtor (.50); meeting with E. Simpson, O. de
                                                    Vito Piscicelli, T. Hill, M. Berti, A. Courroy and
                                                    A&M re: further steps with foreign regulator and
                                                    liquidation process following filing of avoidance action
                                                    (.50).
07/13/2023 S. Fischer                          0.10 Conduct background research for potential avoidance
                                                    action. (no charge).
07/13/2023 Ehi Arebamen                        5.00 Review documents in support of avoidance action
                                                    investigation regarding former FTX personnel.
07/13/2023 Jenna Dilone                        6.00 Review documents in support of avoidance action
                                                    investigation regarding former FTX personnel (5.7);
                                                    review correspondence and Q&A guidance (.30).
07/13/2023 Ruth Godin                          7.30 Review documents in support of avoidance action
                                                    investigation regarding former FTX personnel.
07/14/2023 Steven Holley                       2.90 Review analysis of major potential preference actions
                                                    (.40); review and revise draft of preference action
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                                                  complaint (2.4); email exchange with M. Bennett re:
                                                  draft preference action complaint (.10).
07/14/2023 Stephanie Wheeler                4.70 Correspondence with M. Materni re: edits to relevant
                                                 third party complaint (.20); call with M. Materni re:
                                                 avoidance actions (.20); create agenda for Associate
                                                 team meeting with avoidance actions and other
                                                 workstreams (.50); S&C associate team meeting re:
                                                 ongoing avoidance action workstreams (.70);
                                                 correspondence with M. Materni re: prep for
                                                 Associate meeting (.20); prepare slides for FTX
                                                 Board Meeting on avoidance actions. (.40);
                                                 correspondence with associate team re: slides for
                                                 Board (.10); correspondence with M. Materni re:
                                                 revision to relevant third party complaint (.10);
                                                 meeting with M. Materni, K. Mayberry and
                                                 representatives of an entity in which the debtors
                                                 invested re: said investment (.30); correspondence
                                                 with J. Croke, S. Holley, C. Dunne re: call with
                                                 counsel for venture investment (.10); Emails K.
                                                 Mayberry and M. Materni re: additional research for
                                                 venture investment complaint (.20); review and revise
                                                 Board slides re: avoidance actions (.70); meeting with
                                                 J. Croke, C. Dunne, J. Rosenfeld re: revisions to
                                                 Board slides (.50); revise Board slides (.50).
07/14/2023 Brian Glueckstein                3.40 Meeting between C. Dunne, J. Croke and Z.
                                                 Flegenheimer re: revisions to complaint against former
                                                 FTX personnel (.60); meeting between C. Dunne, Z.
                                                 Flegenheimer and Alix re: analyzing transfers in
                                                 connection with potential adversary action (partial
                                                 attendance - .50); review and comment on draft
                                                 former FTX personnel complaint (1.1); review
                                                 correspondence and documents re: additional
                                                 avoidance actions (1.2).
07/14/2023 Christopher Dunne               10.20 S&C associate team meeting re: ongoing avoidance
                                                 action workstreams (.70); call with K. Donnelly and
                                                 K. Mayberry re: potential former FTX personnel
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                                                    avoidance complaint (.10); work on draft complaints
                                                    (8.0); revise former FTX personnel complaint and
                                                    communications with team re: same (.20); review and
                                                    communicate re: board presentation on avoidance
                                                    actions (.10); meeting between C. Dunne B.
                                                    Glueckstein, Z. Flegenheimer and Alix re: analyzing
                                                    transfers in connection with potential adversary action
                                                    (partial attendance - .40); call with Z. Flegenheimer re:
                                                    evaluating claims for complaint against former FTX
                                                    personnel (.10); meeting with B. Glueckstein, J. Croke
                                                    and Z. Flegenheimer re: revisions to complaint against
                                                    former FTX personnel (.60).
07/14/2023 Jacob Croke                        8.00 Revise complaint against fund investment target (.60);
                                                   revise complaint against former employee (.60);
                                                   correspondence with M. Bennett re: same (.20);
                                                   meeting between C. Dunne, B. Glueckstein, J. Croke
                                                   and Z. Flegenheimer re: revisions to complaint against
                                                   former FTX personnel (.60); S&C associate team
                                                   meeting re: ongoing avoidance action workstreams
                                                   (.70); review and revise materials for board re:
                                                   avoidance action updates (2.8); correspondence with
                                                   J. Ray (FTX) re: potential claim against third-party
                                                   (.10); correspondence with QE re: same (.10);
                                                   correspondence with J. Rosenfeld re: same (.60);
                                                   correspondence with C. Dunne re: same (.20);
                                                   correspondence with S. Wheeler re: same (.40); call
                                                   S. Wheeler, J. Rosenfeld and C. Dunne re: same
                                                   (.40), further calls C. Dunne re: same (.30); analyze
                                                   issues re: potential claim against third-party (.30),
                                                   correspondence with T. Millet re: same (.10).
07/14/2023 Anthony Lewis                      3.40 Review and revise complaint for potential avoidance
                                                   claims (2.3); review materials re: same (.80);
                                                   correspondence with S&C team re: potential
                                                   avoidance claims (.30).
07/14/2023 Hilary Williams                    0.50 Correspondence with J. Croke re: filing of service
                                                   stipulation for relevant third party defendants (.10);
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                                                    correspondence with local counsel and Latham re:
                                                    final draft of service stipulation for relevant third party
                                                    defendants (.20); correspondence with Latham re:
                                                    finalizing service stipulation (.10); email to local
                                                    counsel re: filing of service stipulation (.10).
07/14/2023 Bradley Harsch                     2.20 Email re: revise outline for interviews of Embed
                                                   employees (.10); email re: interviews of Embed
                                                   employees (.10); call with A. Holland re: avoidance
                                                   action (.40); meeting with B. Harsch, M. Strand, D.
                                                   O’Hara, E. Downing, T. Millet and W. Scheffer re:
                                                   avoidance action litigation and settlement strategies
                                                   (.30); S&C associate team meeting re: ongoing
                                                   avoidance action workstreams (.70); email re: Alix
                                                   query on draft former FTX personnel complaint (.10);
                                                   review email re: call with Alix re: relevant third party
                                                   (.10); review email re: comments on case management
                                                   order (.20); review emails re: comments on former
                                                   FTX personnel complaint allegations re: relevant third
                                                   party (.20).
07/14/2023 William Wagener                    0.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/14/2023 Michele Materni                    4.10 Call with S. Wheeler re: avoidance actions (.20);
                                                   meeting with S. Wheeler, K. Mayberry and
                                                   representatives of an entity in which the debtors
                                                   invested re: said investment (.30); S&C associate
                                                   team meeting re: ongoing avoidance action
                                                   workstreams (.40 - partial attendance); further revise
                                                   draft avoidance action complaint (1.5); revise draft
                                                   avoidance action complaint against individual (1.7).
07/14/2023 Mark Bennett                       5.60 Correspondence with M. Tomaino and S. Holley re:
                                                   draft preference complaint against former FTX
                                                   personnel (.30); correspondence with N. Hills re:
                                                   complaint against former FTX personnel and related
                                                   entity (.40); drafted analysis re: potential claims against
                                                   former FTX personnel and related entity and
                                                   correspondence with J. Croke re: same (.90); call with
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                                                 W. Scheffer re: allegations in draft avoidance action
                                                 complaint (.10); draft slides for board presentation re:
                                                 avoidance action investigations (.40); analyze data
                                                 related to calculation of funds subject to preference
                                                 complaint (1.0); correspondence with J. Croke re:
                                                 same (.20); correspondence with J. Croke re:
                                                 customer account relevant to preference complaint
                                                 (.30); analysis of customer account information
                                                 relevant to preference complaint (1.3); S&C associate
                                                 team meeting re: ongoing avoidance action
                                                 workstreams (.70).
07/14/2023 Kathleen Donnelly               8.00 Call with C. Dunne and K. Mayberry re: potential
                                                former FTX personnel avoidance complaint (.10); call
                                                with K. Mayberry re: potential former FTX personnel
                                                avoidance complaint (.30); S&C associate team
                                                meeting re: ongoing avoidance action workstreams
                                                (.70); call with L. Ross and K. Mayberry re: potential
                                                former FTX personnel avoidance complaint (.40); call
                                                with Z. Flegenheimer and K. Mayberry re: law on
                                                fraudulent/preferential transfers (.10); call with K.
                                                Mayberry and Alix re: avoidance action complaint
                                                (.90); meeting between K. Mayberry, and L. Ross re:
                                                draft of complaint against former FTX personnel (.30);
                                                revise draft avoidance action complaint (5.2).
07/14/2023 Zoeth Flegenheimer              6.70 Meeting between C. Dunne, B. Glueckstein and J.
                                                Croke re: revisions to complaint against former FTX
                                                personnel (.60); meeting between C. Dunne, B.
                                                Glueckstein and Alix re: analyzing transfers in
                                                connection with potential adversary action (.60); call
                                                with C. Dunne re: evaluating claims for complaint
                                                against former FTX personnel (.10) S;&C associate
                                                team meeting re: ongoing avoidance action
                                                workstreams (.70); call with K. Donnelly and K.
                                                Mayberry re: law on fraudulent/preferential transfers
                                                (.10); coordinate with P. Lavin re: summarizing third
                                                party avoidance action (.10); prepare summary of
                                                action against former FTX personnel (.40); call with
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                                                    Alix re: transfers to former FTX personnel (.30);
                                                    coordinate with A. Kranzley and B. Glueckstein re:
                                                    evaluating claims against former FTX personnel (.30);
                                                    coordinate with B. Harsch re: evaluating claims against
                                                    former FTX personnel (.10); coordinate with C.
                                                    Dunne re: evaluating claims against former FTX
                                                    personnel (.20); revise complaint against former FTX
                                                    personnel (2.1); conduct research to prepare
                                                    allegations re: financials. (1.1).
07/14/2023 Jared Rosenfeld                    8.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (.70); create draft, organize,
                                                   revise and correspond re: board presentation slides re:
                                                   avoidance action workstreams (6.6); correspondence
                                                   re: response to press inquiries (.80); call with J.
                                                   Croke, C. Dunne and S. Wheeler re: board
                                                   presentation slides (.60).
07/14/2023 Andrew Thompson                    0.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/14/2023 Andrew Thompson                    0.90 Review avoidance action memo and draft slide re:
                                                   same for inclusion in board presentation.
07/14/2023 Jessica Goldman                    0.20 Review media re filing of non-US subsidiary
                                                   avoidance action.
07/14/2023 Alexander Holland                  4.90 Correspondence with B. Harsh re: avoidance action
                                                   (.40); S&C associate team meeting re: ongoing
                                                   avoidance action workstreams (.70); revise avoidance
                                                   action against a relevant third party (1.9); revise
                                                   avoidance action against a relevant third party (1.3);
                                                   draft summary of avoidance actions for J. Rosenfeld
                                                   (.60).
07/14/2023 Daniel O'Hara                      1.00 Meeting with B. Harsch, M. Strand, D. O’Hara, E.
                                                   Downing, T. Millet and W. Scheffer re: avoidance
                                                   action litigation and settlement strategies (.30); S&C
                                                   associate team meeting re: ongoing avoidance action
                                                   workstreams (.70).
07/14/2023 Matthew Strand                     1.00 Meeting with B. Harsch, D. O’Hara, E. Downing, T.
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                                                  Millet and W. Scheffer re: avoidance action litigation
                                                  and settlement strategies (.30); S&C associate team
                                                  meeting re: ongoing avoidance action workstreams
                                                  (.70).
07/14/2023 Jason Gallant                    1.00 S&C associate team meeting re: ongoing avoidance
                                                 action workstreams (.70); draft slide deck summary
                                                 for avoidance action (.20); correspondence re:
                                                 avoidance action research (.10).
07/14/2023 Emma Downing                     1.70 Research local rules re: mediation requirements (.70);
                                                 update communications binder (.10); call with W.
                                                 Scheffer re: Embed litigation strategy (.20); S&C
                                                 associate team meeting re: ongoing avoidance action
                                                 workstreams (.70).
07/14/2023 Natalie Hills                    3.80 S&C associate team meeting re: ongoing avoidance
                                                 action workstreams (.70); research and analyze
                                                 potential claims to include in avoidance action
                                                 complaint (1.6); correspondence with M. Bennett and
                                                 J. Croke re: potential claims (.80); summarize
                                                 transactions potentially subject to new claims (.70).
07/14/2023 Phoebe Lavin                     7.10 Review for relevance public statements made by a
                                                 defendant in an avoidance action work stream (3.4);
                                                 summarize findings and drafted email to A. Holland
                                                 regarding public statements from avoidance action
                                                 defendant (1.3); review documents for relevance in
                                                 connection to a potential avoidance action work
                                                 stream (1.4); review communications with counsel of
                                                 an avoidance action defendant in connection to
                                                 avoidance action work stream and summarized
                                                 findings (1.0).
07/14/2023 Phoebe Lavin                     1.60 Draft summary of and avoidance action work stream
                                                 for a board presentation (.40); draft short summary of
                                                 an additional avoidance action work stream for a
                                                 board presentation (.50); S&C associate team
                                                 meeting re: ongoing avoidance action work streams
                                                 (.70).
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07/14/2023 Keila Mayberry                   10.80 Draft potential former FTX personnel avoidance
                                                  action (5.4); research re: potential investment
                                                  avoidance action (1.1); S&C associate team meeting
                                                  re: ongoing avoidance action workstreams (.70);
                                                  research re: claims for potential individual avoidance
                                                  action (.60); call with K. Donnelly and Alix re:
                                                  avoidance action complaint (partial attendance -.50);
                                                  call with K. Donnelly and L. Ross re: potential former
                                                  FTX personnel avoidance complaint (.40); meeting
                                                  between K. Donnelly and L. Ross re: draft of
                                                  complaint against former FTX personnel (.30);
                                                  meeting with S. Wheeler, M. Materni and
                                                  representatives of an entity in which the debtors
                                                  invested re: said investment (.30); revise meeting notes
                                                  re: call with investment's representatives (.30);
                                                  preparing summary of relevant third party settlement
                                                  (.30); call with K. Donnelly re: potential former FTX
                                                  personnel avoidance complaint (.30); revise notes
                                                  from associates team meeting and correspondence re:
                                                  same (.30); call with C. Dunne and K. Donnelly re:
                                                  potential former FTX personnel avoidance complaint
                                                  (.10); call with K. Donnelly and Z. Flegenheimer re:
                                                  law on fraudulent/preferential transfers (.10);
                                                  correspondence with N. Hills re: breach of fiduciary
                                                  duty claims (.10).
07/14/2023 Aneesa Mazumdar                   1.90 Draft summary of avoidance actions for board meeting
                                                  (1.6); correspondence to J. Rosenfeld re: summary of
                                                  avoidance actions deck (.30).
07/14/2023 Aneesa Mazumdar                   3.80 Research re: former FTX personnel avoidance action
                                                  (3.1); S&C associate team meeting re: ongoing
                                                  avoidance action workstreams (.70).
07/14/2023 Tatum Millet                      1.90 Review documents in connection with avoidance
                                                  action investigations of relevant third party and
                                                  summarize documents of interest.
07/14/2023 Tatum Millet                      0.70 S&C associate team meeting re: ongoing avoidance
                                                  action workstreams.
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07/14/2023 Luke Ross                           5.90 Meeting with K. Donnelly and K. Mayberry re: draft
                                                    of complaint against former FTX personnel (.30); call
                                                    with K. Donnelly and K. Mayberry re: potential
                                                    former FTX personnel avoidance complaint (.40);
                                                    S&C associate team meeting re: ongoing avoidance
                                                    action workstreams (.70); draft sections of complaint
                                                    against former FTX employee (3.5); revise
                                                    memoranda re: potential claims against third-party
                                                    entity (1.0).
07/14/2023 William Scheffer                    6.50 Revise avoidance action witness interview outline
                                                    (.30); correspondence. with avoidance action team re:
                                                    witness interviews (.20); meeting with B. Harsch, M.
                                                    Strand, D. O’Hara, E. Downing and T. Millet re:
                                                    avoidance action litigation and settlement strategies
                                                    (.30); corr. with M. Materni re: Embed avoidance
                                                    action filings (.10); correspondence with M. Bennett
                                                    re: draft avoidance action complaint (.30): S&C
                                                    associate team meeting re: ongoing avoidance action
                                                    workstreams (.70); call with A. Toobin re: avoidance
                                                    action legal theories and defenses (.50);
                                                    correspondence and call with M. Bennett re: same
                                                    (.20); correspondence with M. Bennett re: draft
                                                    presentation to board of directions (.20); draft slides
                                                    on avoidance actions for board of directors
                                                    presentation (1.0); correspondence with J. Rosenfeld
                                                    re: same (.20); revise draft avoidance action complaint
                                                    (.20); correspondence with J. Croke and M. Bennett
                                                    re: same (.50); research Delaware federal bankruptcy
                                                    local rules on mediation (.50); call with C. Dunne re:
                                                    revisions to Embed avoidance action scheduling order
                                                    (.30); call with C. Dunne and M. McGuire (Landis) re:
                                                    same (.20); correspondence with C. Dunne and M.
                                                    McGuire re: same (.20) call with E. Downing re:
                                                    Embed litigation strategy (.20); review exchange
                                                    account data for avoidance action analysis (.40).
07/14/2023 Adam Toobin                         0.80 Review research on forward contracts (.30); call with
                                                    W. Scheffer re: avoidance action legal theories and
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Date        Name                            Hours Description

                                                   defenses (.50).
07/14/2023 S. Fischer                        0.60 Conduct background research for potential avoidance
                                                  action. (no charge).
07/14/2023 Victoria Shahnazary               0.90 Create chart of political donations for former FTX
                                                  employee in response to avoidance action complaint.
07/14/2023 Jenna Dilone                      8.70 Review of documents in support of avoidance action
                                                  investigation regarding former FTX personnel. (8.3);
                                                  review correspondence/Q&A guidance (.40).
07/14/2023 Ruth Godin                        4.00 Complete review of documents in support of
                                                  avoidance action investigation regarding former FTX
                                                  personnel.
07/14/2023 Sherry Johnson                    3.70 Reviewing documents in support of avoidance action
                                                  investigation regarding former FTX personnel.
07/15/2023 Stephanie Wheeler                 1.30 Emails with K. Mayberry re: relevant third party
                                                  complaint revisions (.20); emails with S. Ehrenberg re:
                                                  FTX EU issues (.20); emails with S. Ehrenberg and
                                                  K. Lemire (QE) re: FTX EU issues (.30); emails with
                                                  J. Ray (FTX) re: relevant third party complaint (.20);
                                                  emails with M. McGuire (Landis) re: draft former FTX
                                                  personnel and relevant third party complaints (.10);
                                                  emails with Z. Flegenheimer re: former FTX personnel
                                                  complaint (.10); emails with S. Ehrenberg re: conflicts
                                                  check for professional firm (.20).
07/15/2023 Stephen Ehrenberg                 2.50 Review on press response to anticipated article about
                                                  avoidance action (1.0); review documents underlying
                                                  article (1.0) correspondence with O. de Vito Piscicelli,
                                                  J. Ray (FTX), A. Dietderich, B. Glueckstein, C.
                                                  Dunne, S. Wheeler, S. Holley, E. Simpson and Joele
                                                  Frank re: same (.50).
07/15/2023 Stephen Ehrenberg                 0.50 Meeting with M. Carangelo, (Joele Frank), E.
                                                  Simpson, O. de Vito Piscicelli and J. Rosenfeld re:
                                                  anticipated article about avoidance action.
07/15/2023 Brian Glueckstein                 0.50 Review relevant third party complaint and related.
07/15/2023 Christopher Dunne                 0.50 Communications re: avoidance action complaints
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07/15/2023 Jacob Croke                          2.10 Analyze issues re: potential transfers to former FTX
                                                     personnel (.30); analyze issues re: withdrawals by
                                                     avoidance action target (.30); review and revise
                                                     materials for board re: avoidance action strategies and
                                                     progress (1.4), correspondence S. Wheeler re: same
                                                     (.10).
07/15/2023 Evan Simpson                         1.00 Correspondence on information in avoidance action
                                                     (.50); meeting with M. Carangelo, (Joele Frank), S.
                                                     Ehrenberg, O. de Vito Piscicelli and J. Rosenfeld re:
                                                     anticipated article about avoidance action (.50).
07/15/2023 Oderisio de Vito Piscicelli          1.50 Draft responses to press enquiry re: avoidance action
                                                     (1.0); meeting with M. Carangelo, (Joele Frank), E.
                                                     Simpson, S. Ehrenberg and J. Rosenfeld re:
                                                     anticipated article about avoidance action (.50).
07/15/2023 Anthony Lewis                        0.70 Review and revise complaint for potential avoidance
                                                     claims (.40); correspondence with S&C, and A&M
                                                     teams re: potential avoidance claims (.30).
07/15/2023 Bradley Harsch                       0.80 Review email re: comments on Embed case
                                                     management order (.20); review emails re: comments
                                                     on former FTX personnel complaint allegations re:
                                                     relevant third party (.10); review and comment on
                                                     proposed revisions to settlement agreement in Embed
                                                     (.30); review emails re: analysis of relevant third party
                                                     withdrawals (.20).
07/15/2023 Mark Bennett                         3.40 Analyze transaction data in connection with drafting
                                                     preference action complaint and correspondence with
                                                     J. Croke and N. Hills re: same.
07/15/2023 Kathleen Donnelly                    7.30 Review and revise draft avoidance action complaint
                                                     against a former FTX personnel.
07/15/2023 Jared Rosenfeld                      1.70 Meeting with M. Carangelo, (Joele Frank), E.
                                                     Simpson, O. de Vito Piscicelli and S. Ehrenberg re:
                                                     anticipated article about avoidance action. (.50);
                                                     revise, research and correspond about potential press
                                                     response inquiry (1.2).
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Date        Name                              Hours Description
07/15/2023 Alexander Holland                   1.10 Draft avoidance action complaint.
07/15/2023 Jason Gallant                       0.40 Review avoidance action data from A&M.
07/15/2023 Emma Downing                        1.60 Research local rules re: procedural requirements
07/15/2023 Natalie Hills                       0.70 Analyze transactions potentially subject to avoidance
                                                    action and assess viability of claims (.50);
                                                    correspondence with M. Bennett re: potential claims
                                                    (.20).
07/15/2023 Phoebe Lavin                        2.60 Revise summary of relevant communications related to
                                                    an avoidance action workstream (1.3); review
                                                    documents related to an avoidance action workstream
                                                    for relevant information (1.1); correspondence with
                                                    A&M re: transaction data in an avoidance action
                                                    workstream (.20).
07/15/2023 Keila Mayberry                      2.00 Incorporate edits on the potential investment
                                                    avoidance complaint (.70); draft the potential former
                                                    FTX personnel avoidance complaint (1.3).
07/15/2023 Aneesa Mazumdar                     0.30 Review correspondence re: media inquiry on non-US
                                                    subsidiary avoidance action.
07/15/2023 Luke Ross                           1.80 Revision to complaint against former FTX employee.
07/15/2023 William Scheffer                    0.30 Correspondence with C. Dunne and M. McGuire
                                                    (Landis) re: Embed litigation strategy.
07/15/2023 Ruth Godin                          6.00 Review documents in support of avoidance action
                                                    investigation regarding former FTX personnel.
07/15/2023 Sherry Johnson                      6.00 Review documents in support of avoidance action
                                                    investigation regarding former FTX personnel.
07/16/2023 Stephanie Wheeler                   3.50 Review and revise complaint against former FTX
                                                    personnel (2.5); correspondence with K. Donnelly, L.
                                                    Ross and K. Mayberry re: comments on new former
                                                    FTX personnel complaint (.10); review PH changes to
                                                    Latona complaint (.20); correspondence with K.
                                                    Mayberry re: same (.10); review draft motion to issue
                                                    subpoenas (.50); correspondence with C. Dunne, B.
                                                    Glueckstein and A. Alden (Q&E) re: same (.10).
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Date        Name                           Hours Description
07/16/2023 Andrew Dietderich                1.00 Review litigation team slides on avoidance actions for
                                                 board (.80). review and comment on founder
                                                 complaint (.20).
07/16/2023 Justin DeCamp                    0.10 Correspondence with B. Glueckstein and Covington,
                                                 re: insurance coverage complaint.
07/16/2023 Christopher Dunne                3.20 Call with M. Tomaino re: Embed case management
                                                 order (.90); communicate with team and opposing
                                                 counsel re: Embed case management order (2.4).
07/16/2023 Jacob Croke                      1.60 Revise board materials re: avoidance actions (.60),
                                                 correspondence with. J. Rosenfeld re: same (.10);
                                                 correspondence with QE re: same (.10); analyze
                                                 Nardello materials re: potential avoidance action
                                                 targets (.40); revise analysis of claims for draft
                                                 avoidance action (.30); correspondence with S.
                                                 Wheeler re: same (.10).
07/16/2023 Anthony Lewis                    1.80 Review materials re: potential preference claims (.20);
                                                 review and revise draft complaint for potential claims
                                                 (1.2); correspondence with S&C, A&M teams re:
                                                 potential avoidance actions (.40).
07/16/2023 Michael Tomaino Jr.              1.20 Call with C. Dunne re: Embed case management order
                                                 (.90); review correspondence with team, Embed case
                                                 defendants and Delaware counsel re: draft case
                                                 management order and proposed revisions (.30).
07/16/2023 Mark Bennett                     0.20 Reviewed Nardello memorandum re: individual
                                                 subject to avoidance action and correspondence with
                                                 W. Scheffer re: same.
07/16/2023 Kathleen Donnelly                0.60 Review edits to draft complaint.
07/16/2023 Zoeth Flegenheimer               0.10 Coordinate with S. Wheeler re: status of complaint
                                                 against FTX former FTX personnel.
07/16/2023 Alexander Holland                2.70 Draft avoidance action complaint.
07/16/2023 Jason Gallant                    0.20 Correspondence re: avoidance action data collection.
07/16/2023 Phoebe Lavin                     0.90 Draft summary of relevant documents in an avoidance
                                                 action workstream.
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Date        Name                              Hours Description
07/16/2023 Keila Mayberry                      2.70 Incorporate edits on the potential investment
                                                    avoidance complaint (.60); incorporate edits on the
                                                    potential former FTX personnel avoidance complaint
                                                    (2.1).
07/16/2023 William Scheffer                    1.60 Correspondence with C. Dunne re: proposed case
                                                    management and scheduling order (.40); revise
                                                    proposed order (1.0); review local Delaware rules
                                                    (.20).
07/17/2023 Steven Holley                       0.20 Correspondence with S. Wheeler re: allegations in
                                                    avoidance action complaint concerning Latona.
07/17/2023 Stephanie Wheeler                   4.10 Call with C. Dunne re: UCC comments on Latona
                                                    complaint (.20); call with K. Mayberry re: UCC
                                                    comments (.20); call with C. Dune re: avoidance
                                                    actions (.20); review and revise spreadsheet of SOFA
                                                    modifications (.50); meeting with K. Donnelly, J.
                                                    Rosenfeld, L. Ross and K. Mayberry re: potential
                                                    former FTX personnel avoidance complaint (.70);
                                                    review and revise count of Latona complaint (.20);
                                                    correspondence with C. Dunne and K. Mayberry re:
                                                    same (.20); correspondence with K. Mayberry re:
                                                    Latona complaint (.20); call with Z. Flegenheimer re:
                                                    former FTX personnel complaint (.10); sent draft re:
                                                    former FTX personnel and Latona complaints to S.
                                                    Rand and K. Lemire (Q&E) for review (.20); review
                                                    documents for new draft complaint against former
                                                    FTX personnel (1.0); email S. Holley re: Latona
                                                    complaint (.10); email S. Rand (QE)and K. Lemire
                                                    (QE) re: former FTX personnel and Latona
                                                    complaints (.20); email K. Mayberry and M. McGuire
                                                    (Landis) re: revisions to Latona complaint (.10).
07/17/2023 Stephen Ehrenberg                   0.30 Review materials for potential claim against service
                                                    provider.
07/17/2023 Stephen Ehrenberg                   0.20 Correspondence with O. Piscicelli, D. Johnston
                                                    (PWP) and R. Mekala (PWP) re: access to systems
                                                    for former employees.
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07/17/2023 Stephen Ehrenberg                0.60 Review background materials on service provider for
                                                 evaluation of possible claims (.30); correspondence
                                                 with Andrew A. Thompson and W. Wagener
                                                 regarding service provider (.30).
07/17/2023 Stephen Ehrenberg                0.10 Correspondence with J. Ray (FTX) and L. Weston
                                                 (Joele Frank) re: press inquiry on avoidance action.
07/17/2023 Stephen Ehrenberg                0.30 Call with C. Dunne re: potential action against service
                                                 provider.
07/17/2023 Brian Glueckstein                1.50 Review and consider Embed claims inquiries (.30):
                                                 correspondence with C. Dunne re: open issues (.20);
                                                 consider and follow-up on former FTX personnel
                                                 issues (.30); respond to requests for advice from S&C
                                                 team (.70).
07/17/2023 Justin DeCamp                    1.70 Meeting with C. Dunne re: avoidance action landscape
                                                 (1.1); review summary re: avoidance action causes of
                                                 action elements (.60).
07/17/2023 Christopher Dunne                6.70 Review press inquiries re: FTX EU (.10);
                                                 correspondence re: Embed filing and strategy (1.9);
                                                 call with M. Tomaino re: avoidance action planning
                                                 (.30); review and revise board deck (.50); meeting
                                                 with J. DeCamp re: avoidance action landscape (1.1);
                                                 correspondence with re: review of Latona and former
                                                 FTX personnel complaints (2.1); correspondence re:
                                                 revisions to former FTX personnel complaint (.70).
07/17/2023 Jacob Croke                      6.00 Revise materials for board re: potential avoidance
                                                 actions and targets (1.2), correspondence with J. Ray
                                                 re: potential avoidance actions and targets (.20);
                                                 correspondence with S. Wheeler re: potential
                                                 avoidance actions and targets (.30); correspondence
                                                 with C. Dunne re: potential avoidance actions and
                                                 targets (.10); analyze issues re: customer claims and
                                                 potential avoidance actions (.40); correspondence
                                                 with S. Levin re: customer claims and potential
                                                 avoidance actions (.10); analyze issues re: former FTX
                                                 personnel accounts and asset movements (.60);
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Date        Name                            Hours Description

                                                   correspondence J. Rosenfeld re: same (.20); analyze
                                                   potential avoidance action targets (1.2);
                                                   correspondence with Nardello re: potential avoidance
                                                   action targets (.30); correspondence with C. Dunne
                                                   re: potential avoidance action targets (.10); analyze
                                                   issues re: potential claim against third-party fund (.30),
                                                   correspondence with J. Gallant re: same (.10); revise
                                                   complaint against third parties (.70), correspondence
                                                   M. Bennett re: complaint against third parties (.20).
07/17/2023 Anthony Lewis                     0.90 Review revisions to draft complaint for avoidance
                                                  action (.20); review evidence for potential avoidance
                                                  action (.50); correspondence with S&C team re:
                                                  potential avoidance claims (.20).
07/17/2023 Michael Tomaino Jr.               1.90 Call with C. Dunne re: avoidance action planning
                                                  (.30); review court filing re: hearing agenda, including
                                                  Embed case management order and adjournment of
                                                  SBF/Embed conference (.10); emails with team and
                                                  Delaware counsel re: Embed case management order
                                                  (.20); review and revise draft SBF settlement
                                                  agreement (related to Embed action) (.30); review
                                                  research materials re: federal and state law avoidance
                                                  claims, defenses (.80); review emails re: default
                                                  procedures and implications (.20).
07/17/2023 Bradley Harsch                    1.20 Review emails re: comments on and filing of Embed
                                                  case management order (.40); meeting with C. Dunne,
                                                  B. Harsch re: third party proposed revisions to
                                                  settlement order (.10); review and email re: third party
                                                  proposed revisions to settlement order (.10); review
                                                  email re: UCC comments on former FTX personnel
                                                  complaint (.10); review email re: individual's funds
                                                  liquidation for Embed (.10); review email re:
                                                  confidential document cited in former FTX personnel
                                                  complaint (.10); review agenda for bankruptcy hearing
                                                  (.10); review and email re: comments on settlement
                                                  stipulation (.20).
07/17/2023 Mark Bennett                      5.70 Revise draft complaint against former FTX personnel
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                                                    in response to S. Holley comments (.70);
                                                    correspondence with W. Scheffer re: revised Nardello
                                                    memo re: former FTX employee subject to potential
                                                    preference action (.20); analyze transaction data
                                                    related to former FTX employee to determine amount
                                                    subject to preference action (.90); revise draft
                                                    preference action complaint against relevant third party
                                                    and correspondence with J. Croke re: same (3.6); call
                                                    with W. Scheffer re: draft avoidance action revisions
                                                    (.30).
07/17/2023 Kathleen Donnelly                  5.80 Call with J. Rosenfeld and K. Mayberry re: drafting
                                                   potential former FTX personnel avoidance complaint
                                                   (.40); meeting with S. Wheeler, J. Rosenfeld, L. Ross
                                                   and K. Mayberry re: potential former FTX personnel
                                                   avoidance complaint (.70); meeting with J. Rosenfeld,
                                                   L. Ross and K. Mayberry re: potential former FTX
                                                   personnel avoidance complaint (.10); call with A.
                                                   Holland re: avoidance action (.20); call with L. Ross
                                                   and K. Mayberry re: potential former FTX personnel
                                                   avoidance complaint (.50); review and revised draft
                                                   avoidance action complaint (3.9).
07/17/2023 Zoeth Flegenheimer                 8.50 Review, revise and incorporate comments re: revisions
                                                   to claims and allegations being included (8.3); call with
                                                   E. Downing re: former FTX personnel complaint
                                                   citecheck (.10); call with E. Downing re: former FTX
                                                   personnel complaint edits (.10).
07/17/2023 Jared Rosenfeld                    9.20 Call with K. Donnelly, J. Rosenfeld and K. Mayberry
                                                   re: drafting potential former FTX personnel avoidance
                                                   complaint (.40); meeting with S. Wheeler, K.
                                                   Donnelly, L. Ross and K. Mayberry re: potential
                                                   former FTX personnel avoidance complaint (.70);
                                                   meeting with K. Donnelly, L. Ross and K. Mayberry
                                                   re: potential former FTX personnel avoidance
                                                   complaint (.10); call with A. Holland re: avoidance
                                                   action (.10); revise board presentation deck (.40);
                                                   review complaint against former FTX personnel (.70);
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                                                    correspondence and research re: liability for potential
                                                    election law offenses (.60); corresponded and
                                                    research re: valuation reports and relationship to
                                                    potential claims (1.8); research and draft portion of
                                                    former FTX personnel complaint (4.2); review
                                                    research from, corresponded about, employee
                                                    withdrawals from exchange data (.20).
07/17/2023 Jessica Goldman                    0.20 Corresponded with team re service of process in
                                                   connection with non-U.S. subsidiary avoidance action.
07/17/2023 Alexander Holland                  3.60 Draft avoidance action complaint against a relevant
                                                   third party (2.3); draft avoidance action complaint
                                                   against a former employee (1.3).
07/17/2023 Alexander Holland                  0.20 Correspond with K. Donnelly re: avoidance action
                                                   against FTX Insider (.10); correspond with A&M re:
                                                   avoidance action against a relevant third party (.10).
07/17/2023 Daniel O'Hara                      1.80 Research adversary complaint re: third party exchange
                                                   (1.1); review Embed complaints (.70)
07/17/2023 Jason Gallant                      2.10 Draft avoidance action complaint.
07/17/2023 Emma Downing                       6.50 Review and cite check insiders complaint (6.3); call
                                                   with Z. Flegenheimer re: former FTX personnel
                                                   complaint cite check (.10); call with Z. Flegenheimer
                                                   re: former FTX personnel complaint edits (.10)
07/17/2023 Phoebe Lavin                       8.10 Call with A. Holland re: avoidance action (.60);
                                                   review and provide comments on avoidance action
                                                   complaint and sent to J. Gallant. (.50); revise chart
                                                   containing summaries of relevant documents in
                                                   connection with an avoidance action workstream
                                                   (.30); review transaction data related to an avoidance
                                                   action workstream for relevant information (.20);
                                                   review and summarize relevant documents related to
                                                   an avoidance action workstream. (2.8);
                                                   correspondence with A. Holland regarding public
                                                   statements in connection with an avoidance action
                                                   workstream (.30); research and summarize finding
                                                   regarding public knowledge regarding Alameda's
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                                                   financials to assist with an avoidance action
                                                   workstream (1.9); correspondence with paralegals
                                                   regarding avoidance action workstream
                                                   communications binder (.10); correspondence with
                                                   A&M regarding transaction data in an avoidance
                                                   action workstream (.90); review and summarize
                                                   additional public statements for A. Holland in
                                                   connection to avoidance action complaint (.50).
07/17/2023 Keila Mayberry                    8.70 Meeting with S. Wheeler, K. Donnelly, J. Rosenfeld
                                                  and L. Ross re: potential former FTX personnel
                                                  avoidance complaint (.70); meeting with K. Donnelly,
                                                  J. Rosenfeld and L. Ross re: potential former FTX
                                                  personnel avoidance complaint (.10); call with K.
                                                  Donnelly and J. Rosenfeld re: drafting potential former
                                                  FTX personnel avoidance complaint (.40); call with
                                                  K. Donnelly and L. Ross re: potential former FTX
                                                  personnel avoidance complaint (.50); correspondence
                                                  with P. Lavin re: potential preference-related
                                                  avoidance action (.30); addressing edits to potential
                                                  former FTX personnel avoidance complaint (4.9);
                                                  incorporate edits on potential investment avoidance
                                                  action and correspondence re: same (1.7);
                                                  correspondence with Z. Flegenheimer re: potential
                                                  former FTX personnel avoidance complaint (.10).
07/17/2023 Tatum Millet                      1.10 Revise summary of documents related to potential
                                                  avoidance action to circulate to D. O'Hara and E.
                                                  Downing (.90); correspondence re: documents related
                                                  to potential avoidance action (.20).
07/17/2023 Luke Ross                         5.30 Meeting with S. Wheeler, K. Donnelly, J. Rosenfeld,
                                                  L. Ross and K. Mayberry re: potential former FTX
                                                  personnel avoidance complaint (.70); meeting with K.
                                                  Donnelly, J. Rosenfeld, L. Ross and K. Mayberry re:
                                                  potential former FTX personnel avoidance complaint
                                                  (.10); call with K. Donnelly, L. Ross and K.
                                                  Mayberry re: potential former FTX personnel
                                                  avoidance complaint (.50); draft summary potential
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                                                     claims against third-party entities (2.9); review of
                                                     former FTX personnel's transaction data in support of
                                                     potential avoidance action (1.1).
07/17/2023 William Scheffer                    3.00 Correspondence with C. Dunne re: draft scheduling
                                                    and case management order (.20); review draft
                                                    certification re: scheduling order (.10);
                                                    correspondence with E. Downing re: draft settlement
                                                    agreements (.20); review caselaw on preference
                                                    actions and defenses (.50); correspondence with M.
                                                    Bennett re: draft avoidance action revisions (.50);
                                                    reviewed Nardello memos on subjects of potential
                                                    avoidance action (.60); draft interview memos (.60);
                                                    call with M. Bennett and W. Scheffer re: draft
                                                    avoidance action revisions (.30).
07/17/2023 Callen DiGiovanni                   3.30 Meeting with J. Rosenfeld re: federal campaign laws
                                                    cause of action (.20); conduct research on private
                                                    right of action (.80); write memo on private right of
                                                    action (2.3). (no charge)
07/17/2023 S. Fischer                          0.90 Conduct background research for potential avoidance
                                                    action, (no charge)
07/17/2023 Madeline Killen                     2.50 Research into possible contacts, their contact
                                                    information for potential avoidance action. (no charge)
07/17/2023 Victoria Shahnazary                 2.00 Update Embed defense counsel communications
                                                    tracker and records re: same.
07/18/2023 Steven Holley                       0.70 Review and revise new draft of preference action
                                                    complaint.
07/18/2023 Steven Holley                       0.30 Review draft slide deck concerning status of various
                                                    potential avoidance actions.
07/18/2023 Robert Downes                       0.50 Call with A. Cohen re: purchase accounting analysis
                                                    for FTX Group acquisitions and review background
                                                    materials for internal call.
07/18/2023 Robert Downes                       0.60 Call between A. Cohen, C. Dunne, S. Ehrenberg, S.
                                                    Wheeler, M. Wu, and J. Rosenfeld re: purchase
                                                    accounting memoranda prepared for FTX
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                                                  acquisitions.
07/18/2023 Stephanie Wheeler                4.10 Review M. Tomaino's comments on Latona complaint
                                                 (.20); correspondence with N. Roos (SDNY) re: draft
                                                 complaint (.10); correspondence with A. Holland re:
                                                 draft complaints (.20); correspondence with S. Holley
                                                 re: Latona complaint (.20); correspondence with B.
                                                 Glueckstein re: draft omnibus motion re: de minimis
                                                 settlements (.10); revise draft preference complaint
                                                 against former employees (.60); attend FTX board
                                                 meeting re: avoidance actions (.80 - partial
                                                 attendance); correspondence with J. Croke re:
                                                 questions re: third party account in connection with
                                                 avoidance action (.10); call with A. Cohen, C. Dunne,
                                                 S. Ehrenberg, R. Downes, M. Wu, and J. Rosenfeld
                                                 re: purchase accounting memoranda prepared for
                                                 FTX Group acquisitions. (partial attendance - .30);
                                                 call with W. Scheffer re: revisions to draft avoidance
                                                 action (.30); emails with M. Materni, S. Cohen Levin
                                                 and M. Wu re: tender offer related to avoidance
                                                 action (.40); research on tender offer terms related to
                                                 avoidance action (.20); began revising avoidance
                                                 action complaint (.60).
07/18/2023 Audra Cohen                      2.50 Call between A. Cohen, C. Dunne, S. Ehrenberg, R.
                                                 Downes, S. Wheeler, M. Wu and J. Rosenfeld re:
                                                 purchase accounting memoranda prepared for FTX
                                                 acquisitions (.60). review accounting memos (.70);
                                                 review draft of avoidance action complaint (1.2).
07/18/2023 Andrew Dietderich                0.50 Prepared notes on preference actions.
07/18/2023 Stephen Ehrenberg                0.60 Call between A. Cohen, C. Dunne, S. Ehrenberg, R.
                                                 Downes, S. Wheeler, M. Wu, and J. Rosenfeld re:
                                                 purchase accounting memoranda prepared for FTX
                                                 acquisitions.
07/18/2023 Brian Glueckstein                0.30 Correspondence with S&C team and follow-up re:
                                                 avoidance litigation strategy issues.
07/18/2023 Justin DeCamp                    3.30 Review materials re: avoidance actions, including draft
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                                                 complaints and related work product and supporting
                                                 materials.
07/18/2023 Christopher Dunne               5.70 Correspondence re: embed complaint confidentiality
                                                issue (1.1); prepare for board meeting (.50) review
                                                forthcoming avoidance complaint (.50); participate in
                                                board meeting on avoidance actions (1.4); call with
                                                M. Tomaino re: embed schedule (.10); call between
                                                A. Cohen, C. Dunne, S. Ehrenberg, R. Downes, S.
                                                Wheeler, M. Wu and J. Rosenfeld re: purchase
                                                accounting memoranda prepared for FTX Group
                                                acquisitions (.60); correspondence re: forthcoming
                                                avoidance actions, incl preference claims (1.0); call
                                                with C. Dunne, J. Croke, M. Bennett and W. Scheffer
                                                re: exchange data and avoidance action analysis (.50).
07/18/2023 Jacob Croke                     9.20 Call with A. Holland, K. Mayberry and A&M re:
                                                potential individual avoidance complaint research
                                                (.80); call with A. Holland re: avoidance action (.10);
                                                call with C. Dunne, M. Bennett and W. Scheffer re:
                                                exchange data and avoidance action analysis (.50);
                                                steering committee call with J. Ray et al. re: avoidance
                                                actions and case management (.70); analyze issues re:
                                                return of assets and potential claims (.60), call with J.
                                                Ray re: same (.10); call with C. Dunne re: same (.40)
                                                correspondence A. Dietderich re: same (.30); Analyze
                                                potential avoidance action strategy and targets (.50),
                                                correspondence C. Dunne re: same (.30); board
                                                meeting re: avoidance action strategies, crypto
                                                recoveries and related issues (1.4), correspondence
                                                with S. Wheeler (.30); correspondence with C. Dunne
                                                re: same (.10) revise draft complaint against individuals
                                                (.40); correspondence S. Wheeler re: same (.10);
                                                analyze potential preference claims (1.2);
                                                correspondence with K. Ramanathan (.30);
                                                correspondence with S. Wheeler re: same (.10);
                                                revise draft complaint re: transaction (.40);
                                                correspondence A. Holland re: same (.10);
                                                correspondence with T. Millett re: investigative steps
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                                                      re: avoidance action (.30); correspondence with K.
                                                      Mayberry re: transfers for complaint (.20).
07/18/2023 Oderisio de Vito Piscicelli          0.30 Correspondence with S&C team re: press enquiries
                                                     and underlying matter.
07/18/2023 Anthony Lewis                        2.00 Review revisions to complaint for avoidance action
                                                     (.90); review evidence and analysis re: potential
                                                     avoidance action (1.0); correspondence with S&C
                                                     team re: potential avoidance claims (.10).
07/18/2023 Hilary Williams                      0.30 Correspondence with local counsel re: filed version of
                                                     service stipulation for relevant third party defendants
                                                     (.10); correspondence M. Bennett re: appearances
                                                     and initial disclosures (.20).
07/18/2023 Michael Tomaino Jr.                  4.30 Review and revise new draft of avoidance complaint
                                                     re: venture investments (1.6); bi-weekly senior lawyers
                                                     call re: ongoing investigations work streams (.20);
                                                     review draft witness interview outlines and revisions
                                                     (.50); review confidentiality order and related
                                                     correspondence (.20); call with C. Dunne re:
                                                     confidentiality order issues (.20); call C. Dunne re:
                                                     Embed schedule (.10); correspondence with team re:
                                                     former FTX personnel avoidance and disallowance
                                                     issues (.10); further review and revise draft avoidance
                                                     complaint re: investments (.80); correspondence with
                                                     team re: confidentiality designations and consider
                                                     related issues (.20); review team's proposed edits and
                                                     questions on draft preference complaint (.40).
07/18/2023 Bradley Harsch                       0.60 Review email re: disallowance of indemnification
                                                     claims (.10); review emails re: former FTX personnel
                                                     shares (.20); review emails re: research on
                                                     withdrawals by crypto trading firm (.30).
07/18/2023 William Wagener                      0.30 Correspondence with A. Cohen, J. Rosenfeld, and
                                                     others re: valuation reports regarding certain entities.
07/18/2023 Benjamin Beller                      1.20 Review research re: preference claim defenses.
07/18/2023 Mimi Wu                              0.50 Call between A. Cohen, C. Dunne, S. Ehrenberg, R.
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                                                    Downes, S. Wheeler, M. Wu, and J. Rosenfeld re:
                                                    purchase accounting memoranda prepared for FTX
                                                    Group acquisitions (.50 - partial attendance).
07/18/2023 Michele Materni                    1.70 Revise draft avoidance action complaint against
                                                   individual.
07/18/2023 Mark Bennett                       3.30 Correspondence with H. Williams re: relevant third
                                                   party case management (.10); review transaction data
                                                   related to former FTX employee and related entity in
                                                   support of preference action complaint (.30);
                                                   correspondence with Alix re: forensic analysis of
                                                   transaction data related to preference action complaint
                                                   (.20); review S. Wheeler edits to preference action
                                                   complaint (.20); correspondence with W. Scheffer re:
                                                   S. Wheeler edits to preference action complaint (.10);
                                                   correspondence with H. Williams re: draft relevant
                                                   third party case management order (.20); draft
                                                   relevant third party case management order, and
                                                   correspondence with P. Lavin, L. Ross re: same (.70);
                                                   call with C. Dunne, J. Croke, W. Scheffer re:
                                                   exchange data and avoidance action analysis (.50);
                                                   call with W. Scheffer re: draft avoidance action
                                                   revisions (.10); correspondence with A&M re: issues
                                                   related to calculation of preference claim figures (.50);
                                                   correspondence with P. Lavin re: local rules (.10);
                                                   correspondence with M. McGuire (Landis) re:
                                                   relevant third party case management (.30).
07/18/2023 Kathleen Donnelly                  3.80 Call with J. Gallant and K. Mayberry re: research in
                                                   connection with draft avoidance action complaint
                                                   against a former FTX personnel (.20); call with K.
                                                   Mayberry re: potential former FTX personnel
                                                   avoidance complaint (.80); review and revised draft
                                                   former FTX personnel complaint (2.8).
07/18/2023 Zoeth Flegenheimer                 3.40 Review, revise and incorporate comments re: revisions
                                                   to claims and allegations being included in avoidance
                                                   action complaint (1.3); call with A. Holland and K.
                                                   Mayberry re: legal claims for potential individual
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                                                    avoidance complaint (.30); call with A. Holland re:
                                                    avoidance action (.50); draft allegations on FTX's
                                                    financial condition for use in various avoidance action
                                                    complaint (1.3).
07/18/2023 Jared Rosenfeld                    9.80 Call between A. Cohen, C. Dunne, S. Ehrenberg, R.
                                                   Downes, S. Wheeler, M. Wu and J. Rosenfeld re:
                                                   purchase accounting memoranda prepared for FTX
                                                   acquisitions (.60); correspond about service with local
                                                   counsel (.20); correspond about, researched claims
                                                   arising out of valuation reports (1.3); correspondence,
                                                   research and draft complaint re: against former FTX
                                                   personnel (7.7).
07/18/2023 Alexander Holland                  0.30 Correspond with A&M re: avoidance action against a
                                                   relevant third party (.20); correspond with W.
                                                   Scheffer re: avoidance actions (.10).
07/18/2023 Alexander Holland                  9.00 Call with J. Croke, K. Mayberry and A&M re:
                                                   potential individual avoidance complaint research
                                                   (.80); calls with K. Mayberry re: potential individual
                                                   avoidance complaint (.60); call with Z. Flegenheimer
                                                   and K. Mayberry re: legal claims for potential
                                                   individual avoidance complaint (.30); call with K.
                                                   Rosenfeld re: avoidance action against former FTX
                                                   personnel (.10); call with K. Donnelly re: avoidance
                                                   action against former FTX personnel (.20); call with J.
                                                   Croke re: avoidance action against FTX Insider (.10);
                                                   correspond with J. Croke re: same (.10); call with Z.
                                                   Flegenheimer re: avoidance action against a relevant
                                                   third party (.10); draft avoidance action complaint
                                                   against a relevant third party (4.6); draft avoidance
                                                   action complaint against a former employee (2.1).
07/18/2023 Daniel O'Hara                      1.10 Review and revise former FTX personnel complaint
                                                   (.90); call with E. Downing and T. Millet re: potential
                                                   preference action re: major withdrawals (.20).
07/18/2023 Jason Gallant                      0.80 Call with K. Donnelly, J. Gallant and K. Mayberry re:
                                                   research in connection with draft avoidance action
                                                   complaint against a former FTX personnel (.30);
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                                                   review work product on payment agent agreement
                                                   (.20); review A&M data for avoidance action (.30).
07/18/2023 Emma Downing                      2.90 Cite check for former FTX personnel complaint (1.4);
                                                  preference claim research (.60); preference policy
                                                  research (.70); call with D. O’Hara and T. Millet re:
                                                  potential preference action re: major withdrawals
                                                  (.20).
07/18/2023 Phoebe Lavin                      6.50 Review documents and transaction data in connection
                                                  to avoidance action workstream to assist with
                                                  revisions to avoidance action complaint (2.4); research
                                                  re: language precedent in other complaints for A.
                                                  Holland (.20); review avoidance action complaint and
                                                  provided comments to A. Holland (1.3); revise draft
                                                  email to T. Lewis regarding questions about an
                                                  avoidance action workstream based on feedback from
                                                  A. Holland (.50); correspondence with A. Holland
                                                  regarding revisions to a summary of relevant
                                                  documents (.30); revise summary of documents in
                                                  connection with an avoidance action workstream
                                                  (1.7); correspondence with A&M regarding pulling
                                                  transaction data in connection to potential avoidance
                                                  action (.10).
07/18/2023 Keila Mayberry                    9.30 Call with K. Donnelly and J. Gallant re: research in
                                                  connection with draft avoidance action complaint
                                                  against a former FTX personnel (.30); call with J.
                                                  Croke, A. Holland and A&M re: potential individual
                                                  avoidance complaint research (.80); calls with A.
                                                  Holland re: potential individual avoidance complaint
                                                  (.60); call with E. Downing re: edit to Insiders
                                                  complaint (.10); call with W. Scheffer re: ownership of
                                                  FTX affiliate company (.10); follow-up
                                                  correspondence with W. Scheffer re: FTX affiliate
                                                  company (.20); call with Z. Flegenheimer and A.
                                                  Holland re: legal claims for potential individual
                                                  avoidance complaint (.30); call with K. Donnelly re:
                                                  potential former FTX personnel avoidance complaint
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                                                     (.80); correspondence with A. Holland re: potential
                                                     individual avoidance complaint (.10); incorporate edits
                                                     to potential former FTX personnel avoidance
                                                     complaint (4.5); incorporate edits to potential
                                                     investment avoidance complaint (1.5).
07/18/2023 Tatum Millet                        2.50 Call with D. O’Hara and T. Millet re: potential
                                                    preference action re: major withdrawals (.20); draft
                                                    section of complaint against former FTX personnel re:
                                                    political donations (1.5); reviewed political donations
                                                    binder re: same (.40); review documents re: VIP
                                                    program KYC in connection with complaint against
                                                    relevant third party (.40).
07/18/2023 Luke Ross                           6.10 Analyze documents and draft summary of potential
                                                    avoidance claims against third-party entities (2.9);
                                                    revise draft complaint against former FTX employee
                                                    (2.3); review transfer data of potential defendant in
                                                    adversary complaint (.90).
07/18/2023 William Scheffer                    4.40 Correspondence with M. Bennett re: draft avoidance
                                                    action revisions (.50); correspondence with K.
                                                    Ramanathan (A&M) re: same (.20); correspondence
                                                    with S. Wheeler re: same (.20); revised draft
                                                    avoidance action complaint (1.9); call with D.
                                                    Handelsman and W. Scheffer re: Embed wind down
                                                    (.20); call with K. Mayberry re: FTX affiliate (.10);
                                                    call with E. Downing re: same (.10); call with S.
                                                    Wheeler and W. Scheffer re: revisions to draft
                                                    avoidance action (.30); correspondence with J. Croke
                                                    re: potential avoidance action investigation (.30); call
                                                    with C. Dunne, J. Croke, M. Bennett and W. Scheffer
                                                    re: exchange data and avoidance action analysis (.50);
                                                    call with M. Bennett re: draft avoidance action
                                                    revisions (.10).
07/18/2023 Adam Toobin                         1.50 Review payments via collateral cases per B. Beller
                                                    and sent a response.
07/18/2023 Adam Toobin                         4.60 Review Paul Hastings comments on forward contracts
                                                    (1.4); safe harbor legal research (3.2).
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07/18/2023 Ruth Godin                       0.40 Commence review of documents relevant to
                                                 avoidance action.
07/19/2023 Stephanie Wheeler                6.60 Call with C. Dunne re: Greenlight tender offer
                                                 implications for avoidance action (.10); email with B.
                                                 Glueckstein re: tender offer implications for avoidance
                                                 action (.10); call with B. Glueckstein re: tender offer
                                                 (.20); call with G. Linde (MacKenzie Partners) re:
                                                 tender offer (.20); voice mails and emails J. Letalien
                                                 and K. Maswoswe (Goodwin), N. Thayer
                                                 (Greenlight) re: tender offer (.50); emails with W.
                                                 Scheffer re: pleading preference claims (.20);
                                                 correspondence with K. Donnelly, C. Dunne, Z.
                                                 Flegenheimer re: former FTX personnel complaint
                                                 (.20); call with M. Wu re: mechanics of tender offer
                                                 (.20); revise Latona complaint for filing (1.5); emails
                                                 with J. Ray (FTX) re: filing Latona complaint (.20);
                                                 emails with Joele Frank re: filing Latona complaint
                                                 (.10); review and revise Latona complaint to be filed
                                                 (.40); review and revise settlement motion (.40);
                                                 correspondence with M. McGuire (Landis) re: service
                                                 of Latona complaint (.20); call with K. Mayberry re:
                                                 service of Latona complaint (.20); sent Latona
                                                 complaint to Goodwin (.20); sent Latona complaint to
                                                 PLS (.20); revise avoidance action complaint against
                                                 relevant third party (1.5).
07/19/2023 Andrew Dietderich                2.10 Notes on preference calculations and in-kind rights,
                                                 template for opening complaints (1.3); call A. Toobin
                                                 for legal support for same (.30); arrange meeting of
                                                 preference team (.10); discuss preference calculations
                                                 with J. Croke (.30) correspondence with B. Beller re:
                                                 same (.10).
07/19/2023 Brian Glueckstein                0.60 Call with S. Wheeler re: Latona strategy issues (.30);
                                                 review and comment on revised Latona complaint
                                                 (.30).
07/19/2023 Christopher Dunne                9.30 Review and revise forthcoming complaint, and related
                                                 correspondence with S&C team (8.5);
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                                                   correspondence re: Latona related tender offer (.20);
                                                   correspondence re: political donations (.50); call with
                                                   A. Holland re: avoidance action (.10).
07/19/2023 Jacob Croke                       9.10 Analyze Nardello reports re: potential avoidance
                                                  action targets (.40), correspondence with S. Wheeler
                                                  re: same (.10); revise complaint re: third party (2.7),
                                                  correspondence with A. Holland re: same (.40), call
                                                  with C. Dunne re: same (.30); revise complaint re:
                                                  former employee (.70), correspondence M. Bennett
                                                  re: same (.10); analyze potential preference claims and
                                                  methodology (1.9), correspondence A&M re: same
                                                  (.50), correspondence with A. Dietderich re: same
                                                  (.70), correspondence with C. Dunne re: same (.20)
                                                  call with G. Walia re: same (.30); analyze loan
                                                  repayments and potential claims (.70),
                                                  correspondence with A&M re: same (.10).
07/19/2023 James Bromley                     1.40 Review avoidance analyses and background materials
                                                  re: same.
07/19/2023 James Bromley                     0.70 Call with J. Croke and A. Dietderich on avoidance
                                                  issues (.30); correspondence: same (.10);
                                                  correspondence with S&C and A&M teams on
                                                  avoidance analysis (.30).
07/19/2023 Anthony Lewis                     2.20 Review evidence and materials re: potential avoidance
                                                  claims (1.6); review revisions to draft complaint for
                                                  avoidance actions (.40); correspondence with S&C
                                                  team re: potential avoidance claims (.20).
07/19/2023 Bradley Harsch                    1.20 Review email re: research on crypto trading firm
                                                  withdrawals for potential preference action (.10);
                                                  correspondence with J. DeCamp re: Embed employee
                                                  interviews (.10); review and correspond re: status of
                                                  review of former FTX personnel settlement docs for
                                                  Embed (.20); review and correspond re: comments
                                                  from counsel for Embed defendant re: settlement docs
                                                  (.20); review and correspond on interview outlines
                                                  and documents for employee interviews (.60).
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07/19/2023 Bradley Harsch                     0.30 Review relevant third party complaint and allegations
                                                   re: former FTX personnel and relevant third party.
07/19/2023 Bradley Harsch                     0.20 Call with W. Scheffer re: Embed litigation.
07/19/2023 Michele Materni                    0.10 Correspondence with S. Wheeler re:
                                                   investment-related avoidance action.
07/19/2023 Kathleen Donnelly                  8.40 Review documents of interest in connection with
                                                   drafting complaint against a former FTX personnel
                                                   (.30); review and revise draft preference action against
                                                   a company (2.6); review and revise draft complaint
                                                   against a former FTX personnel (5.5).
07/19/2023 Zoeth Flegenheimer                 0.20 Coordinate with E. Downing re: revisions to complaint
                                                   against FTX former FTX personnel.
07/19/2023 Meaghan Kerin                      0.20 Review Nardello memos related to potential
                                                   preference claims.
07/19/2023 Jared Rosenfeld                    0.90 Review research into several potential avoidance
                                                   actions arising out of acquisitions (.60);
                                                   correspondence to S&C team preference withdrawals
                                                   research project (.30).
07/19/2023 Jared Rosenfeld                    6.90 Call with V. Shahnazary re: political donations
                                                   appendix (.10); correspondence, research, and draft
                                                   of complaint re: against former FTX personnel (6.8).
07/19/2023 Alexander Holland                  5.10 Draft avoidance action complaint against a relevant
                                                   third party (4.6); draft avoidance action complaint
                                                   against a former employee (.50).
07/19/2023 Alexander Holland                  0.60 Review chart of communications re: avoidance action
                                                   and draft email to P. Lavin re: same.
07/19/2023 Alexander Holland                  0.70 Call with C. Dunne re: avoidance action against a
                                                   relevant third party (.10); call with P. Lavin re:
                                                   avoidance action against a relevant third party (.60).
07/19/2023 Daniel O'Hara                      2.50 Review and analyze documents re: potential complaint
                                                   against third party exchange (2.3); call with E.
                                                   Downing re: potential preference claim re: large
                                                   withdrawal (.20).
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07/19/2023 Daniel O'Hara                       0.50 Review Embed and Latona complaints.
07/19/2023 Jason Gallant                       0.60 Review and revise draft of avoidance action.
07/19/2023 Emma Downing                        3.80 Preference policy research (2.8); revisions to former
                                                    FTX personnel complaint (.60); call with W. Scheffer
                                                    re: Embed litigation strategy (.10); call with D. O'Hara
                                                    re: potential preference claim re: large withdrawal
                                                    (.20); call with K. Mayberry re: service of process for
                                                    Latona (.10).
07/19/2023 Phoebe Lavin                        7.10 Correspondence with A. Holland regarding questions
                                                    in connection to relevant documents in an avoidance
                                                    action workstream (1.0); review and summarized
                                                    relevant documents to answer question from C. Dunne
                                                    regarding an avoidance action workstream (2.4);
                                                    revise avoidance action complaint based on feedback
                                                    from C. Dunne and sent to A. Holland (2.3); revise
                                                    draft email to C. Dunne regarding questions about an
                                                    avoidance action based on feedback from A. Holland
                                                    (.80); call with A. Holland re: avoidance action (.60).
07/19/2023 Keila Mayberry                      9.90 Draft potential investment avoidance complaint (2.9);
                                                    research re: addresses for service of process (1.1);
                                                    research re: potential investment avoidance complaint
                                                    (.80); drafting potential former FTX personnel
                                                    avoidance action (4.3); call with E. Downing re:
                                                    service of process for Latona (.10); edit notes from
                                                    meeting with A&M re: potential individual avoidance
                                                    action research and correspondence re: same (.30);
                                                    research re: potential individual avoidance action (.40),
07/19/2023 Tatum Millet                        2.40 Revise adversary complaint against former FTX
                                                    personnel insert re: political donations (1.4); email
                                                    correspondence re: same (.30); review interesting
                                                    documents re: same (.40); correspondence re: relevant
                                                    third party subject to avoidance action (.30).
07/19/2023 Luke Ross                           1.30 Revise complaint against former FTX employee.
07/19/2023 William Scheffer                    2.20 Draft interview outlines re: Embed litigation (.80); call
                                                    with E. Downing re: same (.10); call with B. Harsch
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                                                  re: same (.20); correspondence with B. Harsch re:
                                                  revisions to draft interview outlines (.20); revise
                                                  interview outlines (.50); correspondence with V.
                                                  Shahnazary re: interview binders (.20);
                                                  correspondence with B. Harsch and S. Wheeler re:
                                                  avoidance action litigation strategy (.20).
07/19/2023 Adam Toobin                      0.50 Review emails on collateral and recovery of value.
07/19/2023 Sophia Chen                      2.30 Research re: former FTX personnel for potential
                                                 avoidance action per A. Holland.
07/19/2023 Victoria Shahnazary              0.90 Update Embed defense counsel communications
                                                 tracker.
07/19/2023 Victoria Shahnazary              0.50 Call with J. Rosenfeld re: political donations appendix
                                                 (.10); create political donations appendix for former
                                                 FTX employee (.40).
07/20/2023 Steven Holley                    0.30 Call with C. Dunne re: preference claims analysis.
07/20/2023 Stephanie Wheeler                5.50 Correspondence with K. Mayberry re: Greenlight
                                                 party tender offer relevant to avoidance action (.10);
                                                 correspondence with J. Ward (Goodwin) re: Latona
                                                 lawsuit and ender offer (.10); call with A. Dietderich,
                                                 B. Glueckstein, C. Dunne, J. DeCamp, J. Croke, B.
                                                 Beller, E. Andrews, J. Keeley and A. Toobin re:
                                                 preference analysis and strategy (1.1); S&C associate
                                                 team meeting re: ongoing avoidance action
                                                 workstreams (1.0); meeting with J. Rosenfeld re:
                                                 complaint against former FTX personnel (.10);
                                                 correspondence with K. Mayberry re: service of
                                                 complaint (.10); call with K. Mayberry re:
                                                 GreenLight's response in connection with avoidance
                                                 action (.10); correspondence with B. Glueckstein, C.
                                                 Dunne, K. Mayberry, M. Wu re: relevant third party
                                                 strategy (.20); call with C. Dunne re: GreenLight
                                                 strategy (.10); Call and emails C. Dunne and J. Croke
                                                 re: letter from relevant third party's lawyer (.10);
                                                 correspondence with C. Dunne re: filing of Insider
                                                 complaint (.20); Email K. Mayberry re: service of
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                                                  Latona complaint (.10); revise new complaint against
                                                  another FTX former FTX personnel (2.0);
                                                  correspondence with K. Mayberry re: service process
                                                  under Hague Convention (.20).
07/20/2023 Andrew Dietderich                0.70 Review and revise final approval suit against former
                                                 FTX personnel (.30) address related communications
                                                 matters (.40).
07/20/2023 Andrew Dietderich                1.30 Call re: preference analysis and strategy with B.
                                                 Glueckstein, C. Dunne, S. Wheeler, J. DeCamp, J.
                                                 Croke, B. Beller, E. Andrews, J. Keeley and A.
                                                 Toobin (1.1) follow-up email exchanges with
                                                 individual questions from litigation team (.20).
07/20/2023 Stephen Ehrenberg                0.40 Email correspondence with J. Rosenfeld regarding
                                                 analysis of claims against service provider.
07/20/2023 Brian Glueckstein                2.40 Call re: preference analysis and strategy with A.
                                                 Dietderich, C. Dunne, S. Wheeler, J. DeCamp, J.
                                                 Croke, B. Beller, E. Andrews, J. Keeley and A.
                                                 Toobin (1.1); call with C. Dunne re: avoidance claims
                                                 issues (.10); review and comment on former FTX
                                                 personnel complaint issues (.80); review and consider
                                                 correspondence from S&C team re: potential
                                                 avoidance actions (.40).
07/20/2023 Justin DeCamp                    1.60 Call re: preference analysis and strategy with A.
                                                 Dietderich, B. Glueckstein, C. Dunne, S. Wheeler, J.
                                                 Croke, B. Beller, E. Andrews, J. Keeley and A.
                                                 Toobin (1.1); meet with B. Harsch re: Embed witness
                                                 interviews (.3); correspondence with team re:
                                                 preference/loan analyses (.20).
07/20/2023 Justin DeCamp                    2.70 Review materials re: avoidance actions, including draft
                                                 complaints and related work product and supporting
                                                 materials.
07/20/2023 Christopher Dunne                7.50 Correspondence re: various forthcoming complaints
                                                 and extensive revisions to same (5.0); call with C.
                                                 Dunne, Z. Flegenheimer, D. O’Hara, and E. Downing
                                                 re: edits to the Insiders complaint (.20);
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                                                      correspondence with Embed defendants re:
                                                      newly-surfaced defendants (.50); correspondence
                                                      with JF team re: forthcoming complaints (1.0);
                                                      correspondence re: confidentiality designations and
                                                      litigation strategy relating to same (.50); meeting to
                                                      discuss preference claims; call with S. Holley and C.
                                                      Dunne re: preference claims analysis (.30).
07/20/2023 Jacob Croke                          8.00 Call A. Dietderich, B. Glueckstein, C. Dunne, S.
                                                     Wheeler, J. DeCamp, B. Beller, E. Andrews, J.
                                                     Keeley and A. Toobin re: preference analysis and
                                                     strategy (1.1); S&C team meeting re: ongoing
                                                     avoidance action workstreams (1.0); analyze potential
                                                     preference claims (.60), correspondence S. Holley re:
                                                     same (.30), call C. Dunne re: same (.20); analyze
                                                     transactions for claim against third party (.70),
                                                     correspondence with A&M re: same (.20);
                                                     correspondence with J. Gallant re: same (.20) revise
                                                     draft complaint re: third party (1.1), correspondence
                                                     with T. Lewis re: same (.10), correspondence with A.
                                                     Holland re: same (.30) analyze transactions for
                                                     complaint against fund (.60), correspondence with S.
                                                     Wheeler re: same (.10); correspondence with C.
                                                     Dunne re: relevant third party litigation (.20); analyze
                                                     issues for potential turnover action (.70),
                                                     correspondence with B. Glueckstein re: same (.40);
                                                     correspondence with E. Downing (.20).
07/20/2023 Oderisio de Vito Piscicelli          0.30 Reviewing further press enquiries regarding pending
                                                     action and internal work on same.
07/20/2023 Anthony Lewis                        1.50 Call with C. Dunne re: avoidance action (.10); S&C
                                                     team call re: avoidance actions (1.0); correspondence
                                                     with S&C, FTI and Nardello teams re: potential
                                                     avoidance claims (.40).
07/20/2023 Michael Tomaino Jr.                  4.60 Bi-weekly senior lawyers call re: ongoing
                                                     investigations workstreams (.30); emails with team re:
                                                     draft former FTX personnel complaint (.20); review
                                                     new draft former FTX personnel complaint and note
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                                                    revisions and questions (2.6); review and consider
                                                    proposed revisions to settlement agreement and
                                                    related emails with team (.40); additional emails with
                                                    team and Delaware counsel re: former FTX personnel
                                                    complaint (.30); review prior research re: issues
                                                    germane to former FTX personnel complaint and
                                                    consider pleading issues (.80).
07/20/2023 Bradley Harsch                     2.70 Review email re: filing of former FTX personnel
                                                   complaint (.10); call with M. Bennett re: claims against
                                                   former FTX personnel and related entities (.10); prep
                                                   for meeting with J. DeCamp re: embed witness
                                                   interviews (.20); call with B. Harsch and W. Scheffer
                                                   re: Embed litigation planning and strategy (.10); review
                                                   email from counsel for embed defendant re: settlement
                                                   docs in Embed (.10); S&C associate team meeting re:
                                                   ongoing avoidance action workstreams (1.0); review,
                                                   revise and circulate settlement agreement with former
                                                   FTX personnel in Embed (.70); review as-filed former
                                                   FTX personnel complaint (.30); review email re:
                                                   exchange position of crypto trading firm (.10).
07/20/2023 Benjamin Beller                    1.10 Call re: preference analysis and strategy with A.
                                                   Dietderich, B. Glueckstein, C. Dunne, S. Wheeler, J.
                                                   DeCamp, J. Croke, E. Andrews, J. Keeley and A.
                                                   Toobin. (.1.0 - partial attendance)
07/20/2023 Shane Yeargan                      1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/20/2023 Michele Materni                    0.20 Correspondence with A. Holland and K. Mayberry
                                                   re: potential avoidance action against individual.
07/20/2023 Mark Bennett                       3.00 Call with B. Harsch re: claims against former FTX
                                                   personnel and related entities (.10); correspondence
                                                   with B. Harsch, E. Downing, D. O'Hara, P. Lavin re:
                                                   claims against former FTX personnel and related
                                                   entities (.30); revised complaint against former FTX
                                                   personnel to incorporate comments from S&C
                                                   bankruptcy team and correspondence with W.
                                                   Scheffer re: same (1.6); S&C associate team meeting
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                                                    re: ongoing avoidance action workstreams (1.0).
07/20/2023 Kathleen Donnelly                  1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/20/2023 Kathleen Donnelly                  2.60 Meeting with K. Mayberry , L. Ross and Alix re:
                                                   adversary complaint against former FTX employee
                                                   (.60); meeting with K. Mayberry re: potential former
                                                   FTX personnel avoidance action (.50); review and
                                                   analyze edits to avoidance action complaint and
                                                   corresponded with team re: same (1.5).
07/20/2023 Zoeth Flegenheimer                 4.20 Review and finalize complaint against FTX former
                                                   FTX personnel (3.0); call with C. Dunne, D. O’Hara,
                                                   and E. Downing re: edits to the Insiders complaint
                                                   (.20); S&C associate team meeting re: ongoing
                                                   avoidance action workstreams (1.0).
07/20/2023 Meaghan Kerin                      0.20 Review as-filed former FTX personnel avoidance
                                                   complaint.
07/20/2023 Jared Rosenfeld                    1.70 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams (1.0); review avoidance action
                                                   complaint against former FTX personnel (.70).
07/20/2023 Eric Andrews                       1.10 Call re: preference analysis and strategy with A.
                                                   Dietderich, B. Glueckstein, C. Dunne, S. Wheeler, J.
                                                   DeCamp, J. Croke, B. Beller, J. Keeley and A.
                                                   Toobin.
07/20/2023 Jessica Goldman                    0.20 Corresponded with team re valuation of non-US
                                                   subsidiary in connection with avoidance action (.2).
07/20/2023 Alexander Holland                  1.00 S&C associate team meeting re: ongoing avoidance
                                                   action workstreams.
07/20/2023 Alexander Holland                  6.30 Call with P. Lavin re: revisions to avoidance action
                                                   complaint (.50); draft avoidance action complaint
                                                   against a relevant third party (5.5); draft avoidance
                                                   action complaint against a former employee (.30).
07/20/2023 Alexander Holland                  0.60 Correspond with FTI re: avoidance action document
                                                   searches (.40); correspond with A&M re: different
                                                   avoidance action (.20).
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07/20/2023 Daniel O'Hara                     0.30 Review Embed complaints (.10); call with C. Dunne,
                                                  Z. Flegenheimer and E. Downing re: edits to the
                                                  Insiders complaint (.20).
07/20/2023 Daniel O'Hara                     0.50 Review and revise former FTX personnel complaint.
07/20/2023 Jason Gallant                     1.10 Review draft avoidance action complaint (.10); S&C
                                                  associate team meeting re: ongoing avoidance action
                                                  workstreams (1.0).
07/20/2023 Emma Downing                      3.30 Call with C. Dunne, Z. Flegenheimer and D. O’Hara
                                                  re: edits to the Insiders complaint (.20); revise same
                                                  (.80); preference policy research (1.5); draft Embed
                                                  initial disclosures (.60); meeting with W. Scheffer re:
                                                  Embed litigation strategy (.20).
07/20/2023 Natalie Hills                     1.00 S&C associate team meeting re: ongoing avoidance
                                                  action workstreams.
07/20/2023 Natalie Hills                     1.00 S&C associate team meeting re: ongoing avoidance
                                                  action workstreams.
07/20/2023 Julian Keeley                     1.10 Call re: preference analysis and strategy with A.
                                                  Dietderich, B. Glueckstein, C. Dunne, S. Wheeler, J.
                                                  DeCamp, J. Croke, B. Beller, E. Andrews and A.
                                                  Toobin.
07/20/2023 Phoebe Lavin                      4.30 Review and summarize documents from a certain
                                                  Slack channel in connection with an avoidance action
                                                  workstream (.60); revise avoidance action complaint
                                                  and sent to A. Holland (1.4); draft email to C. Dunne
                                                  regarding questions about an avoidance action
                                                  complaint (.40); call with A. Holland re: revisions to
                                                  avoidance action complaint (.50); review citations in
                                                  avoidance action complaint (.40); S&C associate
                                                  team meeting re: ongoing avoidance action
                                                  workstreams (1.0).
07/20/2023 Keila Mayberry                    7.80 Meeting between K. Donnelly and L. Ross with Alix
                                                  re: adversary complaint against former FTX employee
                                                  (.60); meeting with K. Donnelly re: potential former
                                                  FTX personnel avoidance action (.50);
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                                                     correspondence with S. Wheeler re: entity in which an
                                                     investment was made tender offer (.10); research re:
                                                     potential individual avoidance action (1.1); review of
                                                     documents re: large creditor avoidance action (1.9);
                                                     research re: service of process (2.5); draft potential
                                                     former FTX personnel avoidance action (1.1).
07/20/2023 Keila Mayberry                      1.00 S&C associate team meeting re: ongoing avoidance
                                                    action workstreams.
07/20/2023 Aneesa Mazumdar                     5.50 Research re: non-US subsidiary avoidance action
                                                    (.60); S&C associate team meeting re: ongoing
                                                    avoidance action workstreams (1.0); research re:
                                                    former FTX personnel avoidance action (3.9).
07/20/2023 Tatum Millet                        0.90 S&C associate team meeting re: ongoing avoidance
                                                    action workstreams (partial attendance—.90).
07/20/2023 Luke Ross                           3.60 Meeting between K. Donnelly, K. Mayberry and Alix
                                                    re: adversary complaint against former FTX employee
                                                    (.60); revise draft complaint against former FTX
                                                    employee (1.1); draft summary of claims for potential
                                                    avoidance action against third-party entity (1.9).
07/20/2023 William Scheffer                    2.90 Correspondence with D. O'Hara, M. Strand, T. Millet
                                                    and E. Downing re: Embed litigation planning and
                                                    strategy (.20); call with B. Harsch re: same (.10);
                                                    meeting with E. Downing re: same (.20);
                                                    correspondence with J. DeCamp re: same (.70); S&C
                                                    associate team meeting re: ongoing avoidance action
                                                    workstreams (1.0); correspondence with M. Bennett
                                                    re: draft avoidance action revisions (.20); revise draft
                                                    avoidance action (.50).
07/20/2023 Adam Toobin                         1.10 Call re: preference analysis and strategy with A.
                                                    Dietderich, B. Glueckstein, C. Dunne, S. Wheeler, J.
                                                    DeCamp, J. Croke, B. Beller, E. Andrews and J.
                                                    Keeley.
07/20/2023 Sophia Chen                         2.60 Research re: former FTX personnel for potential
                                                    avoidance action per A. Holland (2.0); draft summary
                                                    re: same (.60).
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07/20/2023 Victoria Shahnazary              0.30 Update Embed defense counsel communications
                                                 tracker and records re: same.
07/21/2023 Steven Holley                    0.60 Review memorandum analyzing potential preference
                                                 action against customer who pulled assets off
                                                 exchange.
07/21/2023 Stephanie Wheeler                4.30 Sent new filed complaints to SDNY (.10);
                                                 correspondence with K. Mayberry re: new complaint
                                                 against former FTX personnel (.20); correspondence
                                                 with K. Mayberry re: service of Latona complaint
                                                 (.20); revised avoidance action complaint against
                                                 relevant third party (3.0); read interesting document
                                                 binder (.80).
07/21/2023 Andrew Dietderich                1.00 Correspondence with litigation team re: confidential
                                                 defendant of preference and turnover actions (.40);
                                                 review preference tear sheet potential advisor
                                                 retentions (.20); call B. Glueckstein and J. Croke re:
                                                 avoidance actions versus confidential target (.40).
07/21/2023 Brian Glueckstein                1.10 Correspondence with S&C team re: avoidance claims
                                                 issues and follow-up (.60); review and consider
                                                 preference analysis (.50).
07/21/2023 Christopher Dunne                3.40 Correspondence with re: foreign exchanges (.10);
                                                 correspondence with team and Latham re: relevant
                                                 third party (1.1); call M. Tomaino re: relevant third
                                                 party call (.30); correspondence with embed defaults
                                                 (1.0); correspond and review re: forthcoming
                                                 complaints (1.0).
07/21/2023 Jacob Croke                      7.10 Analyze exchange transactions for complaint against
                                                 third-party fund (1.3); correspondence with A&M re:
                                                 same (.30); correspondence with C. Dunne re: same
                                                 (.20); call A. Dietderich re: same (.30); call with Kroll
                                                 and others re: KYC process (.40); call relevant third
                                                 party counsel re: litigation (.30), further calls C. Dunne
                                                 re: same (.40); analyze potential avoidance action
                                                 targets (.60); correspondence with S. Wheeler re:
                                                 same (.10); revise complaint against third-party
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                                                      venture entity (.70); correspondence with A. Holland
                                                      re: same (.30); analyze issues re: litigation schedules
                                                      and default judgments (.30); correspondence with
                                                      Landis re: same (.20); analyze issues re: potential
                                                      preference claims (1.1); correspondence with A&M
                                                      re: same (.30); correspondence with M. Bennett re:
                                                      same (.30).
07/21/2023 Oderisio de Vito Piscicelli          0.40 Request from local counsel re: local potential recovery
                                                     actions, discussing internally and reverting.
07/21/2023 Anthony Lewis                        1.80 Call with A. Holland re: avoidance action (.20);
                                                     review evidence re: potential avoidance claim (.40);
                                                     review and revise complaint for avoidance action
                                                     (1.2).
07/21/2023 Hilary Williams                      0.30 Review letter from Latham re: relevant third party
                                                     complaint and related emails from C. Dunne (.20);
                                                     correspondence with M. Bennett re: drafting requests
                                                     for production (.10).
07/21/2023 Michael Tomaino Jr.                  2.80 Call C. Dunne re: relevant third party call (.30);
                                                     correspondence with team re: Embed defaults and
                                                     scheduling issues (.10); correspondence with team re:
                                                     complaint against former FTX personnel (.10); review
                                                     factual and legal analysis of potential preference and
                                                     fraudulent transfer claims against former FTX
                                                     employees and initial draft of complaint (2.3).
07/21/2023 Bradley Harsch                       0.50 Review emails re: filing of former FTX personnel
                                                     complaint (.10); review emails re: Latona complaint
                                                     (.10); review email re: Embed employee interviews
                                                     (.10); review email re: research into preference claim
                                                     against crypto trading firm (.20).
07/21/2023 Michele Materni                      1.40 Call with K. Mayberry re: service of process for
                                                     avoidance complaint (.10); review documents re:
                                                     potential avoidance action against individual (1.3).
07/21/2023 Mark Bennett                         0.80 Correspondence with local counsel re: preliminary
                                                     scheduling matters in K5 litigation (.20);
                                                     correspondence with H. Williams, P. Lavin re:
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                                                    preliminary scheduling matters in K5 litigation (.30);
                                                    research re: local rules re: preliminary scheduling
                                                    matters (.30).
07/21/2023 Kathleen Donnelly                  3.20 Call with K. Mayberry re: turning comments on
                                                   potential former FTX personnel avoidance complaint
                                                   (.40); review and revise draft avoidance action
                                                   complaint against an individual (2.8).
07/21/2023 Jared Rosenfeld                    1.30 Revise former FTX personnel avoidance action
                                                   complaint section.
07/21/2023 Alexander Holland                  0.20 Call with A. Lewis re: avoidance action.
07/21/2023 Alexander Holland                  6.20 Review and summarize documents re: preference
                                                   action against a relevant third party (4.7); correspond
                                                   with A&M re: same (.10); draft avoidance action
                                                   against a relevant third party (1.1); correspond with
                                                   Alix re: same (.30).
07/21/2023 Daniel O'Hara                      6.20 Review and analyze documents and draft complaint re:
                                                   third party exchange.
07/21/2023 Emma Downing                       0.50 Document review re: new preference complaint.
07/21/2023 Phoebe Lavin                       3.30 Correspondence with M. Bennett re: scheduling in an
                                                   avoidance action complaint (.40); review and
                                                   summarize relevant documents from a certain channel
                                                   in connection to an avoidance action workstream
                                                   (1.7); research on Delaware Bankruptcy Law
                                                   regarding initial disclosures. (.70); research case law
                                                   related to avoidance action claims (.50).
07/21/2023 Keila Mayberry                     8.90 Edits on potential former FTX personnel avoidance
                                                   action (6.9); research re: service of process and
                                                   correspondence re: same (1.3); call with K. Donnelly
                                                   re: turning comments on potential former FTX
                                                   personnel avoidance complaint (.40); meeting with E.
                                                   Shehada to discuss service of process for avoidance
                                                   complaint (.20); call with M. Materni re: service of
                                                   process for avoidance complaint (.10).
07/21/2023 Luke Ross                          1.50 Revise draft complaint against former FTX employee.
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07/21/2023 Emile Shehada                     0.20 Meeting with K. Mayberry to discuss service of
                                                  process for avoidance complaint.
07/21/2023 Austin Reda                       0.60 Research UCC provisions relevant to location of
                                                  foreign debtor. (no charge)
07/22/2023 Anthony Lewis                     1.70 Review and revise potential avoidance claim (1.6);
                                                  correspondence with S&C team re: potential
                                                  avoidance claim (.10).
07/22/2023 Bradley Harsch                    0.30 Review Nardello report and correspondence re:
                                                  research on customer and coordination with customer
                                                  complaint.
07/22/2023 Bradley Harsch                    0.10 Review emails re: research on crypto trading firm
                                                  preference action.
07/22/2023 Kathleen Donnelly                 8.10 Review and revise draft avoidance action complaint.
07/22/2023 Alexander Holland                 1.60 Draft avoidance action complaint against a relevant
                                                  third party.
07/22/2023 Daniel O'Hara                     2.20 Draft and revise complaint re: third party exchange.
07/22/2023 Keila Mayberry                    1.40 Edits re: potential former FTX personnel avoidance
                                                  action complaint (1.2); correspondence re: potential
                                                  former FTX personnel avoidance action complaint
                                                  (.20).
07/23/2023 Christopher Dunne                 0.10 Correspondence with team re: meet and confer in
                                                  FTX EU.
07/23/2023 Jacob Croke                       0.40 Analyze transactions for potential avoidance action.
07/23/2023 Anthony Lewis                     0.40 Review and revise complaint for avoidance claim
                                                  (.10); correspondence with S&C and Alix teams re:
                                                  potential avoidance claims (.30).
07/23/2023 Mark Bennett                      0.70 Revise document draft case management plan and
                                                  scheduling order.
07/23/2023 Kathleen Donnelly                 1.70 Review and revise draft avoidance action against a
                                                  former FTX personnel.
07/23/2023 Alexander Holland                 3.20 Draft avoidance action complaint against a relevant
                                                  third party (1.9); draft email to A. Lewis re: same
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                                                   (1.2); correspondence with A&M re: avoidance
                                                   action complaint against a different relevant third party
                                                   (.10).
07/23/2023 Emma Downing                      1.50 Document review re: potential avoidance action (.80);
                                                  review potential preference complaint (.70).
07/23/2023 Keila Mayberry                    0.70 Edits re: former FTX personnel avoidance action
                                                  complaint.
07/23/2023 Tatum Millet                      0.80 Revise former FTX personnel preference complaint
                                                  (.70); correspondence with D. O'Hara and E.
                                                  Downing re: same (.10).
07/24/2023 Steven Holley                     1.10 Review latest draft of preference action complaint
                                                  (.90); call with C. Dunne re: methodology for
                                                  analyzing preference claims (.20).
07/24/2023 Stephanie Wheeler                 5.80 Prepare for meeting with M. Materni and K.
                                                  Mayberry re: service of process (.10); meeting with
                                                  M. Materni and K. Mayberry re: service of process
                                                  for avoidance complaint (.60); emails with K.
                                                  Mayberry re: plan for service of process under Hague
                                                  (.10); call with K. Donnelly re: new draft former FTX
                                                  personnel complaint (.10); call with K. Donnelly and
                                                  K. Mayberry re: potential former FTX personnel
                                                  avoidance action (.10); revise against former FTX
                                                  personnel complaint (3.0); revise preference complaint
                                                  against former FTX employees (.50); review
                                                  communications re: KYC process (.30); revise
                                                  preference complaint against former employees (1.0).
07/24/2023 Stephen Ehrenberg                 0.20 Call with C. Dunne re: debrief on call with counsel for
                                                  certain defendants in FTX EU avoidance action.
07/24/2023 Justin DeCamp                     0.60 Call with C. Dunne re: various avoidance action
                                                  proceedings (.20); call with B. Harsch, E. Downing,
                                                  and W. Scheffer re: Embed employee interviews
                                                  (.20); emails with S&C team, Embed personnel re:
                                                  interviews (.20).
07/24/2023 Christopher Dunne                 5.50 Review and revise complaint against relevant third
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                                                    party and correspondence with team re: same (.60);
                                                    correspondence with team re: FTX EU action, and
                                                    meet and confer (.80); team meeting re: same (.90);
                                                    correspondence with team re: strategy for filing various
                                                    avoidance actions (1.0); call with A. Holland re:
                                                    avoidance action (.20); correspondence with team re:
                                                    relevant third party resolution (.30); S&C team
                                                    meeting re: ongoing investigations workstreams (.80);
                                                    correspondence with team re: service of process in
                                                    former FTX personnel complaint (.40);
                                                    correspondence with re: Embed interviews (.20);
                                                    correspondence with team re: former FTX personnel
                                                    transactions (.20); call with B. Harsch re: finalizing
                                                    former FTX personnel settlement papers (.10).
07/24/2023 Jacob Croke                        4.00 Revise complaint re: venture investment transaction
                                                   (1.4); correspondence with S. Holley, A. Holland and
                                                   A&M re: same (.90); analyze former FTX personnel
                                                   transactions for potential claims (.80); correspondence
                                                   with A&M re: same (.30); analysis re: potential
                                                   avoidance action targets and jurisdictional issues (.60).
07/24/2023 Anthony Lewis                      3.40 Review and revise draft complaint in avoidance action
                                                   (1.6); review evidence re: same (.70); review
                                                   procedures re: same (.70); correspondence with S&C
                                                   and Alix teams re: potential avoidance claims (.40).
07/24/2023 Hilary Williams                    1.00 Review draft case management plan and order for
                                                   relevant third party litigation (.40); email to M. Bennett
                                                   re: issues related to draft case management plan (.10);
                                                   emails with C. Dunne and S. Wheeler re: scheduling
                                                   order (.20); further emails with M. Bennett re:
                                                   revisions to case management order (.10); emails re:
                                                   discovery schedule (.20).
07/24/2023 Michael Tomaino Jr.                2.10 Review drafts of two avoidance action complaints and
                                                   related emails with team.
07/24/2023 Bradley Harsch                     0.10 Review correspondence re: potential recovery from
                                                   customer non-profit and coordination with avoidance
                                                   action.
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07/24/2023 Bradley Harsch                     4.10 Review emails re: account of crypto trading firm for
                                                   preference action (.10); review and comments on
                                                   political donations section of draft avoidance
                                                   complaint against former FTX personnel (.40); call
                                                   with J. DeCamp, E. Downing, and W. Scheffer re:
                                                   Embed employee interviews (.20); prep for call re:
                                                   research on crypto trading firm preference action
                                                   (.10); review emails re: outreach to Embed employees
                                                   re: interviews (.20); review memo re: customer
                                                   preference actions (.30); review Nardello memo on
                                                   crypto trading firm (.20); call with A. Holland re:
                                                   avoidance action (.60); review emails re: status of
                                                   Embed wind-down and potential employee claims
                                                   (.20); call with A. Holland and A&M re: avoidance
                                                   action (partial attendance - .50); review email re:
                                                   status of service for former FTX personnel complaint
                                                   (.10); review email re: call with counsel of former FTX
                                                   personnel re: avoidance action (.10); review emails re:
                                                   service of process in Embed (.10); review email re:
                                                   results of searches for crypto trading firm (.10); call
                                                   with C. Dunne re: finalizing former FTX personnel
                                                   settlement papers in Embed (.10); review and email re:
                                                   revised settlement agreement with defendant (.40);
                                                   review and email re: revised settlement agreement with
                                                   defendant (.20); review and email re: revised
                                                   settlement agreement former FTX personnel (.20).
07/24/2023 Michele Materni                    0.60 Meeting with S. Wheeler and K. Mayberry re: service
                                                   of process for avoidance complaint.
07/24/2023 Mark Bennett                       0.10 Correspondence with J. Rosenfeld re: documents of
                                                   interest to ongoing investigations.
07/24/2023 Mark Bennett                       3.30 Draft case management and scheduling order and
                                                   correspondence with H. Williams re: same (1.9);
                                                   correspondence with P. Lavin re: initial disclosures
                                                   (.40); correspondence with W. Scheffer re: A&M
                                                   preference claim analysis (.10); revise preference
                                                   complaint against former FTX personnel and related
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                                                    entities and correspondence with J. Croke, S.
                                                    Wheeler, C. Dunne, M. Tomaino, S. Holley, W.
                                                    Scheffer re: same (.40); correspondence with A.
                                                    Mazumdar, B. Harsch re: investigation of third party
                                                    (.10); correspondence with H. Williams re: draft case
                                                    management and scheduling order (.40).
07/24/2023 Kathleen Donnelly                  2.90 Call with J. Rosenfeld re: complaint against relevant
                                                   third party (.20); call with S. Wheeler re: potential
                                                   former FTX personnel avoidance action (.10); calls
                                                   with K. Mayberry re: potential former FTX personnel
                                                   avoidance action (.40); review documents of interest
                                                   in connection with draft complaint (.70); review and
                                                   revise draft complaint (1.5).
07/24/2023 Zoeth Flegenheimer                 2.20 Coordinate with J. Rosenfeld and L. Ross re: transfers
                                                   to former FTX personnel (.80); coordinate with A.
                                                   Holland re: revisions to third party adversary
                                                   complaint (.90); review updated third party adversary
                                                   complaint (.40); coordinate with E. Downing re:
                                                   service of process on former FTX personnel (.10).
07/24/2023 Jared Rosenfeld                    4.00 Call with K. Donnelly re: complaint against relevant
                                                   third party (.20); research complaint against former
                                                   FTX personnel (.50); correspondence with team re:
                                                   revised former FTX personnel complaint (2.1);
                                                   attended case conference with opposing counsel in
                                                   avoidance action (.50); draft case management order
                                                   (.70).
07/24/2023 Jessica Goldman                    0.20 Reviewed proposed case management plan and
                                                   scheduling order for non-U.S. subsidiary avoidance
                                                   action (.2).
07/24/2023 Alexander Holland                  9.30 Call with B. Harsch re: avoidance action (.60); call
                                                   with B. Harsch and A&M re: avoidance action (1.0);
                                                   call with C. Dunne re: avoidance action (.20); call with
                                                   E. Downing re: avoidance action (.10); draft
                                                   avoidance action complaint against a relevant third
                                                   party (7.1); correspondence with A. Lewis and Landis
                                                   re: pro hac vice motion (.30).
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07/24/2023 Daniel O'Hara                     1.30 Review and analyze documents re: third party
                                                  exchange adversary complaint.
07/24/2023 Emma Downing                      3.10 Draft Embed initial disclosures (2.3); research
                                                  arbitration language (.50); call with J. DeCamp, B.
                                                  Harsch and W. Scheffer re: Embed employee
                                                  interviews (.20); call with A. Holland re: avoidance
                                                  action (.10).
07/24/2023 Phoebe Lavin                      4.80 Review revisions to avoidance action complaint from
                                                  A. Holland (.90); draft initial disclosures for avoidance
                                                  action complaint (.30); review documents and
                                                  summarized findings to answer question from J. Croke
                                                  re: an avoidance action work stream (2.7);
                                                  correspondence with A. Holland re: an avoidance
                                                  action complaint (.10); continue draft initial disclosures
                                                  in avoidance action work stream (.80).
07/24/2023 Keila Mayberry                    6.30 Meeting with S. Wheeler and M. Materni re: service
                                                  of process for avoidance complaint (.60); calls with K.
                                                  Donnelly re: potential former FTX personnel
                                                  avoidance action (.40); call with S. Wheeler and K.
                                                  Donnelly re: potential former FTX personnel
                                                  avoidance action (.10); edits on potential former FTX
                                                  personnel avoidance action (1.7); research re: service
                                                  of process issues (2.7); research re: potential former
                                                  FTX personnel avoidance action complaint (.20);
                                                  review of documents re: potential large preference
                                                  avoidance action complaint (.30); call with H.
                                                  Robertson (Landis) re: service of process (.30).
07/24/2023 Aneesa Mazumdar                   0.90 Correspondence with M. Bennett and B. Harsch re:
                                                  investment company avoidance action.
07/24/2023 Tatum Millet                      1.90 Research re: customer exchange accounts in
                                                  connection with avoidance action against relevant third
                                                  party (.60); review Embed avoidance action complaint
                                                  (.30); review Embed former FTX personnel complaint
                                                  (.20); review precedents for avoidance action
                                                  document requests (.30); draft template for Embed
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                                                     requests re: same (.50).
07/24/2023 Luke Ross                           4.40 Analysis of potential avoidance claims against
                                                    third-party entity (2.5); review of documents related to
                                                    potential avoidable transaction by former FTX
                                                    personnel (1.9).
07/24/2023 William Scheffer                    3.80 Call with J. DeCamp, B. Harsch and E. Downing re:
                                                    Embed employee interviews (.20); correspondence
                                                    with J. DeCamp and B. Harsch re: same (.50);
                                                    correspondence with Embed re: same (.50);
                                                    correspondence with A&M re: Embed wind down
                                                    (.30); correspondence with C. Dunne re: same (.30)
                                                    review documents re: Embed litigation (1.6);
                                                    correspondence with C. Dunne and E. Downing re:
                                                    same (.40).
07/25/2023 Steven Holley                       2.60 Review draft of potential avoidance action complaint
                                                    (1.4); review revised draft of preference action
                                                    complaint (1.1); call with C. Dunne re: preference
                                                    action analysis (.10).
07/25/2023 Stephanie Wheeler                   1.80 Correspondence with J. Croke re: new former FTX
                                                    personnel complaint and whistleblower allegations
                                                    (.10); call with C. Dunne re: preference analysis (.30);
                                                    correspondence with M. Materni, K. Mayberry and
                                                    S. Holley re: service of relevant third party complaint
                                                    (.30); meeting with J. Croke re: new former FTX
                                                    personnel complaint and SDNY call (.20); meeting
                                                    with K. Donnelly to discuss edits to draft avoidance
                                                    action against a former FTX personnel (.30); review
                                                    notes of interviews for draft avoidance action against
                                                    former FTX personnel (.40); meeting with M. Materni
                                                    re: service of relevant third party complaint (.20).
07/25/2023 Andrew Dietderich                   0.60 Request and review new preference runs for top
                                                    targets.
07/25/2023 Justin DeCamp                       0.60 Call with C. Dunne re: preference claims analysis.
07/25/2023 Christopher Dunne                   8.50 Review and revise complaint against relevant third
                                                    party and communications with team re: same (5.2);
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                                                    call with J. DeCamp re: preference claims analysis
                                                    (.60); call with J. Croke re: preference analysis (.70);
                                                    call with S. Wheeler re: preference analysis (.30);
                                                    correspondence with team re: interface between
                                                    SOFA and avoidance claims (.50); correspondence
                                                    with team re: settlement authority motion and
                                                    settlement efforts with non-profits and smaller claims
                                                    (.50); communications re: settlement of claims with
                                                    certain avoidance action defendants (.40); call with B.
                                                    Harsch and counsel for former FTX personnel re:
                                                    former FTX personnel complaint (.20); call with B.
                                                    Harsch re: call with counsel for former FTX personnel
                                                    re: former FTX personnel complaint (.10).
07/25/2023 Jacob Croke                        7.30 Call with J. Croke re: preference analysis (.70);
                                                   steering committee call re: avoidance action strategy
                                                   and case management issues (1.6); analyze issues re:
                                                   former FTX personnel transaction for potential claims
                                                   (1.1); correspondence with S. Wheeler, K. Donnelly
                                                   and C. Dunne re: same (.80); revise complaint re:
                                                   third-party transaction (1.2); correspondence with C.
                                                   Dunne and A. Holland re: same (.30); analyze
                                                   exchange transactions for potential avoidance action
                                                   (.80); correspondence with M. Bennett re: same (.10);
                                                   analysis Nardello memo re: potential avoidance action
                                                   targets (.60); correspondence with Nardello re: same
                                                   (.10).
07/25/2023 Anthony Lewis                      0.90 Review materials for avoidance action (.20); review
                                                   revisions to avoidance action complaint (.20);
                                                   correspondence with S&C, Alix, Nardello, Landis
                                                   Roth teams re: avoidance claims (.50).
07/25/2023 Hilary Williams                    0.70 Call with L. Ross and P. Lavin to discuss revisions to
                                                   an avoidance action complaint (.40); review and
                                                   comment on draft case management plan (.30).
07/25/2023 Bradley Harsch                     0.40 Call with C. Dunne and counsel for former FTX
                                                   personnel re: former FTX personnel complaint (.20);
                                                   call with C. Dunne re: call with counsel for former
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                                                    FTX personnel re: former FTX personnel complaint
                                                    (.10); prep for call with counsel for former FTX
                                                    personnel (.10).
07/25/2023 Kathleen Donnelly                  5.00 Call with L. Ross and K. Mayberry re: potential
                                                   former FTX personnel avoidance complaint (.40);
                                                   meeting with S. Wheeler to discuss edits to draft
                                                   avoidance action against former FTX personnel (.30);
                                                   review and revise draft compliant against a former
                                                   FTX personnel (4.3).
07/25/2023 Zoeth Flegenheimer                 2.90 Review updated third party adversary complaint (2.4);
                                                   coordinate with A. Holland and A&M re: updates to
                                                   third party adversary complaint (.40); coordinate with
                                                   Nardello re: service of process on third party
                                                   adversary defendants (.10).
07/25/2023 Jared Rosenfeld                    1.30 Draft case-management order.
07/25/2023 Jessica Goldman                    0.10 Edited case management plan and scheduling order for
                                                   non-U.S. subsidiary avoidance action (0.1).
07/25/2023 Alexander Holland                  5.40 Call with P. Lavin and H. Robertson (Landis) re:
                                                   avoidance action (.30); correspondence with H.
                                                   Robertson (Landis) re: service (.30); draft avoidance
                                                   action against a relevant third party (2.2);
                                                   correspondence with M. Birtwell (Alix) re: transaction
                                                   data re: same (.70); correspondence with C. Dunne
                                                   and A&M re: transaction data re: same (.50); review
                                                   chart of documents re: same (1.2); correspondence
                                                   with A. Lewis and Landis re: pro hac vice motion
                                                   (.20).
07/25/2023 Daniel O'Hara                      0.10 Call with M. Strand, T. Millet and W. Scheffer re:
                                                   Embed litigation strategy and planning.
07/25/2023 Daniel O'Hara                      0.70 Review draft outline for motion to dismiss arguments
                                                   (.60); review correspondence re: draft adversary
                                                   complaint (.10).
07/25/2023 Matthew Strand                     4.80 Call with D. O’Hara, T. Millet and W. Scheffer re:
                                                   Embed litigation strategy and planning (1.0); research
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                                                   regarding potential motion to dismiss arguments and
                                                   potential counterarguments (2.9); review Embed
                                                   complaints and related documents of interest (.90).
07/25/2023 Emma Downing                      0.20 Meeting with W. Scheffer re: Embed litigation
                                                  strategy.
07/25/2023 Natalie Hills                     3.50 Review documents for relevance to complaint for
                                                  avoidance action against a company (.70); update
                                                  summary of potential claims against a company (2.4);
                                                  correspondence with J. Rosenfeld re: potential claims
                                                  against a company (.40).
07/25/2023 Phoebe Lavin                      7.40 Call with L. Ross to discuss revisions to an avoidance
                                                  action complaint (.10); call with H. Williams and L.
                                                  Ross to discuss revisions to an avoidance action
                                                  complaint (.40); call with A. Holland and H.
                                                  Robertson (Landis) re: avoidance action (.30); revise
                                                  summary of relevant documents to an avoidance
                                                  action work stream in response to feedback from A.
                                                  Holland (.40); correspondence with L. Ross regarding
                                                  an avoidance action work stream (.20); review in an
                                                  avoidance action workstream to answer questions
                                                  from H. Williams (.50); continue drafting initial
                                                  disclosure in an avoidance action work stream (.50);
                                                  review documents to identify a certain document
                                                  relevant to an avoidance action complaint (.20); revise
                                                  summary of communications in connection to an
                                                  avoidance action work stream based on feedback
                                                  from A. Holland. (1.5); correspondence with K.
                                                  Mayberry regarding an avoidance action work stream
                                                  (.50); correspondence with A. Holland re: avoidance
                                                  action work stream (.20); continue drafting initial
                                                  disclosures in an avoidance action work stream. (2.6).
07/25/2023 Keila Mayberry                    7.20 Call with K. Donnelly and L. Ross re: potential former
                                                  FTX personnel avoidance complaint (.40);
                                                  correspondence re: potential individual avoidance
                                                  action complaint (.20); research re: potential large
                                                  creditor avoidance complaint (.70); research re:
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                                                     potential former FTX personnel avoidance action
                                                     complaint (.10); correspondence re: service of
                                                     process (.40); edits on potential former FTX
                                                     personnel avoidance action complaint (5.4).
07/25/2023 Tatum Millet                        1.00 Call with D. O’Hara M. Strand and W. Scheffer re:
                                                    Embed litigation strategy and planning.
07/25/2023 Luke Ross                           5.10 Call with K. Donnelly and K. Mayberry re: potential
                                                    former FTX personnel avoidance complaint (.40); call
                                                    with P. Lavin to discuss revisions to an avoidance
                                                    action complaint (.10); call with H. Williams and P.
                                                    Lavin to discuss revisions to an avoidance action
                                                    complaint (.40); draft proposed case management
                                                    plan (1.8); revision to draft complaint against former
                                                    FTX employee (1.4); preparation of draft appendices
                                                    for complaint (.50); correspondence re: potential
                                                    claims against third-party entity (.50).
07/25/2023 William Scheffer                    2.60 Correspondence with D. Whitten (Embed) re:
                                                    interview (.10); draft Embed litigation strategy
                                                    document (.80); correspondence with M. Strand re:
                                                    same (.20); call with D. O’Hara, M. Strand and T.
                                                    Millet re: Embed litigation strategy and planning (1.0);
                                                    correspondence with M. Materni re: Embed factual
                                                    record (.30); meeting with E. Downing re: Embed
                                                    litigation strategy (.20).
07/26/2023 Stephanie Wheeler                   1.00 Call with W. Scheffer re: revisions to draft preference
                                                    complaint (.10); call with C. Dunne re: former FTX
                                                    personnel action (.20); review revised draft of
                                                    complaint against another former FTX personnel
                                                    (.50); call with C. Dunne re: service of former FTX
                                                    personnel complaint and schedule for same (.20).
07/26/2023 Justin DeCamp                       3.20 Meeting with C. Dunne and B. Beller re: preference
                                                    claims (1.3); call with W. Scheffer re: Embed litigation
                                                    witness interviews (.20); review Embed complaint and
                                                    supporting documents (1.7).
07/26/2023 Christopher Dunne                   0.60 Correspondence re: relevant third party avoidance
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                                                      action case management order.
07/26/2023 Christopher Dunne                    3.60 Call with M. Tomaino re: Embed and former FTX
                                                     employee complaints (.10); review forthcoming
                                                     avoidance action complaint (.80); revise re: same
                                                     (.30); call with J. Croke re: insider action (.50); call
                                                     with S. Wheeler re: insider action (.20); meeting with
                                                     J. DeCamp and B. Beller re: preference claims (1.3);
                                                     call with C. Lloyd, A. Levine and D. Handelsman re:
                                                     Embed wind down (.40).
07/26/2023 Jacob Croke                          6.90 Call C. Dunne re: former FTX personnel action (.50);
                                                     analysis re: exchange activity of entities linked to
                                                     avoidance action target (1.8); correspondence with D.
                                                     O’Hara re: same (.10); analysis re: potential
                                                     preference claims (1.4); correspondence with C.
                                                     Dunne and A. Dietderich re: same (.40); analyze
                                                     claims re: former employees and related transfers
                                                     (1.8); correspondence with M. Bennett and A&M re:
                                                     same (.50); revise avoidance action materials (.30);
                                                     correspondence with A&M re: same (.10).
07/26/2023 Oderisio de Vito Piscicelli          0.30 Review litigation team summary re: investee and
                                                     responding.
07/26/2023 Anthony Lewis                        2.70 Review revisions to adversary complaint (.50); review
                                                     evidence re: adversary complaint (1.9);
                                                     correspondence with S&C, Alix teams re: avoidance
                                                     claims (.30).
07/26/2023 Hilary Williams                      1.10 Revise draft case management plan (1.0);
                                                     correspondence with to C. Dunne and J. Croke re:
                                                     case management plan (.10).
07/26/2023 Michael Tomaino Jr.                  2.60 Call with C. Dunne re: relevant third party and former
                                                     FTX personnel complaints (.50); emails with team re:
                                                     Embed initial disclosures and discovery requests (.10);
                                                     emails with team re: analysis of potential preferences
                                                     (.20); review and analyze emails and related work
                                                     product re: in-progress drafts of new avoidance action
                                                     complaints (.50); review key documents cited in
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                                                    and/or concerning Embed complaint (1.3).
07/26/2023 Benjamin Beller                    1.30 Meeting with J. DeCamp and C. Dunne re: preference
                                                   claims.
07/26/2023 Mark Bennett                       2.30 Review documents relevant to investigation of
                                                   individual related to preference complaint and
                                                   correspondence with W. Scheffer re: same (1.0);
                                                   correspondence with local counsel re: service of
                                                   process in avoidance action (.10); revise draft initial
                                                   disclosures in relevant third party action and
                                                   correspondence with P. Lavin re: same (.80); review
                                                   S. Wheeler comments re: preference action complaint
                                                   (.20); review revised preference action complaint and
                                                   correspondence with W. Scheffer re: same (.20).
07/26/2023 Kathleen Donnelly                  0.20 Correspondence with team regarding avoidance
                                                   actions.
07/26/2023 Alexander Holland                  2.90 Draft avoidance action against a relevant third party
                                                   (2.4); correspond with M. Birtwell (Alix) re: same
                                                   (.30); correspond with A. Lewis re: same (.20).
07/26/2023 Daniel O'Hara                      0.50 Research potential motion to dismiss defense
                                                   arguments for Embed litigation.
07/26/2023 Matthew Strand                     4.30 Research case law regarding personal jurisdiction,
                                                   jurisdictional discovery and venue (3.6); review
                                                   Embed transaction documents (.70).
07/26/2023 Emma Downing                       1.20 Draft Embed initial disclosures.
07/26/2023 Natalie Hills                      0.20 Finalize summary of potential claims against a
                                                   company.
07/26/2023 Phoebe Lavin                       3.90 Correspondence with M. Materni regarding avoidance
                                                   action workstream (.20); research regarding service in
                                                   an avoidance action work stream(.90); research and
                                                   correspondence with A. Holland re: a question related
                                                   to an avoidance action complaint (.40); revise initial
                                                   disclosures in an avoidance action workstream based
                                                   on feedback from L. Ross. (.60); continue revising
                                                   initial disclosures in an avoidance action work stream
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                                                     (.40); revise summary of relevant documents based on
                                                     feedback from A. Holland. (1.4).
07/26/2023 Keila Mayberry                      5.80 Review of documents re: potential former FTX
                                                    personnel avoidance action (.80); review of
                                                    documents re: potential large creditor preference
                                                    action (5.0).
07/26/2023 Tatum Millet                        1.80 Draft Embed document requests (1.3); review Embed
                                                    background materials re: same (.50).
07/26/2023 Luke Ross                           3.10 Review transaction data to assess claims in adversary
                                                    complaint (1.3); revise draft complaint against former
                                                    FTX employee (.80); revise initial disclosures (1.0).
07/26/2023 William Scheffer                    6.00 Correspondence with D. O'Hara re: avoidance action
                                                    caselaw research (.20); correspondence with J. Croke
                                                    and M. Bennett re: draft avoidance action analysis
                                                    (.50); review FTX account data re: draft avoidance
                                                    action (.50); review documents re: draft avoidance
                                                    action (1.7); revise draft avoidance action complaint
                                                    (2.7); correspondence with A. Holland re: draft
                                                    avoidance action (.20); call with J. DeCamp re:
                                                    Embed litigation witness interviews (.20).
07/27/2023 Stephanie Wheeler                   0.50 Call with C. Dunne re: avoidance action complaints
                                                    (.30); correspondence with K. Donnelly and L. Ross
                                                    re: factual research for avoidance action complaint
                                                    against former FTX personnel (.20).
07/27/2023 Stephen Ehrenberg                   0.20 Correspondence with J. Rosenfeld, C. Dunne, J.
                                                    Goldman and A. Mazumdar re: draft case
                                                    management order.
07/27/2023 Stephen Ehrenberg                   0.40 Review draft case management order for FTX EU
                                                    avoidance action.
07/27/2023 Brian Glueckstein                   0.70 Correspondence with S&C team re: potential
                                                    avoidance claims and questions (.40); review and
                                                    comment on EU scheduling order (.30).
07/27/2023 Justin DeCamp                       1.60 Call with C. Dunne re: Embed privilege issue (.20);
                                                    continue review of Embed documents in advance of
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                                                  witness interviews (1.4).
07/27/2023 Christopher Dunne                7.40 Review new avoidance action complaint (4.4);
                                                 correspondence re: new complaint work streams
                                                 (1.2); call with M. Tomaino re: relevant third party
                                                 various avoidance action complaints (.60); call with S.
                                                 Wheeler re: avoidance action complaints (.30); call
                                                 with M. Tomaino re: draft settlement agreement (.10);
                                                 call with M. Tomaino re: Embed wind down (.40); call
                                                 with J. DeCamp re: Embed privilege issue (.20);
                                                 meeting with L. Ross re: adversary complaint against
                                                 former FTX employee (.20).
07/27/2023 Jacob Croke                      9.10 Analyze issues related to venture investment exchange
                                                 accounts (1.3); correspondence with S. Wheeler, A.
                                                 Holland and A&M re: same (1.0); analyze potential
                                                 claims re: token issuer (.80); correspondence with A.
                                                 Dietderich re: same(.30); analyze issues re: preference
                                                 claims and strategy (1.6); correspondence with A.
                                                 Dietderich and C. Dunne re: same (.30); analyze
                                                 issues re: litigation involving third party fund (1.1);
                                                 correspondence with B. Glueckstein re: same (.30);
                                                 analyze exchange activities of former FTX personnel
                                                 (1.8); correspondence with A&M and C. Dunne re:
                                                 same (.50); correspondence with relevant third party
                                                 counsel re: litigation (.10).
07/27/2023 Sharon Levin                     0.10 Correspondence to Z. Flegenheimer re: disclosure.
07/27/2023 Anthony Lewis                    2.80 Review materials for avoidance claims (2.1); review
                                                 revisions to avoidance complaint (.20);
                                                 correspondence with S&C team re: avoidance action
                                                 (.50).
07/27/2023 Michael Tomaino Jr.              4.80 Bi-weekly senior lawyers call re: ongoing
                                                 investigations workstreams (.50); review and consider
                                                 draft relevant third party case management order and
                                                 schedule and related questions and comments from
                                                 team (.30); call with C Dunne re: relevant third party
                                                 various avoidance action complaints (.60); review
                                                 stipulation re: response to relevant third party
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                                                    complaint (.10); review and analyze emails re: various
                                                    draft avoidance action complaints and underlying work
                                                    product and analyses re: transfers (.80); review new
                                                    draft of settlement agreement and note issues for
                                                    discussion with team (.20); call with C Dunne re: draft
                                                    settlement agreement (.10); review and consider issues
                                                    re: Embed wind down (.30); call with C. Dunne re:
                                                    Embed wind down (.40); emails re: draft Embed
                                                    settlement agreement (.20); emails re: service issues
                                                    across avoidance actions (.10); review draft of
                                                    preference complaint and proposed edits and
                                                    questions from team and note additional questions for
                                                    team (.80); review and analyze materials and related
                                                    work product re: forum selection and submission to
                                                    personal jurisdiction issues (.40).
07/27/2023 Bradley Harsch                     1.00 Review email re: service of process (.10); review
                                                   email re: standard language for preference claims
                                                   (.10); review email re: research on deeds for real
                                                   estate (.10); revise and email re: former FTX
                                                   personnel settlement agreements in Embed (.70).
07/27/2023 Mark Bennett                       0.10 Correspondence with W. Scheffer re: status of
                                                   preference action complaint analysis.
07/27/2023 Kathleen Donnelly                  3.50 Review summary and corresponded with team re: a
                                                   potential avoidance action against a company (1.2);
                                                   call with K. Mayberry re: potential former FTX
                                                   personnel avoidance action (.80); review data and
                                                   documents in connection with avoidance action
                                                   complaint (1.5).
07/27/2023 Zoeth Flegenheimer                 0.10 Coordinate with A. Lewis re: factual development of
                                                   third party adversary action.
07/27/2023 Jared Rosenfeld                    0.90 Correspondence re: case management order (.60);
                                                   correspondence about complaint against former FTX
                                                   personnel (.30).
07/27/2023 Andrew Thompson                    0.10 Review emails re: revise introductory claim language
                                                   for preference actions.
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07/27/2023 Jessica Goldman                    0.10 Edited case management plan and scheduling order for
                                                   non-U.S. subsidiary avoidance action (0.1).
07/27/2023 Alexander Holland                  5.40 Draft avoidance action against a relevant third party
                                                   (4.6); draft email to J. Croke re: same (.50);
                                                   correspondence with H. Robertson (Landis) re:
                                                   service (.30).
07/27/2023 Daniel O'Hara                      1.30 Review and analyze documents for complaint re: third
                                                   party exchange (1.0); review correspondence re:
                                                   upcoming motion to dismiss (.10); call with E.
                                                   Downing re: noncompetition agreements (.20).
07/27/2023 Matthew Strand                     4.20 Review Embed closing documents and other related
                                                   documents of interest (1.3); research personal
                                                   jurisdiction and venue issues related to potential
                                                   motions to dismiss (2.9).
07/27/2023 Emma Downing                       4.00 Draft Embed initial disclosures (3.8); call with D.
                                                   O'Hara re: noncompetition agreements (.20).
07/27/2023 Phoebe Lavin                       5.20 Revise summary of documents related to an avoidance
                                                   action work stream in response to feedback from A.
                                                   Holland (1.1); call with K. Mayberry and Alix re:
                                                   potential large creditor avoidance action (.20); review
                                                   for relevance and summarize messages in connection
                                                   to an avoidance action work stream (1.4); review and
                                                   summarize documents for relevance to an avoidance
                                                   action work steam (.80); review documents related to
                                                   avoidance action work stream to respond to question
                                                   from A. Holland (.40); review of relevant documents
                                                   to answer a question from A. Holland related to an
                                                   avoidance action complaint (1.3).
07/27/2023 Keila Mayberry                     5.10 Call with K. Donnelly re: potential former FTX
                                                   personnel avoidance action (.80); call with P. Lavin
                                                   and Alix re: potential large creditor avoidance action
                                                   (.20); review of documents and correspondence re:
                                                   potential large creditor avoidance complaint (.30);
                                                   correspondence with K. Donnelly re: potential former
                                                   FTX personnel avoidance complaint (.20);
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Date        Name                              Hours Description

                                                     correspondence with J. Croke re: potential avoidance
                                                     action workstreams (.20); correspondence with G.
                                                     Shapiro (AP) re: potential former FTX personnel
                                                     avoidance complaint (.10); review of documents re:
                                                     potential former FTX personnel avoidance action
                                                     complaint (3.1); correspondence with P. Lavin re:
                                                     documents for potential former FTX personnel
                                                     avoidance action (.20).
07/27/2023 Luke Ross                           3.40 Meeting with C. Dunne re: adversary complaint
                                                    against former FTX employee (.20); review of breach
                                                    of fiduciary duty laws in jurisdictions relevant to
                                                    adversary complaint (1.4); correspondence re: claims
                                                    in complaint against former FTX employee (1.2);
                                                    revisions to draft complaint (.60).
07/27/2023 William Scheffer                    4.60 Revise draft avoidance action complaint (1.8);
                                                    correspondence with M. Bennett and G. Walia
                                                    (A&M) re: same (.40); correspondence with D.
                                                    O'Hara re: Embed litigation interviews (.10);
                                                    correspondence with A. Newman re: Delaware
                                                    caselaw research (.40); correspondence with B.
                                                    Phillips (Embed) re: interview (.30); correspondence
                                                    with J. DeCamp re: same (.20); research Delaware
                                                    law on personal jurisdiction (1.2); correspondence
                                                    with M. Strand re: Embed interview (.20).
07/27/2023 Alexander Newman                    3.30 Draft of avoidance research memorandum. (no
                                                    charge)
07/28/2023 Stephanie Wheeler                   2.20 Emails with J. Ray (FTX), J. Croke and C. Dunne re:
                                                    updating chart of avoidance actions (.30); emails C.
                                                    Dunne and B. Glueckstein re: schedule for former
                                                    FTX personnel action (.20); emails with K. Donnelly
                                                    re: new former FTX personnel complaint (.20);
                                                    meeting with A. Dietderich, J. Bromley, B.
                                                    Glueckstein, M. Tomaino, C. Dunne, J. Croke and Z.
                                                    Flegenheimer re: adversary actions and related asset
                                                    recovery efforts (partial attendance - 1.0); emails with
                                                    K. Lemire (Quinn) re: avoidance action updates (.20);
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Date        Name                           Hours Description

                                                  emails with J. Ray (FTX), C. Dunne and J. Croke re:
                                                  avoidance actions updates (.30).
07/28/2023 Audra Cohen                      0.60 Call with J. Croke re: possible action between S&C
                                                 and other investor (.30); various re: investment sales
                                                 and agreements (.30).
07/28/2023 Andrew Dietderich                1.20 Meeting with J. Bromley B. Glueckstein, M. Tomaino,
                                                 S. Wheeler, C. Dunne, J. Croke and Z. Flegenheimer
                                                 re: adversary actions and related asset recovery
                                                 efforts.
07/28/2023 Brian Glueckstein                1.20 Meeting with A. Dietderich, J. Bromley, M. Tomaino,
                                                 S. Wheeler, C. Dunne, J. Croke and Z. Flegenheimer
                                                 re: adversary actions and related asset recovery
                                                 efforts.
07/28/2023 Justin DeCamp                    1.80 Call with M. Strand, W. Scheffer and J. Sime
                                                 (Embed) re: FTX acquisition and related topics (1.0);
                                                 call with W. Scheffer re: Embed interview planning
                                                 (.20); emails with team re: Embed witness interview
                                                 (.10); call with C. Dunne re: Embed witness interviews
                                                 (.30); call C. Dunne re: Embed interview (.20).
07/28/2023 Christopher Dunne                5.50 Review of draft complaint and communications re:
                                                 draft complaint strategy and contents (2.9); call with J.
                                                 DeCamp re: Embed witness interviews (.30); call with
                                                 M. Tomaino re: former FTX personnel scheduling
                                                 (.40); meeting with A. Dietderich, J. Bromley, B.
                                                 Glueckstein, M. Tomaino, S. Wheeler, J. Croke and
                                                 Z. Flegenheimer re: adversary actions and related
                                                 asset recovery efforts (1.2); communications with
                                                 team re: FTX EU avoidance action and strategy for
                                                 discovery in same (.50); call with J. DeCamp re:
                                                 Embed interview (.20).
07/28/2023 Jacob Croke                      3.90 Meeting with A. Dietderich, J. Bromley, B.
                                                 Glueckstein, M. Tomaino, S. Wheeler, C. Dunne and
                                                 Z. Flegenheimer re: adversary actions and related
                                                 asset recovery efforts (1.2); analyze issues re: potential
                                                 claims involving third party platform (.70);
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Date        Name                             Hours Description

                                                    correspondence D. O’Hara re: same (.50); revise
                                                    complaint re: venture investment transaction (.30),
                                                    correspondence C. Dunne re: same (.10); revise
                                                    analysis of transactions for claim against former
                                                    employee (.80); correspondence Z. Flegenheimer re:
                                                    same (.30).
07/28/2023 James Bromley                      1.10 Meeting with A. Dietderich, B. Glueckstein, M.
                                                   Tomaino, S. Wheeler, C. Dunne, J. Croke and Z.
                                                   Flegenheimer re: adversary actions and related asset
                                                   recovery efforts (partial attendance - 1.1)
07/28/2023 Anthony Lewis                      0.80 Review materials re: avoidance action (.30); review
                                                   complaint (.20); correspondence with S&C team re:
                                                   avoidance actions (.30).
07/28/2023 Michael Tomaino Jr.                2.10 Call with C. Dunne re: former FTX personnel
                                                   scheduling (.40); emails with team re: DOJ issues
                                                   (.10); meeting with A. Dietderich, J. Bromley, B.
                                                   Glueckstein, S. Wheeler, C. Dunne, J. Croke and Z.
                                                   Flegenheimer re: adversary actions and related asset
                                                   recovery efforts (1.2); review and analyze emails and
                                                   related work product re: potential avoidance and
                                                   breach of fiduciary duty claims against individuals
                                                   (.40).
07/28/2023 Bradley Harsch                     0.20 Review summary of interview with Embed personnel.
07/28/2023 Michele Materni                    1.50 Revise draft complaint against individuals.
07/28/2023 Mark Bennett                       4.90 Review A&M preference claim analysis and
                                                   correspondence with W. Scheffer, A&M re: same
                                                   (1.6); call with G. Walia (A&M) re: preference claim
                                                   analysis (.10); revise preference complaint against
                                                   former FTX personnel (1.3); review revised A&M
                                                   preference claim analysis and correspondence with G.
                                                   Walia (A&M) re: same (.20); revise preference
                                                   complaint and correspondence with J. Croke, S.
                                                   Wheeler, C. Dunne, S. Holley, M. Tomaino, W.
                                                   Scheffer re: same (1.7).
07/28/2023 Kathleen Donnelly                  5.30 Call with L. Ross, K. Mayberry and Alix re: potential
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Date        Name                             Hours Description

                                                    former FTX personnel avoidance complaint analysis
                                                    (.20); call with. D. O'Hara re: preference claims (.20);
                                                    reviewed, analyze and summarize data in connection
                                                    with avoidance action (3.6); review edits to draft
                                                    avoidance action and correspondence with team re:
                                                    same (1.3).
07/28/2023 Zoeth Flegenheimer                 1.60 Meeting with A. Dietderich, J. Bromley, B.
                                                   Glueckstein, M. Tomaino, S. Wheeler, C. Dunne and
                                                   J. Croke re: adversary actions and related asset
                                                   recovery efforts (1.2); revise call notes (.10);
                                                   coordinate with C. Dunne re: service of process on
                                                   FTX former FTX personnel (.10); coordinate with
                                                   Landis re: service of process on FTX former FTX
                                                   personnel (.10); coordinate with P. Lavin re: factual
                                                   development for third party adversary action (.10).
07/28/2023 Dylan Handelsman                   0.30 Read Embed personnel interview notes.
07/28/2023 Jessica Goldman                    2.70 Edited case management plan and scheduling order for
                                                   non-U.S. subsidiary avoidance action (2.3); Call with
                                                   S. Ehrenberg re: case management plan and
                                                   scheduling order (.40)
07/28/2023 Alexander Holland                  2.20 Meeting with L. Ross re: review of A&M preference
                                                   analysis (.20); draft avoidance action against a relevant
                                                   third party (1.7); review chart of documents re: same
                                                   (.30).
07/28/2023 Daniel O'Hara                      0.40 Draft complaint re: third party exchange (.20); call
                                                   with. K. Donnelly re: preference claims (.20).
07/28/2023 Matthew Strand                     3.80 Call with J. DeCamp, W. Scheffer and Embed witness
                                                   re: FTX acquisition and related topics (1.0); review J.
                                                   Sime interview outline and related documents to
                                                   prepare for call (1.1); review and edits notes from
                                                   Embed witness interview call and distributed same
                                                   (1.7).
07/28/2023 Emma Downing                       3.30 Draft Embed initial disclosures (3.0); call with W.
                                                   Scheffer re: Embed litigation strategy (.30).
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Date        Name                              Hours Description
07/28/2023 Phoebe Lavin                        5.00 Revise chart containing summary of relevant
                                                    documents to an avoidance action work stream in
                                                    response to feedback from A. Holland (2.1); review
                                                    messages for relevance to an avoidance action work
                                                    stream and summarize the relevant documents (1.5);
                                                    revise chart of relevant documents in an avoidance
                                                    action workstream to incorporate feedback from A.
                                                    Holland (1.4).
07/28/2023 Keila Mayberry                      4.70 Review of documents for potential former FTX
                                                    personnel avoidance action (3.3); call with K.
                                                    Donnelly, L. Ross and Alix re: potential former FTX
                                                    personnel avoidance complaint analysis (.20);
                                                    correspondence with Landis re: service of process for
                                                    avoidance complaint (.20); review of documents re:
                                                    potential preference claim and correspondence with
                                                    A. Lewis re: same (1.0).
07/28/2023 Aneesa Mazumdar                     1.30 Revise case management schedule for non-US
                                                    subsidiary avoidance action.
07/28/2023 Tatum Millet                        3.80 Finalize draft of Embed document requests (3.4);
                                                    review Embed materials and precedents re: same
                                                    (.40).
07/28/2023 Luke Ross                           7.00 Call with K. Donnelly, K. Mayberry and Alix re:
                                                    potential former FTX personnel avoidance complaint
                                                    analysis (.20); analyze preference analysis data for
                                                    complaint against former FTX employee (3.2);
                                                    correspondence re: breach of fiduciary duty claims
                                                    (.50); meeting with A. Holland re: review of A&M
                                                    preference analysis (.20); review of documents related
                                                    to former FTX employee's role at FTX.US (2.9).
07/28/2023 William Scheffer                    6.50 Call with J. DeCamp, M. Strand, W. Scheffer and J.
                                                    Sime (Embed) re: FTX acquisition and related topics
                                                    (1.0); prepare for call with Embed witness (.50);
                                                    correspondence with J. DeCamp and M. Strand re:
                                                    same (.60); call with J. DeCamp re: Embed interview
                                                    planning (.20); call with E. Downing re: Embed
                                                    litigation strategy (.30); correspondence with M.
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Date        Name                             Hours Description

                                                    Bennett re: draft avoidance action and related legal
                                                    issues (1.3); legal research re: Delaware law on
                                                    personal jurisdiction (1.5); revise draft avoidance
                                                    action (.50); correspondence with A. Newman re:
                                                    federal fraudulent transfer statute (.30); review A&M
                                                    analysis of FTX customer account activity (.30).
07/28/2023 Alexander Newman                   2.10 Draft of avoidance research memorandum. (no
                                                   charge)
07/29/2023 Jacob Croke                        0.20 Correspondence with S. Wheeler re: potential
                                                   avoidance actions.
07/29/2023 Michele Materni                    1.50 Revise complaint for avoidance action against
                                                   individuals.
07/29/2023 Alexander Holland                  0.70 Draft avoidance action against a relevant third party.
07/29/2023 Keila Mayberry                     0.20 Correspondence with M. Materni re: service of
                                                   process.
07/29/2023 Luke Ross                          3.70 Search of document repository relating to role of FTX
                                                   former FTX personnel at U.S.-based entities in
                                                   connection with avoidance action.
07/30/2023 Stephanie Wheeler                  1.00 Revise chart of avoidance action status for J. Ray
                                                   (FTX).
07/30/2023 Christopher Dunne                  0.40 Correspondence with team re: avoidance action
                                                   recovery workstreams.
07/30/2023 Jacob Croke                        0.90 Revise draft complaint re: potential avoidance action
                                                   (.30); correspondence with A. Holland re: same (.10);
                                                   revise materials for J. Ray (FTX) re: potential
                                                   avoidance actions (.40); correspondence with S.
                                                   Wheeler re: same (.10).
07/30/2023 Anthony Lewis                      0.20 Correspondence with S&C team re: potential
                                                   avoidance actions.
07/30/2023 Bradley Harsch                     0.10 Review emails re: call on relevant third party
                                                   complaint.
07/30/2023 Kathleen Donnelly                  0.40 Correspondence with team concerning draft
                                                   avoidance action complaint.
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Date        Name                            Hours Description

07/30/2023 Alexander Holland                 3.30 Draft avoidance action against a relevant third party
                                                  (1.7); draft email to A. Lewis re: same (1.0); review
                                                  chart of documents re: same (.60).
07/30/2023 Jason Gallant                     0.20 Emails with team re: avoidance action summary.
07/30/2023 Phoebe Lavin                      0.90 Research on case law involving preference claims in
                                                  connection to an avoidance action workstream.
07/30/2023 Keila Mayberry                    5.70 Edits on potential former FTX personnel avoidance
                                                  action complaint (4.8); correspondence with S.
                                                  Wheeler and P. Lavin re: potential large preference
                                                  action (.80); correspondence with A. Lewis re:
                                                  potential preference complaint (.10).
07/30/2023 Tatum Millet                      1.10 Revise Embed document request draft (.60); search
                                                  for records re: factual issue re: Embed action (.30);
                                                  format list of shareholders to include in exhibit (.20).
07/31/2023 Steven Holley                     1.80 Review and revise two draft avoidance complaints
                                                  (1.5); review draft report from QE (.30).
07/31/2023 Stephanie Wheeler                 0.40 Call with K. Donnelly to discuss comments on draft
                                                  avoidance action against a former FTX personnel
                                                  (.10); call with C. Dunne re: same (.10); revise chart
                                                  of avoidance actions (.10); correspondence with J.
                                                  Ray (FTX) re: same (.10).
07/31/2023 Stephen Ehrenberg                 0.10 Call with G. Arbogast (Gebhardt & Smith), C. Dunne,
                                                  J. Goldman and A. Mazumdar re: non-US subsidiary
                                                  avoidance action case management schedule.
07/31/2023 Stephen Ehrenberg                 0.30 Revise case management plan and scheduling order
                                                  (.20); correspondence with M. McGuire (Landis), H.
                                                  Robertson (Landis), C. Dunne, J. Goldman and A.
                                                  Mazumdar re: case management and scheduling order
                                                  (.10).
07/31/2023 Brian Glueckstein                 0.40 Review and comment on revised EU scheduling order.
07/31/2023 Justin DeCamp                     2.10 Call with D. O’Hara, W. Scheffer and B. Phillips
                                                  (Embed) re: FTX acquisition and related topics (1.5);
                                                  call with W. Scheffer re: Embed litigation strategy
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                                                   (.30); review summary of former FTX personnel
                                                   interview and emails with team re: same (.20); emails
                                                   with E. Downing re: additional witness interviews
                                                   (.10)..
07/31/2023 Christopher Dunne                 1.70 Call with G. Arbogast (Gebhardt & Smith), S.
                                                  Ehrenberg, J. Goldman and A. Mazumdar re: non-US
                                                  subsidiary avoidance action case management
                                                  schedule (.10); correspondence with team re:
                                                  preparation of various avoidance complaints (.80); call
                                                  with M. Tomaino re: forthcoming complaint (.20);
                                                  correspondence with team re: FTX EU (.60).
07/31/2023 Jacob Croke                       4.40 Revise complaint against third party entity (.70),
                                                  correspondence M. Bennett re: same (.20); analyze
                                                  potential avoidance action targets and strategy (1.1),
                                                  correspondence with S. Wheeler re: same (.20);
                                                  analyze exchange transactions involving entities
                                                  associated with avoidance action target (1.5),
                                                  correspondence A&M and D. O'Hara re: same (.40);
                                                  analyze potential claim involving foreign professionals
                                                  (.20); correspondence with C. Beatty re: same (.10).
07/31/2023 Sharon Levin                      0.40 Correspondence to S&C team re: disclosure.
07/31/2023 Anthony Lewis                     0.40 Review materials re: potential preference claims (.30);
                                                  correspondence with S&C team re: avoidance action
                                                  (.10).
07/31/2023 Michael Tomaino Jr.               2.40 Call with C. Dunne re: forthcoming complaint (.20);
                                                  review notes of interviews of former Embed
                                                  employees (.60); review QE draft report and related
                                                  emails (.60); emails with team re: in-progress draft
                                                  avoidance complaints (.10); review draft avoidance
                                                  complaints against individual former employees and
                                                  related work product (.90).
07/31/2023 Bradley Harsch                    0.50 Review email re: Nardello research on title of
                                                  Bahamian properties (.10); review summary and notes
                                                  of interview of B. Phillips (.30); review emails re:
                                                  meetings with Embed employees (.10).
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07/31/2023 William Wagener                    0.30 Emails with J. Croke, K. Mayberry, P. Levin re:
                                                   potential avoidance actions.
07/31/2023 Jonathan Sedlak                    0.10 Call with M. Materni re: ongoing avoidance actions.
07/31/2023 Michele Materni                    0.30 Call with J. Sedlak re: ongoing avoidance actions
                                                   (.10); collect documents re: ongoing avoidance actions
                                                   and transmitted same to J. Sedlak (.20).
07/31/2023 Mark Bennett                       1.40 Analyze A&M preference analysis data re: customer
                                                   transactions and correspondence with G. Walia
                                                   (A&M) re: same (.70); revise preference action
                                                   complaint to incorporate A&M preference analysis
                                                   data and correspondence with J. Croke, S. Wheeler,
                                                   C. Dunne, M. Tomaino, S. Holley, W. Scheffer re:
                                                   same (.40); correspondence with W. Scheffer, M.
                                                   Materni re: same (.30).
07/31/2023 Kathleen Donnelly                  3.50 Call with S. Wheeler to discuss comments on draft
                                                   avoidance action against a former FTX personnel
                                                   (.10); call with K. Mayberry re: revising potential
                                                   former FTX personnel avoidance complaint (.40);
                                                   review and revise draft complaint and corresponded
                                                   with team re: same (3.0).
07/31/2023 Dylan Handelsman                   0.50 Review interview notes with Embed employee.
07/31/2023 Jessica Goldman                    0.40 Call with G. Arbogast (Gebhardt & Smith), S.
                                                   Ehrenberg, C. Dunne, J. Goldman and A. Mazumdar
                                                   re: non-US subsidiary avoidance action case
                                                   management schedule (.10); discussed case
                                                   management plan and initial disclosures re: non-US
                                                   subsidiary avoidance action with S&C team (.3).
07/31/2023 Alexander Holland                  1.20 Revise chart of documents re: avoidance action against
                                                   a relevant third party.
07/31/2023 Daniel O'Hara                      4.30 Revise Embed witness interview notes (.40); draft
                                                   complaint re: third party exchange (.60); review
                                                   Embed witness interview outline (.30); draft Embed
                                                   request for production and initial disclosures (1.2); call
                                                   with J. DeCamp, W. Scheffer and B. Phillips (Embed)
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                                                   re: FTX acquisition and related topics (1.5); call with
                                                   W. Scheffer re: Embed litigation strategy (.20); call
                                                   with E. Downing re: Embed discovery (.10).
07/31/2023 Emma Downing                      2.80 Calls with W. Scheffer re: Embed litigation strategy
                                                  (.70); draft interview outline (1.2); revise initial
                                                  disclosures (.80); call with D. O'Hara re: Embed
                                                  discovery (.10).
07/31/2023 Phoebe Lavin                      6.40 Correspondence with A. Lewis, C. Dunne, J. Croke,
                                                  Z. Flegenheimer, and A. Holland re: documents
                                                  relevant to an avoidance action workstream (.20);
                                                  meeting with K. Mayberry re: potential large creditor
                                                  avoidance action (.30); revise draft email regarding a
                                                  summary of relevant documents to an avoidance
                                                  action based on feedback from A. Holland (.40);
                                                  revise summary chart documents relevant to an
                                                  avoidance action work stream based on feedback
                                                  from A. Holland. (2.1); continue revising chart
                                                  containing summaries of documents relevant to an
                                                  avoidance action workstream to incorporate feedback
                                                  from A. Holland (3.4).
07/31/2023 Keila Mayberry                    6.60 Edits re: potential former FTX personnel avoidance
                                                  action (3.0); review of documents re: certain transfers
                                                  for potential preference claim (1.4); call with K.
                                                  Donnelly re: turning edits on potential former FTX
                                                  personnel avoidance complaint (.40); correspondence
                                                  re: service of process for avoidance complaint (.50);
                                                  meeting with P. Lavin re: potential large creditor
                                                  avoidance action (.30); research re: potential large
                                                  preference claim (1.0).
07/31/2023 Aneesa Mazumdar                   0.40 Call with S. Ehrenberg, C. Dunne, J. Goldman and G.
                                                  Arbogast (Gebhardt & Smith) re: non-US subsidiary
                                                  avoidance action case management schedule (.10);
                                                  draft initial disclosures for non-US subsidiary
                                                  avoidance action (.30).
07/31/2023 Tatum Millet                      0.90 Revise Embed document requests based on comments
                                                  from D. O'Hara and E. Downing (.80);
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                                                       correspondence with D. O'Hara and E. Downing re:
                                                       same (.10).
07/31/2023 Luke Ross                            5.20 Revisions to draft complaint against former FTX
                                                     employee (1.9); review of documents to support
                                                     statements in draft complaint (3.3).
07/31/2023 William Scheffer                     5.90 Prepare for call with B. Phillips (Embed) (1.1); draft
                                                     summary of same (.50); correspondence with D.
                                                     O'Hara and T. Millet re: draft initial disclosures (.30);
                                                     call with J. DeCamp re: Embed litigation strategy
                                                     (.30); call with J. DeCamp, D. O’Hara and B. Phillips
                                                     (Embed) re: FTX acquisition and related topics (1.5);
                                                     call with E. Downing re: Embed litigation strategy
                                                     (.70); revise draft avoidance action (.80); call with D.
                                                     O’Hara re: Embed litigation strategy (.20);
                                                     correspondence with Embed team re: litigation
                                                     strategy (.50).

Total                                       1,950.70
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                                Project: 00014 - BUSINESS OPERATIONS

Date        Name                            Hours Description

07/02/2023 James Bromley                      0.60 Correspondence with J. Ray (FTX) and A. Dietderich
                                                   re: hedging issues (.20); review materials re: same
                                                   (.40).
07/03/2023 Danielle Abada                     0.60 Review of commercial agreements with relevant third
                                                   parties.
07/05/2023 Bradley Harsch                     0.80 Review correspondences re: debtor entity data
                                                   processing (.20); review correspondences re: access
                                                   to information re: non-US employees (.20); review
                                                   correspondences re: status of request for debtor entity
                                                   interview (.10); call with FTI team re: debtor entity
                                                   data (.10); review and revise letters to AML and
                                                   KYC vendors re: data retention (.10); review
                                                   correspondences re: status of password request (.10).
07/05/2023 Ryan Logan                         0.90 Revise and distribute Customer Claims Portal privacy
                                                   notice (.40); email correspondence re: data subject
                                                   request and complaint process (.50).
07/05/2023 Fabio Weinberg Crocco              0.20 Correspondence with relevant third party re: access to
                                                   funds and information requests.
07/05/2023 Zoeth Flegenheimer                 0.20 Coordinate with D. O'Hara re: preparing vendor hold
                                                   notices.
07/05/2023 M. Devin Hisarli                   0.40 Draft email to vendor re: mutual termination (.20);
                                                   review and revise comments re: same (.20)
07/05/2023 Robert Schutt                      0.10 Review and revise correspondence re: historical bank
                                                   data request.
07/06/2023 Alexa Kranzley                     0.80 Review and revise correspondences to vendors (.40);
                                                   review and revise documents re: banking issues (.40).
07/06/2023 Bradley Harsch                     0.20 Review and revise email correspondence re: vendor
                                                   KYC data retention (.10); review email
                                                   correspondence re: data for debtor entity (.10).
07/06/2023 Julie Kapoor                       0.20 Call with A&M team, A. Levine and D. Handelsman
                                                   re: vendor agreements.
07/06/2023 Aaron Levine                       0.40 Call with A&M team, J. Kapoor and D. Handelsman
                                                   re: vendor agreements (.20); email correspondence re:
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                                                    same (.20).
07/06/2023 Fabio Weinberg Crocco              0.70 Call with M. Cilia (FTX), A&M team, Alix team, and
                                                   A. Toobin re: bank workstreams updates (.40);
                                                   review and revise tracker re: bank requests (.20);
                                                   email correspondences with A. Toobin re: same (.10).
07/06/2023 Zoeth Flegenheimer                 0.20 Call with D. O’Hara and A&M re: vendor document
                                                   retention noticing.
07/06/2023 Dylan Handelsman                   0.20 Call with A&M team, A. Levine and J. Kapoor re:
                                                   vendor agreements.
07/06/2023 Daniel O'Hara                      0.20 Call with Z. Flegenheimer and A&M re: vendor
                                                   document retention noticing.
07/06/2023 Robert Schutt                      0.20 Review correspondence re: bank data request letters.
07/06/2023 Adam Toobin                        1.20 Email correspondences re: bank work stream (.30);
                                                   review and revise bank letter tracker (.50); call with
                                                   M. Cilia (FTX), A&M team, Alix team, and F.
                                                   Weinberg re: bank workstreams updates (.40).
07/07/2023 Andrew Dietderich                  0.40 Call with E. Mosely (A&M) re: treasury options.
07/07/2023 Alexa Kranzley                     1.00 Review and revise vendor correspondences (.40);
                                                   work on banking and related issues (.60).
07/07/2023 Bradley Harsch                     0.30 Email correspondences re: restoration of accounts
                                                   (.20); review email re: letter to vendors re: data
                                                   retention (.10).
07/07/2023 Aaron Levine                       1.00 Call with F. Weinberg re: custody agreement with
                                                   relevant third party.
07/07/2023 Fabio Weinberg Crocco              1.60 Call with A. Levine re: custody agreement with
                                                   relevant third party (1.0); review slide deck re: same
                                                   (.20); review and revise custody agreement (.20);
                                                   email to relevant third party re: same (.10); emails to
                                                   relevant third party re: information request (.10).
07/07/2023 Zoeth Flegenheimer                 0.10 Coordinate with D. O'Hara re: preparing vendor hold
                                                   notices.
07/07/2023 Adam Toobin                        0.20 Email correspondences re: bank messages.
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Date        Name                           Hours Description
07/10/2023 Rebecca Simmons                   0.10 Review email from A. Levine re: treasury options.
07/10/2023 Alexa Kranzley                    0.30 Correspondences with RLKS and A&M re: banking
                                                  issues.
07/10/2023 Fabio Weinberg Crocco             2.40 Review and revise board presentation re: agreement
                                                  with relevant third party (1.9); emails to A. Toobin re:
                                                  requests to banks (.20); emails to A&M team re:
                                                  same (.30).
07/10/2023 Adam Toobin                       2.40 Draft emails re: bank issues (1.0); review and revise
                                                  relevant third party agreement and responses re:
                                                  negative interest rate charges (1.4).
07/11/2023 Christopher Dunne                 0.50 Call with A. Kranzley, B. Harsch and A&M team re:
                                                  Embed wind-down and litigation.
07/11/2023 Alexa Kranzley                    0.60 Call with C. Dunne, B. Harsch and A&M team re:
                                                  Embed wind-down and litigation (.40 - partial
                                                  attendance); correspondences with RLKS and A&M
                                                  re: vendor issues (.20).
07/11/2023 Bradley Harsch                    0.80 Call with C. Dunne, A. Kranzley and A&M team re:
                                                  Embed wind-down and litigation (.40 - partial
                                                  attendance); email re: vendor retention of KYC data
                                                  (.30); review email re: debtor entity data (.10).
07/11/2023 Aaron Levine                      0.10 Review and revise vendor contracts.
07/11/2023 M. Devin Hisarli                  1.80 Review and revise vendor contracts (.80);
                                                  correspondence with A. Kranzley and B. Harsch re:
                                                  same (1.0).
07/11/2023 Adam Toobin                       0.40 Email correspondence with S&C team re: bank
                                                  workstream.
07/12/2023 Alexa Kranzley                    0.20 Correspondence with S&C team re: treasuries and
                                                  related issues.
07/12/2023 Bradley Harsch                    0.40 Review correspondence re: outreach to KYC vendors
                                                  re: data retention (.10); correspondence with S&C
                                                  team re: debtor entity data request (.30).
07/12/2023 Ryan Logan                        1.10 Review data protection impact assessment for FTX
                                                  customer claims portal.
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07/12/2023 Aaron Levine                       0.20 Review re: vendor contracts.
07/12/2023 Robert Schutt                      0.20 Correspondence with S&C team re: historical bank
                                                   data requests.
07/13/2023 Nicole Friedlander                 0.50 Review and assess insurance letter (.30); email
                                                   correspondence with A. Lewis re: same (.20).
07/13/2023 Alexa Kranzley                     0.30 Correspondence with S&C and A&M teams re:
                                                   treasuries and related issues.
07/13/2023 Bradley Harsch                     0.70 Review correspondence re: KYC data retention (.10);
                                                   email correspondence with S&C team re: data request
                                                   from debtor entity (.20); meeting with WilmerHale re:
                                                   same (.20); meeting with FTI re: same (.10); review
                                                   correspondence circulating insider complaint for
                                                   comment (.10).
07/13/2023 Ryan Logan                         0.70 Email correspondence with M. Negus (A&M) re:
                                                   comments to data protection impact assessment for
                                                   FTX customer claims portal.
07/13/2023 Aaron Levine                       0.20 Review vendor contracts.
07/13/2023 Fabio Weinberg Crocco              1.00 Call with M. Cilia (FTX), A&M team, Alix team and
                                                   A. Toobin re: updates on bank workstreams (.30);
                                                   review of information request tracker (.20);
                                                   correspondence with A. Toobin re: same (.20); email
                                                   correspondence to relevant third party re: information
                                                   request (.30).
07/13/2023 Robert Schutt                      0.10 Review correspondence re: historical bank data
                                                   requests.
07/13/2023 Adam Toobin                        0.90 Prepare for bank workstream updates meeting (.50);
                                                   call with M. Cilia (FTX), A&M team, Alix team and
                                                   F. Weinberg re: updates on bank workstreams (.30);
                                                   follow up correspondence with F. Weinberg re: call
                                                   (.10).
07/14/2023 Rebecca Simmons                    0.40 Email correspondence with custody lawyers re:
                                                   account structures (.30); email correspondence with
                                                   A. Levine, A. Kranzley and F. Weinberg re: account
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                                                  structures (.10).
07/14/2023 Anthony Lewis                    0.40 Review and revise insurance materials (.20);
                                                 correspondence with S&C and Sygnia teams re:
                                                 insurance materials (.20).
07/14/2023 Alexa Kranzley                   0.20 Work on treasuries issues.
07/14/2023 Bradley Harsch                   0.50 Review and revise draft email correspondence to
                                                 KYC vendors re: data retention.
07/14/2023 Ryan Logan                       0.80 Review data transfer agreement in connection with
                                                 verification services for FTX customer claims portal.
07/14/2023 Julie Kapoor                     0.50 Review vendor contracts.
07/14/2023 Aaron Levine                     4.00 Review vendor contracts.
07/14/2023 Fabio Weinberg Crocco            0.80 Email correspondence to S&C team re: custody
                                                 agreement with relevant third party (.50); email
                                                 correspondence to relevant third party re: same (.10);
                                                 email correspondence to relevant third party re:
                                                 information and funds access request (.20).
07/14/2023 Dylan Handelsman                 2.00 Draft and revise vendor agreements.
07/14/2023 M. Devin Hisarli                 1.50 Draft and send data access request emails to IT
                                                 vendors (1.0); coordinate with B. Harsch and E.
                                                 Simpson for EU GDPR considerations re: same (.50)
07/14/2023 Robert Schutt                    0.30 Review correspondence re: custody arrangements
                                                 (.20); review correspondence re: historical bank data
                                                 requests (.10).
07/15/2023 Craig Jones                      0.20 Correspondence with D. Hisarli re: GDPR
                                                 implications re: vendor matters.
07/15/2023 Alexa Kranzley                   0.10 Follow up correspondence with RLKS re: banking
                                                 issues.
07/15/2023 Bradley Harsch                   0.20 Review and email re: EU data privacy issues with
                                                 vendor KYC data retention (.10); review email
                                                 correspondence to KYC vendor re: data retention
                                                 (.10).
07/15/2023 Aaron Levine                     0.10 Review vendor contracts.
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Date        Name                          Hours Description
07/15/2023 Adam Toobin                      0.20 Coordinate meeting with relevant third party.
07/16/2023 Rebecca Simmons                  0.10 Email correspondence with A. Kranzley and A.
                                                 Dietderich re: further questions re: custodian account.
07/16/2023 Dylan Handelsman                 0.50 Correspondence with S&C team re: IMAs.
07/17/2023 Rebecca Simmons                  0.70 Email correspondence with A. Kranzley, A.
                                                 Dietderich and F. Weinberg re: treatment of treasury
                                                 securities (.10); call with A. Kranzley and F.
                                                 Weinberg (partial attendance) re: custody arrangement
                                                 with relevant third party (.50); review email
                                                 correspondence from Western Alliance (.10).
07/17/2023 Evan Simpson                     0.40 Call with J. Kapoor, A. Levine, M. Cilia (RLKS), K.
                                                 Ramanathan (A&M) and Walkers team re: third party
                                                 agreement.
07/17/2023 Anthony Lewis                    0.10 Correspondence with S&C team re: vendor services.
07/17/2023 Alexa Kranzley                   1.20 Call with R. Simmons and F. Weinberg (partial
                                                 attendance) re: custody arrangement with relevant
                                                 third party (.50); work on related issues (.40); calls
                                                 with A&M and S&C teams re: same (.30).
07/17/2023 Bradley Harsch                   0.10 Review email correspondence to A&M team re:
                                                 customer data and vendor data retention.
07/17/2023 Ryan Logan                       0.60 Email correspondence with M. Negus (A&M) re:
                                                 comments to Data Transfer Agreement.
07/17/2023 Julie Kapoor                     0.40 Call with E. Simpson, A. Levine, M. Cilia (RLKS), K.
                                                 Ramanathan (A&M) and Walkers team re: third party
                                                 agreement.
07/17/2023 Aaron Levine                     1.00 Call with E. Simpson, J. Kapoor, M. Cilia (RLKS),
                                                 K. Ramanathan (A&M) and Walkers team re: third
                                                 party agreement (.40); review vendor agreements
                                                 (.60).
07/17/2023 Fabio Weinberg Crocco            0.80 Call with R. Simmons and A. Kranzley re: custody
                                                 arrangement with relevant third party (partial
                                                 attendance - .40); email correspondence to S&C and
                                                 Paul Hastings teams re: same (.20); correspondence
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Date        Name                          Hours Description

                                                  with A. Toobin re: asset transfers (.20).
07/17/2023 Dylan Handelsman                 5.30 Prepare for meeting with A&M on vendor agreements
                                                 (.30); review draft investment management agreement
                                                 (1.4); call with A&M team re: IMAs (.40);
                                                 correspondence with S&C team re: vendor
                                                 agreements (.10); email correspondence with S&C
                                                 team re: IMAs (.60); review conflict waivers (.50);
                                                 review G. Pacia's comments to investment
                                                 management agreement (1.0); email correspondence
                                                 with A&M team re: question on confidential
                                                 information (.30); correspondence with G. Pacia re:
                                                 IMAs (.30); correspondence with K. Li re: same
                                                 (.30); correspondence with J. Kapoor re: vendor
                                                 agreements (.10).
07/17/2023 Adam Toobin                      0.20 Correspondence with S&C team to schedule meeting
                                                 with relevant third party re: funds transfer
                                                 authorization.
07/18/2023 Mehdi Ansari                     0.20 Email correspondence with E. Levin re: trademark
                                                 application.
07/18/2023 Anthony Lewis                    0.20 Correspondence with S&C and Sygnia teams re:
                                                 insurance issues.
07/18/2023 Alexa Kranzley                   0.40 Prepare memorandum re: treasuries and related issues.
07/18/2023 Ryan Logan                       0.50 Call with A&M team to discuss FTX customer claims
                                                 portal.
07/18/2023 Ryan Logan                       1.20 Email correspondence to A. Kranzley and S. Levin re:
                                                 questions on FTX customer claims portal and KYC
                                                 information.
07/18/2023 Ryan Logan                       0.80 Email correspondence to R. Grosvenor (A&M) re:
                                                 cookie banner and GDPR privacy issues for FTX
                                                 customer claims portal.
07/18/2023 Danielle Abada                   1.00 Review and comment on commercial agreements with
                                                 relevant third parties.
07/18/2023 M. Devin Hisarli                 0.30 Coordinate with J. Kapoor and A. Kranzley re:
                                                 response to IT vendor re: termination negotiations.
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07/19/2023 Rebecca Simmons                  1.00 Meeting with F. Weinberg, G. Sasson (Paul Hastings),
                                                 E. Gilad (Paul Hastings), M. Griffin (Paul Hastings),
                                                 C. Daniel (Paul Hastings), M. Diaz (FTI), Brian
                                                 Bromberg (FTI), J. Iaffaldano (Paul Hastings), A.
                                                 Kranzley, E. Mosley (A&M), S. Coverick (A&M), J.
                                                 Cooper (A&M) re: Treasuries (.70); follow-up
                                                 correspondence with S&C team re: same (.30).
07/19/2023 Alexa Kranzley                   1.80 Meeting with F. Weinberg, R. Simmons, G. Sasson
                                                 (Paul Hastings), E. Gilad (Paul Hastings), M. Griffin
                                                 (Paul Hastings), C. Daniel (Paul Hastings), M. Diaz
                                                 (FTI), Brian Bromberg (FTI), J. Iaffaldano (Paul
                                                 Hastings), E. Mosley (A&M), S. Coverick (A&M), J.
                                                 Cooper (A&M) re: Treasuries (.70); correspondences
                                                 with S&C team re: same (.50); work on treasuries
                                                 memorandum (.40); correspondences with A&M
                                                 team re: banking issues (.20).
07/19/2023 Ryan Logan                       1.20 Email correspondence with A&M and A. Kranzley re:
                                                 FTX customer consent revocation requests and FTX
                                                 customer claims portal.
07/19/2023 Danielle Abada                   0.20 Review commercial agreements with relevant third
                                                 parties.
07/19/2023 Fabio Weinberg Crocco            1.80 Meeting with R. Simmons, G. Sasson (Paul Hastings),
                                                 E. Gilad (Paul Hastings), M. Griffin (Paul Hastings),
                                                 C. Daniel (Paul Hastings), M. Diaz (FTI), Brian
                                                 Bromberg (FTI), J. Iaffaldano (Paul Hastings), A.
                                                 Kranzley, E. Mosley (A&M), S. Coverick (A&M), J.
                                                 Cooper (A&M) re: Treasuries (.70); email
                                                 correspondence with S&C team re: same (.20); call
                                                 with relevant third party team, A&M team and A.
                                                 Toobin re: relevant third party account history and
                                                 background (.80); call with A. Toobin re: follow up
                                                 from relevant third party account history and
                                                 background call (.10).
07/19/2023 Dylan Handelsman                 3.00 Review and provide comments to investment
                                                 management agreement.
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07/19/2023 Adam Toobin                      1.70 Call with relevant third party team, A&M team and F.
                                                 Weinberg re: relevant third party account history and
                                                 background (.80); Call with F. Weinberg re: follow up
                                                 from relevant third party account history and
                                                 background call (.10); compile questions for relevant
                                                 third party (.40); follow up correspondence with S&C
                                                 team from relevant third party call (.40).
07/20/2023 Rebecca Simmons                  0.80 Correspondence with A. Kranzley and F. Weinberg
                                                 re: further questions re: collateral arrangement (.10);
                                                 review agreement with Western Alliance and related
                                                 regulations (.40); correspondence with A. Kranzley
                                                 and F. Weinberg re: conclusions based on Uniform
                                                 Depository Agreement (.30).
07/20/2023 James Bromley                    0.60 Email correspondence to A&M team re: summaries of
                                                 tasks accomplished (.20); review materials re: same
                                                 (.40).
07/20/2023 Alexa Kranzley                   0.10 Follow up correspondence with S&C team re:
                                                 banking issues.
07/20/2023 Bradley Harsch                   0.10 Review email correspondence re: claims by certain
                                                 foreign customers.
07/20/2023 Ryan Logan                       2.30 Draft analysis of records retention requirements and
                                                 privacy issues associated with customer request via
                                                 FTX customer claims portal (2.0); email
                                                 correspondence with S. Levin, A. Kranzley and A&M
                                                 team re: same (.30).
07/20/2023 Aaron Levine                     0.90 Review and revise vendor contracts.
07/20/2023 Fabio Weinberg Crocco            0.50 Call with relevant third party team, A&M team and A.
                                                 Toobin re: relevant third party account history and
                                                 background.
07/20/2023 Dylan Handelsman                 1.70 Email correspondence to K. Li re: investment
                                                 management agreement (.20); revise vendor
                                                 agreement (0.6); review IMAs (.40); correspondence
                                                 to G. Pacia re: same (.20); revise investment
                                                 management agreement (.30).
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Date        Name                          Hours Description
07/20/2023 Adam Toobin                      0.60 Follow up correspondence with S&C team re:
                                                 relevant third party call (.10); call with relevant third
                                                 party team, A&M team and F. Weinberg re: relevant
                                                 third party account history and background (.50).
07/21/2023 Rebecca Simmons                  0.10 Correspondence with A. Kranzley, J. Cooper
                                                 (A&M), E. Mosley (A&M), M. Cilia (RLKS), S.
                                                 Coverick (A&M) and F. Weinberg re: treasuries
                                                 question follow-up.
07/21/2023 Rebecca Simmons                  0.10 Correspondence with J. Cooper (A&M), E. Mosley
                                                 (A&M), M. Cilia (RLKS), S. Coverick (A&M) and
                                                 A. Kranzley re: Collateral Question.
07/21/2023 Alexa Kranzley                   0.80 Review and revise treasuries memorandum (.60);
                                                 correspondence with S&C team re: same (.20).
07/21/2023 Bradley Harsch                   0.30 Review correspondence re: vendor KYC data
                                                 retention.
07/21/2023 Aaron Levine                     3.00 Review and revise bilateral trading agreements.
07/21/2023 Fabio Weinberg Crocco            1.10 Call with M. Cilia (FTX), A&M and Alix teams re:
                                                 bank workstreams (.30); email correspondence to
                                                 A&M team re: information request (.20); email
                                                 correspondence with S&C team re: asset returns from
                                                 relevant third party (.20); review memorandum re:
                                                 treasuries (.40).
07/21/2023 Dylan Handelsman                 2.30 Email correspondence re: IMAs.
07/21/2023 Adam Toobin                      0.90 Email correspondence re: relevant third party fund
                                                 release (.10); update tracker re: same (.30); follow up
                                                 correspondence with S&C team re: same (.50).
07/22/2023 Rebecca Simmons                  0.10 Review correspondence from M. Griffin (Paul
                                                 Hastings) re: research re: holding of treasuries.
07/22/2023 Alexa Kranzley                   0.60 Review and revise treasuries memorandum to board
                                                 (.20); correspondences with S&C team re: same
                                                 (.20); email correspondences with RLKS, A&M and
                                                 S&C teams re: bank and related issues (.20).
07/23/2023 Ryan Logan                       0.80 Email correspondence to S. Lowe (A&M) re: records
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                                                    retention schedule and Singapore breach law to
                                                    respond to FTX customer correspondence.
07/23/2023 Aaron Levine                       0.10 Review vendor contracts.
07/24/2023 Nicole Friedlander                 0.20 Email correspondence with O. Wortman (Sygnia) re:
                                                   email spray issue.
07/24/2023 Alexa Kranzley                     0.70 Work on treasury issues (.20); correspondences with
                                                   S&C and RLKS teams re: vendor and payment issues
                                                   (.40); correspondences with A&M team re: related
                                                   issues (.10).
07/24/2023 Ryan Logan                         1.10 Email correspondence with S. Lowe (A&M) re:
                                                   Singapore security incident analysis and customer
                                                   response.
07/24/2023 Aaron Levine                       0.80 Review vendor contracts.
07/24/2023 Dylan Handelsman                   4.50 Review draft Investment Management Agreement
                                                   (2.8); review email correspondence re: investment
                                                   management agreement, investment management
                                                   agreement precedents and draft sale protocols (1.5);
                                                   call with A&M team re: investment management
                                                   agreement (.20).
07/24/2023 Adam Toobin                        0.70 Update relevant third party turnover motion per
                                                   discussion with relevant third party counsel.
07/25/2023 Rebecca Simmons                    0.60 Revise draft memorandum re: Treasuries.
07/25/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: insurance issues.
07/25/2023 Ryan Logan                         0.70 Call with A&M team re: privacy issues associated
                                                   with FTX customer claims portal.
07/25/2023 Ryan Logan                         1.10 Review KYC retention regulations in connection with
                                                   drafting FTX retention and records management
                                                   policy for Customer Claims Portal.
07/25/2023 Aaron Levine                       0.90 Review and revise bilateral trading agreements.
07/25/2023 Dylan Handelsman                   3.10 Correspondence with F. Wertheim and D.
                                                   Handelsman re: IMAs (.10); review and provide
                                                   comments to draft investment management agreement
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                                                    sent by counterparty (2.0); draft and review email
                                                    correspondence re: IMAs (1.0).
07/25/2023 Adam Toobin                        0.60 Update relevant third party motion based on call with
                                                   relevant third party.
07/26/2023 Nicole Friedlander                 0.20 Review and comment on draft posting.
07/26/2023 Alexa Kranzley                     0.10 Correspondences with S&C team re: treasuries
                                                   memorandum.
07/26/2023 Ryan Logan                         1.60 Call with W. Bekker re: records management policy
                                                   and retention schedule for FTX Customer Claims
                                                   Portal (.40); follow up correspondence with S&C
                                                   team re: same (1.2).
07/26/2023 Aaron Levine                       0.50 Review vendor contracts.
07/26/2023 William Bekker                     0.30 Reviewing background re: records retention policy.
07/26/2023 William Bekker                     0.40 Call with R. Logan re: records management policy and
                                                   retention schedule for FTX Customer Claims Portal.
07/26/2023 Adam Toobin                        2.50 Email correspondence with S&C team re: relevant
                                                   third party motion updates for review (.10); review
                                                   relevant third party agreements for setoff question
                                                   (.90); review comments from A. Kranzley and F.
                                                   Weinberg re: implementation (.50); implement
                                                   comments on relevant third party motion (.60); draft
                                                   cover email to relevant third party (.20); review and
                                                   send updated cover email (.20).
07/27/2023 Rebecca Simmons                    0.10 Email correspondence with S&C and A&M teams re:
                                                   memorandum re: treasuries.
07/27/2023 Mehdi Ansari                       0.20 Email correspondence with S. Levin re: trademark
                                                   opposition.
07/27/2023 Nicole Friedlander                 0.40 Email correspondence with S&C team re: posting on
                                                   email spray.
07/27/2023 Alexa Kranzley                     0.20 Email correspondence with S&C and A&M teams re:
                                                   treasury issues.
07/27/2023 Ryan Logan                         0.50 Call with W. Bekker and A&M team re: data subject
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                                                  requests and other data privacy matters.
07/27/2023 Ryan Logan                       0.50 Review Data Privacy Framework issues in connection
                                                 with privacy questions.
07/27/2023 Aaron Levine                     0.40 Review vendor contracts.
07/27/2023 William Bekker                   0.50 Call with R. Logan and A&M team re: data subject
                                                 requests and other data privacy matters.
07/27/2023 William Bekker                   0.30 Compile and review notes from call with R. Logan and
                                                 A&M team re: privacy matters.
07/27/2023 William Bekker                   0.90 Review records retention policy.
07/27/2023 Robert Schutt                    0.80 Review correspondence and materials re: historical
                                                 bank data (.50); correspondence with J. Kapoor and
                                                 R. Perubhatla (FTX) re: contract downgrade (.30).
07/27/2023 Adam Toobin                      2.00 Draft letter to relevant third party requesting historical
                                                 bank account information (1.4); compile information
                                                 for Rule 2004 request for relevant third party (.60).
07/28/2023 Alexa Kranzley                   0.10 Correspondences with A&M team re: employee
                                                 issues.
07/28/2023 Ryan Logan                       1.10 Email correspondence with Y. Masoudi re: response
                                                 to FTX sale due diligence questions on privacy
                                                 policies and privacy complaints.
07/28/2023 Ryan Logan                       0.50 Email correspondence with W. Bekker re: FTX
                                                 records management policy.
07/28/2023 Aaron Levine                     0.30 Review vendor contracts.
07/28/2023 Fabio Weinberg Crocco            1.10 Call with M. Cilia (FTX), A&M team, Alix team, R.
                                                 Schutt and A. Toobin re: bank workstream updates
                                                 (.40); call with A. Toobin re: bank workstream
                                                 updates (.40); review turnover motion (.20); email
                                                 correspondence to relevant third party re: turnover
                                                 motion (.10).
07/28/2023 William Bekker                   3.20 Review precedents for KYC Portal Records
                                                 Retention Policy (.40); prepare initial draft re: same
                                                 (2.7); email correspondence to R. Logan re: review re:
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                             Project: 00014 - BUSINESS OPERATIONS

Date        Name                         Hours Description

                                                 same (.10).
07/28/2023 Elizabeth Levin                 0.20 IP review of FTX diligence materials for responses to
                                                diligence requests.
07/28/2023 Adam Toobin                     2.60 Revise and send letter to relevant third party for
                                                review (.50); update relevant third party turnover
                                                motion (.60); call with F. Weinberg and R. Schutt re:
                                                bank workstream updates (.40); correspondence with
                                                S&C team re: bank follow ups (.70); call with M. Cilia
                                                (FTX), A&M team, Alix team and F. Weinberg re:
                                                bank workstream updates (.40).
07/29/2023 Alexa Kranzley                  0.40 Work on bank account and vendor contract issues.
07/30/2023 Ryan Logan                      1.20 Revise FTX Customer Claims Portal Records
                                                Management Policy and Schedule (1.0);
                                                correspondence with W. Bekker re: same (.20).
07/30/2023 Aaron Levine                    0.10 Review vendor contracts.
07/30/2023 William Bekker                  1.90 Review and revise KYC Portal Records Retention
                                                Policy.
07/31/2023 Ken Li                          1.40 Review correspondence re: investment management
                                                agreement, pricing committee and related matters
                                                (.30); review and comment on draft investment
                                                management agreement (.40); correspondence with D.
                                                Handelsman and A. Levine re: investment management
                                                agreement (.20); meeting with A. Kranzley, J.
                                                Kapoor, A. Levine and D. Handelsman re: investment
                                                management agreement workstream (.50).
07/31/2023 Alexa Kranzley                  0.50 Meeting with K. Li, J. Kapoor, A. Levine and D.
                                                Handelsman re: investment management agreement
                                                workstream.
07/31/2023 Alexa Kranzley                  0.70 Correspondences with J. Ray (FTX) re: treasury
                                                issues (.20); work on vendor related issues (.30);
                                                correspondences with A&M and RLKS teams re:
                                                same (.20).
07/31/2023 Ryan Logan                      3.00 Email correspondence with Y. Masoudi and E. Levin
                                                re: response to FTX diligence question on data
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                              Project: 00014 - BUSINESS OPERATIONS

Date        Name                          Hours Description

                                                   protection complaints (.30); revise FTX Customer
                                                   Claims Portal records management policy and
                                                   retention schedule (1.2); email correspondence with
                                                   W. Bekker re: same (.30); email correspondence with
                                                   A&M team re: follow-up items after meeting with
                                                   FTX EU Data Protection Officer re: FTX data
                                                   protection issues (.50); call with A&M team and Data
                                                   Protection Officer re: FTX data protection issues
                                                   (.70).
07/31/2023 Julie Kapoor                     0.60 Meeting with A. Kranzley, K. Li, A. Levine and D.
                                                 Handelsman re: investment management agreement
                                                 workstream (.50); call with K. Ramanathan (A&M)
                                                 re: same (.10).
07/31/2023 Aaron Levine                     0.80 Review vendor contracts (.30); meeting with A.
                                                 Kranzley, K. Li, J. Kapoor and D. Handelsman re:
                                                 investment management agreement workstream (.50).
07/31/2023 Dylan Handelsman                 1.60 Meeting with A. Kranzley, K. Li, J. Kapoor and A.
                                                 Levine re: investment management agreement
                                                 workstream (.50); correspondence with S&C team re:
                                                 investment management agreement (.30); prepare for
                                                 meeting re: same (.30); review and provide comments
                                                 re: vendor agreements (.50).

Total                                     134.10
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

07/01/2023 James Bromley                     0.40 Email correspondences with J. Ray (FTX), A.
                                                  Dietderich and B. Glueckstein re: various case
                                                  matters.
07/03/2023 James Bromley                     0.50 Email correspondences with J. Ray (FTX), A.
                                                  Dietderich and B. Glueckstein re: various case
                                                  matters.
07/04/2023 Andrew Dietderich                 0.20 Correspondence with A. Kranzley re: multiple items.
07/05/2023 Stephanie Wheeler                 0.70 Correspondence with C. Dunne re: workstreams
                                                  (.10); correspondence with J. Croke re: update on
                                                  various workstreams (.20); correspondence with M.
                                                  Materni re: pro hac vice application (.30); review and
                                                  revise pro hac vice application (.10).
07/05/2023 Andrew Dietderich                 1.10 Call with J. Ray (FTX), A&M team, OWO team, QE
                                                  team, J. Bromley and B. Glueckstein re: steering
                                                  committee.
07/05/2023 Brian Glueckstein                 1.70 Call with J. Ray (FTX), A&M team, OWO team, QE
                                                  team, J. Bromley and A. Dietderich re: steering
                                                  committee (1.1); review and revise litigation
                                                  workstreams updates (.60).
07/05/2023 James Bromley                     2.00 Call with J. Ray (FTX), A&M team, OWO team, QE
                                                  team, B. Glueckstein and A. Dietderich re: steering
                                                  committee (1.1); call with debtors and UCC team re:
                                                  updates (.90).
07/05/2023 Sean Fulton                       0.20 Meeting with Z. Hearn and E. Shehada re: open
                                                  litigation workstreams.
07/05/2023 Zachary Hearn                     0.20 Meeting with S. Fulton and E. Shehada re: open
                                                  litigation workstreams.
07/05/2023 Emile Shehada                     0.40 Meeting with S. Fulton and Z. Hearn re: open litigation
                                                  workstreams (.20); draft introductory email for
                                                  summer associate re: case administration (.20).
07/06/2023 Stephanie Wheeler                 0.10 Email correspondences with M. Materni re: pro hac
                                                  vice application filed.
07/06/2023 James Bromley                     1.40 Email correspondence with J. Ray (FTX), A.
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

                                                   Dietderich, A. Kranzley and A. Mosley re: case
                                                   matters (.70); review materials re: same (.70).
07/06/2023 Sean Fulton                       0.50 Correspondence with Cornerstone team, QE team, J.
                                                  Bromley, B. Glueckstein and S. Fulton re: discuss
                                                  potential expert analysis.
07/06/2023 Ugonna Eze                        0.20 Correspondence re: conflicts check for potential
                                                  third-party avoidance action.
07/07/2023 Andrew Dietderich                 0.60 Call with J. Ray (FTX) and J. Bromley re: steering
                                                  committee (.50); follow-up correspondence re: same
                                                  (.10).
07/07/2023 James Bromley                     0.50 Call with J. Ray (FTX) and A. Dietderich re: steering
                                                  committee.
07/07/2023 Alexa Kranzley                    0.10 Review and revise PMO slide.
07/10/2023 Andrew Dietderich                 0.20 Meeting with B. Glueckstein re: updates to multiple
                                                  workstreams.
07/10/2023 Brian Glueckstein                 0.50 Correspondence with J. Ray (FTX), S&C team and
                                                  QE team re: investigations workstreams (.30); meeting
                                                  with A. Dietderich re: updates to multiple workstreams
                                                  (.20).
07/10/2023 James Bromley                     1.10 Call with J. Ray (FTX) re: case matters (.50); email
                                                  correspondence with S&C team and J. Ray (FTX) re:
                                                  case matters (.60).
07/10/2023 Sean Fulton                       0.30 Meeting with E. Andrews and Z. Hearn re: upcoming
                                                  Bahamas proceeding plans, MDL litigation and other
                                                  work streams.
07/10/2023 Eric Andrews                      0.30 Meeting with S. Fulton and Z. Hearn re: upcoming
                                                  Bahamas proceeding plans, MDL litigation and other
                                                  work streams.
07/10/2023 Zachary Hearn                     0.30 Meeting with S. Fulton and E. Andrews re: upcoming
                                                  Bahamas proceeding plans, MDL litigation and other
                                                  work streams.
07/10/2023 Ugonna Eze                        0.20 Correspondence re: conflicts check for potential
                                                  third-party avoidance action.
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

07/11/2023 Andrew Dietderich                 1.70 Prepare for steering committee call (.30); attend
                                                  steering committee call (1.4).
07/11/2023 Brian Glueckstein                 1.50 Attend steering committee call (1.4); follow-up
                                                  correspondence with S&C team re: same (.10).
07/11/2023 James Bromley                     2.00 Attend steering committee call (1.4); review materials
                                                  re: same (.60).
07/11/2023 Alexa Kranzley                    1.30 Attend steering committee call (partial attendance).
07/12/2023 Brian Glueckstein                 0.70 Review documents and consider issues re: litigation
                                                  workstreams.
07/12/2023 Evan Simpson                      0.40 Cross-workstreams update call with A. Kranzley, M.
                                                  Wu, T. Hill and J. Simpson (partial attendance).
07/12/2023 Alexa Kranzley                    0.40 Cross-workstreams update call with E. Simpson, M.
                                                  Wu, T. Hill and J. Simpson.
07/12/2023 Mimi Wu                           0.40 Cross-workstreams update call with E. Simpson, A.
                                                  Kranzley, T. Hill and J. Simpson.
07/12/2023 Tyler Hill                        0.40 Cross-workstreams update call with E. Simpson, A.
                                                  Kranzley, M. Wu and J. Simpson.
07/12/2023 James Simpson                     0.40 Cross-workstreams update call with E. Simpson, A.
                                                  Kranzley, M. Wu and T. Hill.
07/13/2023 Brian Glueckstein                 1.40 Correspondence with S&C team re: strategy and
                                                  workstreams issues.
07/13/2023 James Bromley                     1.00 Correspondence with S&C team re: Alameda issues
                                                  (.20); call with J. Ray (FTX) re: case matters (.30);
                                                  correspondence with S&C team, A&M team and J.
                                                  Ray (FTX) re: case matters (.50).
07/13/2023 Alexa Kranzley                    2.50 Attend restructuring and investigations team update
                                                  meeting.
07/14/2023 Andrew Dietderich                 0.40 Correspondence with A. Kranzley re: sequencing of
                                                  core motion practice staffing.
07/14/2023 Brian Glueckstein                 0.60 Call with S. Fulton re: litigation workstreams.
07/14/2023 Sean Fulton                       0.60 Call with B. Glueckstein re: litigation workstreams.
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                                Project: 00015 - CASE ADMINISTRATION

Date        Name                            Hours Description
07/14/2023 Michele Materni                    1.80 Draft additional summary in support of third report
                                                   (1.1); collect additional documents for third report
                                                   (.70).
07/15/2023 James Bromley                      0.30 Email correspondence with S&C team and J. Ray
                                                   (FTX) re: case matters.
07/16/2023 James Bromley                      1.30 Correspondence with A. Dietderich and B.
                                                   Glueckstein re: case issues (1.0); email
                                                   correspondence with S&C team and J. Ray (FTX) re:
                                                   same (.30).
07/17/2023 Brian Glueckstein                  0.90 Call with J. Ray (FTX) and S&C team re:
                                                   workstreams (.30); correspondence with A. Kranzley
                                                   re: same (.30); correspondence with A. Kranzley and
                                                   A. Dietderich re: open issues (.30).
07/17/2023 Christopher Howard                 0.50 Correspondence with S&C team re: protocols and
                                                   precedent.
07/17/2023 James Bromley                      1.40 Call with J. Ray (FTX) on case matters (.40);
                                                   correspondence with A. Dietderich on case matters
                                                   (.50); correspondence with S&C team re: same (.50).
07/17/2023 Alexa Kranzley                     0.20 Review and revise hearing agenda.
07/17/2023 Sean Fulton                        1.20 Review research re: process for retaining experts
                                                   (.80); email correspondence to B. Glueckstein re:
                                                   process for retaining experts (.40).
07/17/2023 Julie Kapoor                       0.20 Meeting with N. Luu to discuss expert disclosure
                                                   precedents.
07/17/2023 Nam Luu                            4.20 Meeting with J. Kapoor to discuss expert disclosure
                                                   precedents (.20); conduct research re: expert retention
                                                   and disclosures in bankruptcy (3.5); correspondence
                                                   with S. Fulton re: same (.50).
07/18/2023 Andrew Dietderich                  1.20 Attend steering committee call.
07/18/2023 Brian Glueckstein                  2.00 Attend steering committee call (1.2); manage litigation
                                                   workstreams (.80).
07/18/2023 James Bromley                      2.00 Attend steering committee call (1.2); email
                                                   correspondence with J. Ray (FTX) and S&C team re:
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

                                                   case matters (.80).
07/18/2023 Alexa Kranzley                    1.40 Attend steering committee call (1.2); correspondence
                                                  with S&C team re: same (.20).
07/18/2023 Ugonna Eze                        0.20 Correspondence re: conflicts check for potential
                                                  third-party avoidance action.
07/19/2023 Andrew Dietderich                 0.20 Email correspondence with S&C team re: work
                                                  sequence triage.
07/20/2023 Andrew Dietderich                 0.20 Internal correspondences re: case updates.
07/20/2023 Alexa Kranzley                    0.10 Review and revise PMO slide.
07/21/2023 Andrew Dietderich                 2.20 Internal correspondences re: case updates (.40); catch
                                                  up call with J. Ray (FTX) (.20); multiple work streams
                                                  with B. Glueckstein and J. Bromley (1.6).
07/21/2023 James Bromley                     1.00 Correspondence with J. Ray (FTX) and S&C team
                                                  re: case issues and strategy.
07/21/2023 Alexa Kranzley                    0.10 Review and revise PMO slide.
07/24/2023 Andrew Dietderich                 0.40 Internal correspondences re: case updates.
07/24/2023 Brian Glueckstein                 0.50 Correspondence with A. Kranzley re: status updates.
07/25/2023 Andrew Dietderich                 2.00 Review email triage (.50): preparation for steering
                                                  committee call (.30); attend steering committee call
                                                  (1.2).
07/25/2023 Brian Glueckstein                 2.00 Attend steering committee call (1.2); follow-up
                                                  correspondence with S&C team re: S&C and
                                                  litigation workstreams (.80).
07/25/2023 James Bromley                     2.00 Attend steering committee call (1.2); correspondence
                                                  with S&C team and J. Ray (FTX) re: case matters
                                                  (.80).
07/25/2023 Alexa Kranzley                    1.70 Attend steering committee call (1.2); follow up
                                                  correspondence with S&C team re: same (.50).
07/25/2023 Michael Devlin                    0.30 Meeting with S. Fulton, E. Andrews, Z. Hearn, I.
                                                  Foote, E. Loh, N. Luu and E. Shehada to discuss
                                                  open litigation workstreams.
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description
07/25/2023 Sean Fulton                       1.70 Meeting with M. Devlin, E. Andrews, Z. Hearn, I.
                                                  Foote, E. Loh, N. Luu and E. Shehada to discuss
                                                  open litigation workstreams (.30); update litigation
                                                  task tracker (1.4).
07/25/2023 Eric Andrews                      0.30 Meeting with M. Devlin, S. Fulton, Z. Hearn, I. Foote,
                                                  E. Loh, N. Luu and E. Shehada to discuss open
                                                  litigation workstreams.
07/25/2023 Zachary Hearn                     0.30 Meeting with M. Devlin, S. Fulton, E. Andrews, I.
                                                  Foote, E. Loh, N. Luu, and E. Shehada to discuss
                                                  open litigation workstreams.
07/25/2023 Isaac Foote                       0.30 Meeting with M. Devlin, S. Fulton, E. Andrews, Z.
                                                  Hearn, E. Loh, N. Luu and E. Shehada to discuss
                                                  open litigation workstreams.
07/25/2023 Esther Loh                        0.30 Meeting with M. Devlin, S. Fulton, E. Andrews, Z.
                                                  Hearn, I. Foote, N. Luu and E. Shehada to discuss
                                                  open litigation workstreams.
07/25/2023 Nam Luu                           0.50 Meeting with M. Devlin, S. Fulton, E. Andrews, Z.
                                                  Hearn, I. Foote, E. Loh and E. Shehada to discuss
                                                  open litigation workstreams (.30); correspondence
                                                  with S&C team re: workstream updates (.20).
07/25/2023 Emile Shehada                     0.30 Meeting with M. Devlin, S. Fulton, E. Andrews, Z.
                                                  Hearn, I. Foote, E. Loh and N. Luu to discuss open
                                                  litigation workstreams.
07/26/2023 Alexa Kranzley                    0.30 Work on hearing agenda and related issues.
07/28/2023 Brian Glueckstein                 1.00 Follow-up correspondence with S&C team on
                                                  litigation workstream issues (.50); call with A. Landis
                                                  re: strategy and status issues (.50).
07/28/2023 Ugonna Eze                        0.30 Circulated bank statements of debtor entities for
                                                  discrete research project. (.30).
07/29/2023 Alexa Kranzley                    0.20 Review and revise PMO slide.

Total                                       66.40
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

07/03/2023 Sharon Levin                  0.60 Correspondence to internal team re: KYC process.
07/03/2023 Grier Barnes                  0.30 Review notable customer claims.
07/05/2023 Sharon Levin                  0.40 Email correspondence to A. Kranzley, H. Chambers
                                              & S. Leventhal re: KYC questions.
07/05/2023 Sharon Levin                  0.50 Correspondence to A&M re: KYC.
07/05/2023 James Simpson                 0.20 Correspondence with A. Kranzley re: customer bar
                                              date notice.
07/05/2023 Grier Barnes                  3.30 Provided feedback on customer claims portal copy
                                              provided by A&M.
07/05/2023 Benjamin Zonenshayn           2.00 Edit bar date instructions for A. Kranzley.
07/06/2023 Sharon Levin                  0.60 Email correspondence to internal team re: KYC.
07/06/2023 Alexa Kranzley                0.60 Work on claims portal and related issues (.30);
                                              correspondence and calls with A&M re: the same
                                              (.30);
07/07/2023 Alexa Kranzley                0.70 Call with A&M team re: portal and related updates
                                              (.40); work on communications re: bar date (.30).
07/08/2023 Alexa Kranzley                0.10 Correspondences with J. Ray (FTX) re: customer
                                              claims bar date (.10).
07/09/2023 Alexa Kranzley                0.20 Work on claims bar date communications.
07/10/2023 Andrew Dietderich             0.60 Review and comment on emails from Kroll and A&M
                                              re: exchange portal launch.
07/10/2023 Evan Simpson                  0.30 Correspondence with internal team re: bar dates and
                                              intercompany claims.
07/10/2023 Sharon Levin                  0.60 Meeting with A&M re: KYC.
07/10/2023 Sharon Levin                  0.30 Email correspondence with H. Chambers (A&M) re:
                                              KYC.
07/10/2023 Alexa Kranzley                1.30 Correspondences and calls with A&M re: customer
                                              claims portal (.70); correspondences with A&M team
                                              re: KYC and related issues (.40); correspondences
                                              with Kroll, JF and A&M re: customer claims portal
                                              (.20).
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

07/10/2023 Grier Barnes                  0.30 Review correspondence within S&C team and
                                              between S&C and A&M re: notice related customer
                                              bar date.
07/11/2023 Sharon Levin                  0.20 Email correspondence with H. Chamber (A&M) re:
                                              claims portal.
07/11/2023 Sharon Levin                  0.20 Review KYC script.
07/11/2023 Anthony Lewis                 0.10 Correspondence with S&C, Sygnia, A&M teams re:
                                              claims portal.
07/11/2023 Alexa Kranzley                0.40 Correspondence with A&M re: claims portal and
                                              related issues.
07/11/2023 Grier Barnes                  0.30 Prepare customer bar date notice for filing.
07/12/2023 Sharon Levin                  0.50 Correspondence to internal team and A&M re: KYC.
07/12/2023 Anthony Lewis                 0.10 Correspondence with S&C, Sygnia, A&M teams re:
                                              claims portal.
07/12/2023 Alexa Kranzley                0.50 Correspondence with A&M and Kroll re: customer
                                              claims portal (.30); follow up with same re: KYC
                                              issues (.20).
07/13/2023 Alexa Kranzley                0.60 Work on KYC and claims portal issues (.40);
                                              correspondences with internal team and A&M re: the
                                              same (.20).
07/14/2023 Sharon Levin                  0.60 Meeting with A&M re: weekly KYC updates and
                                              decisions.
07/14/2023 Alexa Kranzley                1.10 Call with A&M and S&C teams re: KYC and related
                                              issues (.70); work on claims portal and related issues
                                              and correspondences with A&M re: the same (.40).
07/15/2023 Alexa Kranzley                0.20 Correspondences with internal team and A&M re:
                                              claims portal and related issues.
07/16/2023 Alexa Kranzley                0.20 Correspondences with A&M re claims portal and
                                              customer issues.
07/17/2023 Christopher Dunne             0.20 Review SOFA payment descriptions.
07/17/2023 Sharon Levin                  0.40 Review customer portal daily reporting (.20); email
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                    Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                         Hours Description

                                                correspondence with Q. Zhang re: daily reporting
                                                (.20).
07/17/2023 Sharon Levin                   0.50 Correspondence to internal team and J. Ray (FTX) re:
                                               KYC (.50).
07/17/2023 Sharon Levin                   0.20 Email correspondence to H. Chambers re: KYC.
07/17/2023 Anthony Lewis                  0.10 Correspondence with S&C, Sygnia, A&M teams re:
                                               claims portal.
07/17/2023 Alexa Kranzley                 0.50 Work on claims portal and KYC issues with A&M.
07/18/2023 Sharon Levin                   0.20 Email correspondence with A&M re: portal copy.
07/18/2023 Alexa Kranzley                 1.30 Calls and correspondences with A&M re: claims
                                               portal and KYC issues (.80); correspondences with
                                               internal team re: the same and related issues (.30);
                                               work on related issues (.20).
07/19/2023 Sharon Levin                   0.20 Email correspondence with A&M re: KYC questions.
07/19/2023 Alexa Kranzley                 0.20 Correspondences with A&M re: KYC issues.
07/20/2023 Nicole Friedlander             0.40 Call with O. Wortman (Sygnia) and A. Lewis re:
                                               claims portal (.40 - partial attendance).
07/20/2023 Sharon Levin                   0.70 Attend KYC weekly update meeting with A&M
                                               (.70).
07/20/2023 Sharon Levin                   0.60 Email correspondence with A&M re: consent and
                                               KYC (.40); email correspondence with R. Logan re:
                                               retention of customer information (.20).
07/20/2023 Anthony Lewis                  0.70 Call with O. Wortman (Sygnia), N. Friedlander re:
                                               claims portal (.60); correspondence with FTX, S&C,
                                               A&M, Sygnia, Joele Frank, Kroll teams re: portal
                                               issues (.10).
07/21/2023 Sharon Levin                   0.30 Review letter to DOJ tax division and related email
                                               correspondence.
07/21/2023 Sharon Levin                   0.50 Meeting with A&M re: KYC (.50).
07/21/2023 Sharon Levin                   0.40 Email correspondence with Z. Flegenheimer re: DOJ
                                               tax question (.20); review indictments and DOJ notice
                                               re: victims (.20).
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

07/21/2023 Anthony Lewis                 0.10 Correspondence with S&C team re: portal issues.
07/21/2023 Alexa Kranzley                1.70 Call with S&C and A&M teams re KYC and related
                                              issues (.70); call with Kroll and A&M re: claims PR
                                              issues (.20); correspondences with Kroll re: related
                                              issues (.30); work on claims inquiries and related
                                              issues (.50).
07/21/2023 Ryan Logan                    2.10 Email correspondence with S. Lowe (A&M) re:
                                              records retention requirements, breach notification law
                                              and responses to FTX customers in connection with
                                              FTX customer claims portal.
07/21/2023 Ryan Logan                    0.70 Call with A&M re: FTX customer care issues.
07/24/2023 Sharon Levin                  0.40 Meeting with David Hariton re: tax issues.
07/24/2023 Sharon Levin                  0.20 Email correspondence with D. Hariton re: certain
                                              defined terms.
07/24/2023 Anthony Lewis                 0.10 Correspondence with S&C team re: claims portal
                                              issues.
07/24/2023 Alexa Kranzley                0.20 Correspondences with A&M re: claims portal and
                                              related issues.
07/24/2023 Ryan Logan                    1.10 Draft FTX retention and records management policy
                                              for customer claims portal.
07/25/2023 Sharon Levin                  0.40 Email correspondence with Q. Zhang re: geo-location
                                              (.20); review email template (.20).
07/25/2023 Sharon Levin                  0.20 Email correspondence with D. Hariton re: DOJ tax
                                              claim.
07/25/2023 Anthony Lewis                 0.10 Correspondence with S&C team re: claims portal
                                              issues.
07/25/2023 Alexa Kranzley                0.70 Correspondences with internal team and A&M re:
                                              claims portal (.40); correspondences with internal
                                              team and A&M re: KYC (.30).
07/25/2023 Tatum Millet                  0.30 Draft email re: portal (.10); set up portal re: same
                                              (.20).
07/26/2023 Sharon Levin                  0.40 Email correspondence with J. Ray (FTX) and D.
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

                                                 Hariton re: restitution and remission.
07/26/2023 Anthony Lewis                  0.20 Correspondence with S&C, Sygnia teams re: claims
                                               portal issues.
07/26/2023 Grier Barnes                   0.20 Reviewed A&M update on major customer claims.
07/26/2023 Tatum Millet                   0.50 Review table of claims against the debtor (.20);
                                               research re: same (.30).
07/27/2023 Sharon Levin                   0.50 Weekly KYC updates and decision meeting.
07/28/2023 Sharon Levin                   0.50 Meeting with A&M re: relevant third party.
07/28/2023 Alexa Kranzley                 0.30 Correspondences with A&M re claims portal and
                                               related issues.
07/28/2023 Ryan Logan                     0.80 Email correspondence with A&M re: responses to
                                               customer emails for FTX customer claims portal and
                                               data transfer issues.
07/28/2023 Tatum Millet                   0.60 Review chart of claims against the debtors (.10);
                                               conduct relativity research on creditors re: same (.50).
07/29/2023 Alexa Kranzley                 0.40 Correspondences with A&M team re: claims portal
                                               and related issues.
07/31/2023 Alexa Kranzley                 0.40 Correspondences with A&M re: claims portal and
                                               KYC issues.
07/31/2023 William Bekker                 1.80 Review records management policy for KYC/AML
                                               portal.
07/31/2023 Robert Schutt                  0.20 Review matters re: dischargeability.

Total                                    40.40
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

07/03/2023 Arthur Courroy               0.50 Review corporate records of Indonesian entity and
                                             coordinate execution of resolutions.
07/04/2023 Ting Ruan                    1.10 Coordinate with Indian counsel re: India complaint
                                             matter.
07/05/2023 Anthony Lewis                0.10 Correspondence with S&C, Chainalysis teams re:
                                             insurance issues.
07/05/2023 Nicholas Menillo             1.90 Revise response to letter from insurance company and
                                             emails with M. Plamondon re: same (1.8); emails with
                                             FTX re: indemnification matters (.10).
07/05/2023 Marie-Ève Plamondon          0.90 Prepare response letter to insurer (.60); review draft
                                             response letter to insurer (.30).
07/05/2023 Arthur Courroy               0.30 Coordinate with local counsel and M. Cilia re: BVI
                                             registered agent fees.
07/05/2023 Ting Ruan                    0.80 Correspondence with Indian counsel and company
                                             secretarial service re: India complaint matter.
07/06/2023 Anthony Lewis                0.20 Correspondence with S&C team re: insurance issues.
07/06/2023 Arthur Courroy               1.30 Gather KYC material required by potential auditor for
                                             certain foreign debtors, filling out KYC forms and
                                             coordinating with J. Simpson.
07/06/2023 Ting Ruan                    0.40 Correspondence with Indian counsel and company
                                             secretarial service re: India complaint matter (.30);
                                             status update on outstanding corporate workstreams
                                             (.10).
07/07/2023 Stephanie Wheeler            0.10 Email correspondence to K. Lemire and B.
                                             Glueckstein re: indemnification issues.
07/07/2023 James Bromley                0.10 Call with N. Menillo re: indemnification matters (.10).
07/07/2023 Nicholas Menillo             1.20 Call with J. Bromley re: indemnification matters (.10);
                                             email correspondence with S&C team re: same (.20);
                                             emails with J. McDonald re: draft email to C. Clark re:
                                             indemnification and insurance matters (.60); further
                                             emails with S&C team re: indemnification matters
                                             (.30).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description
07/07/2023 Arthur Courroy               0.80 Coordinate execution of KYC material required by
                                             potential auditor for certain foreign debtors.
07/07/2023 Ting Ruan                    0.50 Call with Indian counsel and company secretarial
                                             service re: India complaint matter (.50).
07/08/2023 Stephanie Wheeler            0.40 Correspondence to N. Menillo and J. Bromley re:
                                             indemnification issues (.20); email QE re:
                                             indemnification issues (.20).
07/10/2023 Stephanie Wheeler            0.60 Call with N. Menillo re: indemnification matters (.30);
                                             call with J. Bromley and N. Menillo re: indemnification
                                             matters (.30).
07/10/2023 Evan Simpson                 0.50 Compile board materials for upcoming meeting (.50)
07/10/2023 James Bromley                0.80 Call with J. Ray (FTX) re: insurance coverage and
                                             former employees (.50); correspondence with N.
                                             Menillo re: same (.30).
07/10/2023 Arthur Courroy               0.20 Review local counsel input for Indonesian entity (.20).
07/10/2023 Arthur Courroy               0.30 Review corporate records of Canadian entity (.30).
07/10/2023 Ting Ruan                    0.40 Review Indian counsel's feedback on directorship
                                             (.30); call with J. Simpson to discuss status of Indian
                                             entity complaint (.10).
07/11/2023 Andrew Dietderich            1.40 Prepare for (.20) and attend board meeting (1.2).
07/11/2023 Brian Glueckstein            2.30 Attend board meeting.
07/11/2023 Evan Simpson                 2.00 Attend board meeting (1.5 - partial attendance);
                                             documentation for weekly board meeting (.50).
07/11/2023 James Bromley                3.20 Attend board meeting (2.0 - partial); correspondence
                                             re: same to internal team (.50); review materials re:
                                             same (.70).
07/11/2023 Anthony Lewis                0.10 Correspondence with S&C, Sygnia, Chainalysis teams
                                             re: information for insurer.
07/11/2023 Nicholas Menillo             0.90 Review letter from Continental insurance (.40); emails
                                             with S&C team re: insurance matters (.50).
07/11/2023 Marie-Ève Plamondon          0.10 Email correspondence to N. Menillo on responses to
                                             insurers.
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

07/11/2023 Arthur Courroy               0.40 Coordinate payment of registered agent fees with M.
                                             Cilia for foreign debtors (.40).
07/12/2023 Anthony Lewis                0.60 Review and revise materials re: insurance (.40);
                                             correspondence with S&C team re: insurance issues
                                             (.20).
07/12/2023 Nicholas Menillo             1.10 Review and comment on response letter to insurer
                                             (.90); email with S&C team re: insurance issues (.20).
07/12/2023 Marie-Ève Plamondon          2.40 Prepare response letter to insurer (2.0); draft email to
                                             V. Shahnazary re: updating materials for internal
                                             reference (.40).
07/12/2023 Ting Ruan                    0.90 Review response re: compliant filed against Quoine
                                             India.
07/13/2023 Evan Simpson                 1.30 Attend board meeting (1.0); documentation for board
                                             meeting (.30).
07/13/2023 Anthony Lewis                0.20 Correspondence with S&C team re: insurance issues.
07/13/2023 Victoria Shahnazary          1.00 Update insurer correspondence tracker and records
                                             re: same.
07/14/2023 Stephanie Wheeler            0.80 Call with N. Menillo re: indemnification matters (.30);
                                             call with N. Menillo re: indemnification issues (.50).
07/14/2023 Anthony Lewis                0.30 Correspondence with N. Menillo re: insurance
                                             matters.
07/14/2023 Nicholas Menillo             6.80 Review and comment on draft letter to insurer re:
                                             relevant claim (2.4); call with S. Wheeler re:
                                             indemnification matters (.30); correspondence with A.
                                             Lewis re: insurance matters (.30); call with J. Kapoor
                                             re: indemnification matters (.20); correspondence with
                                             A. Kranzley and J. Kapoor re: indemnification matters
                                             (.20); further call with S. Wheeler re: indemnification
                                             matters (.50); prepare analysis of indemnification
                                             obligations (2.5); review analysis of potential claims
                                             against former FTX employee (.40).
07/14/2023 Julie Kapoor                 0.50 Call with N. Menillo re: indemnification (.20);
                                             correspondence to N. Menillo and A. Kranzley re:
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              same (.30).
07/14/2023 Marie-Ève Plamondon          1.60 Revise response letter to insurer.
07/14/2023 Arthur Courroy               0.60 Coordinate with directors and internally re: audit of
                                             foreign debtor (.60).
07/16/2023 Stephanie Wheeler            1.50 Revise matrix of indemnification.
07/16/2023 Nicholas Menillo             3.00 Continue working on indemnification analysis (3.0).
07/17/2023 Stephanie Wheeler            0.60 Call with K. Lemire (QE) re: indemnification and
                                             professional firm issues (.30); correspondence with S.
                                             Ehrenberg, C. Dunne re: potential cause of action
                                             against professional firm (.20); call with N. Menillo re:
                                             indemnification issues (.10).
07/17/2023 Andrew Dietderich            0.60 Review and comment on materials for board meeting
                                             (.60).
07/17/2023 Brian Glueckstein            1.10 Review and revise multiple drafts of Board materials
                                             re: litigation claims (1.1).
07/17/2023 Evan Simpson                 0.50 Prepare draft minutes for corporate governance
                                             matters and circulate to team for further review.
07/17/2023 Nicholas Menillo             0.80 Further work on indemnification analysis (.80).
07/17/2023 Arthur Courroy               0.40 Coordinate with M. Cilia and local counsel re:
                                             payment of registered agent fees for certain foreign
                                             debtors (.40).
07/18/2023 Andrew Dietderich            1.00 Attend board meeting (1.0 - partial attendance).
07/18/2023 Brian Glueckstein            1.30 Attend board meeting (1.3 - partial attendance).
07/18/2023 Evan Simpson                 1.30 Attending board meeting (1.0 - partial attendance);
                                             prepare documentation for weekly board meeting
                                             (.30).
07/18/2023 James Bromley                2.00 Attend board meeting (1.5); review materials re: same
                                             and prep for same (.50).
07/18/2023 Nicholas Menillo             0.60 Email correspondence with S&C team re: D&O
                                             insurer requests (.20); call and email with insurer re:
                                             request (.20); email correspondence with S&C team
                                             re: indemnification analysis (.20).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

07/18/2023 Marie-Ève Plamondon          0.30 Revise response letter to insurer (.30).
07/18/2023 Arthur Courroy               0.90 Clarify additional queries re: payment of registered
                                             agent fees for certain foreign debtors with M. Cilia and
                                             local counsel (.50); provide organizational documents
                                             to Japan team and review governance structure (.40).
07/18/2023 Victoria Shahnazary          0.60 Update insurer correspondence tracker and records
                                             re: same.
07/24/2023 Stephanie Wheeler            0.90 Email K. Lemire (QE) and N. Menillo re:
                                             indemnification (.10); call with QE and N. Menillo re:
                                             indemnification matters (.30); call with N. Menillo re:
                                             indemnification matters (.20); review documents
                                             related to indemnification claims (.30).
07/24/2023 Nicholas Menillo             3.30 Emails with S&C and QE teams re: indemnification
                                             matters (.10); call with K. Lemire (QE) re:
                                             indemnification matters (.10); call with QE and S.
                                             Wheeler re: indemnification matters (.30); call with S.
                                             Wheeler re: indemnification matters (.20); work on
                                             indemnification analysis and emails with S&C team re:
                                             same (1.9); review letter from insurance company
                                             (.30); emails with insurer re: insurance matters (.20);
                                             email correspondence with insurer re: insurance
                                             matters (.20).
07/24/2023 Jared Rosenfeld              2.70 Research, summarize research and correspondence to
                                             S&C team re: conduct for purposes of indemnification
                                             analysis.
07/25/2023 Andrew Dietderich            1.00 Attend board meeting (1.0).
07/25/2023 Brian Glueckstein            1.00 Attend board meeting (1.0).
07/25/2023 Evan Simpson                 1.30 Attend board meeting (1.0); update documentation for
                                             weekly meeting (.30).
07/25/2023 James Bromley                1.20 Attend board meeting (.70 - partial attendance);
                                             review materials re: same (.50).
07/25/2023 Nicholas Menillo             1.50 Email correspondence with S&C team re: forensic
                                             investigation (.30); email correspondence with broker
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              and S&C team re: D&O (.80); review insurance letter
                                              and emails with S&C team re: response to same (.40).
07/25/2023 Marie-Ève Plamondon          0.70 Review correspondence from insurer (.40); draft email
                                             to V. Shahnazary providing instructions on updates to
                                             materials for internal reference (.30).
07/26/2023 Anthony Lewis                0.10 Correspondence with S&C, Chainalysis teams re:
                                             insurance issues.
07/26/2023 Nicholas Menillo             0.30 Emails with S&C team re: forensic claim (.10); emails
                                             with insurance broker re: insurance letter response
                                             (.20).
07/26/2023 Marie-Ève Plamondon          1.80 Prepare response letter to insurer.
07/26/2023 Sophia Chen                  2.50 Update memo to FTX BOD re: investment in
                                             treasuries per R. Simmons.
07/27/2023 Evan Simpson                 1.50 Attend biweekly venture silo meeting (1.0); draft
                                             documentation for venture silo meeting (.50).
07/27/2023 Nicholas Menillo             2.10 Finalize indemnification analysis (2.0); correspondence
                                             to J. Mcdonald re: indemnification and insurance
                                             matters (.10).
07/27/2023 Arthur Courroy               0.40 Review corporate records to confirm change of name
                                             of certain foreign debtors (.40).
07/27/2023 Ting Ruan                    0.10 Internal correspondence re: FTX entities name change
                                             documentation.
07/27/2023 Sophia Chen                  0.10 Revise memo to BOD re: investments in treasuries per
                                             A. Kranzley.
07/28/2023 Stephanie Wheeler            0.60 Revise indemnification matrix (.60).
07/28/2023 Arthur Courroy               1.10 Review corporate records to confirm change of name
                                             of certain foreign debtors and coordinating with local
                                             counsel (.50); coordinate KYC request from
                                             registered agent (.60).
07/31/2023 Evan Simpson                 0.50 Draft board documentation for internal review (.50).
07/31/2023 Nicholas Menillo             1.00 Review and address comments of S. Wheeler on
                                             indemnification analysis and emails with S. Wheeler re:
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                               same (1.0).
07/31/2023 Arthur Courroy               0.40 Coordinate payment of registered agent fee (.40).
07/31/2023 Ting Ruan                    0.10 Correspondence with local counsel re: nominee
                                             director.

Total                                  84.60
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                          Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                            Hours Description

07/02/2023 James Bromley                     0.20 Email correspondence with J. Ray (FTX) and J.
                                                  Paranyuk re: KEIP issues (.10); review materials re:
                                                  same (.10).
07/05/2023 Julia Paranyuk                    1.20 Correspondence with A&M team re: KEIP award
                                                  agreement (.20); correspondence with local counsel in
                                                  Japan (AMT) re: same (.10); correspondence with
                                                  S&C team re: same (.10); update and revise KEIP
                                                  award agreement (.80).
07/06/2023 Julia Paranyuk                    0.30 Correspondence with J. Bander re: KEIP award
                                                  agreement (.10); correspondence with A&M team
                                                  and bankruptcy team re: same (.10); update KEIP
                                                  award agreement (.10).
07/07/2023 Jeannette Bander                  0.30 Analyze KEIP award agreement question.
07/14/2023 Julia Paranyuk                    0.30 Correspondence with J. Bander re: KEIP award
                                                  (.10); correspondence with A&M team re: employee
                                                  list (.10); correspondence with S&C team re: same
                                                  (.10).
07/18/2023 Julia Paranyuk                    0.10 Correspondence with tax team re: IRS information
                                                  requests.
07/19/2023 Julia Paranyuk                    0.20 Correspondence with J. Bander re: employee matters
                                                  (.10); correspondence with A&M team and S&C
                                                  teams re: same (.10).
07/24/2023 Jeannette Bander                  0.10 Review WARN question.
07/24/2023 Julie Kapoor                      0.20 Correspondence with S&C team re: employee
                                                  matters.
07/24/2023 Alexander Capogna                 0.30 Correspondence with internal team re: employee
                                                  matters.
07/24/2023 Julia Paranyuk                    0.30 Correspondence with J. Bander re: retention
                                                  agreement and WARN analysis (.10);
                                                  correspondence with S&C team re: same (.20).
07/25/2023 Julia Paranyuk                    0.20 Correspondence with J. Bander re: employee matters
                                                  (.10); correspondence with A&M team re: KEIP
                                                  release agreement (.10).
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                       Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                         Hours Description

07/26/2023 Jeannette Bander               0.10 Analyze data question from A&M.

Total                                     3.80
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description

07/07/2023 Sophia Chen                    2.20 Update A. Dietderich supplemental declaration ISO
                                               S&C retention per A. Kranzley.
07/10/2023 Alexa Kranzley                 0.20 Follow up with S&C team re: June fee statement.
07/11/2023 Mark Bennett                   1.80 Confidentiality review of June time entries.
07/12/2023 Julie Kapoor                   2.00 Confidentiality review of June time entries.
07/12/2023 Sarah Mishkin                  0.80 Confidentiality review of June time entries.
07/12/2023 Maxwell Schwartz               0.60 Confidentiality review of June time entries.
07/12/2023 Harrison Schlossberg           0.80 Draft budget and staffing charts for S&C fourth interim
                                               fee statement per A. Kranzley.
07/13/2023 Mark Bennett                   1.60 Confidentiality review of June time entries.
07/13/2023 Fabio Weinberg Crocco          1.50 Confidentiality review of June time entries.
07/13/2023 Maxwell Schwartz               1.00 Confidentiality review of June time entries.
07/14/2023 Mark Bennett                   1.70 Confidentiality review of June time entries.
07/14/2023 Fabio Weinberg Crocco          1.40 Confidentiality review of June time entries.
07/15/2023 Julie Kapoor                   1.40 Confidentiality review of June time entries.
07/15/2023 Fabio Weinberg Crocco          0.80 Confidentiality review of June time entries.
07/16/2023 Fabio Weinberg Crocco          0.90 Review and revise S&C June fee statement.
07/16/2023 Samantha Rosenthal             0.10 Correspondence with N. Menillo re: S&C time
                                               entries.
07/17/2023 Mark Bennett                   0.70 Confidentiality review of June time entries.
07/17/2023 Fabio Weinberg Crocco          0.60 Review and revise S&C June fee statement.
07/17/2023 Alexander Holland              1.60 Call with S. Chen re: confidentiality review of June
                                               time entries (.20); confidentiality review of June time
                                               entries (1.4).
07/17/2023 Sophia Chen                    0.80 Correspondence with A. Holland and J. Croke re:
                                               confidentiality review of June time entries (.40); call
                                               with A. Holland re: same (.20); correspondence with
                                               M. Bjarnason re: drafting of June fee statement (.20).
07/18/2023 Nicholas Menillo               0.40 Call with S. Rosenthal re: S&C time entries.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
07/18/2023 Alexa Kranzley                 0.10 Correspondence with internal team re: June fee
                                               statement.
07/18/2023 Mark Bennett                   2.40 Confidentiality review of June time entries.
07/18/2023 Sarah Mishkin                  1.10 Confidentiality review of June time entries.
07/18/2023 Maxwell Schwartz               0.70 Review and revise June fee statement.
07/18/2023 Samantha Rosenthal             2.10 Confidentiality review of June time entries.
07/18/2023 Samantha Rosenthal             0.40 Call with N. Menillo re: S&C time entries.
07/19/2023 Alexa Kranzley                 0.10 Review and revise June fee statement.
07/19/2023 Mark Bennett                   0.70 Confidentiality review of June time entries (.50);
                                               correspondence with paralegal team re: same (.20).
07/19/2023 Samantha Rosenthal             0.60 Call with S. Chen re: time entries (.30); email
                                               correspondences with S. Chen re: same (.30).
07/19/2023 Samantha Rosenthal             1.60 Confidentiality review of June time entries.
07/19/2023 Sophia Chen                    0.50 Call with S. Rosenthal re: time entries (.30);
                                               correspondence with S&C team re: same (.20).
07/20/2023 Maxwell Schwartz               0.10 Review and revise June fee statement.
07/20/2023 Samantha Rosenthal             1.40 Confidentiality review of June time entries (1.2); email
                                               correspondences with J. Pytosh re: same (.20).
07/20/2023 Samantha Rosenthal             0.10 Correspondence with S. Chen re: time entries.
07/20/2023 Maxim Bjarnason                0.50 Draft June fee statement per A. Kranzley.
07/20/2023 Sophia Chen                    0.60 Review and revise June fee statement.
07/21/2023 Fabio Weinberg Crocco          1.70 Review and revise June fee statement.
07/23/2023 Fabio Weinberg Crocco          0.70 Review and revise June fee statement.
07/24/2023 Alexa Kranzley                 0.20 Confidentiality review of June time entries.
07/25/2023 Alexa Kranzley                 0.20 Confidentiality review of June time entries.
07/25/2023 Samantha Rosenthal             0.10 Correspondence with B. Grant re: invoices.
07/26/2023 Alexa Kranzley                 1.10 Confidentiality review of June time entries and
                                               correspondence with internal team re: the same.
07/26/2023 Mark Bennett                   0.30 Confidentiality review of June time entries.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description

07/26/2023 Samantha Rosenthal             0.10 Email correspondence with J. Pytosh re: confidentiality
                                               review of June time entries.
07/26/2023 Samantha Rosenthal             0.30 Correspondence with N. Menillo, A. Lewis and M.
                                               Kerin re: time entries (.20); correspondence with
                                               B. Grant re: same (.10).
07/27/2023 Maxwell Schwartz               0.20 Review and revise June fee statement.
07/28/2023 Anthony Lewis                  0.10 Review materials re: S&C engagement.
07/28/2023 Sophia Chen                    0.20 Correspondence with S&C team re: confidentiality
                                               review of June time entries.
07/29/2023 Alexa Kranzley                 0.10 Correspondence with S&C team re: June fee
                                               statement.
07/31/2023 Alexa Kranzley                 0.60 Review and revise June fee statement (.40);
                                               coordinate with Landis team re: filing of the same
                                               (.20).
07/31/2023 Maxim Bjarnason                4.30 Prepare June fee statement for filing.
07/31/2023 Maxim Bjarnason                1.20 Review and revise June fee statement.
07/31/2023 Sophia Chen                    0.30 Correspondence with M. Bjarnason re: June fee
                                               statement revisions and finalization.

Total                                    47.60
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                Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                       Hours Description

07/05/2023 Julie Kapoor                 0.20 Review OCP issues.
07/06/2023 Alexa Kranzley               0.20 Review OCP issues.
07/06/2023 Robert Schutt                0.60 Correspondence with RLKS team re: time entries
                                             (.20); review RLKS staffing and compensation report
                                             (.40).
07/07/2023 Robert Schutt                0.50 Review RLSK staffing and compensation report (.40);
                                             correspondence re: same (.10).
07/10/2023 Robert Schutt                1.00 Review and revise RLKS staffing and compensation
                                             report.
07/11/2023 Alexa Kranzley               0.30 Review OCP and related retention issues.
07/11/2023 Julie Kapoor                 0.30 Review OCP issues (.20); call with M. Pierce
                                             (Landis) re: same (.10).
07/11/2023 Robert Schutt                1.80 Review and revise RLKS compensation and staffing
                                             report (1.5); coordinate filing of same (.30).
07/12/2023 Alexa Kranzley               0.60 Correspondences with A&M team re: professional
                                             budget and staffing issues.
07/12/2023 Julie Kapoor                 0.40 Review OCP issues (.30); call with M. Pierce
                                             (Landis) re: same (.10).
07/12/2023 Robert Schutt                2.00 Review, revise and prepare Owl Hill Staffing and
                                             Compensation Report for filing.
07/13/2023 Alexa Kranzley               0.30 Correspondence with Landis team re: OCP issues.
07/13/2023 Julie Kapoor                 0.20 Review OCP issues.
07/14/2023 Alexa Kranzley               0.10 Follow up correspondence re: OCP issues.
07/14/2023 Julie Kapoor                 0.20 Correspondence with J. Simpson re: OCP issues.
07/15/2023 Julie Kapoor                 0.10 Draft response to UST inquiry re: OCP issues.
07/16/2023 Alexa Kranzley               0.30 Work on debtor professional retention issues.
07/17/2023 Alexa Kranzley               0.10 Correspondence with debtor professionals re: June fee
                                             statements.
07/18/2023 Alexa Kranzley               0.10 Correspondence with Landis team re: OCPs.
07/19/2023 Alexa Kranzley               0.10 Correspondence with EY team re: fee statement.
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                Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                       Hours Description

07/20/2023 Alexa Kranzley                0.50 Correspondence with Landis team re: OCP issues
                                              (.20); review OCP and debtor retention issues (.30).
07/20/2023 HyunKyu Kim                   0.50 Review and revise EY fee statement.
07/22/2023 Alexa Kranzley                0.10 Correspondence with debtor professionals re: fee
                                              statements.
07/24/2023 Alexa Kranzley                0.20 Correspondence with EY team re: fee statement (.10);
                                              correspondence with OCP re: disclosure issues (.10).
07/24/2023 Julie Kapoor                  0.40 Work on OCP issues.
07/24/2023 HyunKyu Kim                   0.80 Review and revise EY fee statement.
07/24/2023 Sophia Chen                   0.70 Draft fifth amended OCP notice (.30); draft fifth
                                              amended OCP list (.30); correspondence with J.
                                              Kapoor re: same (.10).
07/25/2023 Shane Yeargan                 1.30 Review A&M time narratives for privilege.
07/25/2023 Julie Kapoor                  0.30 Work on OCP issues.
07/25/2023 HyunKyu Kim                   1.80 Review EY fee statement.
07/25/2023 Sophia Chen                   0.40 Finalize fifth amended OCP list for filing.
07/26/2023 William Wagener               3.00 Review Alix June time entries for privilege and
                                              confidentiality (2.8); email Alix team re: same (.20).
07/26/2023 HyunKyu Kim                   2.20 Review EY fee statement.
07/26/2023 Samantha Rosenthal            0.20 Correspondence with A. Lewis and M. Kerin re:
                                              Chainalysis invoices (.10); correspondence with
                                              Chainalysis team re: same (.10).
07/27/2023 Alexa Kranzley                0.10 Correspondence with Landis re: OCP and related
                                              issues.
07/27/2023 HyunKyu Kim                   0.30 Review EY fee statement.

Total                                   22.20
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Date        Name                           Hours Description

07/03/2023 Stephanie Wheeler                1.60 Email correspondence with E. Savitch re: research for
                                                 potential class claims (.10); revise research memo re:
                                                 potential class claims (1.5).
07/03/2023 Brian Glueckstein                0.70 Draft response to Genesis discovery and estimation
                                                 issues (.40); correspondence with J. Ray (FTX) and
                                                 S&C team re: third party exchange settlement (.30).
07/03/2023 Mevelyn Ong                      0.80 Review internal emails re: discovery coordination
                                                 (.40); research letters re: estimation and stay motion
                                                 (.40).
07/03/2023 Zoeth Flegenheimer               0.20 Summarize filings in S. Bankman-Fried's criminal
                                                 proceeding and correspondence with investigations
                                                 team re: same.
07/03/2023 Daniel O'Hara                    0.60 Review and respond to correspondence re: third party
                                                 exchange litigation.
07/04/2023 Stephanie Wheeler                0.20 Email correspondence with H. Williams re: potential
                                                 class claims.
07/04/2023 Brian Glueckstein                1.40 Review and revise draft letter to court re: resolution
                                                 status re: Genesis (.90); follow-up with S&C team re:
                                                 same draft letter to court re: resolution status re:
                                                 Genesis (.50).
07/04/2023 Hilary Williams                  0.90 Review research memo re: potential class claims (.70);
                                                 email correspondence with S. Wheeler re: potential
                                                 class claims (.20).
07/04/2023 Nam Luu                          0.50 Draft motion to dismiss re: Stuart pro se complaint.
07/05/2023 Stephanie Wheeler                0.10 Email correspondence with H. Williams re: comments
                                                 on potential class claims memo.
07/05/2023 James Bromley                    1.20 Review materials on experts.
07/05/2023 Hilary Williams                  2.40 Draft email to E. Savitch re: issues to address in
                                                 research memo re: potential class claims.
07/05/2023 Bradley Harsch                   0.10 Review correspondence to S&C team scheduling
                                                 order in S. Bankman-Fried prosecution.
07/05/2023 Mevelyn Ong                      2.00 Review draft responses and objections (.50); review
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Date        Name                          Hours Description

                                                 preferences memo and mediation statement (1.5).
07/05/2023 Julian Keeley                   0.90 Reviewed documents for responsiveness to Genesis
                                                RFPs.
07/05/2023 Adam Toobin                     0.40 Draft email re: discovery procedures.
07/05/2023 Callen DiGiovanni               0.30 Internal correspondence re: international privacy law
                                                regime research. (no charge)
07/06/2023 Andrew Dietderich               1.20 Meeting with B. Glueckstein and B. Beller re: next
                                                steps re: Genesis litigation (.50); meeting with B.
                                                Glueckstein re: Genesis hearing and strategy issues
                                                (.70).
07/06/2023 Brian Glueckstein               3.70 Attend potential expert interview and follow-up re:
                                                Genesis hearing (.50); meeting with A. Dietderich and
                                                B. Beller re: next steps re: Genesis litigation (.50);
                                                meeting with A. Dietderich re: Genesis hearing and
                                                strategy issues (.70); draft and revise responses and
                                                objections to Genesis document requests (.80);
                                                prepare for Genesis lift stay hearing and related
                                                strategy issues (1.2).
07/06/2023 Benjamin Beller                 0.50 Meeting with A. Dietderich and B. Glueckstein re:
                                                next steps re: Genesis litigation.
07/06/2023 Mevelyn Ong                     5.50 Review internal emails (.40); research preference
                                                claim processes and re-review background documents
                                                (4.9); call with S&C team re: discovery procedures
                                                (.20).
07/06/2023 Sean Fulton                     0.20 Call with S&C team re: discovery procedures.
07/06/2023 Zachary Hearn                   0.20 Call with S&C team re: discovery procedures.
07/06/2023 Daniel O'Hara                   0.20 Review and respond to protocol re: third party
                                                litigation.
07/06/2023 Julian Keeley                   1.30 Review and redact documents in relation to Genesis
                                                RFPs.
07/06/2023 Julian Keeley                   0.20 Call with S&C team re: discovery procedures.
07/06/2023 Julian Keeley                   0.30 Correspondence with A. Kaufman re: Genesis
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Date        Name                           Hours Description

                                                  discovery.
07/06/2023 Rachel Pester                    0.20 Call with S&C team re: discovery procedures.
07/06/2023 Emile Shehada                    1.80 Meeting with D. Parker re: SDFL MDL complaint
                                                 analysis (1.0); review SDFL MDL case history (.80).
07/06/2023 Adam Toobin                      0.60 Correspondence with S&C team re: scheduling
                                                 discovery meeting (.40); call with S&C team re:
                                                 discovery procedures (.20).
07/07/2023 Benjamin Beller                  3.70 Call with S&C team re: FTX discovery procedures
                                                 (.40); Call with S. Liu and A. Toobin re: negotiations
                                                 with relevant third party (.50); prepare materials
                                                 relating to Genesis estimation/lift stay disputes (1.1);
                                                 review and revise Genesis DS objection (.80); call
                                                 with Alix re: Genesis claims (.50); correspondence
                                                 with S&C team re: Genesis workstreams (.40).
07/07/2023 Mevelyn Ong                      1.20 Call re: FTX discovery procedures with S&C team
                                                 (.40); call re: discovery and case updates with S&C
                                                 team (.30); review internal correspondence (.50).
07/07/2023 Andrew Kaufman                   0.70 Call re: FTX discovery procedures with S&C team
                                                 (.40); call re: discovery and case updates with S&C
                                                 team (.30).
07/07/2023 Zoeth Flegenheimer               0.40 Call re: FTX discovery procedures with S&C team.
07/07/2023 Sienna Liu                       1.50 Call with B. Beller and A. Toobin re: negotiations with
                                                 relevant third party (.50); follow up correspondence
                                                 with team re: same (1.0).
07/07/2023 Daniel O'Hara                    0.20 Review and respond to correspondence re: third party
                                                 litigation issue.
07/07/2023 Emma Downing                     0.40 Call with S&C team re: FTX discovery procedures.
07/07/2023 Julian Keeley                    0.30 Call with S&C team re: discovery and case updates.
07/07/2023 Julian Keeley                    0.40 Call with S&C team re: FTX discovery procedures.
07/07/2023 Julian Keeley                    3.80 Review and redact documents in preparation for
                                                 production to Genesis.
07/07/2023 Rachel Pester                    0.70 Call with S&C team re: discovery and case updates
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Date        Name                          Hours Description

                                                 (.30); call with S&C team re: FTX discovery
                                                 procedures (.40).
07/07/2023 Adam Toobin                     2.40 Call with S&C team re: FTX discovery procedures
                                                (.40); call with S&C team re: discovery and case
                                                updates (.30); call with B. Beller and S. Liu re:
                                                negotiations with relevant third party (.50); legal
                                                research re: relevant points (1.2).
07/07/2023 S. Fischer                      0.40 Conduct European General Data Privacy Regulation
                                                research. (no charge)
07/09/2023 Brian Glueckstein               0.40 Correspondence with B. Beller and A. Dietderich re:
                                                Genesis reserve and related matters.
07/10/2023 Steven Peikin                   0.80 Weekly meeting with J. Ray (FTX), S&C team, and
                                                QE (.40); weekly litigation team meeting (.40).
07/10/2023 Stephen Ehrenberg               0.30 Meeting with Cleary team, M3 team, Alix team, and
                                                S&C team re: discovery process.
07/10/2023 Brian Glueckstein               1.10 Meeting with S&C and Cleary teams re: Genesis
                                                (.50); call with B. Beller re: discovery responses (.10);
                                                review and revise responses and objections re:
                                                Genesis discovery requests (.50).
07/10/2023 Benjamin Beller                 0.10 Call with B. Glueckstein re: discovery responses.
07/10/2023 Daniel O'Hara                   0.20 Review correspondence re: third party exchange
                                                litigation.
07/10/2023 Isaac Foote                     0.30 Review motion to dismiss Stuart complaint.
07/10/2023 Julian Keeley                   3.70 Review and redact documents to prepare for
                                                production to Genesis (2.1); prepare and revise
                                                production cover letter (1.6).
07/10/2023 Nam Luu                         0.40 Correspondence with S&C team re: motion to dismiss
                                                pro se complaint and related issues.
07/10/2023 S. Fischer                      0.80 Conduct European General Data Privacy Regulation
                                                research. (no charge)
07/11/2023 Benjamin Beller                 1.00 Call with A. Kaufman and M. Ong re: Genesis
                                                document review workstream.
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Date        Name                        Hours Description
07/11/2023 Mevelyn Ong                   2.10 Call with S&C team and FTI re: Relativity database
                                              (.50); call with A. Kaufman and B. Beller re: Genesis
                                              document review workstream (1.0): follow-up email
                                              correspondence with A. Kaufman and B. Beller re:
                                              same (.60).
07/11/2023 Andrew Kaufman                1.00 Call with B. Beller and M. Ong re: Genesis document
                                              review workstream.
07/11/2023 Eric Andrews                  3.40 Review statement and complaint filed by Stuart (1.3);
                                              revise draft motion to dismiss complaint filed by Stuart
                                              (2.1).
07/11/2023 Eric Andrews                  0.70 Call with S&C team and FTI re: Relativity database
                                              (.50); obtain access to Relativity document database
                                              (.20).
07/11/2023 Sienna Liu                    0.50 Call with S&C team and FTI re: Relativity database.
07/11/2023 Daniel O'Hara                 0.20 Review and respond to correspondence re: third party
                                              exchange litigation.
07/11/2023 Julian Keeley                 0.50 Call with S&C team and FTI re: Relativity database.
07/11/2023 Julian Keeley                 0.20 Prepare document production to Genesis.
07/11/2023 Nam Luu                       0.80 Revise motion to dismiss Stuart complaint (.60); email
                                              correspondence with E. Andrews and S. Fulton re:
                                              same (.20).
07/11/2023 Emile Shehada                 1.10 Review SDFL MDL complaints for strategic
                                              relevance to D. Del. proceedings.
07/12/2023 Benjamin Beller               1.00 Call with UCC counsel, S. Liu and A. Toobin re:
                                              mediation coordination (.50); call with E. Andrews, S.
                                              Liu and A. Toobin re: mediation statement (.50).
07/12/2023 Mevelyn Ong                   1.30 Email correspondence with A. Kaufman and EDLS
                                              team re: Genesis document review workstream.
07/12/2023 Sean Fulton                   0.40 Meeting with E. Shehada re: SDFL MDL complaint
                                              analysis.
07/12/2023 Eric Andrews                  0.50 Call with S. Liu and A. Toobin re: mediation
                                              statement.
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Date        Name                          Hours Description
07/12/2023 Sienna Liu                      1.00 Call with UCC counsel, B. Beller and A. Toobin re:
                                                mediation coordination (.50); call with B. Beller, E.
                                                Andrews and A. Toobin re: mediation statement (.50).
07/12/2023 Nam Luu                         0.10 Review correspondence with A&M and S&C team
                                                re: customer status of L. Stuart for motion to dismiss.
07/12/2023 Emile Shehada                   2.80 Review SDFL MDL complaints for strategic
                                                relevance to D. Del. proceedings (.90); draft email
                                                memo summarizing findings (1.5); meeting with S.
                                                Fulton re: SDFL MDL complaint analysis (.40).
07/12/2023 Adam Toobin                     3.50 Call with UCC counsel, B. Beller and S. Liu re:
                                                mediation coordination (.50); call with B. Beller, E.
                                                Andrews, S. Liu and re: mediation statement (.50);
                                                review comments from UST re: Pateno motion (1.2);
                                                update mediation statement (.90); review Alix
                                                summary on relevant third party term sheets (.40).
07/13/2023 Jacob Croke                     0.60    Analyze issues re: relevant third party filings and
                                                  potential follow-up requests (.40), correspondence to
                                                  S&C team re: same (.20).
07/13/2023 Mevelyn Ong                     2.10 Call with S&C team re: Genesis mediation update
                                                (.60); email correspondence with S&C team re:
                                                Genesis review workstream (1.5).
07/13/2023 Julian Keeley                   2.30 Redact personal data in document production to
                                                Genesis (1.1); work with Alix to prepare second
                                                production to Genesis (1.2).
07/13/2023 Adam Toobin                     2.40 Review and revise comments to the mediation
                                                statement per E. Andrews comments (1.6); coordinate
                                                discovery responses (.30); update mediation statement
                                                and send to B. Beller (.50).
07/14/2023 Andrew Dietderich               0.40 Call with B. Glueckstein and B. Beller re: Genesis
                                                litigation issues.
07/14/2023 Brian Glueckstein               4.30 Meeting with S. Fulton, and E. Shehada to discuss
                                                FTX’s proposed response to pro se complaint (.20);
                                                call with B. Beller re: Genesis litigation (.20); call with
                                                B. Beller and A. Dietderich re: Genesis litigation issues
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Date        Name                           Hours Description

                                                  (.40); call with S&C team and Paul Hastings (UCC)
                                                  re: Genesis litigation issues and strategy (.60); review
                                                  information and follow-up re: Genesis litigation issues
                                                  (.80); correspondence re: UST redaction issues and
                                                  follow-up (.40); review and respond to UST issues re:
                                                  Pateno settlement (.70); revise Pateno settlement
                                                  order and follow-up re: same (.70); follow-up on
                                                  expert retentions (.30).
07/14/2023 Anthony Lewis                    0.10 Correspondence with S&C team re: SDNY criminal
                                                 litigation.
07/14/2023 Benjamin Beller                  0.60 Call with B. Glueckstein re: Genesis litigation (.20);
                                                 call with B. Glueckstein and A. Dietderich re: Genesis
                                                 litigation issues (.40).
07/14/2023 Mevelyn Ong                      1.50 Manage EDLS coordination and team questions re:
                                                 Genesis review workstream (.80); correspondence
                                                 with S&C team re: same. (.70).
07/14/2023 Sean Fulton                      0.80 Meeting with E. Shehada re: FTX’s proposed
                                                 response to pro se complaint (.60); meeting with B.
                                                 Glueckstein and E. Shehada re: FTX’s proposed
                                                 response to pro se complaint (.20).
07/14/2023 Zoeth Flegenheimer               0.30 Summarize filings in S. Bankman-Fried's criminal
                                                 proceeding and correspondence with investigations
                                                 team re: same.
07/14/2023 Meaghan Kerin                    0.30 Review Z. Flegenheimer summary of updates in S.
                                                 Bankman-Fried criminal action (.10); review court
                                                 filings re: same (.20).
07/14/2023 Sienna Liu                       1.30 Draft summaries of updates on preference actions
                                                 (.70); communicate with team re: review of Genesis
                                                 document production (.60).
07/14/2023 Julian Keeley                    2.10 Prepare second document production to Genesis
                                                 (1.0); draft and revise production cover letter (1.1).
07/14/2023 Emile Shehada                    1.60 Review and analyze Stuart complaint (.50); review
                                                 and analyze Stuart discovery (.30); meeting with S.
                                                 Fulton and to discuss FTX’s proposed response to
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Date        Name                          Hours Description

                                                 pro se complaint (.60); meeting with B. Glueckstein
                                                 and S. Fulton to discuss FTX’s proposed response to
                                                 pro se complaint (.20).
07/14/2023 Adam Toobin                     0.90 Review responses from UST on Pateno motion (.20);
                                                draft declaration outline for B. Glueckstein (.70).
07/16/2023 Sienna Liu                      0.10 Revise excluded issues list in connection with litigation
                                                with Genesis.
07/16/2023 Julian Keeley                   0.80 Review Genesis documents for privilege and
                                                relevance.
07/17/2023 Stephen Ehrenberg               0.30 Review list of vendors from A&M (.20); email
                                                correspondence with M. Cilia (RLKS), D. O'Hara
                                                and Z. Flegenheimer re: notice to vendors and service
                                                providers (.10).
07/17/2023 Brian Glueckstein               1.30 Meet and confer call with Genesis counsel re:
                                                discovery and open issues and follow-up.
07/17/2023 Julian Keeley                   3.00 Review Genesis documents for privilege and
                                                relevance.
07/17/2023 Nam Luu                         0.20 Review property rights adversary proceeding dockets
                                                to monitor upcoming deadlines.
07/17/2023 Adam Toobin                     5.20 Review UST messages and revise declaration (.70);
                                                update mediation statement to reflect comments by B.
                                                Beller (1.5); update mediation statement per
                                                comments from E. Andrews (1.8); review safe harbor
                                                caselaw (1.2).
07/17/2023 Callen DiGiovanni               1.70 Compile data on international privacy laws. (no
                                                charge)
07/18/2023 Stephen Ehrenberg               0.30 Revise hold notice to vendors (.20); email
                                                correspondence with Z. Flegenheimer and S. Holley
                                                re: hold notice to vendors same (.10).
07/18/2023 Stephen Ehrenberg               0.30 Email correspondence with S&C team re: request
                                                from insurers regarding former officers.
07/18/2023 Christopher Dunne               0.20 Call with M. Tomaino re: confidentiality order issues.
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Date        Name                          Hours Description
07/18/2023 Sean Fulton                     0.20 Review order from Third Circuit certifying examiner
                                                appeal.
07/18/2023 Nam Luu                         0.40 Email correspondence with S&C team re: status of
                                                property rights litigation.
07/18/2023 Emile Shehada                   3.20 Research and draft letter opposing discovery
                                                submitted by pro se litigant (3.0); draft material
                                                summary clarifying relationship between Salameda
                                                Ltd. and FTX (.20).
07/18/2023 Adam Toobin                     0.60 Review B. Beller comments to mediation statement.
07/19/2023 Stephen Ehrenberg               0.20 Email correspondence with J. Croke and B.
                                                Glueckstein re: motion for leave to serve rule 45
                                                document subpoenas on debtors.
07/19/2023 Brian Glueckstein               3.10 Correspondence with J. Bromley re: examiner strategy
                                                issues and follow-up (.50); draft and revise settlement
                                                procedures motion (2.6).
07/19/2023 James Bromley                   0.50 Email correspondence with A. Dietderich re:
                                                mediation strategies (.20); review materials re: same
                                                (.30).
07/19/2023 Benjamin Beller                 0.70 Call with E. Andrews, S. Liu, and A. Toobin re:
                                                Voyager mediation statement (.20); call with Alix
                                                team, E. Andrews, and S. Liu re: exhibits to the
                                                Voyager mediation statement (.50).
07/19/2023 Mevelyn Ong                     2.70 Attend to Genesis document review workstream
                                                (1.1); review team emails and work product (1.6).
07/19/2023 Eric Andrews                    1.20 Call with B. Beller, S. Liu, and A. Toobin re: Voyager
                                                mediation statement (.20); call with Alix team, B.
                                                Beller, and S. Liu re: exhibits to the Voyager
                                                mediation statement (.50); correspondence re:
                                                revisions to Voyager mediation statement (.30);
                                                correspondence re: Genesis hearing (.20).
07/19/2023 Sienna Liu                      2.30 Revise Voyager mediation statement (1.6); call with B.
                                                Beller, E. Andrews, and A. Toobin re: Voyager
                                                mediation statement (.20); call with Alix team, B.
                                                Beller, E. Andrews, and re: exhibits to the Voyager
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                                                  mediation statement (.50).
07/19/2023 Emile Shehada                    0.60 Revise letter opposing discovery submitted by pro se
                                                 litigant.
07/19/2023 Adam Toobin                      0.20 Call with E. Andrews, S. Liu, and B. Beller re:
                                                 Voyager mediation statement.
07/20/2023 Brian Glueckstein                1.00 Response to Emergent information requests (.60);
                                                 revise documents re: Pateno settlement and follow-up
                                                 J. Ray (FTX) (.40).
07/20/2023 Nicole Friedlander               0.50 Review and analyze SDNY motion re: bail order
                                                 (.30); correspondence with J. Ray (FTX) and Z.
                                                 Flegenheimer re: same (20).
07/20/2023 Benjamin Beller                  2.00 Call with Alix team, E. Andrews, S. Liu and A.
                                                 Toobin re: updated valuation calculations (.40); review
                                                 and revise Voyager mediation statement (1.6).
07/20/2023 Mevelyn Ong                      1.20 Finalize document selection from Genesis document
                                                 review workstream and send to B. Beller (1.0);
                                                 review internal emails (.20).
07/20/2023 Zoeth Flegenheimer               0.60 Review and summarize filings in S. Bankman-Fried's
                                                 criminal proceeding.
07/20/2023 Meaghan Kerin                    0.20 Review court filings in S. Bankman-Fried criminal
                                                 action.
07/20/2023 Andrew Thompson                  1.10 Read and review filed version of former FTX
                                                 personnel complaint.
07/20/2023 Eric Andrews                     2.10 Revise Voyager mediation statement (.80); coordinate
                                                 edits to Voyager mediation statement (.70); call with
                                                 Alix team, B. Beller, S. Liu and A. Toobin re: updated
                                                 valuation calculations (.40); call with A. Toobin re:
                                                 mediation statement updates (.20).
07/20/2023 Sienna Liu                       1.40 Revise Voyager mediation statement (1.0); call with
                                                 Alix team, B. Beller, E. Andrews, and A. Toobin re:
                                                 updated valuation calculations (.40).
07/20/2023 Emile Shehada                    0.50 Revise letter opposing discovery submitted by pro se
                                                 litigant.
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07/20/2023 Adam Toobin                      2.30 Revise mediation statement per A. Dietderich (.40);
                                                 call with Alix team, B. Beller, E. Andrews and S. Liu
                                                 re: updated valuation calculations (.40); call with E.
                                                 Andrews re: mediation statement updates (.20);
                                                 incorporate caselaw into mediation statement (1.3).
07/21/2023 Stephanie Wheeler                0.20 Correspondence to Z. Flegenheimer re: Judge Kaplan
                                                 order re: July 26 hearing (.10); read Z. Flegenheimer
                                                 email re: S. Bankman-Fried court filing (.10).
07/21/2023 Andrew Dietderich                0.80 Review issues re: third-party use of FTX name (.20);
                                                 email correspondence with J. Ray (FTX) and B.
                                                 Glueckstein re: problem re: same (.20) internal emails
                                                 re: trademark enforcement (.10); review reporting of
                                                 recent founder lawsuit and notes re: same (.30).
07/21/2023 Bradley Harsch                   0.10 Review email re: DOJ motion on extrajudicial
                                                 statements.
07/21/2023 Mevelyn Ong                      0.30 Review internal emails.
07/21/2023 Meaghan Kerin                    0.20 Review Z. Flegenheimer email re: updates in S.
                                                 Bankman-Fried criminal action (.10); review related
                                                 court order (.10).
07/21/2023 Tatum Millet                     0.30 Pull 13D filing and exhibits for S. Ehrenberg re:
                                                 relevant third party.
07/23/2023 Brian Glueckstein                1.10 Call with S&C team, Cleary (Genesis) and Paul
                                                 Hastings (UCC) re: Genesis litigation and potential
                                                 resolution (.80); correspondence with A. Dietderich
                                                 and follow-up re: same (.30).
07/23/2023 Michele Materni                  0.20 Review court filing by S. Bankman-Fried.
07/23/2023 Zoeth Flegenheimer               0.40 Review and summarize filings in S. Bankman-Fried's
                                                 criminal proceeding.
07/23/2023 Meaghan Kerin                    0.20 Review updates re: upcoming bail hearing in S.
                                                 Bankman-Fried criminal action.
07/24/2023 David Hariton                    0.40 Meeting with S. Levin re: tax issues.
07/24/2023 Brian Glueckstein                1.80 Correspondence with S&C team re: IEX settlement
                                                 agreement (.40); respond to Genesis requests and
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                                                  settlement issues (.60); advance retention of experts
                                                  (.50); correspondence with Canadian counsel re:
                                                  Pateno settlement documents (.30).
07/24/2023 Nicole Friedlander               0.70 Call with SDNY re: S. Bankman-Fried motion and
                                                 debtors (.30); correspondence to J. Ray (FTX) and
                                                 S. Peikin re: same (.40).
07/24/2023 Bradley Harsch                   0.20 Review correspondence from S&C team re: S.
                                                 Bankman-Fried bail conditions hearing.
07/24/2023 Mevelyn Ong                      5.70 Call with S. Liu re: production deficiency letter (.20);
                                                 review internal emails re: FTI (.80); review and revise
                                                 R. Pester's draft letter re: production deficiencies
                                                 (4.7).
07/24/2023 Sean Fulton                      4.60 Correspondence with B. Glueckstein re: status of L.
                                                 Stuart adversary proceeding (.30); research re:
                                                 appropriate service in adversary proceedings (3.1);
                                                 call with B. Bakemeyer (W&C) to discuss L. Stuart
                                                 adversary proceeding (.20); email correspondence
                                                 with P. Maynard (Maynard Law) re: receipt of papers
                                                 related to L. Stuart adversary proceeding (.30); revise
                                                 draft letter to L. Stuart re: discovery in adversary
                                                 proceeding (.70).
07/24/2023 Zoeth Flegenheimer               0.20 Review and summarize filings in S. Bankman-Fried's
                                                 criminal proceeding.
07/24/2023 Meaghan Kerin                    0.20 Review additional updates re: upcoming bail hearing in
                                                 S. Bankman-Fried criminal action.
07/24/2023 Andrew Thompson                  0.60 Read and review S. Bankman-Fried letter to the court
                                                 re: upcoming bail hearing and document disclosure and
                                                 government letter governing extrajudicial statements by
                                                 the parties.
07/24/2023 Sienna Liu                       2.00 Email correspondence with M. Ong re: production
                                                 deficiency letter (.50); call with M. Ong re: production
                                                 deficiency letter (.20); further research re: estimation
                                                 of claims (1.3).
07/24/2023 Emile Shehada                    0.70 Revise letter opposing discovery submitted by pro se
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

                                                  litigant.
07/25/2023 Steven Peikin                    0.30 Review correspondence with N. Friedlander re:
                                                 potential gag order and correspondence to S&C team
                                                 re: FTX position on same.
07/25/2023 Brian Glueckstein                1.70 Call with potential expert firm re: retention (.40); draft
                                                 and revise settlement procedures motion (1.3).
07/25/2023 Nicole Friedlander               1.00 Correspondence to A. Dietderich, B. Glueckstein and
                                                 J. Bromley re: bail revocation hearing (.20); prep for
                                                 same (.40); correspondence to J. Ray (FTX) re: bail
                                                 revocation hearing (.40).
07/25/2023 James Bromley                    1.00 Email correspondence with S&C team re: examiner
                                                 appeal (.30); review materials re: same (.70).
07/25/2023 Benjamin Beller                  1.30 Meeting with S&C team re: Voyager mediation
                                                 statement.
07/25/2023 Mevelyn Ong                      0.70 Meeting with S&C team re: Voyager mediation
                                                 statement. (partial attendance)
07/25/2023 Mevelyn Ong                      2.50 Review reply mediation statement (2.3); review
                                                 internal emails re: various subjects (.20).
07/25/2023 Sean Fulton                      1.50 Review docket for L. Stuart adversary proceeding
                                                 (.20); review text order re: statement on examiner
                                                 appeal briefing schedule (.30); correspondence with
                                                 B. Glueckstein re: strategy for statement on examiner
                                                 appeal briefing schedule (1.0).
07/25/2023 Eric Andrews                     1.30 Meeting with S&C team re: Voyager mediation
                                                 statement.
07/25/2023 Sienna Liu                       2.40 Review Voyager's initial mediation statement (1.5);
                                                 meeting with S&C team re: Voyager mediation
                                                 statement (partial attendance - .90).
07/25/2023 Julian Keeley                    0.30 Meeting with S&C team re: Voyager mediation
                                                 statement. (partial attendance)
07/25/2023 Nam Luu                          0.10 Email correspondence with E. Loh re: class action
                                                 adversary proceeding timeline.
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description
07/25/2023 Rachel Pester                    3.10 Read Voyager mediation submissions (1.8); meeting
                                                 with S&C team re: Voyager mediation statement
                                                 (1.3).
07/25/2023 Adam Toobin                      1.70 Reviewed Voyager mediation statement (.20); meeting
                                                 with S&C team re: Voyager mediation statement
                                                 (1.3); follow up from mediation statement meeting
                                                 (.20).
07/26/2023 Stephanie Wheeler                0.50 Call with N. Friedlander re: S. Bankman-Fried hearing
                                                 (.20); call with J. Croke re: S. Bankman-Fried hearing
                                                 (.10); call with J. Rosenfeld re: S. Bankman-Fried
                                                 hearing (.10); read Z. Flegenheimer email re: S.
                                                 Bankman Fried court hearing (.10).
07/26/2023 Kathleen McArthur                0.10 Email correspondence with S. Wheeler et al. re:
                                                 potential draft reports.
07/26/2023 Jacob Croke                      0.20 Analyze SDNY filings re: criminal proceedings.
07/26/2023 Nicole Friedlander               0.40 Correspondence with J. Ray (FTX) re: revocation
                                                 hearing.
07/26/2023 Nicole Friedlander               1.60 Attend hearing re: S. Bankman-Fried bail revocation
                                                 and related motion (1.4); call with S. Wheeler re:
                                                 same (.20).
07/26/2023 James Bromley                    0.50 Call with J. Ray (FTX), QE and S&C re: litigation
                                                 issues.
07/26/2023 Sharon Levin                     0.40 Email correspondence with J. Ray (FTX), D. Hariton,
                                                 A, Dietrich, and J. Bromley re: draft plan language.
07/26/2023 Anthony Lewis                    0.10 Correspondence with S&C teams re: SDNY S.
                                                 Bankman-Fried litigation.
07/26/2023 Mevelyn Ong                      0.80 Review email correspondence re: estimation letter
                                                 redraft.
07/26/2023 Kathleen Donnelly                0.10 Review incoming email re: S. Bankman-Fried
                                                 hearings.
07/26/2023 Zoeth Flegenheimer               2.60 Attend hearing in S. Bankman-Fried's criminal
                                                 proceeding (1.4); review and revise filings in S.
                                                 Bankman-Fried's criminal proceeding and summarize
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

                                                  hearing (1.2).
07/26/2023 Meaghan Kerin                    0.50 Review further updates re: S. Bankman-Fried criminal
                                                 action.
07/26/2023 Jared Rosenfeld                  0.10 Call with S. Wheeler re: S. Bankman-Fried hearing.
07/26/2023 Andrew Thompson                  0.50 Read and review S. Bankman-Fried hearing summary
                                                 and TRO and DOJ letter.
07/26/2023 Eric Andrews                     1.90 Revise disputed issues chart re: Genesis for letter to
                                                 Judge.
07/26/2023 Nam Luu                          0.10 Review correspondence with S&C team re: property
                                                 rights litigation strategy.
07/27/2023 Andrew Dietderich                0.20 Call with B. Glueckstein re: Genesis settlement issues.
07/27/2023 Brian Glueckstein                2.30 Review and revise Genesis settlement letter to SDNY
                                                 (.60); call with B. Beller re: same (.10); call with A.
                                                 Dietderich re: Genesis settlement issues (.20); review
                                                 information and consider response 3AC inquiry (.60);
                                                 draft and revise IEX settlement papers (.80).
07/27/2023 Anthony Lewis                    0.30 Review filings in SDNY S. Bankman-Fried litigation.
07/27/2023 Benjamin Beller                  0.10 Call with B. Glueckstein re: Genesis settlement letter
                                                 to SDNY.
07/27/2023 Zoeth Flegenheimer               0.10 Review and summarize filings in S. Bankman-Fried's
                                                 criminal proceeding.
07/27/2023 Meaghan Kerin                    0.50 Email correspondence with S. Wheeler re: FTX media
                                                 updates (.10); review media coverage re: FTX (.30);
                                                 review new filings in S. Bankman-Fried criminal action
                                                 (.10).
07/27/2023 Eric Andrews                     5.00 Research the classification of cryptocurrency by the
                                                 OCC and other federal agencies (2.4); review
                                                 FTX-Voyager asset purchase agreement (.50); review
                                                 Voyager objection to Alameda claims (.60); review
                                                 Voyager UCC objection to Alameda claims (.70);
                                                 review FTX objection to Voyager disclosure
                                                 statement (.40); review FTX amended complaint
                                                 against Voyager (.40).
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

07/28/2023 Brian Glueckstein                3.70 Call with A. Dietderich, C. Howard, J. Croke, and H.
                                                 Middleditch re: English law expert evidence and memo
                                                 on property rights issues (1.7); correspondence with
                                                 S&C team re: examiner appeal motion (.20);
                                                 correspondence with counsel and LRC re: extensions
                                                 of property adversary proceedings stays (.60); review
                                                 and revise settlement procedures motion (1.2).
07/28/2023 Christopher Howard               1.90 Call with A. Dietderich, B. Glueckstein, J. Croke, and
                                                 H. Middleditch re: English law expert evidence and
                                                 memo on property rights issues (1.7); follow up call
                                                 with H. Middleditch (.20).
07/28/2023 Mehdi Ansari                     0.50 Email correspondence with M. De Leeuw and Carrier
                                                 re: letter to a third party.
07/28/2023 Jacob Croke                      1.70 Call with A. Dietderich, B. Glueckstein, C. Howard,
                                                 and H. Middleditch re: English law expert evidence
                                                 and memo on property rights issues.
07/28/2023 Anthony Lewis                    0.50 Review seizure orders (.30); review SDNY filings
                                                 (.20).
07/28/2023 William Wagener                  0.20 Review prosecutors' letter requesting pre-trial
                                                 detention of S. Bankman-Fried.
07/28/2023 Rita Carrier                     0.50 Email correspondence with M. Ansari, M. De Leeuw,
                                                 and L. Levin re: drafting cease-and-desist letter to
                                                 user of the FTX trademark in connection with
                                                 collection of creditors’ claims (.30); review and revise
                                                 letter (.20).
07/28/2023 Mevelyn Ong                      0.30 Review email correspondence with B. Beller and R.
                                                 Pester re: safe harbor case law research findings.
07/28/2023 Michele Materni                  0.50 Review USAO submission re: revocation of
                                                 defendant's bail.
07/28/2023 Hattie Middleditch               2.20 Email correspondence re: expert evidence and
                                                 coordinate call re: same (.30); call with A. Dietderich,
                                                 B. Glueckstein, C. Howard and J. Croke re: English
                                                 law expert evidence and memo on property rights
                                                 issues (1.7); follow up call with C. Howard (.20).
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

07/28/2023 Zoeth Flegenheimer               1.20 Correspondence to C. Dunne re: schedule for S.
                                                 Bankman-Fried's criminal trial (.10); review and
                                                 summarize filings in S. Bankman-Fried's criminal
                                                 proceeding (1.1).
07/28/2023 Meaghan Kerin                    0.30 Review media reports re: putative class action filed by
                                                 FTX customer (.10); review additional filings re: S.
                                                 Bankman-Fried bail revocation (.20).
07/28/2023 Nam Luu                          0.50 Email correspondence with S&C team re: property
                                                 rights litigation timeline and briefing.
07/29/2023 Andrew Dietderich                1.70 Call with B. Glueckstein, C. Howard, H. Middleditch
                                                 and J. Croke re: English law expert evidence and
                                                 memo on property rights issues.
07/29/2023 Christopher Howard               0.90 Email correspondence with C. Beatty and H.
                                                 Middleditch re: work on preferences research.
07/29/2023 Adam Toobin                      1.20 Email correspondence with E. Andrews re: mediation
                                                 reply outline.
07/30/2023 Brian Glueckstein                1.00 Review and revise response to UST examiner appeal
                                                 motion to expedite (.70); correspondence with J.
                                                 Bromley and UCC re: same (.30).
07/30/2023 Bradley Harsch                   0.20 Review summary of SDNY submission re: S.
                                                 Bankman-Fried bail conditions.
07/30/2023 Benjamin Beller                  0.60 Review emails re: Voyager mediation statement.
07/30/2023 Hattie Middleditch               0.70 Email correspondence with C. Howard and L. Su re:
                                                 property rights memo.
07/31/2023 Stephen Ehrenberg                1.40 Review report of investigation from QE.
07/31/2023 Stephen Ehrenberg                0.40 Review investigation report (.30); communications
                                                 with J. McDonald re: same (.10).
07/31/2023 Stephen Ehrenberg                0.50 Meeting with B. Glueckstein, C. Dunne, J. Croke, J.
                                                 Bromley, N. Friedlander and S. Wheeler re: report on
                                                 investigation by QE.
07/31/2023 Brian Glueckstein                1.40 Review and revise opposition to examiner appeal
                                                 (.40); draft and revise settlement procedures motion
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

                                                   (.60); call with S&C and Paul Hastings teams re:
                                                   settlement procedures motion issues (.40).
07/31/2023 Christopher Howard               0.50 Correspondence with L. Su re: English law questions
                                                 on treatment of digital assets and transfer of title.
07/31/2023 James McDonald                   1.30 Review materials and discussions re: professionals
                                                 report.
07/31/2023 Anthony Lewis                    0.30 Review draft motion in Ren litigation.
07/31/2023 Lester Su                        0.50 Correspondence with C. Howard re: English law
                                                 questions on treatment of digital assets and transfer of
                                                 title.
07/31/2023 Benjamin Beller                  1.10 Review Voyager mediation submission.
07/31/2023 Mevelyn Ong                      2.00 Review reply mediation statement and attend to
                                                 related emails.
07/31/2023 Zoeth Flegenheimer               0.10 Correspondence to B. Glueckstein re: S.
                                                 Bankman-Fried's bail revocation hearing.
07/31/2023 Julian Keeley                    5.90 Draft Genesis 9019 motion.

Total                                     234.70
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

07/03/2023 Stephanie Wheeler            0.20 Email correspondence with B. Glueckstein, N.
                                             Friedlander, J. Croke and C. Dunne re: meeting with
                                             UCC.
07/03/2023 Andrew Dietderich            0.40 Email correspondence with E. Broderick (Eversheds)
                                             and H. Parkhill (Rothschild) re: ad hoc group of
                                             non-US customers.
07/03/2023 Nicole Friedlander           0.20 Email correspondence with B. Glueckstein and J.
                                             Croke re: UCC requests for meeting.
07/04/2023 Andrew Dietderich            0.30 Email correspondence re: ad hoc group organization.
07/05/2023 Andrew Dietderich            0.70 Call with B. Glueckstein and Paul Hastings team re:
                                             UCC workstreams and updates.
07/05/2023 Brian Glueckstein            0.70 Call with A. Dietderich and Paul Hastings team re:
                                             UCC workstreams and updates.
07/06/2023 Andrew Dietderich            0.50 Email correspondence with E. Broderick (Eversheds)
                                             re: ad hoc committee membership holdings (.20);
                                             email correspondence with J. Ray (FTX) re: same
                                             (.30).
07/07/2023 Brian Glueckstein            1.60 Call with Paul Hastings team re: UCC workstreams
                                             and updates.
07/07/2023 Jacob Croke                  1.90 Analyze materials re: asset recoveries for UCC (.40);
                                             correspondence with UCC, B. Glueckstein and S.
                                             Wheeler re: asset recovery and investigative
                                             workstreams (1.5).
07/10/2023 Andrew Dietderich            0.80 Email correspondence with J. Ray (FTX) re: ad hoc
                                             committee organization (.40); call with H. Parkhill
                                             (Fox Rothschilds) re: same (.30); follow up
                                             correspondence with S&C team re: ad hoc counsel
                                             (.10).
07/11/2023 Andrew Dietderich            0.60 Email correspondence with Eversheds team, S&C
                                             team and J. Ray (FTX) re: ad hoc groups and
                                             restriction options.
07/11/2023 Benjamin Beller              0.30 Call with S. Liu and A. Toobin re: meeting with Paul
                                             Hastings re: FTX preferences arguments and related
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

                                              workstreams.
07/11/2023 Sienna Liu                   0.30 Call with A. Toobin and B. Beller re: meeting with
                                             Paul Hastings re: FTX preferences argument and
                                             related workstreams.
07/11/2023 Adam Toobin                  0.30 Call with B. Beller and S. Liu to discuss meeting with
                                             Paul Hastings re: FTX preferences arguments and
                                             related workstreams.
07/12/2023 Andrew Dietderich            0.50 Call with B. Gluecksetin, A. Kranzley and Paul
                                             Hastings team re: UCC workstreams and updates
                                             (partial attendance).
07/12/2023 Brian Glueckstein            0.80 Call with A. Dietderich, A. Kranzley and Paul
                                             Hastings team re: UCC workstreams and updates.
07/12/2023 Alexa Kranzley               0.80 Call with A. Dietderich, B. Glueckstein and Paul
                                             Hastings team re: UCC workstreams and updates.
07/17/2023 Andrew Dietderich            0.80 Call with creditors re: KYC procedures (.50);
                                             correspondence with UCC re: next meeting (.30).
07/17/2023 Nicole Friedlander           0.20 Email correspondence with J. Ray (FTX) and S.
                                             Wheeler re: creditor inquiries.
07/17/2023 Alexa Kranzley               0.90 Call with J. Ray (FTX), S&C team, SilverPoint and
                                             Prior Cushman (.50); update call with Paul Hastings
                                             and S&C team (.40).
07/18/2023 Andrew Dietderich            1.00 Email correspondence with S&C team re: UCC
                                             updates (.30); correspondence with J. Ray (FTX) re:
                                             UCC plan issues (.20); email correspondence with K.
                                             Hansen (Paul Hastings) re: same (.10); call with E.
                                             Broderick (Eversheds) re: plan process (.40).
07/18/2023 Benjamin Zonenshayn          0.20 Call with creditor re: bar date.
07/19/2023 Andrew Dietderich            1.30 Call with E. Broderick (Eversheds) re: ad hoc
                                             involvement and priorities (.70); follow up briefing with
                                             B. Glueckstein (.20); review and approve materials to
                                             be shared with ad hoc financial advisor (.40).
07/19/2023 James Bromley                0.40 Email correspondence with S&C and A&M teams re:
                                             ad hoc issues and Rothschild engagement.
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

07/19/2023 Alexa Kranzley               0.10 Review creditor inquiries.
07/20/2023 Andrew Dietderich            5.40 Correspondence with K. Hansen (Paul Hastings) re:
                                             plan matters (1.4); email correspondence with ad hoc
                                             re: member restriction (.60); review holdings and
                                             preference information (.40); review and approve
                                             NDA forms (.70); call with J. Ray (FTX) and B.
                                             Glueckstein re: ad hoc (.20); call with J. Ray (FTX),
                                             advisors and individual UCC members re: crypto
                                             liquidation (1.1); follow-up correspondence to K.
                                             Hansen (Paul Hastings) re: concerns (.20); prepare
                                             notes re: conflicts re: individual members (.60);
                                             follow-up correspondence with B. Glueckstein re:
                                             same (.10); email correspondence with A. Entwistle
                                             (Entwistle Law) re: plan comments (.10).
07/20/2023 James Bromley                1.00 Call with J. Ray (FTX), A&M and S&C re: creditor
                                             issues.
07/20/2023 James Bromley                1.50 Call with creditors re: monetization of tokens (1.3);
                                             email correspondence with J. Ray (FTX) and A.
                                             Dietderich re: same (.20).
07/20/2023 Alexa Kranzley               1.30 Update call with Paul Hastings and S&C teams.
07/21/2023 Andrew Dietderich            0.30 Email correspondence with J. Ray (FTX) re: UCC
                                             conflicts (.10); email correspondence to ad hoc re:
                                             organizational matters (.20).
07/21/2023 Nicole Friedlander           0.20 Email correspondence with J. Ray (FTX) and S.
                                             Wheeler re: creditor inquiry.
07/21/2023 Alexa Kranzley               0.50 Correspondences with Paul Hastings re: KYC and
                                             related issues (.20); correspondences with Eversheds
                                             team re: claims issues (.30).
07/24/2023 Julie Kapoor                 0.20 Call with creditor re: inquiry (.10); review creditor
                                             inquiries (.10).
07/25/2023 Andrew Dietderich            0.30 Prepare notes on UCC communications for J. Ray
                                             (FTX).
07/25/2023 Alexa Kranzley               0.10 Call with J. Kapoor re: creditor inquiry.
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description
07/25/2023 Julie Kapoor                 0.30 Call with creditor re: inquiry (.10); follow up
                                             correspondence with S&C team re: same (.10); call
                                             with A. Kranzley re: creditor inquiry (.10).
07/26/2023 Brian Glueckstein            1.50 Call with S&C and Paul Hastings teams re: plan term
                                             sheet and workstreams issues.
07/27/2023 Alexa Kranzley               0.30 Call with Paul Hastings re: surety and related issues.
07/28/2023 Andrew Dietderich            1.60 Email correspondence with ad hoc re: advisor
                                             retentions (.40); preparation of summary of agreement
                                             re: same for distribution to group (1.2).
07/28/2023 James Bromley                0.30 Call with Shearman re: creditor issues.
07/28/2023 Anthony Lewis                0.10 Correspondence with S&C team re: UCC inquiry.
07/29/2023 Andrew Dietderich            1.50 Call with E. Broderick (Eversheds) re: terms for ad
                                             hoc expense reimbursement (.70); revisions re: same
                                             (.60); correspondence with B. Glueckstein re: same
                                             (.20).
07/29/2023 Brian Glueckstein            0.20 Correspondence with Landis re: UCC information
                                             requests.
07/31/2023 Alexa Kranzley               0.30 Correspondences with creditors re: claims portal and
                                             related issues.

Total                                  32.70
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                                Project: 00024 - NON-WORKING TRAVEL

Date        Name                            Hours Description

07/26/2023 Zoeth Flegenheimer                1.00 Travel to and from courthouse for hearing in S.
                                                  Bankman-Fried's criminal proceeding.

Total                                        1.00
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                          Project: 00025 - PLAN AND DISCLOSURE STATEMENT

Date        Name                            Hours Description

07/01/2023 Brian Glueckstein                 0.30 Review and consider correspondence re: plan issues.
07/02/2023 Anshul Palavajjhala               0.70 Research re: legal issues affecting chapter 11 plan. (no
                                                  charge)
07/03/2023 James Bromley                     1.80 Review plan and plan issues.
07/03/2023 Fabio Weinberg Crocco             2.90 Call with A. Toobin re: plan memo (.60); revise plan
                                                  memo (2.0); review plan term sheet (.30).
07/03/2023 Adam Toobin                       5.50 Research re: potential plan objections (2.9); draft table
                                                  of potential plan objections (1.2); call with F.
                                                  Weinberg re: plan memo (.60); meeting with B.
                                                  Zonenshayn and J. Cohen re: plan memo (.80).
07/03/2023 Benjamin Zonenshayn               0.80 Meeting with A. Toobin and J. Cohen re: plan memo
                                                  (.80).
07/03/2023 Brian Budd                        5.30 Research re: token treatment (3.0); draft research
                                                  memo (.90); research re: token treatment (1.0); gather
                                                  sources for B. Zonenshayn (.40). (no charge)
07/03/2023 Jordan Cohen                      1.80 Meeting with A. Toobin and B. Zonenshayn re: plan
                                                  memo (.80); edit plan objection summary (1.0). (no
                                                  charge)
07/03/2023 Anshul Palavajjhala               2.50 Research re: legal issues affecting chapter 11 plan. (no
                                                  charge)
07/04/2023 Andrew Dietderich                 1.10 Revise plan term sheet (.60) email correspondence
                                                  with J. Ray (FTX) and team re: same (.50).
07/04/2023 Fabio Weinberg Crocco             1.70 Revise plan memo.
07/05/2023 Andrew Dietderich                 2.10 Call re: plan process with J. Ray (FTX), A&M team
                                                  and S&C team (.50); follow up re: same (.40); revise
                                                  plan term sheet (.40); brief J. Ray (FTX) on same
                                                  (.80).
07/05/2023 Brian Glueckstein                 0.90 Call re: plan process with J. Ray (FTX), A&M team
                                                  and S&C team (.50); review revised plan term sheet
                                                  and supporting documents (.40).
07/05/2023 James Bromley                     1.10 Review plan and plan issues.
07/05/2023 James Bromley                     0.50 Call re: plan process with J. Ray (FTX), A&M team
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                        Project: 00025 - PLAN AND DISCLOSURE STATEMENT

Date        Name                          Hours Description

                                                  and S&C team (.50).
07/05/2023 Fabio Weinberg Crocco           3.30 Call re: plan process with J. Ray (FTX), A&M team
                                                and S&C team (.50); review plan term sheet (.80);
                                                review plan memo (2.0).
07/05/2023 Adam Toobin                     1.50 Call re: plan process with J. Ray (FTX), A&M team
                                                and S&C team (.50); update plan objection chart
                                                (1.0).
07/05/2023 Benjamin Zonenshayn             0.70 Draft summary of plan research for F. Weinberg.
07/05/2023 Benjamin Zonenshayn             0.50 Call re: plan process with J. Ray (FTX), A&M team
                                                and S&C team.
07/05/2023 Benjamin Zonenshayn             1.00 Revise plan term sheet.
07/05/2023 Brian Budd                      1.00 Research re: token treatment. (no charge)
07/05/2023 Anshul Palavajjhala             2.60 Research re: plan process. (no charge)
07/06/2023 Andrew Dietderich               0.40 Meeting re: plan term sheet with F. Weinberg, B.
                                                Zonenshayn, and C. Hodges.
07/06/2023 Alexa Kranzley                  0.60 Review plan term sheet and discuss with internal team.
07/06/2023 Fabio Weinberg Crocco           2.70    Meeting re: plan term sheet with A. Dietderich, B.
                                                  Zonenshayn, and C. Hodges (.40); meeting with C.
                                                  Hodges re: status of plan (.30); update plan memo
                                                  (.90); update plan term sheet (.90); email
                                                  correspondence with A. Dietderich re: same (.20).
07/06/2023 Christian Hodges                4.80 Meeting re: plan term sheet with A. Dietderich, F.
                                                Weinberg, and B. Zonenshayn (.40); meeting with F.
                                                Weinberg and re: status of plan (.30); meeting with B.
                                                Zonenshayn re: plan status (.60); call with A. Toobin
                                                re: plan status (.20); review plan memo (2.4); review
                                                plan term sheet (.90).
07/06/2023 Adam Toobin                     0.20 Call with C. Hodges re: plan status.
07/06/2023 Benjamin Zonenshayn             1.40 Meeting with C. Hodges re: plan status (.60); meeting
                                                with A. Dietderich, F. Weinberg, and C. Hodges re:
                                                plan term sheet (.40); meeting with S&C team re:
                                                research for chapter 11 plan (.40).
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                          Project: 00025 - PLAN AND DISCLOSURE STATEMENT

Date        Name                            Hours Description
07/06/2023 Brian Budd                        3.30 Meeting with S&C team re: research for chapter 11
                                                  plan (.40); review plan term sheet (.80); research re:
                                                  treatment of NFTs (1.1); research re: plan (1.0). (no
                                                  charge)
07/06/2023 Brian Budd                        2.00 Review of treatment of tokens (1.7); draft research
                                                  memo (.30). (no charge)
07/06/2023 Jordan Cohen                      4.50 Meeting with S&C team re: research for chapter 11
                                                  plan (.40); research re: substantive consolidation (4.1).
                                                  (no charge)
07/06/2023 Sam Fineberg                      4.80 Research re: chapter 11 plan (4.4); meeting with S&C
                                                  team re: research for chapter 11 plan (.40). (no
                                                  charge)
07/07/2023 Andrew Dietderich                 0.30 Revise plan term sheet (.20) email correspondence
                                                  with J. Ray (FTX) re: same (.10).
07/07/2023 James Bromley                     0.70 Review plan issues and strategy.
07/07/2023 Alexa Kranzley                    1.00 Review and revise plan term sheet (.50);
                                                  correspondence with internal team re: same (.10);
                                                  review research re: related issues (.40).
07/07/2023 Fabio Weinberg Crocco             3.10 Review and revise plan memo (2.4); email
                                                  correspondence with C. Howard re: same (.20);
                                                  review objection summary chart (.50).
07/07/2023 Christian Hodges                  0.50 Review revisions to plan term sheet.
07/07/2023 Benjamin Zonenshayn               2.00 Revise plan memo (1.8); correspondence with A.
                                                  Dietderich and B. Budd re: same (.20).
07/07/2023 Brian Budd                        6.90 Research re: treatment of NFTs (1.1); research re:
                                                  plan (2.0); prepare research memo re: same (1.2);
                                                  further research re: plan (1.8); edit plan research chart
                                                  (0.8). (no charge)
07/07/2023 Jordan Cohen                      3.80 Research re: plan issues. (no charge)
07/07/2023 Sam Fineberg                      4.40 Research re: chapter 11 plan. (no charge)
07/08/2023 Andrew Dietderich                 0.80 Review plan issues research.
07/09/2023 Andrew Dietderich                 4.60 Review and revise plan memo for distribution as draft
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Date        Name                          Hours Description

                                                 to J. Ray (FTX).
07/09/2023 Fabio Weinberg Crocco           0.90 Review plan memo.
07/10/2023 Andrew Dietderich               2.10 Meeting with B. Glueckstein (partial attendance), A.
                                                Kranzley, C. Hodges, B. Zonenshayn and Paul
                                                Hastings team to discuss plan strategy (1.2); email
                                                correspondence with J. Ray (FTX) re: same (.30);
                                                revise term sheet (.60).
07/10/2023 Brian Glueckstein               1.50 Meeting with A. Dietderich, A. Kranzley, C. Hodges,
                                                B. Zonenshayn and Paul Hastings team to discuss plan
                                                strategy (partial attendance - .70); review documents
                                                and information re: plan issues (.80).
07/10/2023 Alexa Kranzley                  1.30 Meeting with A. Dietderich, B. Glueckstein (partial
                                                attendance), C. Hodges, B. Zonenshayn and Paul
                                                Hastings team to discuss plan strategy (1.2); follow up
                                                internal discussion re: same (.10).
07/10/2023 Alexa Kranzley                  1.10 Review plan research and correspondence with
                                                internal team re: same (.60); review and revise plan
                                                term sheet and related materials (.50).
07/10/2023 Christian Hodges                1.20 Meeting with A. Dietderich, B. Glueckstein (partial
                                                attendance), A. Kranzley, B. Zonenshayn and Paul
                                                Hastings team to discuss plan strategy (partial
                                                attendance - 1.0); correspondence with S&C team re:
                                                same (.20).
07/10/2023 Benjamin Zonenshayn             2.00 Meeting with A. Dietderich, B. Glueckstein (partial
                                                attendance), A. Kranzley, C. Hodges and Paul
                                                Hastings team to discuss plan strategy (1.2); meeting
                                                with B. Budd re: plan research (.30); review research
                                                re: plan (.50).
07/10/2023 Brian Budd                      4.50 Draft research memo re: plan (1.4); meeting with B.
                                                Zonenshayn re: plan research (.30); research re: plan
                                                (2.8). (no charge)
07/11/2023 Andrew Dietderich               1.60 Revise plan memo to incorporate board and J. Ray
                                                (FTX) comments (1.4); correspondence with B.
                                                Zonenshayn re: same (.20).
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Date        Name                          Hours Description
07/11/2023 Alexa Kranzley                  1.00 Meeting with S&C team re: plan drafting.
07/11/2023 Fabio Weinberg Crocco           1.00 Meeting with S&C team re: plan drafting.
07/11/2023 Christian Hodges                1.50 Meeting with S&C team re: plan drafting (1.0); review
                                                plan term sheet (.50).
07/11/2023 Benjamin Zonenshayn             4.00 Draft and revise plan (3.0); meeting with S&C team
                                                re: plan drafting (1.0).
07/12/2023 David Hariton                   0.30 Call with A. Dietderich re: plan tax matters.
07/12/2023 Andrew Dietderich               5.80 Email correspondence with J. Ray (FTX) and team re:
                                                plan term sheet (.40); revise term sheet (.40); revise
                                                plan memo (2.4); call with D. Hariton re: plan tax
                                                matters (.30); call with S&C team, A&M and J. Ray
                                                (FTX) re: plan analysis and issues (.80);
                                                correspondence with S&C team re: same (.20);
                                                meeting with B. Glueckstein and A. Kranzley re: plan
                                                issues (.50); distribution of plan term sheet to various
                                                creditor groups (.40); correspondence with S&C
                                                team re: approach to NDAs (.40).
07/12/2023 Brian Glueckstein               1.30 Call with S&C team, A&M and J. Ray (FTX) re: plan
                                                analysis and issues (.80); meeting with A. Dietderich
                                                and A. Kranzley re: plan issues (.50).
07/12/2023 Christopher Howard              0.70 Review and revise plan memo.
07/12/2023 Alexa Kranzley                  0.80 Correspondence with S&C team re: plan structure
                                                and related issues (.10); review materials re: same
                                                (.20); meeting with A. Dietderich and B. Glueckstein
                                                re: plan issues (.50).
07/12/2023 Fabio Weinberg Crocco           1.80 Meeting with C. Hodges, B. Zonenshayn, and A.
                                                Palavajjhala re: plan process (.40); draft plan (.70);
                                                review advisor NDAs for plan discussions (.30);
                                                meeting with C. Hodges re: ad hoc committee NDAs
                                                (.40).
07/12/2023 Christian Hodges                4.70 Meeting with F. Weinberg re: ad hoc committee
                                                NDAs (.40); revise ad hoc committee NDA (2.1);
                                                draft plan provisions (1.8); meeting with F. Weinberg,
                                                B. Zonenshayn and A. Palavajjhala re: plan process
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Date        Name                           Hours Description

                                                  (.40).
07/12/2023 Brian Budd                       3.90 Research re: plan (3.3); draft research memo
                                                 summarizing findings (.60). (no charge)
07/12/2023 Anshul Palavajjhala              2.10 Meeting with F. Weinberg, C. Hodges and B.
                                                 Zonenshayn re: plan process (.40); draft sections of
                                                 chapter 11 plan (1.7). (no charge)
07/13/2023 Andrew Dietderich                0.70 Review and revise various NDAs for plan discussions
                                                 (.40); email correspondence with team re: fee
                                                 reimbursement requests (.30).
07/13/2023 Alexa Kranzley                   1.40 Meeting with A&M and S&C teams to discuss
                                                 mapping and related issues (1.1); follow up
                                                 discussions with internal team re: plan structure and
                                                 related issues (.30).
07/13/2023 Fabio Weinberg Crocco            2.90 Review template for principals NDA (1.6); draft plan
                                                 (1.3).
07/13/2023 Christian Hodges                 8.60 Draft advisor NDA (1.8); draft principals NDA (2.4);
                                                 correspondence with ad hoc group re: NDAs (.80);
                                                 draft plan implementation section (3.6).
07/13/2023 Sophia Chen                      0.90 Compile and circulate plan research to C. Hodges.
07/14/2023 Andrew Dietderich                0.80 Correspondence with B. Zonenshayn and K.
                                                 McArthur re: FTT treatment.
07/14/2023 James Bromley                    0.50 Review plan issues.
07/14/2023 Fabio Weinberg Crocco            3.40 Review and revise NDAs for plan review process
                                                 (1.6); email correspondence with relevant third parties
                                                 re: same (.60); email correspondence with J. Ray
                                                 (FTX) re: same (.50); review plan (.70).
07/14/2023 Christian Hodges                 8.60 Draft plan language (3.6); review plan term sheet
                                                 (1.3); review edits (.90); revise NDAs (1.9);
                                                 correspondence with F. Weinberg re: NDAs (.90).
07/14/2023 Adam Toobin                      0.30 Call with B. Zonenshayn re: FTT memo.
07/14/2023 Benjamin Zonenshayn              1.00 Review plan (.70); call with B. Zonenshayn re: FTT
                                                 memo (.30).
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07/14/2023 Brian Budd                      1.50 Email correspondence re: plan memo (.20); research
                                                re: same (1.3). (no charge)
07/15/2023 Andrew Dietderich               1.00 Review and comment on NDA for ad hoc committee
                                                advisors (.70); email correspondence with team re:
                                                agenda for upcoming plan discussion (.30).
07/15/2023 Brian Glueckstein               0.60 Review and analyze plan correspondence and related.
07/15/2023 James Bromley                   0.70 Review plan issues.
07/15/2023 Fabio Weinberg Crocco           2.90 Draft plan (2.1); email correspondence with S&C
                                                team and J. Ray (FTX) re: NDAs for plan discussions
                                                (.60); review NDAs (.20).
07/15/2023 Christian Hodges                6.50 Draft plan language (3.4); revise plan term sheet (1.1);
                                                correspondence with F. Weinberg re: status of plan
                                                (.40); research re: plan (1.6).
07/15/2023 Brian Budd                      5.60   Research and draft memo re: plan issues. (no charge)
07/16/2023 Andrew Dietderich               0.60 Email correspondence with S&C team re: agenda for
                                                plan meeting (.20); call with J. Bromley and J. Ray
                                                (FTX) re: restricted information (.40).
07/16/2023 James Bromley                   0.40 Call with and A. Dietderich and J. Ray (FTX) re:
                                                restricted information.
07/16/2023 Fabio Weinberg Crocco           3.60 Email correspondence with A. Dietderich re: advisors
                                                NDA (.30); email correspondence with E. Broderick
                                                (Eversheds) re: same (.20); email correspondence
                                                with Willkie team re: same (.20); email
                                                correspondence with Rothschild team re: same (.20);
                                                email correspondence with J. Ray (FTX) re: same
                                                (.10); email correspondence with C. Hodges re: same
                                                (.20); revise advisors NDA (.40); draft plan (2.0).
07/16/2023 Brian Budd                      1.00 Respond to comments re: research memo (.50); revise
                                                same (.50). (no charge)
07/16/2023 Anshul Palavajjhala             8.20 Draft sections of plan. (no charge)
07/17/2023 Andrew Dietderich               2.30 Plan discussions with ad hoc committee (1.4);
                                                correspondence with J. Ray (FTX) and E. Broderick
                                                (Eversheds) re: same (.50); meeting with and B.
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Date        Name                          Hours Description

                                                 Zonenshayn and B. Budd re: token classification (.40).
07/17/2023 Brian Glueckstein               1.00 Meeting with ad hoc committee professionals, J. Ray
                                                (FTX), A&M team and S&C team re: plan process
                                                and term sheet.
07/17/2023 Alexa Kranzley                  1.20 Meeting with ad hoc committee professionals, J. Ray
                                                (FTX), A&M team and S&C team re: plan process
                                                and term sheet (1.0); review materials re: same (.20).
07/17/2023 Fabio Weinberg Crocco           2.20 Meeting with ad hoc committee professionals, J. Ray
                                                (FTX), A&M team and S&C team re: plan process
                                                and term sheet (1.0); meeting with B. Zonenshayn and
                                                C. Hodges re: plan open items (.50); review plan
                                                (.70).
07/17/2023 HyunKyu Kim                     0.50 Meeting with B. Zonenshayn re: FTT memo.
07/17/2023 Christian Hodges                4.00 Meeting with ad hoc committee professionals, J. Ray
                                                (FTX), A&M team and S&C team re: plan process
                                                and term sheet (1.0); correspondence with F.
                                                Weinberg and B. Zonenshayn re: plan status (.30);
                                                meeting with F. Weinberg and B. Zonenshayn re: plan
                                                open items (.50); update NDA tracker (.40); review
                                                plan draft sections (.90); review plan research (.90).
07/17/2023 Benjamin Zonenshayn             5.80 Research re: plan (1.50); revise FTT memo for A.
                                                Dietderich (2.3); meeting with A. Dietderich and B.
                                                Budd re: token classification (.40); meeting with B.
                                                Budd re: token classification research tasks (.30);
                                                draft for draft plan (.80); meeting with H. Kim re: FTT
                                                memo (.50).
07/17/2023 Benjamin Zonenshayn             0.50 Meeting with F. Weinberg and C. Hodges re: plan
                                                open items.
07/17/2023 Benjamin Zonenshayn             1.20 Meeting with ad hoc committee professionals, J. Ray
                                                (FTX), A&M team and S&C team re: plan process
                                                and term sheet (1.0); follow up correspondence with
                                                S&C team re: same (.20).
07/17/2023 Brian Budd                      3.20 Meeting with A. Dietderich and B. Zonenshayn re:
                                                token classification (.40); meeting with B. Zonenshayn
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                                                     re: token classification research tasks (.30); research
                                                     re: same (2.5). (no charge)
07/17/2023 Anshul Palavajjhala                 5.20 Draft sections of plan (4.2); meeting with ad hoc
                                                    committee professionals, J. Ray (FTX), A&M team
                                                    and S&C team re: plan process and term sheet (1.0).
                                                    (no charge)
07/18/2023 Mitchell Eitel                      1.40 Meeting with S&C team re: plan securities (1.0);
                                                    review materials to prepare for same (.40).
07/18/2023 Audra Cohen                         1.60 Review structure and plan proposal (.60); meeting
                                                    with S&C team re: plan securities (1.0).
07/18/2023 Andrew Dietderich                   1.90 Meeting with S&C team re: plan securities (1.0);
                                                    meeting with S&C team re: plan (.20); review UCC
                                                    plan alternatives and notes for next draft plan (.20);
                                                    meeting with B. Glueckstein re: plan issues and
                                                    follow-up (.50).
07/18/2023 Brian Glueckstein                   0.50 Meeting with A. Dietderich re: plan issues and
                                                    follow-up.
07/18/2023 Eric Diamond                        1.50 Meeting with S&C team re: plan securities (1.0);
                                                    review material to prepare for meeting (.50).
07/18/2023 Colin Lloyd                         1.00 Meeting with S&C team re: plan securities.
07/18/2023 Alexa Kranzley                      0.30 Correspondence with internal team re: plan drafting
                                                    and related issues.
07/18/2023 Mario Schollmeyer                   0.50 Meeting with S&C team re: plan securities.
07/18/2023 Fabio Weinberg Crocco               6.90 Draft plan (5.7); meeting with S&C team re: plan
                                                    (.20); meeting with S&C team re: plan securities (1.0).
07/18/2023 Christian Hodges                    6.10 Meeting with S&C team re: plan securities (1.0);
                                                    meeting with S&C team re: plan (.20); review and
                                                    revise principals NDA (.60); correspondence with A.
                                                    Dietderich re: comments to principals NDA (.20);
                                                    draft email to ad hoc committee re: principals NDA
                                                    (.20); review plan settlement provisions (2.3);
                                                    research re: same (1.6).
07/18/2023 Benjamin Zonenshayn                 1.20 Research and draft re: plan (.20); meeting with S&C
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                                                  team re: plan securities (1.0).
07/18/2023 Brian Budd                       3.00 Research re: plan issues. (no charge)
07/18/2023 Anshul Palavajjhala              3.40 Draft sections of plan (2.2); meeting with S&C team
                                                 re: plan securities (1.0); meeting with S&C team re:
                                                 plan (.20). (no charge)
07/18/2023 Sophia Chen                      0.30 Research re: plan term sheet per M. Yu.
07/18/2023 Sophia Chen                      0.30 Research re: plan term sheet per M. Yu.
07/19/2023 Andrew Dietderich                1.00 Email correspondence with K. Hansen (Paul Hastings)
                                                 re: plan (.40); meeting with B. Glueckstein re: plan
                                                 strategy issues and follow-up (.60).
07/19/2023 Brian Glueckstein                0.60 Meeting with A. Dietderich re: plan strategy issues and
                                                 follow-up.
07/19/2023 Evan Simpson                     1.00 Review and revise plan term sheet.
07/19/2023 James Bromley                    1.90 Correspondence with A. Dietderich re: plan issues
                                                 (.40); email correspondence with A. Dietderich and J.
                                                 Ray (FTX) re: same (.50); review materials and drafts
                                                 re: same (1.0).
07/19/2023 Alexa Kranzley                   0.30 Correspondence with internal team re: draft plan and
                                                 related issues.
07/19/2023 Fabio Weinberg Crocco            3.20 Review and revise plan.
07/19/2023 Christian Hodges                 4.30 Meeting with A. Palavajjhala re: plan sections (.70);
                                                 review plan sections drafted by A. Palavajjhala (2.3);
                                                 review research re: plan (.70); coordinate with F.
                                                 Weinberg and ad hoc team regarding executed NDAs
                                                 (.60).
07/19/2023 Benjamin Zonenshayn              8.40 Draft memo re: FTT research.
07/19/2023 Anshul Palavajjhala              2.50 Meeting with C. Hodges re: plan sections (.70); draft
                                                 sections of plan (1.8). (no charge)
07/20/2023 Andrew Dietderich                0.90 Call with J. Ray (FTX), B. Glueckstein and J.
                                                 Bromley re: plan and strategy issues and follow-up
                                                 (.70); call with B. Glueckstein re: same (.20).
07/20/2023 Brian Glueckstein                0.90 Call with J. Ray (FTX), J. Bromley and A. Dietderich
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                                                 re: plan and strategy issues and follow-up (.70); call
                                                 with A. Dietderich re: same (.20).
07/20/2023 James Bromley                   1.10 Review plan issues (.40); call with J. Ray (FTX), A.
                                                Dietderich and B. Glueckstein re: plan and strategy
                                                issues and follow-up (.70).
07/20/2023 Alexa Kranzley                  0.30 Follow up with internal team re: plan timing and related
                                                issues.
07/20/2023 Fabio Weinberg Crocco           7.60 Revise plan (7.2); email correspondence with C.
                                                Hodges re: principals NDAs (.40).
07/20/2023 Christian Hodges                4.70 Correspondence with ad hoc team re: NDAs (.60);
                                                correspondence with J. Ray (FTX) and S&C team re:
                                                NDAs (.90); revise NDA based on feedback from A.
                                                Dietderich (.40); research re: plan (1.9); prepare email
                                                summarizing findings for F. Weinberg (.60);
                                                correspondence with F. Weinberg re: plan status and
                                                next steps (.30).
07/20/2023 Nam Luu                         0.20 Correspondence with C. Hodges re: documents ISO
                                                plan of reorganization.
07/20/2023 Benjamin Zonenshayn            10.00 Draft FTT memo for A. Dietderich.
07/20/2023 Sam Fineberg                    4.20 Research re: FTT issues. (no charge)
07/20/2023 Anshul Palavajjhala             4.40 Draft sections of plan. (no charge)
07/21/2023 Andrew Dietderich               1.30 Call with J. Ray (FTX), B. Glueckstein and J.
                                                Bromley re: UCC, plan and strategy issues.
07/21/2023 Brian Glueckstein               1.60 Call with J. Ray (FTX), J. Bromley and A. Dietderich
                                                re: UCC, plan and strategy issues (1.3); review and
                                                consider plan correspondence (.30).
07/21/2023 James Bromley                   1.30 Call with J. Ray (FTX), B. Glueckstein and A.
                                                Dietderich re: UCC, plan and strategy issues.
07/21/2023 James Bromley                   1.20 Draft summary of plan issues re: creditor
                                                constituencies.
07/21/2023 Alexa Kranzley                  1.40 Review and revise plan (1.1); correspondence with
                                                internal team re: same (.30).
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07/21/2023 Fabio Weinberg Crocco             3.10 Revise plan (2.7); email correspondence with C.
                                                  Hodges re: principals NDAs (.40).
07/21/2023 Christian Hodges                  6.10 Prepare tracker of open plan issues (.60); review A.
                                                  Palavajjhala draft plan sections (1.4); revise draft plan
                                                  sections (.90); correspondence with E. Broderick
                                                  (Eversheds) and F. Weinberg re: executed NDAs
                                                  (.90); prepare draft emails to client re: NDAs (.50);
                                                  revise NDAs based on feedback from F. Weinberg
                                                  (.30); prepare draft email to A&M re: plan questions
                                                  (.30); research re: plan (.40); coordinate with F.
                                                  Weinberg re: status and next steps (.80).
07/21/2023 Benjamin Zonenshayn               8.00 Draft FTT memo for A. Dietderich.
07/21/2023 Jordan Cohen                      4.80 Bluebook FTT Memo to FTX's Board of Directors.
                                                  (no charge)
07/22/2023 Alexa Kranzley                    1.20 Review and revise plan.
07/22/2023 Fabio Weinberg Crocco             1.90 Review and revise plan.
07/22/2023 Christian Hodges                  6.80 Prepare plan open items tracker (2.7); review plan
                                                  draft (2.9); correspondence with F. Weinberg re: plan
                                                  status and open items (.80); draft email to A&M re:
                                                  plan items (.40).
07/23/2023 Andrew Dietderich                 3.20 Revise memo on FTT treatment (3.0);
                                                  correspondence with B. Zonenshayn re: questions on
                                                  same (.20).
07/23/2023 Fabio Weinberg Crocco             2.60 Review plan (2.0); email correspondence with K.
                                                  Ramanathan re: same (.30); email correspondence
                                                  with C. Hodges re: same (.30).
07/23/2023 Christian Hodges                  3.50 Correspondence with F. Weinberg and B.
                                                  Zonenshayn re: plan status (.40); review plan open
                                                  items tracker (.70); revise draft plan (1.6); review
                                                  research re: same (.80).
07/24/2023 Andrew Dietderich                 5.80 Review and revise FTT memo (3.2) email
                                                  correspondence with J. Ray (FTX) and B.
                                                  Zonenshayn re: same (.40); review research re: same
                                                  (.40); call with E. Broderick (Eversheds) re: plan
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                                                   issues (.40); call A. Entwistle (Entwistle Law) to solicit
                                                   plan comments and discuss terms and open items
                                                   (1.4).
07/24/2023 James Bromley                     2.00 Review plan and plan issues.
07/24/2023 Nicholas Menillo                  1.40 Review and revise draft plan.
07/24/2023 Alexa Kranzley                    4.50 Meeting with F. Weinberg, B. Zonenshayn, C.
                                                  Hodges, and J. Cohen re: comments to plan (1.2);
                                                  review and revise draft plan (3.3).
07/24/2023 Fabio Weinberg Crocco             3.20 Meeting with B. Zonenshayn and C. Hodges re: plan
                                                  open items (.50); meeting with A. Kranzley, B.
                                                  Zonenshayn, C. Hodges, and J. Cohen re: comments
                                                  to Chapter 11 Plan (1.2); review plan (1.5).
07/24/2023 HyunKyu Kim                       1.80 Meeting with B. Zonenshayn re: FTT memo (.50);
                                                  review equity memo (.60); research re: same (.70).
07/24/2023 Christian Hodges                 11.00 Meeting with A. Kranzley, F. Weinberg, B.
                                                  Zonenshayn, and J. Cohen re: comments to plan (1.2);
                                                  meeting with F. Weinberg and B. Zonenshayn re: plan
                                                  open items (.50); revise plan based on feedback from
                                                  A. Kranzley (1.9); revise plan based on internal
                                                  meeting (3.6); review open items tracker (1.3);
                                                  prepare email update to team (.40); review research
                                                  by M. Bjarnason for plan open item (.70); review plan
                                                  document definitions and cross references (1.4).
07/24/2023 Benjamin Zonenshayn               1.30 Meeting with A. Kranzley, B. Zonenshayn, F.
                                                  Weinberg, C. Hodges and J. Cohen re: comments to
                                                  plan (1.2); review and revise plan (.10).
07/24/2023 Benjamin Zonenshayn               1.00 Meeting with F. Weinberg and C. Hodges re: plan
                                                  open items (.50); meeting with H. Kim re: FTT memo
                                                  (.50).
07/24/2023 Jordan Cohen                      3.70 Meeting with A. Kranzley, F. Weinberg, B.
                                                  Zonenshayn and C. Hodges re: comments to plan
                                                  (1.2); edit FTT memo (1.2); research re: releases
                                                  (1.3). (no charge)
07/25/2023 Andrew Dietderich                 4.90 Finalize FTT memo (1.1); email correspondence with
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                                                    J. Ray (FTX) re: same (.20); correspondence with E.
                                                    Broderick (Eversheds) re: plan issues (.30); review
                                                    and revise ad hoc plan comments by email (2.4);
                                                    review UCC plan terms summary and related issues
                                                    list (.60); discuss plan matters with A. Kranzley (.30).
07/25/2023 Jacob Croke                        0.80 Board call re: plan of reorganization and asset
                                                   management.
07/25/2023 Alexa Kranzley                     0.50 Meeting with F. Weinberg and B. Zonenshayn re: plan
                                                   drafting (.20); discuss plan matters with A. Dietderich
                                                   (.30).
07/25/2023 Aaron Levine                       0.90 Review Chapter 11 plan and related issues.
07/25/2023 Fabio Weinberg Crocco              7.30 Meeting with A. Kranzley and B. Zonenshayn re: plan
                                                   drafting (.20); meeting with C. Hodges re: same (1.2);
                                                   revise plan (5.6); review comments from ad hoc
                                                   committee on plan term sheet (.30).
07/25/2023 Christian Hodges                   9.10 Meeting with F. Weinberg re: plan drafting (1.2);
                                                   revise plan draft (1.4); review plan draft for open
                                                   items (1.1); research FTX KYC requirements (.60);
                                                   correspondence with B. Zonenshayn re: plan items
                                                   (.30); review plan definitions (.90); meeting with M.
                                                   Bjarnason re: plan defined terms (.70); revise ad hoc
                                                   principal NDA (.40); review substantive consolidation
                                                   provisions of plan draft (.70); review plan D&O
                                                   language (.50); correspondence with J. Kapoor re:
                                                   preferred equity issuances (.30); review tracker of
                                                   equity interests (.20); draft plan language re: preferred
                                                   equity (.80).
07/25/2023 Nicole Miller                      0.30 Research re: plan issues.
07/25/2023 Benjamin Zonenshayn                0.20 Meeting with A. Kranzley and F. Weinberg re: plan
                                                   drafting.
07/25/2023 Jordan Cohen                       1.80 Research re: plan issues. (no charge)
07/25/2023 Maxim Bjarnason                    0.70 Meeting with C. Hodges re: plan defined terms.
07/25/2023 Maxim Bjarnason                    0.70 Review plan defined terms.
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07/26/2023 Andrew Dietderich               8.90 Revise draft plan (3.0); correspondence with team re:
                                                individual questions and issues about plan (.70); revise
                                                plan term sheet (2.1); meeting with Paul Hastings
                                                team, A. Kranzley, F. Weinberg, B. Zonenshayn, and
                                                C. Hodges re: plan and case status (1.3); meeting with
                                                A. Kranzley, F. Weinberg, B. Zonenshayn, and C.
                                                Hodges re: plan draft (1.5); email summary of
                                                discussions and sequence to J. Ray (FTX) and other
                                                advisors (.30).
07/26/2023 Brian Glueckstein               1.50 Call with S&C, A&M and J. Ray (FTX) re: UCC
                                                comments to plan term sheet and plan matters (1.2);
                                                correspondence with S&C team re: plan comments
                                                and revisions (.30).
07/26/2023 Alexa Kranzley                  4.40 Meeting with Paul Hastings team, A. Dietderich, F.
                                                Weinberg, B. Zonenshayn, and C. Hodges re: plan
                                                and case status (1.3); meeting with A. Dietderich, F.
                                                Weinberg, B. Zonenshayn, and C. Hodges re: plan
                                                draft (1.5); review and revise portions of plan and
                                                correspondence with internal team re: same (1.6).
07/26/2023 Fabio Weinberg Crocco           7.60 Meeting with Paul Hastings team, A. Dietderich, A.
                                                Kranzley, B. Zonenshayn, and C. Hodges re: plan and
                                                case status (partial attendance - .80); meeting with A.
                                                Dietderich, A. Kranzley, B. Zonenshayn, and C.
                                                Hodges re: plan draft (partial attendance - .60); revise
                                                plan (6.2).
07/26/2023 Christian Hodges                9.20 Meeting with Paul Hastings team, A. Dietderich, A.
                                                Kranzley, F. Weinberg and B. Zonenshayn re: plan
                                                and case status (1.3); meeting with A. Dietderich, A.
                                                Kranzley, F. Weinberg and B. Zonenshayn re: plan
                                                draft (1.5); revise plan draft based on feedback from
                                                A. Dietderich and A. Kranzley (3.3); further revise
                                                plan draft (1.1); review revised plan term sheet (.50);
                                                mark up plan draft with term sheet revisions (.60);
                                                correspondence with F. Weinberg re: open issues
                                                (.90).
07/26/2023 Benjamin Zonenshayn             2.80 Meeting with Paul Hastings team, A. Dietderich, A.
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Date        Name                            Hours Description

                                                   Kranzley, F. Weinberg and C. Hodges re: plan and
                                                   case status (1.3); meeting with A. Dietderich, A.
                                                   Kranzley, F. Weinberg and C. Hodges re: plan draft
                                                   (1.5).
07/26/2023 Maxim Bjarnason                   2.20 Review plan defined terms.
07/27/2023 Alexa Kranzley                    1.60 Review and revise plan (1.1); correspondence with
                                                  internal team re: same and related issues (.50).
07/27/2023 Fabio Weinberg Crocco             5.20 Revise and update plan.
07/27/2023 Christian Hodges                  8.50 Review and revise plan (3.4); revise term sheet with
                                                  comments from A. Dietderich (1.3); prepare agenda
                                                  for UCC plan meeting (.30); prepare draft emails with
                                                  plan updates to stakeholders (.40); correspondence
                                                  with A. Kranzley and F. Weinberg re: status and
                                                  updates (.90); review plan (1.4); correspondence with
                                                  J. Cohen and
                                                  M. Bjarnason re: same (.80).
07/27/2023 Jordan Cohen                      1.10 Review plan. (no charge)
07/27/2023 Maxim Bjarnason                   1.40 Review plan defined terms.
07/27/2023 Sophia Chen                       0.20 Review revisions to plan drafts per C. Hodges.
07/28/2023 Andrew Dietderich                 2.60 Discuss plan with K. Pasquale (Paul Hastings) (.40);
                                                  discussion with J. Ray (FTX) re: same (.20); email
                                                  correspondence re: plan issues with UCC and ad hoc
                                                  committee (.20); call with B. Glueckstein re: plan
                                                  issues (.40); call with A. Kranzley re: avoidance action
                                                  vesting (.30); review comments on her revision to plan
                                                  re: same (.20); call with C. Hodges re: revisions to
                                                  plan term sheet (.70); review his draft of same (.20).
07/28/2023 Andrew Dietderich                 1.60 Correspondence with S&C team re: customer
                                                  property issues and relevance for plan and
                                                  preferences.
07/28/2023 Brian Glueckstein                 0.70 Call with A. Dietderich re: plan issues (.40); review
                                                  documents and follow-up re: plan issues (.30).
07/28/2023 James Bromley                     1.50 Email correspondence with A. Kranzley, B.
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                                                  Zonenshayn, J. Ray (FTX) and A. Dietderich re: plan
                                                  issues (.70); review materials re same (.80).
07/28/2023 James Bromley                    1.60 Review draft plan (1.2); email correspondence with A.
                                                 Dietderich, J. Ray (FTX), and team re: same (.40).
07/28/2023 Alexa Kranzley                   1.30 Call with A. Dietderich re: avoidance action vesting
                                                 (.30); review and revise plan (.60); correspondence
                                                 with internal team re: same (.40).
07/28/2023 Fabio Weinberg Crocco            0.40 Review plan.
07/28/2023 Christian Hodges                 3.70 Call with A. Dietderich re: revisions to plan term sheet
                                                 (.70); revise plan term sheet according to feedback
                                                 from A. Dietderich (.40); prepare emails to client with
                                                 updates (.80); review edits to term sheet (.90);
                                                 prepare emails to team re: next steps (.60); email
                                                 correspondence with A. Dietderich and J. Ray (FTX)
                                                 re: next steps (.30).
07/28/2023 Nam Luu                          0.30 Email correspondence with C. Hodges re: various ad
                                                 hoc committee litigation workstreams for plan draft.
07/28/2023 Benjamin Zonenshayn              0.30 Edit plan per A. Kranzley comments.
07/28/2023 Sophia Chen                      0.10 Review and revise plan term sheet drafts per C.
                                                 Hodges.
07/29/2023 Andrew Dietderich                1.90 Call with J. Ray (FTX) and S&C team re: plan term
                                                 sheet and plan revisions (.80) review and revise plan
                                                 term sheet (.20); email correspondence with
                                                 stakeholders on comments (.10); review securities law
                                                 memo on structures (.20); call with C. Hodges re: plan
                                                 term sheet (.60).
07/29/2023 Andrew Dietderich                0.60 Call with C. Hodges re: plan term sheet.
07/29/2023 Brian Glueckstein                1.50 Review and consider correspondence re: ad hoc
                                                 committee and plan issues (.70); call with J. Ray
                                                 (FTX) and S&C team re: plan term sheet and plan
                                                 revisions (.80).
07/29/2023 James Bromley                    1.10 Email correspondence with A. Dietderich, J. Ray
                                                 (FTX), C. Hodges and A. Kranzley re: plan term
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Date        Name                           Hours Description

                                                  sheet and plan revisions (.50); call with J. Ray (FTX)
                                                  and S&C team re: same (partial attendance - .60).
07/29/2023 Alexa Kranzley                   1.20 Call with J. Ray (FTX) and S&C team re: plan term
                                                 sheet and plan revisions (.80); correspondence with
                                                 internal team re: plan term sheet and related issues
                                                 (.40).
07/29/2023 Christian Hodges                 5.20 Call with J. Ray (FTX) and S&C team re: plan term
                                                 sheet and plan revisions (.80); correspondence with
                                                 A. Dietderich and A. Kranzley re: coordination re:
                                                 same (.40); revise term sheet according to feedback
                                                 from client (1.4); prepare emails to stakeholders with
                                                 updated term sheets (.90); review revised term sheet
                                                 (.70); correspondence with F. Weinberg re: plan
                                                 status (.40); call with A. Dietderich re: plan term sheet
                                                 (.60).
07/30/2023 Andrew Dietderich                2.90 Review plan term sheet comments from ad hoc
                                                 committee (.30); follow up email correspondence re:
                                                 fee reimbursement re: same (.40); review recovery
                                                 token securities issue analysis (1.4) review re: plan
                                                 issues (.80).
07/30/2023 Brian Glueckstein                0.40 Review and consider correspondence re: plan
                                                 revisions and ad hoc committee issues.
07/31/2023 Andrew Dietderich                7.80 Call with S&C and Eversheds teams re: plan term
                                                 sheet (.20); finalize plan and related term sheet with
                                                 input from internal team and creditor professionals
                                                 (6.1); meeting with B. Glueckstein and A. Kranzley re:
                                                 plan releases and related issues (1.2); meeting with A.
                                                 Kranzley and B. Zonenshayn re: draft plan and term
                                                 sheet (.30).
07/31/2023 Brian Glueckstein                2.00 Meeting with A. Dietderich and A. Kranzley re: plan
                                                 releases and related issues (1.2); review revised draft
                                                 plan term sheet and plan (.60); correspondence with
                                                 S&C team re: plan issues (.20).
07/31/2023 Jacob Croke                      1.70 Analyze issues re: FTT treatment (.80);
                                                 correspondence with A. Dietderich re: same (.30);
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Date        Name                             Hours Description

                                                     analyze issues re: draft plan, UCC issues (.60).
07/31/2023 James Bromley                      1.70 Review plan (.90); email correspondence with J. Ray
                                                   (FTX), A. Dietderich, A. Kranzley and B.
                                                   Zonenshayn re: same (.80).
07/31/2023 Alexa Kranzley                     2.40 Meeting with A. Dietderich and B. Zonenshayn re:
                                                   draft plan and term sheet (.30); meeting with A.
                                                   Dietderich and B. Glueckstein re: plan releases and
                                                   related issues (1.2); review and revise draft plan (.10);
                                                   correspondence with J. Ray (FTX) and internal team
                                                   re: plan and plan term sheet for filing (.30);
                                                   correspondence with JF re: filing PR (.20);
                                                   correspondence with LRC re: filing of the same (.30).
07/31/2023 Fabio Weinberg Crocco              1.80 Review plan (.90); review plan term sheet (.50);
                                                   conferences with S&C team re: same (.40).
07/31/2023 Christian Hodges                   3.20 Revise plan term sheet (.90); revise plan (.60);
                                                   correspondence with S&C team re: plan status and
                                                   next steps (1.7).
07/31/2023 Nicole Miller                      0.50 Research re: plan issues.
07/31/2023 Benjamin Zonenshayn                3.80 Call with S&C and Eversheds teams re: plan term
                                                   sheet (.20); revise plan term sheet based on A.
                                                   Dietderich comments (.90); revise plan and plan term
                                                   sheet based on S&C comments (2.0); prepare for
                                                   filing re: same (.40); meeting with A. Dietderich and A.
                                                   Kranzley re: draft plan and term sheet (.30).
07/31/2023 Benjamin Zonenshayn                0.70 Review creditor issues re: plan.

Total                                       533.70
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Date        Name                       Hours Description

07/01/2023 David Hariton                3.90 Review and revise memo from N. Dokurno re:
                                             administrative priorities (1.5); research straddle
                                             priority issues and develop ideas for a short taxable
                                             year (2.4).
07/02/2023 Andrew Dietderich            0.90 Review and comment on tax memo.
07/03/2023 David Hariton                2.10 Correspondence with J. Mariotti re: consolidation
                                             matters (.30); follow up analysis (.20);
                                             correspondence with T. Shea (EY) re: taxable years
                                             for 2022 (.30); analyze and prepare re: filing year
                                             (1.3).
07/03/2023 HyunKyu Kim                  0.90 Call with A&M team re: technical tax issues (.10);
                                             review research re: penalty (.80).
07/03/2023 HyunKyu Kim                  0.50 Review re: venture sales agreements.
07/03/2023 Neil Dokurno                 4.70 Prepare second draft re: priority of tax claims. (no
                                             charge)
07/04/2023 David Hariton                5.00 Review comments to internal memorandum and revise
                                             for board (1.5); review and draft response to J. Ray's
                                             (FTX) email re: various negotiation and planning issues
                                             (2.5); develop tax strategy (1.0).
07/05/2023 David Hariton                9.10 Research and correspondence re: Directive 137 (3.5);
                                             draft and revise memo to board (2.8); review of
                                             settlement matters (1.0); review and analyze plan from
                                             A. Dietderich (1.8).
07/05/2023 James Bromley                1.30 Email correspondence with A. Dietderich and D.
                                             Hariton re: tax issues (.30); review tax materials (1.0).
07/05/2023 HyunKyu Kim                  0.30 Review re: plan for tax issues.
07/05/2023 Neil Dokurno                 8.30 Prepare second draft re: priority of tax claims (2.3);
                                             research re: applications of DOJ guidance on equitable
                                             treatment of tax priorities (5.2); research re: timing of
                                             tax elections (.80). (no charge)
07/05/2023 Jackson Mariotti             3.10 Draft memo re: consolidation. (no charge)
07/06/2023 David Hariton                4.10 Review and analyze post effectiveness plans (1.8);
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Date        Name                       Hours Description

                                              review research re: application of Directive 137
                                              precedent (1.1); call with UCC team re: tax matters
                                              (.80); correspondence with J. Ray re: priorities and
                                              claims issues (.40).
07/06/2023 Andrew Dietderich            0.60 Review materials from tax teams re: IRS Directive
                                             137.
07/06/2023 Neil Dokurno                 4.60 Research re: applications of DOJ guidance on
                                             equitable treatment of tax priorities (4.1); research re:
                                             tax year (.50). (no charge)
07/07/2023 David Hariton                3.60 Meeting with N. Dokurno re: tax year determination
                                             (.20); review plan (1.0); revise subordination issues
                                             (.70); call with T. Shea (EY) re: 2022 return (.40); call
                                             with K. Jacobs (A&M) re: elections on returns and
                                             internal memo (.50); review research re: section 1399
                                             (.50); meeting with N. Dokurno re: tax year
                                             determination (.30).
07/07/2023 Andrew Dietderich            0.80 Review and comment on D. Hariton tax memo.
07/07/2023 Emma Downing                 0.60 Review documents re: employment status.
07/07/2023 Neil Dokurno                 4.60 Research re: tax year determination (2.9); meeting
                                             with D. Hariton re: tax year determination (.20); draft
                                             memo re: tax priority (1.5). (no charge)
07/09/2023 Jeffrey Hochberg             0.30 Review and correspondence re: ERISA Provisions in
                                             purchase agreement.
07/09/2023 HyunKyu Kim                  0.70 Review re: technical tax research.
07/10/2023 David Hariton                2.20 Correspondence with T. Shea (EY) re: coordinating
                                             returns (1.0); correspondence with K. Jacobs (A&M)
                                             re: crypto placement (.40); analyze re: same (.80).
07/10/2023 Neil Dokurno                 6.20 Research re: process for changing tax years. (no
                                             charge)
07/11/2023 David Hariton                7.40 Prepare for board call (2.3); attend board call (2.3);
                                             follow up correspondence with A. Dietderich re: the
                                             same (.50); correspondence with K. Jacobs (A&M)
                                             re: crypto placement (.80); reflect and analyze re:
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                                              same (1.0); correspondence with T. Shea (EY) re:
                                              coordinating 2022 year end (.50).
07/11/2023 Andrew Dietderich            0.40 Emails with D. Hariton re: tax issues.
07/12/2023 David Hariton                4.80 Review re: plan terms and memo (1.5);
                                             correspondences with A. Dietderich and J. Ray (FTX)
                                             re: plan (3.3).
07/12/2023 Neil Dokurno                 1.00 Review and revise draft memo re: priority of tax year
                                             claim. (no charge)
07/13/2023 David Hariton                5.00 Correspondence re: crypto placements (2.5);
                                             correspondences with S&C team re: the same (1.5);
                                             attend all hands call re: location of crypto (.70);
                                             analyze UCC and various emails (.30).
07/13/2023 Andrew Dietderich            1.30 Call with J. Ray (FTX) and A&M team re: accounting
                                             decisions re: tax returns for prepetition period (.70);
                                             follow-up correspondence re: the same (.40); prepare
                                             for call with D. Hariton (.20).
07/13/2023 Brian Glueckstein            1.50 Correspondence with A. Dietderich, J. Bromley and
                                             A. Kranzley re: crypto ownership and tax issues (.80);
                                             call with J. Ray (FTX), S&C and A&M re: crypto
                                             ownership and tax issues (.70).
07/13/2023 Jacob Croke                  0.50 Analyze issues re: allocation of recovered assets (.20);
                                             correspondence with A. Dietderich re: same (.10); call
                                             with tax team and J. Ray (FTX) re: same (.20).
07/13/2023 HyunKyu Kim                  0.30 Review re: asset allocation.
07/14/2023 David Hariton                3.20 Coordinate crypto issues with K. Jacobs (A&M)
                                             (.70); call with A. Dietderich re: the same (.40);
                                             coordinate with UCC (.50); draft straddle year memo
                                             (.40); attend technical call with team (.40); analyze
                                             crypto positions (.80).
07/14/2023 Andrew Dietderich            0.40 Tax call with D. Hariton re: coordination of crypto
                                             issues.
07/14/2023 HyunKyu Kim                  1.80 Review re: IDR responses (1.2); review re: asset
                                             allocation (.60).
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Date        Name                       Hours Description
07/14/2023 Neil Dokurno                 1.00 Review and revise draft of memo re: priority of tax
                                             year claim. (no charge)
07/17/2023 David Hariton                1.80 Review and analyze outline from EY re: crypto timing
                                             and character (1.5); review materials from T. Shea
                                             (EY) (.30).
07/17/2023 HyunKyu Kim                  0.80 Review information document request responses.
07/17/2023 Neil Dokurno                 6.10 Review and revise draft of memo re: tax claims. (no
                                             charge)
07/17/2023 Jackson Mariotti             1.50 Review and revise consolidation memo. (no charge)
07/18/2023 David Hariton                7.20 Review and revise tax claim memo (5.2);
                                             correspondence re: employment tax and issues (.50);
                                             review crypto outline (.50); technical call with EY and
                                             A&M teams re: crypto positions and return filing
                                             (1.0).
07/18/2023 HyunKyu Kim                  0.70 Review emails re: pre-closing tax liabilities (.40);
                                             review re: employment tax points (.30).
07/19/2023 David Hariton                9.80 Coordinate with H. Kim and internal team re: tax
                                             indemnities and employment IDRs (.80); call with
                                             DOJ (.60); call with A. Dietderich re: discussions with
                                             DOJ for IRS (.30); call with J. Ray (FTX) (.30); call
                                             with A&M team re: crypto analysis and return filings
                                             (.80); draft letter to DOJ (4.5); prepare follow up re:
                                             the same (1.0); further coordinate and analyze crypto
                                             issues and return issues with EY and A&M teams
                                             (1.5).
07/19/2023 Andrew Dietderich            0.70 Call with D. Hariton re: discussions with DOJ for IRS
                                             (.30); review and comment on D. Hariton's draft letter
                                             re: the same (.40).
07/19/2023 HyunKyu Kim                  1.70 Review re: information requests (.80); review re: past
                                             transactions (.90).
07/19/2023 Neil Dokurno                 4.10 Draft memo re: tax issues (3.1); review and revise
                                             third draft of FTX memo re: tax questions (1.0). (no
                                             charge)
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07/20/2023 David Hariton                6.10 Review submission from T. Shea (EY) re: crypto
                                             (.80); correspondence with A&M, EY, and S&C
                                             teams re: crypto location and treatment (1.5);
                                             conferences with N. Dokurno and T. Shea (EY) re:
                                             potential short taxable year filings (.80); review and
                                             revise letter to DOJ (2.5); review EY work products
                                             stream and dialogue with S&C team re: the same
                                             (.50).
07/20/2023 Andrew Dietderich            0.30 Review and comment on letter to IRS.
07/20/2023 James Bromley                0.40 Review tax letter (.20); email correspondence with D.
                                             Hariton re: the same (.20).
07/20/2023 Neil Dokurno                 3.10 Review and revise memo for EY team re: accounting
                                             period. (no charge)
07/21/2023 David Hariton               10.80 Further review and revise letter to DOJ (7.0);
                                             coordinate with A. Dietderich, J. Bromley, S.
                                             Cohen-Levin, J. Ray (FTX), EY team and A&M
                                             team re: the same (1.5); research and fact-finding re:
                                             the same (1.3); call with ROW team re: EY
                                             workflows (.50); technical call with A&M and EY
                                             teams re: tax issues (.50).
07/21/2023 Andrew Dietderich            0.20 Correspondences with S. Cohen-Levin and D.
                                             Hariton re: governmental priority issues.
07/21/2023 James Bromley                1.00 Review of tax letter to IRS (.70); email
                                             correspondences with Hariton re: same (.30).
07/21/2023 Sharon Levin                 0.40 Email correspondence with D. Hariton re: FTX Tax
                                             position.
07/21/2023 Sharon Levin                 0.40 Correspondence with D. Hariton re: tax issue.
07/21/2023 HyunKyu Kim                  0.40 Review re: past transactions.
07/21/2023 Neil Dokurno                 6.40 Review and revise memo for EY re: change of
                                             accounting period. (no charge)
07/22/2023 David Hariton                4.00 Review and analyze memo re: taxable year filing
                                             procedures (2.5); email correspondences with T. Shea
                                             (EY) and S&C team re: plan for filing (1.0); review
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                                              coordination of EY workflows (.50).
07/22/2023 Isaac Wheeler                0.20 Review letter to IRS re: subordination of claims.
07/22/2023 HyunKyu Kim                  1.50 Review re: past transactions.
07/22/2023 Neil Dokurno                 0.60 Review and answer questions re: accounting period.
                                             (no charge)
07/23/2023 Neil Dokurno                 0.90 Review and answer questions re: accounting period.
                                             (no charge)
07/24/2023 David Hariton                6.30 Coordinate with T. Shea (EY) re: filing return (1.5);
                                             correspondence with K. Donnelly re: approach to
                                             DOJ and IRS (.50); call with H. Kim, N. Dokurno,
                                             K. Jacobs (A&M), G. Silber (Paul Hastings) and S.
                                             Joffe (FTI) re: UCC tax meeting (1.2); call with H.
                                             Kim, N. Dokurno, B. Seaway (A&M) and K. Jacobs
                                             (A&M) re: follow-up to the UCC call (.30); meeting
                                             with S. Levine re: DOJ tax approach (.40); follow up
                                             correspondence with S. Levine re: the same (.50); call
                                             with T. Shea (EY) re: year-end coordination at EY
                                             (.40); technical coordination with S&C team (.50);
                                             call with EY team re: affidavits (.40); review re: issues
                                             on carryback for new year (.60).
07/24/2023 Sharon Levin                 0.20 Email correspondence with D. Hariton re: the same.
07/24/2023 Sharon Levin                 0.40 Meeting with D. Hariton re: DOJ tax approach.
07/24/2023 HyunKyu Kim                  2.30 Call with D. Hariton, N. Dokurno, K. Jacobs (A&M),
                                             G. Silber (Paul Hasting) and S. Joffe (FTI) re: UCC
                                             tax meeting (.70); call with D. Hariton, N. Dokurno,
                                             B. Seaway (A&M) and K. Jacobs (A&M) re:
                                             follow-up to the UCC call (.30); review subordination
                                             argument (.40); review re: IDR response (.50); review
                                             re: research questions on returns (.40).
07/24/2023 Emma Downing                 0.40 Review documents re: tax employment status question.
07/24/2023 Neil Dokurno                 8.40 Review and revise third draft of memo re: tax claim
                                             (7.1); answer questions re: tax attributes (.30); call
                                             with D. Hariton, H. Kim, K. Jacobs (A&M), G.
                                             Silber (Paul Hasting) and S. Joffe (FTI) re: UCC tax
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Date        Name                       Hours Description

                                              meeting (.70); call with D. Hariton, H. Kim, B.
                                              Seaway (A&M) and K. Jacobs (A&M) re: follow-up
                                              to the UCC call (.30). (no charge)
07/25/2023 David Hariton                7.90 Review and revise administrative straddle year
                                             memorandum (2.5); draft affidavits re: support of
                                             9100 relief (2.0); correspondences with S&C team re:
                                             memo approach (.50); call with DOJ (.40); prepare
                                             proposed subordination language (1.5); technical call
                                             with EY and AM teams re: draft affidavit language
                                             (1.0).
07/25/2023 Sharon Levin                 0.60 Call with relevant third party and A&M re: KYC
                                             process questions.
07/25/2023 HyunKyu Kim                  1.20 Review re: employment tax points (.80); review re:
                                             extension workstream (.40).
07/25/2023 Emma Downing                 1.20 Review documents re: employment status.
07/25/2023 Neil Dokurno                 1.10 Review and revise next draft of memo re: priority of
                                             tax year claim. (no charge)
07/26/2023 David Hariton               10.30 Coordinate with J. Ray re: plan priorities (.50); call
                                             with A. Dietderich re: plan subordination and priorities
                                             (.20); follow-up coordination with A. Dietderich re:
                                             the same (1.6); analyze IRS priorities and associated
                                             issues (3.3); call with A&M and EY teams re:
                                             affidavits for short taxable year (.50); review markup
                                             from EY (.50); prepare response and correspondence
                                             re: questions from DOJ (3.2); call with A&M team re:
                                             technical issues (.50).
07/26/2023 Andrew Dietderich            0.20 Call with D. Hariton re: plan subordination and
                                             priorities.
07/26/2023 Neil Dokurno                 2.40 Review and revise next draft of memo re: priority of
                                             tax year claim. (no charge)
07/27/2023 David Hariton                2.00 Call with S. Coverick re: crypto placement
                                             requirements (.50); prepare and follow up
                                             correspondence re: crypto analysis (.50); review of
                                             plan (1.0).
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Date        Name                       Hours Description
07/27/2023 HyunKyu Kim                  0.50 Review research re: allocation of income.
07/27/2023 Neil Dokurno                 2.20 Review and revise next draft of memo re: tax claim.
                                             (no charge)
07/28/2023 David Hariton                4.30 Call re: Row execution (.80); technical call with EY
                                             and AM teams (.70); review and revise administrative
                                             claims memorandum (1.3); review FTX plan and
                                             comments (1.5).
07/28/2023 Neil Dokurno                 6.60 Review and revise next draft of memo re: priority of
                                             tax year claim. (no charge)
07/29/2023 David Hariton                1.80 Correspondence with N. Dokurno re: case law and
                                             memo on straddle-year taxes (.30); review
                                             memorandum on administrative claims (1.5).
07/31/2023 David Hariton                2.70 Review and analyze A&M memo re: crypto location
                                             (1.3); correspondence with S&C team (.40); revise
                                             and coordinate with S. Coverick (A&M) re: 2022
                                             returns, relief and requirements (.50); coordinate with
                                             T. Shea (EY) re: the same (.50).
07/31/2023 Neil Dokurno                 2.10 Research re: tax priority. (no charge)

Total                                 233.20
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Date        Name                        Hours Description

07/01/2023 Marc-André Cyr                 0.10 Review and follow up with correspondence with Alix
                                               re: data transfer of relevant third party.
07/01/2023 Jared Rosenfeld                0.30 Correspondence with S&C re: financial data
                                               production.
07/01/2023 Sally Hewitson                 8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/01/2023 Sherry Johnson                 4.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/01/2023 Robin Perry                    2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/01/2023 Robin Perry                    2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Marc-André Cyr                 0.20 Correspondence to A. Kaufman re: production re:
                                               relevant third party (.10); correspondence to S&C's
                                               e-discovery team re: same (.10).
07/02/2023 Jared Rosenfeld                0.30 Correspondence to S&C team re: research re:
                                               financial data and transfers to relevant third parties.
07/02/2023 Bonifacio Abad                 1.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Ehi Arebamen                   3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Joshua Hazard                  6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Sally Hewitson                10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Robin Perry                    2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Dawn Samuel                   10.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/02/2023 Nathaniel Lopez                0.80 Design document review tagging palette in civil matter
                                               database for associate review.
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Date        Name                        Hours Description
07/02/2023 Nicholas Wolowski              0.20 Correspondence with S&C e-discovery team re:
                                               creating coding layout in S&C document review
                                               platform.
07/03/2023 Stephanie Wheeler              0.30 Review production letter to states (.10); review new
                                               requests from state security regulators (.10);
                                               correspondence to S. Yeargan re: same (.10).
07/03/2023 Nicole Friedlander             0.20 Correspondence with M. Kulkin (WilmerHale) re:
                                               federal regulator request.
07/03/2023 James McDonald                 0.30 Correspondence with QE re: rule 2004 requests.
07/03/2023 Bradley Harsch                 0.20 Review correspondence re: federal agency subpoena
                                               (.10); review correspondence re: securities regulator
                                               requests (.10).
07/03/2023 Shane Yeargan                  0.20 Correspondence to S. Wheeler re: state data request.
07/03/2023 Kathleen Donnelly              0.80 Review draft production letter (.10); correspondence
                                               with team re: productions (.40); review and analyze
                                               requests from state securities regulators (.30).
07/03/2023 Daniel O'Hara                  0.20 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/03/2023 Daniel O'Hara                  0.20 Review weekly production and correspondence with
                                               S&C team re: same.
07/03/2023 Jason Gallant                  0.20 Review outgoing production letters.
07/03/2023 Phoebe Lavin                   1.10 Correspondence with S&C e-discovery team re:
                                               states production (.20); correspondence with J.
                                               Gallant and M. Sadat re: states production letter (.20);
                                               revise states production letter per S&C team
                                               feedback (.40); correspondence with K. Donnelly re:
                                               draft states production letter (.10); correspondence
                                               with S. Wheeler re: states production letter (.20).
07/03/2023 Bonifacio Abad                 4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Fareed Ahmed                  11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/03/2023 Ehi Arebamen                   6.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Jenna Dilone                   7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Camille Flynn                  4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Ruth Godin                     1.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Dawn Harris-Cox                2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Joshua Hazard                  0.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Sally Hewitson                 6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Sherry Johnson                 0.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Frank Jordan                  10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Georgia Maratheftis            9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Robin Perry                    1.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Dawn Samuel                   11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/03/2023 Mary McMahon                   5.50 Correspondence with S&C team and FTI re: review
                                               of ad hoc productions and sweeps for the linear
                                               productions (2.5); update discovery work plan (.50);
                                               review metric report (.50); review updates to privilege
                                               log (2.0).
07/03/2023 Joseph Gilday                  0.50 Attention to processing of FTX virtual data room data
                                               (.30); attention to production volume to states (.10);
                                               correspondence to FTI re: imaging of Excel files in
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Date        Name                        Hours Description

                                                production volume (.10).
07/03/2023 Ahmed Mian                     0.20 Set up access to S&C document review platform and
                                               correspondence with S&C team re: same.
07/04/2023 Fareed Ahmed                   5.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Jenna Dilone                   9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Camille Flynn                  2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Ruth Godin                     7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Joshua Hazard                  1.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Sally Hewitson                12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Nicole Isacoff                 3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Sherry Johnson                 2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Frank Jordan                  12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Serge Koveshnikoff             6.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Robin Perry                    2.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Robert Providence              4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/04/2023 Dawn Samuel                   13.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Stephanie Wheeler              0.90 Correspondence to J. Rosenfeld re: SDNY request
                                               (.10); correspondence to N. Friedlander re: SDNY
                                               request (.10); revise state production letter (.10);
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Date        Name                        Hours Description

                                                correspondence to S. Yeargan and K. Donnelly re:
                                                state securities regulators request (.20); review draft
                                                SDNY production letter (.10); correspondence to Z.
                                                Flegenheimer and D. O'Hara re: review of Signal and
                                                Telegram messages (.30).
07/05/2023 Stephen Ehrenberg              1.50 Correspondence to S. Wheeler re: status of rule 2004
                                               requests (.20); correspondence to J. McDonald re:
                                               rule 2004 requests (.70); correspondence to R. Zink
                                               (QE) , M. Shaheen (QE) and J. McDonald re: rule
                                               2004 requests (.20); review materials and notes in
                                               advance of call re: rule 2004 requests (.40).
07/05/2023 Bradley Harsch                 1.30 Call J. Gallant re: production staffing (.10); review
                                               correspondence re: status of request for debtor entity
                                               interview (.10); review and circulate request for
                                               response to federal agency subpoena (.30); draft
                                               production letters, FOIA letters and cover emails for
                                               response to federal agency subpoena (.70); call with
                                               K. Donnelly re: law enforcement subpoenas (.10).
07/05/2023 Bradley Harsch                 0.30 Review correspondence to S&C team re: data privacy
                                               for state request (.10); review correspondence to
                                               S&C team re: rule 2004 request (.20).
07/05/2023 Sean Fulton                    0.70 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/05/2023 Kathleen Donnelly              2.10 Call with B. Harsch re: law enforcement subpoenas
                                               (.10); call with P. Lavin re: law enforcement
                                               subpoenas (.30); call with J. Gallant re: production
                                               team staffing (.60); correspondence with team re:
                                               productions (.30); review documents and letters in
                                               connection with request from state securities regulators
                                               (.80).
07/05/2023 Zoeth Flegenheimer             1.00 Correspondence with FTI re: document review (.30);
                                               correspondence with K. Donnelly re: document
                                               review (.10); correspondence with S. Wheeler re:
                                               document review (.20); correspondence with P. Lavin
                                               and N. Hills re: reviewing documents of interest (.20);
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Date        Name                        Hours Description

                                                correspondence with M. McMahon re: document
                                                review (.20).
07/05/2023 Meaghan Kerin                  0.10 Correspondence to A. Holland, FTI re: document
                                               review issues.
07/05/2023 Jared Rosenfeld                0.40 Correspondence with S&C re: outstanding
                                               productions.
07/05/2023 Alexander Holland              0.20 Correspondence to J. Dilone re: document review
                                               progress.
07/05/2023 Daniel O'Hara                  0.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/05/2023 Samantha Rosenthal             1.40 Correspondence with S&C team re: Slack channel
                                               production to federal regulator (.30); review of Slack
                                               channels for production to federal regulator (1.1).
07/05/2023 Jason Gallant                  1.90 Call with K. Donnelly re: production team staffing
                                               (.60); call with B. Harsch re: production staffing (.10);
                                               review and correspondence with S&C team re:
                                               outgoing productions (1.2).
07/05/2023 Phoebe Lavin                   1.00 Correspondence with S. Wheeler re: states production
                                               letter (.10); finalize production letter for the states
                                               document production (.10); revise Money Transmitter
                                               Regulators Association production letter (.30); draft
                                               correspondence to states and Money Transmitter
                                               Regulators Association re: document production (.20);
                                               call with K. Donnelly re: law enforcement subpoenas
                                               (.30).
07/05/2023 Phoebe Lavin                   1.40 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/05/2023 Berke Gursoy                   0.60 Construct search terms and review document batches
                                               assigned to associate review for responsiveness,
                                               privilege and other issues. (no charge)
07/05/2023 Bonifacio Abad                 5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Fareed Ahmed                  11.60 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/05/2023 Ehi Arebamen                   9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Jenna Dilone                   8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 LaToya Edwards                 3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Camille Flynn                  2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Camille Flynn                  7.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Ruth Godin                     0.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Dawn Harris-Cox                9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Joshua Hazard                  6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Sally Hewitson                 6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Nicole Isacoff                 6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Nicole Isacoff                 3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Sherry Johnson                 0.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Frank Jordan                  13.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Serge Koveshnikoff            11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Robin Perry                    3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/05/2023 Robert Providence              4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Dawn Samuel                   11.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/05/2023 Ismael Cabrera                 0.30 Collect client data from evidence storage location.
07/05/2023 Joseph Gilday                  2.10 Update S&C e-discovery team chain of custody
                                               records (.30); correspondence to M. West re: storage
                                               of laptop extracts (.20); attention to production
                                               volume to states (.20); attention to quality check of
                                               production volumes (1.1); correspondence to S.
                                               Fulton and N. Wolowski re: civil productions (.10);
                                               update S&C data tracking matter summary
                                               questionnaires (.20).
07/05/2023 Nathaniel Lopez                1.70 Perform technical quality check of production volume
                                               (1.1); revise document production request and quality
                                               check form (.10); provide guideline for utilizing native
                                               redaction tool in civil matter database for privilege
                                               review (.50).
07/05/2023 Jimmy Phan                     0.50 Retrieve data for verification covering (.30);
                                               correspondence to S&C team re: same (.20).
07/05/2023 Nicholas Wolowski              2.00 Identify Bahamas productions (.60); load production
                                               volumes and transmit requested productions and
                                               passwords to S&C team (.40); correspondence with
                                               S&C team re: S&C document review platform's
                                               native redaction tool (.40); correspondence with S&C
                                               e-discovery team and paralegal team re: physical
                                               drives for production volume (.20); assign sensitive
                                               tracking questionnaires to COC data (.40).
07/06/2023 Stephanie Wheeler              0.40 Review requests from state securities regulators and
                                               revise proposed response to same (.20); call with K.
                                               Donnelly re: requests from state securities regulators
                                               (.10); correspondence to D. O'Hara re: producing
                                               documents to SDNY (.10).
07/06/2023 Stephen Ehrenberg              0.20 Call with J. McDonald re: rule 2004 requests.
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Date        Name                        Hours Description
07/06/2023 Stephen Ehrenberg              0.10 Correspondence with J. Sedlak, Z. Flegenheimer, J.
                                               McDonald re: data searches for rule 2004 responses.
07/06/2023 Stephen Ehrenberg              0.90 Work on rule 2004 responses and review relevant
                                               materials.
07/06/2023 James McDonald                 1.50 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.50); review rule 2004 materials (.20) call with S.
                                               Ehrenberg re: same (.20); review QE request and call
                                               with QE re: same (.60).
07/06/2023 Bradley Harsch                 0.10 Correspondence to S&C team re: status of response
                                               to federal law enforcement.
07/06/2023 Shane Yeargan                  0.40 Correspondence to K. Donnelly re: collections for
                                               state securities regulator requests.
07/06/2023 Kathleen Donnelly              2.10 Call with S. Wheeler re: requests from state securities
                                               regulators (.10); review requests and draft response
                                               re: same (1.2); correspondence with S&C team re:
                                               same (.80).
07/06/2023 Zoeth Flegenheimer             2.10 Correspondence with J. Croke re: identifying relevant
                                               email addresses to collect updated data for (.60);
                                               correspondence with A. Toobin re: discovery
                                               procedures (.20); correspondence with FTI re:
                                               document review and preparing report on email
                                               metrics (.40); correspondence with S. Ehrenberg re:
                                               preparing report on email metrics (.10); review
                                               document batches assigned to associate review for
                                               responsiveness, privilege and other issues (.10);
                                               correspondence with S&C team re: mailing vendor
                                               hold notices (.10); correspondence with S. Wheeler
                                               re: document review (.10); call with J. Gilday, E.
                                               Newman, N. Wolowski, S. Dooley, M. McMahon
                                               and FTI re: document collection and processing (.30);
                                               correspondence with K. Mayberry re: document
                                               review (.10); correspondence with M. Materni re:
                                               document review (.10).
07/06/2023 Meaghan Kerin                  0.70 Correspondence to S. Rosenthal, FTI re: document
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Date        Name                        Hours Description

                                                review and production issues (.40); review documents
                                                for production (.30).
07/06/2023 Jared Rosenfeld                0.50 Draft talking points re: financial data production.
07/06/2023 Daniel O'Hara                  0.50 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.30); call with E. Downing re: rule 2004 requests
                                               (.20).
07/06/2023 Daniel O'Hara                  0.20 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/06/2023 Samantha Rosenthal             2.80 Review Slack channels for production to federal
                                               regulators (1.4); correspondences with M. Kerin re:
                                               privileged documents (.20); correspondences with M.
                                               Kerin and FTI re: production of Slack channels to
                                               federal regulators (1.2).
07/06/2023 Jason Gallant                  0.20 Review and correspondence with S&C team re:
                                               outgoing productions
07/06/2023 Emma Downing                   1.10 Review third party productions re: protective order
                                               designations (.60); draft summary re: the same (.30);
                                               call with D. O'Hara re: rule 2004 requests (.20).
07/06/2023 Phoebe Lavin                   1.10 Review data request from states to identify additional
                                               outstanding data requests (.40); transmit informal
                                               production to SDNY via file sharing portal (.10);
                                               review past production letters (.40); correspondence
                                               with K. Donnelly re: language precedent request from
                                               past production letters (.20).
07/06/2023 Keila Mayberry                 0.70 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/06/2023 Fareed Ahmed                  11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Ehi Arebamen                   9.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Jenna Dilone                   4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/06/2023 LaToya Edwards                 7.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Camille Flynn                  4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Camille Flynn                  5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Ruth Godin                     3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Dawn Harris-Cox               11.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Joshua Hazard                  6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Sally Hewitson                 7.50 Attend call re: privilege issues with M. McMahon, N.
                                               Isacoff and R. Perry (.50); attend call re: privilege
                                               issues with FTI, M. McMahon and N. Isacoff (.50);
                                               review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (6.5).
07/06/2023 Nicole Isacoff                 0.50 Call with S. Hewitson, R. Perry and M. McMahon
                                               and the vendor re: privilege logs
07/06/2023 Nicole Isacoff                 7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (7.0);
                                               attend call re: privilege issues with FTI, M. McMahon
                                               and S. Hewitson (.50).
07/06/2023 Sherry Johnson                 3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Georgia Maratheftis            9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Robin Perry                    0.50 Attend call re: privilege issues with M. McMahon, N.
                                               Isacoff and S. Hewitson.
07/06/2023 Robert Providence              3.90 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/06/2023 Nicolette Ragnanan             1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Dawn Samuel                   10.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/06/2023 Mary McMahon                   3.80 Call with Z. Flegenheimer, J. Gilday, E. Newman, N.
                                               Wolowski, S. Dooley and FTI re: document collection
                                               and processing (.30); correspondence with S&C team
                                               re: upcoming review and production (1.5); review
                                               privilege guidance updates (1.0); call with S.
                                               Hewitson, R. Perry and N. Isacoff and the vendor re:
                                               privilege logs (.50); attend call re: privilege issues with
                                               FTI, N. Isacoff and S. Hewitson (.50).
07/06/2023 Stephen Dooley                 0.30 Call with Z. Flegenheimer, J. Gilday, E. Newman, N.
                                               Wolowski, S. Dooley, M. McMahon and FTI re:
                                               document collection and processing.
07/06/2023 Carrie Fanning                 0.50 Correspondence with N. Wolowski and J. Keeley re:
                                               document redaction (.20); correspondence with N.
                                               Lopez and N. Wolowski re: redaction tool in S&C
                                               document review platform (.30).
07/06/2023 Joseph Gilday                  2.80 Call with Z. Flegenheimer, E. Newman, N. Wolowski,
                                               S. Dooley, M. McMahon and FTI re: document
                                               collection and processing (.30); update S&C
                                               e-discovery team chain of custody records (1.5);
                                               review correspondence re: civil productions (.10);
                                               update matter production log (.60); attention to quality
                                               check of production volume (.30).
07/06/2023 Jacky Long                     0.70 Assist in preparation of production volume for S&C
                                               team.
07/06/2023 Nathaniel Lopez                0.80 Correspondence with S&C team re: native redaction
                                               tool in S&C document review platform (.30); export
                                               documents needing redaction (.50).
07/06/2023 Wayne Walther                  0.90 Search for requested documents and export in PDF
                                               and native format for S&C team review.
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Date        Name                        Hours Description
07/06/2023 Wayne Walther                  1.20 Perform technical quality check on production volume,
                                               identify issues within the volume and generate reports
                                               for project management review (1.0); correspondence
                                               with J. Gilday re: quality check findings of outgoing
                                               production, metadata summary and production reports
                                               (.20).
07/06/2023 Nicholas Wolowski              1.00 Call with Z. Flegenheimer, J. Gilday, E. Newman, S.
                                               Dooley, M. McMahon and FTI re: document
                                               collection and processing (.30); correspondence with
                                               S&C team re: document export and production
                                               specifications (.70).
07/07/2023 Stephanie Wheeler              0.50 Call with K. Donnelly and state re: requests for
                                               information (.40); correspondence to N. Roos
                                               (SDNY) and Z. Flegenheimer re: SDNY request for
                                               documents (.10).
07/07/2023 Stephen Ehrenberg              0.60 Review search results and other materials for rule
                                               2004 response and correspondence with J.
                                               McDonald re: same.
07/07/2023 Stephen Ehrenberg              0.20 Correspondence to B. Glueckstein re: rule 2004
                                               requests.
07/07/2023 Stephen Ehrenberg              0.30 Review and analyze documents for rule 2004
                                               response and correspondence with J. McDonald re:
                                               same.
07/07/2023 Stephen Ehrenberg              0.20 Correspondence with J. McDonald re: rule 2004
                                               requests (.10); correspondence with J. McDonald re:
                                               potential interview list (.10).
07/07/2023 James McDonald                 1.00 Correspondence to S&C team re: QE requests and
                                               review of materials re: same.
07/07/2023 Anthony Lewis                  0.10 Correspondence with S&C team re: SDNY requests.
07/07/2023 Bradley Harsch                 0.20 Review SDNY request for Slack channels.
07/07/2023 Bradley Harsch                 0.20 Correspondence to S&C team re: query from federal
                                               law enforcement.
07/07/2023 Kathleen Donnelly              1.20 Analyze requests and correspondence with S&C team
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Date        Name                         Hours Description

                                                 re: same (.80); call with S. Wheeler and state re:
                                                 requests for information (.40).
07/07/2023 Zoeth Flegenheimer              2.00 Correspondence with FTI re: preparing report on
                                                email metrics, document review, Slack production,
                                                and preparing for bankruptcy action discovery (1.2);
                                                correspondence with S. Ehrenberg re: preparing
                                                report on email metrics (.10); correspondence with M.
                                                Bennett re: privilege determination (.10); review
                                                document batches assigned to associate review for
                                                responsiveness, privilege and other issues (.30); call
                                                with J. Gilday, E. Newman, S. Dooley, R. Perubhatla
                                                (RLKS) and FTI re: document collection and
                                                processing (partial attendance -30).
07/07/2023 Jared Rosenfeld                 0.30 Correspondence with S&C re: financial data
                                                production.
07/07/2023 Daniel O'Hara                   0.30 Correspondence to S&C team re: document
                                                preservation.
07/07/2023 Samantha Rosenthal              1.40 Correspondence with M. Kerin and FTI re:
                                                production of public and private Slack channels to
                                                federal regulator and SDNY (.30); draft summary of
                                                Slack channels to be produced to federal regulator
                                                (1.1).
07/07/2023 Natalie Hills                   3.30 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
07/07/2023 Phoebe Lavin                    4.00 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
                                                and summarize relevant documents for S&C team
                                                (3.5); correspondence with Z. Flegenheimer re: same
                                                (.50).
07/07/2023 Keila Mayberry                  1.60 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
07/07/2023 Fareed Ahmed                   11.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/07/2023 Ehi Arebamen                    9.90 Review document batches assigned to analyst review
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                                                for responsiveness, privilege and other issues.
07/07/2023 Camille Flynn                  4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Dawn Harris-Cox               11.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Joshua Hazard                  6.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Sally Hewitson                 6.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Sherry Johnson                 5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Frank Jordan                   4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Georgia Maratheftis            8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Robin Perry                    3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/07/2023 Mary McMahon                   4.00 Correspondence with S&C team re: document review
                                               and production (2.0); conduct production sweeps
                                               (1.0); update discovery work plan (1.0).
07/07/2023 Stephen Dooley                 0.40 Call with Z. Flegenheimer, J. Gilday, E. Newman, R.
                                               Perubhatla (RLKS) and FTI re: document collection
                                               and processing.
07/07/2023 Carrie Fanning                 0.40 Correspondence with N. Wolowski re: relevant third
                                               party production (.20); correspondence with E.
                                               Newman and N. Wolowski re: ESI protocol (.20).
07/07/2023 Joseph Gilday                  1.00 Call with Z. Flegenheimer, E. Newman, S. Dooley, R.
                                               Perubhatla (RLKS) and FTI re: document collection
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                                                and processing (.40); update S&C e-discovery team
                                                chain of custody records (.50); review
                                                correspondence re: civil productions (.10).
07/07/2023 Eric Newman                    1.20 Call with Z. Flegenheimer, J. Gilday, S. Dooley, R.
                                               Perubhatla (RLKS) and FTI re: document collection
                                               and processing (.40); correspondence with S&C team
                                               re: relevant third party production (.30); update
                                               internal project tracking and documentation (.50).
07/07/2023 Wayne Walther                  1.10 Update tagging pallet within the S&C document
                                               review platform database (.50); export all redacted
                                               documents in PDF format with highlights (.60).
07/07/2023 Nicholas Wolowski              2.60 Release S&C document review platform native
                                               redaction tool to S&C team (.20); correspondence
                                               with S&C team re: production specifications (.30);
                                               correspondence with S&C e-discovery team re:
                                               exporting requested documents and creating additional
                                               document tags (.30); review ESI protocol for
                                               upcoming production (.40); release newly created
                                               confidentiality tags and export documents to S&C
                                               team (.30); correspondence with S&C e-discovery
                                               team on creation of new redaction label and coding
                                               choice (.20); conduct quality check on redaction label
                                               and coding choice and release to S&C team (.30);
                                               correspondence with S&C e-discovery team re: ESI
                                               protocol for upcoming production (.20);
                                               correspondence to C. Fanning re: ongoing case status
                                               (.40).
07/08/2023 James McDonald                 1.50 Correspondence to S&C team re: rule 2004 requests
                                               and interview requests and review materials re: same.
07/08/2023 Mark Bennett                   0.50 Respond to privilege issues identified by analyst team.
07/08/2023 Zoeth Flegenheimer             0.10 Correspondence with J. Croke re: data collection.
07/08/2023 Camille Flynn                  3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Ruth Godin                     6.80 Review document batches assigned to analyst review
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                                                for responsiveness, privilege and other issues.
07/08/2023 Joshua Hazard                  4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Sally Hewitson                 9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Nicole Isacoff                 5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Serge Koveshnikoff             7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Georgia Maratheftis            5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/08/2023 Robin Perry                    3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Stephanie Wheeler              0.20 Correspondence to D. Sassoon (SDNY) and team re:
                                               SDNY requests for documents.
07/09/2023 James McDonald                 0.80 Review materials and correspondence to S&C team
                                               re: responses to QE requests.
07/09/2023 Zoeth Flegenheimer             0.80 Review documents to identify Signal communications
                                               requested by SDNY (.70); correspondence with S.
                                               Wheeler re: document production (.10).
07/09/2023 Daniel O'Hara                  0.30 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/09/2023 Phoebe Lavin                   1.00 Review documents re: SDNY request and
                                               correspondence with S&C team re: same.
07/09/2023 Fareed Ahmed                   5.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Jenna Dilone                   8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Camille Flynn                  3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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07/09/2023 Sally Hewitson                11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Nicole Isacoff                 5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Sherry Johnson                 2.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Frank Jordan                  10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Serge Koveshnikoff            10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Georgia Maratheftis            6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Robin Perry                    2.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Robin Perry                    3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/09/2023 Carrie Fanning                 0.10 Correspondence with J. Keeley re: redaction
                                               application request.
07/10/2023 Stephanie Wheeler              0.60 Correspondence to D. Sassoon (SDNY), P. Lavin
                                               and Z. Flegenheimer re: SDNY request for documents
                                               (.20); correspondence to K. Donnelly re: state
                                               securities regulator requests (.10); correspondence to
                                               N. Menillo, J. Bromley re: indemnification requests
                                               (.20); correspondence to S. Rand (QE), K. Lemire
                                               (QE) and S. Williamson (QE) re: indemnification
                                               requests (.10).
07/10/2023 Stephen Ehrenberg              0.10 Correspondence with J. McDonald re: response to
                                               rule 2004 requests.
07/10/2023 Stephen Ehrenberg              0.10 Correspondence with J. Rosenfeld, A. Levin, T. Millet
                                               re: materials needed for rule 2004 response.
07/10/2023 Stephen Ehrenberg              0.30 Correspondence to J. McDonald re: rule 2004
                                               requests.
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Date        Name                        Hours Description
07/10/2023 Christopher Dunne              0.20 Call with D. O’Hara and E. Downing re: confidential
                                               classification of documents.
07/10/2023 Bradley Harsch                 0.40 Correspondence to S&C team re: inquiry from federal
                                               agency re: subpoena response (.20); review status of
                                               law enforcement offices responses (.20).
07/10/2023 Bradley Harsch                 0.10 Review correspondence to S&C team re: documents
                                               for SDNY request.
07/10/2023 Shane Yeargan                  0.30 Correspondence to A&M re: state securities
                                               regulators data requests.
07/10/2023 Shane Yeargan                  0.10 Correspondence with S. Wheeler and J. Croke re:
                                               Earn program.
07/10/2023 Kathleen Donnelly              0.60 Review documents and correspondence with S&C
                                               team re: questions from state securities regulators.
07/10/2023 Zoeth Flegenheimer             0.30 Call with S&C team and FTI re: FTX discovery
                                               procedures.
07/10/2023 Zoeth Flegenheimer             2.40 Correspondence with S. Wheeler re: document
                                               production and privilege determinations (1.0);
                                               correspondence with SDNY re: document production
                                               (.20); correspondence with S. Fulton re: document
                                               production (.10); correspondence with J. Gallant re:
                                               document review and production (.40);
                                               correspondence with FTI re: document review and
                                               data collection (.20); correspondence with J. Keeley
                                               re: preparing production letter (.10); correspondence
                                               with K. Donnelly re: document production (.10); call
                                               with N. Wolowski, J. Gilday, E. Newman, C.
                                               Fanning, S. Dooley, M. McMahon and FTI re:
                                               document collection and processing (.30).
07/10/2023 Daniel O'Hara                  0.20 Call with C. Dunne and E. Downing re: confidential
                                               classification of documents.
07/10/2023 Jason Gallant                  1.80 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/10/2023 Emma Downing                   0.20 Call with C. Dunne and D. O’Hara re: confidential
                                               classification of documents.
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Date        Name                        Hours Description

07/10/2023 Phoebe Lavin                   0.80 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/10/2023 Lana Levin                     3.30 Draft response to rule 2004 request from QE.
07/10/2023 Keila Mayberry                 1.00 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/10/2023 Tatum Millet                   0.20 Correspondence to S&C e-discovery team re:
                                               productions for Money Transmitter Regulators
                                               Association and states (.10); correspondence to J.
                                               Keeley re: sample production letter (.10).
07/10/2023 Berke Gursoy                   4.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
                                               (no charge)
07/10/2023 Fareed Ahmed                  11.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Ehi Arebamen                   8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Jenna Dilone                   9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Camille Flynn                  5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Camille Flynn                  2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Ruth Godin                     4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Dawn Harris-Cox                6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Joshua Hazard                  1.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Sally Hewitson                 5.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Nicole Isacoff                 6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

07/10/2023 Sherry Johnson                 3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Frank Jordan                  12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Serge Koveshnikoff            11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Georgia Maratheftis           10.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Robin Perry                    2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Robin Perry                    5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Robin Perry                    0.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Nicolette Ragnanan             3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/10/2023 Mary McMahon                   4.10 Correspondence with S&C team and FTI re: review
                                               and production (1.8); review with FTI and S&C team
                                               re: privilege updates and queries (2.0); call with Z.
                                               Flegenheimer, J. Gilday, E. Newman, C. Fanning, S.
                                               Dooley, N. Wolowski and FTI re: document
                                               collection and processing (.30).
07/10/2023 Carrie Fanning                 0.20 Call with Z. Flegenheimer, J. Gilday, E. Newman, N.
                                               Wolowski, S. Dooley, M. McMahon and FTI re:
                                               document collection and processing (.20 - partial
                                               attendance).
07/10/2023 Joseph Gilday                  2.50 Call with Z. Flegenheimer, N. Wolowski, E. Newman,
                                               C. Fanning, S. Dooley, M. McMahon and FTI re:
                                               document collection and processing (.30); attention to
                                               production volume to states (.30); review
                                               correspondence re: new civil workflow and
                                               production (.20); update matter collection log (1.4);
                                               update S&C e-discovery team chain of custody
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                                                records (.20); attention to S&C data tracking matter
                                                summary questionnaires (.10).
07/10/2023 Saud Hossein                   0.20 Attention to user access to S&C document review
                                               database and security.
07/10/2023 Nathaniel Lopez                1.30 Process for production volume (1.0); revise document
                                               production request and quality check form and
                                               conduct technical quality check (.30).
07/10/2023 Ahmed Mian                     0.70 Conduct quality check on production volumes and
                                               correspondence with S&C team re: same.
07/10/2023 Eric Newman                    0.30 Call with Z. Flegenheimer, J. Gilday, N. Wolowski, C.
                                               Fanning, S. Dooley, M. McMahon and FTI re:
                                               document collection and processing.
07/10/2023 Nicholas Wolowski              2.50 Correspondence with S&C team re: production
                                               specifications (.40); correspondence with S&C
                                               e-discovery team and analysts re: native redactions
                                               (.30) create production request form for production
                                               volumes and correspondence with S&C e-discovery
                                               team re: production (.50); call with Z. Flegenheimer, J.
                                               Gilday, E. Newman, C. Fanning, S. Dooley, M.
                                               McMahon and FTI re: document collection and
                                               processing (.30); retrieve, log production volume and
                                               transmit to FTI for loading into relevant third party
                                               review database workspace (.50); conduct quality
                                               check on production volume and release to S&C team
                                               (.50).
07/11/2023 David Gilberg                  0.10 Call with S. Ehrenberg re: rule 2004 request.
07/11/2023 Stephanie Wheeler              0.90 Correspondence to N. Roos (SDNY) and Z.
                                               Flegenheimer re: SDNY re: request for documents
                                               (.10); review documents re: relevant third party (.30);
                                               call with Z. Flegenheimer re: document production
                                               (.10); correspondence to N. Roos (SDNY), Z.
                                               Flegenheimer and J. Rosenfeld re: new SDNY
                                               requests (.10); revise state production letter (.10);
                                               correspondence to Z. Flegenheimer re: response to
                                               SDNY re: document question (.10); correspondence
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                                                to J. Gallant re: SDNY document request (.10).
07/11/2023 Stephen Ehrenberg              0.10 Correspondence to K. McArthur re: rule 2004
                                               request to S&C.
07/11/2023 Stephen Ehrenberg              0.30 Correspondence to B. Glueckstein re: rule 2004
                                               requests.
07/11/2023 Stephen Ehrenberg              0.20 Correspondence to J. Lloyd re: rule 2004 requests.
07/11/2023 Stephen Ehrenberg              0.10 Call with D. Gilberg re: rule 2004 request.
07/11/2023 Stephen Ehrenberg              0.20 Correspondence with J. McDonald re: dates for rule
                                               2004 interviews.
07/11/2023 Nicole Friedlander             0.20 Correspondence with J. Rosenfeld re: SDNY request.
07/11/2023 Bradley Harsch                 0.60 Call with federal agency re: query on subpoena
                                               response (.20); correspondence to S&C team re:
                                               federal agency query on subpoena response (.10);
                                               review status of responses to law enforcement offices
                                               and federal agency and correspondence to S&C team
                                               re: same (.30).
07/11/2023 William Wagener                0.30 Review correspondence to S&C team re: status of
                                               various SDNY requests.
07/11/2023 Sean Fulton                    1.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (1.3); correspondence to B. Glueckstein re: relevant
                                               third party documents for production (.30).
07/11/2023 Kathleen Donnelly              0.40 Review draft production letter (.20); correspondence
                                               with S&C team re: productions (.20).
07/11/2023 Zoeth Flegenheimer             1.60 Correspondence with FTI re: metadata analysis and
                                               document review (.30); respond to document
                                               production questions from N. Roos (SDNY) (.10);
                                               correspondence with S. Wheeler re: document review
                                               and production and responding to SDNY's document
                                               production questions (.60); correspondence with J.
                                               Gallant re: document production (.20);
                                               correspondence with K. Donnelly re: document
                                               production (.10); calls with S. Wheeler re: document
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                                                production (.10); call with E. Newman, C. Fanning,
                                                N. Wolowski and FTI re: document collection and
                                                processing (.20).
07/11/2023 Meaghan Kerin                  1.30 Correspondence to A. Lewis, S. Rosenthal, FTI,
                                               federal regulator re: document requests and
                                               productions (.60); review Slack records re: same
                                               (.70).
07/11/2023 Meaghan Kerin                  0.10 Correspondence to SDNY and Sygnia re: database
                                               discovery issues.
07/11/2023 Jared Rosenfeld                0.30 Correspondence with S&C re: outstanding
                                               productions.
07/11/2023 Zachary Hearn                  0.80 Revise discovery plan according to feedbacks from
                                               S&C team.
07/11/2023 Alexander Holland              0.30 Correspondence with A&M re: SDNY request.
07/11/2023 Samantha Rosenthal             1.40 Correspondence with A. Lewis and M. Kerin re:
                                               federal regulator questions re: Slack channels (.20);
                                               review Slack channels for federal regulator follow-up
                                               request (.80); email correspondences with M. Kerin
                                               and FTI re: production of Slack channels to federal
                                               regulators (.40).
07/11/2023 Tatum Millet                   1.40 Draft, revise and transmit production letters for Money
                                               Transmitter Regulators Association and states (1.0);
                                               correspondence to S&C team re: same (.20); draft
                                               and transmit follow-up emails with passwords (.10);
                                               review feedback from S&C team re: same (.10).
07/11/2023 Berke Gursoy                   5.10 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
                                               (no charge)
07/11/2023 Bonifacio Abad                 7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Fareed Ahmed                   9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Ehi Arebamen                   8.80 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/11/2023 Jenna Dilone                   1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Ruth Godin                     3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Joshua Hazard                  2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Sally Hewitson                 7.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Sherry Johnson                 1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Serge Koveshnikoff             9.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Georgia Maratheftis           11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Robin Perry                    8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Robert Providence              4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Robert Providence              3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Nicolette Ragnanan             1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/11/2023 Mary McMahon                   2.10 Correspondence with S&C team and FTI re: review
                                               and production updates.
07/11/2023 Carrie Fanning                 0.50 Call with Z. Flegenheimer, E. Newman, N. Wolowski
                                               and FTI re: document collection and processing (.20);
                                               correspondence with N. Wolwoski re: search setup
                                               for highlights and native exports (.10); correspondence
                                               with A. Kaufman and N. Wolowski re: status for load
                                               to document review platform (.20).
07/11/2023 Joseph Gilday                  0.20 Correspondence to S&C e-discovery team re: storage
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Date        Name                        Hours Description

                                                of laptop extracts.
07/11/2023 Eric Newman                    1.50 Call with FTI and A&M re: status updates (.50); call
                                               with Z. Flegenheimer, C. Fanning, N. Wolowski and
                                               FTI re: document collection and processing (.20);
                                               correspondence with S&C team re: transmittal of FTX
                                               production volume (.50); correspondence with S&C
                                               team re: storage of data files (.30).
07/11/2023 Wayne Walther                  1.50 Create media for outgoing production volume (.80);
                                               correspondence with E. Newman re: hard drive
                                               creation and completion (.10); create searches within
                                               the S&C document review platform database for all
                                               redacted documents and export in PDF format (.60).
07/11/2023 Nicholas Wolowski              2.20 Call with FTI re: review database protocol (.50);
                                               correspondence to C. Fanning, E. Newman A&M
                                               (various) and FTI (various) re: A&M document
                                               collection and processing (.50); correspondence with
                                               FTI on assigning COC values to newly imported third
                                               party production (.20); call with Z. Flegenheimer, E.
                                               Newman, C. Fanning and FTI re: document collection
                                               and processing (.20); coordinate redaction exports
                                               with S&C team (.40); generate third party production
                                               metrics and correspondence with S&C team re: same
                                               (.40).
07/12/2023 Stephanie Wheeler              0.30 Review privilege calls re: documents to be produced.
07/12/2023 Stephen Ehrenberg              0.40 Call with R. Zink (QE), M. Shaheen (QE) re:
                                               response to rule 2004 requests.
07/12/2023 James McDonald                 1.00 Call with QE and review of materials re: S&C
                                               requests.
07/12/2023 Bradley Harsch                 0.50 Correspondence to S&C team re: update on response
                                               for federal law enforcement (.10); review and
                                               comment on production for federal law enforcement
                                               (.40).
07/12/2023 Mark Bennett                   0.10 Correspondence with M. McMahon re: status of
                                               privilege review.
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Date        Name                        Hours Description
07/12/2023 Kathleen Donnelly              0.20 Review and revise production letter.
07/12/2023 Zoeth Flegenheimer             0.90 Correspondence with S. Wheeler re: responding to
                                               SDNY's document production questions (.20);
                                               correspondence with J. Gallant re: preparing
                                               production letter (.20); correspondence with FTI re:
                                               metadata analysis (.10); respond to SDNY's
                                               document production questions (.10); review
                                               document batches assigned to associate review for
                                               responsiveness, privilege and other issues (.30).
07/12/2023 Meaghan Kerin                  0.60 Correspondence to J. Gallant, S. Rosenthal, K.
                                               Donnelly, FTI re: document production issues (.40);
                                               revise SDNY production letter (.10); review historical
                                               production letters in connection with same (.10).
07/12/2023 Alexander Holland              0.50 Correspondence with A&M re: SDNY request.
07/12/2023 Daniel O'Hara                  0.80 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/12/2023 Daniel O'Hara                  0.10 Review correspondence re: vendor document
                                               preservation notice.
07/12/2023 Samantha Rosenthal             0.80 Correspondence with K. Donnelly, M. Kerin and J.
                                               Gallant re: SDNY production metrics (.20);
                                               correspondences with A. Lewis and M. Kerin re:
                                               Signal data (.10); correspondences with M. Kerin re:
                                               same (.20); correspondences with M. Kerin re:
                                               federal regulator production letters (.30).
07/12/2023 Jason Gallant                  1.50 Review and correspondence with S&C team re:
                                               outgoing productions
07/12/2023 Julian Keeley                  2.10 Redact personal data in documents (.80); revise
                                               production cover letter (.80); coordinate production
                                               distribution (.50).
07/12/2023 Bonifacio Abad                 5.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Fareed Ahmed                   6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/12/2023 Ehi Arebamen                   2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Joshua Hazard                  0.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Sally Hewitson                 8.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Sherry Johnson                 3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Frank Jordan                   1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Serge Koveshnikoff             0.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Georgia Maratheftis            0.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Georgia Maratheftis           10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Nicolette Ragnanan             3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/12/2023 Mary McMahon                   4.10 Correspondence with S&C team and FTI re: review
                                               and production (2.1); correspondence with S&C team
                                               and FTI re: document review and layout set up (2.0).
07/12/2023 Ismael Cabrera                 0.80 Analyze technical specifications on productions in
                                               S&C document review platform.
07/12/2023 Carrie Fanning                 0.30 Correspondence with N. Wolowski re: review
                                               platform layout setup (.20); correspondence with N.
                                               Wolowski and E. Yim re: redaction additions to
                                               production (.10).
07/12/2023 Eric Newman                    2.20 Correspondence with S&C team re: transmittal of
                                               A&M data (.30); correspondence with S&C team re:
                                               transmittal of production volume (.30); update internal
                                               project tracking and audit documentation (.60);
                                               correspondence with S&C team and vendor re:
                                               production volume (.50); correspondence with S&C
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Date        Name                        Hours Description

                                                team and vendor re: document production (.50).
07/12/2023 Wayne Walther                  0.80 Perform technical quality check on production volume,
                                               identify issues within the volume and generate reports
                                               for project management review (.70); correspondence
                                               with E. Newman re: quality check findings of outgoing
                                               production, metadata summary and production reports
                                               (.10).
07/12/2023 Nicholas Wolowski              1.90 Correspondence with S&C team re: creation of new
                                               coding layout and fields (.50); correspondence with
                                               S&C team re: rerunning of production volumes (.50);
                                               create production form and transmit to S&C
                                               e-discovery team (.40); conduct quality check on
                                               production volume and correspondence to S&C team
                                               re: same (.50).
07/12/2023 Eileen Yim                     1.40 Rerun production volume to update production
                                               document set for document review (.90);
                                               correspondence with N. Wolowski re: creation of
                                               updated production volume (.20); coordinate quality
                                               check of production volume (.10); retrieve production
                                               volume (.20).
07/13/2023 Stephanie Wheeler              0.30 Correspondence to N. Roos (SDNY) re: SDNY
                                               requests (.10); call with K&L Gates and D. O’Hara
                                               re: document review (.20).
07/13/2023 Anthony Lewis                  0.10 Correspondence with S&C, SDNY and Sygnia teams
                                               re: SDNY requests.
07/13/2023 Bradley Harsch                 1.30 Correspondence to S&C team re: status of response
                                               for federal law enforcement (.10); review
                                               correspondence re: production for federal law
                                               enforcement (.10); review and correspondence to
                                               S&C team re: subpoena from federal law enforcement
                                               (.30); review document production for federal agency
                                               and correspondence to S&C team re: same (.30);
                                               review and correspondence to S&C team re:
                                               response to federal agency (.50).
07/13/2023 Shane Yeargan                  0.10 Correspondence to S. Wheeler and K. Donnelly re:
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Date        Name                        Hours Description

                                                SDNY requests.
07/13/2023 Mevelyn Ong                    0.40 Call re: relevant third party document review with R.
                                               Pester, S. Liu and J. Keeley.
07/13/2023 Kathleen Donnelly              0.40 Review data in connection with government request
                                               (.20); correspondence with S&C team re: same (.20).
07/13/2023 Meaghan Kerin                  0.40 Correspondence to S. Rosenthal, FTI re: document
                                               production issues (.30); correspondence to federal
                                               regulator re: same (.10).
07/13/2023 Meaghan Kerin                  0.10 Correspondence to Sygnia and SDNY re: database
                                               discovery issues.
07/13/2023 Jared Rosenfeld                0.20 Correspondence with S&C re: financial data
                                               production.
07/13/2023 Alexander Holland              1.40 Call with A&M re: SDNY request (.40);
                                               correspondence with A&M, S. Wheeler, J.
                                               Rosenfeld, and SDNY re: same (1.0).
07/13/2023 Sienna Liu                     0.40 Call re: relevant third party document review with M.
                                               Ong, R. Pester and J. Keeley.
07/13/2023 Daniel O'Hara                  0.30 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.10); call with K&L Gates and S. Wheeler re:
                                               document review (.20).
07/13/2023 Samantha Rosenthal             4.90 Correspondence with M. Kerin and FTI re: conflict
                                               searches for production of Slack channels to federal
                                               regulator and SDNY (.20); review documents re:
                                               same (3.1); correspondence with M. Kerin re: same
                                               (.30); draft summary re: Slack communications for
                                               production (1.2); correspondences with A. Lewis, M.
                                               Kerin re: same (.10).
07/13/2023 Jason Gallant                  0.80 Review and correspondence with S&C team re:
                                               outgoing productions (.70); review and
                                               correspondence with S&C team re: production for
                                               law enforcement subpoena (.10).
07/13/2023 Julian Keeley                  0.40 Call re: relevant third party document review with M.
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Date        Name                        Hours Description

                                                Ong, S. Liu and R. Pester.
07/13/2023 Phoebe Lavin                   0.10 Retrieve document production from drive to assist
                                               with document production to the SDNY.
07/13/2023 Phoebe Lavin                   0.40 Correspondence with FTI re: law enforcement
                                               subpoena.
07/13/2023 Tatum Millet                   1.70 Review documents re: relevant third party (1.1); draft
                                               summary re: same (.60).
07/13/2023 Rachel Pester                  0.40 Call re: relevant third party document review with M.
                                               Ong, S. Liu and J. Keeley.
07/13/2023 Victoria Shahnazary            0.70 Update law enforcement subpoena tracker.
07/13/2023 Bonifacio Abad                 2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Fareed Ahmed                   6.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Camille Flynn                  5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Joshua Hazard                  5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Sally Hewitson                 7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Sherry Johnson                 1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Serge Koveshnikoff             9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Georgia Maratheftis           10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Robin Perry                    1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Robin Perry                    2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/13/2023 Nicolette Ragnanan             4.30 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/13/2023 Mary McMahon                   3.20 Correspondence with S&C team and FTI re: review
                                               and productions (2.0); conduct ad hoc review and
                                               quality check re: same (1.2).
07/13/2023 Jacky Long                     0.40 Assist E. Yim with hard drive of pointer data per A.
                                               Holland.
07/13/2023 Eric Newman                    1.10 Correspondence with S&C team re: transmittal of
                                               FTX productions (.30); correspondence with S&C
                                               team re: transmittal of incoming FTX productions for
                                               federal law enforcement (.30); correspondence with
                                               S&C team and vendor re: FTX production volumes
                                               (.20); correspondence with S&C team re: transmittal
                                               of data (.30).
07/13/2023 Wayne Walther                  1.30 Perform technical quality check on production volume,
                                               identify issues within the volume and generate reports
                                               for project management review (1.1); correspondence
                                               with E. Newman re: quality check findings of outgoing
                                               production, metadata summary and production reports
                                               (.20).
07/13/2023 Eileen Yim                     0.40 Retrieve data for SDNY request (.10); create hard
                                               drive of data for review and production (.20); create
                                               production media of production volume (.10).
07/14/2023 Stephanie Wheeler              1.50 Revise talking points for SDNY call re: various
                                               requests for documents and information (.70); prepare
                                               for SDNY call (.20); call with N. Roos (SDNY), D.
                                               Kudla (SDNY), S. Raymond (SDNY), J. Rosenfeld
                                               and S. Yeargan re: SDNY requests for documents
                                               and information (.40); correspondence to A. Holland
                                               and N. Roos (SDNY) re: data SDNY requested
                                               (.20).
07/14/2023 Bradley Harsch                 0.40 Review correspondence re: production to states (.20);
                                               correspondence to S&C team re: query from federal
                                               agency (.20).
07/14/2023 Shane Yeargan                  0.60 Correspondence to A&M re: searches for SDNY
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Date        Name                        Hours Description

                                                request (.20); call with N. Roos (SDNY), D. Kudla
                                                (SDNY), S. Raymond (SDNY), J. Rosenfeld and S.
                                                Wheeler re: SDNY requests for documents and
                                                information (.40).
07/14/2023 Shane Yeargan                  1.50 Review transaction data for state MSB reporting
                                               (1.3); correspondence with J. Sutton re: same (.20).
07/14/2023 Mark Bennett                   0.60 Correspondence with S. Hewitson re: privilege issues
                                               (.20); correspondence with J. Sedlak re: privilege
                                               issues (.40).
07/14/2023 Zoeth Flegenheimer             0.30 Correspondence with FTI re: document production
                                               and data processing.
07/14/2023 Meaghan Kerin                  1.00 Call with M. Buttivant (FTI) re: document production
                                               issues (.10); correspondence to S. Rosenthal, FTI, N.
                                               Wolowski re: same (.60); review records relating to
                                               document review issues (.30).
07/14/2023 Jared Rosenfeld                0.40 Call with N. Roos (SDNY), D. Kudla (SDNY), S.
                                               Raymond (SDNY), S. Yeargan and S. Wheeler re:
                                               SDNY requests for documents and information.
07/14/2023 Jared Rosenfeld                0.40 Correspondence with SDNY re: outstanding
                                               productions.
07/14/2023 Alexander Holland              0.90 Prepare response to SDNY request and
                                               correspondence with S. Wheeler and P. Lavin re:
                                               same.
07/14/2023 Daniel O'Hara                  0.10 Call with E. Downing re: production file sharing
                                               protocol.
07/14/2023 Samantha Rosenthal             2.10 Correspondence with A. Lewis, M. Kerin and federal
                                               regulator re: production of Slack channels (.20);
                                               correspondences with M. Kerin and FTI re: same
                                               (.90); correspondences with A. Lewis and M. Kerin
                                               re: same (.80); correspondences with A. Lewis, M.
                                               Kerin and Sygnia re: Slack communications
                                               production (.20).
07/14/2023 Jason Gallant                  0.10 Review and correspondence with S&C team re:
                                               outgoing productions
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Date        Name                        Hours Description

07/14/2023 Emma Downing                   0.20 Call with D. O'Hara re: production file sharing
                                               protocol (.10); upload production (.10).
07/14/2023 Rachel Pester                  3.10 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/14/2023 Victoria Shahnazary            0.60 Update law enforcement subpoena tracker.
07/14/2023 Bonifacio Abad                 4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Camille Flynn                  4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Camille Flynn                  4.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Joshua Hazard                  6.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Sally Hewitson                 8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Serge Koveshnikoff            13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Georgia Maratheftis            9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Robin Perry                    3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Robin Perry                    2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Robin Perry                    2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Nicolette Ragnanan             6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/14/2023 Mary McMahon                   4.20 Correspondence with S&C team and FTI re: review,
                                               production, and privilege call updates (2.5); update
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Date        Name                        Hours Description

                                                discovery workplan (.50); review metric report (.50);
                                                conduct quality check re: updates for production
                                                sweeps (.70).
07/14/2023 Carrie Fanning                 0.20 Correspondence with N. Wolowski and E. Yim re:
                                               relevant third party production preparation.
07/14/2023 Eric Newman                    0.90 Correspondence with S&C team re: quality check and
                                               transmittal of production volume (.30);
                                               correspondence with S&C team and vendor re:
                                               preparation of FTX production for federal agency
                                               (.30); correspondence with S&C team re: review of
                                               data (.20); correspondence with S&C team re:
                                               transmittal of production volume (.10).
07/14/2023 Wayne Walther                  0.60 Perform the technical quality check on production
                                               volume and generate reports for project management
                                               review (.40); correspondence with E. Newman re: the
                                               quality check findings of outgoing production,
                                               metadata summary and production reports (.20).
07/14/2023 Nicholas Wolowski              3.20 Correspondence with S&C team and FTI re: creation
                                               of new coding layout and fields (1.5); correspondence
                                               with S&C team re: rerunning production volumes
                                               (.50); create production form and transmit to S&C
                                               e-discovery team (.20); conduct quality check on
                                               production volume and correspondence to S&C team
                                               re: same (1.0).
07/14/2023 Eileen Yim                     1.40 Conduct quality check on production volume (.20);
                                               correspondence with E. Newman re: quality check on
                                               production volume (.10); create production staging
                                               view for document review (.40); correspondence with
                                               N. Wolowski re: production staging views (.10);
                                               create production volumes (.60).
07/15/2023 Kathleen McArthur              0.10 Correspondence to U. Eze re: documents escalated
                                               from first level review.
07/15/2023 Bradley Harsch                 0.40 Review correspondence re: production for federal law
                                               enforcement (.10); review correspondence re: status
                                               of response for federal agency (.10); review
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Date        Name                        Hours Description

                                                correspondence re: protocol for production of
                                                documents to law enforcement (.20).
07/15/2023 Samantha Rosenthal             0.20 Correspondence with A. Lewis, M. Kerin, federal
                                               regulator and federal law enforcement re: production
                                               of Slack channels.
07/15/2023 Bonifacio Abad                 4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Fareed Ahmed                   4.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Camille Flynn                  1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Camille Flynn                  4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Joshua Hazard                  8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Sally Hewitson                 9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Serge Koveshnikoff            13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Georgia Maratheftis            6.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Robin Perry                    1.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Robin Perry                    5.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Robin Perry                    3.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/15/2023 Nicolette Ragnanan             4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Christopher Dunne              0.30 Review QE rule 2004 request and correspondence to
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Date        Name                        Hours Description

                                                S&C team re: same.
07/16/2023 Shane Yeargan                  0.20 Correspondence to K. Baker (A&M) re: state
                                               securities regulators data request (.10);
                                               correspondence with S. Wheeler re: data requests re:
                                               debtor entity and customer (.10).
07/16/2023 Samantha Rosenthal             0.10 Review correspondences re: production of Slack
                                               channels to federal regulator.
07/16/2023 Ehi Arebamen                   4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Jenna Dilone                   7.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Camille Flynn                  5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Ruth Godin                     7.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Joshua Hazard                  8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Sally Hewitson                 7.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Nicole Isacoff                 5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Frank Jordan                  10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Serge Koveshnikoff            10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Georgia Maratheftis            7.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Robin Perry                    1.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Robin Perry                    8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/16/2023 Nicolette Ragnanan             4.00 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/16/2023 Carrie Fanning                 0.20 Correspondence with M. Spizzeri and M. Kerin re:
                                               Teleporter upload troubleshooting.
07/17/2023 Stephen Ehrenberg              0.10 Call re: production for rule 2004 response with E.
                                               Newman.
07/17/2023 Stephen Ehrenberg              0.30 Correspondence with E. Newman and J. McDonald
                                               re: production for rule 2004 responses.
07/17/2023 Shane Yeargan                  0.60 Research re: data types for relevant third party exports
                                               for state requests.
07/17/2023 Mark Bennett                   0.70 Review privilege question from analysts and
                                               correspondence with analysts re: same (.60);
                                               correspondence with paralegal team re: document
                                               subject to privilege review (.10).
07/17/2023 Zoeth Flegenheimer             1.00 Call with R. Perubhatla (RLKS), FTI, A&M and QE
                                               re: data collection (.70); coordinate with FTI re:
                                               document production (.20); coordinate with M.
                                               McMahon re: document review (.10).
07/17/2023 Meaghan Kerin                  0.10 Correspondence with A. Lewis, M. Spizzeri, federal
                                               regulator and federal law enforcement re: document
                                               production issues.
07/17/2023 Jared Rosenfeld                0.80 Organize production of materials re: relevant third
                                               party and correspondence with S&C team re: same.
07/17/2023 Alexander Holland              0.10 Correspondence with FTI re: SDNY requests.
07/17/2023 Jason Gallant                  0.20 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/17/2023 Tatum Millet                   0.30 Correspondence with S&C team re: states and
                                               Money Transmitter Regulators Association
                                               productions.
07/17/2023 Rachel Pester                  3.40 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/17/2023 Dario Rosario                  0.40 Retrieve documents from document review platform.
07/17/2023 Bonifacio Abad                 6.30 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/17/2023 Fareed Ahmed                   5.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Ehi Arebamen                   4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Jenna Dilone                   7.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Camille Flynn                  1.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Camille Flynn                  0.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Camille Flynn                  9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Ruth Godin                     8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Joshua Hazard                 13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Sally Hewitson                 8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Sherry Johnson                 3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Georgia Maratheftis           11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Robert Providence              1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Robert Providence              3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/17/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Robert Providence              0.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Nicolette Ragnanan             4.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/17/2023 Mary McMahon                   3.60 Correspondence with S&C team and FTI re: review
                                               and production.
07/17/2023 Carrie Fanning                 0.10 Correspondence with M. Kerin and M. Spizzeri re:
                                               Teleporter upload access.
07/17/2023 Eric Newman                    0.70 Correspondence with S&C team re: document
                                               searches related to QE rule 2004 request (.60); call
                                               re: production for rule 2004 response with S.
                                               Ehrenberg (.10).
07/17/2023 Nicholas Wolowski              0.40 Coordinate with FTI and S&C team on status of
                                               document processing.
07/17/2023 Eileen Yim                     0.10 Create productions for states and Money Transmitter
                                               Regulators Association.
07/17/2023 Eileen Yim                     0.20 Correspondence with E. Newman re: process for
                                               processing and searching data for rule 2004 request
                                               from QE.
07/18/2023 Stephen Ehrenberg              0.50 Meet with J. McDonald re: rule 2004 requests (.30);
                                               call with R. Zink (QE) re: same (.20).
07/18/2023 Stephen Ehrenberg              0.30 Correspondence with E. Newman re: rule 2004
                                               responses.
07/18/2023 Christopher Dunne              0.20 Correspondence to S&C team re: QE rule 2004
                                               request.
07/18/2023 James McDonald                 1.30 Call with QE re: rule 2004 requests and review
                                               documents re: same (1.0); meeting with S. Ehrenberg
                                               re: rule 2004 requests (.30).
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Date        Name                        Hours Description
07/18/2023 Bradley Harsch                 1.50 Review email re: status of productions to federal
                                               regulators (.20); email A&M re: productions (.10);
                                               review documents re: production for various federal
                                               regulators and correspondence with S&C team re:
                                               same (.70); revise production letter and cover email
                                               for production to federal regulators (.20); review
                                               subpoena from federal law enforcement and
                                               correspondence with S&C team re: same (.30).
07/18/2023 Shane Yeargan                  1.00 Correspondence to L. Van Allen re: state reporting
                                               requirements (.30); review A&M customer data
                                               export (.60); correspondence with former FTX
                                               personnel re: data exports (.10).
07/18/2023 Sean Fulton                    0.60 Correspondence with B. Glueckstein and I. Foote re:
                                               production related to relevant third party.
07/18/2023 Mark Bennett                   1.60 Correspondence with Z. Flegenheimer re: documents
                                               escalated from reviewer for ongoing investigations re:
                                               current FTX personnel (.10); review documents
                                               escalated from reviewer for ongoing investigation and
                                               circulated summary of same to investigations team
                                               (1.5).
07/18/2023 Kathleen Donnelly              1.70 Meeting with J. Gallant, and L. Ross re: document
                                               production procedure (1.0); review and revise draft
                                               production letter (.20); correspondence with S&C
                                               team re: productions (.50).
07/18/2023 Zoeth Flegenheimer             1.80 Call with M. McMahon, E. Newman, C. Fanning, N.
                                               Wolowski and FTI re: document collection and
                                               processing (.40); coordinate with D. O'Hara re:
                                               sending document hold notices to FTX vendors (.40);
                                               coordinate with S. Ehrenberg re: sending document
                                               hold notices to FTX vendors (.20); revise document
                                               hold notice for vendors (.20); coordinate with S.
                                               Wheeler re: document production (.10); coordinate
                                               with N. Hills re: document review (.10); coordinate
                                               with FTI re: metadata analysis (.30); produce
                                               metadata information to SDNY (.10).
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Date        Name                        Hours Description
07/18/2023 Meaghan Kerin                  0.10 Correspondence to N. Menillo, S. Ehrenberg, J.
                                               Rosenfeld re: insurer requests for data.
07/18/2023 Meaghan Kerin                  0.10 Correspondence to FTI re: document production.
07/18/2023 Meaghan Kerin                  0.10 Correspondence with M. Spizzeri re: production for
                                               federal regulator.
07/18/2023 Jared Rosenfeld                1.10 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.60); review productions and correspondence with
                                               S&C team re: same (.50).
07/18/2023 Daniel O'Hara                  0.80 Review correspondence re: document preservation
                                               notice (.20); review document batches assigned to
                                               associate review for responsiveness, privilege and
                                               other issues (.60).
07/18/2023 Jason Gallant                  1.60 Prepare for production team meeting (.10); meeting
                                               with K. Donnelly and L. Ross re: document
                                               production procedure (1.0); review outgoing
                                               productions and correspondence with S&C team re:
                                               same (.50).
07/18/2023 Julian Keeley                  1.80 Review relevant third party' document production for
                                               relevant issues and privilege.
07/18/2023 Phoebe Lavin                   0.50 Review and prepare document production in response
                                               to law enforcement subpoena.
07/18/2023 Tatum Millet                   1.20 Draft production letters for Money Transmitter
                                               Regulators Association and states (.60);
                                               correspondence to S&C team and FTI re: same (.40);
                                               draft emails to states and Money Transmitter
                                               Regulators Association (.20).
07/18/2023 Rachel Pester                  2.70 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/18/2023 Luke Ross                      1.00 Meeting with K. Donnelly and J. Gallant re: document
                                               production procedure.
07/18/2023 Victoria Shahnazary            0.40 Update law enforcement subpoena tracker.
07/18/2023 Bonifacio Abad                 6.70 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/18/2023 Fareed Ahmed                   6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Ehi Arebamen                   5.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Jenna Dilone                   7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Camille Flynn                  3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Camille Flynn                  4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Camille Flynn                  2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Joshua Hazard                  6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Sally Hewitson                 0.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Sherry Johnson                 3.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Georgia Maratheftis            4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Robert Providence              5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/18/2023 Nicolette Ragnanan             5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/18/2023 Mary McMahon                   0.30 Call with Z. Flegenheimer, E. Newman, C. Fanning,
                                               N. Wolowski and FTI re: document collection and
                                               processing (.30 - partial attendance).
07/18/2023 Carrie Fanning                 0.90 Call with N.Wolowski, A&M (various) and FTI
                                               (various) re: A&M document collection and
                                               processing (.50); call with Z. Flegenheimer, M.
                                               McMahon, E. Newman, N. Wolowski and FTI re:
                                               document collection and processing (.30 - partial
                                               attendance); correspondence with N. Wolowski and
                                               M. Ong re: export creation (.10).
07/18/2023 Eric Newman                    2.20 Call with E. Yim re: processing of documents for QE
                                               rule 2004 requests (.30); call with Z. Flegenheimer,
                                               M. McMahon, C. Fanning, N. Wolowski and FTI re:
                                               document collection and processing (.30 - partial
                                               attendance); correspondence with S&C team re: setup
                                               of workflow re: QE rule 2004 requests (.80); process
                                               transmittal of relevant third party production (.30);
                                               correspondence with S&C team re: preparation of
                                               production for states (.20); process transmittal of
                                               production volume (.30).
07/18/2023 Wayne Walther                  0.80 Perform technical quality check on production volume,
                                               identifying issues within the volume and generating
                                               reports for project management review (.60);
                                               correspondence with E. Newman re: quality check
                                               findings of outgoing production, metadata summary
                                               and production reports (.20).
07/18/2023 Nicholas Wolowski              1.40 Coordinate with FTI and S&C team on review of
                                               newly processed documents (.30) call with C.
                                               Fanning, A&M (various) and FTI (various) re: A&M
                                               document collection and processing (.50) call with Z.
                                               Flegenheimer, M. McMahon, E. Newman, C.
                                               Fanning, and FTI re: document collection and
                                               processing (.30 - partial attendance); coordinate with
                                               FTI and S&C team re: search creation in relevant third
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Date        Name                        Hours Description

                                                party production workspace (.30).
07/18/2023 Jecamiah Ybanez                0.40 Prepare matter data to be transferred to physical
                                               media.
07/18/2023 Eileen Yim                     3.40 Call with E. Newman re: processing of data for QE
                                               rule 2004 requests (.30); process data for QE rule
                                               2004 requests (3.1).
07/19/2023 Stephen Ehrenberg              0.40 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/19/2023 Stephen Ehrenberg              0.10 Review and consider rule 2004 requests for
                                               documents and information.
07/19/2023 Stephen Ehrenberg              0.10 Correspondence to J. Croke re: rule 2004 requests.
07/19/2023 Stephen Ehrenberg              0.60 Review materials for rule 2004 response.
07/19/2023 Stephen Ehrenberg              1.10 Meeting with J. McDonald re: rule 2004 requests from
                                               QE.
07/19/2023 Stephen Ehrenberg              0.60 Work on rule 2004 requests from QE.
07/19/2023 Stephen Ehrenberg              1.20 Meeting with K. McArthur re: rule 2004 requests
                                               from QE.
07/19/2023 Stephen Ehrenberg              0.90 Review materials for rule 2004 responses and
                                               correspondence E. Yim re: same.
07/19/2023 Kathleen McArthur              1.50 Meeting with S. Ehrenberg re: rule 2004 requests from
                                               QE (1.2); review materials re: same (.30).
07/19/2023 James McDonald                 0.80 Correspondence with S&C team re: rule 2004
                                               requests and interviews and scheduling.
07/19/2023 James McDonald                 1.60 Correspondence with S&C team re: rule 2004
                                               requests and interviews and review materials re: same
                                               (.50); meeting with S. Ehrenberg re: rule 2004
                                               requests from QE (1.1).
07/19/2023 Anthony Lewis                  0.10 Correspondence with S&C team re: law enforcement
                                               requests re: relevant third party.
07/19/2023 Bradley Harsch                 1.20 Correspondence with S&C team re: response to
                                               query from federal agency re: subpoena returns (.20);
                                               correspondence with S&C team re: meeting re: law
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Date        Name                        Hours Description

                                                enforcement office responses process (.10); review
                                                email from federal law enforcement re: subpoena
                                                response (.10); review and revise tracker for delivery
                                                of productions to law enforcement agencies (.60);
                                                review production for federal agency and
                                                correspondence with S&C team re: same (.20).
07/19/2023 Mark Bennett                   1.60 Review privilege issues identified by analyst team and
                                               correspondence with analyst team re: same (1.5);
                                               correspondence with paralegal re: privilege issues
                                               (.10).
07/19/2023 Zoeth Flegenheimer             0.10 Coordinate with P. Lavin re: drafting production letter.
07/19/2023 Meaghan Kerin                  0.10 Correspondence to P. Lavin re: SDNY production.
07/19/2023 Meaghan Kerin                  0.70 Troubleshoot document production issues (.50);
                                               correspondence with M. Spizzeri, A. Lewis and S.
                                               Rosenthal re: same (.20).
07/19/2023 Jared Rosenfeld                0.40 Correspondence with S&C team re: document
                                               production.
07/19/2023 Samantha Rosenthal             0.20 Correspondence with M. Kerin re: production of
                                               Slack channels to federal regulator.
07/19/2023 Jason Gallant                  0.70 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/19/2023 Emma Downing                   0.40 Revise production letter.
07/19/2023 Phoebe Lavin                   1.40 Correspondence with S&C team re: FTX document
                                               production letter (.20); draft production letters for
                                               document productions (1.2).
07/19/2023 Victoria Shahnazary            0.60 Update law enforcement subpoena tracker.
07/19/2023 Bonifacio Abad                 1.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Fareed Ahmed                   3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Ehi Arebamen                   4.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/19/2023 Jenna Dilone                   5.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Ruth Godin                     3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Ruth Godin                     2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Joshua Hazard                 10.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Sally Hewitson                 2.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Sherry Johnson                 7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Frank Jordan                  11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Serge Koveshnikoff            11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Georgia Maratheftis            1.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Robert Providence              5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Robert Providence              5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Robert Providence              2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Nicolette Ragnanan             4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/19/2023 Mary McMahon                   2.50 Correspondence with S&C team and FTI re: review
                                               and productions.
07/19/2023 Evan Masurka                   2.80 Process archive documents for QE rule 2004 request
                                               review.
07/19/2023 Eric Newman                    3.20 Correspondence with S&C team re: inquiries to set up
                                               searches re: QE rule 2004 requests (1.8);
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Date        Name                        Hours Description

                                                correspondence with S&C team re: preparation of
                                                various production volumes (1.4).
07/19/2023 Nicholas Wolowski              0.50 Download and stage data for processing, log data,
                                               and transmit to FTI for processing into document
                                               review platform.
07/19/2023 Eileen Yim                     3.30 Export collected documents for processing for QE
                                               rule 2004 requests (.20); coordinate with E. Masurka
                                               re: processing of collected documents for QE rule
                                               2004 requests (.10); determine entity domains to
                                               exclude from communication search for QE rule 2004
                                               requests (.80); configure search of processed data for
                                               QE rule 2004 requests (1.1); search and export data
                                               to S&C team (.90); correspondence with S.
                                               Ehrenberg re: search results of requested data (.20).
07/19/2023 Eileen Yim                     0.50 Conduct quality check on various production volumes
                                               (.20); correspondence with E. Newman re: quality
                                               check of production volume (.30).
07/20/2023 Stephanie Wheeler              0.70 Correspondence to Z. Flegenheimer re: signal
                                               messages (.20); review SDNY production letter (.10);
                                               correspondence to states, S. Yeargan and K.
                                               Donnelly re: states' requests for data (.30);
                                               correspondence to B. Harsch re: request for FTX
                                               data (.10).
07/20/2023 Steven Peikin                  0.50 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/20/2023 Stephen Ehrenberg              0.40 Review email parameters from E. Yim for rule 2004
                                               production.
07/20/2023 Stephen Ehrenberg              0.30 Meeting with QE team re: rule 2004 responses and
                                               interviews.
07/20/2023 Stephen Ehrenberg              0.40 Correspondence with E. Yim re: preparation of
                                               production for rule 2004 requests.
07/20/2023 Brian Glueckstein              0.30 Revise letter re: relevant third party production.
07/20/2023 James McDonald                 2.50 Meeting and correspondence with QE re: rule 2004.
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Date        Name                        Hours Description
07/20/2023 Bradley Harsch                 3.30 Call with A&M re: production documents (.40);
                                               review email re: production to federal regulator (.10);
                                               review documents for production to federal regulator
                                               and correspondence with S&C team re: same (.90);
                                               correspondence with S&C team re: cost of production
                                               to debtor entity (.10); meeting with J. Gallant and P.
                                               Lavin re: response to law enforcement agency
                                               subpoenas work stream (.20); draft production and
                                               FOIA letters for production to federal regulators
                                               (.30); review productions for states and
                                               correspondence with S&C team re: same (.70); draft
                                               production and FOIA letters for states (.60).
07/20/2023 Shane Yeargan                  0.60 Review data request responses from A&M (.30);
                                               correspondence with S. Wheeler and K. Donnelly re:
                                               response to state securities regulators states (.20);
                                               correspondence with A&M re: state securities
                                               regulators request (.10).
07/20/2023 Kathleen Donnelly              1.50 Review and revise draft production letter (.70);
                                               correspondence with S&C team re: productions (.80).
07/20/2023 Zoeth Flegenheimer             3.80 Coordinate with P. Lavin re: document production
                                               (.20); coordinate with FTI re: document review and
                                               collection (.80); call with C. Fanning, N. Wolowski
                                               and FTI re: document collection and processing (.30);
                                               coordinate with A. Holland re: document collection
                                               (.10); coordinate with A&M re: data retention
                                               obligations (.30); coordinate with S. Wheeler re:
                                               document review (.30); coordinate with M. Schwartz
                                               re: sending document retention notices (.20);
                                               coordinate with J. Bromley and B. Glueckstein re:
                                               sending document retention notices (.30); review
                                               document batches assigned to associate review for
                                               responsiveness, privilege and other issues (1.3).
07/20/2023 Meaghan Kerin                  0.10 Correspondence to P. Lavin re: SDNY production.
07/20/2023 Jared Rosenfeld                0.20 Correspondence with S&C team re: production of
                                               data.
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Date        Name                         Hours Description
07/20/2023 Alexander Holland               0.20 Correspond with FTI re: document production.
07/20/2023 Sienna Liu                      0.60 Review documents in relevant third party production.
07/20/2023 Jason Gallant                   0.90 Review outgoing productions and correspondence
                                                with S&C team re: same (.70); meeting with B.
                                                Harsch, J. Gallant, and P. Lavin re: response to law
                                                enforcement agency subpoenas work stream (.20).
07/20/2023 Jason Gallant                   0.50 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
07/20/2023 Emma Downing                    0.30 Revise production letter.
07/20/2023 Natalie Hills                   2.60 Review Slack messages and summarize documents
                                                escalated from reviewer.
07/20/2023 Phoebe Lavin                    4.20 Draft and revise various production letters per
                                                correspondence with S&C team (3.5); send out
                                                production letters and emails (.50); meeting with B.
                                                Harsch, J. Gallant re: response to law enforcement
                                                agency subpoenas work stream (.20).
07/20/2023 Victoria Shahnazary             0.20 Update law enforcement subpoena tracker.
07/20/2023 Bonifacio Abad                  5.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Fareed Ahmed                    5.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Ehi Arebamen                    4.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Jenna Dilone                    7.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Camille Flynn                   3.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Camille Flynn                   3.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Joshua Hazard                  11.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/20/2023 Sally Hewitson                  4.40 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/20/2023 Sherry Johnson                 5.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Frank Jordan                  13.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Georgia Maratheftis            4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Robert Providence              1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Nicolette Ragnanan             6.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/20/2023 Mary McMahon                   6.00 Correspondence with FTI and S&C e-discovery team
                                               re: review, productions and privilege work (3.0);
                                               revise work plan (1.0); correspondence with FTI and
                                               S&C analyst team re: privilege redactions and name
                                               normalization log (2.0).
07/20/2023 Ismael Cabrera                 0.30 Analyze technical specifications on processing and
                                               load task of data.
07/20/2023 Carrie Fanning                 0.40 Correspondence with N. Wolowski and E. Yim re:
                                               production quality check on production volume (.10);
                                               call with Z. Flegenheimer, N. Wolowski and FTI re:
                                               document collection and processing (.30).
07/20/2023 Evan Masurka                   1.50 Conduct quality check on various production volumes
                                               (1.1); correspondence to E. Yim re: metrics, meta
                                               data report and updated documentation re: same
                                               (.40).
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Date        Name                        Hours Description
07/20/2023 Evan Masurka                   0.20 Correspondence with E. Yim re: process of isolating
                                               data for QE rule 2004 requests.
07/20/2023 Wayne Walther                  3.10 Perform technical quality check on various production
                                               volumes, identifying issues within the volume and
                                               generating reports for project management review
                                               (2.5); correspondence with N. Wolowski re: quality
                                               check findings of outgoing production, metadata
                                               summary and production reports (.60).
07/20/2023 Nicholas Wolowski              4.80 Download and stage data, create production quality
                                               check form, and coordinate with S&C e-discovery
                                               team on quality check (1.5); coordinate with S&C
                                               e-discovery team re: redaction application to
                                               documents (.30); create production labels for
                                               production volume (.30); call with Z. Flegenheimer, C.
                                               Fanning and FTI re: document collection and
                                               processing (.30); coordinate with S&C team and FTI
                                               re; received data (.20); follow up with technical
                                               engineers on file uploads (.20); prepare various
                                               production volumes volume and send to S&C team
                                               (.40); conduct quality check on data and release to
                                               S&C team (.50); coordinate with S&C team and FTI
                                               for data loads for processing to FTI (1.1).
07/20/2023 Eileen Yim                     0.20 Create production media of production volume.
07/20/2023 Eileen Yim                     2.40 Correspondence to E. Masurka re: process of
                                               isolating data for QE rule 2004 requests (.20); email
                                               documenting process of searching for data for QE rule
                                               2004 requests (1.0); update data searches to exclude
                                               additional entity domains for QE rule 2004 requests
                                               (.30); export data with specific domains for QE rule
                                               2004 requests (.20); export data for S&C team to
                                               review (.10); search FTX data for QE rule 2004
                                               requests (.20); export results of FTX data to transfer
                                               to Consilio for processing for QE's review (.30);
                                               correspondence with S. Ehrenberg re: FTX data
                                               search and export (.10).
07/21/2023 David Gilberg                  0.40 Review materials and prepare for meeting with S.
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Date        Name                        Hours Description

                                                Ehrenberg re: rule 2004 interview.
07/21/2023 David Gilberg                  0.90 Meeting with S. Ehrenberg: rule 2004 interview.
07/21/2023 Stephanie Wheeler              0.10 Call with Z. Flegenheimer re: data retention (.10).
07/21/2023 Stephen Ehrenberg              0.30 Call with J. Ray (FTX) and J. McDonald re: status of
                                               rule 2004 responses.
07/21/2023 Stephen Ehrenberg              0.90 Meeting with D. Gilberg re: rule 2004 interview.
07/21/2023 Stephen Ehrenberg              0.50 Correspondence to J. McDonald re: rule 2004
                                               interview scheduling.
07/21/2023 Stephen Ehrenberg              0.30 Correspondence with C. Lloyd, J. McDonald re: rule
                                               2004 interview.
07/21/2023 Stephen Ehrenberg              1.80 Review materials for rule 2004 interviews (1.5);
                                               correspondence with I. Deutsch, S. Nelles, J.
                                               McDonald re: FTX documents (.30).
07/21/2023 Stephen Ehrenberg              0.40 Correspondence to A. Dietderich re: rule 2004
                                               interview.
07/21/2023 Stephen Ehrenberg              0.40 Correspondence with M. Eitel, K. McArthur re: rule
                                               2004 interviews.
07/21/2023 Stephen Ehrenberg              0.30 Correspondence to J. Croke re: rule 2004 interview.
07/21/2023 Stephen Ehrenberg              1.30 Prepare status report for J. Ray (FTX) on rule 2004
                                               responses.
07/21/2023 James McDonald                 2.10 Call with J. Ray (FTX) and S. Ehrenberg re: status of
                                               rule 2004 responses (.30); correspondence to QE re:
                                               rule 2004 and interviews and review of materials re:
                                               same (1.8).
07/21/2023 Bradley Harsch                 5.00 Correspondence with S&C team re: information
                                               transmission to federal agency (.10); review
                                               documents for production to federal law enforcement
                                               and correspondence with S&C team re: same (.30);
                                               prepare cover letters and emails for production to
                                               federal law enforcement (.50); review emails re:
                                               supplemental productions of documents (.20); prepare
                                               cover letters and email for supplemental production
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Date        Name                        Hours Description

                                                federal law regulator (.30); review documents for
                                                supplemental production to various federal regulators
                                                and correspondence with S&C team re: same (1.0);
                                                prepare cover letters and email for supplemental
                                                production to various federal regulators (.80); review
                                                supplemental documents for ad hoc request and
                                                correspondence with S&C team re: same (.20);
                                                review supplemental production to state law
                                                enforcement and correspondence with S&C team re:
                                                same (.20); prepare cover letters and email for
                                                supplemental production to state law enforcement
                                                (.20); review supplemental production to state
                                                financial regulator and correspondence with S&C
                                                team re: same (.30); review emails and prepare cover
                                                letters and email for production to state regulator
                                                (.40); review and email re: supplemental documents
                                                for request re: customer and relevant third party (.10);
                                                review and email re: supplemental production to
                                                federal law enforcement (.40).
07/21/2023 Shane Yeargan                  1.20 Correspondence to K. Baker (A&M) re: state
                                               securities regulators request exports (.30);
                                               correspondence with former FTX personnel re: data
                                               exports (.10); review and revise exported data (.40);
                                               correspondence with J. Sutton and L. Van Allen re:
                                               revising data for states (.10); call with K. Baker
                                               (A&M) re: state securities regulators request (.30).
07/21/2023 Kathleen Donnelly              0.50 Correspondence with S&C team re: data for future
                                               productions.
07/21/2023 Zoeth Flegenheimer             1.50 Coordinate with B. Glueckstein re: sending document
                                               retention notices (.20); coordinate with D. O'Hara re:
                                               document retention notices (.10); revise document
                                               retention notice (.10); call with R. Perubhatla (RLKS)
                                               and FTI re: data collection and processing (.50);
                                               coordinate with B. Harsch re: document production
                                               (.30); coordinate with A&M re: data retention
                                               obligations (.20); call with S. Wheeler re: data
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Date        Name                        Hours Description

                                                retention obligations (.10).
07/21/2023 Alexander Holland              0.10 Correspondence with A&M and FTI re: SDNY
                                               request.
07/21/2023 Jason Gallant                  1.20 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/21/2023 Victoria Shahnazary            0.10 Update law enforcement subpoena tracker.
07/21/2023 Bonifacio Abad                 5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Fareed Ahmed                   4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Ehi Arebamen                   5.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Jenna Dilone                   4.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 LaToya Edwards                 9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Joshua Hazard                 11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Sally Hewitson                 4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Sherry Johnson                 1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Frank Jordan                  13.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Georgia Maratheftis            8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Robert Providence              1.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Robert Providence              3.50 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/21/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Nicolette Ragnanan             2.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/21/2023 Carrie Fanning                 3.40 Coordinate data transfers to FTI for loading to
                                               document review platform and production preparation
                                               (1.9); update collection log to include additional data
                                               for various regulatory productions (.90); create
                                               evidence folders and copy data in preparation for
                                               logging into evidence (.30); correspondence with S.
                                               Fulton re: access issues for production volume (.30).
07/21/2023 Nicholas Wolowski              1.60 Download and stage incoming data for processing and
                                               coordinate with FTI and S&C team on upcoming
                                               production request (.60); download and stage third
                                               party production and send to FTI for processing into
                                               document review platform (.80); coordinate with S&C
                                               team and FTI re: A&M data (.20).
07/21/2023 Eileen Yim                     0.50 Conduct quality check on production volume (.20);
                                               upload production volume to S&C file transfer
                                               platform (.10); correspondence with J. Gallant re:
                                               quality check of production volume (.10); confirm
                                               quality of production volume uploaded to S&C file
                                               transfer platform per request (.10).
07/22/2023 Bradley Harsch                 1.50 Review emails re: status of supplemental productions
                                               for law enforcement offices (.10); review supplemental
                                               production to states and various federal regulators and
                                               correspondence with S&C team re: same (.70);
                                               prepare cover letters and emails for supplemental
                                               production to states (.50); correspondence with S&C
                                               team re: production re: relevant third party (.10);
                                               review chart of subpoena requests and
                                               correspondence with S&C team re: same (.10).
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07/22/2023 Jason Gallant                  0.20 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/22/2023 Bonifacio Abad                 7.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Fareed Ahmed                   5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Ehi Arebamen                   5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Jenna Dilone                   2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Jenna Dilone                   1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 LaToya Edwards                 9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Ruth Godin                     3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Joshua Hazard                  0.10 Correspondence with S&C team re: document review
                                               questions.
07/22/2023 Sally Hewitson                 5.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Sherry Johnson                 6.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Frank Jordan                  13.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Serge Koveshnikoff            10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Georgia Maratheftis            6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Robin Perry                    4.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Robin Perry                    1.30 Review document batches assigned to analyst review
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                                                for responsiveness, privilege and other issues.
07/22/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Robert Providence              1.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/22/2023 Carrie Fanning                 1.20 Upload data to FTI and coordinate processing and
                                               production for various federal regulators (.90);
                                               correspondence with J. Gallant re: data loads and
                                               production preparation (.30).
07/23/2023 James McDonald                 0.80 Correspondence to QE re: rule 2004 and interviews
07/23/2023 Jason Gallant                  0.20 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/23/2023 Victoria Shahnazary            0.80 Update law enforcement subpoena tracker.
07/23/2023 LaToya Edwards                 8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Ruth Godin                     7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Ruth Godin                     1.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Joshua Hazard                  2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Sally Hewitson                 3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Sherry Johnson                 1.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Frank Jordan                  12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/23/2023 Georgia Maratheftis            4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Robin Perry                    3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Robin Perry                    5.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Robert Providence              3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Nicolette Ragnanan             4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Dawn Samuel                   10.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/23/2023 Carrie Fanning                 0.20 Correspondence with J. Gallant re: production
                                               preparation for states.
07/23/2023 Joseph Gilday                  0.40 Review S&C team correspondence re: recent
                                               productions.
07/24/2023 Stephanie Wheeler              0.60 Meeting with Z. Flegenheimer re: device collection,
                                               document review and preparing document retention
                                               notices (.30); review documents to be produced to
                                               SDNY (.20); correspondence to N. Friedlander re:
                                               same (.10).
07/24/2023 Stephen Ehrenberg              1.00 Correspondence with D. Gilberg re: rule 2004
                                               interview preparation.
07/24/2023 Stephen Ehrenberg              0.20 Correspondence with K. McArthur re: rule 2004
                                               interview.
07/24/2023 Stephen Ehrenberg              1.40 Correspondence with QE team and D. Gilberg re: rule
                                               2004 interview.
07/24/2023 Stephen Ehrenberg              0.20 Correspondence with M. Shaheen (QE), R. Zink
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Date        Name                        Hours Description

                                                (QE), K. Whitfield (QE), J. McDonald re: materials in
                                                response to rule 2004 requests.
07/24/2023 Brian Glueckstein              0.20 Correspondence to S. Wheeler re: requests for
                                               information.
07/24/2023 Bradley Harsch                 2.60 Review emails re: updates on supplemental
                                               productions to law enforcement offices (.40); review
                                               emails re: status of production for various federal
                                               regulators and states (.30); email re: production to
                                               states (.20); review and email re: responsive data for
                                               federal law enforcement subpoena (.30); email re:
                                               priorities for law enforcement office productions (.10);
                                               finalize and circulate cover letters and emails for
                                               various subpoenas from federal law enforcement
                                               (.70); review subpoena from federal regulator and
                                               correspondence with S&C team re: same (.30);
                                               prepare cover letters and email for response to
                                               subpoena from federal regulator (.30).
07/24/2023 Shane Yeargan                  0.60 Review FTX data (.50); correspondence with Alix re:
                                               same (.10).
07/24/2023 Kathleen Donnelly              0.10 Review draft production letter.
07/24/2023 Zoeth Flegenheimer             4.20 Coordinate with FTI re: document review (.60);
                                               coordinate with N. Hills re: document review (.10);
                                               coordinate with S. Wheeler re: document review and
                                               device collection (.50); coordinate with M. McMahon
                                               re: document review (.50); meeting with S. Wheeler
                                               re: device collection, document review and preparing
                                               document retention notices (.30); coordinate with J.
                                               Gallant re: document production (.20); revise
                                               document retention notice (.20); coordinate with R.
                                               Esposito (A&M) re: sending document retention
                                               notices (.20); coordinate with E. Simpson and A&M
                                               re: data retention obligations (.20); coordinate with
                                               FTX personnel re: device collection (.30); coordinate
                                               with N. Friedlander re: document productions (.90);
                                               coordinate with E. Downing and D. O'Hara re:
                                               document productions (.10); coordinate with former
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Date        Name                         Hours Description

                                                 FTX employee re: device collection (.10).
07/24/2023 Zoeth Flegenheimer              0.10 Call with D. O’Hara re: vendor document
                                                preservation notices.
07/24/2023 Daniel O'Hara                   0.10 Call with Z. Flegenheimer re: vendor document
                                                preservation notices.
07/24/2023 Jason Gallant                   2.00 Review outgoing productions and correspondence
                                                with S&C team re: same.
07/24/2023 Natalie Hills                   0.30 Correspondence with Z. Flegenheimer re: documents
                                                escalated from reviewer and summaries from review
                                                of Slack messages.
07/24/2023 Phoebe Lavin                    0.20 Correspondence with S&C team re: documents
                                                related to law enforcement subpoena.
07/24/2023 Maxim Bjarnason                 1.50 Research re: restructuring plan for document
                                                production.
07/24/2023 Victoria Shahnazary             1.00 Update law enforcement subpoena tracker and
                                                records re: same.
07/24/2023 Ehi Arebamen                    1.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Jenna Dilone                    5.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 LaToya Edwards                  9.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Ruth Godin                      2.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Joshua Hazard                   0.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Sally Hewitson                  3.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Sherry Johnson                  6.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
07/24/2023 Frank Jordan                    9.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

07/24/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Georgia Maratheftis            9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robin Perry                    4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robin Perry                    2.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robert Providence              3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robert Providence              2.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Nicolette Ragnanan             4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Dawn Samuel                   11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Nicole Isacoff                 2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Nicole Isacoff                 0.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/24/2023 Carrie Fanning                 0.20 Correspondence with J. Gilday and N. Wolowski re:
                                               status update for data loads and productions.
07/24/2023 Joseph Gilday                  5.20 Attention to preparation of production volumes (3.8);
                                               attention to delivery of production volume to S&C
                                               team (.30); attention to production to states (.10);
                                               update S&C e-discovery team chain of custody
                                               records (1.0).
07/24/2023 Nicholas Wolowski              3.20 Release production data and coordinate with FTI re:
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                                                 third party production metrics (.50); coordinate with
                                                 FTI and S&C team re: data for processing and status
                                                 (.40); investigate production volume for quality check
                                                 on status (.20); prepare for and attend FTI search
                                                 discussion call (.30); download and stage third party
                                                 production and send to FTI for processing into
                                                 document review platform (.40); log data into EMS
                                                 and production logs (1.4).
07/24/2023 Jecamiah Ybanez                 1.50 Prepare matter data to be transferred to physical
                                                media.
07/24/2023 Eileen Yim                      0.10 Create production media of production volume for
                                                states and Money Transmitter Regulators Association.
07/25/2023 Mitchell Eitel                  1.00 Meeting with S. Ehrenberg re: rule 2004 interview
                                                preparation.
07/25/2023 Stephanie Wheeler               0.50 Review state production letter (.10); correspondence
                                                with B. Roach (HFSC) and K. Smithwick (HFSC), S.
                                                Woodall, K. Shields re: request for documents (.20);
                                                correspondence to J. Gallant, Z. Flegenheimer, K.
                                                Donnelly, K. Shields re: documents to produce to
                                                HFSC (.20).
07/25/2023 Stephen Ehrenberg               0.60 Correspondence to J. McDonald re: rule 2004
                                                responses and interviews.
07/25/2023 Stephen Ehrenberg               0.20 Correspondence with N. Mehta, Z. Flegenheimer re:
                                                documents for rule 2004 responses.
07/25/2023 Stephen Ehrenberg               0.20 Correspondence J. McDonald re: rule 2004
                                                interviews.
07/25/2023 Stephen Ehrenberg               0.80 Correspondence to J. Croke re: rule 2004 interview.
07/25/2023 Stephen Ehrenberg               1.30 Meeting with M. Eitel re: rule 2004 interview
                                                preparation (1.0); prepare documents for rule 2004
                                                interview (.30).
07/25/2023 Jacob Croke                     0.50 Analyze transactions in response to SDNY requests
                                                (.40), correspondence to A. Holland re: same (.10).
07/25/2023 Bradley Harsch                  7.50 Review emails re: status of law enforcement office
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Date        Name                        Hours Description

                                                productions (.40); call with P. Lavin re: responses to
                                                law enforcement subpoenas (.10); finalize and
                                                circulate supplemental production for various federal
                                                regulators and states (.40); review subpoena requests
                                                for FTX data and correspondence with S&C team re:
                                                same (.50); review FTX data for law enforcement
                                                requests (1.0); review subpoena requests from various
                                                federal law enforcement offices and correspondence
                                                with S&C team re: same (2.2); finalize and circulate
                                                production to federal law enforcement (.70);
                                                correspondence with S&C team re: timing of
                                                production to federal regulator (.20); review
                                                production for federal regulator and states and
                                                correspondence with S&C team re: same (.20);
                                                prepare cover letters and email for response to
                                                subpoenas from various federal regulators and states
                                                (1.8).
07/25/2023 Zoeth Flegenheimer             2.50 Coordinate with N. Friedlander re: document
                                               production (.40); coordinate with K. Schultea
                                               (RLKS) re: device collection (.10); coordinate with
                                               FTI re: device collection (.10); coordinate with
                                               paralegals re: cataloging customer correspondence
                                               (.10); call with J. Gilday, C. Fanning, N. Wolowski
                                               and FTI re: document collection and processing (.30);
                                               coordinate with S. Wheeler re: data retention (.10);
                                               coordinate with K. Donnelly re: document production
                                               (.10); coordinate with J. Gallant re: document
                                               production (.40); coordinate with R. Esposito (A&M)
                                               re: document preservation notices (.20); coordinate
                                               with D. O'Hara re: document preservation notices
                                               (.10); coordinate with Kroll re: sending document
                                               preservation notices (.50); coordinate with S.
                                               Ehrenberg re: sending document preservation notices
                                               (.10).
07/25/2023 Jared Rosenfeld                1.80 Research payment agent agreement production and
                                               correspondence with S&C team re: same (1.2);
                                               correspondence with S&C team re: data production
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Date        Name                        Hours Description

                                                (.60).
07/25/2023 Alexander Holland              0.20 Correspondence with J. Zatz (A&M), J. Rosenfeld,
                                               and FTI re: document production .
07/25/2023 Daniel O'Hara                  0.40 Review and correspondence re: weekly production
                                               (.30); call with J. Gallant re: outgoing productions
                                               (.10).
07/25/2023 Jason Gallant                  3.90 Review outgoing productions and correspondence
                                               with S&C team re: same (2.4); meeting with law
                                               enforcement office re: subpoenas records (.20); call
                                               with D. O’Hara re: outgoing productions (.10); review
                                               and collect documents for HFSC production (1.2).
07/25/2023 Phoebe Lavin                   1.70 Prepare production materials re: law enforcement
                                               subpoena (.50); call with B. Harsch re: responses to
                                               law enforcement subpoenas (.10); review FTX data
                                               for law enforcement subpoenas and summarize
                                               findings re: same (1.1).
07/25/2023 Bonifacio Abad                 1.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Fareed Ahmed                   6.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Jenna Dilone                   2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 LaToya Edwards                10.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Camille Flynn                  4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Dawn Harris-Cox                2.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Joshua Hazard                  0.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Sally Hewitson                 3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/25/2023 Sherry Johnson                 4.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Frank Jordan                   9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Georgia Maratheftis            9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Robin Perry                    6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Robert Providence              1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Nicolette Ragnanan             0.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Dawn Samuel                   11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/25/2023 Carrie Fanning                 0.40 Call with Z. Flegenheimer, J. Gilday, N. Wolowski
                                               and FTI re: document collection and processing (.30);
                                               correspondence with N. Wolowski re: production
                                               loads to document review platform (.10).
07/25/2023 Joseph Gilday                  6.70 Call with N. Wolowski, A&M (various) and FTI
                                               (various) re: A&M document collection and
                                               processing (.30); call with Z. Flegenheimer, C.
                                               Fanning, N. Wolowski and FTI re: document
                                               collection and processing (.30); attention to quality
                                               check of various production volumes (3.2); update
                                               matter production log (.30); update S&C e-discovery
                                               team chain of custody records (.90); transfer matter
                                               data to physical media (.70); draft production quality
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Date        Name                        Hours Description

                                                check forms for production volumes (.30);
                                                correspondence with D. O'Hara re: collaboration with
                                                expert witness (.10); attention to processing of data
                                                for production volumes (.60).
07/25/2023 Wayne Walther                  1.50 Perform technical quality check on various production
                                               volumes, identifying issues within the volume and
                                               generating reports for project management review
                                               (1.2); correspondence with J. Gilday re: quality check
                                               findings of outgoing production, metadata summary
                                               and production reports (.30).
07/25/2023 Nicholas Wolowski              2.10 Follow up with J.Keeley re: relevant third party data
                                               (.20); coordinate with FTI on status of production
                                               loads to workspace (.20); conduct quality check on
                                               processed productions in document review platform
                                               (.30); download and stage third party production and
                                               send to FTI for processing into document review
                                               platform (.50); call with J. Gilday, A&M (various) and
                                               FTI (various) re: A&M document collection and
                                               processing (.30); assign data tracking questionnaires
                                               to logged data sets (.30); call with Z. Flegenheimer, J.
                                               Gilday, C. Fanning and FTI re: document collection
                                               and processing (.30).
07/25/2023 Jecamiah Ybanez                1.00 Prepare matter data to be transferred to physical
                                               media.
07/25/2023 Eileen Yim                     1.10 Conduct quality check on various production volumes
                                               (.70); correspondence with J. Gilday re: quality check
                                               of production volume (.40).
07/26/2023 Stephanie Wheeler              0.40 Correspondence to J. Rosenfeld re: HFSC request
                                               (.10); correspondence to S. Ehrenberg re: documents
                                               for QE (.20); correspondence to Z. Flegenheimer re:
                                               Covington question (.10).
07/26/2023 Stephen Ehrenberg              1.90 Prepare data response for rule 2004 requests.
07/26/2023 Stephen Ehrenberg              0.90 Call with QE, J. Croke, and A. Mazumdar re: rule
                                               2004 interview.
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Date        Name                        Hours Description
07/26/2023 Stephen Ehrenberg              0.10 Correspondence to J. Croke re: rule 2004 interview.
07/26/2023 Stephen Ehrenberg              1.20 Review materials for response to rule 2004 requests.
07/26/2023 Stephen Ehrenberg              0.10 Review documents for rule 2004 requests and
                                               correspondence to K. McArthur re: same.
07/26/2023 Stephen Ehrenberg              1.60 Meeting with K. McArthur re: preparation for rule
                                               2004 interview.
07/26/2023 Kathleen McArthur              1.60 Meeting with S. Ehrenberg re: preparation for rule
                                               2004 interview.
07/26/2023 Jacob Croke                    0.90 Call with QE, S. Ehrenberg, and A. Mazumdar re: rule
                                               2004 interview.
07/26/2023 Jacob Croke                    0.70 Analyze SDNY requests re: materials for production.
07/26/2023 James McDonald                 1.50 Review document productions re: rule 2004 requests.
07/26/2023 Bradley Harsch                 1.70 Review production for federal regulator and
                                               correspondence with S&C team re: same (.10); call
                                               with D. O’Hara, and J. Gallant re: relevant third party
                                               production (.10); review and response to requests
                                               from various international law enforcement offices
                                               (.60); review production for federal regulator and
                                               correspondence with S&C team re: same (.10);
                                               review emails re: productions to law enforcement
                                               offices (.20); finalize and circulate supplemental
                                               production to various federal regulators (.40); revise
                                               letter to law enforcement office re: transmission of
                                               documents to federal regulator (.10); correspondence
                                               with S&C team re: clarification of subpoena from
                                               federal law enforcement (.10).
07/26/2023 Bradley Harsch                 0.20 Correspondence with S&C team re: review protocol
                                               for relevant third party production for response to joint
                                               liquidator inquiry.
07/26/2023 Shane Yeargan                  1.00 Review relevant third party data for SDNY request
                                               (.60); correspondence with S. Wheeler and K.
                                               Donnelly re: data for SDNY request (.20);
                                               correspondence with A&M re: state securities
                                               regulators data request (.10); correspondence with
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Date        Name                        Hours Description

                                                A&M re: parameters for SDNY searches (.10).
07/26/2023 Kathleen Donnelly              0.90 Correspondence with S&C team re: productions
                                               (.60); review and revise draft production letter (.30).
07/26/2023 Zoeth Flegenheimer             0.30 Coordinate with FTI re: document review (.10);
                                               coordinate with S. Wheeler re: document review
                                               (.10); coordinate with K. Donnelly re: preparing
                                               production letter (.10).
07/26/2023 Jared Rosenfeld                0.60 Correspondence with S&C team re: production for
                                               HFSC.
07/26/2023 Daniel O'Hara                  0.60 Review document production and correspondence
                                               with S&C team re: same (.50); call with B. Harsch
                                               and J. Gallant re: relevant third party production (.10).
07/26/2023 Jason Gallant                  2.70 Correspondence with S&C team re: meeting for
                                               relevant third party production (.10); correspondence
                                               with S&C team re: relevant third party production
                                               searches (.20); correspondence with S&C team re:
                                               HFSC production (1.1); call with B. Harsch, D.
                                               O’Hara re: relevant third party production (.10);
                                               review outgoing productions and correspondence with
                                               S&C team re: same (1.2).
07/26/2023 Phoebe Lavin                   0.40 Revise law enforcement subpoena tracker (.20);
                                               correspondence with S&C e-discovery team re: law
                                               enforcement subpoena document production (.20).
07/26/2023 Keila Mayberry                 0.20 Call with A. Mazumar re: document review.
07/26/2023 Aneesa Mazumdar                5.30 Call with QE, S. Ehrenberg, J. Croke re: rule 2004
                                               interview (.90); call with E. Yim re: review of Signal
                                               message for QE rule 2004 request (.70); call with K.
                                               Mayberry re: document review (.20); revise notes re:
                                               rule 2004 interview (1.4); review Signal messages
                                               (2.1).
07/26/2023 Tatum Millet                   1.20 Draft production letter for SDNY (.50);
                                               correspondence with Z. Flegenheimer, J. Gallant, and
                                               K. Donnelly re: description of informal production
                                               (.40); implement S&C team edits to same (.30).
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Date        Name                        Hours Description
07/26/2023 Fareed Ahmed                   1.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Ehi Arebamen                   3.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Jenna Dilone                   7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 LaToya Edwards                 4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 LaToya Edwards                 5.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Camille Flynn                  0.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Camille Flynn                  1.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Ruth Godin                     4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Joshua Hazard                  3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Sally Hewitson                 4.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Sherry Johnson                 4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Frank Jordan                  11.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Robin Perry                    1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Robin Perry                    5.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

07/26/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Robert Providence              3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Nicolette Ragnanan             4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Dawn Samuel                    8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/26/2023 Joseph Gilday                  2.10 Attention to preparation of production volumes (1.0);
                                               update S&C e-discovery team chain of custody
                                               records (.20); attention to quality check of production
                                               volumes (.80); attention to processing of data for
                                               production volume (.10).
07/26/2023 Wayne Walther                  0.40 Perform technical quality check on production volume,
                                               identifying issues within the volume and generating
                                               reports for project management review (.30);
                                               correspondence with J. Gilday re: quality check
                                               findings of outgoing production, metadata summary
                                               and production reports (.10).
07/26/2023 Nicholas Wolowski              0.30 Conduct quality check and release relevant third party
                                               production volume to S&C team.
07/26/2023 Eileen Yim                     0.40 Conduct quality check on various production volumes
                                               (.20); correspondence with J. Gilday re: quality check
                                               of production volume (.20).
07/26/2023 Eileen Yim                     1.10 Correspondence with S. Ehrenberg to confirm Signal
                                               data set to be reviewed for QE rule 2004 request
                                               (.10); process Signal screenshots for QE rule 2004
                                               request (.20); call with A. Mazumdar re: review of
                                               Signal message for QE rule 2004 request (.70); export
                                               Signal message for QE rule 2004 request (.10).
07/27/2023 Stephanie Wheeler              2.10 Draft talking points for call with SDNY (1.5); call with
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Date        Name                        Hours Description

                                                E. Downing re: SDNY requests (.10);
                                                correspondence to Z. Flegenheimer re: documents
                                                requested by SDNY (.10); correspondence to N.
                                                Friedlander re: SDNY requests (.10); call with J.
                                                Rosenfeld re: SDNY follow up request for info (.20);
                                                meeting with Z. Flegenheimer re: device collection and
                                                data retention obligations (.10).
07/27/2023 Stephen Ehrenberg              0.10 Call with A. Mazumdar re: documents for rule 2004
                                               responses.
07/27/2023 Stephen Ehrenberg              0.20 Correspondence with J. Rosenfeld, T. Millet, L. Levin
                                               re: documents for rule 2004 requests.
07/27/2023 Stephen Ehrenberg              1.20 Review documents for rule 2004 responses and emails
                                               with A. Mazumdar re: same.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence with K. McArthur re: rule 2004
                                               interview.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence with A. Mazumdar, T. Millet, J.
                                               McDonald re: logistics for rule 2004 interviews.
07/27/2023 Stephen Ehrenberg              0.30 Correspondence with T. Millet re: searches for rule
                                               2004 responses.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence with J. McDonald re: documents for
                                               rule 2004 requests.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence with K. McArthur re: documents for
                                               rule 2004 responses.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence with A. Mazumdar and T. Millet re:
                                               logistics for rule 2004 interviews.
07/27/2023 Stephen Ehrenberg              0.40 Call with L. Levin re: QE data chart for rule 2004
                                               responses.
07/27/2023 Stephen Ehrenberg              0.10 Correspondence to Z. Flegenheimer re: items for rule
                                               2004 requests.
07/27/2023 Stephen Ehrenberg              0.90 Call with QE, J. McDonald, C. Lloyd, and A.
                                               Mazumdar re: rule 2004 interview.
07/27/2023 Stephen Ehrenberg              0.10 Call re: rule 2004 interviews with J. McDonald.
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Date        Name                        Hours Description
07/27/2023 Stephen Ehrenberg              0.30 Correspondence with QE and J. McDonald re:
                                               documents in response to rule 2004 requests.
07/27/2023 Stephen Ehrenberg              0.20 Call with J. McDonald, T. Millet and R. Zink (QE),
                                               K. Whitfield (QE), and J. Gindin (QE) re: documents
                                               in response to rule 2004 requests.
07/27/2023 Christopher Dunne              0.70 Correspondence to S&C team re: federal regulator
                                               requests and productions.
07/27/2023 Jacob Croke                    0.40 Analyze materials in response to SDNY requests
                                               (.30); correspondence to S. Yeargan re: same (.10).
07/27/2023 James McDonald                 0.50 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.20); call re: rule 2004 interviews with S. Ehrenberg
                                               (.10); call with S. Ehrenberg, T. Millet and R. Zink
                                               (QE), K. Whitfield (QE), and J. Gindin (QE) re:
                                               documents in response to rule 2004 requests (.20).
07/27/2023 James McDonald                 0.90 Call with QE, S. Ehrenberg, C. Lloyd, and A.
                                               Mazumdar re: rule 2004 interview.
07/27/2023 Colin Lloyd                    0.90 Call with QE, S. Ehrenberg, J. McDonald and A.
                                               Mazumdar re: rule 2004 interview.
07/27/2023 Bradley Harsch                 5.30 Correspondence with S&C team re: customer data
                                               and other ad hoc searches (.20); review and email re:
                                               documents for production to federal regulator (.30);
                                               revise production letters and cover emails for
                                               production to federal regulator (.20); review status of
                                               productions workstream for law enforcement office
                                               (.20); call with A. Holland re: document production
                                               (.10); review and respond re: international law
                                               enforcement office inquiries (1.8); review and respond
                                               re: US law enforcement office inquiries (1.9); review
                                               and email re: production letter for federal regulator
                                               (.20); email state law enforcement re: information
                                               request (.20); email federal law enforcement re:
                                               subpoena (.20).
07/27/2023 Shane Yeargan                  1.00 Review data for SDNY request (.30);
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Date        Name                        Hours Description

                                                correspondence with S. Wheeler and J. Croke re:
                                                FTX data (.30); revise talking points for SDNY call
                                                (.20); call with former FTX personnel and K. Baker
                                                (A&M) re: FTX data (.20).
07/27/2023 Kathleen Donnelly              0.90 Call with J. Gallant re: outgoing productions and team
                                               assignments (.40); review and revise draft production
                                               letter and correspondence with S&C team re: same
                                               (.50).
07/27/2023 Zoeth Flegenheimer             2.60 Meeting with S. Wheeler e: device collection and data
                                               retention obligations (.10); coordinate with S. Wheeler
                                               re: document production and data retention (.50);
                                               coordinate with E. Downing re: document production
                                               (.50); coordinate with D. O'Hara re: document
                                               production and protective order (.20); coordinate with
                                               S&C e-discovery team re: document production
                                               (.10); coordinate with FTI re: document production
                                               (.10); coordinate with C. Dunne re: document
                                               production (.10); coordinate with S. Cohen Levin re:
                                               document production (.10); coordinate with J. Croke
                                               re: document review (.10); call with J. Gilday, C.
                                               Fanning, N. Wolowski and FTI re: document
                                               collection and processing (.30); coordinate with E.
                                               Simpson re: data retention (.10); review document
                                               batches assigned to associate review for
                                               responsiveness, privilege and other issues (.20);
                                               respond to analyst questions re: document review
                                               (.20).
07/27/2023 Jared Rosenfeld                1.10 Correspondence with S&C team re: production of
                                               documents to HFSC (.40); review document batches
                                               assigned to associate review for responsiveness,
                                               privilege and other issues (.50); call with S. Wheeler
                                               re: SDNY follow up request for info (.20);
07/27/2023 Alexander Holland              0.10 Call with B. Harsch re: document production.
07/27/2023 Jason Gallant                  2.60 Call with K. Donnelly re: outgoing productions and
                                               team assignments (.40); review outgoing productions
                                               and correspondence with S&C team re: same. (1.1);
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Date        Name                        Hours Description

                                                review documents related to relevant third party
                                                document request (1.1).
07/27/2023 Emma Downing                   0.10 Call with S. Wheeler re: SDNY requests.
07/27/2023 Phoebe Lavin                   3.50 Review data for law enforcement subpoenas and
                                               correspondence to B. Harsch re: same (2.7);
                                               collaborate with S&C e-discovery team re: production
                                               to law enforcement subpoenas (.80).
07/27/2023 Lana Levin                     0.40 Call with L. Levin re: QE data chart for rule 2004
                                               responses.
07/27/2023 Aneesa Mazumdar                6.10 Correspondence with S. Ehrenberg re: Signal
                                               messages production (.40); call with S. Ehrenberg and
                                               A. Mazumdar re: Signal messages review (.10); call
                                               with QE, S. Ehrenberg, J. McDonald, C. Lloyd, and
                                               A. Mazumdar re: rule 2004 interview (.90); review
                                               Signal messages (2.10); coordinate production of
                                               Signal messages (.80); revise notes re: rule 2004
                                               interview (1.80);
07/27/2023 Tatum Millet                   1.30 Draft and revise mirror production letters for
                                               production volume (.70); correspondence with K.
                                               Donnelly re: same (.20); send out emails transmitting
                                               production letters (.20); call with S. Ehrenberg, J.
                                               McDonald and R. Zink (QE), K. Whitfield (QE), and
                                               J. Gindin (QE) re: documents in response to rule 2004
                                               requests (.20).
07/27/2023 Tatum Millet                   1.50 Correspondence to L. Levin and S&C e-discovery
                                               team to coordinate search re: FTX data (.30); search
                                               document review platform and data records re: same
                                               (.70); correspondence withS&C e-discovery team re:
                                               prior productions search re: same (.20);
                                               correspondence with S&C e-discovery team and L.
                                               Levin re: relevant third party documents search (.30).
07/27/2023 Victoria Shahnazary            1.40 Update FTI on production dates (.90); send out
                                               productions (.50).
07/27/2023 Bonifacio Abad                 6.30 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/27/2023 Fareed Ahmed                   1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Ehi Arebamen                   3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Jenna Dilone                   9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 LaToya Edwards                 7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Camille Flynn                 10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Ruth Godin                     3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Dawn Harris-Cox               11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Joshua Hazard                  4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Sally Hewitson                 2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Sherry Johnson                 2.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Frank Jordan                   9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Georgia Maratheftis           10.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Robin Perry                    4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Robert Providence              3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/27/2023 Robert Providence              2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Nicolette Ragnanan             4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Dawn Samuel                   12.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/27/2023 Carrie Fanning                 0.30 Call with Z. Flegenheimer, J. Gilday, N. Wolowski
                                               and FTI re: document collection and processing.
07/27/2023 Joseph Gilday                  2.10 Call with Z. Flegenheimer, C. Fanning, N. Wolowski
                                               and FTI re: document collection and processing (.30);
                                               attention to quality check of production volumes (1.0);
                                               attention to preparation of production volumes (.10);
                                               research production history of selected documents
                                               (.40); correspondence with S&C e-discovery team re:
                                               processing quality checks (.30).
07/27/2023 Jacky Long                     0.60 Assist E. Yim in preparing drive for production
                                               volume.
07/27/2023 Wayne Walther                  1.80 Perform technical quality check on various production
                                               volumes, identifying issues within the volume and
                                               generating reports for project management review
                                               (1.5); correspondence with E. Newman re: quality
                                               check findings of outgoing production, metadata
                                               summary and production reports (.30).
07/27/2023 Nicholas Wolowski              0.50 Conduct quality check and release data to S&C team
                                               (.30); coordinate with FTI re: linear production
                                               volume (.20).
07/27/2023 Eileen Yim                     1.40 Export Signal documents for QE rule 2004 request
                                               (.10); correspondence with A. Mazumdar re: export
                                               of Signal documents for QE rule 2004 request (.10).
                                               correspondence with T. Millet re: searching data for
                                               organizational charts (.40); search data for
                                               organizational charts (.20); compile selected FTX
                                               produced documents per request (.20); search data
                                               re: relevant third party per request (.20);
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Date        Name                         Hours Description

                                                 correspondence with T. Millet re: search of data re:
                                                 relevant third party (.20).
07/28/2023 Mitchell Eitel                  1.20 Meeting with S. Ehrenberg in preparation for meeting
                                                with QE (.20); meeting with QE, S. Ehrenberg and A.
                                                Mazumdar re: rule 2004 interview (1.0).
07/28/2023 Stephanie Wheeler               1.20 Correspondence to B. Harsch re: SDNY requests
                                                (.20); correspondence to A. Holland, J. Gallant, K.
                                                Donnelly and N. Friedlander re: SEC request for data
                                                (.40); correspondence to N. Friedlander, S. Cohen
                                                Levin, J. Croke, C. Dunne, A. Holland, J. Rosenfeld
                                                re: SDNY requests coming out of call (.20); call with
                                                J. Rosenfeld re: SDNY request (.10); correspondence
                                                to N. Roos (SDNY) re: SDNY request for data (.10);
                                                call with N. Roos (SDNY) re: SDNY request (.10);
                                                correspondence to A. Holland re: SDNY request
                                                (.10).
07/28/2023 Stephen Ehrenberg               0.30 Meeting with M. Eitel in preparation for meeting with
                                                QE (.20); correspondence with S&C team re: same
                                                (.10).
07/28/2023 Stephen Ehrenberg               0.20 Call re: rule 2004 responses with M. Shaheen (QE).
07/28/2023 Stephen Ehrenberg               0.20 Correspondence to K. McArthur re: rule 2004
                                                interview.
07/28/2023 Stephen Ehrenberg               0.70 Review materials for rule 2004 meeting with M. Eitel.
07/28/2023 Stephen Ehrenberg               1.00 Meeting with K. McArthur re: rule 2004 (.80);
                                                correspondence to S&C team re: same (.20).
07/28/2023 Stephen Ehrenberg               0.70 Meeting with QE and A. Mazumdar re: rule 2004
                                                interview.
07/28/2023 Stephen Ehrenberg               1.50 Review documents in preparation for meeting between
                                                S&C and QE (.50); meeting with QE, M. Eitel and A.
                                                Mazumdar re: rule 2004 interview (1.0).
07/28/2023 Stephen Ehrenberg               1.30 Prepare chart in response to rule 2004 requests and
                                                correspondence to Z. Flegenheimer re: same.
07/28/2023 Kathleen McArthur               1.90 Meeting with QE, S. Ehrenberg and A. Mazumdar re:
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Date        Name                        Hours Description

                                                rule 2004 interview (.80); meeting with S. Ehrenberg
                                                re: rule 2004 (.80); review materials for meeting with
                                                S. Ehrenberg (.30).
07/28/2023 Jacob Croke                    1.80 Analyze materials for SDNY in response to recent
                                               requests (.70); call counsel for third-party platform re:
                                               investigative requests (.30); correspondence to A.
                                               Holland, S. Wheeler and Alix re: same (.80).
07/28/2023 Bradley Harsch                 2.90 Review email from various international law
                                               enforcement (.30); review subpoena from federal law
                                               enforcement and correspondence with S&C team re:
                                               same (.20); review request from federal law
                                               enforcement and correspondence with S&C team re:
                                               same (.30); review documents re: relevant third party
                                               production to federal regulator (1.0); call with A&M
                                               re: relevant third party data for federal regulator
                                               request (.20); call with A. Holland re: document
                                               production (.10); correspondence with S&C team re:
                                               review and responses re: FTX data (.50); review
                                               responses re: FTX data (.30).
07/28/2023 Zoeth Flegenheimer             4.20 Coordinate with E. Simpson re: data retention (.10);
                                               call with former FTX employee re: device collection
                                               (.10); coordinate with FTI re: device collection (.20);
                                               coordinate with FTX personnel re: device collection
                                               (.10); coordinate with paralegals re: data retention
                                               (.10); coordinate with O. de Vito Piscicelli re: data
                                               retention (.10); coordinate with K. Donnelly re:
                                               document production (.20); coordinate with S&C
                                               e-discovery team re: document production (.30);
                                               coordinate with Kroll re: sending document hold
                                               notices (.30); respond to analyst questions re:
                                               document review (.10); coordinate with S. Cohen
                                               Levin re: document production (1.2); review records
                                               to identify requested documents (1.3); coordinate with
                                               K. Mayberry re: document review (.10).
07/28/2023 Jared Rosenfeld                1.00 Correspondence with S&C team re: data research for
                                               ongoing litigation (.30); correspondence with S&C
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Date        Name                        Hours Description

                                                team re: production of documents (.60); call with S.
                                                Wheeler re: SDNY request (.10).
07/28/2023 Alexander Holland              0.10 Call with B. Harsch re: document production.
07/28/2023 Alexander Holland              3.00 Summarize document re: SDNY requests and
                                               correspond with S. Wheeler and J. Zatz (A&M) re:
                                               same.
07/28/2023 Jason Gallant                  1.00 Review documents and emails re: productions to SEC.
07/28/2023 Phoebe Lavin                   0.90 Correspondence with FTI and S&C e-discovery team
                                               re: law enforcement subpoenas (.50); review
                                               document batches assigned to associate review for
                                               responsiveness, privilege and other issues. (.30);
                                               correspondence with Z. Flegenheimer re: states and
                                               Money Transmitter Regulators Association production
                                               letters. (.10).
07/28/2023 Keila Mayberry                 0.80 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
07/28/2023 Aneesa Mazumdar                4.30 Correspondence with S. Ehrenberg re: rule 2004
                                               interview questions (.50); meeting with QE, M. Eitel,
                                               S. Ehrenberg re: rule 2004 interview (1.0); meeting
                                               with QE, S. Ehrenberg, K. McArthur re: rule 2004
                                               interview (.80); revise notes from rule 2004 interviews
                                               (2.0).
07/28/2023 Bonifacio Abad                 5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Fareed Ahmed                   1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Ehi Arebamen                   3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Jenna Dilone                   5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 LaToya Edwards                 9.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Camille Flynn                  5.80 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/28/2023 Camille Flynn                  0.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Sally Hewitson                 5.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Sherry Johnson                 6.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Georgia Maratheftis            7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Robin Perry                    0.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Robin Perry                    5.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Robert Providence              3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Robert Providence              3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Nicolette Ragnanan             6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Dawn Samuel                    9.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/28/2023 Joseph Gilday                  2.40 Attention to preparation of production volumes (.40);
                                               update S&C e-discovery team chain of custody
                                               records (1.0); research production history of selected
                                               documents (.90); correspondence with S&C
                                               e-discovery team re: production volume quality check
                                               form (.10).
07/28/2023 Nicholas Wolowski              2.50 Conduct quality check on processed data and release
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description

                                                to S&C team (1.0); download and stage data for
                                                processing and create processing request form for
                                                new data to be processed (.30); coordinate with S&C
                                                e-discovery team on data processing (.20); create
                                                production request form for production volume and
                                                coordinate with S&C e-discovery team on production
                                                status (1.0).
07/29/2023 Bradley Harsch                 0.10 Correspondence with international law enforcement re:
                                               information inquiry.
07/29/2023 Kathleen Donnelly              0.60 Correspondence with S&C team re: data for
                                               upcoming production (.40); review documents re:
                                               same (.20).
07/29/2023 Alexander Holland              0.60 Draft email to S. Wheeler re: SDNY requests.
07/29/2023 Bonifacio Abad                 4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Fareed Ahmed                   5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Jenna Dilone                   4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 LaToya Edwards                 2.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Camille Flynn                  6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Ruth Godin                     4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Sherry Johnson                 7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Frank Jordan                   6.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Robin Perry                    6.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Robert Providence              3.40 Review document batches assigned to analyst review
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
07/29/2023 Robert Providence              3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/29/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 James McDonald                 0.50 Review rule 2004 materials and correspondence with
                                               S&C team re: same.
07/30/2023 Bradley Harsch                 1.10 Correspondence to A&M re: request from
                                               international law enforcement (.20); research
                                               international law enforcement information request and
                                               respond re: same (.20); review email from federal
                                               agency re: subpoena response (.10); review responses
                                               to subpoenas from various federal law enforcement
                                               offices and correspondence with S&C team re: same
                                               (.60).
07/30/2023 Zoeth Flegenheimer             0.20 Coordinate with N. Friedlander and S. Wheeler re:
                                               data retention.
07/30/2023 Alexander Holland              0.60 Correspondence to S. Wheeler re: SDNY requests.
07/30/2023 LaToya Edwards                 1.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Camille Flynn                  3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Ruth Godin                     3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Sally Hewitson                 3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Robin Perry                    3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Robert Providence              1.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
07/30/2023 Robert Providence              3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Nicolette Ragnanan             1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/30/2023 Joseph Gilday                  0.80 Attention to preparation of production volume.
07/31/2023 Stephanie Wheeler              0.10 Review production letters.
07/31/2023 Stephanie Wheeler              0.30 Correspondence to D. Sassoon (SDNY) re: SDNY
                                               document request (.10); correspondence to Z.
                                               Flegenheimer re: new SDNY document request (.10);
                                               correspondence to N. Roos (SDNY) and A. Holland
                                               re: SDNY request (.10).
07/31/2023 Stephanie Wheeler              0.20 Correspondence with Z. Flegenheimer and S. Cohen
                                               Levin re: document production.
07/31/2023 Anthony Lewis                  0.20 Correspondence with S&C team re: SDNY request
                                               (.10); correspondence with S&C team re: regulatory
                                               requests (.10).
07/31/2023 Bradley Harsch                 2.70 Correspondence to international law enforcement re:
                                               inquiry (.10); review law enforcement office request
                                               status (.20); review federal agency subpoena and
                                               correspondence with S&C team re: same (.30);
                                               review emails re: status of law enforcement office
                                               productions (.30); review relevant third party
                                               production and correspondence with S&C team re:
                                               same (.10); review production for SDNY subpoena
                                               and correspondence with S&C team re: same (.30);
                                               correspondence with S&C team re: Alameda and
                                               FTX data (.10); review relevant third party data for
                                               subpoena from federal regulator and correspondence
                                               with S&C team re: same (.30); review production for
                                               federal regulator and correspondence with S&C team
                                               re: same (.30); correspondence with S&C team re:
                                               production for states (.10); correspondence with S&C
                                               team re: data for Alameda and FTX (.10); finalize
                                               production and FOIA letters, and cover emails, for
                                               production to federal regulator (.30); review SEC
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Date        Name                        Hours Description

                                                subpoena and correspondence with S&C team re:
                                                same (.20).
07/31/2023 Shane Yeargan                  1.20 Review data for SDNY request (.80);
                                               correspondence with K. Baker (A&M) re: data
                                               export revisions (.20); correspondence with S.
                                               Wheeler re: data extracts (.10); correspondence with
                                               K. Donnelly re: production of data for SDNY (.10).
07/31/2023 Kathleen Donnelly              1.00 Correspondence with S&C team re: document
                                               productions.
07/31/2023 Zoeth Flegenheimer             5.00 Coordinate with S. Wheeler re: document review and
                                               production (.80); coordinate with S. Cohen Levin re:
                                               document production (1.4); review documents for
                                               production to SDNY (1.7); review document batches
                                               assigned to associate review for responsiveness,
                                               privilege and other issues (.10); coordinate with FTI
                                               re: document review and production and database
                                               user access (.50); coordinate with K. Pasquale (Paul
                                               Hastings) re: document production (.20); coordinate
                                               with government regulator re: document production
                                               (.10); coordinate with M. McMahon re: privilege
                                               review (.10); coordinate with K. Donnelly re:
                                               document production (.10).
07/31/2023 Jared Rosenfeld                0.60 Correspondence with S&C team re: production,
                                               redaction of documents.
07/31/2023 Alexander Holland              0.50 Correspond with S. Wheeler and J. Croke re: SDNY
                                               requests (.30); draft email to A&M re: same (.20).
07/31/2023 Jason Gallant                  0.30 Review outgoing productions and correspondence
                                               with S&C team re: same.
07/31/2023 Phoebe Lavin                   1.60 Correspondence with S&C e-discovery team re: law
                                               enforcement subpoena (.10); correspondence with
                                               S&C e-discovery team re: document production to
                                               states (.10); draft production letter to states and
                                               Money Transmitter Regulators Association (.80);
                                               review document batches assigned to associate review
                                               for responsiveness, privilege and other issues (.60).
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Date        Name                        Hours Description

07/31/2023 Tatum Millet                   0.80 Correspondence with K. Donnelly re: correspondence
                                               with SEC (.20); correspondence with S&C
                                               e-discovery team re: same (.30); draft
                                               correspondence to SEC re: same (.30).
07/31/2023 Victoria Shahnazary            1.00 Update law enforcement subpoena tracker and
                                               records re: same.
07/31/2023 Bonifacio Abad                 4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Fareed Ahmed                   1.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Jenna Dilone                   7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 LaToya Edwards                 2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Camille Flynn                  4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Camille Flynn                  4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Camille Flynn                  1.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Dawn Harris-Cox                7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Sally Hewitson                 3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Sherry Johnson                 4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Robin Perry                    0.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Robin Perry                    4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

07/31/2023 Robert Providence              3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Robert Providence              3.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Robert Providence              2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Robert Providence              1.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Nicolette Ragnanan             4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Dawn Samuel                   11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
07/31/2023 Mary McMahon                   3.50 Correspondence with S&C team and FTI re: various
                                               review tasks, review timelines and sweeps for
                                               production.
07/31/2023 Stephen Dooley                 0.20 Correspondence to Z. Flegenheimer, J. Gilday, M.
                                               McMahon and FTI re: document collection and
                                               processing.
07/31/2023 Joseph Gilday                  3.00 Attention to preparation of production volumes (.40);
                                               attention to production of FTX production to states
                                               (.20); attention to technical issue with production
                                               volume reported by regulator (.70); update S&C data
                                               tracking matter summary questionnaires (.50);
                                               attention to quality check of production volume (.60);
                                               review S&C correspondence re: review, collections
                                               and productions (.60).
07/31/2023 Eileen Yim                     0.30 Conduct quality check on various production volumes
                                               (.20); correspondence with J. Gilday re: quality check
                                               of production volume (.10).

Total                                 3,097.80
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                                 Project: 00030 - HEARINGS

Date        Name                        Hours Description

07/04/2023 Andrew Dietderich             7.10 Prepare for Genesis hearing (2.1); attend Genesis
                                              hearing (4.2); follow-up correspondence with K.
                                              Pasquale (Paul Hastings) re: hearing (.20); follow-up
                                              correspondence with S&C team re: same (.40);
                                              follow-up correspondence with J. Ray (FTX) (.20) re:
                                              same.
07/05/2023 Brian Glueckstein             2.30 Correspondence with A. Dietderich re: Genesis
                                              strategy and hearing issues (1.2); prepare for Genesis
                                              hearing (1.1).
07/06/2023 Andrew Dietderich             3.40 Appear at Genesis stay and estimation motion hearing.
07/06/2023 Brian Glueckstein             4.40 Appear at Genesis stay and estimation motion hearing
                                              (4.0); follow up correspondence re: same (.40).
07/06/2023 Benjamin Beller               4.00 Attend Genesis hearing.
07/19/2023 Andrew Dietderich             0.50 Prepare for Genesis hearing.
07/20/2023 Andrew Dietderich             0.60 Attend Genesis hearing (.50); follow up
                                              correspondence re: same (.10).
07/20/2023 Brian Glueckstein             0.60 Attend Genesis hearing (.50); follow up
                                              correspondence re: same (.10).
07/20/2023 Benjamin Beller               2.00 Correspondence with A. Dietderich and B.
                                              Glueckstein re: Genesis hearing preparation (1.5);
                                              attend Genesis hearing (.50).
07/20/2023 Julian Keeley                 0.50 Attend Genesis hearing.

Total                                   25.40
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                               Project: 00033 - GENERAL INVESTIGATIONS

Date        Name                             Hours Description

07/02/2023 Jason Gallant                      0.10 Correspondence to N. Friedlander re: request by J.
                                                   Ray (FTX).
07/03/2023 Anthony Lewis                      0.10 Correspondence with S&C team and counsel for
                                                   witness re: DOJ interview.
07/03/2023 Jason Gallant                      1.40 Research in response to request by J. Ray (FTX).
07/05/2023 Stephanie Wheeler                  0.90 Revise agenda for senior lawyer call (.40); meeting
                                                   with K. Donnelly re: investigative workstreams (.20);
                                                   call with J. McDonald re: SDNY request for witness
                                                   (.20); correspondence to S. Peikin re: former FTX
                                                   personnel (.10).
07/05/2023 Kathleen McArthur                  0.10 Correspondence to S&C team re: outreach from
                                                   individual counsel.
07/05/2023 James McDonald                     0.80 Call with S. Wheeler re: SDNY request for witness
                                                   (.20); call with QE and review of materials re:
                                                   investigations (.60).
07/05/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: witness
                                                   representation issues.
07/05/2023 Bradley Harsch                     0.10 Review and comment on agenda for senior lawyers
                                                   meeting.
07/05/2023 Kathleen Donnelly                  0.40 Correspondence to S&C team re: investigative
                                                   workstreams (.20); meeting with S. Wheeler re:
                                                   investigative workstreams (.20)
07/05/2023 Alexander Holland                  0.20 Correspondence to N. Menillo re: former FTX
                                                   employee's counsel.
07/05/2023 Jason Gallant                      1.50 Research in response to request by J. Ray (FTX).
07/06/2023 Steven Holley                      0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Stephanie Wheeler                  0.60 Revise agenda for senior lawyer call (.10); bi-weekly
                                                   senior lawyers call re: ongoing investigations
                                                   workstreams (.50 - partial attendance).
07/06/2023 Steven Peikin                      0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50 - partial attendance).
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Date        Name                             Hours Description
07/06/2023 Steven Peikin                      0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50 - partial attendance).
07/06/2023 Stephen Ehrenberg                  0.20 Review correspondence from Joele Frank re: FTX
                                                   media coverage.
07/06/2023 Stephen Ehrenberg                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50 - partial attendance).
07/06/2023 Kathleen McArthur                  0.60 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.60 - partial attendance).
07/06/2023 Jacob Croke                        0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 James Bromley                      0.50 Call with CBAM, A&M and S&C teams re: strategy.
07/06/2023 Sharon Levin                       0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Hilary Williams                    0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Bradley Harsch                     0.80 Review agenda for senior lawyer call (.10); bi-weekly
                                                   senior lawyers call re: ongoing investigations
                                                   workstreams (.70).
07/06/2023 William Wagener                    0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Jonathan Sedlak                    0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams
07/06/2023 Shane Yeargan                      0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50 - partial attendance).
07/06/2023 Michele Materni                    0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Mark Bennett                       0.60 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.60 - partial attendance).
07/06/2023 Kathleen Donnelly                  1.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.70); correspondence to
                                                   S&C team re: investigative workstreams (.50)
07/06/2023 Zoeth Flegenheimer                 0.70 Bi-weekly senior lawyers call re: ongoing
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Date        Name                             Hours Description

                                                    investigations workstreams.
07/06/2023 Jared Rosenfeld                    1.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.70); research re: origins
                                                   of relevant third party website and correspondence re:
                                                   same (.60).
07/06/2023 Andrew Thompson                    0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Daniel O'Hara                      0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/06/2023 Jason Gallant                      0.10 Correspondence with J. Croke re: political donations
                                                   research.
07/07/2023 Stephanie Wheeler                  1.60 Call with Paul Hastings, J. Croke, C. Dunne and B.
                                                   Glueckstein re: investigation update.
07/07/2023 Brian Glueckstein                  0.30 Correspondence with S&C team and follow-up re:
                                                   relevant third party.
07/08/2023 Stephanie Wheeler                  0.20 Correspondence to K. Lemire (QE) and J. Rosenfeld
                                                   re: witness interview.
07/09/2023 Stephanie Wheeler                  0.20 Revised agenda for senior lawyer call.
07/10/2023 Steven Holley                      1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Mitchell Eitel                     0.60 Weekly meeting with J. Ray (FTX), S&C team and
                                                   QE (.40); correspondence to S. Peikin re: relevant
                                                   third parties (.20).
07/10/2023 Stephanie Wheeler                  1.00 Revise agenda for team meeting (.30); S&C team
                                                   meeting re: ongoing investigations workstreams (.50 -
                                                   partial attendance); correspondence to Z.
                                                   Flegenheimer re: question from witness's lawyer re:
                                                   FTX privilege (.20).
07/10/2023 Christopher Dunne                  1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Kathleen McArthur                  1.10 Meeting with J. Croke, W. Wagener, J. Rosenfeld, A.
                                                   Holland, U. Eze and Alix re: ongoing Alix work
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Date        Name                              Hours Description

                                                     stream.
07/10/2023 Jacob Croke                         2.00 S&C team meeting re: ongoing investigations
                                                    workstreams (.90 - partial attendance); meeting with
                                                    K. McArthur, W. Wagener, J. Rosenfeld, A. Holland,
                                                    U. Eze and Alix re: ongoing Alix work stream (1.1).
07/10/2023 Nicole Friedlander                  0.40 Review summary re: communications with S&C
                                                    outside counsel and correspondence to J. Rosenfeld
                                                    re: same. (.20); correspondence to LedgerX counsel
                                                    re: DOJ interview request (.20).
07/10/2023 Sharon Levin                        1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Anthony Lewis                       1.10 S&C team meeting re: ongoing investigations
                                                    workstreams (1.0); correspondence with S&C and
                                                    WilmerHale teams re: discussion with FTX personnel
                                                    (.10).
07/10/2023 Hilary Williams                     1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Bradley Harsch                      1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 William Wagener                     2.10 Meeting with J. Croke. K. McArthur, J. Rosenfeld, A.
                                                    Holland, U. Eze and Alix re: ongoing Alix work stream
                                                    (1.1); S&C team meeting re: ongoing investigations
                                                    workstreams (1.0).
07/10/2023 Michele Materni                     1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Kathleen Donnelly                   1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Zoeth Flegenheimer                  1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Jared Rosenfeld                     2.70 Meeting with J. Croke, K. McArthur, W. Wagener,
                                                    A. Holland, U. Eze and Alix re: ongoing Alix work
                                                    stream (1.1); S&C team meeting re: ongoing
                                                    investigations workstreams (1.0); correspondence to
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                                                    S&C team re: relevant third party (.40);
                                                    correspondence to S&C team re: research project re:
                                                    exchange withdrawals of relevant third parties (.20).
07/10/2023 Andrew Thompson                    1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Alexander Holland                  1.10 Meeting with J. Croke, K. McArthur, W. Wagener, J.
                                                   Rosenfeld, U. Eze and Alix re: ongoing Alix work
                                                   stream.
07/10/2023 Alexander Holland                  1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Matthew Strand                     1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Ugonna Eze                         1.10 Meeting between J. Croke (left early - .50), K.
                                                   McArthur, W. Wagener, J. Rosenfeld, Alexander
                                                   Holland and U. Eze, and Alix Partners to discuss
                                                   ongoing Alix Partners work stream. (1.1).
07/10/2023 Ugonna Eze                         1.50 Discreet legal research re: solvency analysis.
07/10/2023 Jason Gallant                      2.10 Research for J. Croke on transaction confirmations
                                                   post-petition date (1.1); S&C team meeting re:
                                                   ongoing investigations workstreams (1.0).
07/10/2023 Emma Downing                       1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Natalie Hills                      1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Phoebe Lavin                       1.00 S&C team meeting re: ongoing investigations work
                                                   streams.
07/10/2023 Keila Mayberry                     1.10 S&C team meeting re: ongoing investigations
                                                   workstreams (1.0); correspondence with N. Hills re:
                                                   FTX entity (.10).
07/10/2023 Aneesa Mazumdar                    1.00 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/10/2023 Tatum Millet                       1.00 S&C team meeting re: ongoing investigations
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                                                     workstreams.
07/10/2023 William Scheffer                    1.00 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/10/2023 Maya Artis                          1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Jack Baum                           1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Sophia Brown                        1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Callen DiGiovanni                   1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Christopher D'Urso                  1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 S. Fischer                          1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Emma Kenny-Pessia                   1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Madeline Killen                     1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Ethan Savitch                       1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Geneva Smith                        1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/10/2023 Charles Sonenclar                   1.00 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/11/2023 Stephanie Wheeler                   1.30 Revise agenda for senior lawyers call (.30); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.50); prepare agenda for strategy
                                                    meeting with bankruptcy team (.40); correspondence
                                                    to S. Woodall and L. Ross re: counsel for HFSC
                                                    witness (.10).
07/11/2023 Steven Peikin                       0.50 Bi-weekly senior lawyers call re: ongoing
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                                                    investigations workstreams.
07/11/2023 Stephen Ehrenberg                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Samuel Woodall III                 0.20 Correspondence to S. Wheeler, K. Shields and L.
                                                   Ross re: response to HFSC staff inquiry.
07/11/2023 Christopher Dunne                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Kathleen McArthur                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Sharon Levin                       0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Anthony Lewis                      0.70 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50); correspondence
                                                   with SDNY, S&C and Sygnia re: requests (.10);
                                                   correspondence with S&C team re: discussions with
                                                   former employee (.10).
07/11/2023 Hilary Williams                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Bradley Harsch                     0.60 Review agenda for senior attorney meeting (.10);
                                                   bi-weekly senior lawyers call re: ongoing investigations
                                                   workstreams (.50).
07/11/2023 William Wagener                    1.10 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50); correspondence to
                                                   S&C team re: treatment of contingent liabilities (.60).
07/11/2023 Jonathan Sedlak                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams
07/11/2023 Michele Materni                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Mark Bennett                       0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/11/2023 Kathleen Donnelly                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
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Date        Name                              Hours Description
07/11/2023 Jared Rosenfeld                     0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/11/2023 Andrew Thompson                     0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/11/2023 Daniel O'Hara                       0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/11/2023 Ugonna Eze                          1.40 Discreet legal research re: solvency analysis.
07/12/2023 Kathleen McArthur                   0.20 Correspondence to S&C team re: Alameda analysis
07/12/2023 Nicole Friedlander                  0.10 Correspondence to J. Rosenfeld re: payment agent
                                                    agreement issue.
07/12/2023 Anthony Lewis                       0.10 Correspondence with S&C, Covington and
                                                    WilmerHale teams re: discussion with employee.
07/12/2023 Jonathan Sedlak                     5.10 Reviewed and revised SEC submission
07/12/2023 Michele Materni                     0.10 Correspondence to J. Rosenfeld re: outstanding
                                                    research workstreams.
07/12/2023 Kathleen Donnelly                   0.30 Call with L. Ross re: ongoing investigative
                                                    workstreams.
07/12/2023 Jared Rosenfeld                     0.90 Call with M. Materni re: outstanding research
                                                    workstreams (.10); correspondence to S&C team re:
                                                    research project into relevant third parties (.40);
                                                    research re: relevant third party (.40).
07/12/2023 Daniel O'Hara                       0.20 Research re: protective order designations.
07/12/2023 Ugonna Eze                          1.50 Review documents and research re: solvency analysis.
07/12/2023 Luke Ross                           0.30 Call with K. Donnelly re: ongoing investigative
                                                    workstreams.
07/13/2023 Steven Holley                       0.30 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/13/2023 Stephanie Wheeler                   2.10 Revise agenda for senior lawyer call (.30); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.30); meeting with S&C bankruptcy
                                                    and investigation team re: workstreams (1.5).
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Date        Name                             Hours Description
07/13/2023 Andrew Dietderich                  1.50 Meeting with S&C bankruptcy and investigation team
                                                   re: workstreams.
07/13/2023 Steven Peikin                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.20 - partial attendance).
07/13/2023 Justin DeCamp                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.20 - partial attendance).
07/13/2023 Christopher Dunne                  0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Kathleen McArthur                  1.50 Meeting with S&C bankruptcy and investigation team
                                                   re: workstreams.
07/13/2023 Jacob Croke                        0.20 Correspondence to J. Rosenfeld re: Slack collection
                                                   and analysis.
07/13/2023 Sharon Levin                       0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Sharon Levin                       0.40 Email correspondence with A. Kranzley and A&M re:
                                                   Chinese email addresses.
07/13/2023 Sharon Levin                       0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Anthony Lewis                      0.40 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.30); correspondence
                                                   with S&C team re: discussion with former employee
                                                   (.10).
07/13/2023 Bradley Harsch                     0.40 Review agenda for senior lawyers call (.10);
                                                   bi-weekly senior lawyers call re: ongoing investigations
                                                   workstreams (.30).
07/13/2023 William Wagener                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Jonathan Sedlak                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Shane Yeargan                      0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Michele Materni                    0.30 Bi-weekly senior lawyers call re: ongoing
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Date        Name                             Hours Description

                                                    investigations workstreams.
07/13/2023 Mark Bennett                       0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Mark Bennett                       0.20 Correspondence to J. Croke and H. Williams re: legal
                                                   representation on third parties of interest.
07/13/2023 Kathleen Donnelly                  0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Meaghan Kerin                      1.00 Call with J. Rosenfeld, S. Rosenthal, and P. Lavin re:
                                                   work product related to Alameda financials and
                                                   privileges (.20); review records relating to Alameda
                                                   privileges (.60); correspondence to J. Rosenfeld, P.
                                                   Lavin, S. Rosenthal re: same (.20).
07/13/2023 Jared Rosenfeld                    7.80 Call with P. Lavin re: summary of work product
                                                   related to Alameda financials and privileges (.20); call
                                                   with M. Kerin, S. Rosenthal and P. Lavin re: work
                                                   product related to Alameda financials and privileges
                                                   (.20); bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.30); draft and research
                                                   talking points for SDNY call (6.6); research re: issues
                                                   (.30); correspondence to S&C team re: research into
                                                   fractional reserve model (.20).
07/13/2023 Andrew Thompson                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/13/2023 Daniel O'Hara                      0.60 Review news and docket filings for case update (.30);
                                                   bi-weekly senior lawyers call re: ongoing investigations
                                                   workstreams (.30).
07/13/2023 Samantha Rosenthal                 0.70 Call with J. Rosenfeld, M. Kerin and P. Lavin re:
                                                   work product related to Alameda financials and
                                                   privileges (.20); research re: same (.50).
07/13/2023 Matthew Strand                     3.80 Review and summarized relevant third party
                                                   complaints and relevant third party indictment and
                                                   review internal records re: allegations and FTX
                                                   connections.
07/13/2023 Ugonna Eze                         1.40 Review documents and research re: solvency analysis.
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Date        Name                             Hours Description

07/13/2023 Phoebe Lavin                       1.30 Call with J. Rosenfeld, M. Kerin and S. Rosenthal re:
                                                   work product related to Alameda financials and
                                                   privileges (.20); call with J. Rosenfeld re: a summary
                                                   of Alameda financials and privileges (.20);
                                                   correspondence with A&M re: liquidity issues (.20);
                                                   correspondence with Alix re: Alameda financial issues
                                                   (.20); draft summary of Alameda financial issues (.50).
07/14/2023 Stephanie Wheeler                  0.10 Correspondence to A. Devlin-Brown (Covington) re:
                                                   new client.
07/14/2023 Christopher Dunne                  0.20 S&C team meeting re: ongoing investigations
                                                   workstreams (.20 - partial attendance).
07/14/2023 Kathleen McArthur                  0.20 Correspondence to S&C team with A. Dietderich and
                                                   Alix re: valuation questions.
07/14/2023 Bradley Harsch                     0.20 Review correspondence to S&C team interview of
                                                   former FTX personnel by state regulator (.10); review
                                                   agenda for associate team meeting (.10).
07/14/2023 Jared Rosenfeld                    3.50 Revise and research talking points for SDNY call
                                                   (2.2); prepare for SDNY presentation (.50); attend
                                                   SDNY call and corresponded about presentation
                                                   follow-ups (.80).
07/14/2023 Daniel O'Hara                      0.10 Meeting with E. Downing re: coordinating various
                                                   investigations.
07/14/2023 Ugonna Eze                         0.80 Review documents and research re: solvency analysis.
07/14/2023 Emma Downing                       0.30 Meeting with D. O'Hara re: coordinating various
                                                   workstreams (.10); meeting with T. Millet re:
                                                   coordinating various workstreams (.20).
07/14/2023 Tatum Millet                       0.20 Meeting with E. Downing re: coordinating various
                                                   workstreams.
07/15/2023 Andrew Dietderich                  1.10 Research on FTT and other loyalty token terms and
                                                   conditions.
07/16/2023 Stephanie Wheeler                  0.10 Correspondence with S. Ehrenberg re: conflict check
                                                   for professional firm.
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Date        Name                              Hours Description
07/16/2023 Kathleen McArthur                   0.30 Review documents of interest to investigation from U.
                                                    Eze (.20); correspondence to U. Eze re: same (.10).
07/16/2023 Ugonna Eze                          1.00 Prepared search terms and research re: solvency
                                                    analysis.
07/17/2023 Stephanie Wheeler                   1.30 Correspondence to J. Ray (FTX) and N. Friedlander
                                                    re: bidding consortium (.20); revise agenda for team
                                                    meeting (.40); S&C team meeting re: ongoing
                                                    investigations workstreams (.70).
07/17/2023 Stephen Ehrenberg                   0.40 S&C team meeting re: ongoing investigations
                                                    workstreams (.40 - partial attendance).
07/17/2023 Brian Glueckstein                   1.10 Meeting with K. McArthur, W. Wagener, J.
                                                    Rosenfeld, A. Holland, U. Eze and Alix re: ongoing
                                                    Alix work stream.
07/17/2023 Kathleen McArthur                   1.10 Meeting with B. Glueckstein, W. Wagener, J.
                                                    Rosenfeld, A. Holland, U. Eze and Alix re: ongoing
                                                    Alix work stream.
07/17/2023 Jacob Croke                         0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Nicole Friedlander                  0.20 Correspondence to S. Wheeler and S&C team re:
                                                    advisor.
07/17/2023 Sharon Levin                        0.50 S&C team meeting re: ongoing investigations
                                                    workstreams (.50 - partial attendance).
07/17/2023 James McDonald                      0.50 Call with J. Ray (FTX) and review of materials re:
                                                    same.
07/17/2023 Anthony Lewis                       0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Bradley Harsch                      0.80 Review correspondence re: former FTX personnel
                                                    interview memo (.10); S&C team meeting re: ongoing
                                                    investigations workstreams (.70).
07/17/2023 William Wagener                     1.80 Meeting with B. Glueckstein, K. McArthur, J.
                                                    Rosenfeld, A. Holland, U. Eze and Alix re: ongoing
                                                    Alix work stream (1.1); S&C team meeting re:
                                                    ongoing investigations workstreams (.70).
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Date        Name                             Hours Description

07/17/2023 Shane Yeargan                      0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Mark Bennett                       0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Kathleen Donnelly                  0.50 S&C team meeting re: ongoing investigations
                                                   workstreams (.50 - partial attendance).
07/17/2023 Zoeth Flegenheimer                 0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Meaghan Kerin                      2.30 Correspondence to P. Lavin re: Alameda privileges
                                                   (.10); draft summary re: advisor findings re: Alameda
                                                   privileges (.90); review records re: same (1.0); review
                                                   documents re: advisor issues (.20); correspondence to
                                                   S&C team re: same (.10).
07/17/2023 Jared Rosenfeld                    1.80 S&C team meeting re: ongoing investigations
                                                   workstreams (.70); meeting with B. Glueckstein, K.
                                                   McArthur, A. Holland, U. Eze and Alix re: ongoing
                                                   Alix work stream (1.1).
07/17/2023 Andrew Thompson                    0.60 S&C team meeting re: ongoing investigations
                                                   workstreams (.60 - partial attendance).
07/17/2023 Alexander Holland                  0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Alexander Holland                  1.10 Meeting with B. Glueckstein, K. McArthur, J.
                                                   Rosenfeld, U. Eze and Alix re: ongoing Alix work
                                                   stream.
07/17/2023 Daniel O'Hara                      0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Matthew Strand                     0.70 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/17/2023 Ugonna Eze                         0.80 Revise search terms and review documents re:
                                                   solvency analysis.
07/17/2023 Ugonna Eze                         1.10 Meeting with B. Glueckstein, K. McArthur, W.
                                                   Wagener, J. Rosenfeld, A. Holland and Alix re:
                                                   ongoing Alix workstreams.
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07/17/2023 Jason Gallant                       0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Emma Downing                        0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Natalie Hills                       0.20 S&C team meeting re: ongoing investigations
                                                    workstreams (.20 - partial attendance).
07/17/2023 Phoebe Lavin                        0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Keila Mayberry                      0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Tatum Millet                        0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Luke Ross                           0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 William Scheffer                    0.70 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/17/2023 Maya Artis                          0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Jack Baum                           0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Sophia Brown                        0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Callen DiGiovanni                   0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Christopher D'Urso                  0.50 S&C team meeting re: ongoing investigations
                                                    workstreams (.50 - partial attendance). (no charge)
07/17/2023 Emma Kenny-Pessia                   0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Madeline Killen                     0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Ethan Savitch                       0.70 S&C team meeting re: ongoing investigations
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                                                     workstreams. (no charge)
07/17/2023 Charles Sonenclar                   0.70 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/17/2023 Sam Yu                              0.60 S&C team meeting re: ongoing investigations
                                                    workstreams (.60 - partial attendance). (no charge)
07/18/2023 Stephanie Wheeler                   0.40 Revise agenda for senior lawyer call (.20); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.20).
07/18/2023 Steven Peikin                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Justin DeCamp                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Christopher Dunne                   1.20 Correspondence to S&C team re: relevant third party
                                                    strategy (1.0); bi-weekly senior lawyers call re:
                                                    ongoing investigations workstreams (.20).
07/18/2023 Kathleen McArthur                   0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Nicole Friedlander                  0.20 Correspondence to J. Rosenfeld re: payment agent
                                                    documents for SDNY.
07/18/2023 James McDonald                      0.50 Revise agenda for senior lawyer call (.20); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.20); draft notes re: ongoing
                                                    investigations (.10).
07/18/2023 Anthony Lewis                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Bradley Harsch                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Shane Yeargan                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Mark Bennett                        0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/18/2023 Kathleen Donnelly                   0.20 Bi-weekly senior lawyers call re: ongoing
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                                                    investigations workstreams.
07/18/2023 Zoeth Flegenheimer                 0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/18/2023 Meaghan Kerin                      4.00 Further draft summary of Alameda privileges on FTX
                                                   exchange (2.3); review records re: Alameda privileges
                                                   on FTX exchange (1.3); correspondence to J.
                                                   Rosenfeld, S. Rosenthal, P. Lavin and A&M re: same
                                                   (.40).
07/18/2023 Jared Rosenfeld                    0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/18/2023 Andrew Thompson                    0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/18/2023 Daniel O'Hara                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/18/2023 Phoebe Lavin                       0.80 Draft summary of Alameda's role with respect to
                                                   FTX.
07/19/2023 Bradley Harsch                     0.10 Review correspondence from S&C team re: Nardello
                                                   reports on transferee entities.
07/19/2023 Meaghan Kerin                      0.60 Correspondence to J. Rosenfeld, P. Lavin, S.
                                                   Rosenthal and A&M re: Alameda privileges and
                                                   related issues (.20); review records re: Alameda
                                                   privileges and related issues (.40).
07/19/2023 Jared Rosenfeld                    2.60 Correspondence to J. Bromley re: questions for
                                                   witness in upcoming interview (.30); attend, summarize
                                                   and revise notes from former FTX personnel interview
                                                   (2.3).
07/19/2023 Austin Reda                        0.50 Draft response and questions regarding UCC to
                                                   Bahamas local counsel (.30); draft summary of UCC
                                                   perfection rules (.20). (no charge)
07/20/2023 Stephanie Wheeler                  0.80 Revise agenda for senior lawyer call (.20); bi-weekly
                                                   senior lawyers call re: ongoing investigations
                                                   workstreams (.30); call with J. Croke re: various
                                                   workstreams (.30).
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07/20/2023 Stephen Ehrenberg                  0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Justin DeCamp                      0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Kathleen McArthur                  0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.20 - partial attendance).
07/20/2023 Jacob Croke                        0.60 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.30); call with S. Wheeler
                                                   re: various workstreams (.30).
07/20/2023 Anthony Lewis                      0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Bradley Harsch                     0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Jonathan Sedlak                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Shane Yeargan                      0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Mark Bennett                       0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Kathleen Donnelly                  0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Zoeth Flegenheimer                 0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Jared Rosenfeld                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Andrew Thompson                    0.30 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/20/2023 Daniel O'Hara                      0.80 Review documents re: relevant third party settlement
                                                   (.20); draft summary re: relevant third party settlement
                                                   (.30); bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.30).
07/21/2023 David Gilberg                      0.20 Further review of relevant documents.
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07/21/2023 Stephanie Wheeler                   0.10 Correspondence to S. Woodall re: call with HFSC.
07/21/2023 Stephanie Wheeler                   0.20 Correspondence to R. Jacobs (state regulator) and C.
                                                    Carpenito (King & Spalding) re: witness contact info.
07/21/2023 Jacob Croke                         1.00 Analyze QE investigative materials (.70),
                                                    correspondence to S. Ehrenberg re: investigative
                                                    materials (.30).
07/21/2023 Daniel O'Hara                       0.50 Review documents re: relevant third party settlement
                                                    (.20); draft summary re: same (.30).
07/22/2023 James McDonald                      1.50 Discussions with QE and review of materials re:
                                                    interviews.
07/23/2023 Samuel Woodall III                  0.10 Correspondence to S. Wheeler and K. Shields re:
                                                    HFSC staff inquiry.
07/24/2023 Steven Holley                       0.80 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/24/2023 Mitchell Eitel                      1.10 Review and prepare materials for QE meeting.
07/24/2023 David Gilberg                       2.20 Prepare for QE interview (1.0); participate in
                                                    interview (1.2).
07/24/2023 Stephanie Wheeler                   1.50 Revise agenda for weekly team meeting (.20); S&C
                                                    team meeting re: ongoing investigations workstreams
                                                    (.80); correspondence to A. Dietderich, J. Bromley
                                                    and B. Glueckstein re: witness interview (.10); read
                                                    documents re: witness interview (.40).
07/24/2023 Stephen Ehrenberg                   0.80 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/24/2023 Samuel Woodall III                  0.10 Correspondence to HFSC staff re: inquiry.
07/24/2023 Justin DeCamp                       0.80 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/24/2023 Kathleen McArthur                   1.50 Review investigative materials from QE.
07/24/2023 Jacob Croke                         0.80 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/24/2023 Nicole Friedlander                  0.40 Correspondence to J. Rosenfeld and S. Wheeler re:
                                                    payment agent agreement (.20); review payment agent
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                                                    agreement materials (.20).
07/24/2023 Sharon Levin                       0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Anthony Lewis                      0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Hilary Williams                    0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Bradley Harsch                     0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Shane Yeargan                      0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Michele Materni                    0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Kathleen Donnelly                  0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Zoeth Flegenheimer                 0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Meaghan Kerin                      0.70 Call with G. Walia (A&M) re: Alameda privileges on
                                                   FTX and related topics (.10); correspondence to J.
                                                   Rosenfeld, P. Lavin, S. Rosenthal, A&M and Alix re:
                                                   Alameda privileges on FTX and related topics (.20);
                                                   review records re: Alameda privileges on FTX and
                                                   related topics (.40).
07/24/2023 Jared Rosenfeld                    2.70 Correspondence to S&C team, attend meeting about,
                                                   organize review of withdrawal-related Slacks (1.4);
                                                   correspondence to S&C team and revise memoranda
                                                   re: research into multiple acquisitions (1.3).
07/24/2023 Andrew Thompson                    0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Alexander Holland                  0.80 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/24/2023 Daniel O'Hara                      1.70 Meeting with E. Downing and T. Millet re:
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                                                   coordinating various workstreams (.50); S&C team
                                                   meeting re: ongoing investigations workstreams (.80);
                                                   call with E. Downing re: ongoing investigatory
                                                   workstreams (.40).
07/24/2023 Samantha Rosenthal                0.30 Correspondence with J. Rosenfeld, M. Kerin and P.
                                                  Lavin re: Alameda financials and privileges (.10);
                                                  review summaries re: same (.20).
07/24/2023 Matthew Strand                    0.50 S&C team meeting re: ongoing investigations
                                                  workstreams (.50 - partial attendance).
07/24/2023 Jason Gallant                     0.80 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 Emma Downing                      1.60 Meeting with D. O’Hara and T. Millet re: coordinating
                                                  various workstreams (.50); S&C team meeting re:
                                                  ongoing investigations workstreams (.70 - partial
                                                  attendance); call with D. O’Hara re: ongoing
                                                  investigatory workstreams (.40).
07/24/2023 Natalie Hills                     0.80 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 Phoebe Lavin                      0.80 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 Keila Mayberry                    0.80 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 Aneesa Mazumdar                   0.80 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 Tatum Millet                      4.20 Interview former FTX personnel with S. Ehrenberg
                                                  and QE (1.4); S&C team meeting re: ongoing
                                                  investigations workstreams (.80); revise notes re:
                                                  former FTX personnel (1.5); meeting with D. O’Hara
                                                  and E. Downing re: coordinating various workstreams
                                                  (.50).
07/24/2023 Luke Ross                         1.00 S&C team meeting re: ongoing investigations
                                                  workstreams.
07/24/2023 William Scheffer                  0.80 S&C team meeting re: ongoing investigations
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                                                     workstreams.
07/24/2023 Alexander Newman                    0.80 S&C team meeting re: ongoing investigations
                                                    workstreams. (no charge)
07/25/2023 Steven Holley                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/25/2023 Stephanie Wheeler                   0.40 Revise agenda for senior lawyer call (.20); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.20).
07/25/2023 Steven Peikin                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/25/2023 Samuel Woodall III                  0.20 Correspondence to S. Wheeler and K. Shields re:
                                                    HFSC staff inquiry.
07/25/2023 Samuel Woodall III                  0.30 Call with HFSC staff re: inquiry.
07/25/2023 Justin DeCamp                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams (.20).
07/25/2023 Kathleen McArthur                   0.80 Finish reviewing investigative materials from QE.
07/25/2023 Kathleen McArthur                   0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/25/2023 Jacob Croke                         1.10 Correspondence to S. Ehrenberg re: QE investigative
                                                    steps (.70); analysis of documents re: QE investigative
                                                    steps (.40).
07/25/2023 Nicole Friedlander                  0.50 Correspondence to J. Rosenfeld re: payment agent
                                                    agreement (.30); assess payment agent agreement
                                                    materials (.20).
07/25/2023 Nicole Friedlander                  0.10 Review summary for SDNY question.
07/25/2023 Sharon Levin                        0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/25/2023 James McDonald                      1.30 Review of materials and discussions re: QE interviews.
07/25/2023 Anthony Lewis                       0.20 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/25/2023 Hilary Williams                     0.20 Bi-weekly senior lawyers call re: ongoing
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                                                    investigations workstreams.
07/25/2023 Bradley Harsch                     0.60 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.20); review and
                                                   correspondence to S&C team re: inquiry on relevant
                                                   third party loans (.40).
07/25/2023 Shane Yeargan                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/25/2023 Michele Materni                    0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/25/2023 Zoeth Flegenheimer                 0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/25/2023 Andrew Thompson                    0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/25/2023 Daniel O'Hara                      0.20 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/26/2023 Andrew Dietderich                  1.70 Review documents and prep interview with QE.
07/26/2023 Kathleen McArthur                  1.20 Call with S. Ehrenberg and review materials re: same.
07/26/2023 Jacob Croke                        0.40 Analyze QE investigative materials.
07/26/2023 James McDonald                     1.00 Prepare for QE interview with C. Lloyd and review of
                                                   materials re: same.
07/26/2023 James McDonald                     1.50 Prepare for QE interview with C. Lloyd and review of
                                                   materials re: same.
07/26/2023 James McDonald                     1.30 Prepare for separate QE interview and review of
                                                   materials re: same.
07/26/2023 Jared Rosenfeld                    2.50 Correspondence to S&C team research into
                                                   investment in relevant third party (1.3);
                                                   correspondence to S&C team, researched payment
                                                   agent agreement-related correspondence (1.2).
07/26/2023 Andrew Thompson                    0.80 Review notes of QE interview.
07/26/2023 Daniel O'Hara                      0.30 Meeting with E. Downing re: ongoing investigatory
                                                   workstreams.
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07/26/2023 Emma Downing                        0.30 Meeting with D. O’Hara re: ongoing investigatory
                                                    workstreams.
07/26/2023 Tatum Millet                        0.10 Correspondence to A. Mazumdar re: QE interviews.
07/26/2023 Natalia Vasylyk                     0.30 Redact various bank statements per B. Harsch.
07/27/2023 Mitchell Eitel                      0.20 Correspondence to S. Ehrenberg re: interview of
                                                    former FTX personnel.
07/27/2023 Stephanie Wheeler                   0.60 Revise agenda for senior lawyer call (.10); bi-weekly
                                                    senior lawyers call re: ongoing investigations
                                                    workstreams (.50).
07/27/2023 Andrew Dietderich                   0.80 Interview with QE, S. Ehrenberg, J. McDonald and T.
                                                    Millet.
07/27/2023 Stephen Ehrenberg                   0.50 Interview of J. McDonald with QE and T. Millet.
07/27/2023 Stephen Ehrenberg                   0.80 Interview of A. Dietderich with QE, T. Millet and J.
                                                    McDonald.
07/27/2023 Justin DeCamp                       0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/27/2023 Christopher Dunne                   0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/27/2023 Christopher Dunne                   0.20 Correspondence DOJ re: investigative issues.
07/27/2023 Kathleen McArthur                   0.10 Correspondence to S. Ehrenberg re: meeting with QE.
07/27/2023 Kathleen McArthur                   0.10 Review agenda for FTX senior lawyers' bi-weekly
                                                    call.
07/27/2023 Jacob Croke                         0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/27/2023 Nicole Friedlander                  0.70 Correspondence to J. Rosenfeld re: payment agent
                                                    agreement analysis (.30); correspondence to SDNY
                                                    re: same (.40).
07/27/2023 Sharon Levin                        0.50 Bi-weekly senior lawyers call re: ongoing
                                                    investigations workstreams.
07/27/2023 James McDonald                      1.00 Prepare for QE interview and participate in same.
07/27/2023 James McDonald                      0.60 Prepare for QE interview and participate in same.
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07/27/2023 James McDonald                     1.80 Interview of A. Dietderich with QE, S. Ehrenberg and
                                                   T. Millet (.80); prepare and review of materials re:
                                                   same (1.0).
07/27/2023 Anthony Lewis                      0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Hilary Williams                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Bradley Harsch                     0.90 Review correspondence re: status of search re:
                                                   relevant third party loan documents (.40); bi-weekly
                                                   senior lawyers call re: ongoing investigations
                                                   workstreams (.50).
07/27/2023 William Wagener                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Michele Materni                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Kathleen Donnelly                  0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Zoeth Flegenheimer                 0.60 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50); call with T. Millet re:
                                                   organization chart related to QE interview (.10).
07/27/2023 Jared Rosenfeld                    6.00 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams (.50); correspondence to
                                                   S&C team re: payment agent agreement (.50);
                                                   research re: payment agent agreement (3.4); attend
                                                   interview of former FTX personnel (1.6).
07/27/2023 Andrew Thompson                    0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Daniel O'Hara                      0.50 Bi-weekly senior lawyers call re: ongoing
                                                   investigations workstreams.
07/27/2023 Lana Levin                         8.60 Review records re: productions involving
                                                   organizational chart in connection with witness
                                                   interviews (1.6); review emails involving FTX
                                                   organizational chart for witness interviews (1.4);
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                                                     review FTX and related entity engagement letters in
                                                     connection with QE investigation (.40); review A.
                                                     Dietderich declaration in connection with QE
                                                     investigation (.50); review previously drafted client
                                                     matter summaries in connection with QE investigation
                                                     (.50); review billing entries in connection with QE
                                                     investigation (.80); draft summary re: attorney
                                                     representation in connection with QE investigation
                                                     (1.8); revise summary re: attorney representation in
                                                     connection with QE investigation (.90); review FTX
                                                     billing data re: billing re: relevant third party (.70).
07/27/2023 Tatum Millet                        2.60 Call with Z. Flegenheimer re: documents related to QE
                                                    interview (.10); interview of A. Dietderich with QE, S.
                                                    Ehrenberg and J. McDonald (.80); call with S.
                                                    Ehrenberg, J. McDonald and QE re: certain
                                                    documents in connection with S&C’s representation
                                                    of FTX (.20); interview of J. McDonald with QE and
                                                    S. Ehrenberg (.50); cleaning up interview notes re:
                                                    same (1.0).
07/28/2023 Stephanie Wheeler                   1.30 Revise talking points for SDNY call (.30); call with
                                                    SDNY, J. Croke, S. Cohen Levin, C. Dunne, N.
                                                    Friedlander, M. Wu, Z. Flegenheimer and D. O’Hara
                                                    re: ongoing FTX and investigatory matters (.80); read
                                                    notes of witness interview (.20).
07/28/2023 Christopher Dunne                   1.20 Prepare for call with DOJ (.40); call with SDNY, S.
                                                    Wheeler, J. Croke, S. Cohen Levin, N. Friedlander,
                                                    M. Wu, Z. Flegenheimer, and D. O’Hara re: ongoing
                                                    FTX and investigatory matters (.80).
07/28/2023 Jacob Croke                         0.80 Call with SDNY, S. Wheeler, S. Cohen Levin, C.
                                                    Dunne, N. Friedlander, M. Wu, Z. Flegenheimer and
                                                    D. O’Hara re: ongoing FTX and investigatory matters.
07/28/2023 Nicole Friedlander                  0.80 Call with SDNY, S. Wheeler, J. Croke, S. Cohen
                                                    Levin, C. Dunne, N. Friedlander, M. Wu and D.
                                                    O’Hara re: ongoing FTX and investigatory matters
                                                    (.80)
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07/28/2023 Nicole Friedlander                  0.90 Correspondence to S. Wheeler re: relevant third party
                                                    data (.10); call with M. Kerin re: same (.10);
                                                    correspondence to J. Rosenfeld re: payment agent
                                                    agreement (.40); correspondence to A. Dietderich, J.
                                                    Bromley and B. Glueckstein re: same (.30).
07/28/2023 Sharon Levin                        0.30 Review talking points for SDNY meeting.
07/28/2023 Sharon Levin                        0.80 Call with SDNY, S. Wheeler, J. Croke, C. Dunne, N.
                                                    Friedlander, M. Wu, Z. Flegenheimer and D. O’Hara
                                                    re: ongoing FTX and investigatory matters.
07/28/2023 Mimi Wu                             0.30 Call with SDNY, S. Wheeler, J. Croke, S. Cohen
                                                    Levin, C. Dunne, N. Friedlander, Z. Flegenheimer and
                                                    D. O’Hara re: ongoing FTX and investigatory matters
                                                    (.30 - partial attendance).
07/28/2023 Kathleen Donnelly                   0.10 Correspondence to S&C team re: investigative
                                                    workstreams.
07/28/2023 Zoeth Flegenheimer                  0.80 Call with SDNY, S. Wheeler, J. Croke, S. Cohen
                                                    Levin, C. Dunne, N. Friedlander, M. Wu and D.
                                                    O’Hara re: ongoing FTX and investigatory matters.
07/28/2023 Meaghan Kerin                       0.20 Correspondence to S. Wheeler, N. Friedlander and
                                                    A. Holland re: relevant third party data issues (.10);
                                                    review records re: same (.10).
07/28/2023 Jared Rosenfeld                     1.60 Revise notes from former FTX personnel interview.
07/28/2023 Daniel O'Hara                       1.70 Revise SDNY call notes (.10); revise talking points re:
                                                    relevant third party issue (.70); correspondence re:
                                                    same (.10); call with SDNY, S. Wheeler, J. Croke, S.
                                                    Cohen Levin, C. Dunne, N. Friedlander, M. Wu and
                                                    Z. Flegenheimer re: ongoing FTX and investigatory
                                                    matters (.80).
07/28/2023 Tatum Millet                        1.80 Finalize J. McDonald interview notes (.60); finalize A.
                                                    Dietderich interview notes (.80); summarize questions
                                                    from QE interviews (.40).
07/29/2023 Meaghan Kerin                       0.10 Correspondence to S. Wheeler and A. Holland re:
                                                    relevant third party data issues.
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                                Project: 00033 - GENERAL INVESTIGATIONS

Date        Name                              Hours Description
07/30/2023 Daniel O'Hara                       0.10 Review and respond to correspondence re: relevant
                                                    third party issue.
07/31/2023 Stephanie Wheeler                   0.90 Prepared agenda for weekly meeting (.20); S&C team
                                                    meeting re: ongoing investigations workstreams (.60);
                                                    revising agenda for senior lawyers call (.10).
07/31/2023 Stephen Ehrenberg                   0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Justin DeCamp                       0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Christopher Dunne                   0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Jacob Croke                         0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Nicole Friedlander                  0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Sharon Levin                        0.50 Correspondence to S. Wheeler and Z. Flegenheimer
                                                    re: questions re: banking regulations.
07/31/2023 Bradley Harsch                      0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 William Wagener                     0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Jonathan Sedlak                     0.60 S&C team meeting re: ongoing investigations
                                                    workstreams
07/31/2023 Shane Yeargan                       0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
07/31/2023 Michele Materni                     0.80 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); correspondence with K.
                                                    Mayberry re: loan-related searches (.20).
07/31/2023 Kathleen Donnelly                   0.20 S&C team meeting re: ongoing investigations
                                                    workstreams (.20 - partial attendance).
07/31/2023 Zoeth Flegenheimer                  0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
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                               Project: 00033 - GENERAL INVESTIGATIONS

Date        Name                             Hours Description
07/31/2023 Andrew Thompson                    0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Alexander Holland                  0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Daniel O'Hara                      1.70 Review documents re: relevant third party issue (1.1);
                                                   S&C team meeting re: ongoing investigations
                                                   workstreams (.60)
07/31/2023 Jason Gallant                      0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Emma Downing                       0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Natalie Hills                      0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Phoebe Lavin                       0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Keila Mayberry                     0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Aneesa Mazumdar                    0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Tatum Millet                       0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 William Scheffer                   0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
07/31/2023 Alexander Newman                   0.60 S&C team meeting re: ongoing investigations
                                                   workstreams. (no charge)

Total                                       296.90
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                          Project: 00034 - SCHEDULES, SOFAS AND REPORTING

Date        Name                            Hours Description

07/06/2023 Alexa Kranzley                    1.00 Call with A&M re: schedules and related issues (.40);
                                                  correspondences with UST re: reporting and related
                                                  issues (.30); review related issues (.30).
07/07/2023 Alexa Kranzley                    0.30 Follow up with A&M team re schedules and
                                                  reporting.
07/10/2023 Alexa Kranzley                    0.40 Correspondence with A&M team re: schedules issues.
07/12/2023 Alexa Kranzley                    0.80 Correspondence with S&C team re: amended
                                                  schedules (.40); correspondence with A&M team re:
                                                  the same (.40).
07/14/2023 Alexa Kranzley                    0.50 Correspondence with S&C and A&M teams re:
                                                  amended schedules and related issues.
07/15/2023 Alexa Kranzley                    0.10 Work on amended schedule issues.
07/17/2023 Alexa Kranzley                    2.10 Correspondence with A&M team re: schedule
                                                  amendments and related issues (.80); review questions
                                                  re: same and related issues (.70); correspondences
                                                  with internal team re: the same (.60).
07/17/2023 Harrison Schlossberg              0.20 Research re: schedules per A. Kranzley.
07/18/2023 Brian Glueckstein                 0.40 Correspondence with S&C team and follow-up re:
                                                  schedules amendments.
07/18/2023 Alexa Kranzley                    0.30 Correspondence with A&M and S&C team re:
                                                  schedules and related issues.
07/20/2023 Alexa Kranzley                    0.40 Call with A&M re: amendments to schedules and
                                                  related issues.
07/20/2023 Grier Barnes                      0.50 Prepare second supplemental global notes re:
                                                  schedules and related issues.
07/21/2023 Alexa Kranzley                    0.50 Call with A&M re: amended schedules and related
                                                  timing (.30); correspondences with S&C team re: the
                                                  same (.20).
07/24/2023 Alexa Kranzley                    0.10 Correspondence with A&M re: schedules filing.
07/25/2023 Brian Glueckstein                 1.00 Call with A&M re: schedules issues and follow-up.
07/25/2023 Jacob Croke                       1.50 Call with A&M re: schedules filings (.60); analyze
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                       Project: 00034 - SCHEDULES, SOFAS AND REPORTING

Date        Name                         Hours Description

                                                 issues re: same (.80); correspondence with J.
                                                 Rosenfeld re: same (.10).
07/25/2023 Alexa Kranzley                 0.70 Call with A&M re: schedules and related issues (.40);
                                               work on related issues (.30).
07/27/2023 Alexa Kranzley                 1.10 Call with R. Esposito (A&M) re: schedules and
                                               related issues (.40); correspondences with A&M and
                                               Landis re: schedules refiling and related issues (.70).
07/29/2023 Alexa Kranzley                 0.30 Correspondences with A&M and Landis re: schedules
                                               filing.
07/31/2023 Alexa Kranzley                 0.90 Call with R. Esposito (A&M) re: filing of unredacted
                                               schedules and statements (.40); correspondences with
                                               M. Cilia (RLKS) re: the same (.10); correspondences
                                               with Landis re: filing of the same and related issues
                                               (.40).

Total                                    13.10
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

07/03/2023 Aaron Levine                      0.10 Review sale/hedging motion.
07/03/2023 Emile Shehada                     0.90 Review and annotate UST reply ISO examiner
                                                  appeal.
07/04/2023 Aaron Levine                      0.10 Review sale/hedging motion.
07/05/2023 Sharon Levin                      0.30 Review D1 Ventures motion and related email
                                                  correspondence to team.
07/05/2023 Bradley Harsch                    0.10 Review correspondence re: status of turnover motion.
07/05/2023 Sean Fulton                       1.30 Review UST reply ISO examiner appeal.
07/05/2023 Julie Kapoor                      0.60 Review issues re: redaction motion appeal (.40); call
                                                  with K. Ramanathan (A&M) re: sale/hedging motion
                                                  (.20).
07/05/2023 Aaron Levine                      0.40 Review and comment on sale/hedging motion.
07/05/2023 Aaron Levine                      0.10 Review emails re: sale/hedging motion.
07/05/2023 Nam Luu                           1.90 Call with E. Shehada re: redaction order appeal (.20);
                                                  research re: same (.40); correspondence with B.
                                                  Glueckstein and J. Kapoor re: proposed briefing
                                                  timeline for redaction motion appeal (.60); review
                                                  designation of record and statement of issues on
                                                  appeal re: redaction order appeal (.70).
07/05/2023 Emile Shehada                     0.20 Call with N. Luu re: redaction order appeal.
07/05/2023 Benjamin Zonenshayn               2.00 Research re: sale/hedging motion.
07/06/2023 Sharon Levin                      0.10 Email correspondence to team re: D1 Ventures.
07/06/2023 Alexa Kranzley                    0.60 Work on D1 Ventures issues (.30); correspondences
                                                  with internal team re: sale/hedging motion (.30).
07/06/2023 Julie Kapoor                      0.30 Review and revise designation of record and statement
                                                  of issues on appeal re: redaction order appeal.
07/06/2023 Aaron Levine                      0.50 Review and revise sale/hedging motion.
07/06/2023 Nam Luu                           2.00 Draft counter-designation for redaction order appeal
                                                  (1.4); email correspondence with J. Kapoor re: same
                                                  (.30); review correspondence with UST re:
                                                  compliance with redaction order (.10); review UST
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

                                                   notice of appeal of redaction order (.20).
07/06/2023 Benjamin Zonenshayn               1.00 Research re: sale/hedging motion for J. Kapoor.
07/07/2023 Alexa Kranzley                    0.10 Follow up correspondence with S&C team re:
                                                  sale/hedging motion.
07/07/2023 Julie Kapoor                      0.70 Review and revise counter-designation re: redaction
                                                  order appeal.
07/07/2023 Aaron Levine                      0.10 Review and revise sale/hedging motion.
07/07/2023 Nam Luu                           2.60 Research re: redaction order appeal (.40); draft and
                                                  revise counter-designation re: redaction order appeal
                                                  (1.4); correspondence with B. Glueckstein and J.
                                                  Kapoor re: same (.80).
07/07/2023 Benjamin Zonenshayn               2.00 Draft sale/hedging motion for J. Kapoor.
07/08/2023 Aaron Levine                      0.10 Review sale/hedging motion.
07/08/2023 Benjamin Zonenshayn               3.00 Draft sale/hedging motion for J. Kapoor.
07/09/2023 Julie Kapoor                      2.00 Review and revise sale/hedging motion.
07/09/2023 Aaron Levine                      1.00 Review emails re: sale/hedging motion.
07/09/2023 Aaron Levine                      0.20 Review and revise sale/hedging motion.
07/09/2023 Benjamin Zonenshayn               6.00 Review and revise sale/hedging motion (5.0);
                                                  correspondence with J. Kapoor re: same (.20);
                                                  correspondence with R. Kumanan re: same (.60);
                                                  review of market making agreements (.20)
07/10/2023 Alexa Kranzley                    0.70 Correspondence with J. Kapoor re: sale/hedging
                                                  motion (.20); correspondences with internal team re:
                                                  sale/hedging and other related motions (.40);
                                                  correspondences with counsel to D1 Ventures re:
                                                  deposit return motion (.10).
07/10/2023 Julie Kapoor                      1.90 Review and revise sale/hedging motion (1.7);
                                                  correspondence with A. Kranzley re: same (.20).
07/10/2023 Aaron Levine                      0.10 Review sale/hedging motion.
07/10/2023 Aaron Levine                      2.10 Review re: sale/hedging motion issues.
07/10/2023 Jordan Cohen                      4.60 Meeting with B. Zonenshayn and S. Fineberg re:
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

                                                   review of contracts for sale/hedging motion (.30);
                                                   review re: same (3.6); research re: sale/hedging motion
                                                   (.70). (no charge)
07/10/2023 Sam Fineberg                      3.80 Meeting with B. Zonenshayn and J. Cohen re: review
                                                  of contracts for sale/hedging motion (.30); research re:
                                                  same (3.5). (no charge)
07/11/2023 Alexa Kranzley                    1.10 Call with A. Levine, J. Kapoor and B. Zonenshayn to
                                                  discuss sale/hedging motion (.60); correspondence
                                                  with S&C team re: same (.40); follow up
                                                  correspondence with S&C team re: return of deposits
                                                  motion (.10).
07/11/2023 Julie Kapoor                      0.60 Call with A. Kranzley, A. Levine and B. Zonenshayn
                                                  to discuss sale/hedging motion.
07/11/2023 Aaron Levine                      0.80 Review sale/hedging motion (.20); call with A.
                                                  Kranzley, J. Kapoor and B. Zonenshayn to discuss
                                                  sale/hedging motion (.60).
07/11/2023 Aaron Levine                      0.20 Review re: sale/hedging motion issues.
07/11/2023 Nam Luu                           0.10 Email correspondence with B. Glueckstein and J.
                                                  Kapoor re: counter-designation in redaction order
                                                  appeal.
07/11/2023 Jordan Cohen                      3.80 Research re: sale/hedging motion. (no charge)
07/12/2023 Alexa Kranzley                    0.20 Correspondence with S&C team re: sale/hedging
                                                  motion issues.
07/12/2023 Aaron Levine                      0.10 Review re: sale/hedging motion issues.
07/12/2023 Benjamin Zonenshayn               1.00 Email correspondence re: motion relating to cash
                                                  management issues and related research.
07/12/2023 Anshul Palavajjhala               3.30 Review materials re: motion relating to cash
                                                  management issues. (no charge)
07/13/2023 Alexa Kranzley                    0.20 Correspondence with S&C team re: sale/hedging
                                                  motion issues.
07/13/2023 Julie Kapoor                      0.90 Call with N. Luu re: redaction order appeal (.10);
                                                  review counter-designation re: same (.60);
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Date        Name                            Hours Description

                                                   correspondence with Paul Hastings re: same (.10);
                                                   correspondence with B. Glueckstein re: same (.10).
07/13/2023 Aaron Levine                      0.10 Review re: sale/hedging motion issues.
07/13/2023 Nam Luu                           0.30 Revise counter-designation re: redaction order appeal
                                                  (.20); call with J. Kapoor re: same (.10).
07/13/2023 Benjamin Zonenshayn               3.00 Draft and research for sale/hedging motion.
07/13/2023 Anshul Palavajjhala               5.40 Review materials re: motion relating to cash
                                                  management issues. (no charge)
07/14/2023 Alexa Kranzley                    0.50 Work on sale/hedging motion issues (.30);
                                                  correspondence with S&C team re: same (.20).
07/14/2023 Julie Kapoor                      0.50 Call with B. Zonenshayn re: sales and motions relating
                                                  to cash management issues.
07/14/2023 Aaron Levine                      0.60 Correspondence with B. Zonenshayn and A.
                                                  Palavajjhala re: motion relating to cash management
                                                  issues (.40); review re: same and related issues (.20).
07/14/2023 Benjamin Zonenshayn               0.80 Draft outline of motion relating to cash management
                                                  issues for J. Kapoor.
07/14/2023 Benjamin Zonenshayn               5.00 Draft sale/hedging motion for J. Kapoor (3.0); call
                                                  with J. Kapoor re: sale/hedging motion (.50); research
                                                  re: motion relating to cash management issues (.50);
                                                  correspondence with A. Kranzley and A. Palavajjhala
                                                  re: same (1.0).
07/14/2023 Anshul Palavajjhala               6.10 Draft motion relating to cash management issues (5.0);
                                                  review related materials (1.1). (no charge)
07/15/2023 Julie Kapoor                      1.00 Review and revise sale/hedging motion (.90); review
                                                  correspondence re: same (.10).
07/15/2023 Aaron Levine                      0.10 Review re: sale/hedging motion issues.
07/15/2023 Nam Luu                           0.20 Review correspondence re: briefing schedule for
                                                  redaction order appeal (.10); review docket re: same
                                                  (.10).
07/16/2023 Aaron Levine                      0.30 Review re: sale/hedging motion.
07/17/2023 Andrew Dietderich                 0.50 Call with A. Kranzley, J. Kapoor, J. Ray (FTX), E.
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Date        Name                            Hours Description

                                                   Mosley (A&M), S. Coverick (A&M) and K.
                                                   Ramanathan (A&M) re: sale/hedging motion and
                                                   related issues.
07/17/2023 Brian Glueckstein                 1.90 Review and revise J. Ray (FTX) declaration re:
                                                  relevant third party (1.4); follow-up with J. Ray (FTX)
                                                  re: the same (.30); correspondence with UST re: the
                                                  same (.20).
07/17/2023 Brian Glueckstein                 0.30 Review and revise hearing agenda.
07/17/2023 Ken Li                            0.80 Prepare notes and comments for engagement of
                                                  investment manager (.50); correspondence with S&C
                                                  team re: engagement of investment manager (.30).
07/17/2023 Alexa Kranzley                    1.20 Call with A. Dietderich, J. Kapoor, J. Ray (FTX), E.
                                                  Mosley (A&M), S. Coverick (A&M) and K.
                                                  Ramanathan (A&M) re: sale/hedging motion and
                                                  related issues (.50); review re: the same (.40); review
                                                  and revise motions to dismiss (.30).
07/17/2023 Julie Kapoor                      1.50 Call with M. Pierce (Landis) re: sale/hedging motion
                                                  (.10); call with B. Zonenshayn re: sale/hedging motion
                                                  (.50); review research re: investment manager (.20);
                                                  review and revise sale/hedging motion (.20); call with
                                                  A. Dietderich, A. Kranzley, J. Ray (FTX), E. Mosley
                                                  (A&M), S. Coverick (A&M) and K. Ramanathan
                                                  (A&M) re: sale/hedging motion and related issues
                                                  (.50).
07/17/2023 Aaron Levine                      0.10 Review re: sale/hedging motion.
07/17/2023 Nam Luu                           0.10 Review redaction motion appeal dockets re: upcoming
                                                  deadlines.
07/17/2023 Benjamin Zonenshayn               4.70 Draft sale/hedging motion (3.9); call with J. Kapoor
                                                  re: same (.50); meeting with A. Palavajjhala re: motion
                                                  relating to cash management issues (.30).
07/17/2023 Anshul Palavajjhala               1.10 Draft motion relating to cash management issues (.80);
                                                  meeting with B. Zonenshayn re: the same (.30). (no
                                                  charge)
07/18/2023 Brian Glueckstein                 0.40 Finalize relevant third party settlement and
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Date        Name                            Hours Description

                                                   implementation documents.
07/18/2023 Ken Li                            1.50 Review and revise materials and prepare notes and
                                                  comments for engagement of investment manager
                                                  (1.1); correspondence with S&C team re: engagement
                                                  of investment manager (.40).
07/18/2023 Alexa Kranzley                    1.70 Call with J. Kapoor re: sale/hedging motion issues
                                                  (.10); call with S. Coverick (A&M) re: the same
                                                  (.30); review and revise motions to dismiss foreign
                                                  debtors and related issues (1.3).
07/18/2023 Julie Kapoor                      2.40 Call with A. Kranzley re: sale/hedging motion issues
                                                  (.10); review and revise re: the same (.80);
                                                  correspondence with S&C team re: the same (.50);
                                                  call with M. Pierce (Landis) re: investment manager
                                                  motion (.10); call with K. Ramanathan (A&M) and B.
                                                  Zonenshayn re: sale/hedging motion procedures (.50);
                                                  review and work on redaction order appeal issues
                                                  (.40).
07/18/2023 Aaron Levine                      0.10 Review re: sale/hedging motion.
07/18/2023 Aaron Levine                      0.80 Review and revise sale/hedging motion.
07/18/2023 Nam Luu                           2.40 Review Third Circuit order certifying direct appeal of
                                                  examiner motion (.10); correspondence with B.
                                                  Glueckstein and J. Kapoor re: redaction appeal tasks
                                                  (.90); revise counter-designation of record re:
                                                  redaction order appeal for bankruptcy court (.40);
                                                  draft same for district court (.70); review rules and
                                                  precedents re: bankruptcy appeal briefing schedule
                                                  (.30).
07/18/2023 Benjamin Zonenshayn               1.50 Review and revise sales motion per J. Kapoor (1.0);
                                                  call with K. Ramanathan (A&M) and J. Kapoor re:
                                                  sales motion procedures (.50).
07/19/2023 Ken Li                            1.80 Review and revise materials and prepare notes and
                                                  comments for engagement of investment manager
                                                  (1.1); correspondence with internal team re:
                                                  engagement structure and portfolio features (.40);
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Date        Name                            Hours Description

                                                   research re: same (.30).
07/19/2023 Alexa Kranzley                    1.20 Review and revise sale/hedging motion (.80);
                                                  correspondences with internal team re: the same (.40).
07/19/2023 Julie Kapoor                      0.90 Review and work on counter-designation of record re:
                                                  redaction order appeal (.80); call with M. Pierce
                                                  (Landis) re: same (.10).
07/19/2023 Aaron Levine                      0.40 Review re: sale/hedging motion.
07/19/2023 Nam Luu                           1.20 Revise counter-designations re: redaction order appeal
                                                  for filing (.20); review draft pro hac vice applications
                                                  (.30); review district court's order on briefing schedule
                                                  re: redaction order appeal (.10); email
                                                  correspondence with B. Glueckstein, J. Kapoor,
                                                  UCC counsel re: filings for redaction order appeal
                                                  (.60).
07/19/2023 Benjamin Zonenshayn               1.50 Revise sale/hedging motion per A. Kranzley.
07/20/2023 Alexa Kranzley                    0.20 Correspondence with internal team re: sale/hedging
                                                  motion.
07/20/2023 Aaron Levine                      0.10 Review sale/hedging motion.
07/20/2023 Nam Luu                           0.70 Review timeline re: UST appeal of redaction order
                                                  and related issues (.60); email correspondence with J.
                                                  Kapoor re: the same (.10).
07/21/2023 Brian Glueckstein                 0.10 Call with J. Kapoor re: redaction order appeal.
07/21/2023 Brian Glueckstein                 1.80 Draft and revise settlement procedures motion (1.2);
                                                  correspondence with J. Ray (FTX) re: the same (.20);
                                                  finalize relevant third party settlement implementation
                                                  documents (.40).
07/21/2023 Alexa Kranzley                    0.30 Correspondences with A. Dietderich re: sale/hedging
                                                  motion and related issues.
07/21/2023 Julie Kapoor                      0.10 Call with B. Glueckstein re: redaction order appeal.
07/21/2023 Nam Luu                           0.70 Research re: consolidation of appeals re: redaction
                                                  order appeal (.50); email correspondence with J.
                                                  Kapoor re: same (.20).
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Date        Name                            Hours Description
07/23/2023 Brian Glueckstein                 0.30 Review documents and correspondence re: SBF
                                                  issues.
07/24/2023 Alexa Kranzley                    0.40 Review sale/hedging motion and related issues.
07/24/2023 Julie Kapoor                      0.50 Review and revise redaction order appeal.
07/24/2023 Nam Luu                           2.20 Review UST designation of record re: redaction order
                                                  appeal (.50); draft and revise tracker of designated
                                                  items (.80); draft and revise counter-designation of
                                                  additional record re: redaction order appeal (.50);
                                                  correspondence with J. Kapoor re: the same (.40).
07/25/2023 Andrew Dietderich                 0.30 Meeting with A. Kranzley re: sale/hedging motion.
07/25/2023 Ken Li                            0.40 Call with A. Kranzley, J. Kapoor, A. Levine and D.
                                                  Handelsman re: investment management agreement
                                                  and related motion.
07/25/2023 Alexa Kranzley                    2.70 Meeting with A. Dietderich re: sale/hedging motion
                                                  (.30); meeting with S&C, A&M, FTI, Paul Hastings
                                                  and FTX teams re: coin management (.80); call with
                                                  K. Li, J. Kapoor, A. Levine and D. Handelsman re:
                                                  investment management agreement and related motion
                                                  (.40); correspondences and calls with internal team re:
                                                  related issues (.70); work on related issues (.50).
07/25/2023 Julie Kapoor                      0.60 Work on investment manager motion issues (.20); call
                                                  with A. Kranzley, K. Li, A. Levine and D.
                                                  Handelsman re: investment management agreement
                                                  and related motion (.40).
07/25/2023 Aaron Levine                      0.40 Call with A. Kranzley, K. Li, J. Kapoor and D.
                                                  Handelsman re: investment management agreement
                                                  and related motion (.40).
07/25/2023 Fabio Weinberg Crocco             0.60 Review turnover motion against relevant third party.
07/25/2023 Dylan Handelsman                  0.40 Call with A. Kranzley, K. Li, J. Kapoor and A.
                                                  Levine re: investment management agreement and
                                                  related motion.
07/25/2023 Nam Luu                           0.40 Revise counter-designation of record re: redaction
                                                  order appeal (.20); email correspondence with B.
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

                                                   Glueckstein and J. Kapoor re: the same (.20).
07/26/2023 Brian Glueckstein                 3.40 Draft and revise third party exchange settlement order
                                                  and motion and supporting documents.
07/26/2023 Alexa Kranzley                    2.50 Call with J. Kapoor re: investment manager motion
                                                  (.20); correspondences with A. Dietderich re: the
                                                  same (.40); review correspondences and materials re:
                                                  the same (.40); review and revise relevant third party
                                                  declaration correspondences with B. Glueckstein re:
                                                  the same (1.5).
07/26/2023 Julie Kapoor                      1.80 Call with T. Graulich (DPW) re: investment manager
                                                  motion (.10); work on the same (1.5); call with A.
                                                  Kranzley re: same (.20).
07/26/2023 Aaron Levine                      0.50 Review sale/hedging motion.
07/27/2023 Alexa Kranzley                    0.90 Review and revise motions to dismiss (.70);
                                                  correspondences with internal team re: the same (.20).
07/27/2023 Julie Kapoor                      0.80 Draft investment manager motion.
07/27/2023 Aaron Levine                      0.60 Review sale/hedging motion.
07/27/2023 Fabio Weinberg Crocco             0.40 Revise turnover motion.
07/27/2023 Benjamin Zonenshayn               1.10 Review and revise sale/hedging motion based on A.
                                                  Kranzley and A. Levine comments.
07/27/2023 Sophia Chen                       1.40 Research re: investment manager motion per J.
                                                  Kapoor.
07/28/2023 Brian Glueckstein                 0.60 Meeting with E. Shehada re: examiner appeal (.40);
                                                  call with J. Kapoor and N. Luu re: redaction order
                                                  appeal (.20).
07/28/2023 Alexa Kranzley                    0.50 Correspondences with A&M and S&C teams re:
                                                  sale/hedging motion and related issues.
07/28/2023 Julie Kapoor                      0.90 Call with B. Glueckstein and N. Luu re: redaction
                                                  order appeal (.20); review and revise investment
                                                  manager motion (.30); correspondence re: the same
                                                  (.10); call with DPW team re: the same (.30).
07/28/2023 Aaron Levine                      0.10 Review sale/hedging motion.
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description
07/28/2023 Nam Luu                            0.60 Call with B. Glueckstein and J. Kapoor re: redaction
                                                   order appeal (.20); review and revise
                                                   counter-designation re: redaction order appeal (.20);
                                                   email correspondence with J. Kapoor re: the same
                                                   (.20).
07/28/2023 Emile Shehada                      0.40 Meeting with B. Glueckstein re: examiner appeal.
07/28/2023 Benjamin Zonenshayn                2.20 Review and revise sale/hedging motion.
07/29/2023 Aaron Levine                       0.10 Review sale/hedging motion.
07/29/2023 Nam Luu                            0.10 Correspondence with Paul Hastings team, B.
                                                   Glueckstein, and J. Kapoor re: redaction order
                                                   appeal.
07/29/2023 Emile Shehada                      2.10 Draft objection to UST motion to expedite examiner
                                                   appeal (1.0); draft research summary re: same (1.1).
07/30/2023 Benjamin Zonenshayn                0.90 Research re: motion relating to cash management
                                                   issues.
07/31/2023 Andrew Dietderich                  1.20 Meeting with investment manager, S&C, A&M, FTI,
                                                   Paul Hastings, and DPW teams re: sale process.
07/31/2023 Alexa Kranzley                     1.60 Meeting with investment manager, S&C, A&M, FTI,
                                                   Paul Hastings, and DPW teams re: sale process (1.2);
                                                   correspondences with A&M and internal teams re: the
                                                   same (.40).
07/31/2023 Fabio Weinberg Crocco              0.90 Review turnover motion (.60); email correspondence
                                                   with relevant third party's counsel re: turnover motion
                                                   (.30).

Total                                       148.50
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description

07/03/2023 Michael Baldini                    2.20 Review and revise time entries. (no charge)
07/03/2023 Sophia Chen                        3.10 Review and revise time entries. (no charge)
07/03/2023 Emily Kopp                         2.00 Review and revise time entries. (no charge)
07/03/2023 Virginia Ontiveros                 1.70 Review and revise time entries. (no charge)
07/03/2023 Jordan Pytosh                      6.50 Review and revise time entries. (no charge)
07/03/2023 Celia Rosen                        2.00 Review and revise time entries. (no charge)
07/03/2023 Shan Zhong                         8.50 Review and revise time entries. (no charge)
07/04/2023 Jack Wiley                         2.20 Review and revise time entries. (no charge)
07/05/2023 Michael Baldini                    1.30 Review and revise time entries. (no charge)
07/05/2023 Priyanka Ghatalia                  4.00 Review and revise time entries. (no charge)
07/05/2023 Emily Kopp                         3.60 Review and revise time entries. (no charge)
07/05/2023 Emily Kopp                         1.80 Review and revise time entries. (no charge)
07/05/2023 Virginia Ontiveros                 3.00 Review and revise time entries. (no charge)
07/05/2023 Jordan Pytosh                      1.10 Review and revise time entries. (no charge)
07/05/2023 Celia Rosen                        4.50 Review and revise time entries. (no charge)
07/05/2023 Victoria Shahnazary                0.40 Review and revise time entries. (no charge)
07/05/2023 Nicholas Smusz                     3.70 Review and revise time entries. (no charge)
07/05/2023 Natalia Vasylyk                    2.10 Review and revise time entries. (no charge)
07/05/2023 Jack Wiley                         2.50 Review and revise time entries. (no charge)
07/05/2023 Terry Fukui                        1.70 Review and revise time entries. (no charge)
07/05/2023 Shan Zhong                         7.00 Review and revise time entries. (no charge)
07/06/2023 Michael Baldini                    6.20 Review and revise time entries. (no charge)
07/06/2023 Priyanka Ghatalia                  3.00 Review and revise time entries. (no charge)
07/06/2023 Emily Kopp                         6.50 Review and revise time entries. (no charge)
07/06/2023 Virginia Ontiveros                 2.80 Review and revise time entries. (no charge)
07/06/2023 Halloran Purcell                   2.00 Review and revise time entries. (no charge)
07/06/2023 Jordan Pytosh                      3.10 Review and revise time entries. (no charge)
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description

07/06/2023 Celia Rosen                        1.50 Review and revise time entries. (no charge)
07/06/2023 Celia Rosen                        2.50 Review and revise time entries. (no charge)
07/06/2023 Victoria Shahnazary                1.10 Review and revise time entries. (no charge)
07/06/2023 Nicholas Smusz                     0.60 Review and revise time entries. (no charge)
07/06/2023 Natalia Vasylyk                    0.90 Review and revise time entries. (no charge)
07/06/2023 Jack Wiley                         4.50 Review and revise time entries. (no charge)
07/06/2023 Terry Fukui                        3.90 Review and revise time entries. (no charge)
07/06/2023 Shan Zhong                         1.50 Review and revise time entries. (no charge)
07/07/2023 Michael Baldini                    3.20 Review and revise time entries. (no charge)
07/07/2023 Emily Kopp                         1.80 Review and revise time entries. (no charge)
07/07/2023 Halloran Purcell                   4.80 Review and revise time entries. (no charge)
07/07/2023 Jordan Pytosh                      0.60 Review and revise time entries. (no charge)
07/07/2023 Celia Rosen                        2.30 Review and revise time entries. (no charge)
07/07/2023 Celia Rosen                        2.00 Review and revise time entries. (no charge)
07/07/2023 Victoria Shahnazary                1.90 Review and revise time entries. (no charge)
07/07/2023 Nicholas Smusz                     0.40 Review and revise time entries. (no charge)
07/07/2023 Natalia Vasylyk                    0.50 Review and revise time entries. (no charge)
07/07/2023 Jack Wiley                         2.30 Review and revise time entries. (no charge)
07/07/2023 Terry Fukui                        4.00 Review and revise time entries. (no charge)
07/07/2023 Shan Zhong                         3.60 Review and revise time entries. (no charge)
07/09/2023 Virginia Ontiveros                 4.00 Review and revise time entries. (no charge)
07/09/2023 Jack Wiley                         1.20 Review and revise time entries. (no charge)
07/10/2023 Priyanka Ghatalia                  3.00 Review and revise time entries. (no charge)
07/10/2023 Emily Kopp                         0.80 Review and revise time entries. (no charge)
07/10/2023 Virginia Ontiveros                 4.00 Review and revise time entries. (no charge)
07/10/2023 Halloran Purcell                   3.50 Review and revise time entries. (no charge)
07/10/2023 Jordan Pytosh                      0.70 Review and revise time entries. (no charge)
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description
07/10/2023 Celia Rosen                        3.40 Review and revise time entries. (no charge)
07/10/2023 Celia Rosen                        1.80 Review and revise time entries. (no charge)
07/10/2023 Victoria Shahnazary                0.70 Review and revise time entries. (no charge)
07/10/2023 Natalia Vasylyk                    1.10 Review and revise time entries. (no charge)
07/10/2023 Jack Wiley                         2.40 Review and revise time entries. (no charge)
07/10/2023 Terry Fukui                        3.60 Review and revise time entries. (no charge)
07/10/2023 Shan Zhong                         4.80 Review and revise time entries. (no charge)
07/11/2023 Priyanka Ghatalia                  4.00 Review and revise time entries. (no charge)
07/11/2023 Virginia Ontiveros                 0.80 Review and revise time entries. (no charge)
07/11/2023 Halloran Purcell                   2.50 Review and revise time entries. (no charge)
07/11/2023 Jordan Pytosh                      2.40 Review and revise time entries. (no charge)
07/11/2023 Celia Rosen                        4.00 Review and revise time entries. (no charge)
07/11/2023 Jack Wiley                         1.60 Review and revise time entries. (no charge)
07/11/2023 Terry Fukui                        3.00 Review and revise time entries. (no charge)
07/11/2023 Shan Zhong                         7.20 Review and revise time entries. (no charge)
07/12/2023 Michael Baldini                    3.90 Review and revise time entries. (no charge)
07/12/2023 Priyanka Ghatalia                  4.00 Review and revise time entries. (no charge)
07/12/2023 Emily Kopp                         4.50 Review and revise time entries. (no charge)
07/12/2023 Virginia Ontiveros                 1.50 Review and revise time entries. (no charge)
07/12/2023 Halloran Purcell                   1.50 Review and revise time entries. (no charge)
07/12/2023 Jordan Pytosh                      3.00 Review and revise time entries. (no charge)
07/12/2023 Celia Rosen                        0.60 Review and revise time entries. (no charge)
07/12/2023 Nicholas Smusz                     3.40 Review and revise time entries. (no charge)
07/12/2023 Natalia Vasylyk                    0.30 Review and revise time entries. (no charge)
07/12/2023 Jack Wiley                         1.20 Review and revise time entries. (no charge)
07/12/2023 Shan Zhong                         4.10 Review and revise time entries. (no charge)
07/13/2023 Michael Baldini                    5.10 Review and revise time entries. (no charge)
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description
07/13/2023 Priyanka Ghatalia                  2.00 Review and revise time entries. (no charge)
07/13/2023 Emily Kopp                         2.20 Review and revise time entries. (no charge)
07/13/2023 Virginia Ontiveros                 3.50 Review and revise time entries. (no charge)
07/13/2023 Jordan Pytosh                      0.80 Review and revise time entries. (no charge)
07/13/2023 Victoria Shahnazary                0.40 Review and revise time entries. (no charge)
07/13/2023 Natalia Vasylyk                    1.40 Review and revise time entries. (no charge)
07/13/2023 Jack Wiley                         0.90 Review and revise time entries. (no charge)
07/13/2023 Terry Fukui                        6.00 Review and revise time entries. (no charge)
07/13/2023 Shan Zhong                         0.20 Review and revise time entries. (no charge)
07/14/2023 Michael Baldini                    3.60 Review and revise time entries. (no charge)
07/14/2023 Emily Kopp                         1.40 Review and revise time entries. (no charge)
07/14/2023 Virginia Ontiveros                 2.00 Review and revise time entries. (no charge)
07/14/2023 Celia Rosen                        3.00 Review and revise time entries. (no charge)
07/14/2023 Victoria Shahnazary                1.90 Review and revise time entries. (no charge)
07/14/2023 Jack Wiley                         0.20 Review and revise time entries. (no charge)
07/14/2023 Shan Zhong                         1.00 Review and revise time entries. (no charge)
07/16/2023 Jack Wiley                         2.10 Review and revise time entries. (no charge)
07/17/2023 Michael Baldini                    0.70 Review and revise time entries. (no charge)
07/17/2023 Priyanka Ghatalia                  4.00 Review and revise time entries. (no charge)
07/17/2023 Virginia Ontiveros                 2.30 Review and revise time entries. (no charge)
07/17/2023 Jordan Pytosh                      4.00 Review and revise time entries. (no charge)
07/17/2023 Celia Rosen                        2.10 Review and revise time entries. (no charge)
07/17/2023 Nicholas Smusz                     0.60 Review and revise time entries. (no charge)
07/17/2023 Jack Wiley                         0.70 Review and revise time entries. (no charge)
07/17/2023 Terry Fukui                        1.30 Review and revise time entries. (no charge)
07/17/2023 Shan Zhong                         0.30 Review and revise time entries. (no charge)
07/18/2023 Emily Kopp                         1.20 Review and revise time entries. (no charge)
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                                Project: 00036 - TIME ENTRY REVIEW

Date        Name                           Hours Description
07/18/2023 Halloran Purcell                  2.00 Review and revise time entries. (no charge)
07/18/2023 Celia Rosen                       2.40 Review and revise time entries. (no charge)
07/18/2023 Nicholas Smusz                    0.30 Review and revise time entries. (no charge)
07/18/2023 Jack Wiley                        0.60 Review and revise time entries. (no charge)
07/18/2023 Terry Fukui                       0.90 Review and revise time entries. (no charge)
07/18/2023 Shan Zhong                        0.20 Review and revise time entries. (no charge)
07/19/2023 Michael Baldini                   3.20 Review and revise time entries. (no charge)
07/19/2023 Priyanka Ghatalia                 4.00 Review and revise time entries. (no charge)
07/19/2023 Halloran Purcell                  1.00 Review and revise time entries. (no charge)
07/19/2023 Natalia Vasylyk                   2.00 Review and revise time entries. (no charge)
07/19/2023 Jack Wiley                        2.40 Review and revise time entries. (no charge)
07/19/2023 Terry Fukui                       2.50 Review and revise time entries. (no charge)
07/19/2023 Shan Zhong                        1.00 Review and revise time entries. (no charge)
07/20/2023 Michael Baldini                   1.10 Review and revise time entries. (no charge)
07/20/2023 Sophia Chen                       0.50 Review and revise time entries. (no chrage)
07/20/2023 Halloran Purcell                  3.00 Review and revise time entries. (no charge)
07/20/2023 Jordan Pytosh                     4.90 Review and revise time entries. (no charge)
07/20/2023 Celia Rosen                       0.60 Review and revise time entries. (no charge)
07/20/2023 Natalia Vasylyk                   1.00 Review and revise time entries. (no charge)
07/20/2023 Shan Zhong                        0.70 Review and revise time entries. (no charge)
07/21/2023 Halloran Purcell                  1.00 Review and revise time entries. (no charge)
07/21/2023 Jack Wiley                        0.50 Review and revise time entries. (no charge)
07/22/2023 Emily Kopp                        0.80 Review and revise time entries. (no charge)
07/24/2023 Michael Baldini                   1.40 Review and revise time entries. (no charge)
07/24/2023 Priyanka Ghatalia                 2.00 Review and revise time entries. (no charge)
07/24/2023 Virginia Ontiveros                0.50 Review and revise time entries. (no charge)
07/24/2023 Halloran Purcell                  1.50 Review and revise time entries. (no charge)
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                                Project: 00036 - TIME ENTRY REVIEW

Date        Name                           Hours Description
07/24/2023 Jordan Pytosh                     1.10 Review and revise time entries. (no charge)
07/24/2023 Celia Rosen                       2.20 Review and revise time entries. (no charge)
07/24/2023 Nicholas Smusz                    0.60 Review and revise time entries. (no charge)
07/24/2023 Natalia Vasylyk                   1.60 Review and revise time entries. (no charge)
07/24/2023 Jack Wiley                        0.30 Review and revise time entries. (no charge)
07/24/2023 Shan Zhong                        1.00 Review and revise time entries. (no charge)
07/25/2023 Maxim Bjarnason                   3.70 Review and revise time entries. (no charge)
07/25/2023 Sophia Chen                       3.40 Review and revise time entries. (no charge)
07/25/2023 Emily Kopp                        0.50 Review and revise time entries. (no charge)
07/25/2023 Jordan Pytosh                     2.00 Review and revise time entries. (no charge)
07/25/2023 Celia Rosen                       0.20 Review and revise time entries. (no charge)
07/25/2023 Shan Zhong                        0.20 Review and revise time entries. (no charge)
07/26/2023 Michael Baldini                   1.10 Review and revise time entries. (no charge)
07/26/2023 Maxim Bjarnason                   1.00 Review and revise time entries. (no charge)
07/26/2023 Sophia Chen                       1.90 Review and revise time entries. (no charge)
07/26/2023 Priyanka Ghatalia                 4.00 Review and revise time entries. (no charge)
07/26/2023 Emily Kopp                        2.60 Review and revise time entries. (no charge)
07/26/2023 Virginia Ontiveros                1.00 Review and revise time entries. (no charge)
07/26/2023 Halloran Purcell                  1.00 Review and revise time entries. (no charge)
07/26/2023 Jordan Pytosh                     0.50 Review and revise time entries. (no charge)
07/26/2023 Celia Rosen                       0.60 Review and revise time entries. (no charge)
07/26/2023 Nicholas Smusz                    1.30 Review and revise time entries. (no charge)
07/26/2023 Natalia Vasylyk                   0.30 Review and revise time entries. (no charge)
07/26/2023 Jack Wiley                        3.50 Review and revise time entries. (no charge)
07/26/2023 Shan Zhong                        0.90 Review and revise time entries. (no charge)
07/27/2023 Michael Baldini                   1.70 Review and revise time entries. (no charge)
07/27/2023 Maxim Bjarnason                   1.30 Review and revise time entries. (no charge)
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                                Project: 00036 - TIME ENTRY REVIEW

Date        Name                           Hours Description
07/27/2023 Sophia Chen                       0.60 Review and revise time entries. (no charge)
07/27/2023 Priyanka Ghatalia                 4.00 Review and revise time entries. (no charge)
07/27/2023 Emily Kopp                        1.60 Review and revise time entries. (no charge)
07/27/2023 Halloran Purcell                  1.00 Review and revise time entries. (no charge)
07/27/2023 Jordan Pytosh                     0.20 Review and revise time entries. (no charge)
07/27/2023 Nicholas Smusz                    1.20 Review and revise time entries. (no charge)
07/27/2023 Natalia Vasylyk                   1.00 Review and revise time entries. (no charge)
07/27/2023 Jack Wiley                        2.20 Review and revise time entries. (no charge)
07/27/2023 Terry Fukui                       1.30 Review and revise time entries. (no charge)
07/27/2023 Shan Zhong                        1.40 Review and revise time entries. (no charge)
07/28/2023 Michael Baldini                   1.20 Review and revise time entries. (no charge)
07/28/2023 Maxim Bjarnason                   0.90 Review and revise time entries. (no charge)
07/28/2023 Emily Kopp                        0.80 Review and revise time entries. (no charge)
07/28/2023 Emily Kopp                        0.70 Review and revise time entries. (no charge)
07/28/2023 Virginia Ontiveros                2.00 Review and revise time entries. (no charge)
07/28/2023 Jordan Pytosh                     0.50 Review and revise time entries. (no charge)
07/28/2023 Celia Rosen                       1.00 Review and revise time entries. (no charge)
07/28/2023 Nicholas Smusz                    2.30 Review and revise time entries. (no charge)
07/28/2023 Natalia Vasylyk                   1.10 Review and revise time entries. (no charge)
07/28/2023 Jack Wiley                        0.70 Review and revise time entries. (no charge)
07/28/2023 Terry Fukui                       3.40 Review and revise time entries. (no charge)
07/28/2023 Shan Zhong                        4.00 Review and revise time entries. (no charge)
07/31/2023 Maxim Bjarnason                   0.60 Review and revise time entries. (no charge)
07/31/2023 Priyanka Ghatalia                 1.00 Review and revise time entries. (no charge)
07/31/2023 Nicholas Smusz                    0.30 Review and revise time entries. (no charge)

Total                                      392.30
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                                 Project: 00037 - BUDGETING

Date        Name                        Hours Description

07/12/2023 Alexa Kranzley                 0.50 Correspondences and calls with A&M, RLKS and J.
                                               Ray (FTX) re: S&C budget and staffing plans.
07/12/2023 Sophia Chen                    0.10 Correspondence with M. Bjarnason re: S&C budget
                                               and staffing estimations.
07/17/2023 Alexa Kranzley                 0.30 Review, revise and internally circulate S&C budgets
                                               and staffing plans.
07/19/2023 Andrew Dietderich              0.30 Review and comment on draft S&C budget.
07/20/2023 Andrew Dietderich              1.20 Meeting with J. Ray (FTX), M. Cilia (RLKS) and
                                               S&C team re: budgeting and staffing.
07/20/2023 Alexa Kranzley                 0.90 Call with J. Ray (FTX), M. Cilia (RLKS) and S&C
                                               team re: budgeting and staffing (partial attendance).

Total                                     3.30
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                               Project: 00039 - GENERAL REGULATORY

Date        Name                           Hours Description

07/01/2023 Ryan Logan                       0.90 Correspondence to E. Downing re: extraterritorial
                                                 scope and applicability of European General Data
                                                 Protection Regulation.
07/03/2023 Anthony Lewis                    0.10 Correspondence with S&C team re: regulatory
                                                 inquiry.
07/03/2023 Keila Mayberry                   0.20 Update regulatory correspondence tracker.
07/05/2023 Keila Mayberry                   0.30 Update regulatory correspondence tracker.
07/06/2023 Jennifer Sutton                  0.20 Correspondence with S. Yeargan re: data for possible
                                                 production to state.
07/10/2023 Stephanie Wheeler                0.20 Correspondence with J. Croke and S. Yeargan re:
                                                 State's questions re: FTX Earn.
07/14/2023 Shane Yeargan                    0.10 Correspondence to A&M re: data for state reporting.
07/17/2023 Bradley Harsch                   0.10 Review correspondence re: states’ request for data.
07/17/2023 Leanne Van Allen                 0.20 Review drafts of state regulator reporting forms from
                                                 S. Yeargan and A&M.
07/17/2023 Keila Mayberry                   0.20 Track regulatory correspondence.
07/18/2023 Leanne Van Allen                 0.10 Correspondence with J. Sutton and M. Scales re:
                                                 state reporting.
07/19/2023 Jennifer Sutton                  0.30 Call with M. Scales, S. Yeargan, L. Van Allen and
                                                 A&M re: process for collecting data for state money
                                                 transmitter reporting forms.
07/19/2023 Shane Yeargan                    0.30 Call with J. Sutton, M. Scales, S. Yeargan, L. Van
                                                 Allen and A&M re: process for collecting data for
                                                 state money transmitter reporting forms.
07/19/2023 Manon Scales                     0.30 Call with J. Sutton, S. Yeargan, L. Van Allen and
                                                 A&M re: process for collecting data for state money
                                                 transmitter reporting forms.
07/19/2023 Meaghan Kerin                    0.10 Correspondence to A. Lewis, B. Harsch and federal
                                                 law enforcement re: law enforcement inquiries.
07/19/2023 Leanne Van Allen                 0.30 Call with J. Sutton, M. Scales, S. Yeargan and A&M
                                                 re: process for collecting data for state money
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                               Project: 00039 - GENERAL REGULATORY

Date        Name                           Hours Description

                                                  transmitter reporting forms.
07/20/2023 Shane Yeargan                    0.90 Review revise state money transmitter data exports
                                                 (.40); correspondence to J. Sutton and L. Van Allen
                                                 re: state money transmission reports (.30);
                                                 correspondence to A&M re: money transmitter data
                                                 (.20).
07/20/2023 Leanne Van Allen                 0.20 Review and revise Ohio reporting forms (.10);
                                                 correspondence with S. Yeargan re: same. (.10).
07/21/2023 Jennifer Sutton                  0.40 Correspondence with re: state reporting (0.2); review
                                                 proposed reporting (0.2).
07/21/2023 Leanne Van Allen                 0.50 Fill out state regulator reporting forms (.30);
                                                 correspondence with A. Kranzley re: state regulator
                                                 reporting forms (.20).
07/24/2023 Jennifer Sutton                  1.30 Address state inquiries, including reviewing draft
                                                 update email and drafting second update email.
07/24/2023 Manon Scales                     0.70 Draft email to J. Ray (FTX) and M. Cilia (FTX) re:
                                                 submission of state money transmitter reports (.50);
                                                 internal emails re: going-forward strategy for state
                                                 regulator (.20).
07/24/2023 Leanne Van Allen                 0.90 Revise state regulator reporting forms (.30); research
                                                 re: confidentiality of state regulator reporting (.30);
                                                 draft email to J. Ray re: state regulator reporting (.30).
07/24/2023 Keila Mayberry                   0.20 Track regulatory correspondence.
07/25/2023 Stephanie Wheeler                0.40 Correspondence with A. Dietderich and K. Tierney
                                                 (MTRA) re: request for information (.20); review
                                                 notes of MTRA call (.20).
07/25/2023 Jennifer Sutton                  1.00 Work on email update re: state inquiry (.50);
                                                 correspondence with re: various states inquiries and
                                                 licensing approach (.50).
07/25/2023 Manon Scales                     0.70 Internal emails re: potentially seeking to surrender
                                                 Ohio money transmitter license and request
                                                 termination of consent order (.70).
07/26/2023 Stephanie Wheeler                0.50 Emails A. Dietderich and D. Berland (state regulator)
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                                Project: 00039 - GENERAL REGULATORY

Date        Name                            Hours Description

                                                   re: questions from MTRA (.20); review data to be
                                                   shared with UCC (.30).
07/26/2023 Manon Scales                      0.30 Review and comment on draft email to client re: state
                                                  regulatory licensing issues.
07/26/2023 Zoeth Flegenheimer                1.70 Coordinate with A. Lewis re: review of
                                                  correspondence in connection with prior regulatory
                                                  investigation (.10); review correspondence in
                                                  connection with prior regulatory investigation (1.6).
07/26/2023 Leanne Van Allen                  0.40 Draft email to J. Ray (FTX) and M. Cilia (FTX) re
                                                  state license questions.
07/26/2023 Keila Mayberry                    0.30 Track regulatory correspondence.
07/27/2023 Jennifer Sutton                   0.20 Review draft update email.
07/27/2023 Zoeth Flegenheimer                3.60 Review correspondence in connection with prior
                                                  regulatory investigation.
07/27/2023 Keila Mayberry                    0.20 Regulatory tracking.
07/28/2023 Jennifer Sutton                   0.20 Correspondence with re: state quarterly reporting
                                                  reminder.
07/28/2023 Manon Scales                      0.40 Prepare executive summary for email to J. Ray (FTX)
                                                  and M. Cilia (FTX).
07/28/2023 Leanne Van Allen                  0.30 Review and revise draft email to J. Ray (FTX) and M.
                                                  Cilia (FTX) re: state license issues.
07/31/2023 Jacob Croke                       0.20 Analyze issues re: new SEC requests,
07/31/2023 Sharon Levin                      0.50 Review state money transmitter laws.
07/31/2023 Jennifer Sutton                   0.40 Review research re: state reporting request and draft
                                                  update to J. Ray (FTX) (.20); correspondence with
                                                  re: the foregoing (.10); review and comment on draft
                                                  e-mail to state (.10).
07/31/2023 Manon Scales                      0.80 Draft emails to state regulators requesting surrender of
                                                  license.
07/31/2023 Leanne Van Allen                  0.30 Review draft emails to state regulators re: license
                                                  surrender (.20); correspondence with J. Sutton and
                                                  M. Scales re same (.10).
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Total                             21.40
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description

07/05/2023 Bradley Harsch                      0.10 Review correspondence to S&C team re: query on
                                                    Bahamas matters.
07/05/2023 Sean Fulton                         6.70 Compile Bahamas-related documents for QE (3.8);
                                                    review documents re: Bahamas JPLs' Rule 2004
                                                    requests (2.6); correspondence to B. Glueckstein re:
                                                    same (.30).
07/05/2023 Fabio Weinberg Crocco               0.70 Discussion with D. Hisarli re: King's Counsel
                                                    admission application materials (.10); review
                                                    application materials (.50); correspondence to
                                                    Maynard team re: same (.10).
07/05/2023 M. Devin Hisarli                    0.70 Discussion with F. Weinberg Crocco re: King's
                                                    Counsel admission application materials (.10); review
                                                    and edit King's Counsel admission application
                                                    materials provided by local counsel (.60).
07/05/2023 Nam Luu                             1.10 Collect documents re: FTX DM/JPL litigation (.70);
                                                    email correspondence with S. Fulton re: same (.40).
07/05/2023 Keila Mayberry                      0.80 Searching SC Find and Net Docs for Bahamas
                                                    materials.
07/06/2023 Andrew Dietderich                   0.40 Correspondence with QE team re: Bahamas litigation
                                                    (.20); correspondence with QE re: JPL contact with
                                                    Swiss Administration (.20).
07/06/2023 Brian Glueckstein                   0.90 Call with QE team re: discovery and strategy issues
                                                    (.40); call with S. Fulton re: meet and confer
                                                    concerning Bahamas discovery (.20); review
                                                    correspondence re: mediator (.30).
07/06/2023 Christopher Howard                  0.90 Call with F. Weinberg Crocco and C. Hodges re: KC
                                                    admission next steps (.40); review Knowles letter and
                                                    R. Pinder (Bahamas) affidavit re: KC admission (.50).
07/06/2023 Sean Fulton                         7.30 Compile Bahamas documents for QE (1.0);
                                                    correspondence with QE re: Bahamas documents
                                                    (.80); review draft order re: Bahamas JPLs' lift-stay
                                                    motion (1.8); call with W&C and QE re: discovery in
                                                    adversary proceeding (.50); review Bahamas
                                                    discovery plan (3.0); call with B. Glueckstein re: meet
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description

                                                     and confer concerning Bahamas discovery (.20).
07/06/2023 Fabio Weinberg Crocco               0.60 Call with C. Howard and C. Hodges re: KC
                                                    admission next steps (.40); correspondence to C.
                                                    Howard re: same (.20).
07/06/2023 Christian Hodges                    0.40 Call with C. Howard and F. Weinberg Crocco re: KC
                                                    admission next steps.
07/06/2023 Nam Luu                             0.10 Email correspondence with S. Fulton re: Bahamas JPL
                                                    workstreams.
07/07/2023 Brian Glueckstein                   1.00 Correspondence with S. Fulton re: Bahamas strategy
                                                    issues and workstreams (.50); call with QE and S.
                                                    Fulton re: Bahamas document discovery (.50).
07/07/2023 Sean Fulton                         0.40 Call with QE and B. Glueckstein re: Bahamas
                                                    document discovery (partial attendance).
07/08/2023 Andrew Dietderich                   0.20 Call with B. Glueckstein re: Bahamas JPLs and
                                                    strategy issues.
07/08/2023 Brian Glueckstein                   0.30 Call with A. Dietderich re: Bahamas JPLs and strategy
                                                    issues (.20); prepare for call re: same (.10).
07/10/2023 Brian Glueckstein                   0.70 Review and consider JPLs discovery requests (.40);
                                                    correspondence with S&C and QE teams re:
                                                    discovery issues (.30).
07/10/2023 Sean Fulton                         0.60 Correspondence with Bahamas litigation team re:
                                                    motion to dismiss adversary complaint (.20);
                                                    correspondence with Z. Flegenheimer re: compilation
                                                    of DARE Act application documents (.40).
07/10/2023 Fabio Weinberg Crocco               0.10 Email correspondence to C. Jupp (Maynard) re: KC
                                                    appointment process.
07/10/2023 Eric Andrews                        0.50 Review JPLs' requests for production of documents.
07/10/2023 Jason Gallant                       0.40 Review documents re: DARE application.
07/10/2023 Nam Luu                             0.10 Email correspondence with S&C team re: adversary
                                                    complaint against FTX DM.
07/10/2023 Emile Shehada                      10.20 Research re: FTX DM's anticipated motion to dismiss
                                                    (7.5); review Alameda's opposition (2.7).
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description
07/10/2023 Austin Reda                         4.90 Research and summarize choice of law and rules for
                                                    foreign debtors (3.3); draft and edit summary email to
                                                    Bahamas local counsel (.40); research re: treatment of
                                                    foreign debtor's location (1.2). (no charge).
07/11/2023 Brian Glueckstein                   0.50 Correspondence with internal team re: discovery
                                                    issues (.30); call with M. Scheck (QE) re: strategy
                                                    issues (.20).
07/11/2023 Sean Fulton                         2.70 Review FTX DM's requests for production in the
                                                    adversary proceeding (.60); review discovery plan for
                                                    adversary proceeding (1.8); correspondence to M.
                                                    Sheck (QE) re: documents related to adversary
                                                    proceeding (.30).
07/11/2023 Fabio Weinberg Crocco               0.20 Correspondence to Maynard team re: KC admissions
                                                    process.
07/11/2023 Zoeth Flegenheimer                  0.10 Call with J. Gallant re: DARE Act application
                                                    documents.
07/11/2023 Jason Gallant                       1.20 Review DARE Act application (1.1); call with Z.
                                                    Flegenheimer re: DARE Act application documents
                                                    (.10).
07/11/2023 Emile Shehada                       8.60 Research re: opposition to FTX DM's motion to
                                                    dismiss (4.7); review Alameda's opposition (3.9).
07/12/2023 Andrew Dietderich                   1.40 Call with B. Pfeiffer (W&C) re: Bahamas discovery
                                                    (.40); meeting with B. Glueckstein re: Bahamas
                                                    litigation strategy issues (.40); correspondence with J.
                                                    Ray (FTX) and QE re: same (.40); review emails re:
                                                    Bahamas counsel (.20).
07/12/2023 Brian Glueckstein                   3.20 Meeting with A. Dietderich re: Bahamas litigation
                                                    strategy issues (.40); research re: mediation issues
                                                    (1.0); correspondence with internal team re: mediation
                                                    and related matters (.70); review and revise JPLs
                                                    order (.40); review and respond to JPLs discovery
                                                    requests (.70).
07/12/2023 Sean Fulton                         3.50 Review documents re: mediators for Bahamas
                                                    litigation (1.3); review list of potential deponents in re
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                                Project: 00040 - BAHAMAS MATTERS

Date        Name                           Hours Description

                                                  Bahamas adversary proceeding (2.2).
07/12/2023 Isaac Foote                      0.70 Research and summarize biographies of mediators for
                                                 FTX DM dispute.
07/12/2023 Emile Shehada                    5.80 Continue research re: opposition to FTX DM's motion
                                                 to dismiss (1.3); outline Alameda's opposition (3.4);
                                                 research and summarize biographies for potential
                                                 mediators (.80); review list of potential deponents
                                                 (.30).
07/13/2023 Brian Glueckstein                1.40 Review and analyze JPLs motion to dismiss and
                                                 counterclaims.
07/13/2023 James Bromley                    0.30 Correspondence with B. Glueckstein and A.
                                                 Dietderich re: Bahamas issues.
07/13/2023 Sean Fulton                      0.70 Review motion to dismiss adversary complaint and
                                                 related materials.
07/13/2023 Nam Luu                          1.40 Review filings submitted by FTX DM re: amended
                                                 complaint and adversary proceeding.
07/13/2023 Emile Shehada                    3.80 Outline Alameda's opposition to FTX DM's motion to
                                                 dismiss (1.5); analyze FTX DM's counterclaims (1.6);
                                                 draft email memo re: counterclaims and filings binder
                                                 (.70).
07/13/2023 Emily Kopp                       5.70 Create binders for docket entries per E. Shehada and
                                                 S. Fulton.
07/14/2023 Andrew Dietderich                5.20 Review and comment on mediator submission (.30);
                                                 call with B. Pfeiffer (W&C) and B. Glueckstein re:
                                                 same (.10); review JPL pleadings (4.8).
07/14/2023 Brian Glueckstein                0.30 Call with B. Pfeiffer (W&C) and A. Dietderich re:
                                                 mediator submission (.10); review and comment on
                                                 JPLs stay denial and mediation order (.20).
07/14/2023 Christopher Howard               0.50 Correspondence with S. Fulton re: foreign law expert.
07/14/2023 Robert Schutt                    0.10 Review correspondence re: expert retention.
07/15/2023 Andrew Dietderich                0.70 Review pleadings (.30); correspondence with internal
                                                 team re: division of labor and approach (.40).
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description
07/15/2023 Brian Glueckstein                   1.10 Correspondence with S&C team re: Bahamas
                                                    litigation strategy issues (.80); correspondence with
                                                    QE re: Bahamas issues (.30).
07/16/2023 Brian Glueckstein                   0.50 Call with M. Scheck re: Bahamas litigation strategy
                                                    issues.
07/17/2023 Andrew Dietderich                   0.30 Correspondence with J. Bromley re: Bahamas process
                                                    (.20); correspondence with B. Glueckstein re: same
                                                    (.10).
07/17/2023 Brian Glueckstein                   1.10 Review and analyze correspondence re: open issues
                                                    (.80); correspondence with internal team re:
                                                    scheduling matters (.30).
07/17/2023 Sean Fulton                         3.10 Compile motion to dismiss research memos and send
                                                    to QE (1.6); review documents re: JPL and SCB
                                                    interviews of FTX DM employees (1.3);
                                                    correspondence with M. Anderson (QE) re: motion to
                                                    dismiss (.20).
07/17/2023 Fabio Weinberg Crocco               0.40 Call with J. Maynard (Maynard) re: Bahamas litigation
                                                    (.20); follow-up email correspondence to J. Maynard
                                                    (Maynard) and S&C team re: same (.20).
07/17/2023 Isaac Foote                         4.40 Research re: adversary proceeding against FTX DM
                                                    (4.3); call with E. Shehada re: list of potential
                                                    deponents (.10).
07/17/2023 Esther Loh                          4.40 Research and revise memorandum re: response to
                                                    JPLs' motion to dismiss.
07/17/2023 Nam Luu                             0.20 Email correspondence with S&C team re: active tasks
                                                    in Bahamas litigation.
07/17/2023 Emile Shehada                       1.70 Call with I. Foote re: list of potential deponents (.10);
                                                    revise list of potential deponents (.30); draft summary
                                                    memorandum re: outstanding chapter 15 issue (1.3).
07/18/2023 Andrew Dietderich                   0.10 Correspondence with B. Pfeiffer (W&C) re:
                                                    mediation.
07/18/2023 Sean Fulton                         3.20 Compile additional research memos for QE re:
                                                    Bahamas motion to dismiss (.40); review motion to
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                               Project: 00040 - BAHAMAS MATTERS

Date        Name                          Hours Description

                                                 dismiss adversary complaint and related filings (2.5);
                                                 review spreadsheet re: analysis of JPLs' answer to the
                                                 amended complaint (.30).
07/18/2023 Zachary Hearn                   0.80 Analyze JPLs' answer to the amended complaint.
07/18/2023 Emile Shehada                   0.30 Review and revise spreadsheet re: analysis of JPLs'
                                                answer to complaint.
07/19/2023 Andrew Dietderich               0.20 Review and comment on outline re: litigation process.
07/19/2023 Brian Glueckstein               0.40 Correspondences with J. Bromley re: Bahamas
                                                litigation issues.
07/19/2023 James Bromley                   0.80 Correspondences with A. Dietderich, J. Ray (FTX)
                                                and B. Glueckstein re: Bahamas issues.
07/20/2023 Brian Glueckstein               1.10 Correspondences with A. Dietderich re: Bahamas
                                                litigation matters (.40); review mediation order (.30);
                                                correspondence with M. Scheck re: Bahamas litigation
                                                issues (.40).
07/20/2023 James Bromley                   0.30 Correspondence with A. Dietderich, J. Ray (FTX)
                                                and B. Glueckstein re: Bahamas mediator appointment
                                                and related issues.
07/20/2023 Sean Fulton                     0.20 Email correspondence to K. Mayberry re: Bahamian
                                                counsel.
07/21/2023 Andrew Dietderich               0.60 Call with B. Pfeiffer (W&C) re: plan structures.
07/21/2023 Sean Fulton                     0.90 Correspondences with B. Glueckstein and QE re:
                                                status of Bahamas litigation.
07/24/2023 Andrew Dietderich               0.80 Call with B. Pfeiffer (W&C) re: mediation issues (.30);
                                                review correspondence and other materials re:
                                                mediator (.50).
07/24/2023 Brian Glueckstein               2.70 Call with Maynard team, J. Bromley, C. Howard, S.
                                                Fulton and F. Weinberg Crocco re: Bahamas litigation
                                                matters (.30); call with W&C, QE and S. Fulton re:
                                                meet and confer re: Bahamas discovery issues (1.1);
                                                correspondence with mediator re: mediation issues
                                                (.40); work on response to QE information requests
                                                (.90).
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description

07/24/2023 James Bromley                       0.50 Correspondence with B. Glueckstein and A.
                                                    Dietderich re: Bahamas issues.
07/24/2023 James Bromley                       0.30 Call with Maynard team, C. Howard, B. Glueckstein,
                                                    S. Fulton and F. Weinberg Crocco re: Bahamas
                                                    litigation matters.
07/24/2023 Sean Fulton                         1.60 Call with Maynard team, J. Bromley, C. Howard, B.
                                                    Glueckstein and F. Weinberg Crocco re: Bahamas
                                                    litigation matters (.30); call with W&C, QE and B.
                                                    Glueckstein re: meet and confer re: Bahamas
                                                    discovery issues (1.1); Reviewing stipulation re
                                                    response deadlines in Bahamas adversary proceeding
                                                    (.20).
07/24/2023 Fabio Weinberg Crocco               0.30 Call with Maynard team, J. Bromley, C. Howard, B.
                                                    Glueckstein and S. Fulton re: Bahamas litigation
                                                    matters.
07/25/2023 Christopher Howard                  0.50 Call with H. Middleditch re: expert for JPL litigation
                                                    (.20); call with Maynard team, J. Bromley, B.
                                                    Glueckstein, S. Fulton and F. Weinberg Crocco re:
                                                    Bahamas litigation matters (.30).
07/25/2023 Sean Fulton                         1.70 Call with W&C and QE re: Bahamas discovery
                                                    requests (.80); correspondence to B. Glueckstein re:
                                                    meet and confer re: Bahamas discovery (.20); review
                                                    and analyze document search terms re: Bahamas JPLs'
                                                    requests for production (.70).
07/25/2023 Hattie Middleditch                  0.20 Call with C. Howard re: expert for JPL litigation.
07/25/2023 Nam Luu                             0.10 Review stipulation re: response deadlines for motions
                                                    in FTX DM adversary proceeding.
07/26/2023 Andrew Dietderich                   3.30 Correspondence with J. Ray (FTX) re: Bahamas
                                                    issues (.60); draft notes re: same (1.6); call with QE
                                                    and B. Glueckstein re: Bahamas litigation strategy
                                                    issues (1.0); follow-up correspondence with J. Ray
                                                    (FTX) re: same (.10).
07/26/2023 Brian Glueckstein                   1.40 Call with QE and A. Dietderich re: Bahamas litigation
                                                    strategy issues (1.0); draft response to QE requests
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description

                                                     for information (.40).
07/27/2023 Brian Glueckstein                   0.40 Correspondence with QE team re: discovery
                                                    responses (.20); correspondence with A. Dietderich
                                                    re: mediation issues (.20).
07/27/2023 Christopher Howard                  0.70 Review affidavit re: KC appointment (.40);
                                                    correspondence with A. Dietderich and H.
                                                    Middleditch re: trusts claim (.30).
07/27/2023 Nam Luu                             0.10 Email correspondence with H. Middleditch re: expert
                                                    instructions memorandum.
07/27/2023 Robert Schutt                       0.20 Review correspondence with S&C team re: expert
                                                    memorandum.
07/28/2023 Andrew Dietderich                   1.70 Prepare notes re: call re: mediation process (.20); call
                                                    with (W&C) re: mediation process (.40); draft email
                                                    for team re: Bahamian JPL claims reconciliation
                                                    alternatives (1.1).
07/28/2023 Brian Glueckstein                   2.50 Call with QE and W&C teams re: Bahamas litigation
                                                    discovery matters (.80); call with S&C and QE teams
                                                    re: Bahamas litigation issues (.80); call with W&C and
                                                    S&C teams re: mediation (.90).
07/28/2023 Evan Simpson                        1.00 Review draft documentation re: properties in company
                                                    portfolio.
07/28/2023 Fabio Weinberg Crocco               0.30 Review affidavit re: KC appointment.
07/28/2023 Christian Hodges                    2.20 Review correspondence re: Bahamas rental properties
                                                    (.40); review and revise Maynard letter re: Bahamas
                                                    rentals (.90); prepare email re: background re: rental
                                                    properties (.90).
07/29/2023 Andrew Dietderich                   0.60 Correspondence with Maynard and S&C teams re:
                                                    Bahamas rentals.
07/30/2023 Evan Simpson                        1.00 Review draft letters and background re: Bahamas
                                                    properties.
07/31/2023 Andrew Dietderich                   1.00 Discussion with J. Ray (FTX) re: mediation (.30): draft
                                                    notes re: proposal to JPLs (.40); attention to PropCo
                                                    correspondence re: default (.30).
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                              Project: 00040 - BAHAMAS MATTERS

Date        Name                         Hours Description

07/31/2023 Evan Simpson                   1.40 Call with Maynard, A&M and C. Hodges re:
                                               Bahamas real property (.40); review materials re:
                                               Bahamas properties (1.0).
07/31/2023 Christian Hodges               0.60 Call with Maynard, A&M and E. Simpson re:
                                               Bahamas real property (.40); review correspondences
                                               with A&M re: Bahamas real property (.20).
07/31/2023 Aneesa Mazumdar                0.50 Research re: Bahamian properties.

Total                                   141.80
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

07/01/2023 Evan Simpson                         0.50 Correspondence with local counsel re: information
                                                     sharing requirements.
07/03/2023 Evan Simpson                         0.50 Review local counsel comments.
07/03/2023 Evan Simpson                         1.50 Correspondence with internal team re: regulatory
                                                     status (.50); correspondence with internal team re:
                                                     wind down process for foreign debtors (.50); prepare
                                                     summary re: bankruptcy considerations with respect to
                                                     customer disputes (.50).
07/03/2023 Oderisio de Vito Piscicelli          0.50 Review law advice re: confidentiality (.30); attention to
                                                     foreign debtor liquidation (.20).
07/03/2023 Oderisio de Vito Piscicelli          0.90 Review and comment on draft complaint.
07/03/2023 Nirav Mehta                          0.50 Correspondence to A. Dietderich, A. Kranzley and E.
                                                     Simpson re: draft email to Japanese counsel re: ADRs.
07/03/2023 James Simpson                        0.50 Review records re: regulatory status of foreign entity
                                                     (.30); correspondence with S. Li re: Hong Kong
                                                     compliance matters (.20).
07/03/2023 Michael Haase                        0.90 Review terms of deal with relevant third party (.50);
                                                     coordinate engagement of local counsel (.40).
07/03/2023 Sarah Mishkin                        0.30 Revise vendor NDA for non-EU liquidator
                                                     appointment.
07/03/2023 Samantha Li                          0.30 Work on coordinating document execution for third
                                                     party exchange closure.
07/03/2023 Matteo Berti                         2.50 Update timeline re: claim against a foreign debtor.
07/04/2023 Max Birke                            0.60 Review documents re: relevant third party.
07/04/2023 Evan Simpson                         2.90 Call with FTX management and local counsel re:
                                                     director replacement process (.50); correspondence
                                                     with local official re: information requests (.50);
                                                     prepare update re: current license and registration
                                                     status (.80); correspondence with internal team re:
                                                     local director appointment process (.30);
                                                     correspondence with internal team re: foreign entity
                                                     and related litigation claims (.30); update note re:
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

                                                      customer considerations for local counsel review
                                                      (.50).
07/04/2023 Oderisio de Vito Piscicelli          1.90 Discussion with local counsel re: corporate
                                                     governance changes (.50); draft email to local
                                                     management re: same (.30); discussion with internal
                                                     team re: multiple workstreams (.30); review request
                                                     from local liquidator (.30); attention to matters re:
                                                     information access (.20); review list of Swiss counsel
                                                     communications with administrator (.30).
07/04/2023 Tyler Hill                           2.40 Analyze FTX EU customer claims against other FTX
                                                     entities and related intercompany claims.
07/04/2023 James Simpson                        1.50 Call with FTX Japan personnel and A&M re: Liquid
                                                     and Quoine workstreams (.60); review records re:
                                                     regulatory status of foreign entity (.50);
                                                     correspondence with T. Ruan re: Quoine India advice
                                                     (.10); correspondence with A. Courroy re: Singapore
                                                     CDD (.10); correspondence with S. Melamed re:
                                                     responses to regulator inquiry (.20).
07/04/2023 Michael Haase                        4.40 Call with local counsel re: relevant third party sales
                                                     and purchase agreement (.20); review and comment
                                                     on sales and purchase agreement (3.2); incorporate
                                                     comments by administrator and local counsel into
                                                     same (.80); correspondence with FTX Europe
                                                     personnel re: same (.20).
07/04/2023 Sarah Mishkin                        0.60 Correspondence with local counsel re: APAC tax
                                                     obligations and filing requirements.
07/04/2023 Samantha Li                          0.10 Correspondence with local counsel re: relevant third
                                                     party share certificates.
07/04/2023 Samantha Li                          0.20 Work on documentation for third party exchange
                                                     closure.
07/04/2023 Arthur Courroy                       3.00 Draft agreement re: sale transaction by foreign debtor.
07/04/2023 Benedikt Ayrle                       4.50 Review relevant third party sales and purchase
                                                     agreement (1.5); research issues re: same (3.0).
07/05/2023 Max Birke                            1.30 Review documents re: relevant third party share sale.
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

07/05/2023 Evan Simpson                         4.00 Call with O. de Vito Piscicelli, A&M and local
                                                     management re: scope of license and liquidity needs
                                                     (1.0); follow-up call with O. de Vito Piscicelli re: same
                                                     (.10); call with A&M, M. Berti, B. Budd, local
                                                     authority and B. Danhach (Hadef) re: potential
                                                     liquidation of foreign debtor (.40); draft equity
                                                     financing proposal at request of foreign administrator
                                                     (2.0); correspondence with local counsel re: customer
                                                     claims (.50).
07/05/2023 Oderisio de Vito Piscicelli          2.50 Call with E. Simpson, A&M and local management re:
                                                     scope of license and liquidity needs (1.0); follow-up
                                                     call with E. Simpson re: same (.10); review and revise
                                                     document re: summary of options for European entity
                                                     (.70); attention to correspondence with local counsel
                                                     re: customer claim (.10); review internal
                                                     correspondence and with FTX management re:
                                                     options for non-US entity (.30); prepare for call (.20);
                                                     review correspondence with local management re:
                                                     crypto transactions (.10).
07/05/2023 Nirav Mehta                          0.60 Review FTX Japan Holdings and FTX Japan board
                                                     materials (.40); correspondence to E. Simpson re:
                                                     current status of FTX Japan licenses (.20).
07/05/2023 Michelle Vickers                     0.30 Review draft email from S. Li to J. Ray (FTX) re:
                                                     summary of third party exchange process.
07/05/2023 James Simpson                        0.40 Correspondence with A. Courroy re: register agent
                                                     invoices in the BVI (.10); correspondence with T.
                                                     Ruan re: CDD in India (.10); correspondence with A.
                                                     Toobin re: Bahamas issues (.20).
07/05/2023 Michael Haase                        3.80 Review and comment on agreement re: relevant third
                                                     party sale (3.4); correspondence with client and
                                                     former FTX Europe personnel's counsel re: settlement
                                                     (.40).
07/05/2023 Fabio Weinberg Crocco                0.20 Correspondence with internal team re: closing of open
                                                     trades.
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Date         Name                             Hours Description
07/05/2023 Samantha Li                          0.20 Work on documentation for third party exchange
                                                     closure.
07/05/2023 Arthur Courroy                       0.40 Review and update draft share purchase agreement.
07/05/2023 Matteo Berti                         5.10 Research re: proof of claims filed against foreign
                                                     debtor (1.7); draft outline re: potential liquidation of
                                                     foreign debtor (3.0); call with A&M, E. Simpson, B.
                                                     Budd, local authority and B. Danhach (Hadef) re:
                                                     potential liquidation of foreign debtor (.40).
07/05/2023 Benedikt Ayrle                       4.10 Research re: profit participation agreements (1.7);
                                                     research re: relevant third party sale and purchase
                                                     agreement (2.1); correspondence to M. Haase re:
                                                     same (.30).
07/05/2023 Brian Budd                           0.40 Call with A&M, E. Simpson, M. Berti, local authority
                                                     and B. Danhach (Hadef) re: potential liquidation of
                                                     foreign debtor. (no charge)
07/06/2023 Max Birke                            0.30 Review documents re: relevant third party sale.
07/06/2023 Stephen Ehrenberg                    0.90 Call with E. Simpson, O. de Vito Piscicelli, local
                                                     counsel and local administrator re: process for
                                                     information sharing.
07/06/2023 Stephen Ehrenberg                    0.30 Call with E. Simpson, O. de Vito Piscicelli and local
                                                     counsel re: information sharing under local law.
07/06/2023 Keiji Hatano                         0.70 Review FTX Japan order (.40); correspondence with
                                                     internal team re: same (.30).
07/06/2023 Evan Simpson                         2.20 Call with S. Ehrenberg, O. de Vito Piscicelli and local
                                                     counsel re: information sharing under local law (.30);
                                                     call with S. Ehrenberg, O. de Vito Piscicelli, local
                                                     counsel and local administrator re: process for
                                                     information sharing (.90); correspondence with FTX
                                                     management and UCC re: equity financing (1.0).
07/06/2023 Oderisio de Vito Piscicelli          2.70 Call with E. Simpson, S. Ehrenberg and local counsel
                                                     re: information sharing under local law (.30); call with
                                                     E. Simpson, S. Ehrenberg, local counsel and local
                                                     administrator re: process for information sharing (.90);
                                                     correspondence with internal team re: information
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Date        Name                          Hours Description

                                                 sharing (.20); review correspondence re: local license
                                                 (.30); attention to subsidiary financing options (.20);
                                                 review claim from former FTX employee (.20); review
                                                 local counsel advice re: information sharing (.30);
                                                 review local counsel advice re: customer claim (.20);
                                                 attention to local corporate governance changes (.10).
07/06/2023 Alexa Kranzley                  0.40 Correspondences with internal team re: foreign
                                                debtors and related issues.
07/06/2023 Nirav Mehta                     1.10 Call with Japanese counsel re: FTX Japan ADRs
                                                (.50); correspondences with A. Dietderich, E.
                                                Simpson and A. Kranzley re: responses to Japanese
                                                counsel and FTX Japan re: ADRs (.60).
07/06/2023 James Simpson                   0.30 Review and comment on foreign debtor workstreams
                                                tracker.
07/06/2023 Michael Haase                   3.40 Review sale and purchase agreement and comments
                                                received by relevant third party counsel re: same (1.0);
                                                correspondence with administrator and Swiss counsel
                                                re: same (.30); prepare additional transaction
                                                documentation and power of attorney (2.1).
07/06/2023 Fabio Weinberg Crocco           2.20 Call with A&M and relevant third party re: matters
                                                concerning foreign debtor (1.0); review tracker re:
                                                same (.20); correspondence to B. Zonenshayn re:
                                                same (.10); correspondence to trade counterparty re:
                                                trade (.20); correspondence with internal team re:
                                                FTX Japan matters (.30); review checklist produced
                                                by relevant third party (.40).
07/06/2023 Sarah Mishkin                   0.20 Email correspondence with internal team re: tax
                                                payment obligations.
07/06/2023 Samantha Li                     0.20 Coordinate third party exchange closure
                                                documentation.
07/06/2023 Samantha Li                     0.20 Correspondence with local counsel re: documentation
                                                for third party exchange closure.
07/06/2023 Benjamin Zonenshayn             0.30 Update workstream tracker re: foreign debtor.
07/06/2023 Matteo Berti                    0.70 Draft email to local authority re: liquidation of foreign
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Date         Name                             Hours Description

                                                      debtor.
07/06/2023 Benedikt Ayrle                       2.50 Draft agreement re: relevant third party transaction
                                                     (2.3); correspondence with M. Haase re: same (.20).
07/07/2023 Max Birke                            0.30 Review emails and documents re: relevant third party
                                                     sale.
07/07/2023 Christopher Howard                   2.80 Review report and comment re: English law express
                                                     trust analysis.
07/07/2023 Christopher Howard                   0.60 Correspondence with E. Simpson re: liquidation of
                                                     foreign debtors (.30); analyze protocol re: same (.30).
07/07/2023 Evan Simpson                         2.70 Call with local counsel, O. de Vito Piscicelli and M.
                                                     Berti re: customer claim against foreign debtor (.40);
                                                     call with O. de Vito Piscicelli and UCC
                                                     representatives re: Europe update (.50); call with local
                                                     management team and local counsel re: customer
                                                     status and notices (1.0); review requests for local
                                                     director resignations (.50); correspondence with
                                                     internal team re: foreign debtor reporting obligations
                                                     and financials (.30).
07/07/2023 Oderisio de Vito Piscicelli          0.90 Review complaint.
07/07/2023 Oderisio de Vito Piscicelli          2.30 Call with E. Simpson and UCC representatives re:
                                                     Europe update (.50); review questions re: potential
                                                     sale of subsidiaries (.40); correspondence with internal
                                                     team re: same (.20); review and comment on draft
                                                     communication to customer (.40); correspondence
                                                     with local administrator (.20); attention to matter of
                                                     discussion among non-US administrators (.20); call
                                                     with local counsel, E. Simpson and M. Berti re:
                                                     customer claim against foreign debtor (.40).
07/07/2023 Alexa Kranzley                       0.80 Call with S&C, Alix and EY re: foreign debtors
                                                     update.
07/07/2023 Nirav Mehta                          0.50 Correspondence to A. Kranzley re: proof of claim
                                                     process for FTX Japan users (.20); correspondence
                                                     to Japanese counsel re: same (.30).
07/07/2023 James Simpson                        0.30 Correspondence with FTX Japan personnel and A.
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Date         Name                             Hours Description

                                                      Courroy re: foreign debtor.
07/07/2023 Michael Haase                        4.30 Call with relevant third party counsel and B. Ayrle re:
                                                     relevant third party transaction (1.9); review
                                                     amendment of sale and purchase agreement (1.4);
                                                     draft proposal to administrator re: former FTX Europe
                                                     personnel (1.0).
07/07/2023 Samantha Li                          0.10 Correspondence with local counsel re: signing
                                                     instructions on third party exchange documentation.
07/07/2023 Matteo Berti                         1.70 Call with local counsel, O. de Vito Piscicelli and E.
                                                     Simpson re: customer claim against foreign debtor
                                                     (.40); draft document re: potential liability of foreign
                                                     debtor (1.3).
07/07/2023 Benedikt Ayrle                       1.30 Call with relevant third party counsel and M. Haase re:
                                                     relevant third party transaction (partial attendance).
07/08/2023 Max Birke                            0.20 Review emails and documents re: relevant third party
                                                     sale.
07/08/2023 Stephen Ehrenberg                    0.30 Correspondence with J. Goldman, J. Rosenfeld and
                                                     A. Mazumdar re: filing for FTX EU action.
07/08/2023 Nirav Mehta                          0.40 Correspondence to Japanese counsel re: process for
                                                     FTX Japan customer claims (.20); correspondence to
                                                     Japanese counsel re: updates on ADR (.20).
07/10/2023 Evan Simpson                         2.50 Call with O. de Vito Piscicelli and local management
                                                     re: status update (.70); draft correspondence for
                                                     certain non-US customers re: global distribution (.50);
                                                     coordinate potential wind-down processes for
                                                     non-US subsidiaries (1.0); correspondence with
                                                     internal team re: claims against non-US subsidiary
                                                     (.30).
07/10/2023 Oderisio de Vito Piscicelli          1.40 Review advice of local counsel re: employment matter
                                                     (.20); consider question from non-US administrator
                                                     and A&M re: non-US subsidiary (.30); review
                                                     questions re: management accounts (.20); call with E.
                                                     Simpson and local management re: status update
                                                     (.70).
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Date        Name                            Hours Description
07/10/2023 Bradley Harsch                    2.00 Correspondence with internal team re: documents for
                                                  UK donee of debtor funds (.20); prepare for call with
                                                  UK donee of debtor funds (.30); research and review
                                                  correspondence re: follow-up from call with counsel
                                                  for UK donee (.50); correspondence with internal
                                                  team re: outreach to relevant third party donee (.20);
                                                  research and review correspondence re: response
                                                  from London relevant third party (.80).
07/10/2023 Nirav Mehta                       0.40 Correspondence with FTX Japan re: FTX Japan
                                                  customer claims.
07/10/2023 James Simpson                     2.10 Review correspondence with regulatory authority
                                                  (.20); correspondence with internal team re: Hong
                                                  Kong compliance (.20); correspondence with A&M
                                                  and local counsel re: Quoine (.40); review A&M draft
                                                  deck re: director duties (.80); correspondence with
                                                  local counsel re: Indian directorship (.30);
                                                  correspondence with B. Spitz (FTX Japan) re: open
                                                  queries on response to Indian compliant (.20).
07/10/2023 Michael Haase                     6.70 Call with F. Wunsche, Dentons, FTX Europe and
                                                  relevant third party re: relevant third party sale and
                                                  purchase agreement (1.4); working with F. Wunsche,
                                                  review and comment on same (4.5); correspondence
                                                  to J. Rosenfeld re: former FTX Europe personnel
                                                  (.40); call with relevant third party counsel and third
                                                  party managing director and shareholder re: same
                                                  (.40).
07/10/2023 Frederic Wünsche                  5.90 Call with M. Haase, Dentons, FTX Europe and
                                                  relevant third party re: relevant third party sale and
                                                  purchase agreement (1.4); working with M. Haase,
                                                  review and comment on same (4.5).
07/10/2023 Sarah Mishkin                     0.60 Correspondence with local counsel and internal teams
                                                  re: APAC tax matters.
07/10/2023 Samantha Li                       0.20 Coordinate handling of relevant third party tax notices.
07/10/2023 Samantha Li                       0.20 Correspondence with internal team re: third party
                                                  exchange closure.
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Date        Name                            Hours Description

07/10/2023 Arthur Courroy                    1.20 Review and comment on agreement re: foreign debtor
                                                  transaction.
07/10/2023 Benedikt Ayrle                    1.10 Research re: relevant third party transaction.
07/11/2023 Andrew Dietderich                 0.30 Call with E. Simpson and J. Simpson re: rest of world
                                                  workstreams and issues.
07/11/2023 Evan Simpson                      4.40 Call with M. Vickers, J. Simpson, S. Mishkin and S.
                                                  Li re: APAC matters (.50); meeting with J. Simpson,
                                                  A. Courroy, A&M and local counsel re: foreign
                                                  debtor liquidation process (.80); call with A.
                                                  Dietderich and J. Simpson re: rest of world
                                                  workstreams and issues (.30); correspondence with
                                                  internal team re: non-US subsidiary corporate actions
                                                  and outstanding obligations (.50); call with N. Mehta,
                                                  FTX Japan and A&M re: FTX Japan workstreams
                                                  (.70); organize rest of world workstreams and
                                                  responsibilities (.60); review and comment on report
                                                  of local official re: non-US debtor (1.0).
07/11/2023 Nirav Mehta                       1.00 Correspondence with Japanese counsel re: Kroll
                                                  emails (.30); call with E. Simpson, FTX Japan and
                                                  A&M re: FTX Japan workstreams (.70).
07/11/2023 Michelle Vickers                  0.90 Review local counsel proposal re: CGL tax return
                                                  (.40); follow-up correspondence with London team
                                                  re: same (.10); call to third party exchange director re:
                                                  third party exchange closure (.40).
07/11/2023 Michelle Vickers                  0.50 Call with E. Simpson, J. Simpson, S. Mishkin and S.
                                                  Li re: APAC matters.
07/11/2023 James Simpson                     3.00 Call with M. Vickers, E. Simpson, S. Mishkin and S.
                                                  Li re: APAC matters (.50); meeting with E. Simpson,
                                                  A. Courroy, A&M and local counsel re: foreign
                                                  debtor liquidation process (.80); analyse impact of
                                                  foreign debtor liquidations on other group members
                                                  (.50); correspondence with local counsel re: Indian
                                                  directors (.20); call with A. Dietderich and E. Simpson
                                                  re: rest of world workstreams and issues (.30); call
                                                  with FTX Japan and A&M re: FTX Japan matter
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Date        Name                            Hours Description

                                                   (.50); correspondence with internal team re: Antigua
                                                   contacts (.20).
07/11/2023 Michael Haase                     7.00 Work on sale and purchase agreement re: sale of third
                                                  party stake (2.5), call with M. Haase, F. Wunsche
                                                  and EY re: profit participation agreement and earn-out
                                                  (.80); review mark-up of sale and purchase agreement
                                                  provided by Dentons (.60); add mark-ups to sale and
                                                  purchase agreement (2.6); call with Swiss
                                                  administrator re: relevant third party transaction (.50).
07/11/2023 Fabio Weinberg Crocco             0.30 Correspondence to contract counterparty re: closing
                                                  of trades involving foreign debtor (.10);
                                                  correspondences with M. Berti re: claims against
                                                  foreign debtor (.20).
07/11/2023 Frederic Wünsche                  6.50 Work on sale and purchase agreement re: sale of third
                                                  party stake (2.5), call with M. Haase and EY re: profit
                                                  participation agreement and earn-out (.80); review
                                                  mark-up of sale and purchase agreement provided by
                                                  Dentons (.60); add mark-ups to sale and purchase
                                                  agreement (2.6).
07/11/2023 Sarah Mishkin                     1.20 Call with M. Vickers, E. Simpson, J. Simpson and S.
                                                  Li re: APAC matters (.50); correspondence with local
                                                  counsel re: APAC tax matters (.40); correspondence
                                                  with BVI counsel and EY re: strike off (.30).
07/11/2023 Samantha Li                       0.50 Call with M. Vickers, E. Simpson, J. Simpson and S.
                                                  Mishkin re: APAC matters.
07/11/2023 Samantha Li                       0.20 Coordinate third party exchange closure and relevant
                                                  third party tax notices.
07/11/2023 Ryan McEvoy                       0.60 Research for drafting complaint (.40); correspondence
                                                  to J. Rosenfeld re: proposed edits to complaint (.20).
07/11/2023 Arthur Courroy                    0.80 Meeting with E. Simpson, J. Simpson, A&M and local
                                                  counsel re: foreign debtor liquidation process.
07/11/2023 Matteo Berti                      3.10 Draft email re: analysis of proofs of claims filed against
                                                  foreign debtor (2.3); review process re: potential
                                                  liquidation of foreign debtor (.80).
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Date         Name                             Hours Description
07/11/2023 Benedikt Ayrle                       0.90 Research re: relevant third party transaction.
07/12/2023 Max Birke                            0.30 Review emails and documents re: German minority
                                                     stake sale.
07/12/2023 Stephen Ehrenberg                    1.30 Review and revise FTX EU draft complaint (1.1);
                                                     correspondence with J. Rosenfeld, A. Mazumdar and
                                                     J. Goldman re: same (.20).
07/12/2023 Evan Simpson                         5.90 Call with O. de Vito Piscicelli, T. Hill, FTX EU
                                                     management, A&M and Cyprus counsel re: status of
                                                     ongoing workstreams (.80); review and comment on
                                                     draft motion to dismiss and related declaration for
                                                     foreign debtor (2.0); review allocations of separate
                                                     non-US subsidiaries (.50); draft letter to regulator re:
                                                     non-US subsidiary financial and liquidity position
                                                     (.50); review correspondence and supporting
                                                     documents re: corporate matters at non-US debtors
                                                     (.50); review and advise on non-US employment
                                                     matters (.50); review and comment on local
                                                     administrator report (.50); review regulatory
                                                     framework for discussion with local counsel re:
                                                     non-US debtor market-making agreements (.60).
07/12/2023 Oderisio de Vito Piscicelli          3.10 Review and comment on report of local administrator
                                                     (1.4); review and comment on A&M draft declaration
                                                     for motion (.50); review and comment on draft letter
                                                     to local regulator (.40); call with E. Simpson, T. Hill,
                                                     FTX EU management, A&M and Cyprus counsel re:
                                                     status of ongoing workstreams (.80).
07/12/2023 Alexa Kranzley                       0.20 Correspondences with internal team re: treatment of
                                                     certain foreign debtors.
07/12/2023 Nirav Mehta                          0.20 Correspondence to Japanese counsel re:
                                                     supplementing Kroll email.
07/12/2023 Tyler Hill                           3.10 Draft letter to regulator re: equity funding of FTX EU
                                                     (1.2); review motion to dismiss of foreign debtor
                                                     (1.9).
07/12/2023 Tyler Hill                           0.80 Call with E. Simpson, O. de Vito Piscicelli, FTX EU
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Date        Name                            Hours Description

                                                   management, A&M and Cyprus counsel re: status of
                                                   ongoing workstreams.
07/12/2023 Michael Haase                     6.30 Call with M. Haase, FTX Europe AG, Swiss
                                                  administrator and Lenz re: sale of interest in relevant
                                                  third party (1.3); review draft of sale and purchase
                                                  agreement provided by Dentons (.40); working with
                                                  F. Wunsche, draft new mark-up of sale and purchase
                                                  agreement (3.4); call with potential purchaser of
                                                  relevant third party and F. Wunsche re: sale and
                                                  purchase agreement (.20); call with F. Wunsche and
                                                  Dentons re: same (.70); call with and F. Wunsche and
                                                  EY re: same (.30).
07/12/2023 Fabio Weinberg Crocco             1.00 Call with B. Zonenshayn, relevant third party and
                                                  A&M re: foreign debtor (.60 - partial attendance);
                                                  follow-up call with B. Zonenshayn re: same (.40).
07/12/2023 Frederic Wünsche                  6.10 Call with M. Haase, FTX Europe AG, Swiss
                                                  administrator and Lenz re: sale of interest in relevant
                                                  third party (1.3); review draft of sale and purchase
                                                  agreement provided by Dentons (.40); working with
                                                  M. Haase, draft new mark-up of sale and purchase
                                                  agreement (3.2); call with potential purchaser of
                                                  relevant third party and M. Haase re: sale and
                                                  purchase agreement (.20); call with M. Haase and
                                                  Dentons re: same (.70); call with M. Haase and EY re:
                                                  same (.30).
07/12/2023 Sarah Mishkin                     0.40 Email correspondence with A&M re: liquidator
                                                  appointment (.20); email correspondence with J.
                                                  Kapoor re: same (.20).
07/12/2023 Samantha Li                       0.20 Coordinate with third party exchange re: signing of
                                                  closure documentation.
07/12/2023 Arthur Courroy                    6.00 Revise motion to dismiss (1.1); research re: same
                                                  (2.0); correspondences with T. Hill re: same (.50);
                                                  review and revise declaration for motion to dismiss
                                                  (1.6); update draft sales notice (.80).
07/12/2023 Benjamin Zonenshayn               1.20 Call with F. Weinberg Crocco, relevant third party
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                                                      and A&M re: foreign debtor (.80); follow-up call with
                                                      F. Weinberg Crocco re: same (.40).
07/12/2023 Matteo Berti                         2.20 Revise timeline for potential liquidation of foreign
                                                     debtor.
07/13/2023 Max Birke                            0.30 Review documents re: German minority stake sale.
07/13/2023 Stephen Ehrenberg                    0.50 Call with E. Simpson, O. de Vito Piscicelli and FTX
                                                     management team re: Chapter 11 case developments.
07/13/2023 Stephen Ehrenberg                    0.70 Call with E. Simpson, O. de Vito Piscicelli and
                                                     regulator re: Chapter 11 case developments (.60);
                                                     prepare for call re: same (.10).
07/13/2023 Evan Simpson                         4.30 Call with S. Ehrenberg, O. de Vito Piscicelli and
                                                     regulator re: Chapter 11 case developments (.60); call
                                                     with S. Ehrenberg, O. de Vito Piscicelli and FTX
                                                     management team re: same (.50); prepare talking
                                                     points for call with foreign regulator (1.0);
                                                     correspondence with A&M re: liabilities and balance
                                                     sheet matters (.30); meeting with O. de Vito Piscicelli,
                                                     T. Hill and A&M re: FTX EU developments and
                                                     workstreams (1.0); meeting with O. de Vito Piscicelli,
                                                     T. Hill, A&M, Swiss counsel and Swiss administrator
                                                     re: FTX Europe AG moratorium (.90).
07/13/2023 Oderisio de Vito Piscicelli          5.20 Review and comment on motion to dismiss (1.4);
                                                     prepare for calls and meetings (.50); correspondence
                                                     with local counsel re: foreign debtor liquidation (.30);
                                                     meeting with O. de Vito Piscicelli, E. Simpson, T. Hill
                                                     and A&M re: FTX EU developments and
                                                     workstreams (1.0); meeting with O. de Vito Piscicelli,
                                                     E. Simpson, T. Hill, A&M, Swiss counsel and Swiss
                                                     administrator re: FTX Europe AG moratorium (.90);
                                                     call with E. Simpson, S. Ehrenberg and regulator re:
                                                     Chapter 11 case developments (.60); call with E.
                                                     Simpson, S. Ehrenberg and FTX management team
                                                     re: same (.50).
07/13/2023 Alexa Kranzley                       0.80 Meeting with F. Weinberg Crocco and B. Zonenshayn
                                                     re: foreign debtor (.40); work on foreign debtor
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                                                   treatment issues (.40).
07/13/2023 Nirav Mehta                       0.60 Review FTX Japan proposal re: email supplementing
                                                  Kroll communication on customer bar date.
07/13/2023 Michelle Vickers                  0.50 Review third party exchange agreement re: deferred
                                                  consideration query (.30); correspondence to internal
                                                  team re: same (.20).
07/13/2023 Tyler Hill                        1.40 Meeting with O. de Vito Piscicelli, E. Simpson, T. Hill
                                                  and A&M re: FTX EU developments and
                                                  workstreams (.50 - partial attendance); meeting with
                                                  O. de Vito Piscicelli, E. Simpson, T. Hill, A&M,
                                                  Swiss counsel and Swiss administrator re: FTX
                                                  Europe AG moratorium (.90).
07/13/2023 James Simpson                     0.30 Review draft response letter to Indian complaint.
07/13/2023 Michael Haase                     5.80 Correspondence with local employment counsel re:
                                                  settlement with former FTX Europe personnel (.40);
                                                  work on sales process of relevant third party stake
                                                  (5.4).
07/13/2023 Fabio Weinberg Crocco             0.70 Meeting with A. Kranzley and B. Zonenshayn re:
                                                  foreign debtor (.40); review materials re: claims
                                                  against foreign debtor (.30).
07/13/2023 Frederic Wünsche                  5.90 Correspondence with local employment counsel re:
                                                  settlement with former FTX Europe personnel (.40);
                                                  analyze sales process of relevant third party stake
                                                  (1.6); review and comment on agreement re: same
                                                  (3.4); correspondences with Dentons re: same (.50).
07/13/2023 Samantha Li                       0.10 Communication to internal team re: status update on
                                                  third party exchange closure.
07/13/2023 Arthur Courroy                    1.80 Review correspondence with regulator (.80); draft
                                                  summary re: same (1.0).
07/13/2023 Benjamin Zonenshayn               0.40 Meeting with A. Kranzley and F. Weinberg Crocco
                                                  re: foreign debtor.
07/14/2023 Stephen Ehrenberg                 0.60 Review press inquiry (.40); correspondence with
                                                  PWP and S&C team re: same (.20).
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Date         Name                             Hours Description
07/14/2023 Christopher Howard                   1.60 Research re: protocols for local filers (.90);
                                                     correspondence with internal team re: same (.30);
                                                     correspondence with E. Simpson re: same (.40).
07/14/2023 Evan Simpson                         1.80 Meeting with Hadef, A&M and M. Berti re: foreign
                                                     debtor liquidation process (.50); meeting with M. Berti
                                                     re: step plan for foreign debtor liquidation process
                                                     (.30); call with A&M, EY and FTX re: global wind
                                                     down priorities (.50); correspondence with internal
                                                     team re: local funding parameters and cash flow
                                                     forecasts (.50).
07/14/2023 Oderisio de Vito Piscicelli          0.70 Attention to employment matter in Europe (.10);
                                                     attention to GDPR agreements and related matters
                                                     (.20); attention to local subsidiary funding matters
                                                     (.20); correspondence with local counsel re:
                                                     administrator report (.10); correspondence with local
                                                     counsel re: foreign debtor liquidation process (.10).
07/14/2023 Bradley Harsch                       0.30 Call with relevant third party and D. O’Hara re:
                                                     non-profit contribution recovery (.10);
                                                     correspondence with internal team re: summary of call
                                                     with relevant third party counsel re: funds return (.20).
07/14/2023 Nirav Mehta                          0.20 Correspondence to FTX Japan re: timing of Kroll
                                                     communication on customer bar date.
07/14/2023 James Simpson                        1.40 Correspondence with local counsel re: Singapore
                                                     compliance points (.20); draft summary re: all known
                                                     information on Panamanian entity (1.2).
07/14/2023 Michael Haase                        0.90 Call with F. Wunsche, Dentons and Lenz re: sale of
                                                     relevant third party stake (.50); correspondence to
                                                     FTX Europe, administrator of FTX and S&C team re:
                                                     outcome of call re: same (.40).
07/14/2023 Fabio Weinberg Crocco                1.10 Correspondence with M. Berti re: matters concerning
                                                     foreign debtor (.50); correspondence to A. Kranzley
                                                     re: same (.20); call with relevant third party re: closing
                                                     of trade (.40).
07/14/2023 Frederic Wünsche                     0.90 Call with M. Haase, Dentons and Lenz re: sale of
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                                                    relevant third party stake (.50); correspondence to
                                                    FTX Europe, administrator of FTX and S&C team re:
                                                    outcome of call re: same (.40).
07/14/2023 Daniel O'Hara                      0.10 Call with relevant third party and B. Harsch re:
                                                   non-profit contribution recovery.
07/14/2023 Arthur Courroy                     0.40 Correspondence with internal team re: motion to
                                                   dismiss for foreign debtor.
07/14/2023 Matteo Berti                       2.40 Meeting with Hadef, A&M and E. Simpson re: foreign
                                                   debtor liquidation process (.50); meeting with E.
                                                   Simpson re: step plan for foreign debtor liquidation
                                                   process (.30); correspondences with internal team re:
                                                   same (1.6).
07/15/2023 Alexa Kranzley                     0.70 Review and revise FTX EU dismissal motion.
07/16/2023 Andrew Dietderich                  0.50 Correspondence with E. Simpson re: Swiss
                                                   administrator questions.
07/16/2023 Michael Haase                      0.30 Correspondence with internal team re: reply by third
                                                   party counsel.
07/17/2023 Andrew Dietderich                  0.20 Correspondence with E. Simpson re: Singapore.
07/17/2023 Stephen Ehrenberg                  0.30 Correspondence with B. Glueckstein re: discovery in
                                                   FTX EU action.
07/17/2023 Stephen Ehrenberg                  0.20 Correspondence to C. Dunne re: discovery in FTX
                                                   EU action.
07/17/2023 Stephen Ehrenberg                  0.50 Correspondence with A&M and S&C teams re:
                                                   Quoine.
07/17/2023 Brian Glueckstein                  0.40 Correspondence with S. Ehrenberg and C. Dunne re:
                                                   FTX EU strategy issues.
07/17/2023 Evan Simpson                       4.40 Call with O. de Vito Piscicelli, local counsel and
                                                   foreign debtor administrator re: status of proceedings
                                                   (1.0); call with T. Hill, O. de Vito Piscicelli, local
                                                   management and local counsel re: regulatory status
                                                   (.30); call with E. Simpson, J. Simpson and local
                                                   counsel re: foreign debtor liquidation (.70); review
                                                   Singapore financial and regulatory status (.50); call
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                                                      with J. Simpson and G. Opris re: RoW bankruptcy
                                                      protocol (.50); correspondence with internal team re:
                                                      engagement letters for foreign debtors (.30); prepare
                                                      summary re: key corporate and regulatory issues for
                                                      foreign debtor (.50); correspondence with internal
                                                      team re: conditions for regulatory termination (.30);
                                                      review and comment on foreign debtor liquidation
                                                      steps plan (.30).
07/17/2023 Oderisio de Vito Piscicelli          2.00 Correspondence with internal team re: data access
                                                     (.30); review press enquiries and potential responses
                                                     (.30); correspondence with internal team re: data
                                                     preservation (.10); call with E. Simpson, local counsel
                                                     and foreign debtor administrator re: status of
                                                     proceedings (1.0); call with T. Hill, E. Simpson, local
                                                     management and local counsel re: regulatory status
                                                     (.30).
07/17/2023 Alexa Kranzley                       0.50 Work on foreign debtor issues (.30); correspondences
                                                     with internal team re: same (.20).
07/17/2023 Tyler Hill                           0.30 Call with E. Simpson, O. de Vito Piscicelli, local
                                                     management and local counsel re: regulatory status.
07/17/2023 James Simpson                        2.00 Call with E. Simpson and local counsel re: foreign
                                                     debtor liquidation (.70); call with E. Simpson and G.
                                                     Opris re: RoW bankruptcy protocol (.50); review and
                                                     comment on director notes (.30); correspondence
                                                     with internal team re: Vietnamese taxes (.20);
                                                     correspondence with internal team re: protocol
                                                     preparation (.30).
07/17/2023 Michael Haase                        2.10 Review and comment on agreement re: sale of stake in
                                                     relevant third party (1.1); correspondence to Lenz re:
                                                     same (.30); correspondence with E. Simpson re: same
                                                     (.20); correspondence to Dentons re: same (.50).
07/17/2023 Fabio Weinberg Crocco                0.40 Correspondence with B. Zonenshayn and creditor
                                                     counsel re: foreign debtor.
07/17/2023 Gabriel Opris                        2.40 Review re: status of RoW workstreams and the
                                                     Singapore liquidation protocol (1.0); call with J.
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                                                      Simpson and E. Simpson re: RoW bankruptcy
                                                      protocol (.50); review term sheet re: restructuring plan
                                                      (.50); review sample Singaporean protocol (.40).
07/17/2023 Arthur Courroy                       1.30 Draft letter agreement re: intercompany payments
                                                     between foreign debtors.
07/17/2023 Benjamin Zonenshayn                  0.30 Email correspondence with D. Gilberg re: Cayman
                                                     debtor.
07/17/2023 Matteo Berti                         2.80 Research re: drafting motion to dismiss of foreign
                                                     debtors.
07/18/2023 Stephanie Wheeler                    0.30 Call with T. Mazzucco (Murphy Pearson) and P.
                                                     Kearney (Murphy Pearson) re: Robert Lee.
07/18/2023 Evan Simpson                         2.30 Call with O. de Vito Piscicelli, local counsel and local
                                                     administrator re: update in local proceeding (.80); call
                                                     with O. de Vito Piscicelli and local management re:
                                                     liquidity matters and customer process (.40); call with
                                                     A&M re: balance sheet review for foreign debtors and
                                                     related liquidation considerations (.50); prepare
                                                     backup materials for liquidator appointment (.30);
                                                     research re: foreign debtor director replacement
                                                     process (.30).
07/18/2023 Oderisio de Vito Piscicelli          2.50 Call with E. Simpson, local counsel and local
                                                     administrator re: update in local proceeding (.80); call
                                                     with E. Simpson and local management re: liquidity
                                                     matters and customer process (.40); prepare for calls
                                                     (.30); analyze question by A&M re: customer funds
                                                     (.30); review and revise draft letter to local regulator
                                                     (.30); note to local counsel re: list of questions (.30);
                                                     attention to correspondence with local ombudsman
                                                     (.10).
07/18/2023 Nirav Mehta                          0.90 Correspondence to Japanese counsel re: treatment of
                                                     post-petition deposits by FTX Japan (.30); call with J.
                                                     Simpson, FTX Japan and A&M re: FTX Japan
                                                     workstreams (.60).
07/18/2023 Nirav Mehta                          0.70 Correspondence to J. Croke and E. Simpson re:
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                                                      Alameda Research board and accounts (.40);
                                                      correspondence to Japanese counsel re: same (.30).
07/18/2023 Tyler Hill                           1.40 Review and comment on declarations in support of
                                                     foreign debtor motion to dismiss.
07/18/2023 James Simpson                        0.60 Call with N. Mehta, FTX Japan and A&M re: FTX
                                                     Japan workstreams.
07/18/2023 Michael Haase                        0.60 Draft correspondence to J. Ray (FTX) re: relevant
                                                     third party transaction.
07/18/2023 Fabio Weinberg Crocco                0.60 Call with M. Berti re: matters concerning foreign
                                                     debtor (.40); review draft motion re: foreign debtor
                                                     (.20).
07/18/2023 Gabriel Opris                        0.50 Review Singapore court protocol.
07/18/2023 Samantha Li                          0.10 Correspondence to N. Ting re: third party exchange
                                                     closure documentation.
07/18/2023 Arthur Courroy                       1.80 Review and update motion to dismiss (1.1); analyze
                                                     exhibit to letter agreement (.70).
07/18/2023 Matteo Berti                         4.80 Correspondences to local counsel re: appointment of
                                                     foreign debtor liquidator (.40); update timeline re:
                                                     liquidation of foreign debtor (.50); draft motion to
                                                     dismiss re: foreign debtor (3.5); call with F. Weinberg
                                                     Crocco re: matters concerning foreign debtor (.40).
07/19/2023 Evan Simpson                         2.70 Call with T. Hill, FTX EU management and A&M re:
                                                     ongoing workstreams (.10); call with J. Simpson, FTX
                                                     Japan and A&M re: financial condition of Singapore
                                                     entities (.80); call with A. Kranzley, F. Weinberg
                                                     Crocco, B. Zonenshayn and M. Berti re: matters
                                                     concerning foreign debtor (.50); call with O. de Vito
                                                     Piscicelli, A&M and local counsel re: local law issues
                                                     re: customer funds (.50); correspondence with internal
                                                     team re: status of foreign subsidiary regulatory
                                                     discussions (.40); review and comment on Q&A for
                                                     foreign debtor customers (.40).
07/19/2023 Oderisio de Vito Piscicelli          2.10 Review and comment on draft motion to dismiss (1.1);
                                                     call with E. Simpson, A&M and local counsel re: local
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                                                 law issues re: customer funds (.50); prepare for
                                                 meeting (.10); attention to correspondence re:
                                                 European investee, employment matters, funding
                                                 matters and communications with local administrator
                                                 (.40).
07/19/2023 Alexa Kranzley                  1.30 Call with E. Simpson, F. Weinberg Crocco, B.
                                                Zonenshayn and M. Berti re: matters concerning
                                                foreign debtor (.50); correspondence with F.
                                                Weinberg Crocco and B. Zonenshayn re: same (.30);
                                                follow-up correspondence with E. Simpson and M.
                                                Berti re: same (.20); review related motions and issues
                                                (.30).
07/19/2023 Nirav Mehta                     0.40 Review FTX Japan presentation re: withdrawal
                                                eligibility (.30); correspondence to A. Dietderich, A.
                                                Kranzley, K. Hatano, E. Simpson, J. Simpson and S.
                                                Xiang re: same (.10).
07/19/2023 Tyler Hill                      1.70 Review declarations in support of foreign debtor
                                                motion to dismiss (1.6); call with E. Simpson, FTX
                                                EU management and A&M re: ongoing workstreams
                                                (.10).
07/19/2023 James Simpson                   1.50 Call with E. Simpson, FTX Japan and A&M re:
                                                financial condition of Singapore entities (.80);
                                                correspondence with E. Simpson re: potential plan
                                                implementation structure (.70).
07/19/2023 Michael Haase                   0.60 Review input by E. Simpson and follow-up with
                                                Dentons.
07/19/2023 Fabio Weinberg Crocco           1.30 Call with A&M and relevant third party re: matters
                                                concerning foreign debtor (.70); call with A. Kranzley,
                                                E. Simpson, B. Zonenshayn and M. Berti re: matters
                                                concerning foreign debtor (.50); correspondence with
                                                M. Berti re: same (.10).
07/19/2023 Gabriel Opris                   3.00 Draft template re: cross-border insolvency protocol.
07/19/2023 Arthur Courroy                  2.40 Draft and update declarations supporting motion to
                                                dismiss for certain foreign debtors (1.9);
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                                                      correspondence with M. Cilia (RLKS) and local
                                                      counsel re: payment of registered agent fees (.50).
07/19/2023 Matteo Berti                         6.10 Correspondences to local counsel and local
                                                     management re: liquidation of foreign debtor (1.3);
                                                     update timeline re: liquidation of foreign debtor (.80);
                                                     draft motion to dismiss foreign debtor (3.5); call with
                                                     A. Kranzley, E. Simpson, F. Weinberg Crocco and B.
                                                     Zonenshayn re: matters concerning foreign debtor
                                                     (.50).
07/20/2023 Christopher Howard                   1.50 Meeting with E. Simpson, O. de Vito Piscicelli, T. Hill,
                                                     J. Simpson, G. Opris, M. Berti and A. Courroy re:
                                                     dismissal of Chapter 11 for certain foreign debtors
                                                     (.50); review terms of Dubai protocol (1.0).
07/20/2023 Evan Simpson                         2.00 Meeting with O. de Vito Piscicelli, T. Hill and A.
                                                     Courroy re: draft motion to dismiss for certain foreign
                                                     debtors (.50); meeting with O. de Vito Piscicelli, C.
                                                     Howard, T. Hill, J. Simpson, G. Opris, M. Berti and
                                                     A. Courroy re: dismissal of Chapter 11 for certain
                                                     foreign debtors (.50); correspondence with internal
                                                     team re: foreign debtor media inquiries (1.0).
07/20/2023 Oderisio de Vito Piscicelli          1.80 Correspondence with internal team re: former FTX
                                                     employee (.30); review draft motion to dismiss for
                                                     certain foreign debtors (.30); correspondence with
                                                     A&M re: customer balances (.20); meeting with E.
                                                     Simpson, T. Hill and A. Courroy re: draft motion to
                                                     dismiss for certain foreign debtors (.50); meeting with
                                                     E. Simpson, C. Howard, T. Hill, J. Simpson, G.
                                                     Opris, M. Berti and A. Courroy re: dismissal of
                                                     Chapter 11 for certain foreign debtors (.50).
07/20/2023 Tyler Hill                           1.70 Meeting with E. Simpson, O. de Vito Piscicelli and A.
                                                     Courroy re: draft motion to dismiss for certain foreign
                                                     debtors (.50); meeting with E. Simpson, O. de Vito
                                                     Piscicelli, C. Howard, J. Simpson, G. Opris, M. Berti
                                                     and A. Courroy re: dismissal of Chapter 11 for certain
                                                     foreign debtors (.50); review draft motion to dismiss
                                                     and related declarations (.70).
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07/20/2023 James Simpson                   0.50 Meeting with E. Simpson, O. de Vito Piscicelli, C.
                                                Howard, T. Hill, G. Opris, M. Berti and A. Courroy
                                                re: dismissal of Chapter 11 for certain foreign debtors.
07/20/2023 Michael Haase                   0.20 Chaser to Dentons.
07/20/2023 Gabriel Opris                   3.40 Meeting with E. Simpson, O. de Vito Piscicelli, C.
                                                Howard, T. Hill, J. Simpson, M. Berti and A. Courroy
                                                re: dismissal of Chapter 11 for certain foreign debtors
                                                (.50); draft protocol and instruction for foreign debtors
                                                (2.9).
07/20/2023 Samantha Li                     0.30 Correspondence to E. Simpson re: third party
                                                exchange closure and related matters.
07/20/2023 Arthur Courroy                  1.70 Update declarations supporting draft motion to dismiss
                                                for certain foreign debtors (.40); review comments
                                                from E. Simpson to letter agreement re: intercompany
                                                payments and coordinating with directors (.30);
                                                meeting with E. Simpson, O. de Vito Piscicelli and T.
                                                Hill re: draft motion to dismiss for certain foreign
                                                debtors (.50); meeting with E. Simpson, O. de Vito
                                                Piscicelli, C. Howard, T. Hill, J. Simpson, G. Opris,
                                                M. Berti and A. Courroy re: dismissal of Chapter 11
                                                for certain foreign debtors (.50).
07/20/2023 Matteo Berti                    3.20 Update timeline re: liquidation of foreign debtor (.20);
                                                draft motion to dismiss foreign debtor (2.5); meeting
                                                with E. Simpson, O. de Vito Piscicelli, C. Howard, T.
                                                Hill, J. Simpson, G. Opris and A. Courroy re:
                                                dismissal of Chapter 11 for certain foreign debtors
                                                (.50).
07/21/2023 Keiji Hatano                    0.40 Review slides re: withdrawal from FTX Japan.
07/21/2023 Christopher Howard              1.50 Review and devise structure for foreign debtor
                                                protocol (1.1); correspondence with E. Simpson re:
                                                same (.40).
07/21/2023 Christopher Howard              0.50 Call with G. Opris re: liquidation of foreign debtor.
07/21/2023 Evan Simpson                    2.70 Call with M. Cilia (RLKS), D. Johnston (A&M), M.
                                                Belt (EY), D. Hammon (EY), M. Borts (EY), A.
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                                                      Kranzley and G. Opris re: status of the restructuring of
                                                      the RoW debtors (.50); call with O. de Vito Piscicelli
                                                      and FTX EU management re: update on foreign
                                                      debtor matters (.40); review and comment on
                                                      liquidation steps plan for foreign debtor (.50);
                                                      follow-up with local counsel on litigation matters at
                                                      foreign debtor (.30); prepare for call re: RoW status
                                                      (.50); work on process for filing of claims in Chapter
                                                      11 for foreign entities (.50).
07/21/2023 Oderisio de Vito Piscicelli          1.00 Call with O. de Vito Piscicelli and FTX EU
                                                     management re: update on foreign debtor matters
                                                     (.40); correspondence to local counsel re: customer
                                                     claim (.30); review litigation filing of former employee
                                                     (.20); attention to correspondence from local
                                                     management re: liquidation of a subsidiary (.10).
07/21/2023 Alexa Kranzley                       0.50 Call with M. Cilia (RLKS), D. Johnston (A&M), M.
                                                     Belt (EY), D. Hammon (EY), M. Borts (EY), E.
                                                     Simpson and G. Opris re: status of the restructuring of
                                                     the RoW debtors.
07/21/2023 Nirav Mehta                          1.60 Review of FTX Japan presentation re: withdrawal
                                                     eligibility (1.5); correspondence to A. Dietderich, A.
                                                     Kranzley, K. Hatano, E. Simpson, J. Simpson and S.
                                                     Xiang re: same (.10).
07/21/2023 Michelle Vickers                     0.50 Discussion with third party exchange directors re:
                                                     closure documentation (.30); correspondence to
                                                     internal team re: same (.20).
07/21/2023 Gabriel Opris                        3.00 Call with M. Cilia (RLKS), D. Johnston (A&M), M.
                                                     Belt (EY), D. Hammon (EY), M. Borts (EY), E.
                                                     Simpson and A. Kranzley re: status of the restructuring
                                                     of the RoW debtors (.50); correspondence with C.
                                                     Howard re: liquidation of foreign debtor (.50); call
                                                     with M. Berti re: matters concerning liquidation of
                                                     foreign debtor (.40); review of Grant Thornton
                                                     engagement letter and nondisclosure agreement (1.0);
                                                     draft protocol re: liquidation for foreign debtor (.60).
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07/21/2023 Arthur Courroy                       0.80 Update motion to dismiss to reflect comments from E.
                                                     Simpson and O. De Vito Piscicelli.
07/21/2023 Matteo Berti                         1.90 Call with G. Opris re: matters concerning liquidation of
                                                     foreign debtor (.40); draft motion to dismiss foreign
                                                     debtor (1.5).
07/22/2023 Nirav Mehta                          0.20 Correspondence to FTX Japan re: comments on
                                                     relevant third party presentation.
07/23/2023 Evan Simpson                         1.00 Correspondences with internal teams re: assets and
                                                     recoveries at foreign debtor subsidiaries.
07/24/2023 Stephen Ehrenberg                    0.20 Correspondence with C. Dunne, D. Daley, H.
                                                     Rosenblat, J. Rosenfeld and J. Moldovan re: foreign
                                                     debtor litigation.
07/24/2023 Christopher Howard                   0.50 Call with A&M, G. Opris and M. Berti re: matters
                                                     concerning liquidation of foreign debtor.
07/24/2023 Christopher Howard                   0.50 Review protocol re: Dubai.
07/24/2023 Chris Beatty                         0.30 Call with E. Simpson, J. Simpson, KordaMentha,
                                                     Piper Alderman and Clayton Utz re: foreign debtor
                                                     matter.
07/24/2023 Evan Simpson                         4.70 Call with C. Beatty, J. Simpson, KordaMentha, Piper
                                                     Alderman and Clayton Utz re: foreign debtor matter
                                                     (.30); meeting with M. Berti re: motion to dismiss for
                                                     foreign debtor (.70); call with O. de Vito Piscicelli and
                                                     local management re: FTX EU matters (.30); review
                                                     and report on re: key outstanding issues at foreign
                                                     debtor (.90); prepare RoW workstreams for working
                                                     group (.80); review files re: foreign debtor history and
                                                     corporate records (.40); review and comment on
                                                     steps plan re: foreign debtor liquidation (.50); review
                                                     and comment on letter agreement re: foreign debtor
                                                     intercompany payments (.80).
07/24/2023 Oderisio de Vito Piscicelli          1.00 Organize call with internal team re: US customer claim
                                                     (.20); review and revise list re: workstreams (.20);
                                                     attention to emails re: proposed acquisition by FTX
                                                     Europe (.10); call with E. Simpson and local
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                                                   management re: FTX EU matters (.30); review plan
                                                   re: foreign debtor liquidation (.20).
07/24/2023 Alexa Kranzley                    1.40 Review and revise motion to dismiss foreign debtor
                                                  cases (.90); correspondences with internal team re:
                                                  same (.50).
07/24/2023 Michelle Vickers                  0.30 Correspondence to internal team re: Hong Kong law
                                                  audit requirements for financial statements.
07/24/2023 Tyler Hill                        2.70 Review and revise draft motion to dismiss foreign
                                                  debtor case (2.2); review email correspondence re:
                                                  FTX Dubai (.50).
07/24/2023 Michael Haase                     0.50 Meeting with F. Wunsche and local counsel re:
                                                  proceedings against FTX EU.
07/24/2023 Fabio Weinberg Crocco             0.60 Call with M. Berti re: motion to dismiss foreign debtor
                                                  case (.30); review draft motion to dismiss (.30).
07/24/2023 Frederic Wünsche                  0.50 Meeting with M. Haase and local counsel re:
                                                  proceedings against FTX EU.
07/24/2023 Gabriel Opris                     5.40 Call with A&M, C. Howard and M. Berti re: matters
                                                  concerning liquidation of foreign debtor (.50); draft
                                                  agreement re: liquidation framework for foreign debtor
                                                  (4.9).
07/24/2023 Samantha Li                       0.30 Coordinate Hong Kong matters.
07/24/2023 Arthur Courroy                    4.70 Review email correspondence re: foreign debtor and
                                                  responsiveness to request (.50); update and revise
                                                  draft motion to dismiss for foreign debtor (3.4);
                                                  update letter agreement re: intercompany payments
                                                  (.80).
07/24/2023 Matteo Berti                      8.40 Meeting with E. Simpson re: motion to dismiss for
                                                  foreign debtor (.70); call with A&M, C. Howard and
                                                  G. Opris re: matters concerning liquidation of foreign
                                                  debtor (.50); call with F. Weinberg Crocco re: motion
                                                  to dismiss foreign debtor case (.30); draft motion to
                                                  dismiss foreign debtor (1.4); draft resolution re:
                                                  liquidation foreign debtor (1.5); update timeline re:
                                                  liquidation foreign debtor (1.5); draft correspondences
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                                                      to A&M and S&C teams re: liquidation foreign debtor
                                                      (2.5).
07/25/2023 Christopher Howard                   3.00 Revise Dubai protocol (1.5); correspondence with G.
                                                     Opris re: foreign debtor liquidation (.50);
                                                     correspondence with A. Kranzley re: Dubai (.50);
                                                     review letter re: liquidator engagement (.50).
07/25/2023 Evan Simpson                         3.00 Call with J. Simpson, FTX Japan and A&M re: FTX
                                                     Japan workstreams (.20); work on foreign debtor
                                                     payment confirmation matters (.50); review and revise
                                                     motion to dismiss for foreign debtor (1.2);
                                                     correspondence with internal team re: local liquidation
                                                     process, timetable and documentation (.60); update
                                                     rest of world regulatory status tracker (.50).
07/25/2023 Oderisio de Vito Piscicelli          1.50 Review local law advice re: liquidation (.40);
                                                     correspondence with local management and internal
                                                     team re: customer claim (.30); correspondence with
                                                     internal team re: local management developments
                                                     (.20); attention to local requests for funding (.20);
                                                     attention to transfer of cash balances (.10);
                                                     correspondence with internal team re: dismissal of
                                                     local entity (.20); attention to correspondence re:
                                                     customer claim (.10).
07/25/2023 Alexa Kranzley                       0.40 Meeting with A. Kranzley, F. Weinberg Crocco and
                                                     B. Zonenshayn re: foreign debtor.
07/25/2023 Michelle Vickers                     0.30 Correspondence with local counsel and A&M re:
                                                     closure of foreign entity.
07/25/2023 Tyler Hill                           0.90 Review declarations in support of motion to dismiss of
                                                     foreign debtor (.40); meeting with M. Berti and A.
                                                     Courroy re: status of dismissal process for certain
                                                     foreign debtors (.50).
07/25/2023 James Simpson                        0.40 Call with E. Simpson, FTX Japan and A&M re: FTX
                                                     Japan workstreams (.20); correspondence with
                                                     Singapore corporate secretary re: compliance issues
                                                     (.20).
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                            Project: 00041 - FOREIGN DEBTOR MATTERS

Date        Name                          Hours Description
07/25/2023 Fabio Weinberg Crocco           1.20 Meeting with A. Kranzley and B. Zonenshayn re:
                                                foreign debtor (.40); review correspondence from
                                                counsel re: foreign debtor matter (.20); review
                                                correspondence re: foreign debtor (.20); call with
                                                A&M team re: Cayman debtor (.40).
07/25/2023 Gabriel Opris                   5.40 Meeting with M. Berti re: matters concerning
                                                liquidation of foreign debtor (.40); review and update
                                                agreement re: liquidation framework (4.4);
                                                correspondence with A. Kranzley and E. Simpson re:
                                                same (.60).
07/25/2023 Arthur Courroy                  4.30 Comment on letter agreement re: certain intercompany
                                                payments (.40); review spreadsheets re: intercompany
                                                payments (1.0); incorporate comments to motion to
                                                dismiss for certain foreign debtors (.60); draft
                                                supporting declaration for motion to dismiss certain
                                                foreign debtors (1.5); meeting with T. Hill and M.
                                                Berti re: status of dismissal process for certain foreign
                                                debtors (.50); coordinate with local directors re:
                                                intercompany payment letter agreement (.30).
07/25/2023 Matteo Berti                    4.20 Update timeline re: liquidation of foreign debtor (1.2);
                                                revise motion to dismiss foreign debtor (.30); meeting
                                                with T. Hill and A. Courroy re: status of dismissal
                                                process for certain foreign debtors (.50); meeting with
                                                G. Opris re: matters concerning liquidation of foreign
                                                debtor (.40); revise agreement re: framework for
                                                foreign debtor liquidation (1.3); correspondences with
                                                team members re: liquidation of foreign debtor (.50).
07/26/2023 Christopher Howard              0.80 Review letter re: engagement of foreign debtor
                                                liquidator.
07/26/2023 Chris Beatty                    3.00 Review counsel advice re: foreign debtor matters
                                                (.80); correspondences with internal team re: same
                                                (.70); review plan term sheet (1.2); correspondence to
                                                S&C NY team re: same (.30).
07/26/2023 Evan Simpson                    2.40 Prepare agenda for call with foreign debtor
                                                management (.30); comment on liquidation steps
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

                                                      process (.50); correspondence with internal team re:
                                                      same (.80); correspondence with internal team re:
                                                      foreign regulatory investigation (.30); correspondence
                                                      with internal team re: change in name and corporate
                                                      history of foreign debtors (.50).
07/26/2023 Oderisio de Vito Piscicelli          3.20 Review process re: foreign debtor liquidation (.30);
                                                     correspondence with local counsel re: same (.90);
                                                     prepare for calls (.40); review draft letter re: local
                                                     funding (.20); attention to correspondences from local
                                                     management (.20); attention to request for local advice
                                                     by local administrator (.20); review summary re: call
                                                     from local management (.10); call with T. Hill and
                                                     Cyprus counsel re: FTX EU insolvency process (.50);
                                                     call with T. Hill, FTX EU management and Cyprus
                                                     counsel re: FTX EU workstreams and customer funds
                                                     (.40).
07/26/2023 Alexa Kranzley                       0.40 Correspondences with internal team re: foreign debtor
                                                     matters.
07/26/2023 Tyler Hill                           0.80 Call with O. de Vito Piscicell and Cyprus counsel re:
                                                     FTX EU insolvency process (.50); call with O. de
                                                     Vito Piscicelli, FTX EU management and Cyprus
                                                     counsel re: FTX EU workstreams and customer funds
                                                     (.30 - partial attendance).
07/26/2023 Fabio Weinberg Crocco                1.40 Correspondence with A. Kranzley and B. Zonenshayn
                                                     re: foreign debtor (.40); call with relevant third party
                                                     and A&M re: same (.50); call with counsel to relevant
                                                     third party creditor re: relevant third party (.50).
07/26/2023 Gabriel Opris                        1.40 Review and amend agreement re: liquidation
                                                     framework (1.0); review motion to dismiss of foreign
                                                     debtor (.40).
07/26/2023 Arthur Courroy                       1.30 Finalize annexes to letter agreement re: intercompany
                                                     payments of certain foreign debtors (.50); review draft
                                                     motion to dismiss (.20); correspondence with local
                                                     counsel and A&M re: same (.30); internal
                                                     correspondence with internal team re: same (.30).
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                                Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description
07/26/2023 Matteo Berti                         9.00 Update timeline re: liquidation of foreign debtor (1.0);
                                                     draft letter re: foreign debtor employment matter (2.8);
                                                     review and revise motion to dismiss foreign debtor
                                                     (1.8); revise declaration for dismissal of foreign debtor
                                                     (1.5); correspondences with internal team re: process
                                                     for dismissal of foreign debtor case (1.9).
07/27/2023 Max Birke                            0.20 Review emails re: German minority stake sale.
07/27/2023 Christopher Howard                   1.30 Call with A&M and G. Opris re: appointment of
                                                     liquidator for foreign debtor (.50); draft and revise
                                                     letter re: engagement of liquidator (.80).
07/27/2023 Evan Simpson                         1.80 Correspondence with internal team re: motions to
                                                     dismiss (1.1); call with O. de Vito Piscicelli, T. Hill
                                                     and PWC re: FTX Europe AG acquisition agreement
                                                     (.40); correspondence with internal team re: local
                                                     regulatory matters (.30).
07/27/2023 Oderisio de Vito Piscicelli          2.00 Meeting with A&M re: update on foreign debtor
                                                     matters (.50); call with E. Simpson, T. Hill and PWC
                                                     re: FTX Europe AG acquisition agreement (.40);
                                                     prepare for A&M meeting re: same (.40); attention to
                                                     GDPR matters (.20); attention to correspondence re:
                                                     new website for claims (.20); correspondence with
                                                     local counsel re: potential litigation (.30).
07/27/2023 Alexa Kranzley                       0.30 Correspondences with internal team re: foreign debtor
                                                     and related issues.
07/27/2023 Tyler Hill                           0.40 Call with E. Simpson, O. de Vito Piscicelli and PWC
                                                     re: FTX Europe AG acquisition agreement.
07/27/2023 Michael Haase                        1.10 Correspondence with Dentons re: sale process of third
                                                     party stake (.40); correspondence with FTX Europe
                                                     personnel re: employment matter (.40);
                                                     correspondence with local employment counsel re:
                                                     same (.30).
07/27/2023 Hattie Middleditch                   0.60 Review next steps re: expert evidence in non-US
                                                     customer complaints.
07/27/2023 Gabriel Opris                        2.00 Review and amend agreement re: liquidation
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

                                                      framework agreement (1.5); call with A&M and C.
                                                      Howard re: appointment of a liquidator for foreign
                                                      debtor (.50).
07/27/2023 Samantha Li                          0.30 Correspondence to E. Simpson re: Indonesian and
                                                     Hong Kong matters.
07/27/2023 Arthur Courroy                       0.90 Proofread motion to dismiss and declarations.
07/28/2023 Stephen Ehrenberg                    0.10 Correspondence with B. Glueckstein and C. Dunne
                                                     re: draft case management order for FTX EU action.
07/28/2023 Stephen Ehrenberg                    0.10 Correspondence with J. Goldman, C. Dunne, J.
                                                     Rosenfeld and A. Mazumdar re: draft case
                                                     management order for FTX EU action.
07/28/2023 Stephen Ehrenberg                    0.40 Correspondence with J. Goldman re: draft case
                                                     management order for FTX EU action.
07/28/2023 Evan Simpson                         2.20 Meeting with T. Hill, A. Courroy, A&M and local
                                                     counsel re: liquidation process of certain foreign
                                                     debtors (.40); call with A&M and EY teams re: open
                                                     foreign debtor matters (.80); coordinate payment
                                                     requests from local subsidiaries (.50); correspondence
                                                     with internal team re: service provider contracts (.20);
                                                     review corporate histories re: claims (.30).
07/28/2023 Oderisio de Vito Piscicelli          1.80 Call with foreign debtor management re: foreign
                                                     debtor matters (.50); work on GDPR matter (.60);
                                                     discussion with A&M re: same (.40); correspondence
                                                     with internal team re: same (.30).
07/28/2023 Alexa Kranzley                       0.40 Correspondence with A&M, EY, RLKS and S&C
                                                     team re: RoW.
07/28/2023 Tyler Hill                           1.30 Review declarations in support of motion to dismiss
                                                     (.30); meeting with E. Simpson, A. Courroy, A&M
                                                     and local counsel re: liquidation process of certain
                                                     foreign debtors (.40); correspondence with internal
                                                     team re: foreign debtor liquidation (.60).
07/28/2023 Gabriel Opris                        3.30 Correspondence with A&M, M. Cilia (RLKS) and E.
                                                     Simpson, re: RoW debtor workstreams (.50); draft
                                                     template re: cross-border insolvency protocol (2.8).
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                              Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

07/28/2023 Arthur Courroy                       1.20 Meeting with E. Simpson, T. Hill, A&M and local
                                                     counsel re: liquidation process of certain foreign
                                                     debtors (.40); review and update declarations
                                                     supporting motion to dismiss (.60); draft letter
                                                     agreement re: certain intercompany payments (.20).
07/28/2023 Benjamin Zonenshayn                  1.60 Research re: turnover motions and settlements.
07/28/2023 Benjamin Zonenshayn                  0.50 Correspondence with F. Weinberg Crocco and
                                                     foreign creditor re: Cayman debtor.
07/28/2023 Jordan Cohen                         2.80 Research re: 9019 settlements. (no charge)
07/29/2023 Craig Jones                          0.30 Correspondence with O. de Vito Piscicelli re: FTX
                                                     data erasure request.
07/29/2023 Samantha Li                          0.20 Correspondence to A. Kranzley and J. Kapoor re:
                                                     FTX Trading.
07/30/2023 Evan Simpson                         0.50 Correspondence with internal team re: legal entity
                                                     jurisdictions for litigation matters.
07/31/2023 Stephen Ehrenberg                    0.30 Revise case management plan and scheduling order
                                                     for FTX EU action.
07/31/2023 Stephen Ehrenberg                    0.20 Correspondence with C. Dunne re: call with counsel
                                                     to defendants in FTX EU action.
07/31/2023 Stephen Ehrenberg                    0.10 Email correspondence with B. Glueckstein and C.
                                                     Dunne re: case management order for FTX EU action.
07/31/2023 Evan Simpson                         1.70 Call with O. de Vito Piscicelli, T. Hill and PWC re:
                                                     historical FTX Europe AG acquisition agreement
                                                     (.40); correspondence with internal team re: corporate
                                                     authorities at foreign debtors (.20); call with E.
                                                     Simpson and A&M re: relevant third party treatment
                                                     (.30); correspondence with FTX management re: cost
                                                     structure at foreign debtors (.30); review potential
                                                     settlement of foreign claim for acquisition (.50).
07/31/2023 Oderisio de Vito Piscicelli          1.60 Call with E. Simpson, T. Hill and PWC re: historical
                                                     FTX Europe AG acquisition agreement (.40); review
                                                     information from A&M re: historical valuation report
                                                     (.30); correspondence with internal team re: GDPR
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                            Project: 00041 - FOREIGN DEBTOR MATTERS

Date        Name                          Hours Description

                                                   issue (.30); review summary re: workstreams (.20);
                                                   attention to correspondence with local counsel re:
                                                   motion to dismiss local entities (.10); review NDA and
                                                   related materials (.30).
07/31/2023 Alexa Kranzley                   1.10 Call with E. Simpson and A&M re: relevant third
                                                 party treatment (.30); correspondence with F.
                                                 Weinberg Crocco and B. Zonenshayn re: third party
                                                 creditor (.50); work on foreign debtor dismissal issues
                                                 (.30).
07/31/2023 Tyler Hill                       1.50 Review agreement re: foreign debtor employment
                                                 matter (.30); call with E. Simpson, O. de Vito
                                                 Piscicelli and PWC re: historical FTX Europe AG
                                                 acquisition agreement (.40); review correspondence
                                                 re: foreign debtor entity dismissal (.80).
07/31/2023 Gabriel Opris                    2.00 Review and amend protocol re: cross-border
                                                 insolvency (1.0); review and amend liquidator
                                                 engagement letter and NDA (.70); call with D.
                                                 Johnston (A&M) re: same (.30).
07/31/2023 Arthur Courroy                   1.80 Work on filing of motion to dismiss case of certain
                                                 foreign debtors (.80); edit and update letter agreement
                                                 re: foreign debtor employment matter (1.0).
07/31/2023 Benjamin Zonenshayn              1.00 Review turnover and settlement motions.
07/31/2023 Jordan Cohen                     1.10 Research re: 9019 motions. (no charge)

Total                                     441.90
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                   Project: 00042 - COORDINATION WITH FOREIGN PROCEEDINGS

Date        Name                         Hours Description

07/18/2023 Andrew Dietderich              0.20 Brief C. Beatty re: FTX Australia via email.
07/18/2023 Brian Glueckstein              0.70 Review FTX Australia pleading (.50); correspondence
                                               with C. Beatty re: same (.20).
07/19/2023 Chris Beatty                   4.00 Review Australian court filings and counsel opinion for
                                               Australian proceedings (3.0); review KM
                                               announcement to creditors (1.0).
07/20/2023 Chris Beatty                   0.60 Call with Clayton Utz team re: KM advice re:
                                               Australian proceedings.
07/21/2023 Hattie Middleditch             2.50 Review Australian administrators note and related
                                               materials (1.5); comment on the same (1.0).
07/22/2023 Hattie Middleditch             0.30 Email correspondence with L. Su re: legal analysis.
07/24/2023 James Simpson                  0.70 Review draft Australian memorandum of law (.40);
                                               call with C. Beatty, E. Simpson, KordaMentha, Piper
                                               Alderman and Clayton Utz re: foreign debtor matter
                                               (.30).
07/24/2023 Hattie Middleditch             0.30 Call with C. Beatty and H. Middleditch re: Australian
                                               administrators' draft memorandum.
07/25/2023 Chris Beatty                   3.50 Call with H. Middleditch re: Australian administrators'
                                               draft memorandum (.30); call with Clayton Utz re:
                                               FTX Australia counsel opinion and advice (1.2);
                                               review FTX Australia counsel opinion and advice and
                                               issues for FTT (2.0).
07/28/2023 Chris Beatty                   2.40 Call with Clayton Utz team re: matters relating to FTX
                                               Australia (0.6); call with KM team re: draft plan of
                                               reorganization term sheet (0.5); review revised plan
                                               term sheet (0.7); call with KM team and counsel re:
                                               Australian proceedings (0.6).
07/28/2023 Hattie Middleditch             0.90 Email correspondence with C. Beatty and S. Maiden
                                               re: Ad Hoc Customer filings and tracing (.40); email
                                               correspondence with C. Beatty and C. Howard re:
                                               Australian administrator's memo (.50).

Total                                    16.10
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

07/01/2023 Benjamin Beller               0.50 Review email from Alix team re: discovery matters
                                              (.20); email correspondence with S&C team re: same
                                              (.30).
07/01/2023 Emma Downing                  2.40 Tag documents re: In re Celsius production.
07/02/2023 Sharon Levin                  0.10 Correspondence with S&C team re: Robinhood.
07/02/2023 Benjamin Beller               2.00 Draft letter re: Genesis lift stay and estimation.
07/02/2023 Andrew Kaufman                0.60 Draft description of document collection efforts re:
                                              Genesis claims.
07/02/2023 Emma Downing                  1.90 Tag documents re: In re Celsius production.
07/03/2023 Brian Glueckstein             0.30 Review BlockFi related documents.
07/03/2023 Benjamin Beller               1.00 Review Voyager mediation statement.
07/03/2023 Benjamin Beller               2.00 Correspondence with A. Kaufman re: Genesis
                                              discovery (.75); correspondence with Alix and S&C
                                              teams re: Genesis Discovery (.50); correspondence
                                              with S&C team re: discovery (.75).
07/03/2023 Emma Downing                  3.90 Tag KYC documents re: In re Tether production
                                              (2.3); draft production letter (.70); correspondence
                                              with K. Baker (A&M) re: Celsius v. Stone subpoena
                                              (.10); review In re Celsius docket (.20); summarize re:
                                              the same (.40); update GDPR tracker (.20).
07/03/2023 Julian Keeley                 4.30 Review documents for responsiveness to Genesis'
                                              RFPs.
07/04/2023 Benjamin Beller               1.80 Email correspondence with S&C and A&M teams re:
                                              Genesis claims (.50); revise Genesis Lift Stay and
                                              Estimation letter (1.3).
07/05/2023 Andrew Dietderich             4.90 Review and revise Genesis letter (1.5); follow up email
                                              correspondence with team re: substantive argument
                                              (.90); review preference information and prepare
                                              settlement note re: UCC advisors brief (1.2); email
                                              correspondence with Cleary team re: settlement
                                              possibilities (.30); review and comment on BlockFi
                                              disclosure statement objection (.40). call with B.
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

                                               Glueckstein re: Genesis strategy issues (.60).
07/05/2023 Stephen Ehrenberg             0.80 Revise document re: In re Celsius Production Letter
                                              Fourth Volume (.20); review email from E. Downing
                                              re: Celsius v. Stone Subpoena (.20); email
                                              correspondence with E. Downing re: In re Celsius
                                              Fourth Production (.30); email correspondence with
                                              E. Downing, T. Millet, A. Newman re: Celsius v.
                                              Stone Subpoena (.10).
07/05/2023 Brian Glueckstein             2.20 Draft and revise letter to court re: Genesis issues (.80);
                                              correspondence with J. Bromley and L. Christensen
                                              (AG) re: experts (.60); review and revise BlockFi
                                              disclosure statement objection and follow-up (.80).
07/05/2023 James Bromley                 0.70 Review and revise BlockFi disclosure statement
                                              objection.
07/05/2023 Benjamin Beller               3.50 Internal correspondence re: BlockFi disclosure
                                              statement objection (1.1); revise Genesis lift stay and
                                              estimation letter (1.3); internal correspondence re:
                                              Genesis discovery (.70); correspondence with Genesis
                                              re: lift stay and estimation hearing (.40).
07/05/2023 Andrew Kaufman                2.50 Draft R&Os re: discovery requests from Genesis
                                              Debtors.
07/05/2023 Andrew Kaufman                0.40 Review relevant search descriptions re: Genesis
                                              document collection.
07/05/2023 Sienna Liu                    3.60 Finalize objection re: BlockFi's disclosure statement
                                              (3.3); review relevant third party's objection to
                                              BlockFi's disclosure statement (.30).
07/05/2023 Emma Downing                  2.40 Review and revise production letter re: In re Celsius
                                              production (1.5); run production re: the same (.60);
                                              internal correspondence re: international privacy law
                                              regime research (.30).
07/05/2023 Julian Keeley                 1.30 Review documents re: responsiveness to Genesis'
                                              RFPs.
07/05/2023 Rachel Pester                 1.10 Prepare letter re: estimation and lift stay.
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Date        Name                        Hours Description
07/05/2023 Adam Toobin                   0.50 Review relevant objections re: BlockFi.
07/05/2023 Austin Reda                   0.30 Update Genesis debt map. (no charge)
07/05/2023 Sophia Chen                   3.90 Serve FTX objection to BlockFi disclosure statement
                                              per S. Liu (.20); draft service email to notice parties
                                              re: same (.40); prepare service mailings re: same (2.5);
                                              review and revise certificate of service re: FTX
                                              objection to BlockFi disclosure statement (.80).
07/06/2023 Andrew Dietderich             2.10 Prepare for hearing (1.1); follow up correspondence
                                              J. Ray (FTX) and S&C team (.30); call with K.
                                              Pasquale (Paul Hastings) re: de-brief and settlement
                                              options (.30); correspondence with UCC re:
                                              settlement math (.40).
07/06/2023 Stephen Ehrenberg             0.30 Email correspondence with K. Baker (A&M), E.
                                              Downing and A. Newman re: Celsius v. Stone Data
                                              Extracts.
07/06/2023 Stephen Ehrenberg             0.80 Meeting with E. Downing, A. Newman and K. Baker
                                              (A&M) re: Celsius litigation (.50); follow-up
                                              correspondence re: same (.30).
07/06/2023 Benjamin Beller               2.10 Call with A. Kaufman and M. Ong re: preference
                                              action workstreams (.50); correspondence with S&C
                                              team re: Genesis responses, objections and discovery
                                              matters (1.6).
07/06/2023 Mevelyn Ong                   0.50 Call with A. Kaufman and B. Beller re: preference
                                              action workstreams.
07/06/2023 Andrew Kaufman                1.00 Revise draft re: R&Os to Genesis document requests.
07/06/2023 Andrew Kaufman                0.50 Call with B. Beller and M. Ong re: preference action
                                              workstreams.
07/06/2023 Sienna Liu                    3.00 Finalize certificate of service for objection to BlockFi's
                                              disclosure statement (.60); meeting with C. Hodges,
                                              R. Pester, J. Keeley, R. Green and A. Reda re:
                                              Genesis estimation and lift stay motion hearing (2.4 -
                                              partial attendance).
07/06/2023 Emma Downing                  0.50 Meeting with S. Ehrenberg, A. Newman and K.
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Date        Name                        Hours Description

                                               Baker (A&M) re: Celsius litigation.
07/06/2023 Christian Hodges              3.00 Meeting with S. Liu, J. Keeley, R. Green and A. Reda
                                              re: Genesis estimation and lift stay motion hearing
                                              (2.6); coordinate hearing access (.40).
07/06/2023 Julian Keeley                 2.60 Meeting with S. Liu, C. Hodges, R. Pester, R. Green
                                              and A. Reda re: Genesis estimation and lift stay motion
                                              hearing.
07/06/2023 Rachel Pester                 2.60 Meeting with S. Liu, C. Hodges, J. Keeley, R. Green
                                              and A. Reda re: Genesis estimation and lift stay motion
                                              hearing.
07/06/2023 Russell Green                 0.80 Meeting with S. Liu, C. Hodges, R. Pester, J. Keeley
                                              and A. Reda re: Genesis estimation and lift stay motion
                                              hearing (partial attendance). (no charge)
07/06/2023 Alexander Newman              0.50 Meeting with S. Ehrenberg, E. Downing and K. Baker
                                              (A&M) re: Celsius litigation.
07/06/2023 Austin Reda                   2.60 Meeting with S. Liu, C. Hodges, R. Pester, J. Keeley
                                              and R. Green re: Genesis estimation and lift stay
                                              motion hearing. (no charge)
07/07/2023 Stephen Ehrenberg             0.30 Call with E. Downing re: In re Celsius subpoena
                                              extracts.
07/07/2023 Benjamin Beller               1.60 Review and revise Voyager mediation statement.
07/07/2023 Andrew Kaufman                2.40 Correspondence with S&C team re: document
                                              production parameters (.40); review documents from
                                              proposed production (2.0).
07/07/2023 Sienna Liu                    2.00 Review and revise Voyager mediation statement (1.6);
                                              review work product for negotiations with relevant
                                              third party (.40).
07/07/2023 Emma Downing                  0.50 Call with S. Ehrenberg re: In re Celsius subpoena
                                              extracts (.30); correspondence with K. Baker (A&M)
                                              re: the same (.20).
07/07/2023 Isaac Foote                   0.10 Correspondence with S. Fulton re: BlockFi document
                                              production.
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Date        Name                        Hours Description
07/08/2023 Sienna Liu                    2.80 Revise legal research work product for Voyager
                                              mediation.
07/09/2023 Andrew Dietderich             0.30 Review and annotate Genesis issues.
07/09/2023 Benjamin Beller               1.30 Review and revise Voyager mediation statement.
07/09/2023 Sienna Liu                    1.60 Revise draft objection to Genesis' disclosure
                                              statement.
07/09/2023 Isaac Foote                   2.90 Review documents re: BlockFi and Emergent
                                              stipulation.
07/10/2023 Andrew Dietderich             0.90 Email correspondence with UCC and J. Ray (FTX)
                                              re: Genesis settlement alternatives (.30); call with J.
                                              Van Lare (Cleary) re: settlement options (.40);
                                              correspondence with J. Ray (FTX) re: same (.20).
07/10/2023 Benjamin Beller               2.10 Call with R. Pester, A. Kaufman, S. Liu, E. Andrews,
                                              J. Keeley and FTI team re: setting up Relativity
                                              database (.30); meeting with Cleary team, M3 team,
                                              Alix team, A. Toobin, S. Liu, M. Ong and A.
                                              Kaufman re: discovery process (.40); email
                                              correspondence with S&C team re: Genesis discovery
                                              (.70); email correspondence with A. Dietderich and B.
                                              Glueckstein re: Genesis claim disputes (.70).
07/10/2023 Mevelyn Ong                   0.90 Review correspondence (.50); meeting with Cleary
                                              team, M3 team, Alix team, R. Pester, B. Beller, A.
                                              Toobin, S. Liu and A. Kaufman re: discovery process
                                              (.40).
07/10/2023 Sean Fulton                   3.80 Call with I. Foote re: BlockFi and Emergent
                                              productions approach (.20) correspondence with B.
                                              Glueckstein re: status of L. Stuart adversary
                                              proceeding (.20); review interrogatories from L. Stuart
                                              adversary proceeding (.40); review filings in Florida
                                              MDL against FTX influencers and other related
                                              parties (3.0).
07/10/2023 Andrew Kaufman                0.40 Meeting with Cleary team, M3 team, Alix team, B.
                                              Beller, A. Toobin, R. Pester, S. Liu and M. Ong re:
                                              discovery process.
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Date        Name                        Hours Description
07/10/2023 Andrew Kaufman                1.20 Draft responses and objections to document requests
                                              from Genesis debtors (.70); review draft cover letter
                                              for production to Genesis entities (.20); call with R.
                                              Pester, B. Beller, S. Liu, E. Andrews, J. Keeley and
                                              FTI team re: setting up Relativity database (.30).
07/10/2023 Eric Andrews                  0.30 Call with R. Pester, B. Beller, A. Kaufman, S. Liu, J.
                                              Keeley and FTI team re: setting up Relativity
                                              database.
07/10/2023 Sienna Liu                    3.90 Meeting with Cleary team, M3 team, Alix team, A.
                                              Toobin, R. Pester, B. Beller, M. Ong and A. Kaufman
                                              re: discovery process (.40); call with B. Beller, A.
                                              Kaufman, S. Liu, E. Andrews, J. Keeley and FTI
                                              team re: setting up Relativity database (.30); review
                                              background materials for Voyager mediation (3.2).
07/10/2023 Isaac Foote                   2.70 Review and summarize documents re: BlockFi and
                                              Emergent stipulation (1.7); call with S. Fulton re:
                                              BlockFi and Emergent productions approach (.20);
                                              follow-up correspondence with S. Fulton re: same
                                              (.80).
07/10/2023 Julian Keeley                 0.30 Call with R. Pester, B. Beller, A. Kaufman, S. Liu, E.
                                              Andrews and FTI team re: setting up Relativity
                                              database.
07/10/2023 Rachel Pester                 0.70 Meeting with Cleary team, M3 team, Alix team, A.
                                              Toobin, S. Liu, B. Beller, M. Ong and A. Kaufman re:
                                              discovery process (.40); call with B. Beller, A.
                                              Kaufman, S. Liu, E. Andrews, J. Keeley and FTI
                                              team re: setting up Relativity database (.30).
07/10/2023 Adam Toobin                   0.50 Meeting with Cleary team, M3 team, Alix team, B.
                                              Beller, R. Pester, A. Toobin, S. Liu, M. Ong and A.
                                              Kaufman re: discovery process.
07/11/2023 Brian Glueckstein             1.10 Review and analyze BlockFi plan filings (.60);
                                              correspondence with A. Kranzley re: UST issues with
                                              relevant third party settlement (.20); follow-up
                                              correspondence re: same (.30).
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Date        Name                        Hours Description
07/11/2023 Benjamin Beller               0.70 Correspondence with S&C team re: Voyager
                                              mediation statement.
07/11/2023 Benjamin Beller               2.90 Review BlockFi motion (1.0); review Genesis
                                              liquidation analysis and related materials (.70); update
                                              Genesis disclosure statement objection (.40);
                                              correspondence with S&C team re: Genesis discovery
                                              productions and review (.80).
07/11/2023 Andrew Kaufman                0.30 Correspondence with M. Ong re: Genesis incoming
                                              production review.
07/11/2023 Sienna Liu                    3.10 Revise draft Genesis disclosure statement objection.
07/11/2023 Sienna Liu                    1.60 Review background materials for Voyager mediation
                                              (.50); revise Voyager mediation statement (.80);
                                              correspondence with S&C team re: Genesis discovery
                                              (.30).
07/11/2023 Emma Downing                  0.80 Review extracts re: In re Celsius subpoena (.70);
                                              coordinate with FTI re: reproducing In re Celsius initial
                                              production (.10).
07/11/2023 Isaac Foote                   0.10 Email correspondence with S. Fulton re: documents to
                                              be produced to BlockFi and Emergent under
                                              stipulation.
07/11/2023 Tatum Millet                  1.20 Draft production letter for In re Celsius (.80);
                                              correspondence with E. Downing re: same (.20);
                                              review subpoena re: same (.20).
07/12/2023 Stephen Ehrenberg             0.10 Review correspondence from K. Baker (A&M) re:
                                              Celsius v. Stone Subpoena data for response.
07/12/2023 Benjamin Beller               2.00 Revise Genesis disclosure statement objection (.50);
                                              review correspondence with Cleary team re:
                                              settlement (.30); correspondence with S&C team re:
                                              Genesis discovery (.60); correspondence with S&C
                                              team re: Genesis strategy (.60).
07/12/2023 Sean Fulton                   3.30 Correspondence with I. Foote re: review of Emergent
                                              and BlockFi documents (.20); review research on
                                              FTX-related claims consolidated in MDL in Florida
                                              (2.6); revise correspondence to B. Glueckstein re:
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Date        Name                        Hours Description

                                               research on FTX-related claims consolidated in MDL
                                               in Florida (.50).
07/12/2023 Andrew Kaufman                0.90 Review proposed private data redactions for
                                              productions to Genesis debtors.
07/12/2023 Andrew Kaufman                0.10 Correspondence with M. Ong re: review project.
07/12/2023 Eric Andrews                  1.10 Review draft Voyager mediation statement.
07/12/2023 Sienna Liu                    1.70 Review research on collateral perfection (.20); revise
                                              Voyager mediation statement (1.4); review letter sent
                                              by Genesis re: discovery (.10).
07/12/2023 Emma Downing                  1.70 Review extracts for In re Celsius production (.80);
                                              coordinate production with FTI (.20); coordinate
                                              re-production with FTI (.20); revise production letter
                                              (.50).
07/12/2023 Isaac Foote                   3.70 Review documents re: BlockFi and Emergent
                                              stipulation.
07/13/2023 Andrew Dietderich             2.50 Call with J. VanLare (Cleary), K. Pasquale (Paul
                                              Hastings), J. Ray (FTX) and B. Glueckstein re:
                                              Genesis claims and potential resolution structures.
07/13/2023 Brian Glueckstein             2.70 Draft response to Genesis discovery and information
                                              requests (.40); call with J. VanLare (Cleary), K.
                                              Pasquale (Paul Hastings), J. Ray (FTX) and B. Beller
                                              re: Genesis claims and potential resolution structures
                                              (1.1 - partial attendance); attend BlockFi hearing
                                              (.30); review and analyze documents re: Genesis
                                              arguments (.40); respond to UST issues re: Pateno
                                              settlement and follow-up (.50).
07/13/2023 Benjamin Beller               0.90 Review Voyager mediation statement.
07/13/2023 Benjamin Beller               1.50 Correspondence with S&C team re: Genesis
                                              discovery (.50); call with J. VanLare (Cleary), K.
                                              Pasquale (Paul Hastings), J. Ray (FTX), B. Beller and
                                              B. Glueckstein re: Genesis claims and potential
                                              resolution structures (1.0 - partial attendance).
07/13/2023 Sean Fulton                   1.50 Review corporate documents re: Emergent in re to
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Date        Name                        Hours Description

                                               BlockFi stipulation.
07/13/2023 Eric Andrews                  2.20 Revise draft Voyager mediation statement.
07/13/2023 Sienna Liu                    0.70 Attend Genesis mediation hearing.
07/13/2023 Sienna Liu                    0.80 Revise Voyager mediation statement (.50);
                                              correspondence with S&C team re: Genesis discovery
                                              (.30).
07/13/2023 Emma Downing                  0.50 Tag document for In re Celsius subpoena.
07/13/2023 Isaac Foote                   0.70 Review comments by S. Fulton of documents re:
                                              Emergent and BlockFi stipulation (.30); draft response
                                              re: the same (.40).
07/13/2023 Rachel Pester                 0.70 Attend meeting re: Genesis Mediation update.
07/13/2023 Adam Toobin                   0.50 Prepare for BlockFi hearing.
07/14/2023 Stephen Ehrenberg             0.80 Revise letter re: In re Celsius production (.60); email
                                              correspondence with E. Downing re: same (.20).
07/14/2023 Benjamin Beller               0.70 Review Voyager mediation statement.
07/14/2023 Benjamin Beller               4.20 Correspondence with S&C team re: Genesis (.50);
                                              correspondence with A. Dietderich and B.
                                              Glueckstein re: same (.50); draft Genesis discovery
                                              letter (.90); review BlockFi UCC report (1.0);
                                              prepare materials for Genesis claims disputes (1.3).
07/14/2023 Sean Fulton                   0.60 Review documents re: BlockFi stipulation (.40); email
                                              correspondence with B. Glueckstein re: the same
                                              (.20).
07/14/2023 Andrew Kaufman                0.20 Review draft cover letter re: production to Genesis
                                              debtors.
07/14/2023 Eric Andrews                  0.20 Coordinate summaries of BlockFi, Genesis and
                                              Voyager disputes for presentation.
07/14/2023 Sienna Liu                    0.20 Prepare ancillary materials for objection to Genesis
                                              disclosure statement.
07/14/2023 Isaac Foote                   0.60 Email correspondence with S. Fulton re: documents
                                              relevant to third party exchanges' stipulation.
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Date        Name                        Hours Description
07/14/2023 Tatum Millet                  0.70 Email correspondence with S. Ehrenberg and E.
                                              Downing re: Celsius production letter (.20); draft email
                                              to K. Baker (A&M) with question on characterizing
                                              data re: same (.30); edit production letter re: same
                                              (.20).
07/15/2023 Benjamin Beller               2.20 Review Voyager mediation statement.
07/16/2023 Brian Glueckstein             1.90 Correspondence with S&C team re: Genesis
                                              discovery issues (.40); revise letter to Genesis counsel
                                              and follow-up re: strategy (.80); review and comment
                                              on Voyager mediation statement outline (.70).
07/16/2023 Benjamin Beller               1.10 Prepare Genesis claims estimation materials (.60);
                                              review and revise Genesis discovery letter (.50).
07/16/2023 Benjamin Beller               2.20 Review and revise Voyager mediation statement.
07/17/2023 Andrew Dietderich             1.30 Correspondence with Genesis debtors (1.2);
                                              correspondence with Emergent and B. Glueckstein
                                              (.10).
07/17/2023 Stephen Ehrenberg             1.20 Email correspondence with E. Downing re: Celsius
                                              data production (.10); call with E. Downing re: Celsius
                                              data extracts (.10); review email from A. Toobin re:
                                              FTX claims and Estimation Meet and Confer (.20);
                                              call with Cleary team, B. Beller, S. Liu, J. Keeley, R.
                                              Pester and A. Toobin re: Genesis estimation motion
                                              discovery requests (.80).
07/17/2023 Benjamin Beller               2.20 Call with Cleary team, M. Ong, A. Kaufman, S. Liu,
                                              J. Keeley and A. Toobin re: Genesis estimation motion
                                              (.50); call with Cleary team, S. Ehrenberg, S. Liu, J.
                                              Keeley, R. Pester and A. Toobin re: Genesis
                                              estimation motion discovery requests (.80);
                                              correspondence re: Genesis claims materials and
                                              settlement matters (.90).
07/17/2023 Benjamin Beller               2.50 Review and revise Voyager mediation statement.
07/17/2023 Mevelyn Ong                   1.30 Call with Cleary team, B. Beller, A. Kaufman, S. Liu,
                                              J. Keeley and A. Toobin re: Genesis estimation motion
                                              (.50); internal correspondence re: Genesis document
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Date        Name                        Hours Description

                                               review workstream (.80).
07/17/2023 Andrew Kaufman                0.40 Call with Cleary team, B. Beller, M. Ong, S. Liu, J.
                                              Keeley and A. Toobin re: Genesis estimation motion
                                              (.40 - partial attendance).
07/17/2023 Eric Andrews                  2.20 Review 547 preferences memo (.40); review and
                                              revise Voyager mediation statement based on
                                              comments from B. Beller (1.8).
07/17/2023 Sienna Liu                    3.60 Review and revise Voyager mediation statement
                                              based on comments from B. Beller (3.4); internal
                                              correspondence re: review of Genesis production
                                              (.20).
07/17/2023 Sienna Liu                    1.30 Call with Cleary team, B. Beller, M. Ong, A.
                                              Kaufman, J. Keeley and A. Toobin re: Genesis
                                              estimation motion (.50); call with Cleary team, S.
                                              Ehrenberg, B. Beller, J. Keeley, R. Pester and A.
                                              Toobin re: Genesis estimation motion discovery
                                              requests (.80).
07/17/2023 Emma Downing                  1.40 Correspondence with S. Ehrenberg re: In re Celsius
                                              production (.10); call with K. Baker (A&M) re: the
                                              same (.20); run production (.40); draft production
                                              letter (.60); call with S. Ehrenberg re: Celsius data
                                              extracts (.10)
07/17/2023 Isaac Foote                   1.40 Review and collect documents responsive to
                                              BlockFi/Emergent stipulation.
07/17/2023 Julian Keeley                 0.50 Call with Cleary team, B. Beller, M. Ong, A.
                                              Kaufman, S. Liu and A. Toobin re: Genesis estimation
                                              motion.
07/17/2023 Julian Keeley                 0.80 Call with Cleary team, S. Ehrenberg, B. Beller, S. Liu,
                                              R. Pester and A. Toobin re: Genesis estimation motion
                                              discovery requests.
07/17/2023 Rachel Pester                 0.80 Call with Cleary team, S. Ehrenberg, B. Beller, S. Liu,
                                              J. Keeley and A. Toobin re: Genesis estimation motion
                                              discovery requests.
07/17/2023 Adam Toobin                   1.30 Call with Cleary team, B. Beller, M. Ong, A.
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Date        Name                        Hours Description

                                               Kaufman, S. Liu and J. Keeley re: Genesis estimation
                                               motion (.50); call with Cleary team, S. Ehrenberg, B.
                                               Beller, S. Liu, J. Keeley and R. Pester re: Genesis
                                               estimation motion discovery requests (.80).
07/18/2023 Andrew Dietderich             3.20 Draft various Genesis settlement alternatives (.60);
                                              email correspondences with S&C team re: the same
                                              (.70); email correspondence with K. Pasquale (Paul
                                              Hastings) re: the same (.20) call with J. Vanlare
                                              (Cleary) re: background on settlement discussions
                                              (.30); review and comment on Voyager mediation
                                              statement (1.4).
07/18/2023 Brian Glueckstein             3.70 Review and revise Genesis disclosure statement
                                              objection (1.3); review order from Third Circuit and
                                              develop follow-up strategy (.60); review Emergent
                                              documents for production (.40); call with S. Fulton re:
                                              Emergent production and related matters (.40); call
                                              with S. Fulton and A. Landis (Landis) re: Stewart
                                              pleadings (.50); review redaction appeal record
                                              submission (.20); draft response to Genesis re:
                                              litigation issues (.30).
07/18/2023 Benjamin Beller               0.90 Review and revise Voyager mediation statement.
07/18/2023 Benjamin Beller               0.70 Review Genesis settlement emails and coordinate re:
                                              related materials
07/18/2023 Mevelyn Ong                   3.50 Internal correspondence re: Genesis document review
                                              workstream (1.2); review draft Voyager mediation
                                              statement (2.3).
07/18/2023 Sean Fulton                   4.10 Call with B. Glueckstein re: Emergent production and
                                              related matters (.40); email correspondence with B.
                                              Harsch re: bank statements re: acquisition of
                                              Robinhood shares (.20); correspondence with I.
                                              Foote re: production of documents re: BlockFi
                                              stipulation (.30); call with B. Glueckstein and A.
                                              Landis (Landis) re: Stewart pleadings (.50); email
                                              correspondence with E. Shehada re: response to
                                              Stuart discovery requests (.10); call with I. Foote re:
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Date        Name                        Hours Description

                                               BlockFi production pursuant to the joint stipulation
                                               (.10); draft letter to L. Stuart re: discovery requests in
                                               adversary proceeding (2.5).
07/18/2023 Aaron Levine                  0.30 Review re: Embed liquidation process.
07/18/2023 Zoeth Flegenheimer            0.60 Correspondence with S. Fulton re: tracing of funds re:
                                              purchase of Robinhood shares (.30); correspondence
                                              with Alix re: tracing of funds in connection with
                                              purchase of Robinhood shares (.30).
07/18/2023 Eric Andrews                  1.10 Review and revise Voyager mediation statement (.60);
                                              coordinate edits to Voyager mediation statement
                                              (.50).
07/18/2023 Sienna Liu                    0.80 Review and revise Voyager mediation statement (.50);
                                              email correspondence with Alix team re: exhibits for
                                              Voyager mediation statement (.30).
07/18/2023 Emma Downing                  1.80 Tag documents re: In re Celsius production (1.2);
                                              draft production letter (.60).
07/18/2023 Isaac Foote                   5.20 Review and finalize documents responsive to
                                              BlockFi/Emergent stipulation (3.0); implement
                                              comments from S. Fulton and B. Glueckstein to
                                              volume (2.1); call with S. Fulton re: BlockFi
                                              production pursuant to the joint stipulation (.10).
07/19/2023 Andrew Dietderich             2.80 Draft Genesis settlement alternatives (.80); email
                                              exchanges with J. Vanlare (Cleary) and Cleary team
                                              re: settlement (1.0); call with B. Glueckstein re:
                                              Genesis settlement offer (.10); review potential
                                              Genesis disclosure statement objection (.20); review
                                              raw data re: Genesis transfers, loan and exchange
                                              (.40); meeting with B. Glueckstein re: Genesis strategy
                                              issues (.30).
07/19/2023 Stephen Ehrenberg             0.30 Revise letter to D. Chapman re: In re Celsius
                                              Production (.20); email correspondence with E.
                                              Downing and T. Millet re: the same (.10).
07/19/2023 Brian Glueckstein             2.30 Meeting with A. Dietderich re: Genesis strategy issues
                                              (.30); meeting with B. Beller re: Genesis responses
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Date        Name                         Hours Description

                                                and strategy issues (.50); call with A. Dietderich re:
                                                Genesis settlement offer (.10); correspondence re:
                                                Genesis settlement issues (1.1); correspondence re:
                                                Emergent litigation issues (.30).
07/19/2023 Benjamin Beller                1.30 Review and revise Voyager mediation statement (.70);
                                               email correspondence re: research re: Voyager claims
                                               (.60).
07/19/2023 Benjamin Beller                0.80 Meeting with B. Glueckstein re: Genesis responses
                                               and strategy issues (.50); email correspondence re: the
                                               same (.30).
07/19/2023 Sean Fulton                    3.50 Review documents for production re: BlockFi
                                               stipulation (2.2); revise draft letter to L. Stuart re:
                                               adversary proceeding discovery (1.3).
07/19/2023 Isaac Foote                    3.90 Review documents responsive to BlockFi/Emergent
                                               stipulations (2.5); email correspondences with EDLS
                                               and FTI re: production of documents to BlockFi (.40);
                                               draft letter for production of documents to BlockFi
                                               (1.0).
07/19/2023 Julian Keeley                  0.30 Review and revise Voyager mediation statement.
07/19/2023 Esther Loh                     0.10 Respond to I. Foote re: exhibit list for BlockFi
                                               litigation.
07/19/2023 Nam Luu                        0.10 Correspondence with I. Foote re: BlockFi document
                                               requests.
07/19/2023 Tatum Millet                   0.40 Review and edit production letter re: In re Celsius
                                               (.30); communication with E. Downing re: the same
                                               (.10).
07/20/2023 Andrew Dietderich              3.40 Prepare and correspond with B. Glueckstein and B.
                                               Beller re: Genesis (1.3); call and correspond with J.
                                               Vanlare (Cleary) re: settlement of mutual claims (1.1);
                                               correspondence with K. Pasquale (Paul Hastings) re:
                                               the same (.70); comment on Voyager mediation
                                               statement re: preference case law (.30).
07/20/2023 Benjamin Beller                1.30 Call with A. Kaufman, J. Keeley, R. Pester and H.
                                               Schlossberg re: contents of Genesis production (.50);
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Date        Name                        Hours Description

                                               review Genesis discovery materials (.80).
07/20/2023 Sean Fulton                   4.50 Revise draft production letter re: BlockFi stipulation
                                              (1.0); revise draft letter to L. Stuart re: adversary
                                              proceeding (1.9); call with I. Foote re: production
                                              process for documents responsive to BlockFi joint
                                              stipulation (.10); review production file re: BlockFi
                                              stipulation (.50); send production and cover letter via
                                              electronic file transfer (1.0).
07/20/2023 Andrew Kaufman                0.20 Call with B. Beller, J. Keeley, R. Pester and H.
                                              Schlossberg re: contents of Genesis production (partial
                                              attendance).
07/20/2023 Sienna Liu                    0.20 Review Genesis objection to 3AC claims.
07/20/2023 Isaac Foote                   1.30 Draft letter re: production of documents to BlockFi
                                              (1.2); call with S. Fulton re: production process for
                                              documents responsive to BlockFi joint stipulation
                                              (.10).
07/20/2023 Julian Keeley                 0.50 Call with B. Beller, A. Kaufman, R. Pester and H.
                                              Schlossberg re: contents of Genesis production.
07/20/2023 Rachel Pester                 1.00 Call with B. Beller, A. Kaufman, J. Keeley and H.
                                              Schlossberg re: contents of Genesis production (.50);
                                              follow-up correspondence re: the same (.50).
07/20/2023 Harrison Schlossberg          0.50 Call with B. Beller, A. Kaufman, J. Keeley and R.
                                              Pester re: contents of Genesis production.
07/21/2023 Brian Glueckstein             2.20 Draft and revise Voyager mediation statement (1.6);
                                              correspondence with B. Beller re: the same (.20);
                                              review and follow-up correspondence re: Genesis
                                              resolution issues (.40).
07/21/2023 Benjamin Beller               3.70 Review and revise Voyager mediation statement.
07/21/2023 Benjamin Beller               1.30 Review Genesis discovery matters (.60); email
                                              correspondences re: Genesis claims litigation and
                                              preparation of related materials (.70).
07/21/2023 Sean Fulton                   1.60 Review letter and documents from M. Ziegler
                                              (Morgan Lewis) re: BlockFi stipulation (.40); retrieve
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Date        Name                        Hours Description

                                               and process documents produced by Emergent (.60);
                                               retrieve documents produced by BlockFi and send to
                                               EDLS for processing (.60).
07/21/2023 Eric Andrews                  1.80 Review UCC's draft mediation statement for Voyager
                                              (.30); revise Voyager mediation statement (1.5).
07/21/2023 Sienna Liu                    0.90 Review Genesis objection to 3AC claims.
07/21/2023 Sienna Liu                    3.40 Review draft Voyager mediation statement by the
                                              UCC (.30); revise Voyager mediation statement (3.1).
07/21/2023 Emma Downing                  1.00 Review In re Celsius production (.60); revise
                                              production letter (.10); run In re Celsius production
                                              (.30).
07/21/2023 Adam Toobin                   0.10 Review notes from Genesis motion against 3AC.
07/22/2023 Andrew Dietderich             0.30 Email correspondence with Cleary and S&C teams re:
                                              settlement discussions.
07/22/2023 Benjamin Beller               1.30 Draft Genesis letter to court re: lift stay and estimation.
07/22/2023 Sienna Liu                    1.40 Coordinate preparation of supplemental materials for
                                              Voyager mediation statement.
07/23/2023 Andrew Dietderich             1.70 Prepare for negotiations with Genesis (1.3); follow up
                                              correspondence with UCC and S&C team re: the
                                              same (.40).
07/23/2023 Benjamin Beller               2.00 Call with S&C, Paul Hastings, Cleary teams re:
                                              Genesis claims litigation (1.1); draft Genesis letter to
                                              court (.60); email correspondences re: Genesis
                                              settlement (.30).
07/24/2023 Andrew Dietderich             0.90 Call with J. VanLare (Cleary) re: settlement (.50); call
                                              with K. Pasquale (Paul Hastings) re: the same (.40).
07/24/2023 Benjamin Beller               2.70 Call with FTI, M. Ong, A. Kaufman, R. Pester and J.
                                              Keeley re: Genesis search terms (.20); call with S. Liu,
                                              M. Ong, A. Kaufman, R. Pester and J. Keeley re:
                                              deficiencies in Genesis document production (.40);
                                              review and revise Genesis letter to court (1.70);
                                              review Genesis discovery (.40).
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07/24/2023 Benjamin Beller               0.60 Follow up correspondence re: Voyager mediation
                                              materials.
07/24/2023 Mevelyn Ong                   0.60 Call with B. Beller, S. Liu, A. Kaufman, R. Pester and
                                              J. Keeley re: deficiencies in Genesis document
                                              production (.40); call with FTI, B. Beller, A.
                                              Kaufman, R. Pester and J. Keeley re: Genesis search
                                              terms (.20).
07/24/2023 Andrew Kaufman                0.20 Call with FTI, B. Beller, M. Ong, R. Pester and J.
                                              Keeley re: Genesis search terms.
07/24/2023 Andrew Kaufman                0.40 Call with B. Beller, S. Liu, M. Ong R. Pester and J.
                                              Keeley re: deficiencies in Genesis document
                                              production.
07/24/2023 Eric Andrews                  0.50 Review initial mediation statement from Voyager.
07/24/2023 Sienna Liu                    0.40 Call with B. Beller, M. Ong, A. Kaufman, R. Pester
                                              and J. Keeley re: deficiencies in Genesis document
                                              production.
07/24/2023 Emma Downing                  0.10 Revise production letter re: In re Celsius production.
07/24/2023 Isaac Foote                   0.40 Review documents shared by Emergent pursuant to
                                              BlockFi/Emergent stipulation.
07/24/2023 Julian Keeley                 0.20 Call with FTI, B. Beller, M. Ong, A. Kaufman and R.
                                              Pester re: Genesis search terms.
07/24/2023 Julian Keeley                 0.40 Call with B. Beller, S. Liu, M. Ong, A. Kaufman and
                                              R. Pester re: deficiencies in Genesis document
                                              production.
07/24/2023 Rachel Pester                 5.90 Call with B. Beller, S. Liu, M. Ong, A. Kaufman and
                                              J. Keeley re: deficiencies in Genesis document
                                              production (.40); draft deficiency in Genesis document
                                              production letter (3.0); call with FTI, B. Beller, M.
                                              Ong, A. Kaufman and J. Keeley re: Genesis search
                                              terms (.20); research re: probabilistic reserves (2.3).
07/24/2023 Adam Toobin                   0.20 Review Voyager submission (.10); organize binders
                                              (.10).
07/25/2023 Andrew Dietderich             1.10 Correspondence with Judge Lane and K. Pasquale
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Date        Name                        Hours Description

                                               (Paul Hastings) re: settlement (.40); call with B.
                                               Glueckstein and B. Beller re: letter to Judge Lane and
                                               substance of response (.70).
07/25/2023 Brian Glueckstein             1.10 Call with A. Dietderich and B. Beller re: letter to
                                              Judge Lane and substance of response (.70);
                                              follow-up correspondence re: the same (.40).
07/25/2023 Benjamin Beller               2.30 Call with B. Glueckstein and A. Dietderich re: letter to
                                              Judge Lane and substance of response (.70); update
                                              letter to Genesis court (1.6).
07/25/2023 Emma Downing                  0.40 Run In re Celsius production.
07/25/2023 Isaac Foote                   2.40 Review documents shared by Emergent and BlockFi
                                              pursuant to BlockFi/Emergent stipulation (1.5);
                                              summarize initial documents reviewed and share with
                                              S. Fulton (.90).
07/26/2023 Andrew Dietderich             0.80 Review B. Beller redraft of letter to Judge Lane (.20);
                                              call with K. Pasquale (Paul Hastings) re: settlement
                                              (.20); email with J. VanLare (Cleary) re: the same
                                              (.20); correspondence with B. Beller re: updates
                                              (.10); correspondence with B. Beller re: Voyager
                                              mediation statement (.10).
07/26/2023 Brian Glueckstein             0.60 Review BlockFi disclosure statement and plan
                                              scheduling filings and consider response.
07/26/2023 Benjamin Beller               1.70 Call with M. Ong and A. Kaufman re: Genesis motion
                                              (.30); update Court letter (1.0); email
                                              correspondences re: Genesis settlement (.40).
07/26/2023 Mevelyn Ong                   1.30 Call with B. Beller and A. Kaufman re: Genesis
                                              motion (.30); review motion documents re: the same
                                              (1.0).
07/26/2023 Andrew Kaufman                0.30 Call with B. Beller and M. Ong re: Genesis motion.
07/26/2023 Sienna Liu                    1.10 Review letter for submission in Genesis cases.
07/26/2023 Rachel Pester                 1.40 Edit letter to Judge Lane re: estimation scope.
07/26/2023 Adam Toobin                   4.00 Draft Genesis issues list re: Delaware litigation (2.5);
                                              draft Genesis issues list re: New York litigation (1.5).
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Date        Name                        Hours Description

07/27/2023 Benjamin Beller               2.00 Review and revise Genesis joint letter to Court (1.5);
                                              call with Alix and A&M teams re: BlockFi (.50).
07/27/2023 Benjamin Beller               0.90 Research re: Voyager mediation statement.
07/27/2023 Andrew Kaufman                0.40 Email correspondence with S&C team re: regulatory
                                              statements re: crypto regulation.
07/27/2023 Andrew Kaufman                0.30 Email correspondence with J. Keeley re: Genesis
                                              stipulation motion.
07/27/2023 Julian Keeley                 0.40 Research re: crypto regulation.
07/27/2023 Rachel Pester                 1.60 Research re: Voyager mediation statement.
07/27/2023 Adam Toobin                   2.20 Review notes from R. Pester re: Voyager connected
                                              cases (.40); draft outline for response to Voyager
                                              (1.8).
07/28/2023 Benjamin Beller               1.20 Correspondence with S&C team re: Genesis claim
                                              resolution.
07/28/2023 Benjamin Beller               0.60 Review and revise Voyager mediation statement
07/28/2023 Eric Andrews                  8.70 Review Voyager's initial mediation statement (2.7);
                                              review Voyager Customer Agreement (1.2); review
                                              Voyager auction bidding procedures (.70); review
                                              Voyager's response to FTX's July offer (.40);
                                              research law re: contract issues (.60); revise draft
                                              outline of response to Voyager (3.1).
07/28/2023 Sienna Liu                    1.60 Draft outline re: Voyager response statement.
07/28/2023 Rachel Pester                 0.50 Research re: Voyager mediation statement.
07/28/2023 Adam Toobin                   1.00 Update outline of Voyager response (.70);
                                              correspondence re: Voyager reply outline (.30).
07/29/2023 Eric Andrews                  0.70 Revise outline re: Voyager mediation response.
07/30/2023 Eric Andrews                  0.40 Revise proposed outline for responsive mediation
                                              statement for Voyager mediation.
07/31/2023 Brian Glueckstein             1.30 Review BlockFi plan and disclosure statement filings
                                              and response (.90); follow-up correspondence re:
                                              BlockFi strategy issues (.40).
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Date        Name                        Hours Description
07/31/2023 Benjamin Beller                2.30 Review and revise Genesis settlement agreement
                                               (1.4); review analysis of BlockFi claims (.90).
07/31/2023 Eric Andrews                   3.00 Review comments on outline re: reply to Voyager's
                                               initial mediation statement (.30); review analysis of
                                               Voyager term sheets (.50); review Voyager term
                                               sheets and invoices (1.4); review BlockFi third
                                               amended disclosure statement and plan (.60); review
                                               analysis of BlockFi third amended disclosure
                                               statement and plan (.20).
07/31/2023 Sienna Liu                     1.00 Review amended BlockFi disclosure statement and
                                               plan.

Total                                   324.10
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Date        Name                             Hours Description

07/03/2023 Stephanie Wheeler                   0.30 Correspondence with J. Ray (FTX) re: future interim
                                                    investigation reports to the FTX Board.
07/03/2023 Nicole Friedlander                  0.10 Correspondence with J. Ray (FTX) re: future interim
                                                    investigation reports.
07/05/2023 Stephanie Wheeler                   0.80 Review original outline for interim investigation report
                                                    and cross reference with final interim investigation
                                                    report.
07/05/2023 Christopher Dunne                   0.60 Review materials for the future interim investigation
                                                    report.
07/05/2023 Jacob Croke                         0.40 Analyze issues re: second interim investigation report
                                                    and address QE questions.
07/05/2023 Meaghan Kerin                       0.10 Correspondence with S. Fulton, D. O’Hara and P.
                                                    Lavin re: second interim investigation report findings.
07/06/2023 Stephanie Wheeler                   0.90 Meeting with QE re: third interim investigation report
                                                    (.50); meeting with C. Dunne and J. Croke re: same
                                                    (.40).
07/06/2023 Christopher Dunne                   1.10 Meeting with QE re: third interim investigation report
                                                    (.70); meeting with J. Croke and S. Wheeler re: same
                                                    (.40).
07/06/2023 Jacob Croke                         0.90 Meeting with S. Wheeler and C. Dunne re: third
                                                    interim investigation report (.40); analyze issues re:
                                                    third interim investigation report and QE questions
                                                    (.50).
07/06/2023 Nicole Friedlander                  0.20 Correspondence with S. Wheeler re: second interim
                                                    investigation report question.
07/07/2023 Brian Glueckstein                   0.10 Correspondence to S. Ehrenberg re: future interim
                                                    investigation report.
07/07/2023 Christopher Dunne                   0.70 Correspondence with S&C team re: gathering
                                                    information for third interim investigation report.
07/07/2023 Jacob Croke                         0.80 Analyze issues in second interim investigation report
                                                    (.30); correspondence with S. Wheeler and QE re:
                                                    same (.50).
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Date        Name                             Hours Description
07/07/2023 Michele Materni                     1.80 Call with A. Mazumdar re: third interim investigation
                                                    report fact sheet (.10); research for third interim
                                                    investigation report (.70); call with E. Downing re:
                                                    section of third interim investigation report (.10);
                                                    review outline of same (.90).
07/07/2023 Mark Bennett                        0.70 Draft summary of active litigation for inclusion in third
                                                    interim investigation report.
07/07/2023 Zoeth Flegenheimer                  0.20 Review outline for third interim investigation report.
07/07/2023 Daniel O'Hara                       0.40 Review outline for second interim investigation report.
07/07/2023 Emma Downing                        0.10 Call with M. Materni re: third interim investigation
                                                    report section.
07/07/2023 Keila Mayberry                      1.90 Draft analysis of venture investment relevant to third
                                                    interim investigation report.
07/07/2023 Aneesa Mazumdar                     4.80 Call with M. Materni re: third interim investigation
                                                    report fact sheet (.10); draft summary of section for
                                                    third interim investigation report (2.1); draft summary
                                                    of non-US subsidiary transaction (2.6).
07/08/2023 Michele Materni                     0.30 Review documents in connection with third interim
                                                    investigation report.
07/08/2023 Jason Gallant                       1.60 Compile summaries for third interim investigation
                                                    report (1.4); correspondence to E. Downing re:
                                                    compilation of documents for upcoming report (.20).
07/08/2023 Emma Downing                        1.40 Draft summary of litigation for third interim
                                                    investigation report.
07/09/2023 Stephanie Wheeler                   0.10 Correspondence with C. Dunne re: third interim
                                                    investigation report.
07/09/2023 Michele Materni                     3.90 Revise draft summary of venture investments for third
                                                    interim investigation report.
07/09/2023 Jason Gallant                       1.80 Compile and revise summaries for third interim
                                                    investigation report.
07/10/2023 Stephanie Wheeler                   0.90 Correspondence with B. Glueckstein re: future interim
                                                    investigation reports (.20); correspondence with N.
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                                                     Friedlander, C. Dunne and J. Croke re: same (.20);
                                                     revise inserts for third interim investigation report
                                                     (.50).
07/10/2023 Nicole Friedlander                  0.20 Correspondence with S. Wheeler re: third interim
                                                    investigation report.
07/10/2023 James McDonald                      0.60 Calls with QE and review of materials re: investigation
                                                    and third interim investigation report.
07/10/2023 Michele Materni                     1.00 Call with N. Hills re: third interim investigation report
                                                    (.10); revise draft summary for third interim
                                                    investigation report (.90).
07/10/2023 Natalie Hills                       0.10 Call with M. Materni re: third interim investigation
                                                    report.
07/10/2023 Tatum Millet                        0.30 Correspondence to P. Lavin re: research re: second
                                                    interim investigation report (.10); review second
                                                    interim investigation report (.20).
07/11/2023 Stephanie Wheeler                   0.30 Correspondence with C. Dunne and M. Materni re:
                                                    third interim investigation report inserts (.10); revise
                                                    insert for same (.10); correspondence with QE re:
                                                    outline for fourth interim investigation report (.10).
07/11/2023 Christopher Dunne                   0.20 Review third interim investigation report outline and
                                                    components.
07/11/2023 Jacob Croke                         0.50 Correspondence with M. Materni re: third interim
                                                    investigation report (.20); review outline of third
                                                    interim investigation report (.30).
07/11/2023 Michele Materni                     0.60 Revise summary for third interim investigation report.
07/11/2023 Keila Mayberry                      0.40 Revise analysis of venture investment for third interim
                                                    investigation report.
07/12/2023 Stephanie Wheeler                   4.30 Review and revise outline of fourth interim
                                                    investigation report (.80); call with J. Croke re: outline
                                                    for fourth interim investigation report (.20);
                                                    correspondence with S. Ehrenberg re: outline for
                                                    fourth interim investigation report (.10);
                                                    correspondence with E. Simpson re: outline for fourth
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Date        Name                            Hours Description

                                                    interim investigation report (.20); correspondence with
                                                    A. Dietderich re: outline for fourth interim investigation
                                                    report (.10); correspondence with QE team re: third
                                                    interim investigation report (.50); call with T. Millet re:
                                                    sending information to QE for third interim
                                                    investigation report (.20); correspondence with E.
                                                    Simpson and J. Rosenfeld re: examples for next
                                                    interim investigation report (.10); call with C. Dunne
                                                    re: outline for third interim investigation report (.20);
                                                    call with QE team and C. Dunne re: third interim
                                                    investigation report (.60); correspondence with E.
                                                    Downing and K. Mayberry re: documents for third
                                                    interim investigation report (.30); identify information
                                                    and documents for third interim investigation report
                                                    (1.0).
07/12/2023 Steven Peikin                      0.40 Review third interim investigation report outline.
07/12/2023 Christopher Dunne                  1.70 Review draft outlines and materials for future interim
                                                   investigation reports (.90); call with S. Wheeler re:
                                                   outline for third interim investigation report (.20); call
                                                   with QE team and S. Wheeler re: third interim
                                                   investigation report (.60).
07/12/2023 Jacob Croke                        0.50 Analyze issues re: forthcoming interim investigation
                                                   report (.30); call with S. Wheeler re: outline for fourth
                                                   interim investigation report (.20).
07/12/2023 Daniel O'Hara                      0.30 Review documents for third interim investigation report
                                                   draft outline.
07/12/2023 Emma Downing                       0.50 Review documents re: draft third interim investigation
                                                   report.
07/12/2023 Tatum Millet                       0.40 Call with S. Wheeler re: sending information to QE for
                                                   third interim investigation report (.20); correspondence
                                                   with QE re: information re: third interim investigation
                                                   report (.20).
07/13/2023 Stephanie Wheeler                  0.90 Call with QE, C. Dunne and J. Croke re: fourth
                                                   interim investigation report (.60); call with J. Croke
                                                   and C. Dunne re: fourth interim investigation report
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Date        Name                             Hours Description

                                                     (.30).
07/13/2023 Christopher Dunne                   1.00 Call with QE, S. Wheeler and J. Croke re: fourth
                                                    interim investigation report (.60); call with S. Wheeler
                                                    and J. Croke re: fourth interim investigation report
                                                    (.40).
07/13/2023 Jacob Croke                         1.00 Call with QE, S. Wheeler and C. Dunne re: fourth
                                                    interim investigation report (.60); call with S. Wheeler
                                                    and C. Dunne re: fourth interim investigation report
                                                    (.40).
07/13/2023 Nicole Friedlander                  0.80 Correspondence with A. Dietderich, B. Glueckstein
                                                    and J. Ray (FTX) re: third interim investigation report.
07/13/2023 James Bromley                       2.20 Review second interim investigation report.
07/17/2023 Stephanie Wheeler                   0.40 Meeting with J. Ray (FTX) and QE team re: future
                                                    interim investigation reports and avoidance actions
                                                    (.30); correspondence with A. Kutscher (QE) and M.
                                                    Materni re: forthcoming interim investigation report
                                                    (.10).
07/17/2023 Keila Mayberry                      0.40 Correspondence with S&C team re: intercompany
                                                    agreement re: forthcoming interim investigation report.
07/17/2023 Tatum Millet                        0.60 Research and compile work product re: valuation
                                                    relating to forthcoming interim investigation report.
07/18/2023 Stephanie Wheeler                   0.20 Correspondence with N. Friedlander, S. Cohen
                                                    Levin, C. Dunne and J. Croke re: outline for interim
                                                    investigation report.
07/18/2023 Christopher Dunne                   0.20 Correspondence with S&C team re: forthcoming
                                                    interim investigation report.
07/18/2023 Jacob Croke                         0.30 Analyze issues for the next interim investigation report.
07/18/2023 Nicole Friedlander                  0.20 Correspondence with S. Cohen Levin, C. Dunne and
                                                    S. Wheeler re: forthcoming interim investigation report.
07/18/2023 Sharon Levin                        0.40 Correspondence with S&C team re: forthcoming
                                                    interim investigation report.
07/18/2023 Michael Devlin                      0.60 Review forthcoming interim investigation report re:
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                                                     commingling of funds.
07/19/2023 Jacob Croke                         0.70 Correspondence with S. Wheeler and QE team re:
                                                    issues for forthcoming interim investigation report.
07/20/2023 Jared Rosenfeld                     7.40 Revise section of forthcoming interim investigation
                                                    report (7.3); call with T. Millet re: valuation for interim
                                                    investigation report (.10).
07/20/2023 Jared Rosenfeld                     0.10 Correspondence with T. Millet re: post-merger
                                                    valuation of LHI in connection with the forthcoming
                                                    interim investigation report.
07/20/2023 Tatum Millet                        7.30 Review work product and conduct additional research
                                                    re: valuation for section of forthcoming interim
                                                    investigation report (.70); draft report insert re: same
                                                    (4.9); call with J. Rosenfeld re: valuation for
                                                    forthcoming interim investigation report (.10); edit
                                                    draft of same based on comments (1.1).
07/21/2023 Stephanie Wheeler                   2.20 Correspondence with M. Materni re: section of
                                                    forthcoming interim investigation report (.20); call with
                                                    N. Friedlander and C. Dunne re: forthcoming interim
                                                    investigation report (.50); revise insert for same (1.2);
                                                    review further revised report insert (.20);
                                                    correspondence with J. Rosenfeld re: sending
                                                    forthcoming interim investigation report insert to QE
                                                    (.10).
07/21/2023 Christopher Dunne                   0.50 Call with N. Friedlander and S. Wheeler re:
                                                    forthcoming interim investigation report.
07/21/2023 Nicole Friedlander                  0.50 Call with S. Wheeler and C. Dunne re: next interim
                                                    investigation report.
07/21/2023 Sharon Levin                        0.50 Call with S. Wheeler, N. Friedlander and C. Dunne
                                                    re: forthcoming report of J. Ray (FTX).
07/21/2023 Michele Materni                     5.50 Review documents in connection with forthcoming
                                                    interim investigation report (2.3); draft insert for
                                                    forthcoming interim investigation report (3.2).
07/21/2023 Jared Rosenfeld                     6.70 Correspondence with S. Ehrenberg re: valuation
                                                    reports relevant to forthcoming interim investigation
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                                                     report (.20); research and draft section of forthcoming
                                                     interim investigation report re: valuation of DAAG and
                                                     Ledger Holdings (6.1); correspondence re: cite
                                                     checking of valuation section of forthcoming interim
                                                     investigation report (.40).
07/21/2023 Aneesa Mazumdar                     0.30 Cite check forthcoming interim investigation report.
07/21/2023 Tatum Millet                        2.50 Research re: valuation assertions (.50); revise
                                                    comments on report insert re: BDO (.80); additional
                                                    research re: same (.80); draft summary email of
                                                    research findings (.40).
07/22/2023 Michele Materni                     4.60 Revise insert for forthcoming interim investigation
                                                    report.
07/22/2023 Aneesa Mazumdar                     1.40 Cite check forthcoming interim investigation report.
07/23/2023 Michele Materni                     2.30 Revise insert for forthcoming interim investigation
                                                    report.
07/23/2023 Jared Rosenfeld                     0.60 Revise section of forthcoming interim investigation
                                                    report.
07/23/2023 Tatum Millet                        0.60 Cite check forthcoming investigation report insert re:
                                                    third party (.50); correspondence with A. Mazumdar
                                                    re: same (.10).
07/24/2023 Stephanie Wheeler                   0.80 Correspondence with J. Ray (FTX) and S. Rand
                                                    (QE) re: future interim investigation reports (.20);
                                                    correspondence with D. O'Hara re: forthcoming
                                                    interim investigation reports (.10); revise insert for
                                                    forthcoming interim investigation report (.50).
07/24/2023 Nicole Friedlander                  0.20 Correspondence with K. Ramanathan (A&M) re:
                                                    forthcoming interim investigation report.
07/24/2023 Sharon Levin                        0.30 Review documents re: AML/KYC issues relevant to
                                                    forthcoming interim investigation report.
07/24/2023 Michele Materni                     8.10 Revise insert for forthcoming interim investigation
                                                    report.
07/24/2023 Meaghan Kerin                       0.70 Correspondence to D. O’Hara and E. Downing re:
                                                    records cited in forthcoming interim report (.20);
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                                                     review records re: forthcoming interim investigation
                                                     report (.50).
07/24/2023 Emma Downing                        0.60 Call with W. Scheffer re: section of forthcoming
                                                    interim investigation report (.10); revise section of
                                                    forthcoming interim investigation report (.50).
07/24/2023 William Scheffer                    0.60 Call with E. Downing re: section of forthcoming interim
                                                    investigation report (.10); correspondence with E.
                                                    Downing re: same (.20); correspondence with M.
                                                    Materni re: same (.30).
07/25/2023 Stephanie Wheeler                   3.10 Review AML policies and documents relevant to
                                                    forthcoming interim investigation report (2.0); call with
                                                    E. Downing re: research for forthcoming interim
                                                    investigation report (.10); correspondence with N.
                                                    Friedlander re: call with A&M re: AML issues
                                                    relevant to forthcoming interim investigation report
                                                    (.20); meeting with E. Downing re: research for
                                                    forthcoming interim investigation report (.40);
                                                    correspondence with N. Friedlander and S. Cohen
                                                    Levin re: AML issues relevant to forthcoming interim
                                                    investigation report (.20); correspondence with K.
                                                    McArthur, N. Friedlander, C. Dunne, S. Cohen
                                                    Levin, S. Ehrenberg and A. Lewis re: future interim
                                                    investigation reports (.20).
07/25/2023 Justin DeCamp                       1.20 Review J. Ray (FTX) re: forthcoming interim
                                                    investigation reports.
07/25/2023 Nicole Friedlander                  1.30 Review and assess outline from QE (.40);
                                                    correspondence with K. Ramanathan (A&M) and
                                                    S&C team re: forthcoming interim investigation report
                                                    (.30); correspondence with K. McArthur and S.
                                                    Wheeler re: KYC/AML issues relevant to forthcoming
                                                    interim investigation report (.10); correspondence with
                                                    C. Dunne and S. Cohen Levin re: AML/KYC issues
                                                    relevant to forthcoming interim investigation report
                                                    (.50).
07/25/2023 Sharon Levin                        0.20 Correspondence with S&C team re: forthcoming
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                                                     report.
07/25/2023 Sharon Levin                        0.30 Correspondence with N. Friedlander, C. Dunne and
                                                    S. Wheeler re: forthcoming report.
07/25/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: forthcoming
                                                    interim investigation report.
07/25/2023 Michele Materni                    11.20 Review complaints to continue drafting insert for
                                                    forthcoming interim investigation report (2.7); continue
                                                    drafting insert for forthcoming interim investigation
                                                    report (8.5).
07/25/2023 Zoeth Flegenheimer                  0.10 Coordinate with N. Friedlander re: scheduling call with
                                                    A&M to discuss forthcoming interim investigation
                                                    report.
07/25/2023 Meaghan Kerin                       0.40 Correspondence with N. Friedlander, S. Cohen
                                                    Levin, S. Wheeler, C. Dunne, J. Rosenfeld, D.
                                                    O’Hara, Z. Flegenheimer, T. Millett and P. Lavin re:
                                                    upcoming interim investigation report (.10);
                                                    correspondence with S. Rosenthal, D. O’Hara and A.
                                                    Holland re: documents cited in the first interim
                                                    investigation report (.10); review records re:
                                                    documents cited in the first interim investigation report
                                                    (.20).
07/25/2023 Alexander Holland                   0.30 Draft email to N. Friedlander summarizing topics for
                                                    forthcoming interim investigation report.
07/25/2023 Emma Downing                        0.50 Call with S. Wheeler re: research for forthcoming
                                                    interim investigation report (.10); meeting with S.
                                                    Wheeler re: research for forthcoming interim
                                                    investigation report (.40).
07/25/2023 Keila Mayberry                      0.40 Correspondence with M. Materni and M. Birtwell
                                                    (AP) re: bank account.
07/26/2023 Sharon Levin                        0.20 Meeting with J. Lewis, C. Dunne, K. McArthur, S.
                                                    Levin, S. Wheeler regarding AML/KYC issues
                                                    relevant to forthcoming interim investigation report.
07/26/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: forthcoming
                                                    interim investigation report.
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07/26/2023 Michele Materni                    9.10 Review documents in connection with drafting of
                                                   forthcoming interim investigation report (4.8); draft
                                                   section of forthcoming interim investigation report
                                                   (4.3).
07/26/2023 Keila Mayberry                     0.20 Correspondence with M. Materni re: second interim
                                                   investigation report.
07/27/2023 Anthony Lewis                      0.30 Review draft of forthcoming interim investigation
                                                   report.
07/27/2023 Michele Materni                    6.30 Review documents in connection with draft of
                                                   forthcoming interim investigation report (2.2); draft
                                                   portion of forthcoming interim investigation report
                                                   (4.1).
07/27/2023 Keila Mayberry                     0.20 Correspondence with M. Materni re: documents in
                                                   connection with draft of forthcoming interim
                                                   investigation report.
07/30/2023 Jacob Croke                        0.40 Review draft forthcoming interim investigation report
                                                   (.30); correspondence with S. Wheeler re: same (.10).
07/31/2023 Mitchell Eitel                     1.30 Review third interim report of J. Ray (FTX) (1.2);
                                                   correspondence with S. Ehrenberg re: interim report
                                                   (.10).
07/31/2023 Stephanie Wheeler                  5.80 Correspondence with N. Friedlander, J. Croke, C.
                                                   Dunne, B. Glueckstein and J. Bromley re: call to
                                                   discuss QE draft of forthcoming interim investigation
                                                   report (.20); correspondence with A. Alden (QE), N.
                                                   Friedlander and C. Dunne re: forthcoming interim
                                                   investigation report (.20); call with S&C team re:
                                                   forthcoming interim investigation report (.50); call with
                                                   C. Dunne re: upcoming interim investigation report
                                                   (.10); call with C. Dunne re: forthcoming interim
                                                   investigation report (.10); Call with C. Dunne and QE
                                                   team re: future interim investigation reports (.50);
                                                   revise draft of forthcoming interim investigation report
                                                   (.60); call with S&C team and A&M team re:
                                                   historical KYC and AML issues relevant to
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                                                     forthcoming interim investigations report (1.0);
                                                     correspondence with K. McArthur re: comment on
                                                     forthcoming interim investigation report (.10); revise
                                                     forthcoming interim investigation report (2.5).
07/31/2023 Stephen Ehrenberg                   0.20 Email correspondence with J. Bromley and N.
                                                    Friedlander re: report of investigation (.10); meeting
                                                    with M. Eitel re: interim report (.10).
07/31/2023 Brian Glueckstein                   1.10 Call with S&C team re: forthcoming interim
                                                    investigation report (.50); review and comment on
                                                    draft forthcoming interim investigation report (.60).
07/31/2023 Justin DeCamp                       0.10 Call with C. Dunne re: forthcoming interim
                                                    investigation report.
07/31/2023 Christopher Dunne                   4.30 Review QE draft of forthcoming interim investigation
                                                    report (1.3); draft outline of forthcoming interim
                                                    investigation report (1.7); call with J. DeCamp re:
                                                    forthcoming interim investigation report (.10); call with
                                                    S. Wheeler re: forthcoming interim investigation report
                                                    (.10); call with S&C team re: forthcoming interim
                                                    investigation report (partial attendance - .10); call with
                                                    J. Croke re: forthcoming interim investigation report
                                                    (.20); call with S. Wheeler re: forthcoming interim
                                                    investigation report (.10); call with E. Downing re:
                                                    forthcoming interim investigation report (.20); call with
                                                    S. Wheeler and QE team re: future interim
                                                    investigation reports (.50).
07/31/2023 Kathleen McArthur                   0.20 Review draft of third report (.10); email
                                                    correspondence with team re: same (.10).
07/31/2023 Jacob Croke                         0.80 Analyze issues for forthcoming interim investigation
                                                    report (.40); correspondence with S. Wheeler and C.
                                                    Dunne re: same (.40).
07/31/2023 Nicole Friedlander                  2.60 Review draft forthcoming interim investigation report
                                                    (.60); call with S&C team re: draft forthcoming interim
                                                    investigation report (.50); call with QE re: same (.50);
                                                    call with S&C team and A&M team re: historical
                                                    KYC and AML issues relevant to forthcoming interim
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Date        Name                             Hours Description

                                                      investigation report (1.0).
07/31/2023 James Bromley                       1.80 Call with J. Ray (FTX) re: case matters (.50); call with
                                                    S&C team re: forthcoming interim investigation report
                                                    (.50); correspondence with S&C team re: same (.80).
07/31/2023 Sharon Levin                        0.40 Correspondence with S&C team re: AML issues
                                                    relevant to forthcoming interim investigation report.
07/31/2023 Sharon Levin                        1.00 Call with S&C team and A&M team re: historical
                                                    KYC and AML issues relevant to forthcoming interim
                                                    investigation report.
07/31/2023 Anthony Lewis                       0.70 Review draft forthcoming interim investigation report.
07/31/2023 Bradley Harsch                      0.20 Review draft forthcoming interim investigation report.
07/31/2023 Zoeth Flegenheimer                  1.30 Call with S&C team and A&M team re: historical
                                                    KYC and AML issues relevant to forthcoming interim
                                                    investigation report (1.0); review KYC presentation
                                                    from A&M in support of forthcoming interim
                                                    investigation report (.10); review action items from call
                                                    with A&M (.20).
07/31/2023 Alexander Holland                   0.60 Correspondence with N. Friedlander summarizing
                                                    topics for upcoming interim investigation report.
07/31/2023 Daniel O'Hara                       1.60 Review and analyze documents for forthcoming interim
                                                    investigation report draft (.60); call with S&C team
                                                    and A&M team re: historical KYC and AML issues
                                                    relevant to forthcoming interim investigation report
                                                    (1.0).
07/31/2023 Emma Downing                        4.30 Review forthcoming interim investigation report (3.9);
                                                    call with C. Dunne re: forthcoming interim investigation
                                                    report (.20); calls with W. Scheffer re: forthcoming
                                                    interim investigation report cite check (.20).
07/31/2023 William Scheffer                    0.60 Cite check draft of forthcoming interim investigation
                                                    report (.40); calls with E. Downing re: forthcoming
                                                    interim investigation report cite check (.20).

Total                                        168.20
